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               West Virginia




       Fourth Annual Progress
              Report

                                        Bureau for Children and Families
                                        350 Capitol Street, Room 730
                                        Charleston, WV 25301
                                        Jim Justice, Governor
                                        Bill J. Crouch, Cabinet Secretary




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1. General Information
The West Virginia Department of Health and Human Resources (the Department) is a
cabinet level agency of state government, which was created by the Legislature and
operates under the general direction of the Governor. This Department can be described
as an umbrella agency with responsibility for several different programs and services
including, but not limited to, Public Health, Behavioral Health, Child Support Enforcement,
and services to Children and Families. The Department operates under the direction of
a Cabinet Secretary, and the major programs are assigned to different Bureaus. Each
Bureau operates under the direction of a Commissioner. The authority and responsibilities
of the Commissioner vary from Bureau to Bureau. The Commissioner of the Bureau for
Children and Families is Nancy N. Exline.

2017 Update

Effective April 3, 2017, Linda Watts is assuming the responsibilities of Interim
Commissioner of the Bureau for Children and Families.

THE BUREAU FOR CHILDREN AND FAMILIES

Located within the Bureau for Children and Families (BCF) are individual offices which
perform various functions for the Bureau. The offices are: The Office of Programs; the
Office of Field Operations; and the Office of Operations. Oversight of each office is by a
Deputy Commissioner who reports to the Commissioner of the Bureau who, in turn,
reports to the Cabinet Secretary of the Department.

Office of Programs

The Office of Programs and Resource Development, under the direction of Deputy
Commissioner Sue Hage, have primary responsibility for program planning and
development related to child welfare. The staff formulates policy, develops programs,
and produces appropriate state plans and manual materials to meet federal specifications
and applicable binding court decisions. Such manual material is used as guidance for
the implementation of applicable programs by field staff deployed throughout the state.

2016 Update



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Effective December 1, 2015, The Office of Programs and Resource Development is under
the direction of Deputy Commissioner Linda Watts.

2018 Update

Effective August 5, 2017, Janie Cole assumed the responsibilities of Interim Deputy
Commissioner of The Office of Programs and Resource Development.

The West Virginia Department of Health and Human Resources, through the Bureau of
Children and Families (BCF), is responsible for administering child welfare services by
WV Code §49-1-105. The administration of federal grants, such as Child Abuse
Prevention Treatment Act funds, Chafee Independent Living funds, Title IV-E funds, and
Title IV-B funds, is also a responsibility of this Bureau.

The staff within the Bureau for Children and Families is primarily responsible for initiating
or participating in collaborative efforts with other Bureaus in the Department on initiatives
that affect child welfare. The staff in the Bureau also joins with other interested groups
and associations committed to improving the wellbeing of children and families.

For the most part, the staff within the Children and Adult Services (CAS) policy division is
not involved in the direct provision of services. In some cases, however, staff does assist
with the provision of services or is directly involved in service delivery. For example, staff
in CAS operates the Adoption Resource Network and maintains financial responsibility
for a case once an adoption subsidy has been approved. The Director, Jane McCallister
is both the IV-B and IV-E Coordinator. West Virginia’s approved Child and Family
Services Plan and any approved Annual Progress Services Report can be located at
http://www.wvdhhr.org/bcf/.

2016 Update

Effective March 1, 2016, Children and Adult Services is under the direction of Director
Laura Barno. Barno now serves as both the IV-B and IV-E Coordinator as well. Upon
approval, this year’s APSR will be posted at http://www.wvdhhr.org/bcf/.

2017 Update

Upon approval, this year’s Annual Progress Services Report will be posted at
http://www.wvdhhr.org/bcf/.

2018 Update

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Upon approval, this year’s Annual Progress Services Report will be posted at
http://www.wvdhhr.org/bcf/.

In addition, this office is responsible for the Division of Family Assistance, the Division of
Early Care and Education, and the Division of Training. This Division is charged with the
oversight, coordination, and delivery of training to BCF employees and foster parents
statewide.

This training includes New Worker Training, Supervisory Training, and Tenured Worker
Training on new initiatives and professional development activities.

 State CAPTA Coordinator                          State IV-B and IV-E Coordinator
 Brandon Lewis                                    Jane McCallister
 350 Capitol Street, Room 691                     350 Capitol Street, Room 691
 Charleston, WV 25301                             Charleston, WV 25301
 304-356-4572                                     304-356-4575
 Brandon.S.Lewis@wv.gov                           Jane.B.McCallister@wv.gov
 Effective March 1, 2016                          Effective March 1, 2016
 Kristen Davis                                    Laura Barno
 350 Capitol Street, Room 691                     350 Capitol Street, Room 691
 Charleston, WV 25301                             Charleston, WV 25301
 304-356-7980                                     304-356-4586
 Kristen.R.Davis@wv.gov                           Laura.S.Barno@wv.gov
The Office of Operations

The Deputy Commissioner of Operations, Linda Adkins, is responsible for oversight of
the Division of Grants and Contracts; the Division of Finance; the Division of Personnel
and Procurement; the Division of Planning and Quality Improvement (DPQI); and the
Division of Research and Analysis. Major responsibilities of the Office of Operations are:
approving and monitoring sub-recipient grants and contracts; oversight of the bureau
budget; oversight of personnel and procurement activities; and developing and producing
research and analysis on the results of operations for the major programs operated by
the Bureau. Major activities of DPQI include conducting program and peer reviews;
coordinating statewide quality councils; coordinating corrective action and program
improvement plan; and accreditation activities.

2015 Update

The Deputy Commissioner of Operations, Linda Adkins, is responsible for oversight of
the Division of Grants and Contracts; the Division of Finance; and Procurement. Major
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responsibilities of the Office of Operations are: approving and monitoring sub-recipient
grants and contracts; oversight of the bureau budget; and procurement activities. The
Division of Personnel lead by Pam Holt and the Office of Research and Analysis lead by
Kevin Henson, reports directly to the Commissioner, Nancy Exline. The Division of
Planning and Quality Improvement (DPQI) falls under the Office of Research and
Analysis. The Division of Personnel completes all the Human Resource functions for the
Bureau and Research and Analysis does research and analyzes the results of the
operations for the major programs operated by the Bureau. The major activities of DPQI
include conducting program and peer reviews and coordinating corrective action
plans; coordinating the statewide quality councils; coordinating the state’s Child and
Family Services Review and developing and monitoring the Program Improvement Plan
when implemented.

2017 Update

Effective October 1, 2016, Amy Lawson-Booth is now serving as Deputy Commissioner
of Operations. Kevin Henson, Assistant Commissioner of the Office of Planning,
Research, and Evaluation now reports to Interim Commissioner Linda Watts.

The Office of Field Operations

The Office of Field Operations is under the direction of Deputy Commissioner Tina
Mitchell. Field Operations’ charge is the direct service delivery of all services within the
Bureau, as well as Customer Services. In January 2015, two additional directors, one for
Family Assistance Programs and one for Social Services Programs, were hired to assist
with supervision and direction for field staff.

West Virginia is divided into four regions. Each region is supervised by a Regional
Director (RD) who reports directly to the Deputy Commissioner. Various counties are
grouped within each Region. If a county is large enough, it is considered a District. The
District is supervised by a Community Services Manager. All supervisory staff report
directly to the Community Services Manager. Field staff is responsible for the service
delivery of Child Protective Services (CPS), Youth Services (YS), Foster Care and
Adoption.

2015 Update

Effective July 22, 2015, the Office of Field Operations is under the direction of two Deputy
Commissioners. Tina Mitchell, Deputy Commissioner of Field Operations South,
oversees Region II and Region IV. Tanny O’Connell, Deputy Commissioner of Field

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Operations North oversees Region I and Region III. Together, the Deputy Commissioners
of Field Operations coordinate their efforts to ensure staff and customers’ needs are being
addressed and resolved in a timely manner.

The Bureau has hired the two Directors that report directly to the Commissioner. The
Director over Social Services, Patricia Vincent will provide direct field support to social
services staff from the Commissioner’s office. The Director for Family Support, Marilyn
Trout will provide direct field support to the Family Support staff in the field offices.

2018 Update

Melanie Urquhart assumed the responsibilities of Director of Social Services in April 2018,
replacing Patricia Vincent.

Vision Statement

West Virginia is recognized for a collaborative, highly responsive quality child welfare
system built on the safety, wellbeing, and permanency of every child. Its vision is guided
by principles that are consistent with child and family services principles specified in
Federal regulations [45 CFR 1355.25(a) through 1355.25(h)]. These practice model
principles are:

   •      Our children and families will be safe
   •      Our children will have a strong, permanent connection with family and
          community. While reunification, adoption, and legal guardianship are ultimate
          goals, we need to make sure that all children have caring adults in their lives
   •      Our children and families will be successful in their lives and have enhanced
          well-being
   •      Our children and families will be mentally and physically healthy
   •      Our children and families will be supported, first and foremost, in their homes
          and home communities, and by receiving the correct services to meet their
          needs
   •      Our child-serving systems will be transformed to meet the needs of children
          and families

Collaboration

West Virginia Department of Health and Human Resources (DHHR) continues to
collaborate with internal and external stakeholders to ensure that child welfare information
and data is shared on a regular basis, agency strengths and areas needing improvement

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are assessed collectively, and goals and objectives for improvement are determined
though a coordinated process.

West Virginia held joint planning meetings in preparation of the 2015-2019 Child and
Family Services Plan (CFSP) that involved many stakeholders and will continue doing
this to coordinate and collaborate for each of the Annual Progress and Services Reports
(APSR).

To gain input for the 2015 APSR, the DHHR brought together an APSR Steering
Committee that includes management from the DHHR, Bureau for Children and Families
and a representative from the Court Improvement Program. Additional stakeholders
came together on October 23, 2014 to discuss the progress that was made on the goals
of the 2015-2019 CFSP. The participants were divided into 6 workgroups (and
subcommittees). These workgroups and subgroups are:

   1.     Agency Responsiveness to the Community Assessment of Performance

          •   Information Systems
          •   Case Review System
          •   Quality Assurance System
          •   Agency Responsiveness to the Community
          •   Foster Adoptive Parent Licensing, Recruitment, and Retention

   2.     Plan for Improvement – IV-E Waiver/Wraparound
   3.     Services
   4.     Chafee Foster Care Independence Program (CFCIP)
   5.     Health Care Oversight and Coordination Plan
   6.     Data and Evaluation Team

In addition, the DHHR can continuously obtain input from stakeholders across the state
and all child welfare systems by partnering with several high-level groups that together
provide oversight and direction for child welfare in West Virginia.

These oversight groups are: Commission to Study Residential Placement of Children;
“Safe at Home West Virginia”; West Virginia Three Branch Institute; West Virginia Court
Improvement Program; Juvenile Justice Reform Oversight Committee, and Education of
Children in Out of Home Care Advisory Committee.

Commission to Study Residential Placement of Children


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The Commission to Study Residential Placement of Children has leveraged its mandate
(WV Code §49-2-125) to address both residential placements and their expanded focus
on all children in out-of-home care. This Commission is chaired by the DHHR Cabinet
Secretary. Members include all child-serving systems and the many volunteers that carry
out the Commission’s work, enabling the Commission to work collaboratively on making
informed decisions.

Members of the Commission to Study Residential Placement of Children (serve as the
Three Branch Institute Home Team) continues to work on the Safe at Home WV funding
structure and addressing other needs for Safe at Home WV as they arise.

Title IV-E Assessment and Waiver Application “Safe at Home West Virginia”

In 2014, the WV DHHR, BCF submitted a Title IV-E application, and received a federal
waiver, that would freeze the penetration rate at the current level and allow a full
continuum of supports, that begin with community-based solutions, to improve the lives
of West Virginia children and families. West Virginia’s waiver is referred to as Safe at
Home West Virginia.

The goals of Safe at Home West Virginia are to:

          •   Ensure youth remain in their communities whenever safely possible.
          •   Reduce reliance on foster care/congregate care and prevent re-entries.
          •   Reduce the number of children in higher cost placements out-of-state.
          •   Step down youth in congregate care and/or reunify them with their families
              and home communities.

The IV-E Waiver, Safe at Home WV will provide wrap-around behavioral and human
services to:

          •   Support and strengthen families to keep children in their homes;
          •   Return children currently in congregate care to their communities; and
          •   Reunite children in care with their families.

Safe at Home WV will measure its success with a Results Based Accountability (RBA)
system.

During the development of Safe at Home West Virginia, the Bureau for Children and
Families collaborated with all its community partners through our community
collaboratives and regional children’s summits to complete the community service needs

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assessments. This process allowed local partners to identify service gaps and to begin
development of strategic plans in their communities to assist with the development of
those needed services. Provider partners have also completed the Manager’s Guide
Implementation of Wraparound Readiness to Implement Self-Assessment to prepare for
the initiative.

During the development of Safe at Home West Virginia, the Bureau for Children and
Families collaborated with all its community partners through our Family Resource
Networks, Community Collaborative groups and Regional Children’s Summits.

During this review period, the WV Department of Health and Human Resources provided
technical assistance for building the partnerships within each of the Family Resource
Networks, Regional Summits and Community Collaborative groups. DHHR State Office
Staff had been working with the Community Service Managers (CSMs) statewide and
collectively the group of CSMs gave input on rebuilding the Community Collaborative
groups. The group decided to reduce the number of strategies for filling gaps in services
down to between 3 to 5 strategies overall for each Community Collaborative group. The
CSMs came up with plans to help the Community Collaborative groups build membership
with the Courts, Education, Public Health, Local Government, Juvenile Justice, Partner
Agencies, Businesses and Family Members and the information was shared statewide
with the CSMs and Collaborative Chairs.

DHHR State Office Staff also met with the CSMs on May 18th, 2014 and reviewed the WV
Comprehensive Assessment Planning System (WV CAPS) rollout, including giving
recommendations on the strengths and weaknesses of the rollout plan. WV CAPS is the
assessment and planning system model for children who are at risk of or placed in out of
home care. DHHR State Office Staff took the suggestions from the CSMs into
consideration in moving forward with the WV CAPS implementation.

The DHHR State Office Staff attended all the Regional Children’s Summits including
Region I Children’s Summit on 7/01/14, Region II Children’s Summit on 8/15/14, Region
III Children’s Summit on 10/01/14 and Region IV Children’s Summit on 11/17/14 where
the focus of the content was on building the WV CAPS providers capacity for each region.
DHHR Central Office Staff created a training website for WV CAPS, created a training
course and made it available for community stakeholders to access. The department
trained over 1000 people in West Virginia on the WV CAPS. A WV CAPS Manual was
created as well as development of Regional CAPS Task Teams to oversee Quality
Assurance measures utilizing the DHHR Quality Assurance Process.



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A Community Collaborative Conference was held on December 17th with CSMs, Family
Resource Network Directors, and Community Collaborative chairs, to give technical
assistance on the roles of the groups. The Family Resource Networks, Regional Summits
and Community Collaborative groups were given direction by the Bureau for Children and
Families (BCF) for moving forward with the Safe at Home WV Implementation Plan.

The Community Collaborative groups were also asked to complete the West Virginia Safe
at Home Services and Supports Survey to assess what services were currently available,
what were available in limited capacity and any gaps in services. This initial assessment
allowed local partners to identify service gaps from a list of 17 core wraparound services.
BCF identified services that are core to high fidelity wraparound and every county is
completing a survey to show which of those services are available, which services are
not, and which services may be available but in limited capacities and therefore needed
further capacity building. The initial 11 counties were assessed as well as 19 other
counties that have completed the survey so far. The results of this survey will need to be
reviewed and/or revised as community partners are included and services available and
needed are identified.

During the next review period, we will continue providing technical to support expanding
the partnerships of the Family Resource Networks, Regional Summits and Community
Collaborative groups in expanding their membership, and increasing the availability of
core wraparound services, including non-formal community supports.

Community Collaborative groups along with provider partners have begun completing the
Community Assessment of Strengths and Needs Survey, a community readiness
assessment for the implementation of wraparound services, which will determine the
community’s preparedness for the Safe at Home WV initiative. At the completion of the
survey, collaborative groups will be expected to develop strategic plans to address
identified gaps of service in their area. The DHHR Community Partnerships unit will
monitor and provide communication pathways for these plans. The DHHR CSMs will be
expected to provide oversight of these plans for their Community Collaborative group.

The information about Safe at Home WV is shared through various venues, such as the
Safe at Home WV Network Newsletter and the Safe at Home WV website
www.wvdhhr.org/bcf/safe that will be launched in early 2015.

Three Branch Institute

In 2013, West Virginia submitted a proposal and was again selected to participate in the
National Governor’s Association (NGA) Three Branch Institute. This institute focus is on

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the social and emotional wellbeing of children in foster care. West Virginia’s proposal
includes addressing the physical and mental health needs for children in foster care.

Governor Earl Ray Tomblin selected the following individuals to represent West Virginia’s
Core Team: Honorable Gary Johnson, Nicholas County Judge; Cindy Largent-Hill,
Juvenile Justice Monitor; Karen L. Bowling, DHHR Cabinet Secretary; Cynthia Beane,
Deputy Commissioner for Policy, Bureau for Medical Services; Susan C. Hage, DHHR
Deputy Commissioner for Policy, Bureau for Children and Families; Senator John Unger,
Berkeley County, District 16; and Delegate Don Perdue, Wayne County, District 19.

With this strong commitment by representatives from the three executive branches and
with the Commission to Study Residential Placement of Children’s members to serve as
a “Home Team,” West Virginia has a solid foundation for which collaborative changes can
be made and sustained.

West Virginia Court Improvement Program

The Court Improvement Program is a collaborative effort administered by the WV
Supreme Court with DHHR and the provider communities involved through funding from
three federal grants with matching state funds. These are referred to as the “basic”,
“training” and “data collection” grants.

2016 Update

Juvenile Justice Reform Oversight Committee

In 2014, West Virginia partnered with the Pew Charitable Trust to evaluate the state’s
juvenile justice practices. The resulting information was published in a document titled
Report of the West Virginia Intergovernmental Task Force on Juvenile Justice. This
report found that between 2002 and 2012 referrals to court for status offenses rose nearly
124% and the number of status offenders placed outside of the home rose nearly 255%.
“Three-quarters of juvenile justice youth placed in DHHR facilities in 2012 were status
offenders or misdemeanants. Just fewer than 50% of these youths had no prior contact
with the court” (Virginia, 2014). The result of these findings was legislative changes.

During legislative session of 2015, the West Virginia legislature passed Senate Bill 393.
This bill was part of the Governor’s initiative to reform juvenile justice practice and a
response to the findings of the task force within. As part of this bill, many changes were
implemented which include a restriction of placing first time offenders outside of the home
into foster care, unless for abuse and neglect or other safety concerns; a restriction on

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the length of stay outside of the home, with a focus on community services; the prohibition
of the utilization of detention facilities for status offenders, and the formation of the
Juvenile Justice Reform Oversight Committee. The committee is a collaborative group
of individuals from the Department of Health and Human Resources, the Supreme Court,
the legislature, law-enforcement, the community, the Division of Juvenile Services, the
Department of Education, and a crime victim advocate appointed by the Governor. The
group’s purpose is to provide oversight of the reform measures and improve the state’s
juvenile justice system.

2017 Update

Data Improvements and Exchanges between DHHR and the Courts

In the Fall of 2016, the chair of a Court Improvement Program workgroup, Judge Derek
Swope of the state’s Ninth Judicial Circuit, asked for the formation of an ad hoc group for
the purposes of ensuring that the court’s data met the needs of both the Court
Improvement Project and the Department of Health and Human Resources (DHHR). The
courts have been collecting data through the Child Abuse Neglect (CAN) database for
years. As states have moved away from merely providing numbers from counts and
toward measurable outcomes capturing quality, Judge Swope felt that West Virginia’s
data should be able to assist in determining whether we are meeting our outcomes for
both the Court Improvement grants, as well as the CFSR/APSR. Members of this ad hoc
group include members of the Supreme Court’s Administrative offices; DHHR’s Division
of Planning and Quality Improvement, Children and Adult Services; the SACWIS System;
Child Support Enforcement; as well as members of the WV Coalition Against Domestic
Violence.

The group identified two areas to begin their work. The first is determining if quality
hearings are occurring. The group felt that the basic component of a quality hearing is
having all parties of the case in attendance.

 A survey of child protective service (CPS) workers yielded 154 complete responses. The
survey was an exploratory, non-scientific instrument used to help the court and the
department determine ways to increase the quality of hearings. Results of the survey
have not been verified. CPS workers were specifically questioned about certain parties’
attendance at typical adjudicatory hearings, disposition hearings, 90-day review hearings
prior to termination of parental rights, and 90-day review hearings after termination of
parental rights. The following are a couple highlights from the results.



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The survey’s results indicated that in the workers’ practices guardian’s ad litem are
“always present” at hearings 95.45% of the time. Additionally, the survey revealed that
foster parents were “always present” at hearings 5.36% of the time. The court and the
department will conduct another exploratory survey to reach more professionals with the
goal of expanding on the first survey’s results and continuing to define areas in which
quality can be improved.

Another survey is currently being developed for other parties of the case. As you will read
in the systemic factors area of this document, a foster parent survey has been developed
that will help identify the reasons for this and help both the courts and DHHR make
improvements.

The other area of exploration is related to data that is captured for periodic case reviews.
It is not specific to each child. In other words, the CAN database only captures the number
of hearings for reviews but does not match it back up to the actual children involved. This
will be one of the primary issues explored through the 2017-2018 fiscal years.

Education of Children in Out of Home Care Advisory Committee

The mission of the Education of Children in Out-of-Home Care Advisory Committee is to
ensure that children placed in out-of-home care receive a free appropriate public
education in accordance with federal and state laws, regulations and policies.

KEY ACCOMPLISHMENTS OF 2014

The following represent the 2014 key accomplishments for: The Commission’s
workgroups; the Three Branch Institute; Safe at Home WV; West Virginia Court
Improvement Program; and the Education of Children in Out-of-Home Care Advisory
Committee. The accomplishments may apply to more than one priority goal area.

1. Appropriate Diagnosis and Placement

a.)    The new streamlined Comprehensive Assessment and Planning System (CAPS)
that includes the Child and Adolescent Needs and Strengths (CANS) assessment
continues to expand the target population and is being rolled out incrementally across the
Department of Health and Human Resources regions.

         DHHR Region I could begin making referrals using the new process to service
          providers on October 10, 2014.


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          DHHR Region III could begin making referrals using the new process to service
           providers on October 15, 2014.
          At the end of 2014 there were 425 certified users in the CANS in WV; 35 super
           users in West Virginia representing 29 different agencies; and 6 advanced
           CANS specialists.
           (Service Delivery & Development and Three Branch Institute)

b.)   Dr. John S. Lyons, Chief Developer of the Child and Adolescent Needs and
Strengths (CANS) Assessment provided a seminar in West Virginia on how the
assessment can be utilized to design a strategy for Total Clinical Outcomes Management
(TCOM). Dr. Lyons also reviewed and assessed sixty (60) children and youth using the
CANS assessment. The draft report has been received and is being reviewed. (DHHR,
Bureau for Children and Families, WV System of Care)

c.)    In December 2013, the Commissioner for the Bureau for Children and Families
decided to support a full review of West Virginia's children placed in out-of-state
residential treatment facilities, and to use this information to develop short and long-term
strategies that will support the reduction of youth in congregate care. The report includes
children in residential group facilities, psychiatric residential treatment facilities, acute
care hospitals, and specialized foster care out-of-state. It is important to note in this report
that children are only counted one time in six years. However, there are several youths
who are placed out-of-state numerous times or remain in placement for numerous
months. There was a total of 205 youth reviewed between April and October 2014. The
report and findings will be distribution in February 2015. (WV System of Care)

d.)     Regional clinical review teams continued to provide comprehensive, objective,
clinical review for children at risk as a resource for the child’s Multidisciplinary Treatment
Team (MDT). (WV System of Care)

          A total of 58 regional clinical review team meetings took place between January
           and December 2014, to review 131 youth.
          Data show 21 youth who received a clinical review in 2014 were prevented from
           out-of-state placement.

e.)    Participation in Medicaid’s Early and Periodic Screening, Diagnosis, and
Treatment (EPSDT) Program, known as HealthCheck in West Virginia, is a requirement
for every child in foster care. All children who enter foster care are required to have an
evaluation of their physical health within 72 hours. This is facilitated by the HealthCheck
Program administered by our Bureau for Public Health Office of Maternal, Child, and
Family Health. Overall the foster children are being scheduled for their exams more

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quickly. For example, 17% of foster children placed in September 2013 were scheduled
for an exam within 1 day of placement. In June 2014, that increased to 63.5%. (Three
Branch Institute)

f.)    A plan for implementation of a trauma screening for physician residency clinics
throughout the state is being developed. Physicians participating in the pilot will utilize a
form that identifies trauma, in conjunction with a parent education handout. In April 2015,
the HealthCheck Program will seek advice and guidance from the Office of Maternal,
Child and Family Health Pediatric Advisory Board pertinent to HealthCheck
psychosocial/behavioral screenings – specifically early toxic stress and trauma. (Three
Branch Institute)

g.)    In support of the WV Initiative for Foster Care Improvement (WV IFCI), that began
as an American Academy of Pediatrics grant to improve health care of foster children, the
Early and Periodic Screening, Diagnosis and Treatment (EPSDT) and Children with
Special Health Care Needs (CSHCN) programs will work to identify at least one pediatric
practice that sees a high volume of foster children in which to pilot the Visit Discharge
and Referral Summary and accompanying Trauma-Specific Anticipatory Guidance. The
Office of Maternal, Child and Family Health (OMCFH) Database Management Unit will
oversee data collection and analysis. (Three Branch Institute)

h.)    To obtain a statistically relevant sample, 68 case records for foster children
prescribed psychotropic medications from three or more classes were reviewed using a
standardized tool in 2013. Nearly all (63/68; 93%) of these foster children had a
hyperkinetic syndrome diagnosis, primarily ADD and ADHD (59/63; 94%) though it is not
known if hyperkinetic syndrome diagnoses are appropriate or if this was a result of a
trauma response. These prescriptions were primarily written by psychiatrists 98%) and
did not exceed the recommended daily dosage (83%). There is evidence in the case
record of therapy being used to help manage the majority of these conditions (90%).
However, appropriate baseline and routine metabolic monitoring and follow-up are
lacking. In 2015, the Three Branch Institute, Psychotropic Medication Workgroup would
like to explore the use of prior authorization for these prescriptions that would help
promote best practice for monitoring and follow-up, provided the correct criteria are in
place. The workgroup would like to investigate the option of limiting the duration of these
prescriptions to promote appropriate monitoring and follow-up. A plan will be developed
to provide provider education on appropriate prescribing practices for psychotropic
medications, best practice standards for baseline and routine metabolic monitoring and
provider follow-up appointments, tardive dyskinesia assessments and clinical
psychological exams.


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2. Expanded Community Capacity

a.) On October 15, 2014, Governor Earl Ray Tomblin announced the award of a federal
Title IV-E Waiver to support Safe at Home West Virginia Initiative, which will allow the
Bureau for Children and Families to have more flexibility in delivering individualized
services to children and their families. The Safe at Home project is expected to launch
by the end of 2015 in Berkeley, Boone, Cabell, Jefferson, Kanawha, Lincoln, Logan,
Mason, Morgan, Putnam and Wayne counties and will focus on youth ages 12-17
currently in or at-risk of entering congregate placements. The Safe at Home WV will
provide wrap-around behavioral and human services to:

         Support and strengthen families to keep children in their homes;
         Return children currently in congregate care to their communities; and
         Reunite children in care with their families.

b.) In November 2014, the Bureau for Children and Families approved a statewide
Treatment Foster Care pilot with Pressley Ridge of West Virginia, to provide a holistic,
strength-based individualized approach as an alternative to residential placement settings
for children ages 0-17, with priority given to children identified during out-of-state reviews,
children at risk of out-of-state placement, and youth who are part of Safe at Home WV.

c.) A new level three residential facility, Old Fields, for children aged 5-10 with co-existing
disorders (mental health and intellectual disabilities) operated by Burlington United
Methodist Family Services was opened in Hardy County.

d.) Medicaid has implemented the Telehealth Policy and will continue to monitor the
Behavioral Health and Health Facilities system redesigns which is starting with the
comprehensive gap analysis. Medicaid will also monitor the new policies that were put in
place in July to assure prioritized assessments for children in foster care. The group is
working with the Casey Family Foundation and the Bureau for Behavioral Health to review
how we can maximize our current resources to provide Behavioral Health Services to the
children in our care. (Three Branch Institute)

e.) In 2014, the Division of Probation Services opened new Drug Courts in Marion,
Wyoming, and Summers/Monroe Counties. A new Juvenile Drug Court was opened in
Ohio County.

f.) Lily’s Place, a treatment facility licensed for 12 neonatal beds in Cabell County, opened
in partnership with DHHR/Child Protective Services, Prestera Center and Cabell
Huntington Hospital, to serve the entire state of West Virginia. The treatment facility

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provides monitoring and treatment for newborns suffering from Neonatal Abstinence
Syndrome (NAS) or drug exposure. The staff also provides one-on-one care to mothers
and connects them with the resources they need including substance abuse programs,
food, clothing, parenting, housing and other needed services.

g.) YALE Academy

Academy Programs, located in Fairmont, West Virginia submitted an application to the
Bureau for Children and Families for the development of Youth Accelerated Learning
Environment (YALE) Academy. This 24-bed, level II, staff secured residential treatment
facility, will treat male and female adolescents between the ages of 12 and 17 and
transitioning adults, with co-occurring substance abuse diagnosis and mental health or
conduct disorder diagnosis. The YALE Academy is expected to open in 2015.

3. Best Practices Deployment

a.) Safe at Home West Virginia, approved for implementation by end of 2015, is based
on the National Wraparound Initiative Model which focuses on a single service
coordination plan for the child and family. Elements of the service model will include
assessments, care coordination, planning and implementation, and transitioning families
to self-sufficiency. The Title IV-E Waiver program will require commitment of all
stakeholders to transform the way we serve families. (Safe at Home WV)

b.) The New View was implemented in 2013. When the project started, West Virginia
children ranked with the coldest temperatures (i.e., those predicted to be most likely to
linger in care). The New View, modeled after Georgia’s Cold Case project, assigns
attorney “viewers” to conduct file reviews and interviews to make permanency and
transitional recommendations to local courts, multidisciplinary treatment teams, and the
Bureau for Children and Families (BCF) leadership, on the children identified as being at
risk of lingering in care and/or aging out of the system. The New View Project involves
some court observation, as local courts sometimes invite the attorney viewers to attend
hearings regarding the children they are viewing, and the viewers often participate in the
children’s multidisciplinary treatment team (MDT) meetings. This year, the use of
AFCARS data for the New View Project is in the implementation phase. The project used
fall 2013 AFCARS data for a predictive model to identify children likely to linger in out-of-
home care.

Approximately 100 were assigned to viewers in the past two years. Although the New
View project provides a treasure trove of information, it represents a small segment of the


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whole state’s cases. The New View, implemented in 2013, began incorporating use of
AFCARS data.

c.) For the May 2014 circuit court judicial conference, the Court Improvement Program
worked with Casey Family Programs to bring Judge Michael Nash of California to speak
to the judges about monitoring psychotropic medications of children in care.

4. Workforce Development

a.) The Court Improvement Program (CIP) sponsored training that involved cross-system
collaboration.

      In July 2014, the CIP held juvenile law training, “Building a Strong Education”, that
       involved attorneys and the W.Va. Department of Education;
      In July 2014, the CIP with support from the Department of Health and Human
       Resources provided free cross-trainings for attorneys, social workers, counselors,
       and others involved in child abuse/neglect and juvenile cases. The theme of the
       July 2014 trainings was “From Impossible to I’m Possible: Empowering Children,
       Families, and Professionals to Realize Their Potential.”

b.) Approximately 900 people have been trained on the Comprehensive Assessment and
Planning System (CAPS) and the Child and Adolescent Needs and Strengths (CANS)
assessment.

      A total of 202 people has attended the Comprehensive Assessment and Planning
       System (CAPS) Implementation Training; 24 CAPS providers trained and certified;
       online CAPS training was viewed by 424 DHHR employees and 258 people from
       other agencies/organizations; CAPS and CANS face-to-face training was provided
       to over 200 service provider staff in each DHHR region.
      Treatment providers utilized by the Juvenile Drug Court have also been trained in
       the use of the CANS.
      DHHR staff will be trained on using the CANS beginning with the Youth Services
       staff and their supervisors.
      A subgroup of the West Virginia super users began building the same sustainable
       Child and Adolescent Needs and Strengths (CANS) assessment training program
       for the Adult Needs and Strengths Assessment (ANSA).

c.) Training curriculum to support practical implementation of best practice principles,
including Family Centered Practice, Family-Youth Engagement, and Cultural-Linguistic
Competence, was delivered to 442 cross-systems direct care and management staff in

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2014. Curriculum was launched in 2013 with support from a federal SAMHSA expansion
grant and modules are approved for social work continuing education and delivered free
of charge to stakeholders. (West Virginia System of Care)

d.) “Introduction to Serving Children with Co-Existing Disorders” training was revised and
presented to 60 direct care staff and managers serving children with both mental health
and intellectual/developmental disabilities. (Bureau for Behavioral Health & Health
Facilities, Service Delivery and Development Work Group)

5. Education Standards

a.) To promote school stability, educational access and provide a seamless transition
when school moves occur for children in out-of-home care, the West Virginia Department
of Education and the Out-of-Home Care Education Advisory Committee worked on the
following to promote positive outcomes:

      An additional Transition Specialist was hired in 2014 and participated in the out-
       of-state site visits to monitor regular educational programs of children in
       placement. They assisted students and the out-of-state host agency in developing
       individualized portfolios for the transitioning of students. The Transition Specialists
       reconnect children returning from placement in juvenile institutions to their
       communities and public schools.
      The Reaching Every Child brochure was revised, and a memorandum was sent
       out by the State Superintendent of Schools.

6. Provider Requirements

a.) The West Virginia Bureau for Children and Families has been working collaboratively
with our Out of Home Provider partners to transform our child placing system. There have
been numerous group meetings to allow activities of this group to focus on the
development of proposals and plans to move from a system built on levels of care to a
system built to meet the identified needs of individual children.

Meetings were held May 11, June 5, June 26, July 10, and August 18, 2015 with providers
of the different types of agencies: shelters, specialized foster care, and group residential.
The agencies were asked to develop standards of care across the placement types as
well as outline a continuum of care for community-based services.           They were also
encouraged to submit proposals (by out of home setting type and across types) to
describe how they would assess the child to determine level of needs. By November 1,
2015 a plan will be developed outlining how the system will be transformed into a

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continuum of care by identifying each step that will need to be taken. Once the plan is
developed, an implementation date will be determined.

Included in these systemic changes will be measurable outcomes and performance
measures that will be included in all provider agreements. Draft provider agreements,
including the newly developed outcomes and performance measures, are to be
completed by August 31, 2015 to allow for updating agreements for finalization in
September 2015.

b.) The West Virginia Interagency Consolidated Out-of-State Monitoring process
continued to ensure children in foster care and placed outside of the state of West Virginia
are in a safe environment and provided behavioral health treatment and educational
services commensurate with WV DHHR and WVDE standards. In 2014, five on-site
reviews and three remote assessments (facility self-assessment) were conducted on out-
of-state facilities where WV children were placed. (West Virginia Interagency
Consolidated Out-of-State Monitoring Team.

These are joint reviews done by staff from the Department of Education, Bureau for
Medical Service (via APS Healthcare), and BCF’s Licensing unit. The teams do 5 on-site
reviews a year, and the facilities that are reviewed are normally the OOS facilities that
provide services to the largest population of youth from WV. The three entities decide
what facilities will be reviewed every year prior to Jan 1 of each year. The reviews
normally take several weeks to complete, with the reviewers being onsite for about 2 to 3
days. Each entity decides how many staff they will send for each review. A sample (10%)
of staff records and (10% of WV youth) youth’s records are reviewed. Example: Timber
Ridge in VA was reviewed recently, and we had 2 staff from education, 1 staff from
Licensing and 1 staff from APS HealthCare.

2017 Update

The West Virginia Interagency Consolidated Out-of-State Monitoring process continues
to ensure children in foster care who are placed outside of the state of West Virginia are
in a safe environment and provided behavioral health treatment and educational services
commensurate with WV DHHR and WVDE standards. (West Virginia Interagency
Consolidated Out-of-State Monitoring Team)

In FFY 2016, the following on-site reviews were completed:

      Barry Robinson - Psychiatric Residential Treatment Facility (VA)
      Gulf Coast – Group Residential (FL)

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      New Hope Carolina - Psychiatric Residential Treatment Facility (SC)
      Coastal Harbor - Psychiatric Residential Treatment Facility (GA)
      Abraxas I – Group Residential (PA)

7. Multidisciplinary Team (MDT) Support

a.) Curriculum and training package for statutorily required Multidisciplinary Treatment
(MDT) teams have been finalized. (Court Improvement Program)

b.) Regional Clinical Review teams continued to provide comprehensive, objective,
clinical reviews for children at risk as a resource for the child’s Multidisciplinary Treatment
Team (MDT) (System of Care)

c.) The Court Improvement Program began sending an electronic survey to judges,
attorneys, social workers, and others involved in child abuse/neglect and juvenile cases
in the past year. The survey results may illuminate how MDT participation is going in
practice, compared to policy and procedural rules. (Court Improvement Program)

8. Ongoing Communication and Effective Partnerships

a.) Members of the Commission, the Court Improvement Program and the West Virginia
Department of Education/Education of Children in Out-of-Home Care Advisory
Committee initiated an agreement to share data to compare educational outcomes for
children in out-of-home care with all children in state public schools.

b.) Youth representative Jessica Richie-Gibson joined the Commission to Study
Residential Placement of Children as a full member.

c.) Timeliness of the Health Screening (EPSDT) process overall has improved, a success
that is a product of the Bureau for Children and Families and the Bureau for Public Health
working together. (Three Branch Institute)

9. Performance Accountability

a.) The IV-E Waiver, Safe at Home West Virginia began its development and planning
phase, including statewide training of Bureau for Children & Families staff and community
providers on the Results Based Accountability (RBA) process. RBA uses a data-driven
decision-making process to help communities and organizations take action to solve
identified problems. It is a simple, common sense framework that everyone can
understand. RBA starts with ends and works backward, towards means. Using RBA to

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guide the program means three core questions will inform the process: How much did we
do? How well did we do it? Is anyone better off? Success is measured not simply by
compliance to rules and regulations, but by the real-life impacts, or results, of the work
completed. (Safe at Home WV).

b.) As part of Safe at Home WV, BCF has and will continue to award grants for Local
Coordinating Agencies who will be responsible for hiring the Wraparound Facilitators. The
grant Statement of Work was drafted by BCF and includes measurable outcomes that are
included within the Demonstration Project. These Statements of work will also be
discussed with our partners to allow for their input and additions. There is a meeting
scheduled on September 16, 2015 with the lead agencies and BCF grants staff, program
staff, and financial staff to discuss the statement of work and other requirements and to
further assure the unity of our focus and purpose. The Waiver Demonstration Project
Evaluation will measure identified outcomes. This information will be used to assist BCF
and our partners in assuring quality performance. All grants and contacts will be revised
to include RBA performance measures.

As outlined in the "Provider Requirements" section, West Virginia has worked
collaboratively with our Out of Home Placement Providers to develop measurable
outcomes and performance measures to include within their programs and our provider
agreements. West Virginia's Out of Home Placement partners have developed proposals
for their program restructuring and outcome/performance measures. Because of our
partnership of going through Results Based Accountability training together the
outcome/performance measures are structured within the RBA framework. Most
proposed outcomes also fit within West Virginia's Demonstration Project outcomes and
therefore will be evaluated as part of the Demonstration Project program evaluation.

c.) Semi-annual evaluation reports prepared for the Commission by Marshall University,
on both out-of-state youth and regional clinical review provide information to address
systemic issues, service needs and gaps. (West Virginia System of Care)

Other Collaborative Efforts

Regional Summits and Community Collaboratives

In the Title IV-E demonstration project (Safe at Home, West Virginia); the Regional
Summits and Collaborative Bodies have specific roles. The purpose of the Regional
Summits is to help develop the appropriate linkages with courts, juvenile probation,
agency providers, DHHR staff and county educations systems to meet the purpose of
their identified specific service needs and gaps. The purpose of the Community

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Collaboratives is to share resources and identify service gaps to develop needed services
with providers, service agencies and the community to ensure a timely, consistent and
seamless response to the needs of children and families. Specifically, the Community
Collaboratives will prevent children from being placed in congregate care and assist in
returning children from out-of-state placements by identifying services or resources in
their communities that can meet the needs of these children. They will also develop, link
and implement services to assist youth transitioning into adulthood and prepare them for
independent living. When the Collaborative Bodies have difficulty with filling gaps in
services, the Collaborative is expected to forward the request to the Regional Summit to
identify any resources in the area that lie outside the Community Collaborative body’s
scope. The regional Summit will communicate that need to the BCF Statewide
Coordinator who can present the need to the Safe at Home West Virginia Advisory Team.

2016 Update

The West Virginia Department of Health and Human Resources (DHHR) continues to
collaborate with internal and external stakeholders to ensure that child welfare information
and data is shared on a regular basis, agency strengths and areas needing improvement
are assessed collectively, and goals and objectives for improvement are determined
though a coordinated process.

West Virginia held many joint planning meetings in preparation of the Annual Progress
and Services Reports (APSR) that involved many stakeholders and will continue doing
this to coordinate and collaborate for each of the Annual Progress and Services Reports
(APSR).

Keeping the Commission’s priority goals as the focus, these accomplishments represent
the work for January 2015 through December 2015. The accomplishments may apply to
more than one priority goal area.

1. Appropriate Diagnosis and Placement

Implement and maintain ways to effectively sustain accurate profile/defined needs
(clinical) of children in out-of-home care, regardless of placement location, at the
individual, agency, and system levels to include clinical review processes, standardized
assessments, total clinical outcomes management models, etc., that result in the most
appropriate placements.

      The WV System of Care worked through two processes to identify gaps in
       services, barriers to serving youth in the state, and returning youth to the state.

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       These processes have also prevented youth from being placed in out-of-state
       services, identified services appropriate for the youth and assisted in the planning
       for youth returning to the state. These two processes are the Regional Clinical
       Review Team and the Out-of-State Review Team. The number of youth being
       placed out-of-state continues to decrease. Two years ago (2012-2013) 533 youth
       were placed out-of-state. Last year (2013-2014) 492 youth were placed out-of-
       state, and this year (2014-2015) 477 youth were placed out-of-state, an 11%
       decrease in 3 years. Regional clinical review teams continued to provide
       comprehensive, objective, clinical review for children at risk as a resource for the
       child’s Multidisciplinary Treatment Team (MDT). A total of 58 regional clinical
       review team meetings took place between January and December 2015, to review
       131 youth.
           o 21 youth who received a clinical review in 2015 were prevented from out-
              of-state placement.
      The Bureau for Children and Families is currently in the process of developing
       program standards for a request for applications to broaden the family foster care
       program statewide. This will create a three-tiered foster care program in West
       Virginia that will serve children through traditional foster care, treatment foster care
       and intensive treatment foster care.
      The Universal Assessment, WV Child and Adolescent Needs and Strength (CANS)
       was cross walked with the National Child Traumatic Stress Network Trauma CANS
       version and CANS sub-modules and was approved by the Praed Foundation in
       May 2015.
      WV continues to move toward utilizing the Total Clinical Outcome Management
       (TCOM) framework to measure, report, and build system capacity, especially in
       community-based service delivery and supports.
      Hornby Zeller Associates, Safe at Home WV evaluators, has developed the
       Automation of the WVCANS 2.0. The site is complete, and they have written a
       user guide that is being reviewed by a few of our WVCANS experts. All users are
       being set up in their system that went live in the middle of February.
      The Department of Health and Human Resources (DHHR), Bureau for Children
       and Families, provided grants for licensed behavioral health agencies with direct
       children’s service experience to act as local coordinating agencies in the
       implementation of the high fidelity Wraparound Model, with supporting services,
       for West Virginia’s Safe at Home WV Wraparound.

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      A comprehensive and searchable Provider Directory was added to the Bureau of
       Medical Services website to allow members, parents or legal guardians of
       members, and field office staff to have access to a directory of a variety of
       behavioral health providers that are available in throughout our state. This is
       checked on a regular basis to ensure that true up to date information is available
       on this site: http://www.wvcca.org/directory.html.

2. Expanded Community Capacity

Expand in-state residential and community-based program and service capacity for out-
of-home children through systematic and collaborative strategic planning to include
statewide programs such as Building Bridges, System of Care, and systems such as the
Automatic Placement and Referral System (APR), and greater emphasis on upfront
prevention approaches.

      The Safe at Home WV Services and Supports survey and results were completed
       by the Family Resource Networks, Regional Children’s Summits and Community
       Collaborative Group members in June 2015. The Safe at Home WV Services and
       Supports included a listing of the core services within a wraparound model. The
       Family Resource Networks, Regional Children’s Summits and Community
       Collaborative Group members were asked to determine if each of the 17 core
       services existed in their respective county. (Safe at Home WV)
      The Community Self-Assessment survey and results were completed by the
       Family Resource Networks, Regional Children’s Summits and Community
       Collaborative Group members in July 2015. The Community Self-Assessment
       looks at the readiness (based on the member’s knowledge) of communities to
       implement a wraparound model as prescribed from the National Wraparound
       Initiative. (Safe at Home WV)
      The Office of Maternal, Child and Family Health met with the Pediatric Medical
       Advisory Board on April 17, 2015, to form a workgroup to develop age-appropriate
       trauma screening questions for addition to the HealthCheck forms. (The Three
       Branch Institute)
      The Family Resource Networks, who are involved in county/community-based
       prevention/tertiary initiatives, will continually assess the services available to
       community family members (community service array). As team members of the
       Community Collaborative Groups, who will be reviewing children’s needs, this

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       information will be shared, and solutions will be identified. When Community
       Collaborative Groups identify systemic barriers, or need additional assistance,
       they will seek further assistance by forwarded their concerns to the Regional
       Summits.
      The Three Branch Committee for Substance Use in Pregnancy was created to
       “Safely reduce the reliance on out-of-home placement of children by reducing the
       incidence of substance exposed infants placed in out-of-home care”. A
       collaborative planning approach was chosen to bring together existing programs
       and partnerships to promote consistency and achieve collective impact and to
       include ALL substances. Collaboratively, members have increased the number of
       treatment and recovery residences from 409 to 759; added Certified Recovery
       Coaches from 0 to 201; promoted Opioid Treatment Centers becoming licensed
       behavioral health programs; increased the number of physicians providing
       buprenorphine, 46 to 187 physicians waivered (164 Medicaid); and added Moms
       and Babies programs from 0 to 4.
      Governor’s Advisory Council on Substance Abuse directed funding to support a
       START partnership pilot, a joint initiative between the Bureaus for Children and
       Families and Behavioral Health and Health Facilities. (Three Branch Committee
       for Substance Use in Pregnancy)
      1-844-HELP-4-WV 24/7 real-time call line clinical & recovery staff providing warm
       hand-offs, transportation and follow-up. (Three Branch Committee for Substance
       Use in Pregnancy)
      “As of December 31, 2015, 830 participants have successfully graduated from
       West Virginia’s Adult Drug Courts (ADCs), which have a graduation rate of 52%.
       The recidivism rate for graduates over the past two years is 9.4%. One-year post
       graduation recidivism rate is only 1.8%. As of the end of December 2015, there
       were 25 operating ADC programs comprising 31 individual courts covering 43
       counties… and 448 active clients.” (More information about the WV Adult Drug
       Courts can be found in Appendix H.)
      “As of December 31, 2015, there are 15 operational Juvenile Drug Courts (JDCs)
       programs comprised of individual courts covering 17 counties. On December 31,
       2015, there are with 197 active JDC cases. 492 participants have successfully
       graduated from West Virginia’s JDCs. The JDCs have a graduation rate of
       approximately 50.5%. The recidivism rate for graduates is 14.6% as compared to


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       55.1% in traditional juvenile probation.” (More information about the WV Adult Drug
       Courts can be found in Appendix H.)

3. Best Practices Deployment

Support statewide awareness, sharing, and adoption of proven best practices in all
aspects (e.g., treatment, education, well-being, safety, training, placement, support)
regarding the Commission’s targeted populations.

      Safe at Home WV revised plan was presented to the Children’s Bureau in mid-
       January 2015. Hornby Zeller Associates was awarded the contract that began
       July 1, 2015. Safe at Home West Virginia was rolled out on October 1, 2015, in the
       counties of Berkeley, Boone, Cabell, Jefferson, Kanawha, Lincoln, Logan, Mason,
       Morgan, Putnam and Wayne. These initial counties were chosen based upon
       areas of highest need as reflected by the number of children in out of home care
       and areas of most readily available services.
      The Safe at Home WV Wraparound Advisory Team was formed. By December
       2015, 58 youth have been referred to Safe at Home WV for Wraparound Services
       (24 in out-of-state placements; 26 in in-state placements; and 8 cases were
       prevented from residential placement). A total of 4 youth has returned to West
       Virginia, 5 youth have returned to their communities from in-state residential
       placements, and 8 youth were prevented from entering residential placement.
      Presentations have been provided to the members of the Community Collaborative
       Groups and Regional Children’s Summits regarding Safe at Home WV and they
       have been asked to take the 10 Principles of Wraparound (that also align with the
       Commission priority goals) back to their agencies and offices and discuss
       thoroughly with their staff. They are also reviewing information regarding the youth
       in the Safe at Home WV target population and those in out-of-state placements.
      Development of the Wraparound Model work plan and products have been drafted.
       (Service Delivery & Development Work Group)

4. Workforce Development

Address staffing and development needs, including cross-systems training, that ensure a
quality workforce with the knowledge, skills, and capacity required to provide the
programs and services to meet the requirements (e.g., assessments, case management,

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adapt best practices, quality treatment, accountability) of those children in the
Commission’s targeted populations.

          In June 2015, direct service staff was surveyed to gage their level of knowledge
           of the Comprehensive Assessment Planning System (CAPS) Statewide
           Implementation and the Child Adolescent Needs and Strengths (CANS)
           assessment tool utilized by the CAPS and determine additional training and
           informational disbursement needed. (Service Delivery & Development Work
           Group, CAPS Task Team)
         A basic training entitled “Developmental Disabilities and Co-Existing Disorders: An
          Overview” along with a Training of Trainers curriculum was developed. This cross-
          sector training that also serves as relationship-building opportunities for providers
          in the mental health, IDD and child welfare systems. (Service Delivery &
          Development Work Group, Silo Spanners)
         HealthCheck operational policy was revised to include procedures that ensure
          continuity of operations when one or more Foster Care Liaison staff is absent.
          (Three Branch Institute)
         The Bureau for Public Health, Office of Maternal, Child and Family Health
          collaborated with the Bureau for Children and Families to improve quality and
          timeliness of FACTS data. In September 2013, 17% EPSDTs were scheduled for
          an exam within the first day of placement. In May 2015, this percentage increased
          to 63.2%.
         The Wraparound Model Task Team developed and provided the Wraparound 101
          training targeted stakeholders in June 2015.

5. Education Standards

Ensure education standards are in place and all out-of-home children are receiving
appropriate quality education in all settings and that education-related programs and
services are meeting the requirements of all out-of-home children, regardless of
placement location.

  •       The West Virginia Department of Education and the Out-of-Home Care Education
          Advisory Committee will continue to study the educational growth of children in
          out-of-home care. Specifically, they wish to investigate why students are not
          included in the data; investigate the student growth data discrepancy; examine and
          study the proficient students and see why these students are doing better; obtain

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       change of placement data and correlate with assessment data; and examine
       disciplinary infractions to see if the infractions made are accurate and consistent
       across the state.

6. Provider Requirements

Require placements in all locations be made only to providers meeting West Virginia
standards of licensure, certifications and expected rules of operation to include
demonstrated quality in all programs and services that meet West Virginia Standards of
Care.

       The development of a retrospective review tool was initiated to capture
        expectations for quality Comprehensive Assessment and Planning System
        (CAPS) and Comprehensive Assessment Reports (CAR) that includes the Child
        and Adolescents Needs and Strengths (CANS). (Service Delivery & Development
        Work Group, Comprehensive Assessment and Planning System Task Team)
      The Bureau for Medical Services implemented prior authorizations for atypical
       psychotropics for all children receiving Medicaid between the ages of 6 and 18
       years on August 1, 2015. Prior authorization for younger children is already a
       requirement. A key next step for the workgroup is to develop an evidence-based
       professional education program that can be delivered to DHHR staff, practitioners
       and other professionals working with children in foster care.
      On August 1, 2015, the Bureau for Medical Services (BMS) implemented a prior
       authorization process for atypical psychotropic medications for foster children
       between the ages of 6 and 18 years. In addition, BMS is exploring a prior
       authorization process for stimulant medications, specifically for children in foster
       care. The workgroup is also continuing to develop a plan for provider education.
      To better understand prescribing practices, the Bureau for Public Health, Bureau
       for Medical Services and the Bureau for Children and Families undertook a case
       review of 68 case records for foster children prescribed psychotropic medications
       from three or more classes; nearly all (63/68; 93%) of these foster children had
       record of a hyperkinetic syndrome diagnosis, primarily Attention Deficient Disorder
       (ADD) and Attention Deficient Hyperactivity Disorder (ADHD) (59/63; 94%). These
       prescriptions were primarily written by psychiatrists (78%) and did not exceed the
       recommended daily dosage (83%).
7. Multidisciplinary Team (MDT) Support

Support the multidisciplinary treatment team (MDT) concept and assist enhancing present
MDT processes statewide.

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      To reduce the reliance of out-of-home placement of children by identifying needs
       of children when involvement begins, the Three Branch Institute, Out-of-Home
       Placement Workgroup coordinated cross system strategies with the IV-E Waiver
       process; conducted a survey to capture a snapshot of how MDTs are conducted;
       developed and released statutorily required Multidisciplinary Treatment (MDT)
       Team Curriculum and Training Package; revised and distributed a MDT Desk
       Guide; and supported the Implementation of Child and Adolescent Needs and
       Strengths (CANS) in WV.
      The statutorily required Multidisciplinary Treatment (MDT) team curriculum and
       training package was piloted on May 29, 2015. The training curriculum and training
       package will be maintained by the Court Improvement Program’s newly joined
       Behavioral Health and Multidisciplinary Treatment (MDT) Team Committee
       chaired by Judge Bloom.

8. Ongoing Communication

Develop appropriate and timely cross-system and public communications regarding the
work of the Commission that fosters awareness and the continued commitment of
stakeholders to reduce the placement of children outside of their community of residence
and to enhance in-state service capacity to reduce the number of children in West Virginia
requiring out-of-home care.

      The Commission members and guests traveled to Prestera Center at Pinecrest in
       Huntington, WV, on August 27, 2015, to hold their quarterly meeting and hear and
       see first-hand what is happening in the area regarding the out-of-home population.
       The goal of this meeting was to allow the community to communicate their actions
       and barriers they face when children need to be placed out-of-home, and gain
       support toward improving outcomes.
9. Effective Partnerships

Continue to seek strong partnerships with individuals, agencies, organizations, other
Commissions and special initiatives that advance the overarching goals and strategies of
the Commission.

      In February 2015, the Mentoring & Oversight for Developing Independence with
       Foster Youth launched a “We Still Care” project to provide care packages to youth
       throughout the year to show them that even as they transition out of foster care,
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       there are those that do still care. Along with the care packages, sponsors will
       provide cards and letters of support. During the year, 440 packages were sent to
       youth ages 17 to 21 across the state that was identified in the National Youth in
       Transition Database cohorts. We Still Care received donations due to a
       partnership with the Taylor County Collaborative Family Resource Network.
       Donations are tax-deductible and are given by individuals and organizations
       across West Virginia.
      The West Virginia Interagency Consolidated Out-of-State Monitoring process
       continues to ensure children in foster care who are placed outside of the state of
       West Virginia are in a safe environment and provided behavioral health treatment
       and educational services commensurate with WV DHHR and WVDE standards.
       (West Virginia Interagency Consolidated Out-of-State Monitoring Team)
       In 2015, the following on-site reviews were completed:
             o George Junior Republic – Group Residential Level II Facility (PA)
             The Bureau for Children and Families terminated the placement agreement
             at the facility in April 2015 and all youth were to be moved from the facility
             as soon as appropriate placements were found;
             o Timber Ridge - Group Residential Level II Facility (VA)
             o Summit Academy - Psychiatric Residential Treatment Facility (PA)
             o Liberty Point Behavioral Healthcare, UHS - Psychiatric Residential
                  Treatment Facility (VA)
             o Barry Robinson - Psychiatric Residential Treatment Facility (VA)

2017 Update

      The West Virginia Interagency Consolidated Out-of-State Monitoring process
       continues to ensure children in foster care who are placed outside of the state of
       West Virginia are in a safe environment and provided behavioral health treatment
       and educational services commensurate with WV DHHR and WVDE standards.
       (West Virginia Interagency Consolidated Out-of-State Monitoring Team)
       In FFY 2016, the following on-site reviews were completed:
             o Barry Robinson - Psychiatric Residential Treatment Facility (VA)
             o Gulf Coast – Group Residential (FL)
             o New Hope Carolina - Psychiatric Residential Treatment Facility (SC)
             o Coastal Harbor - Psychiatric Residential Treatment Facility (GA)
             o Abraxas I – Group Residential (PA)


10. Performance Accountability

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Ensure accountability through monitoring performance outcomes, improving processes
and sharing information with all stakeholders.

      West Virginia is one of six sites that was selected in November by the U.S.
       Substance Abuse and Mental Health Services Administration (SAMHSA) to
       receive an 18-month program of In-Depth Technical Assistance (IDTA) from the
       National Center on Substance Abuse and Child Welfare (NCSACW) to help us
       work collaboratively across multiple disciplines to improve outcomes related to the
       prevention, identification, intervention and provision of treatment and support
       services for Substance Exposed Infants (SEIs) and their families.
      Bureau for Children and Families initiated a new web-based reporting system to
       track babies with NAS and Fetal Alcohol Spectrum Disorder. (Three Branch
       Committee for Substance Use in Pregnancy)
      Bureau for Public Health has collected the first year of data for the new required
       birth certificate components that include substance exposed pregnancies. (Three
       Branch Committee for Substance Use in Pregnancy)
      Bureau of Medical Services has begun data collection on utilization of pregnant
       women to further analyze the origin of substance exposures, family planning and
       medication assisted treatment and implemented Medicaid Expansion, Telehealth
       and MAT Coverage improvements. (Three Branch Committee for Substance Use
       in Pregnancy)

2017 Update

West Virginia continues to collaborate with several high-level groups to develop and
review progress on its Child and Family Services Plan as well as yearly progress reports.
These oversight groups are: Commission to Study Residential Placement of Children;
“Safe at Home West Virginia”; West Virginia Three Branch Institute; West Virginia Court
Improvement Program; Juvenile Justice Reform Oversight Committee, and Education of
Children in Out of Home Care Advisory Committee.

Bureau for Children and Families staff are assigned as representatives to offer input on
various projects and plans initiated by each of these groups. In return, these groups offer
input on the Child and Family Services Plan developed by the Bureau on a routine basis
throughout the year.
For additional information, please see West Virginia’s Statewide Self-Assessment.

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To accomplish the goals established in the CFSP; the development of this APSR; the
CFSR; and the CFSR, PIP; the Department has ongoing collaboration and continuous
input from stakeholders across the state through oversight groups, advisory committees,
workgroups, and task teams. Collaboration occurs through activities that are both
structured and informal.

Governor’s Advisory Council on Substance Abuse (GACSA)

In 2017, the Governor’s Advisory Council on Substance Abuse (GACSA), under the
leadership of Governor, Jim Justice, became the advisory board for the Department of
Health and Human Resources (DHHR), Bureau for Behavioral Health and Health
Facilities, Office of Drug Control Policy. In August, the Office of Drug Control Policy,
announced funding for the expansion of drug treatment services to combat the drug
epidemic. Additionally, House Bill 2428 (known as the Ryan Brown Addiction Prevention
and Recovery Fund), was passed by the Legislature during the regular legislative session,
which mandates that DHHR ensure beds to provide substance use disorder treatment
services in existing or newly constructed facilities. The DHHR plans to evaluate where
there is the greatest need for drug treatment services in West Virginia and will

The Bureau for Behavioral Health and Health Facilities provides training, technical
assistance and funding support through WV State Revenue and federal Substance Abuse
Prevention and Treatment (SAPT) Block Grant dollars to community providers offering a
full continuum of substance abuse services.

Collaboration with the Supreme Court of Appeals of West Virginia, Court Improvement
Program

“The mission of the West Virginia Court Improvement Program is to advance practices,
policies, and laws that improve the safety, timely permanency, and well-being of children
and due process for families in child abuse/neglect and juvenile cases”

The WV Court Improvement Oversight Board has four (4) committees that focus on
achieving the mission.

   1. The Data, Statutes, and Rules Committee focus on maintaining compliance with
      the federal child welfare laws (including Title IV-E) and updating WV’s statutes and
      rules; drafts legislation to maintain compliance with federal code; identifies data
      needed for projects and reviews data related to child abuse and neglect case.
   The New View is one of the projects of the Data, Statutes, and Rules Committee. The
   purpose of the CIP New View project is to provide meaningful recommendations to
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   multi-disciplinary treatment teams and circuit courts to help in achieving permanency
   and well-being for the child. Additionally, the project hopes to collaborate with DHHR
   in finding solutions to systemic issues discovered by the project. The project views
   children’s cases from a predictive model of children who are likely to linger in out-of-
   home care. The project intervenes in cases where children are lingering in care and
   have not reached permanency. To date, the New View Project has resulted in the
   return of 40 children from out-of-state facilities and has prevented another 286 from
   placement in congregate or foster care.

   2. The Child Protection Across Court Systems (CPACS) Committee focus on the
      overlap between family courts and circuit courts in child abuse and neglect.

   3. The Youth and Family Services Committee focus on the services and treatment of
      youth in states custody.
   The Away from Supervision is one of the workgroups of the Youth and Family Services
   Committee. The Court Improvement Program (CIP), Away from Supervision
   workgroup monitors data on children who are away from supervision or who have run
   away from out‐of‐home care and makes collaborative proposals for systemic
   improvement. The workgroup identifies the causes and issues of when children are
   habitually away from supervision or who have run away from out‐of‐home care;
   implements solutions for the identified causes and issues; and evaluates and
   disseminates findings. In addition, the CIP, Away from Supervision workgroup
   recently began tracking youth trafficking/exploitation of children in out‐of‐home
   care when away from supervision.

   4. The Training Committee focus on providing quality continuing education to
       professionals who work in the field of child abuse and neglect.
   The Court Improvement Program’s Free Cross-Training Child Abuse/Neglect and
   Juvenile Law, “Moving Forward Together,” were held on July 10‐11, 2017 at
   Lakeview Resort in Morgantown and July 17‐18, 2017 at the Charleston Civic Center
   in Charleston.

Commission to Study Residential Placement of Children

The Commission to Study Residential Placement of Children tracks the goals and
progress of the Commission’s goals, the goals of the oversight groups and others. The
progress is provided in the Annual Progress Report Advancing New Outcomes, Findings,
Recommendations, and Actions. This report is provided to the Legislative Oversight
Commission on Health and Human Resources Accountability, the Oversight Group
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members,     and     is   available       on      the    WV       DHHR      website      at:
http://www.wvdhhr.org/oos_comm/

The 2017 Annual Progress Report Advancing                   New     Outcomes,     Findings,
Recommendations, and Actions include the following:

DHHR’s Bureau for Children and Families fully implemented a Three-Tiered Family
Foster Care Program in West Virginia statewide. The foster family care model provides
a milieu of treatment services and supports to ensure safety, well-being and permanency
goals can be met in a family-like setting either through reunification and/or adoption. The
Family Foster Care Model continuum includes: Traditional Foster Care, Treatment Foster
Care, Intensive Treatment Foster Care.
DHHR’s Bureau for Children and Families received a federal IV-E waiver in fall 2014. The
IV-E waiver, Safe at Home West Virginia, which echoes the Commission to Study the
Residential Placement of Children’s Priority Goals for Implementation, will allow West
Virginia to improve its child welfare system and serve children in their home communities
through the Safe at Home West Virginia demonstration project.
Phase 3 of Safe at Home West Virginia rolled out April 1, 2017 in the final 20 counties to
bring the program to a statewide implementation. The counties are: Braxton, Calhoun,
Clay, Doddridge, Fayette, Gilmer, Jackson, McDowell, Marshall, Mingo, Pleasants,
Raleigh, Ritchie, Roane, Tyler, Webster, Wetzel, Wirt, Wood, and Wyoming.
As of September 30, 2017, 1, 172 youth have been enrolled in Safe at Home West
Virginia. West Virginia has returned 58 youth from out-of-state residential placement back
to West Virginia, 171 youth have stepped down from in-state residential placement to
their communities, and 15 youth have returned home from an emergency shelter
placement. West Virginia has prevented the residential placement of 713 at risk youth.
As of September 30, 2017, 728 DHHR staff have been trained in using the Child and
Adolescent Needs and Strengths (CANS) comprehensive assessment tool. During this
reporting period, 114 people have been certified or re-certified in the administering of the
CANS.
All stakeholders were asked to share both the formal and informal services that
youth/families have received during their participation in Safe at Home West Virginia. The
10 most common services included: individual therapy, tutoring, school advocacy, family


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therapy, life skills, youth coaching, medication management, community outings,
mentoring, and parenting classes.
DHHR’s, Bureau for Behavioral Health and Health Facilities fully implemented its
Children’s Mental Health Wraparound that serves four pilot areas including Berkeley,
Cabell, Kanawha, Harrison, Marion, and Raleigh counties. The Children’s Mental Health
Wraparound is evidence-based and modeled after the National Wraparound Initiative and
Safe at Home West Virginia program. It will serve youth with severe emotional
disturbance/complex support needs in parental custody who are in or at risk of placement
in an intensive psychiatric treatment setting. Of the 112 referrals to the Children’s Mental
Health Wraparound, 51 referrals were accepted.
The West Virginia System of Care has worked through three processes to identify gaps
in services and barriers to serving youth in the state and returning youth to the state.
These processes are the Regional Clinical Review Team, the Out-of-State Review,
and Conference Calls. These processes have prevented youth from being placed in out-
of-state services, identified services appropriate for the youth and assisted in the planning
for youth returning to the state.
Comparatively, for FY 2012-2013, 533 youth were placed out-of-state; FY 2013-2014,
492 youth were placed out-of-state; FY 2014-2015, 477 youth were placed out-of-state;
FY 2015-2016, 425 youth were placed out-of-state; and this FY 2016-2017, 415 youth
were placed out-of-state. Overall, there is a 22% decrease from 2012-2013 to 2016-
2017.
Through these teams, some of the gaps in services identified include limited services for
youth with an intellectual disability including Autism; youth age 10 or younger requiring
intense treatment; and a lack of treatment foster care homes.
The Youth in Foster Care Report provides a review of the placement and ages of youth
who are in the custody of West Virginia over the last four years at a specific point-in-time
for each year (October 2014, 2015, 2016, and 2017).
     Since 2014, the number of youth in the custody of the state has steadily increased.
       When comparing October 2014 with October 2017, there was a 46% increase.
     An increase in the number of youth ages 11 and younger has been seen from 2014
       to 2017. This most likely is due to substance abuse issues in the biological family.




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      In October 2014, only 18% of the youth in the state’s custody were in a certified
       kinship/relative, kinship/relative or department adoptive home. In October 2017,
       50% of the youth were in this type of placement.
      In October 2017, 81% of the youth were in a home type setting. Only 20% of the
       youth were in congregate care.
      Fewer than 800 youth were being served in foster care placements in October
       2017 than were in October 2016. This may be due to an increase in the number
       being served by kinship and relatives.
      The total number of youth in custody of the state has increased, as has the number
       of youth being placed in out-of-state group residential and psychiatric treatment
       facilities. The number of youth out-of-state compared to the entire population of
       youth in state custody shows that the percentage has not changed.


As of June 30, 2017, there were 28 operating Adult Drug Courts (ADC) programs
comprising 34 individual courts covering 46 counties: Berkeley, Boone, Brook, Cabell,
Calhoun, Doddridge, Fayette, Greenbrier, Hampton, Hancock, Hardy, Harrison, Jackson,
Jefferson, Kanawha, Lewis, Lincoln, Logan, Marion, Marshall, Mason, McDowell, Mercer,
Mingo, Monongalia, Monroe, Morgan, Nicholas, Ohio, Pendleton, Pleasants, Pocahontas,
Preston, Putnam, Raleigh, Randolph, Ritchie, Roane, Summers, Tyler, Upshur, Wayne,
Wetzel, Wirt, Wood, and Wyoming counties.
For FY 2017, the average annual cost per drug court participant was $6,072 as compared
to $20,155 in the Regional Jail or $26,081 in the Division of Corrections prison. These
costs include intensive supervision, treatment, case management, and drug testing.
There were 657 active participants in the ADCs as of June 30, 2017.
As of June 30, 2017, there were 14 operational Juvenile Drug Courts (JDC) programs
serving the following counties: Boone, Brook, Hancock, Harrison, Kanawha, Lincoln,
Logan, McDowell, Mercer, Monongalia, Ohio, Pleasants, Putnam, Raleigh, Randolph,
Richie, Wayne, Wirt, and Wood counties.
For FY 2017, the average cost per youth was $5,054. This cost includes intensive
supervision, drug testing, some treatment services and specialized activities. This
contrasts with approximately $110,000 for the same period in a Division of Juvenile
Services (DJS) facility or a residential group facility.
On June 30, 2017, there were 154 active JDC participants in West Virginia.
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Casey Family Programs provided technical assistance through the Three Branch
Institute on Improving Child Safety and Preventing Child Fatalities, “Developing a
Culture of Safety in the Mountain State”. The Three Branch Institute promoted access
to evidence-based prevention and early intervention services for children and families,
referral policies and funding mechanisms were reviewed for early home visitation
programs, and a flow chart and diagram were developed to assist in determining eligibility.
To identify children and families at earliest signs of risks with priority on children under 1
years of age, resource teams are being formed to assist Child Protective Service Workers,
and current data around the effectiveness of parenting classes and other available
services is being researched.
To prevent child maltreatment deaths, a multidisciplinary in-depth review and analysis
from all organizations tracked child fatalities, including those not known to Child Protective
Services.
The West Virginia Department of Education (WVDE), Office of Diversion and Transition
Programs (ODTP) has increased the number of Education Transition Specialists to 18.
Transition Specialists serve students who face unique educational challenges because
they are placed in facilities out of their home for adjudicated and status related offenses,
mental health services, or specialized medical needs. They work closely with these
students to ensure, once they leave a placement, they can enroll in public school or higher
education, complete their high school graduation track and develop the necessary skills
for employment. Additionally, Transitional Specialists work with Local Education
Agencies (LEA) to assist with students at risk of placement in a facility outside their home.
The Education of Children in Out-of-Home Care Advisory Committee formed a
Multidisciplinary Treatment (MDT) Task Team. The task team developed materials to
increase the awareness of the importance of WVDE’s participation in MDT meetings
including a joint letter to key school officials from the State Superintendent of Schools,
Cabinet Secretary of DHHR and the Supreme Court of Appeals of West Virginia. The
task team also developed tools to facilitate educator participation in MDT meetings
including a checklist, guidance document, brochure and model report format.
To promote the Foster Care Provisions of Every Student Succeeds Act (ESSA), the
Advisory Committee continues to support and advise the WVDE and DHHR in the
development of a joint data system to report on the educational status and achievement
of children in the foster care system and policies, procedures and agreements to ensure
school stability.
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During 2017, the WVDE and DHHR issued a joint guidance document for county school
districts and local and regional DHHR staff entitled: Educational Stability for Homeless
Children and Children in Foster Care. The document provides answer to questions
regarding the implementation of the federal law and provides guidance on working
cooperatively to achieve school stability for children in out-of-home care.

The West Virginia Interagency Consolidated Out-of-State Monitoring process that
ensures the involves the DHHR, Bureau for Children and Families, DHHR Bureau for
Medical Services, and the WV Department of Education, Office of Special Programs
continues to evaluate and monitor the quality of services provided by out-of-state
providers. WV DHHR and WVDE use several review processes to ensure that according
to WV standards of practice.
In 2017, the following on-site facility reviews were completed:
      Grafton (VA)
      Bellaire (OH)
      Abraxas (PA)
      Bradley Center (PA)
      Alabama Clinical Schools (AL)

Family Resource Networks
The forty-seven (47) Family Resource Networks (FRNs), representing all fifty-five
counties, in partnership with the Alliance of Family Resource Networks (WVAFRN) is
developing a website as part of a Benedum grant. This central website will include a link
to each of the FRNs resource directories, programs, and current events. The West
Virginia Alliance of Family Resource Networks (WVAFRN) website is: http://wvfrn.org/
and a quick directory can be found on this same website at: http://wvfrn.org/quick-
directory/ .

This website is one of the Child and Family Services Review, Program Improvement
Plan’s goal for improving the Service Array.

Through the work of the FRNs and partner organizations, $10.5 million is received in
additional funding through grants and $3.8 million in donations, with more than 85,000 in
volunteer hours statewide that benefit West Virginia counties.


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Collaboration and involvement of staff throughout the Department (In a meeting, the
Regional Managers were supposed to see what was being done at the local level to
involve/collaborate with staff on the development of the ASPR

Region I

Region II

Region III

Region IV

Below is a detailed list of those involved in the Oversight Groups, Advisory Committees,
and Workgroups reference in the information above:

Collaboration on the development of the Child and Family Services Review (CFSR),
Program Improvement Program, Service Array Committee members include
representatives from: Bureau for Children and Families, Community Partnership,
Regulatory Management, CBCAP, Bureau for Behavioral Health and Health Facilities,
Bureau for Public Health, Maternal and Child Health, Prestera (service provider), WV
System of Care, Stepping Stones (group residential provider), and the Domestic Violence
Coalition.

2. Update on Assessment of Performance
Child and Family Outcomes

The most reliable data West Virginia has is our CFSR style reviews, AFCARS and
NCANDS. The following information is from the reviews completed by the Division of
Program and Quality Improvement. West Virginia also has many forms of data for the
Systemic Factors but no clear concise way to calculate or analyze the data.

Additionally, during Contract Year 2013-2014, the Family Support Educator for APS
Healthcare Inc. conducted eleven (11) Focus Groups with youth receiving Medically
Necessary Services (MNS) for Behavioral Health Services.

The purpose of these focus groups is to provide youth who are receiving medically
necessary behavioral health services in West Virginia the opportunity to candidly share
their experiences and opinions. These groups are conducted on a regular basis in various

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regions across the State of West Virginia to gain insight regarding the utilization and
impact of these services in the state. Each group may consist of youth receiving
individualized and/ or group treatment in a residential facility and/or within the community.

This year seventy-three (73) youth receiving residential treatment participated.

The focus group questions were developed with input from the Bureau for Children and
Families. The intent of these questions was to generate responses identifying systemic
issues regarding consumer perceived problems and solutions in regard to:

Access
Service delivery
Gaps in support systems
Engagement with system staff
Frequency/ duration of therapy
Treatment plan goals and outcomes
Consumer knowledge of services and supports

This information will be included to the assessment of performance as it assists the
agency on gaining input from one of our key stakeholders.

2016 Updates

Federal Fiscal Year (FFY) Data is based on the case reviews completed from Oct 1, 2014
to September 30, 2015. Case reviews conducted in federal fiscal year 2015 are reflective
of practice that occurred 12 months prior to the date of the review. During FFY 2015, the
Division of Planning and Quality Improvement (DQPI) completed 142 Child and Family
Services Reviews (CFSR). In 76 of the cases reviewed, the targeted Child was in a
placement setting. Sixty-six of the cases reviewed were non-placement cases; hence the
children remained in their home during the period under review. Twenty-four of the cases
reviewed were reflective of practice in the State’s largest metropolitan district, which
represents 17.1% of the sample.

West Virginia completed its Child and Family Service Reviews (CFSR) style case reviews
based on the July 2014 version of the Child and Family Services Review Instrument and
instructions.

West Virginia 2015 FFY CFSR style case review data is based on the review of the
following Districts: Mingo, Wyoming; Kanawha; Fayette; Lewis/Upshur; Harrison;
Kanawha;         Ohio/Brooke/Hancock;   Greenbrier/Monroe/Pocahontas/Summers;

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                                                                                     D004745
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Berkley/Morgan/Jefferson;     Ritchie/Pleasants/Doddridge;      Calhoun/Gilmer/Wirt      and
Randolph/Tucker.

2017 Updates

Social service case reviews were completed by the Division of Planning and Quality
Improvement (DPQI). DPQI is under the Office of Planning, Research, and Evaluation.
DPQI utilizes the January 2016 version of the Federal CFSR On-Site Review Instrument
(OSRI) as the unit’s primary internal tool for evaluating the quality of delivery of services
to children and families.

Federal Fiscal Year (FFY) 2016 data is based upon the review of 143 social services case
reviews completed from October 1, 2015 to September 30, 2016. The review was
comprised of 72 foster care and 71 in-home social service cases. CFSR style case
reviews were completed in each of the four regions of the state and included the following
districts: Wood, Kanawha, Jackson/Mason/Roane, Barbour/Preston/Taylor, McDowell,
Raleigh,       Lincoln/Boone,        Nicholas/Webster,        Mercer,       Braxton/Clay,
Hardy/Grant/Pendleton, and Logan. These 12 districts represent 40% of the districts in
West Virginia. Case reviews conducted were reflective of practice that occurred 12
months prior to the date of the review.

2018 Updates

The assessment of performance is a continual process within BCF. A variety of data
sources are used to assess performance. These sources include administrative data
reports, qualitative case reviews, CFSR Data Profiles supplied by the U.S. Department of
Health and Human Services, and interactions with stakeholders. Due to the variety of
sources utilized, data may be reported by federal fiscal year (FFY), calendar year, or a
specific point in time.

The Federal Fiscal Year (FFY) 2017 social service case reviews were completed by the
Division of Planning and Quality Improvement (DPQI). DPQI utilizes the January 2016
version of the Federal CFSR On-Site Review Instrument (OSRI) as the unit’s primary
internal tool for evaluating the quality of delivery of services to children and families.

DPQI completed 124 CFSR style case reviews during the 2017 FFY. This number
includes sixty-five case reviews completed between April and September 2017 for the 3rd
Rd. of the CFSR. The FFY 2017 data is based upon the review of social services cases
between October 1, 2016 to September 30, 2017. The review was comprised of 71 foster
care and 53 in-home social service cases. CFSR style case reviews were completed in

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each of the four regions of the state and included the following districts:
Marshall/Wetzel/Tyler, Harrison, Wayne, Putnam/Mason, Hampshire/Mineral, Kanawha,
McDowell, Ohio/Brooke/Hancock, Randolph/Tucker, Doddridge/Ritchie/Pleasants, and
Mingo. Case reviews conducted were reflective of practice that occurred approximately
12 months prior to the date of the review.

Factors Contributing to Cases Ratings

One of the key indicators of how well Districts perform on the Child and Family Services
case review process is the staffing pattern of the district. Districts that experience a
staffing shortage due to staff turnover, rate significantly lower on all measures. All of the
districts reviewed in Federal Fiscal year 2014, indicated significant staffing issues at the
time of the exit as a factor contributing to the area needing improvement.

Districts indicate the limited availability of services including quality ASO providers,
mental health services, domestic violence counseling for victims and batterers, and
substance abuse treatment for both adults and youth as other barriers in meeting the
needs of children and families. The lack of quality providers of services coupled with the
lack of public transportation in many areas, results in social service clients not having
their treatment needs adequately addressed. Urban areas tend to have better resources
than rural areas.

All Districts reviewed indicate the majority of the cases in which the Agency becomes
involved deal with issues related to substance abuse. Districts report long wait lists for
substance abuse treatment, both inpatient and outpatient services. Districts also note a
lack of quality substance abuse treatment programs for youth, and the lack of ongoing
community-based support groups for those that remain in the community or are returning
home after treatment. West Virginia’s case reviews indicate that 62.9% of the cases
reviewed indicated substance use/abuse as a factor in the case.

WV Supreme Court of Appeals data further supports the Districts’ findings regarding the
prevalence of substance abuse and domestic violence in the case work process.

The data presented in this risk-factor analysis were pulled from the Supreme Court of
Appeals of West Virginia’s Child Abuse and Neglect (CAN) Database. The CAN database
was created to collect and track the status and timeliness of all W.Va. child abuse and
neglect cases. Each Circuit Court Judge’s staff input data in each child abuse and neglect
case assigned to the judge. The Court Services Division has trained staff to indicate which
risk factors were present and mentioned in the original petition as a reason for filing the
abuse and neglect petition. Cases may have more than one risk factor indicated.

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            Mental Health, Domestic Violence, and Substance Abuse Risk
                 Factors Indicated in Cases Filed between 2011 - 2014

    Domectic Violence & Mental Health          106
                   Only Mental Health           191
                  All three risk factors        225
     Substance Abuse & Mental Health             250
              Only Domestic Violence                            1,014
 Substance Abuse & Domestic Violence                                    1,409
                Only Substance Abuse                                                              3,059

                                           0         500    1,000   1,500   2,000   2,500    3,000      3,500
                                               Count of cases with one or more risk factors indicated



Between 2011 and 2014, there were 6,254 cases with one or more risk factors indicated.
The above chart shows a breakdown of these cases and which risk factors were indicated
in the original petition. This research assumes all cases include one or more risk factors;
therefore, cases without an indicated risk factor are considered underreported.

2016 Updates

One of the key indicators of how well Districts perform on the Child and Family Services
case review process is the staffing pattern of the district. Districts with a high staff
turnover rate score significantly lower on all measures. All the districts reviewed in
Federal Fiscal year 2015, indicated staffing issues as a key factor contributing to the area
needing improvement.

Districts indicate the limited availability of services including quality ASO providers,
mental health services, domestic violence counseling for victims and batterers, and
substance abuse treatment for both adults and youth as other barriers in meeting the
needs of children and families.

West Virginia continues to develop means to improve services to address the identified
barriers but is faced with many cases in which substance abuse is a factor lack
substance abuse treatment and result in abuse and neglect petitions.




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             Mental Health, Domestic Violence, and Substance Abuse Risk Factors
                        Indicated in Cases Filed between 2011 - 2015

   Domestic Violence & Mental Health           133
                  Only Mental Health             270
                All Three Risk Factors           297
    Substance Abuse & Mental Health               346
              Only Domestic Violence                              1,419
 Substance Abuse & Domestic Violence                                          2,105
               Only Substance Abuse                                                                       4,546
                                         0              1,000         2,000           3,000      4,000     5,000
                                             Count of cases with one or more risk factors indicated




The Supreme Court of Appeals of West Virginia Child Abuse and Neglect (CAN) database
was created to collect and track the status and timeliness of all W.Va. child abuse and
neglect cases in the court system. The data presented in this risk-factor analysis was
pulled from the CANS Database. Circuit court staff input data on each child abuse and
neglect case assigned to the judge. Court staff review petitions and enter the risk factors
on each case. Cases may have more than one risk factor indicated.

Between 2011 and 2015, there were 9,116 cases with one or more risk factors indicated.
The above chart shows a breakdown of these cases and which risk factors were indicated
in the original petition. This research assumes all cases include one or more risk factors;
therefore, cases without an indicated risk factor are considered underreported.

Out of the 9,116 cases that indicate one or more risk factors, 80.01% of the cases have
indicated that substance abuse was at least one of the risk factors that led to the filing of
a petition. Domestic Violence was indicated in 43.37% of the cases, and Mental Health in
11.47% of the cases.

   Year    Total count of       All cases with               All cases with               All cases with Mental
           cases with one        Substance                 Domestic Violence                 Health indicated
            or more risk            Abuse                      indicated
               factors            indicated
             indicated
                               Count         Percent      Count           Percent             Count      Percent
    2011              1,025       807         78.73%            448       43.71%                 94        9.17%

                                                           47




                                                                                                           D004749
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    2012            1,556    1,231   79.11%        770    49.49%           220        14.14%
    2013            1,767    1,392   78.78%        756    42.78%           350        19.81%
    2014            2,478    1,976   79.74%   1,019       41.12%           285        11.50%
    2015            2,290    1,888   82.45%        961    41.97%           197         8.60%
    Total           9,116    7,294   80.01%   3,954       43.37%         1,046        11.47%
   of All
   Years



2017 Updates

Multiple factors impact the ability of West Virginia to improve positive outcomes for
children and families. One major factor is the ever-increasing number of cases in which
substance abuse is a risk factor. West Virginia also struggles to attract and retain qualified
staff. Performance on the Child and Family Services case reviews is directly linked to
staffing levels in the district during the period under review. During both federal fiscal
years 2015 and 2016, districts continue to list staff turnover as a barrier to achieving better
outcomes for children and families. Districts also indicate the limited availability of
services including quality ASO providers, mental health services, domestic violence
counseling for victims and batterers, and substance abuse treatment for both adults and
youth as other barriers in meeting the needs of children and families. West Virginia
continues to work with community partners to increase services to address these barriers

The Supreme Court of Appeals of West Virginia Child Abuse and Neglect (CAN) database
was created to collect and track the status and timeliness of all West Virginia. The data
presented in the following risk-factor analysis was pulled from the CANS Database.
Circuit court staff input data on each child abuse and neglect case assigned to the judge.
Court staff review petitions and enter the risk factors on each case. Cases may have
more than one risk factor indicated.




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Staff members from each Circuit Court Judge's office submit data for each child abuse
and neglect case assigned to their judge. The Court Services Division has trained staff to
indicate which risk factors were present and mentioned in the original petition as a reason
for filing the abuse and neglect petition. These cases may have more than one risk factor
indicated.

Between 2011 and 2016, there were 12,162 cases with one or more risk factors indicated.
The above chart shows a breakdown of these cases and which risk factors were indicated
in the original petition. This research assumes all cases include one or more risk factors;
therefore, cases without an indicated risk factor are considered underreported.




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         Year      Total     All cases with                All cases with                 All cases with
                 count of   Substance Abuse              Domestic Violence                Mental Health
                   cases       indicated                     indicated                      indicated
                w ith one
                 or more
                    risk
                  factors
                indicated

                             Count       Percent            Count       Percent          Count        Percent
         2011       1,025          807         78.73%            448      43.71%                94      9.17%
         2012       1,559        1,234         79.15%            771      49.45%               220     14.11%
         2013       1,775        1,399         78.82%            760      42.82%               254     14.31%
         2014       2,495        1,996         80.00%          1,026      41.12%               289     11.58%
         2015       2,557        2,102         82.21%          1,080      42.24%               223      8.72%
         2016       2,751        2,318         84.26%          1,054      38.31%               259      9.41%
  Total of         12,162        9,856         81.04%          5,139          42.25%          1,339    11.01%
 All Years


 Out of the 12,162 cases that indicated one or more risk factors, 81.04% of the cases
have indicated that substance abuse was at least one of the risk factors that led to the
filing of a petition. Domestic Violence was indicated in 42.25% of the cases, and Mental
Health was indicated in 11.01% of the cases.

                      Number of Clients Removed due to Drug Abuse
  2500
                                                                                              2171

  2000                                                                                 1837
                                                                               1620
                                                               1343    1403
  1500                                                  1315
                          1103   1049   1049
                    970                         971
  1000


  500


    0
     2004          2006          2008           2010           2012            2014           2016       2018



         West Virginia FACTS report on substance abuse related foster care entries



                                                       50




                                                                                                        D004752
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 1800

 1600

 1400

 1200

 1000                                                          Sum of Nurse/ Medical Professional
                                                               Sum of Hospital Staff
  800
                                                               Sum of Physician
  600

  400

  200

   0
         2012       2013       2014      2015       2016


   West Virginia FACTS report on increase in drug affected infant referrals received

Child abuse and neglect is often a symptom of larger social problems, such as substance
abuse, which have no easy answers or quick fixes. West Virginia struggles with an ever-
increasing number of child welfare cases in which substance abuse is an identified risk
factor. The nature of addiction, coupled with the inability to provide substance abuse
treatment in a timely fashion, results in abuse and neglect petitions and negatively
impacts outcomes in the West Virginia child welfare system.

2018 Update

There are many deeply rooted, complicated and interrelated societal factors that
contribute to child abuse and neglect in West Virginia. Parental drug use and addiction
affect most of the children and families involved in the child welfare system. Addiction
places ever increasing demands on the limited child welfare resources of the state.
Another factor of equal importance is the inability of the Department to attract and retain
qualified staff. Performance on the Child and Family Services case reviews is directly
linked to staffing levels in the districts during the period under review. For many years
districts have listed staff turnover a barrier to achieving better outcomes for children and
families. Limited availability of services to address mental health, domestic violence, and
substance abuse for both adults and youth are listed as additional barriers in meeting the
needs of children and families. In many districts the lack of quality ASO providers is also
stated as a barrier to more successful outcomes for families. The increasing demands for
                                             51




                                                                                          D004753
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child welfare related services coupled with the limited availability of such services, and
the inability to ensure adequate staffing levels result in less than optimal performance in
child welfare outcomes in WV.

The Supreme Court of Appeals of West Virginia Child Abuse and Neglect (CAN)
database was created to collect and track the status and timeliness of all West Virginia
child abuse and neglect cases. The Court Services Division has trained staff to indicate
which risk factors were present and mentioned in the original petition as a reason for
filing the abuse and neglect petition. These cases may have more than one risk factor
indicated. The data presented in the following risk-factor analysis was pulled from the
CANS Database.




Between 2011 and 2017, there were 15,865 cases with one or more risk factors indicated.
The above chart shows a breakdown of these cases and which risk factors were indicated
in the original petition. This research assumes all cases include one or more risk factors;
therefore, cases without an indicated risk factor are considered underreported.




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Out of the 15,865 cases that indicated one or more risk factors, 81.85% of the cases have
indicated that substance abuse was at least one of the risk factors that led to the filling of
the petition. Domestic violence was indicated in 40.85% of the cases, and mental health
was indicated in 10.54% of the cases.

The third round of the Child and Family Services Reviews (CFSR) began in 2015. CFSR
is a two-phase process involving self-assessment through the statewide assessment and
an onsite review of social service cases. West Virginia completed the third round of CFSR
using the state conducted review method. Between April 2017 and September 2017, the
DPQI unit reviewed 65 social service cases across six districts. On December 10, 2017,
the Children’s Bureau released the West Virginia CFSR Final Report.

On December 21, 2017, the Children’s Bureau conducted an exit conference during which
the results of the CFSR case reviews, the Statewide Assessment, and interviews with
stakeholders conducted by Children’s Bureau staff to determine conformity on the seven
systemic factors was discussed. The CFSR findings indicate use of substances is the
primary reason for the agency to be involved with families. This was voiced by
stakeholders during interviews and found during case reviews. West Virginia will be
addressing the barriers believed to be associated with the CFSR findings in the Program
Improvement Plan.

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Safety Outcomes 1 and 2

Safety outcome 1 incorporates two indicators. One indicator pertains to the timeliness of
initiating a response to the report of child maltreatment, and the other related to the
substantiation of recurrent reports of maltreatment.

The outcome rating for safety one based on case reviews for federal fiscal year 2014
indicate safety outcome one was substantially achieved in 52.2% of the cases reviewed,
and partially achieved in 35.8. % of the cases reviewed.

Safety 1: Timeliness of initiating investigation of reports of maltreatment

Timeliness of initiating investigations of reports of maltreatment measures whether the
assigned time frames were met on the Child Protective Services referrals received during
the period under review.


                     Item 1: timeliness of investigation
 66.00%
 64.00%                                 63.40%
 62.00%
 60.00%
 58.00%
 56.00%              53.20%
 54.00%                                                     53.80%              53.70%
 52.00%
 50.00%
 48.00%
               FFY 2011            FFY 2012            FFY 2013            FFY 2014


Federal Fiscal Year Data is based on the case reviews completed from Oct 1, 2013 to
September 30, 2014. Case reviews conducted in federal fiscal year 2014 are reflective
of practice that occurred 14 months prior to the date of the review; therefore, the data is
indicative of practice that occurred in 2012 and 2013. Safety one case review data is not
indicative of the current performance for initiating investigations of reports of
maltreatment. Case review data for Federal Fiscal Year 2014, accounts for completed
contacts. Attempted contacts are not reflected in the case review data. As of Federal


                                              54




                                                                                      D004756
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Fiscal Year, 2015, attempted contacts made by workers to initiate investigations of reports
of maltreatment will be included in the measurement.

Districts’ track and monitor the status of referrals through the COGNOS site. COGNOS
data provides the Districts with point in time data regarding the time to first contact. This
report is monitored by the District Community Services Managers and the Deputy Director
of Field Operations. Currently, COGNOS data as of February 2015 indicates 69.1 % of
intake assessments have been seen within the designated timeframes established by the
Child Protective Services Supervisors. It should be noted the COGNOS system does not
account for attempted contacts by workers.

Although Districts are more cognizant of their need to meet time frames, they are still
struggling to resolve staffing issues that continue to impact this measure. All districts
included in the Federal Fiscal Year 2014 reviews, indicated a shortage of staff. Lack of
staffing creates a backlog of Family Functioning Assessments which in turns creates a
reduction in the timeliness of investigations.

West Virginia is utilizing crisis teams to assist Districts experiencing a backlog of Family
Functioning Assessments. Additionally, the Commissioner will pull staff from other
districts to assist in the backlog reduction. Currently West Virginia is not experiencing a
significant backlog of Family Functioning Assessments. It is anticipated that continued
improvement in this measurement will occur as the result of the efforts of staff and
management to address the backlog and move forward with initiatives to improve the
timeliness of investigations.


              COGNOS Statewide % time to first contact report
                             (2/20/2015)
                                      % Met        % Not met




                                       31%


                                                     69%




                                              55




                                                                                     D004757
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It should also be noted that the number of referrals received, and the number accepted
for Family Functioning Assessments remain on the average at 55.7%.




2016 Update

The outcome rating for safety one based on case reviews for federal fiscal year 2015
indicate safety outcome one was substantially achieved in 70.2% of the cases reviewed,
and not achieved in 29.8. % of the cases reviewed.

This measure continues to improve. “Timeliness to investigation” is consistently
monitored by District Community Service Managers with oversight from the Deputy
Commissioner’s over field operations. Districts management staff in conjunction with the
Deputy Commissioners monitor this item on a daily basis through the use of point in time
data through WV’s COGNOS reporting system. West Virginia continues to make
improvements in the time to first contact, a high priority in the efforts to improve the safety
of children.

Case review data for Federal Fiscal Year 2015, reflects completed and attempted
contacts.

CFSR Item 1: Timeliness of initiating investigations of reports of child maltreatment.

DPQI Quality Assurance Case Review Data

       FFY 2015: 70.2%

                                              56




                                                                                       D004758
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       FFY 2016: 67.1%


                  Safety 1: Timeliness of investigations
   80.00%                                                                   70.20%     67.10%
                            63.40%
   60.00%     53.20%                         53.80%          53.70%

   40.00%

   20.00%

    0.00%
             FFY 2011       FFY 2012        FFY 2013        FFY 2014       FFY 2015    FFY 2016

                                         % of cases rates as a strength


                                       DPQI case review data


                           Time to First Contact Report


                                                       % Not Met
                                                         29.7%

                                          % Met
                                          70.3%




                       COGNOS Time to First Contact Report FFY 2015




                                                    57




                                                                                           D004759
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                        Time to First Contact Report



                                                % Not Met
                                                  34.4%
                                   % Met
                                   65.6%




                     COGNOS Time to First Contact Report FFY 2016




                          COGNOS Point in Time Report 1/3/17


                                            58




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Safety 1: Repeat Maltreatment- the substantiation of recurrent reports of
maltreatment

Repeat maltreatment indicator determines if any child in the family experiences
substantiation of recurrent reports of maltreatment.


                              Item 2: Repeat Maltreatment
 96.00%
                                                         94.20%
 94.00%                                 93.20%
 92.00%
                                                                          90.90%
 90.00%
 88.00%
 86.00%                                                                               Repeat Maltreatment
                        84.40%
 84.00%
 82.00%
 80.00%
 78.00%
             FFY 2011            FFY 2012         FFY 2013        FFY 2014


Based on the DPQI Child and Family Service Review data, the State appears to have a
slight decline in the number of cases that rated as strength for Repeat Maltreatment.

West Virginia’s Contextual Data report indicates 97.7%. Measurement appears stable in
the context of the larger sample.

 1.1 Recurrence of Maltreatment Within 6 Months (%)
                      2010                  2011                  2012                2013
  Children without
 a recurrence         95.6                  97.6                  97.6                 97.7

  Children with one
 or            more   4.4                   2.4                   2.4                  2.3
 recurrences
    Number            2,068                 1,971                 2,305                2,264




                                                    59




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2016 Update

Timeliness of initiating investigations of reports of maltreatment measures whether or not
the assigned time frames were met on the Child Protective Service referrals received
during the period under review. Data reflects the results of the CFSR style case reviews
for FFY 2015. COGNOS reflects point in time data (2-8-2016).


                  Safety 1: Timeliness of investigations
  80.00%                                                                                70.20%
                                  63.40%
               53.20%                                53.80%               53.70%
  60.00%

  40.00%

  20.00%

   0.00%
              FFY 2011            FFY 2012          FFY 2013              FFY 2014      FFY 2015

                                         % of cases rates as a strength




           COGNOS Data: % of cases that met time to first
               contact within assigned timeframes

                         29.80%



                                                                                              Met
                                                                                              Unmet
                                                                           70.20%




                                                    60




                                                                                                   D004762
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2017 Update

CFSR Measure: Recurrence of Maltreatment

Of all children who were victims of a substantiated maltreatment report during a 12
month period, the percentages who were victims of another substantiated maltreatment
report within 12 months will be 9.1% or less.

      CFSR Round 3 Data Profile September 2016

      FFY 2014-2015: 2.6% observed performance

      FFY 2014-2015: 3.5% (risk standardized performance)

CFSR Measure: Maltreatment in Foster Care

Of all children in out-of-home care during a 12 month period, the victimization rate per
100,000 days of care will be 8.50 or less.

      CFSR Round 3 Data Profile September 2016

      FFY 2015: 1.7 observed performance

FFY 2015: 1.96 (risk standardized performance)

Assessment of Safety Outcome 1

The outcome rating for safety one based on DPQI case reviews for federal fiscal year
2015 indicate safety outcome one was substantially achieved in 70.2% of the cases
reviewed, and not achieved in 29.8% of the cases reviewed. FFY data is based on case
reviews completed from October 1, 2014 to September 30, 2015.

The outcome rating for safety one based on DPQI case reviews for federal fiscal year
2016 indicates safety outcome one was substantially achieved in 67.1% of the cases
reviewed, and not achieved in 32.9% of the cases reviewed. FFY data is based on case
reviews completed October 1, 2015 to September 30, 2016

Case reviews conducted in both federal fiscal years are reflective of practice that
occurred 12 months prior to the date of the review. Case review data for Federal Fiscal
Year 2015 and 2016 reflects completed and attempted contacts. COGNOS reports

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provide point in time data regarding the time to first contact. The Time to First Contact
Report is monitored by the District Community Services Managers, Regional Directors,
and the Deputy Director of Field Operations on a regular basis.

COGNOS report (Time to first contact report) indicates the number of assigned child
maltreatment reports has increased each year between FFY 2013 and FFY 2016. The
numbers of child maltreatment reports assigned for further assessment during the last
three federal fiscal years were 17,538 in 2013; 19,115 in 2014; 21,620 in 2015; and
23,847 in 2016. There was a 36% increase in the number of child maltreatment reports
assigned for further assessment between federal fiscal years 2013 and 2016.

Staffing levels during the period under review have a dramatic impact on how well
districts perform on the DPQI case reviews. Districts with a high staff turnover rate score
significantly lower on all measures. All of the districts reviewed in Federal Fiscal years
2015 and 2016 indicated staffing issues as a key factor contributing to the areas
needing improvement. The lack of staff results in failure to initiate investigations of child
maltreatment in a timely manner. It also creates a backlog of Family Functioning
Assessments. COGNOS point in time data on 1/3/17 indicates a backlog of 3,198
referrals open over 30 days.

The West Virginia Department of Health and Human Resources (hereafter The
Department) met the two CFSR safety data indicators. The Department met the national
standard that 9.0% or less of children with a substantiated child maltreatment report had
a second substantiated child maltreatment report within twelve months. The Department
also met the national standard of 8.04 or less incidence of maltreatment in out-of-home
care per 100,000 days in care. West Virginia’s FFY 2015 risk standardized performance
was 1.96, with an observed performance of 1.7.

Despite meeting the two CFSR safety data indicators, it appears from both the WV
CFSR RD. 3 Data Profile and case review data that West Virginia is substantially below
the 95% compliance threshold. To address this issue West Virginia has developed crisis
teams. These CPS workers are not assigned to a district, but rather are available to
assist districts experiencing a backlog of Family Functioning Assessments. The
Commissioner can also direct districts to provide additional staff to those experiencing a
backlog. Some Regional Directors have initiated backlog reduction plans. These plans
include a percentage backlog reduction goal. District managers develop plans to reach
these goals. In addition, a Crisis Response Process and Crisis Response Worksheet

have been developed to support districts in addressing critical CPS workload situations.
This process is designed to assist field staff in taking actions to identify and correct

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caseload issues that may generate a backlog. Features of the process include the
ability to assess families using a shortened FFA format if no impending dangers are
identified, and ensuring the timely documentation of all casework completed so it will not
have to be redone if a staff member resigns from the agency. The Crisis Response
Process and Worksheet were implemented in the fall of 2016. Therefore data on the
efficacy of the process is unavailable.

2018 Update

CFSR Item 1: Timeliness of initiating investigations of reports of child maltreatment.

DPQI Quality Assurance Case Review Data

      FFY 2016: 67.1%

      FFY 2017: 54.9%

      CFSR Rd. 3: 56%


                 Safety 1: Timeliness of investigations
 80.00%                  70.20%        67.10%
            53.70%                                     54.90%
 60.00%

 40.00%

 20.00%

  0.00%
           FFY 2014     FFY 2015      FFY 2016        FFY 2017

                                   % of cases rates as a strength


FFY 2017 DPQI case review data




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          COGNOS Data: % of cases that met time to first
              contact within assigned timeframes

                         41.00%
                                                                                   Met
                                                         59.00%
                                                                                   Unmet




COGNOS Time to First Contact Report FFY 2017


                                Statewide Referrals
 45,000                                                       41,640
            39,636                     39,604
 40,000
 35,000
 30,000                                                                27,734
                                                25,700
                     23,325
 25,000
 20,000
 15,000
 10,000
  5,000
      0
                2015                       2016                   2017


COGNOS Statewide Referrals Report calendar year 2017

The outcome rating for safety one based on DPQI case reviews for federal fiscal year
2016 indicates safety outcome one was substantially achieved in 67.1% of the cases
reviewed, and not achieved in 32.9% of the cases reviewed. FFY data is based on case
reviews completed October 1, 2015 to September 30, 2016. The Child and Family
Reviews Rd. 3 indicated this measure as substantially achieved in 56% of the applicable
cases reviewed.

The outcome rating for safety one based on DPQI case reviews for federal fiscal year
2017 indicate safety outcome one was substantially achieved in 54.9% of the cases

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                                                                                         D004766
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reviewed, and not achieved in 45.1% of the cases reviewed. FFY data is based on case
reviews completed from October 1, 2016 to September 30, 2017.

Case reviews conducted in both federal fiscal years are reflective of practice that occurred
12 months prior to the date of the review. Case review data for Federal Fiscal Year 2016
and 2017 reflects completed and attempted contacts. COGNOS reports provide FFY data
regarding the time to first contact. The Time to First Contact Report is monitored by the
District Community Services Managers, Regional Directors, and the Deputy Director of
Field Operations on a regular basis.

The COGNOS Statewide Referrals report shows an increase in the number of child
maltreatment reports received and assigned for further assessment during calendar year
2017. The report indicates the number of intakes received and the number assigned were
higher in 2017 than in previous years. An increase of 2,034 was seen in the number of
child maltreatment reports assigned for further assessment in 2017 when compared to
2016.

West Virginia continues to be substantially below the 95% compliance threshold. The
state continues to utilize crisis teams to assist Districts experiencing a backlog in Family
Functioning Assessments. The teams have been expanded to now include distirct level
CPS staff who agree to work outside of their district for a breif period of time. These
workers are given monetary incidentives to assist in the FFA backlog reduction effort.

Safety 2: Children are safely maintained in their homes whenever possible and
appropriate.

Outcome Safety 2 is measured by two measurement indicators: Items 3 and 4 of the
2008 CFSR measurement instrument. The outcome rating for safety 2 based on case
reviews for federal fiscal year 2014 indicate safety outcome 1 was substantially achieved
in 31.5% of the cases reviewed, and partially achieved in 21.8 % of the cases reviewed.

2016 Update

Outcome Safety 2 is measured by two measurement indicators: Items 2 and 3 on the
2014 Federal CFSR Onsite Review Instrument. The outcome rating for safety 2 based on
case reviews for federal fiscal year 2015 indicate safety outcome 2 was substantially
achieved in 33.8% of the cases reviewed, and partially achieved in 23.9% % of the cases
reviewed. This item will not be compared to previous data as the measurement for this
item has changed based on the revisions to the CFSR instrument and instructions.


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Safety 2: Services to families to protect child(ren) in their homes and prevent
removal.

Item 3 is a measurement of services to protect children in the home and prevent removal
or reentry into foster care. It should be noted that if services would not have been able to
ensure the child’s safety and the only alternative was to place the child in care, then the
measure would be rated strength.




              Item 3: Services to protect children in home and
                              prevent removal
   100.00%

     80.00%                                      76.20%
                                                                69.20%
     60.00%                                                                        61.70%
                        56.00%
     40.00%

     20.00%

      0.00%
                  FFY 2011            FFY 2012            FFY 2013           FFY 2014

The social service reviewers found several factors contributing to the Areas Needing
Improvement for this measure. Though there continues to be an increase in safety
planning, the adequacies of the provision outlined in the plan fail to control for safety.
Additionally, there was also a lack of contact with the family afterwards to ensure that the
safety plan was effective. Safety services were often initiated but not continued in the
ongoing work of the case. Services placed in the home do not match the issues identified
in the assessment for safety, and/or services were not referred into the homes in a timely
manner.

It should be noted domestic violence was often identified in safety plans but not addressed
through services. This is also the case with the identification of parental substance abuse.

2016 Updates

Item 2 which entails the initial service provision for the family to protect child(ren) in the
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home and prevent removal or reentry into foster care after a reunification. The item
assesses whether or not services were provided immediately to ensure safety in the home
and/or whether or not the removals were necessary due to imminent danger. It should
be noted that if this item is rated strength if the services provided would not have ensured
the child’s safety therefore requiring the child to be placed in care.

This item also assesses for repeat maltreatment. WV’s CFSR style case reviews
indicated this measurement was rated as strength in 60.2% of the cases reviewed in
FFY2015.


               Services to Protect Children in Home and
                           Prevent Removal
                                           39.80%

                                                                 Area Needing Improvement
                                                                 Strength
             60.20%




The social service reviewers found several factors contributing to the areas needing
improvement for this measure. In home safety plans continue to be inadequate as the
provisions outlined in the plan fail to control for safety. Services placed in the home do
not match the issues identified in the assessment for safety, and/or services were not
referred into the homes in a timely manner. Furthermore, safety plans are not reviewed
on a regular schedule and updated as needed when things change.

Domestic violence is often identified in safety plans but not addressed through services.
Often ASO “parenting” is placed into the home as a catch all for addressing any and all
identified issues. The intent of the services is for parent education and does not control
for safety. There appears to be a wide spectrum on how this service in being
implemented.

Districts note that limited services to address substance abuse issues are also a factor in
controlling for safety. Lack of effective outpatient treatment programs paired with high
rates of substance abuse impacts the Agency’s ability to control for safety in the home.

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In 24 of the 129 cases applicable for this measure, the child was removed from the home
as services could not control for safety.

2017 Update

CFSR Item 2: Services to families to protect children in the home and prevent removal or
re-entry into foster care.

DPQI Quality Assurance Case Review Data

      FFY 2015: 60.2%

      FFY 2016: 48.8%




                           FFY 2016 DPQI case review data

2018 Update

CFSR Item 2: Services to families to protect children in the home and prevent removal or
re-entry into foster care.

DPQI Quality Assurance Case Review Data

      FFY 2016: 48.8%

      FFY 2017: 54.7%

      CFSR Rd. 3: 73%
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          Services to Protect Children in Home and Prevent
                               Removal


                                                     45.30%
                                                                            Area Needing
                                                                            Improvement
                                                                            Strength
           54.70%




                          FFY 2017 DPQI case review data

Safety 2: Risk of harm to children

Item 4 is a measurement of risk assessment and safety management. This item
addresses the Agency’s concerted efforts to assess and address the risk and safety
concerns to the child(ren) in their homes or while in foster care. Review of this
measurement addresses what services were put into place to reduce or eliminate risk.
Review of this measurement addresses ongoing risk assessment.


                     Item 4: Risk of harm to children
                                                                 59.40%
                                                        56.50%
                                                     50%
         60.00%                                                           46.70%       FFY 2011
                                  32.70%                                               FFY 2012
         40.00%          21.70%
                    16.50%                                                             FFY 2013
                                           10.20%
         20.00%                                                                        FFY 2014

          0.00%
                         In home                       placement




                                                69




                                                                                         D004771
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                                  Item 4: In home cases
       50.0%
       40.0%                                                                     FFY 2011
       30.0%                                                                     FFY 2012
       20.0%
                                                                                 FF 2013
       10.0%
        0.0%                                                                     FF 2014
                total for item 4: In   In home YS      In home CPS
                    home cases


Data suggests that children in non-placement cases, both youth services and child
protective service cases, are being continuously assessed for risk and safety at a low
rate. This measure is impacted by the lack of visits to the home to assess all of the children
in the home. The lack of on-going assessments during the in-home portion of the cases
is reflected in the rating of the placement cases. The period under review for federal fiscal
year 2014 remained at 14 months prior to the date of the review. Children in placement
are being seen on a regular basis and DPQI reviews indicate a continued improvement
in workers’ ability to assess the child’s needs and safety.

Risk to children in the home is not being formally or informally assessed in non-placement
cases. This measure is also impacted by the lack of appropriate services put into the
home to address the identified safety concerns. Primarily services to address domestic
violence and parental substance abuse are inadequate. Cases reviewed also indicate
that delays in initiating services and delays in filing petitions contributed to this
measurement’s decline. It should be noted that several of the districts reviewed in Federal
Fiscal year 2014 had significant staffing shortages at the time of the reviews.

Social service reviewers identified several factors that contributed to the areas needing
improvement in safety outcome measurement S2. There were more cases in which initial
safety was assessed in a thorough manner; however, the practice was not carried into
the ongoing casework. Although there are more cases where safety plans are developed,
there continues to be a lack of contact made with the family afterwards to ensure that
safety was continuing to be maintained. Social service reviewers also found that when
visits do occur, the worker frequently fails to assess all of the children in the home.
Furthermore, workers experience difficulties in visiting with all the children on their
caseloads as they are frequently traveling to visit with the children in placement. This
limits the amount of time they must make all of their required contacts on in home cases.

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Risk and safety for child protective services placement cases are being assessed on a
regular basis. This has greatly improved using the “dashboard” tracking system.

2016 Updates

Based on the July 2014 version of the Child and Family Services Review Instrument, Item
3 is a measurement of risk assessment and safety management. Item 3 evaluates the
efforts to assess and address risk and safety concerns for children in their own homes or
in foster care. Reviewers consider ongoing safety assessments, safety plans, and service
provision throughout the course of the period under review. This item addresses the
Agency’s concerted efforts to assess and address the risk and safety concerns to the
child(ren) in their homes or while in foster care. This item is comparable to item four from
prior case review data.


                        Risk and Safety Management
  60.00%                                      50.00%
  50.00%                      44.70%
                                                                             37.30%
  40.00%       33.80%                                        32.30%
  30.00%
  20.00%
  10.00%
   0.00%
                2011           2012               2013        2014            2015


Data suggests that children in non-placement cases, both youth services and child
protective service cases, are being continuously assessed for risk and safety at a low
rate. This measure is impacted by the lack of visits to the home to assess all the children
in the home. Lack of on-going assessments during the in-home portion of the placement
cases cause the cases to rate as an area needing improvement.




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              Risk & Safety Assessment and Management for
                           non placement cases
    30.00%
                                                                       19.50%
    20.00%
                           12.00%
    10.00%

     0.00%
                         In home YS                                  In home CPS

                                      % of case rated as a strengh


Risk to children in the home is not being assessed in non-placement cases. Due to lack
of contact with families, cases are not being monitored to ensure safety plans are
controlling safety. Social service reviewers found that worker rely heavily on the in-home
service providers to keep them informed of the issues in the homes.

2017 Update

CFSR Item 3: Risk and Safety Assessment and Management

DPQI Quality Assurance Case Review Data

              FFY 2015: 37.3%

              FFY 2016: 23.1%




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DPQI case review data

Assessment of Safety Outcome 2

Outcome Safety 2 is measured by performance on Items 2 and 3 on the 2016 Federal
CFSR Onsite Review Instrument. The outcome rating for Safety 2 based on case reviews
for federal fiscal year 2015 indicate Safety Outcome 2 was substantially achieved in
33.8% of the cases reviewed, and partially achieved in 23.9% of the cases reviewed.
Federal fiscal year 2016 case reviews indicate Safety Outcome 2 was substantially
achieved in 22.4% if the cases reviewed, and partially achieved in 16.8% of the cases
reviewed respectively.

Most children in placement entered foster care to ensure their safety. However, DPQI
case review findings indicate West Virginia is missing opportunities to impact family risks
before they become safety threats necessitating removal, and to monitor child safety in
the home while the parents receive services to achieve behavioral change. Case
reviewers found that in-home safety plans are often inadequate to control the factors
impacting child safety. Case reviews also indicate that safety plans are not being
reviewed regularly and updated as circumstances in the case warrant. In addition, safety
related services placed in the home don’t always match the identified safety threat, and/or
services are not referred into the homes in a timely manner. An example, domestic
violence is often identified in safety plans but not addressed through service provision.
ASO “parenting” is placed into the home as a catch all for addressing any and all identified
issues. The intent of the services is for parent education and does not control for safety.
There appears to be a wide spectrum on how this service is being implemented.

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Districts note that substance abuse is a major factor impacting child safety and risk in the
majority of child abuse and neglect cases. Limited services to address substance abuse
issues are a factor in controlling for safety. Lack of effective outpatient treatment
programs paired with high rates of substance abuse impacts the Department’s ability to
control for safety in the home.

2018 Update

CFSR Item 3: Risk and Safety Assessment and Management

DPQI Quality Assurance Case Review Data

              FFY 2016: 23.1%

              FFY 2017: 33.1%

              CFSR Rd. 3: 42%




                             Risk and Safety Management

  40.00%           37.30%
                                                                     33.10%
  35.00%
  30.00%
                                            23.10%
  25.00%
  20.00%
  15.00%
  10.00%
   5.00%
   0.00%
                  FFY 2015                  FFY 2016                 FFY 2017


                               FFY 2017 DPQI case review data




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                               Risk and Safety Management

  50.00%                   46.50%

  40.00%

  30.00%

  20.00%                                                          15.10%

  10.00%

   0.00%
                       Foster Care Cases                       In-Home Cases


                              FFY 2017 DPQI case review data

Assessment of Safety Outcome 2

Outcome Safety 2 is measured by performance on Items 2 and 3 on the 2016 Federal
CFSR Onsite Review Instrument. The outcome rating for Safety 2 based on case reviews
for federal fiscal year 2016 indicate Safety Outcome 2 was substantially achieved in
22.4% if the cases reviewed, and partially achieved in 16.8% of the cases reviewed. The
outcome rating for Safety 2 based on case reviews for federal fiscal year 2017 indicate
Safety Outcome 2 was substantially achieved in 32.25% if the cases reviewed, and
partially achieved in 13.7% of the cases reviewed. The Child and Family Reviews Rd. 3
indicated this measure as substantially achieved in 42% of the applicable cases reviewed.

West Virginia met the two CFSR Rd. 3 safety data indicators. The Department met the
national standard that 9.1% or less of children with a substantiated child maltreatment
report had a second substantiated child maltreatment report within twelve months. West
Virginia’s risk standardized performance was 3.5%. The Department also met the national
standard of 8.50 or less incidence of maltreatment in out-of-home care per 100,000 days
in care. West Virginia’s risk standardized performance was 1.96.

Despite meeting the two CFSR safety data indicators, and DPQI case review data
findings indicating improvement in level of achievement on Safety Outcome 2, areas for
improvement remain. In most instances, child welfare petitions are filed and children are
removed from their homes when safety threats necessitating removal are identified.
However, case review findings indicate there are cases in which the agency fails to
recognize opportunities to address safety threats using less intrusive measures. Case
reviews indicate that in many instances the agency fails to develop safety plans in a timely

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manner that adequately address identified safety threats in the home. The safety plans
are not reviewed regularly and updated as circumstances in the case warrant.

DPQI case reviews indicate multiple factors which negatively impact this outcome. As
previously discussed, the co-occurrence between drug use disorders and child
maltreatment related behaviors by caregivers is having a devastating impact on child
welfare in West Virginia. Districts report a lack of effective outpatient and in-patient
treatment programs along with an overall lack of quality mental health services for both
adults and children. Districts also report a lack of quality in-home parenting services. The
other important factor in monitoring safety in the home is worker contact with service
providers and families. Caseworker are not having regular contact with safety service
providers according to DPQI case review interviewees, and case documentation. FFY
2017 case review data indicates a substantially achieved rating for Safety Outcome 2 for
placement cases of 45.1% and a 54.9% strength rating for caseworker contact with
child(ren). In comparison, in-home cases for the same time period received a substantially
achieved rating of 15.1% on Safety Outcome 2, and 11.3% for caseworker contact with
child(ren).

Permanency Outcomes 1 and 2

Permanency 1: Children have permanency and stability in their living situations

Permanency Outcome 1 incorporates six indicators into the assessment process. The
indicators pertain to the child welfare agency’s efforts to prevent foster care reentry;
provide stability for children in foster care; and the development and establishment of
appropriate permanency goals for children in foster care to ensure permanency. The
remaining indicators focus on the agency’s efforts to achieve the child’s permanency
goals.

The outcome rating for permanency 1 based on case reviews for federal fiscal year 2014
indicate permanency outcome 1 was substantially achieved in 46.7 % of the cases
reviewed, and partially achieved in 52.0% of the cases reviewed. As reflected in the CFSR
style case review data, West Virginia continues to make improvements to achieve
permanency.

There are many factors that need to be considered when reviewing the data related to
the achievement of permanency for West Virginia’s children.

The Adoption and Safe Families Act established that the termination of parental rights
should occur within a 22-month timeframe following placement. Barriers to achieving this

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measure are primarily the delays in the court process, such as extended improvement
periods and parents being adjudicated at separate times. WV State code allows for the
Court to extend a parent’s post-adjudicatory or post-dispositional improvement period for
90 days or longer after they have had two 90-day improvement periods in either or both
the post-adjudicatory and post-dispositional time periods. These extensions may occur
due to case circumstances such as: waiting for paternity testing, multiple fathers named,
parents remaining in rehabilitation programs, parents who are incarcerated but are
expected to be released during the court case, or even personal or weather-related
events that delay a hearing or hearings.

Additionally, if one or more parents are adjudicated at separate times due to case
circumstances, such as paternity being established 6 months into the case, or an absent
parent being located several months into the case, the parents will be on different
timelines, and the case will last much longer. For example, Parent 1’s case should end
within the regular court dates, but the addition of 6 months for Parent 2 may add that
much time to their court hearing timeline and lengthen the child’s time in custody and
care. It is not unusual for the parents in the court case to be on separate timelines.

Despite these barriers West Virginia continues to make progress in achieving
permanency for children. Data collected by the Supreme Court of Appeals of West
Virginia also indicates an improvement in the time it takes for children involved in abuse
and neglect proceedings to reach a permanent living placement.

2016 Updates

Permanency Outcome 1 incorporates three indicators into the assessment process. The
indicators pertain to the stability of child(ren) in foster care placements, the timely
establishment of permanency goals, and the achievement of the permanency goals.

The outcome rating for permanency 1 based on case reviews for federal fiscal year 2015
indicate permanency outcome 1 was substantially achieved in 40.8 % of the cases
reviewed, and partially achieved in 52.6% of the cases reviewed. As reflected in the CFSR
style case review data, West Virginia continues to make concerted efforts to achieve
permanency in a timely manner.

The time it takes for children involved in abuse and neglect proceedings to reach a
permanent living placement has been reduced significantly over the last eight years
based a review of the data.

Judicial Performance Measure Trends

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                                                                                  D004779
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According to data collected by the Supreme Court of Appeals of West Virginia, the time it
takes for children involved in abuse and neglect proceedings to reach a permanent living
placement has been reduced significantly over the last seven years. For children who
reached permanency through court proceedings during 2008, it took just over twenty
months on average to complete judicial proceedings and find a sufficient permanent
placement for the child. As demonstrated in the chart below, during 2014, the average
was reduced by thirty three percent (approximately five months). With many children
involved in such proceedings being placed away from home, a swifter process expedites
access to a stable, permanent living arrangement. Permanency is considered to have
been accomplished when a child has reached any one of the federally accepted
permanency goals including: reunification with parents/guardians, adoption, legal
guardianship, placement with a fit and willing relative, or emancipation.


                 Time to Permanent Placement
                                   Average Days
  700
  600
  500      605.7
                       549.4      563.7
  400                                         516.3                 491.3
                                                        480.5
                                                                               443.1
  300
  200
  100
     0
            2008       2009       2010        2011       2012       2013       2014


2016 Updates

According to data collected by the Supreme Court of Appeals of West Virginia, the time it
takes for children involved in abuse and neglect proceedings to reach a permanent living
placement has been reduced significantly over the last eight years. For children who
reached permanency through court proceedings during 2008, it took just over twenty
months on average to find a permanent placement for the child. As demonstrated in the
chart below, during 2015 the average was reduced by twenty eight percent (approximately
six months). Permanency is considered to have been accomplished when a child has
reached any one of the federally accepted permanency goals including: reunification with
parents/guardians, adoption, legal guardianship, placement with a fit and willing relative,
or emancipation.
                                            78




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                   Time to Permanent Placement
                                        Average Days
   700
   600
   500       600.8
                        547.1      565.2
   400                                        516.6                 491.9
                                                         479.2
                                                                                439         432.3
   300
   200
   100
      0
             2008       2009       2010       2011       2012       2013       2014         2015


Note: Chart obtained from data collected by the Supreme Court of Appeals of West Virginia

Permanency 1: Foster Care Reentries

Social service reviews indicate that WV is maintaining the foster care re-entry rate. In
Federal Fiscal Year 2011, 94.7% of cases rated strength, in the Federal Fiscal Year 2014,
91.10% of the cases rated strength, indicating that the Agency continues to make
concerted efforts to provide services to families to prevent the children’s re-entry into
foster care or re-entry after reunification within a 12-month period from the prior
discharge.


                            Item 5: Foster care re-entries
  96.00%
                        94.70%
  94.00%                                                            93.70%
  92.00%
                                               90.40%                                       91.10%
  90.00%

  88.00%
                 FFY 2011               FFY 2012              FFY 2013              FFY 2014


Permanency 1: Stability in Foster Care Placement


                                                   79




                                                                                               D004781
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Social Service Reviews also indicate that West Virginia had a slight decline in the rate
of stability of foster care placements as indicated below.


               Item 6: Stability in Foster Care Placement
 78.00%
                                                             77.20%
 76.00%
                                                                                 74.70%
 74.00%                   73.60%
 72.00%                                       71.90%

 70.00%
 68.00%
               FFY 2011            FFY 2012            FFY 2013            FFY 2014


The decline in foster care placement stability is related to the use of shelter care and the
unavailability of foster care beds at the time of placement. All regions reported a lack of
foster homes. They noted a lack of homes that are willing to accept older children,
children with severe behavioral issues, and large sibling groups. Furthermore, reviews
indicate that when placement changes are needed, the moves are reflective of a planned
move necessary to address the child’s needs that may not have been evident at the time
of initial placement.

Social Service reviews indicate that workers are making concerted efforts to place
children in the homes of relatives when possible. This practice is believed to contribute
to the stability of the placements.

West Virginia continues to have many children entering care; therefore, increasing the
need for more foster care homes. West Virginia continues to work on the recruitment and
retention of foster care homes.

2016 Updates

Social Service Reviews indicate that West Virginia has made improvements in the area
of stability of foster care placements as indicated below. (Note: data comparison over the
last five FFY’s utilized the 2008 version of the OSRI for FFYs 2011-2014 and the 2014
version of the OSRI for FFY 2015; item numbers vary based on the difference in the
Onsite Review Instruments)



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                    Stability in Foster Care Placement
                                            77.20%
                                                                    74.70%           75.00%
        73.60%
                        71.90%




       FFY 2011         FFY 2012           FFY 2013                 FFY 2014        FFY 2015

                                   % of cases rated as a strength


The stability in foster care placements is directly related to the availability of homes.
Cases that rate as an area needing improvement for this measurement are due to the
use of shelter care and the lack of foster care beds at the time of placement.

All regions reported a lack of foster homes. They noted a lack of homes that are willing
to accept children with severe behavioral issues, developmental disabilities, or large
sibling groups. Social Service reviews continue to indicate that workers are making
concerted efforts to place children with relatives when possible.

West Virginia continues to work on the recruitment and retention of foster care homes.
WV is working with the specialized foster care agencies to recruit families.

2017 Update

CFSR Item 4: Stability of Foster Care Placement.

              DPQI Quality Assurance Case Review Data

                    FFY 2015: 75.0%

                    FFY 2016: 63.9%




                                               81




                                                                                               D004783
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DPQI case review data

CFSR Measure: Placement Stability

Of all children who enter care in a 12-month period, the rate of placement moves, per
1,000 days of out-of-home care will be 4.12 or fewer.

      CFSR Round 3 Data Profile September 2016

      FFY 2015b2016a: 3.34 observed performance

      FFY 2015b2016a: 3.18 risk standardized performance

2018 Update

CFSR Item 4: Stability of Foster Care Placement.

              DPQI Quality Assurance Case Review Data

                    FFY 2016: 63.9%

                    FFY 2017: 57.5%

                    CFSR Rd. 3: 55%


                                          82




                                                                             D004784
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                      Stability of Foster Care Placement
           74.70%                           75%
                                                                      63.90%
                                                                                            57.70%




           FFY 2014                       FFY 2015                    FFY 2016              FFY 2017

                                      % of cases rated as a Strength


                                     FFY 2017 DPQI case review data

Permanency 1: Establishing Permanency Goals

West Virginia has made a gradual increase in establishing appropriate permanency goals
in a timely manner. Data indicates a 3.9 % increase in the number of cases that rated as
strength for establishing permanency goals in a timely manner.


                      Item 7: Establishing Permanency Goals
 100.00%
  80.00%                         74.50%                      77.30%

  60.00%                                                                         61.00%                64.90%

  40.00%
  20.00%
   0.00%
                      FFY 2011                    FFY 2012               FFY 2013            FFY 2014


Field staff has made concerted efforts to review permanency goals and develop more
appropriate goals. Districts with active Multidisciplinary Teams (MDTs) are more likely to

                                                              83




                                                                                                         D004785
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address the continued need for permanency planning throughout the life of the case.
Permanency planning is reflected in the uniform case plans.

Cases that rated as an area needing improvement are related to the goals not being
documented in the case file in a timely manner, or goals that have not been changed to
reflect the current status of the case.

2016 Update

In FFY 2015, West Virginia has increased in the amount of time to establish permanency
goals. Data indicates a 5.4% decrease in the number of cases that rated as strength for
establishing permanency goals in a timely manner.


                      Establishing Permanency Goals

       74.50%           77.30%
                                        61.00%           64.90%
                                                                         59.50%




      FFY 2011         FFY 2012         FFY 2013        FFY 2014         FFY 2015


Cases that rated as an area needing improvement are related to the goals not being
documented in the case file in a timely manner, or goals that have not been changed to
reflect the status of the case.

2017 Update

CFSR Item 5: Permanency goal for the child

DPQI Quality Assurance Case Review Data

      FFY 2015: 59.5%

      FFY 2016: 28.2%

                                           84




                                                                                    D004786
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                                 DPQI case review data

 2018 Update

 CFSR Item 5: Permanency goal for the child

 DPQI Quality Assurance Case Review Data

       FFY 2016: 28.2%

       FFY 2017:43.7%

       CFSR Rd. 3: 50%


                    Establishing Permanency Goals
          64.90%
                             59.50%

                                                                  43.70%

                                                  28.20%




         FFY 2014           FFY 2015              FFY 2016        FFY 2017

                           % of cases rated as a Strength


                                  DPQI case review data
                                             85




                                                                             D004787
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Permanency 1: Permanency goal of reunification, guardianship, permanent
placement with relatives.

Of the cases reviewed in federal fiscal year 2014, 69.70% indicated that acceptable
progress was being made toward the achievement of permanency goals of reunification,
permanent placement with a relative, or guardianship (Item 8). This measure looks at
whether this permanency goal for the child has been achieved and/or effort by the
agency/court within 12 months. It also addresses if efforts are being made to work the
concurrent plan.


         Item 8: Reunification, guardianship, permanent
 100.00%
                    placement with relatives
  80.00%                                 76.20%             76.20%
                                                                               69.70%
  60.00%              59.20%

  40.00%

  20.00%

   0.00%
                FFY 2011           FFY 2012           FFY 2013           FFY 2014

Case reviews indicate the decline in this measurement is related to the length of time in
care without achieving permanency. Additionally, this measure is impacted by the lack
of implementation of concurrent goals. Often concurrent goals are not being worked until
after the primary permanency plan has failed.

WV foster care policy section 4.5 addresses the use of concurrent planning. As outlined
in policy, “all children whose permanency plan is reunification must have a concurrent
permanency plan. For other children, concurrent planning should be utilized in an effort
to expedite the achievement of permanency for these children.” (WV BCF FC policy page
107). Unfortunately, concurrent plans are viewed too often as consecutive plans and are
not pursued concurrently.

2016 Updates

Of the cases reviewed in federal fiscal year 2015, 71.1% indicated that acceptable
progress was being made toward the achievement of permanency goals. This item will

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not be compared with prior federal fiscal years’ data as the measurement has changed
as the result of the changes in the OSRI.

Federal guidelines for permanency indicate reunification should occur within 12 months;
guardianship within 18 months; and adoption within 24 months.


                         Achievement of Permanency Goals

                         Area Needing
                         Improvement
                            28.90%


                                                        Strength
                                                         71.10%




West Virginia’s case review data indicates cases that rate as an area needing
improvement are the result multiple factors. One factor that impacts this measure is the
lack of implementation of concurrent goals. Often concurrent goals are not being worked
until after the primary permanency plan has failed. Other factors include lack of working
with both parent(s) creating delays in the termination of parental rights and extended
lengths of time from termination of parental rights to finalization of adoption. Despite the
delays West Virginia continues to make improvements to reduce the time to permanency
for children.

Supreme Court of Appeals of West Virginia’s data used in conjunction with WV’s Social
Services review data provides a more extensive data set when measuring the
achievement of the permanency goals. The Supreme Court of appeals data indicates (on
average) the amount of time it takes children to reach permanency over the course of the
last eight years has dropped by 168.5 days.

2017 Update

CFSR Item 6: Achieving reunification, guardianship, adoption, or other planned
permanency living arrangement.

DPQI Quality Assurance Case Review Data

                                             87




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       FFY 2015: 71.5%

       FFY 2016: 56.9%




                                 DPQI case review data


                       Children in Foster Care by Age
                                          18 and Older    Under 1 Year
                                               4%             7%




                                   13-17 Years        1-4 Years
                                      27%               27%

                                                  5-8 Years
                                                    20%
                             9-12 Years
                                15%


                         COGNOS Point in Time Report 1/3/17




                                                 88




                                                                                     D004790
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                                Foster Care By Age
                     Less Than 1 Year-12 Years        13 Years-18 Years and Older




                                       32%


                                                       68%




                        COGNOS Point in Time Report 1/3/17




 Supreme Court of Appeals of West Virginia Child Abuse and Neglect (CAN) database

CFSR Measure: Permanency in 12 Months for Children Entering Foster Care


                                                 89




                                                                                         D004791
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Of all children who enter care in a 12-month period and stay for eight days or more, the
percentage who discharge to permanency within 12 months of entering care will be 40.5%
or more

      CFSR Round 3 Data Profile September 2016

      FFY 2013b2014a: 44.2 observed performance

      FFY 2013b2014a: 37.2% risk standardized performance

CFSR Measure: Re-entry to Foster Care in 12 Months

Of children who enter care in a 12-month period, who discharged within 12 months to
reunification, live with relative, or guardianship, the percent who reenter care within 12
months of their discharge will be 8.3% or less.

      CFSR Round 3 Data Profile September 2016

      FFY 2013b2014a: 9.9% observed performance

      FFY 2013b2014a: 6.8% risk standardized performance

CFSR Measure: Permanency in 12 Months for Children in Care 12 to 23 Months

Of children in care on the first day of the 12-month period who had been in care between
12 and 23 months, the percentage discharged to permanency within 12 months of the
first day will be 43.6% or more.

      CFSR Round 3 Data Profile September 2016

      FFY 2015b2016a: 55.1% observed performance

      FFY 2015b2016a: 55.0% risk standardized performance

CFSR Measure: Permanency for Children in Care 24 Months or Longer

Of children who enter care on the first day of the 12-month period who had been in care
for 24 months or more, the percentage discharged to permanency within 12 months of
the first day will be 30.3% or more.


                                            90




                                                                                  D004792
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      CFSR Round 3 Data Profile September 2016

      FFY 2015b2016a: 36.5% observed performance

      FFY 2015b2016a: 35.2% risk standardized performance

2018 Update

CFSR Item 6: Achieving reunification, guardianship, adoption, or other planned
permanency living arrangement.

DPQI Quality Assurance Case Review Data

      FFY 2016: 56.9%

      FFY 2017: 54.9%

      CFSR Rd. 3: 58%


         Achieving Reunification, Guardianship, Adoption, or
           Other Planned Permanent Living Arrangement
            71.10%

                                        56.90%                54.90%




            FFY 2015                   FFY 2016               FFY 2017

                           % of cases rated as a Strength


                                DPQI case review data




                                            91




                                                                            D004793
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                     Children in Foster Care by Age
                                                          Under 1 Year
                 18 and Older
                                                              8%
                      3%



                                  13-17 Years        1-4 Years
                                     26%               27%
                                      9-12
                                      Years 5-8 Years
                                      16%     20%




                         COGNOS Point in Time Report 3/9/18




                                Foster Care By Age
                    Less Than 1 Year-12 Years        13 Years-18 Years and Older




                                       30%



                                                       70%




                         COGNOS Point in Time Report 3/9/18

Due to data quality issues West Virginia’s performance on the permanency related data
indicators could not be determined during CFSR Rd. 3. Data included in Appendix A of
the Child and Families Services Reviews Final Report was discussed in the 2017 APSR
update.

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Assessment of Permanency Outcome 1

Outcome Permanency 1 is measured by performance on Items 4, 5, and 6 on the 2016
Federal CFSR Onsite Review Instrument. Federal fiscal year 2015 case review data
indicates Permanency 1 was substantially achieved in 40.8% of the cases reviewed, and
partially achieved in 52.6% of the cases reviewed. The outcome rating for Permanency 1
based on case reviews for federal fiscal year 2016 indicate Permanency 1 was
substantially achieved in 18.3% of the cases reviewed, and partially achieved in 64.8%
of the cases reviewed. Case reviews conducted in both federal fiscal years are reflective
of practice that occurred 12 months prior to the date of the review.

Slight declines in meeting the measure were observed in all three CFSR Items related to
Permanency 1. District Management Staff often report a lack of foster homes within the
district and difficulty in locating placement for children with severe behavioral issues,
developmental disabilities, or large sibling groups. This contributes to instability of foster
care placements. Despite these challenges West Virginia met the national standard for
placement stability.

The largest decline, based on DPQI case reviews, was observed in Item 5, permanency
goal for the child. This is the second FFY in which the case review ratings for this item
have decreased. DPQI case review data indicates a 31.3% decrease between FFY 2015
and FFY 2016 in the number of cases that rated as strength for establishing permanency
goals in a timely manner. Issues contributing to the review findings include failure to
document the goals in the case file in a timely manner, goals not being updated to reflect
the current status of the case, and the selection of inappropriate primary or concurrent
permanency goals.

Reviewers found that workers often selected Relative Placement in the FACTS system
when working to achieve adoption or guardianship by a relative caregiver. (It should be
noted that court orders reflect the correct permanency goal) There are screens in the
FACTS system for workers to select both a permanency goal and a placement goal.
Department management staff has taken steps to address this issue by providing field
level staff instruction on the selection of appropriate permanency goals. The issue has
also been addressed in district level DPQI review exit conferences as well as in Statewide
Management Team Meetings.

The measurement for Item 6 changed due to revisions of the OSRI in 2014. Therefore,
only FFY 2015 and FFY 2016 data can be compared for this item. DPQI case review data
indicates the Department and courts were making concerted efforts to achieve
permanency within designated timeframes in 56.9% of the cases reviewed. This is a

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14.6% decrease from the FFY 2015 data of 71.5% strength. An issue which heavily
impacts this item is failure to actively pursue achievement of concurrent permanency
goals. Concurrent permanency planning requires both the identification of an alternative
plan, and the implementation of active efforts toward achieving both plans simultaneously.

Supreme Court of Appeals of West Virginia data in conjunction with DPQI case review
data provides a more extensive data set when measuring the achievement of the
permanency goals. CANS data indicates (on average) the amount of time it takes children
to reach permanency over the course of the last eight years has dropped by 168.5 days.
This same data indicates the length of time for a child involved in abuse and neglect
proceedings to reach permanency increased slightly in 2016. (See charts below) However
the overall length of time for an abused or neglected child to reach permanency has been
reduced over the last eight years.


                            Time to Permanent Placement
                                    Average days
   700

   600
         600.8
   500            547.1    565.2
                                   516.6
                                              474.4   492.2
   400
                                                              436.8   426.2    437.8
   300

   200

   100

     0
          2008    2009     2010     2011      2012    2013    2014    2015     2016


 Supreme Court of Appeals of West Virginia Child Abuse and Neglect (CAN) database




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                                                                                   D004796
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                                Time to Permanent Placemet
                                      Year Average days
                                        2008               600.8
                                        2009               547.1
                                        2010               565.2
                                        2011               516.6
                                        2012               474.4
                                        2013               492.2
                                        2014               436.8
                                        2015               426.2
                                        2016               437.8
                               *Note: The CAN databas is fluid,
                               therefore the average days can
                                 change slightly based on any
                               work the staff has done to cases.

West Virginia is meeting or exceeding the CFSR national standards for permanency
within 12 months for children in care 12 to 23 months, permanency within 12 months for
children in care for 24 months or more, re-entry into foster care, and placement stability.
West Virginia did not meet the national standard for permanency within 12 months of
entry into out of home care.

West Virginia continues to make efforts to decrease the amount of time a child involved
in court proceedings spends in out of home care. Examples of such efforts include West
Virginia’s IV-E demonstration project Safe at Home West Virginia and the 2014 evaluation
of the state’s juvenile justice practices completed by the state in conjunction with the Pew
Charitable Trust.

2018 Assessment of Permanency Outcome 1

Outcome Permanency 1 is measured by performance on Items 4, 5, and 6 on the 2016
Federal CFSR Onsite Review Instrument. Federal fiscal year 2016 case review data
indicates Permanency 1 was substantially achieved in 18.3% of the cases reviewed, and
partially achieved in 64.8% of the cases reviewed. The outcome rating for Permanency 1
based on case reviews for federal fiscal year 2017 indicate Permanency 1 was
substantially achieved in 21.12% of the cases reviewed, and partially achieved in 59.15%
of the cases reviewed. Case reviews conducted in both federal fiscal years are reflective
of practice that occurred approximately 12 months prior to the date of the review. The


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Child and Family Reviews Rd. 3 indicated this measure as substantially achieved in 20%
of the applicable cases reviewed.

Slight differences were observed in meeting the measure in all three CFSR Items related
to Permanency 1. Item 4, placement stability declined by 6.2% between the two FFYs.
During FFY 2016 the item rated as 63.9% strength during case reviews. The item rated
57.7% strength during the FFY 2017 case reviews. As indicated in the West Virginia
CFSR final report, an overreliance on shelter care and a lack of resource homes in the
state contributes to instability of foster care placements. During case reviews district staff
have reported children remaining in DHHR offices overnight while staff search for
resource homes.

The largest increase, based on DPQI case reviews, was observed in Item 5, permanency
goal for the child. DPQI case review data indicates a 15.5% increase between FFY 2016
and FFY 2017 in the number of cases that rated as strength for establishing appropriate
permanency goals in a timely manner. During FFY 2016 the item rated 28.2% strength
and during FFY 2017 the rating increased to 43.7% strength. The item often historically
rated negatively due to the selection of inappropriate permanency goals. West Virginia
has taken steps to educate staff on the selection of appropriate permanency goals. The
efforts appear to have been successful based upon the case review data.

A minor change was observed on the measurement for Item 6, efforts to achieve
permanency, during 2017 FFY reviews. DPQI case review data indicates the Department
and courts were making concerted efforts to achieve permanency within designated
timeframes in 54.9% of the cases reviewed. This is a 26% decrease from the FFY 2016
data of 56.9% strength. Providing adequate services to facilitate reunification with parents
who have addiction issues often requires children to remain in care well past the 12-month
timeframe. In addition, failure to actively pursue achievement of concurrent permanency
goals also impacts the item.

Supreme Court of Appeals of West Virginia indicates the amount of time it takes children
to reach permanency has increased slightly over the last two years. (See charts below)
However the overall length of time for an abused or neglected child to reach permanency
has been reduced over the last eight years.




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 Supreme Court of Appeals of West Virginia Child Abuse and Neglect (CAN)
 database

                                   Time to
                                   Permanent
                                   Placement
                                   Year          Average Days
                                         2008                600.8
                                         2009                547.1
                                         2010                576.6
                                         2011                516.5
                                         2012                474.4
                                         2013                492.2
                                         2014                436.8
                                         2015                426.3
                                         2016                441.1
                                         2017                465.5
                                    **The CAN database is fluid.
      The average number of days can change slightly based on any work the staff has done to cases.

 Permanency 1: Permanency goal of Adoption

                                                   97




                                                                                           D004799
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In the Federal Fiscal Year 2014, 82.90% of the cases reviewed with the permanency goal
of adoption or a concurrent goal of adoption indicated that concerted efforts were made
to achieve finalized adoptions. This measure determines if the child’s adoption will be
finalized within 24 months of the most recent foster care entry. There is a 13.3 %
improvement from Federal Fiscal Year 2013 where 69.60% of the cases achieved this
measure.

               Item 9: Permanency goal of adoption
  85.00%
                                                                                82.90%
  80.00%
  75.00%                                           75.70%
                          69.80%
  70.00%                                                             69.60%
  65.00%
  60.00%
               FFY 2011            FFY 2012            FFY 2013           FFY 2014


Permanency 1: Permanency goal of other planned permanent living
arrangements.

The percentage of cases with the permanency goal of Other Planned Permanent Living
Arrangement that demonstrated progress toward permanency was achieved in 66.7 % of
the case sample. It should be noted that cases are chosen for review based on a random
sample. Only nine cases reviewed during federal fiscal year 2014 had a primary goal or
a concurrent goal of independent living; therefore, six of the nine cases reviewed rated
as strength.




                                              98




                                                                                     D004800
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                     Item 10: Permanency Goal OPPLA
  100.00%
   90.00%                                                       92.90%
   80.00%               80.00%              77.80%
   70.00%
                                                                                    66.70%
   60.00%
   50.00%
   40.00%
   30.00%
   20.00%
   10.00%
    0.00%
                 FFY 2011             FFY 2012            FFY 2013            FFY 2014




Permanency 2: The continuity of family relationships and connections is
preserved for children

Permanency Outcome 2 incorporates six indicators that assess the child welfare agency’s
performance in placing children in foster care in close proximity to their parents and close
relatives (item 11); placing siblings together (item 12); ensuring frequent visitation among
children and their parents and siblings in foster care (item 13); preserving connections of
children in foster care with extended family, community, cultural heritage, religion, and
schools (item 14); seeking relatives as potential placement resource (item15); and
promoting the relationship between children and their parents while the children are in
foster care (item 16). West Virginia’s case review data indicates 94.7% of the cases
reviewed substantially achieved, and 5.3% partially achieved. This is a significant
improvement from 2008 Child and Family Services Review. The outcome was rated as
substantially achieved in 77.5%.

2016 Updates

The outcome rating for permanency 2 based on case reviews for FFY 2015 indicate
permanency outcome 2 was substantially achieved in 73.7 % of the cases reviewed, and
partially achieved in 22.4 % of the cases reviewed. As reflected in the CFSR style case
review data, West Virginia continues to show strength in providing for the continuity of
family relationships and adhering to the value of ensuring children maintain their
connections to their neighborhood, community, faith, extended family, school and friends.


                                             99




                                                                                   D004801
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Permanency 2: Proximity of foster care placement

Permanency measures for the State appear to be improving. Based on the sampling of
cases reviewed by the Division of Planning and Quality Improvement during Federal
Fiscal Year 2014, 98.5% of the placement cases demonstrated that the Department made
concerted efforts to ensure that the child’s placement was close enough to the parents to
facilitate visitation.


              Item 11: Proximity of foster care placement
 101%
 100%                                        100%             100%
 100%
                    99%
  99%
  99%                                                                               98.50%
  98%
  98%
             FFY 2011             FFY 2012              FFY 2013              FFY 2014


Permanency 2: Placement with siblings

This measurement (Item 12) determines if concerted efforts were made to ensure that
siblings in foster care are placed together unless a separation was necessary to meet the
needs of one of the siblings. West Virginia saw a slight decline in this measure in FFY
2014.


                        Item 12: Placement with siblings
 100.00%
  98.00%                                                         98.20%
                        96.90%
  96.00%
                                                                                   95.50%
  94.00%                                     92.30%
  92.00%
  90.00%
  88.00%
               FFY 2011            FFY 2012              FFY 2013            FFY 2014


                                              100




                                                                                         D004802
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Lack of available foster care homes makes placing large sibling groups together difficult
and often requires the children to be separated based on the lack of foster homes. The
children are often separated, placed in close proximity, and provided with ample visitation.
All Districts interviewed over the course of the two-year period state that they struggle
with the lack of foster care placement options. West Virginia continues to have a high rate
of entry into placement.

2016 Update

This measurement (OSRI 2014; Item 7) determines if concerted efforts were made to
ensure that siblings in foster care are placed together unless a separation was necessary
to meet the needs of one of the siblings. Case review data indicates a 1.9% increase in
the number of cases that rated as a strength for this measure.


                            Placement with siblings
                                           98.20%                            97.40%
        96.90%
                                                            95.50%
                         92.30%



       FFY 2011          FFY 2012         FFY 2013         FFY 2014         FFY 2015


The lack of available foster homes results in the inability of large sibling groups to be
placed together.

The placement of children with relatives assists in the improvement of this measurement.
All districts state that they struggle with the lack of foster care placement options.

2017 Update

CFSR Item 7: Placement with Siblings

              DPQI Quality Assurance Case Review Data

                     FFY 2015: 97.4%

                     FFY 2016: 90.2%

                                            101




                                                                                       D004803
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                                 DPQI case review data

 2018 Update

 CFSR Item 7: Placement with Siblings

               DPQI Quality Assurance Case Review Data

                     FFY 2016: 90.2%

                     FFY 2017: 85.7%

                     CFSR Rd. 3: 86%




                                           102




                                                                           D004804
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                                  Placement with Siblings
                97.40%



                                                  90.20%

                                                                           85.70%




               FFY 2015                          FFY 2016                 FFY 2017

                                  % of cases rated as a Strength


                                       DPQI case review data

Permanency 2: Visiting with parents and siblings in foster care

Item 13 addresses the frequency and quality of visits between the parents and/or
caregivers with the child and with the child and siblings who are in separate foster care
placements. Frequency relates to whether the Department arranged sufficient contact to
maintain or improve the existing relationship. Quality means that the visits were held in
settings that were amenable to allow for children to interact with siblings and parents in a
safe and positive atmosphere. If the visits were determined by the Agency and courts not
to be in the best interest of the child, then the worker must provide documentation to
support this decision.




                                                   103




                                                                                     D004805
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 96.00%
              Item 13: Visting with parents and siblings in foster care
 94.00%                                                        94.10%              94.40%

 92.00%
 90.00%
 88.00%                                         87.20%
 86.00%                  85.90%
 84.00%
 82.00%
 80.00%
               FFY2011             FFY 2012              FFY 2013            FFY 2014

This measure was rated strength in 94.40% of the cases reviewed in FFY 2014. West
Virginia continues to make gradual improvements in this measure. Cases that did not
meet the measure typically have failed to include the absent father(s).

2016 Update

Item 8 addresses the frequency and quality of visits between the parents and/or
caregivers with the child and with the child and siblings who are in separate foster care
placements. Frequency relates to whether the Agency arranged sufficient contact to
maintain or improve the existing relationship. Quality means that the visits were held in
settings that were amenable to allow for the children to interact with their siblings and
parents in a safe and positive atmosphere. If the visits were determined by the Agency
and courts not to be in the best interest of the child, then the worker must provide
documentation to support this decision.

This measurement will not be compared to prior years as the directions for rating this item
have changed based on the revisions to the OSRI and does not allow for a direct
comparison of the measurements. For this item the “mother” and “father” are defined as
the “parents from whom the child was removed and with whom the agency is working
toward reunification.” If the child is removed from a relative that is not the biological
“father” or “mother” and are relatives of the child and the agency is working toward
reunification with the relative, they are considered the “mother” and “father”.

This measure was rated as strength in 77.6% of the cases reviewed in FFY 2015. Cases
that did not meet the measure are due to the lack of, or delayed visitation with siblings,
and/or biological fathers. Only two of the cases rated as an area needing improvement

                                              104




                                                                                        D004806
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due to limited visitation based on the child not being placed in close proximity to the
parent(s).

2017 Update

CFSR Item 8: Visiting with Parents and Siblings in Foster Care

              DPQI Quality Assurance Case Review Data

                    FFY 2015: 77.6%

                    FFY 2016: 76.1%




                          FFY 2016 DPQI case review data

2018 Update

CFSR Item 8: Visiting with Parents and Siblings in Foster Care

              DPQI Quality Assurance Case Review Data

                    FFY 2016: 76.1%

                    FFY 2017: 65%

                    CFSR Rd. 3: 68%


                                          105




                                                                               D004807
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           Visiting with Parents and Siblings While in Foster Care
                     76.10%


                                                                      65.00%




                    FFY 2016                                          FFY 2017

                                % of cases rated as a Strength


                               FFY 2017 DPQI case review data

Permanency 2: Preserving Connections

Child and Family Service reviews determine if workers explore and maintain the primary
connections for the child in care and document those efforts. This may include
connections in the community, school, church, extended family members and siblings not
in foster care. If a child is a member or eligible to be a member of an Indian Tribe the
Tribe must be notified in a timely manner to advise them of their right to intervene in any
State court proceedings seeking an involuntary foster care placement or termination of
parental rights. The child must be placed in accordance with the Indian Child Welfare Act
(ICWA). 97.3% of the cases reviewed in FFY 2014 indicated that the workers have made
concerted efforts to maintain the child’s important connections to their community, faith,
extended family and siblings.

                                                   .

                      Item 14: Preserving Connections
 100.00%
                                                                                       97.30%
  95.00%                                                         96.00%
                                                 93.70%
  90.00%              88.70%

  85.00%

  80.00%
                FFY 2011              FFY 2012             FFY 2013              FFY 2014




                                                  106




                                                                                            D004808
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The use of relative placements is reflected in this measure. The cases reviewed indicated
an increased involvement with extended family members as a result of placement with
relatives.

2016 Update

Child and Family Service Reviews determine if workers explore and maintain the primary
connections for the child in care and document those efforts. This may include
connections in the community, school, church, extended family members and siblings not
in foster care. If a child is a member or eligible to be a member of an Indian Tribe, the
Tribe must be notified in a timely manner to advise them of their right to intervene. The
child must be placed in accordance with the Indian Child Welfare Act (ICWA). 77.6% of
the cases reviewed in FFY 2015, indicated that the workers have made concerted efforts
to maintain the child’s connections to their community, faith, extended family and siblings.
No case reviewed indicated a child belonged to a Tribe.


                             Preserving Connections

        88.70%            93.70%           96.00%           97.30%
                                                                             77.60%




        FFY 2011         FFY 2012         FFY 2013          FFY 2014         FFY 2015
.

The cases reviewed indicated a decrease in this measure. The primary reason cases
rated as an area needing improvement for this measure was due to grandparents or
extended relatives being denied visitation with the targeted child.

2017 Update

CFSR Item 9: Preserving Connections

              DPQI Quality Assurance Case Review Data

                     FFY 2015: 77.6%

                     FFY 2016: 93.1%
                                            107




                                                                                      D004809
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                                    DPQI case review data

 2018 Update

 CFSR Item 9: Preserving Connections

                 DPQI Quality Assurance Case Review Data

                       FFY 2016: 93.1%

                       FFY 2017: 77.5%

                       CFSR Rd. 3: 73%




                            Preserving Connections
        96.00%            97.30%                            93.10%
                                           77.60%                          77.50%




       FFY 2013          FFY 2014         FFY 2015          FFY 2016       FFY 2017


                                    DPQI case review data

                                             108




                                                                                 D004810
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Permanency 2: Relative Placement

Workers continue to make efforts to explore relative/kinship care placements; this is often
necessitated by the lack of other foster care homes. In cases where this measure has
not been met, it is often paternal relatives that have not been considered. Although these
measures declined by 2.7 %, case reviews indicate efforts to locate relatives are achieved
in 92.2% of the cases reviewed during federal fiscal year 2014. Round two of the Child
and Family Reviews indicate this measure as strength in 79% of the cases rated during
the onsite reviewed.

West Virginia continues to distribute the diligent search tips guide developed during the
last program improvement plan to staff on a regular basis to ensure continued use.


                          Item 15: Relative Placement
 100.00%

  95.00%                                 94.60%                94.90%
                                                                                   92.20%
  90.00%

  85.00%             84.30%
  80.00%

  75.00%
               FFY 2011            FFY 2012              FFY 2013            FFY 2014

2016 Update

Workers continue to place children with relatives when appropriate to foster the continuity
of the family relationship. In cases where this measure has not been met, it is often
paternal relatives that have not been considered. Of the cases reviewed during federal
fiscal year 2015 that were applicable for this measure, 90.2 % rated as strength. The
slight decline represents six cases out of the 61 cases applicable for this measure. Review
of cases rating as areas needing improvement indicated either maternal or paternal
relatives were not considered. Exploration of both maternal and paternal relatives need
to be considered when seeking relative placement for children; therefore, cases in which
this did not occur rated this item as an area needing improvement.

 It should be noted that fictive kinship placement can no longer be considered for rating
in this item. Review of the data for FFY 2015 does not indicate this to be a factor in the
                                              109




                                                                                        D004811
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reduction in the measurement of this item; however, does note the change in the
instructions for the measurement of this item.

West Virginia’s case review process will address the appropriateness of the Agency’s
decision to place child(ren) with fictive kin on a case-by-case basis to determine if the
child’s best interest was taken into consideration when placement decisions were made.
For cases in which the fictive kin appear to be in the child’s best interest and provides for
continuity of care, WV will note the placement as an exception and override the
measurement to rate as a strength.


                                  Relative Placement
                         94.60%            94.90%
                                                            92.20%
                                                                              90.20%

        84.30%




       FFY 2011          FFY 2012         FFY 2013          FFY 2014         FFY 2015


2017 Update

CFSR Item 10: Relative Placement

              DPQI Quality Assurance Case Review Data

                     FFY 2015: 90.2%

                     FFY 2016: 81.4%




                                             110




                                                                                        D004812
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                                    DPQI case review data

 2018 Update

 CFSR Item 10: Relative Placement

                 DPQI Quality Assurance Case Review Data

                       FFY 2016: 81.4%

                       FFY 2017: 69.1%

                       CFSR Rd. 3: 68%




                                   Relative Placement
        94.90%            92.20%           90.20%
                                                            81.40%
                                                                           69.10%




       FFY 2013          FFY 2014         FFY 2015          FFY 2016       FFY 2017


                                    DPQI case review data

                                             111




                                                                                 D004813
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Permanency 2: Relationship of child in care with parents

Social service reviews also determine whether concerted efforts were made to promote,
support and maintain positive relationships between the children in foster care and his or
her parents or primary caregiver from whom the child had been removed through activities
other than visitation.


                 Item 16: Relationship of child in care with parents
100.00%

 80.00%                                                               82.70%                  82.80%

 60.00%                                      59.80%
                       52.20%

 40.00%

 20.00%

  0.00%
               FFY 2011                FFY 2012                 FFY 2013                FFY 2014



           Item 16: Comparison of youth services to child
                      protective services cases
            100.00%
                                                     84.20% 83.30% 87.00%
                          64.50%       66.70%                                  80.60%
                                              55.90%                                                 YS
                                   42.00%
              50.00%
                                                                                                     CPS


               0.00%
                          FFY 2011
                                       FFY2012
                                                     FFY 2013
                                                                    FFY 2014


Reviews indicated that children placed in care through the youth services system are
more likely to receive services to promote, support and maintain positive relationships
between the child and his or her mother and father or primary caregiver from whom the
child had been removed through activities other than visitation. This is achieved as the

                                                   112




                                                                                                   D004814
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primary focus of treatment in most youth services cases involves working toward
improving the parent child relationship to discover the underlying cause(s) for the child’s
behaviors. Older youth are typically placed in residential treatment centers that involve
the caregivers in family therapy, treatment plan development and provide additional
socially interactive activities. Many of the facilities encourage the youth to keep in touch
with extended family through calls, emails, and visitation; whereas children in placement
due to abuse and neglect are often unable to maintain contacts and relationships outside
of supervised visitation without approval from the court system. It should also be noted
that often in abuse/neglect cases, safety concerns prevent additional interaction or
contact outside of the supervised visitation setting.

2016 Update

Social service reviews also determine whether concerted efforts were made to promote,
support and maintain positive relationships between the children in foster care and his or
her parents or primary caregiver from whom the child had been removed through activities
other than visitation (OSRI 2014, item 11). This measurement will not be compared to
prior years as the directions for rating this item has changed.

For this item the “mother” and “father” are defined as the “parents from whom the child
was removed and with whom the agency is working toward reunification.” If the child is
removed from a relative that is not the biological “father” or “mother” and are relatives of
the child and the agency is working toward reunification with the relative, they are
considered the “mother” and “father”. The same person(s) are rated in for OSRI 2014,
items 8 and 11.


                Relationship of child in care with parents
                                        Strength   ANI

                                       36.20%
                                                             63.80%




                                            113




                                                                                    D004815
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               Relationship of child in care with Parents
                                   YS strength      CPS strength


                               78.90%

                                                                   54.30%




                                                 FFY 2015

Reviews indicated that children placed in care through the youth services system are
more likely to receive services to promote, support and maintain positive relationships
between the child and his or her mother and father or primary caregivers. From the case
review data, for CPS cases the involvement with the court and MDT plays a role in how
much involvement a child has with their caregivers.

This is achieved as most youth service cases involve working toward improving the
parent/child relationship to discover the underlying cause(s) for the child’s behaviors.
Most often children involved in youth services cases are placed in residential treatment
centers. The residential treatment providers often involve the caregivers in family therapy
and provide additional socially interactive activities that include the youth’s family.
Parents are encouraged to attend recreational events and the youth’s sporting events
when possible.

2017 Update

CFSR Item 11: Relationship of Child in Care with Parents

              DPQI Quality Assurance Case Review Data

                    FFY 2015: 63.8%

                    FFY 2016: 60.0%




                                             114




                                                                                        D004816
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                                  DPQI case review data

Assessment of Permanency Outcome 2

Outcome Permanency 2 is measured by performance on Items 7, 8, 9, 10, and 11 on the
2016 Federal CFSR Onsite Review Instrument. Federal fiscal year 2015 case review data
indicates Permanency 2 was substantially achieved in 73.7% of the cases reviewed, and
partially achieved in 22.4% of the cases reviewed. The outcome rating for Permanency 2
based on case reviews for federal fiscal year 2016 indicate Permanency 2 was
substantially achieved in 76.4% of the cases reviewed, and partially achieved in 22.2%
of the cases reviewed. Case reviews conducted in both federal fiscal years are reflective
of practice that occurred 12 months prior to the date of the review.

The continuity of primary relationships and connections are being preserved for most
children served in out of home care. DPQI case review data indicates strength ratings of
80% or more in three of the five items associated with this outcome. Despite these positive
findings, DPQI data also indicates there are areas in which improvements can be made.
Slight declines in item ratings were observed in all but one of the five CFSR Items
associated with Outcome Permanency 2. The number of children entering out of home
care in West Virginia has increased. West Virginia continues to see an increase in the
number of child maltreatment victims, along with an increase in the rate of entry into foster
care. This is likely due to the increase in the total number of child abuse and neglect
reports received in WV that have a substantiated disposition in the reporting period under
review (FFY 2014 ab).


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           WV Data Profile: Number of Reports accepted
                         for Investigation
                                Date source WV CFSR Data Profile 6-29-2015
                                                                             19,279

                     18,965


                   FFY 2013ab                                          FFY 2014ab


Despite the increase in children entering foster care, Department staff and service
providers continue to make concerted efforts to meet the ever-increasing need for
transportation and supervision services associated with parent/family-child visitation.

DPQI case review data indicates the Department is making concerted efforts to ensure
that siblings in foster care are placed together unless separation was necessary to meet
the needs of one of the siblings. This item rated 90.2% strength during FFY 2016 case
reviews. This item and Item 10 (Relative Placement) are often found to be linked during
case reviews. The limited number of foster home placement options within most districts
ensures that staff diligently seeks out relative placements. This practice often also
ensures that sibling groups can be placed together.

The measurement for Item 8 (visits with parents and siblings in foster care) changed due
to revisions of the OSRI in 2014. Therefore, only FFY 2015 and FFY 2016 data can be
compared for this item. Ensuring that the frequency and quality of visits between the
parents and/or caregivers with the child, and the child with siblings placed in a different
placement setting, are of sufficient quality and frequency to maintain the relationship was
determined to be a strength in 76.1% of the cases reviewed by DPQI during FFY 2016.
This is a 1.5% decrease from the strength rating found during case reviews during FFY
2015. DPQI reviewers frequently noted delays in initiating visitation with one or more
parents/caregivers in cases that did not meet the measure. Addiction issues are often
present in cases that do not meet this measure. Children in placement due to abuse and
neglect proceedings are often unable to maintain contacts and relationships without
approval from the court system. Judges often do not permit contact between the child and
the parent/s if the parent/s fails to complete substance abuse treatment or have positive
drug screens due to safety concerns for the child.


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                                                                                             D004818
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DPQI case review data indicates workers are exploring and maintaining the primary
connections for the child in care and document those efforts in the majority of the cases
reviewed. If a child is a member or eligible to be a member of an Indian Tribe, the Tribe
must be notified in a timely manner to advise them of their right to intervene. The child
must be placed in accordance with the Indian Child Welfare Act (ICWA). In 93.1% of the
cases reviewed in FFY 2016 reviewers found evidence that workers had made concerted
efforts to maintain the child’s connections to their community, faith, tribe if applicable,
extended family and siblings. This is a 15.5% increase from case review data collected in
FFY 2015.

Case reviewers found that the child was placed in a stable relative placement, or that
concerted efforts to identify and assess relatives, had been made in 81.4% of the cases
reviewed during FFY 2016. In 13 of the 70 applicable cases reviewers did not find
documentation or other evidence that the Department had made efforts to locate and
assess relatives as possible placement resources. The searches for paternal relatives
were more likely to have insufficient efforts than those for maternal relatives. No case
reviewed in FFY 2016 involved a fictive kin placement. West Virginia’s case review
process will address the appropriateness of the Agency’s decision to place child(ren) with
fictive kin on a case-by-case basis to determine if the child’s best interest was taken into
consideration when placement decisions were made. For cases in which the fictive kin
appear to be in the child’s best interest and provides for continuity of care, WV will note
the placement as an exception and override the measurement to rate as a strength.

 The measurement for Item 11 (relationship of child in care with parents) changed due to
revisions of the OSRI in 2014. Therefore, only FFY 2015 and FFY 2016 data can be
compared for this item. DPQI case review data indicates the Department and courts were
making concerted efforts to promote, support and maintain positive relationships between
the children in foster care and his or her parents or primary caregiver from whom the child
had been removed through activities other than visitation in 60% of the cases reviewed.
This is a 3.8% decrease from the ratings found on this same item during FFY 2015.
Addiction issues are often present in cases that do not meet this measure. Contributing
factors to the overall ratings on this item include courts not permitting contact between
the child and his/her parent/s due to failure on the part of the parent to complete
substance abuse treatment or have negative drug screens, and parents being
incarcerated or transient.

2018 Update

CFSR Item 11: Relationship of Child in Care with Parents


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             DPQI Quality Assurance Case Review Data

                        FFY 2016: 60.0%

                        FFY 2017: 47.4%

                        CFSR Rd. 3: 52%


                   Relationship of Child in Care with Parents
             63.80%
                                            60.00%

                                                                      47.40%




             FFY 2015                       FFY 2016                 FFY 2017

                               % of cases rated as a Strength


                                  DPQI case review data

Assessment of Permanency Outcome 2

Outcome Permanency 2 is measured by performance on Items 7, 8, 9, 10, and 11 on the
2016 Federal CFSR Onsite Review Instrument. The outcome rating for Permanency 2
based on case reviews for federal fiscal year 2016 indicate Permanency 2 was
substantially achieved in 76.4% of the cases reviewed, and partially achieved in 22.2%
of the cases reviewed. Federal fiscal year 2017 case review data indicates Permanency
2 was substantially achieved in 60.56 of the cases reviewed, and partially achieved in
30.98% of the cases reviewed. Case reviews conducted in both federal fiscal years are
reflective of practice that occurred 12 months prior to the date of the review. The Child
and Family Reviews Rd. 3 indicated this measure as substantially achieved in 65% of the
applicable cases reviewed.

Declines in meeting the measure were observed in all five CFSR Items related to
Permanency 2. West Virginia continues to see an increase in the number of child
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maltreatment reports received and the rate of entry into foster care. The results of which
have created strain on the state’s limited resources. District level management staff often
report addiction issues as contributing to the inability to meet the measure. Parents with
addiction issues involved in child abuse and neglect cases are often transient or not
permitted contact by the court due to failure to complete substance abuse treatment or
achieve negative drug screens. In addition, the lack of local resource homes often creates
a geographical barrier to ensuring the preservation of primary connections, and regular
contact between siblings placed separately as well as children and their parents

DPQI case review data indicates that in most of applicable cases concerted efforts are
being made to ensure that siblings in foster care are placed together unless separation
was necessary to meet the needs of one of the siblings. The item rated 85.7% strength
during FFY 2017 case reviews. Placement of children with relatives often ensures that
sibling groups are able to be placed together.

Item 8, ensuring that the frequency and quality of visits between the parents and/or
caregivers with the child, and the child with siblings placed in a different placement setting,
are of sufficient quality and frequency to maintain the relationship, was determined to be
a strength in 65% of the cases reviewed by DPQI during FFY 2017. This is a 11.1%
decrease from the strength rating found during case reviews during FFY 2016. DPQI case
reviews indicate addiction issues remain a barrier to ensuring sufficient contact between
children in foster care and their parent/s. In some cases, the parent/s lack stable housing
and this is a barrier to maintaining regular contact between the parent and the
caseworker, creating difficulty in establishing regular visitation. In addition, children in
placement due to abuse and neglect proceedings are often unable to maintain contact
with their parent/s without approval from the court. As mentioned previously, court orders
often reflect that, due to safety concerns for the child, contact between the child and the
parent/s is not permissible if the parent/s fails to complete substance abuse treatment or
has positive drug screens.

In 77.5% of the cases reviewed in FFY 2017 DPQI case reviewers found evidence that
workers had made concerted efforts to maintain the child’s connections to his or her
community, faith, tribe if applicable, extended family and siblings, Item 9. This is a 15.6%
decrease from case review data collected in FFY 2016 which showed a 93.1% strength
rating for the item. If a child is a member or eligible to be a member of an Indian Tribe,
the Tribe must be notified in a timely manner to advise them of their right to intervene.
The child must be placed in accordance with the Indian Child Welfare Act (ICWA).

Item 10, placed in a stable relative placement, or making concerted efforts to identify and
assess relatives as possible placement options, had been made in 69.1% of the cases

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reviewed during FFY 2017. In the applicable cases that did not rate positively, DPQI
reviewers did not find documentation or other evidence that the Department had made
efforts to locate and assess both maternal and paternal relatives as possible placement
resources. The searches for paternal relatives were more likely to have insufficient efforts
than those for maternal relatives. No case reviewed in FFY 2017 involved a fictive kin
placement. West Virginia’s case review process will address the appropriateness of the
Agency’s decision to place child(ren) with fictive kin on a case-by-case basis to determine
if the child’s best interest was taken into consideration when placement decisions were
made. For cases in which the fictive kin appear to be in the child’s best interest and
provides for continuity of care, WV will note the placement as an exception and override
the measurement to rate as a strength.

DPQI FFY 2017 data indicates the Department and courts were making concerted efforts
to promote, support and maintain positive relationships between the children in foster
care and his or her parents or primary caregiver from whom the child had been removed
through activities other than visitation in 47.4% of the cases reviewed. This is a 12.6%
decrease from the ratings found on this same item during FFY 2016. Similar to Item 8,
contributing factors to the overall ratings on this item include courts not permitting contact
between the child and his/her parent/s due to failure on the part of the parent to complete
substance abuse treatment or have negative drug screens, and parents being
incarcerated or transient.

Well-being Outcomes 1, 2 and 3

Well-being Being 1: Families have enhanced capacity to provide for their
children’s needs.

Well-being Outcome 1 incorporated four indicators. One pertains to the agency’s efforts
to ensure that the service needs of children, parent, and foster parents are assessed and
that necessary services are provided to meet identified needs (item 17). A second
indicator examines the agency’s efforts to actively involve parents and children in the
case planning process (item 18). The two remaining indicators examine the frequency
and quality of the caseworkers’ contacts with the children in their caseloads (item 19) and
with the children’s parent (item 20). Case reviews conducted in FFY 2014 indicate
substantial conformity was met in 42.7% of the cases reviewed and partially achieved in
26.6%.

2016 Update



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Well-being Outcome 1 incorporated four indicators. One pertains to the Agency’s efforts
to ensure that the service needs of children, parent, and foster parents are assessed and
that necessary services are provided to meet identified needs. A second indicator
examines the Agency’s efforts to actively involve parents and children in the case
planning process. The two remaining indicators examine the frequency and quality of the
caseworker’s contacts with the children in their caseloads and with the children’s parents.
Case reviews conducted in FFY 2015 indicate substantial conformity was met in 32.4 %
of the cases reviewed and partially achieved in 37.3%.

Well-being items 12B, 13, and 15 the terms “mother” and “father” are defined as the
parents/caregivers with whom the children were living when the Agency became involved
with the family and with whom the children will remain; biological parent(s) who were not
the parents from whom the child was removed; and paramours to biological parents.

This measurement will not be compared to prior years data as the directions for rating
this item have been changed.

Well-being 1: Families have enhanced capacity to provide for their children’s
needs.

Cases were reviewed to determine whether concerted efforts were made to assess the
needs of children, parents, and foster parents to determine or to identify the services
necessary to achieve case goals and adequately address the issues relevant to the
agency’s involvement with the family, and if appropriate services were provided. This
measure is a composite of sub measurements that look separately at services to the
children, fathers, mothers and foster parents.


           Item 17: Needs and services of child, parent, foster
                                parents
 80.00%

 60.00%                                       55.30%             61.50%
                                                                                    52.40%
                     46.70%
 40.00%

 20.00%

  0.00%
               FFY 2011            FFY 2012              FFY 2013             FFY 2014



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                      Item 17: Breakdown by case type
            80.00%                 70.30%
                              66.10%               70.70%
            60.00%        52.20%

                                                            37.60%                   52.40%       FFY 2011
            40.00%                                                    45.50%
                                                                 33.30%
                                                                                                  FFY 2012
             20.00%
                                                                                                  FFY 2013
              0.00%                                                                               FFY 2014

                              Placement
                                                                 In Home




              Item 17: Breakdown by persons served
          100.00%
                          80.70% 84.60%
                      75.90%                                    87.80% 89.20%
           80.00%                    69.40%                                      82.10%
                                                       69.00%
                                              59.20%
           60.00%                                           56.80%                       81.60%
                                          47.30%
            40.00%

            20.00%

             0.00%
                           child
                                               parent
                                                                     foster parent


The Agency continues to work towards improving their ability to assess the needs of
children, parents and foster parents and to identify the services necessary to achieve
case goals and adequately address the issues relevant to the agency’s involvement with
the family. The data indicates that this measure is only being met in 52.5% of the cases
reviewed. The lack of on-going case work in non-placement cases and the lack of
involvement with all identified fathers tend to hinder improvements.

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The measure continues to fall short as identified needs are not always addressed in the
on-going case work process. For example, domestic violence may be identified as a
reason that the DHHR is involved with the family; however, no services are put into place
to address the issue. Additionally, the data indicates a lack of ongoing assessment of
children and parents to determine the efficacy of the services.

The provision of services is currently being redesigned to better meet the needs of those
involved with the Agency.

Most Districts lack adequate substance abuse treatment services, both inpatient and
outpatient for parents and youth; domestic violence services; and parent programs to
address the issue of parenting older youth.

2016 Update

Cases were reviewed to determine whether concerted efforts were made to assess the
needs of children, parents, and foster parents to determine or to identify the services
necessary to achieve case goals and adequately address the issues relevant to the
agency’s involvement with the family, and if appropriate services were provided. This
measure is a composite of sub-measurements that look separately at services to the
children, fathers, mothers and foster parents (OSRI 2014; item 12; OSRI; 2004: item 17).

This measurement will not be compared to prior years for 12 B (needs and services for
parents) as the directions for rating this item based on the revisions to the OSRI does not
allow for a direct comparison of the measurements. This item defines “mother” and
“father” as parents/caregivers with whom they were living when the agency became
involved with the family and with whom the children will remain with and whom the agency
is working toward reunification. This item also includes biological parents that indicate a
desire to be involved with the child and it is in the child’s best interest to do so. This item
also includes biological parent(s) paramours.

Case review data indicates that this measure is being met in 47.9% of the cases reviewed.




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          Cases that rate as a strength : Needs assessment
                      and services by case type

                                                       31.90%
 nonplacement



    placement                                                                            61.80%


            0.00%          10.00%   20.00%   30.00%    40.00%      50.00%    60.00%         70.00%


Non-placement cases rate as an area needing improvement more often than placement
cases. Cases rating as an area needing improvement are due to the lack of on-going
case work. Case reviews indicate initial assessments are completed to identify area of
need; however, ongoing assessments of the family are not occurring at the frequency
needed to determine the effectiveness of treatment services.

When determining if concerted efforts were made to assess children, parents and foster
parents, case reviews indicated the areas needing improvement for this item are related
to gaps in assessing children and parents. As reflected in the break-down of this
measurement into subsections for foster parents, parents, and children.


          Cases Rating as Strength for Needs and Services by Case Role
                                                                            89.10%
                71.10%

                                             49.60%




                children                     parents                    foster parents



Of the cases that rated as an area needing improvement, 28.8% were due to the lack of
ongoing assessments and services to the children. Of that 28.8%, 22% of the cases
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lacked the assessment of all children in the home, 61% rate as an area needing
improvement as ongoing assessments were not frequent enough to continue to assess
the children and determine the effectiveness of treatment services. In 1.7% of the cases
needing improvement, the children were not referred to the Birth to Three Program as
required by policy.

Data indicates the needs and services of parents were rated as strength in 49.6% of the
cases reviewed. Reviews indicate a lack of ongoing assessments for parents, and a lack
in the provision of services to address the identified needs.

Placement cases scored better with the measurement being met in 61.3% of the cases
reviewed. Absent parent involvement impacted this measure in placement cases. Non-
placement cases rated poorly for this measure with only 38.5 % of the cases rating as
strength. All measurements for non-placement cases are highly impacted by the failure
of Agency workers to have regular contact with the families.

Foster parents’ needs and services were met in 91.0% of the cases reviewed. This
represents five cases out of the 53 applicable cases. These cases rated as an area
needing improvement due to the lack of ongoing assessments or provision of specific
services.

2017 Update

CFSR Item 12: Needs and Services of Child, Parents, and Foster Parents

              DPQI Quality Assurance Case Review Data

                    FFY 2015: 47.9%

                    FFY 2016: 28.7%




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                   Needs and Services of Child, Parents, and
                               Foster Parents
                                         In Home         Placement
                                                                     41.70%



                                      15.50%




                                                   FFY 2016


                               FFY 2016 DPQI case review data




                   Strength Rating for Needs Assessment and
                             Services by Case Type


    FFY 2016
                                                                                         Placement

    FFY 2015                                                                             In Home


           0.00%    10.00%   20.00%   30.00%     40.00%      50.00%    60.00%   70.00%


                                      DPQI case review data




                                                   126




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               Strength Rating for Needs Assessment and
                         Services by Case Role
   100.00%

    50.00%

     0.00%
                     Child                      Parents                      Foster Parents

                                     FFY 2015      FFY 2016


                                 DPQI case review data

 2018 Update

 CFSR Item 12: Needs and Services of Child, Parents, and Foster Parents

               DPQI Quality Assurance Case Review Data

                     FFY 2016: 28.7%

                     FFY 2016: 28.7%

                     CFSR Rd. 3: 35%


               Needs and Services of Child, Parents, and
                           Foster Parents
                                   In Home      Placement
                                                              29.60%
                                18.90%




                                             FFY 2017

                                 DPQI case review data


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               Strength Rating for Needs Assessment and
                         Services by Case Type


   FFY 2017

                                                                                       Placement
                                                                                       In Home
   FFY 2016


          0.00% 5.00% 10.00% 15.00% 20.00% 25.00% 30.00% 35.00% 40.00% 45.00%


                                          DPQI case review data




               Strength Rating for Needs Assessment and
                         Services by Case Role
   100.00%
                                                                         78.80%
    80.00%
                                 62.90%                                             61.70%
                57.30%
    60.00%
    40.00%                                     29.10%
                                                             22.80%
    20.00%
     0.00%
                         Child                         Parents             Foster Parents

                                            FFY 2016     FFY 2017




                                          DPQI case review data



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Well-being 1: Child and family involvement in case planning

Wellbeing Outcome 1 also measures child and family involvement in case planning on an
ongoing basis. Reviews indicate an improvement in involving children and families in the
case planning process.


                    Item 18: Case Planning Overall Measurements
 100.00%

  80.00%                                            73.20%                          79.20%
                           63.50%
                                                                                                    67.50%
  60.00%

  40.00%

  20.00%

   0.00%
                    FFY 2011             FFY 2012                      FFY 2013               FFY 2014




                                   Item 18: In home cases
                                       56.30%                          52.30%
           60.00%
                                 44%                          42.30%            46.20%
           50.00%                                                                                    FFY 2011
                        30.30%                                                                       FFY 2012
           40.00%                                                                        33.30%
                                                                                                     FFY 2013
           30.00%
                                                                                                     FFY 2014
           20.00%                               6.30%
           10.00%

            0.00%
                       Youth Services In Home                    CPS In Home




                                                        129




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              Item 18: Case Planning in Placement Cases
                                        90%             86%   85.30%      96.90%
                  79.10%     81.80%
       100.00%
                                            69.40%                             69.00%
        80.00%                                                                          FFY 2011
        60.00%                                                                          FFY 2012
                                                                                        FFY 2013
        40.00%
                                                                                        FFY 2014
        20.00%

         0.00%
                 Youth Services Placement Cases         CPS Placement Cases


Reviews indicated that family and child involvement in case planning when the child is in
placement is significantly higher than for those involved in cases without placement. This
can be attributed to court and MDT oversight.

Although case planning is occurring in youth services placement cases, Districts continue
to struggle with the process. Staff feels case plans are often set forth by the court and
juvenile probation system and they have little input into the process.

Case planning in CPS in-home cases is lacking. Many in-home cases are not receiving
on-going casework, and many Districts have not been able to successfully implement the
Protective Capacities Family Assessment (PCFA) and case planning process.

During Contract Year 2013-2014, the Family Support Educator for APS Healthcare Inc.
conducted eleven (11) Focus Groups with youth receiving Medically Necessary Services
(MNS) for Behavioral Health Services.

The purpose of these focus groups is to provide youth who are receiving medically
necessary behavioral health services in West Virginia the opportunity to candidly share
their experiences and opinions. These groups are conducted on a regular basis in various
regions across the state of West Virginia to gain insight regarding the utilization and
impact of these services in the state. Each group may consist of youth receiving
individualized and/ or group treatment in a residential facility and/or within the community.

This year seventy-three (73) youth receiving residential treatment participated. It should
be noted youth were not limited to choosing a single response; therefore, a single

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participant may be represented in more than one response category. Percentages were
rounded to the nearest whole number.

Youth that participated in the focus groups were asked several questions related to
meeting their treatment needs and their participation in the treatment planning process.
Many of these factors relate to the factors in well-being 1 measurement.

Youth were asked if their worker knows what they are working on in therapy. Forty-seven
percent (47%) of participants agreed.

When youth were asked: “Do you understand your treatment plan?” 22% of the
participants felt their input was considered. 69% of participants conveyed that they did
not understand or agree on the plan. 7% could not remember their treatment plan and
3% of the participants stated they did not have a treatment plan.

Focus groups were also asked: “Was your input considered in the development of the
plan”. The following responses were received, 36% responded in a positive affirmation,

twelve percent (12%) of participants “Did not know.” Of this response, five (5%) percent
of participants agreed with the response, “I don’t know what my treatment plan is. I can’t
remember, it all runs together, and they give you so much to sign when you get here. I
just know what our daily goals are.” In addition, one percent (1%) added, “I didn’t even
get to read it. They just rush you to sign everything because there is so much paper work
to get through.” One percent (1%) stated, “I can’t remember. They said I had a bad attitude
and anti-social behaviors. It has improved as much as I want it to.” One percent (1%)
stated, “I’m not sure, I might have.”

Focus groups were also asked “Has your outlook about yourself or situation changed
since you came into the program”? 75% of the youth indicated yes.

Youth were asked follow-up questions to gain an understanding of what has helped
change their outlook. Youth were asked what has helped change their outlook. Seventy-
five percent (75%) of participants that stated, “Yes,” expressed by achieving their goals,
receiving therapy and attending school helped improve their outlook in the major areas
tabled below. Twenty-nine percent (29%) of participants agreed being away from their
family, home and communities made them appreciate their family and being in the
community. Twenty-two percent (22%) felt a lack of freedom gave them respect for their
home life and the things they had that they took for granted.



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Data may not be reflective of the larger sample; however, the data does indicate further
exploration is needed to understand the youth’s treatment needs and means to improve
on engaging the youth in the treatment planning process.

2016 Update

Wellbeing Outcome 1 also measures child and family involvement in case planning on an
ongoing basis (OSRI 2014: item 13). For this item the terms “mother” and “father” are
defined as the caregivers with whom the children were living when the agency because
involved with the family and with whom the children will remain.

This measurement cannot be compared to prior years for case planning due to a change
in the way the DPQI unit assessed the item. In prior years this item was rated based upon
the level of engagement of the family in the case planning process. Based on consultation
from the Children Bureau this item was not rated as a strength this year unless the case
plan was signed; therefore, the overall decrease in the percentage of cases that rated as
a strength for the item reflects a lack of signed case plans in the case records.

Case reviews indicate strength in 52.5 % of the case review for the measurement of case
planning.

Reviews indicated that family and child involvement in case planning when the child is in
placement is significantly higher than for those involved in cases without placement. This
can be attributed to court and MDT oversight. Case planning in youth services placement
cases is often set forth by the court system and juvenile probation. Measurements for
non-placement cases were impacted by the failure of the Agency workers to have regular
contact with their families and a lack of signed case plans.


          Case Planning: Non placement compared to Placement
                                                               71.20%



                    31.80%




                 non placement                                placement


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2017 Update

CFSR Item 13: Child and Family Involvement in Case Planning

              DPQI Quality Assurance Case Review Data

                    FFY 2015: 52.5%

                    FFY 2016: 9.3%

Please note: This measurement cannot be compared to prior years due to a change in
the way the DPQI case review unit assessed the item. In prior years this item was rated
based upon the level of engagement of the family in the case planning process,
regardless of the presence of a written case plan. Based on consultation from the
Children’s Bureau in 2015, during FFY 2016 DPQI case reviews, reviewers only rated this
item a strength if a written case plan was found in the case record and was signed by
parents, and if age appropriate, the child. The change in rating criteria is the reason for
the overall decrease in the percentage of cases that rated as strength for the item.
Reviews often indicate that family and child involvement in case planning when the child
is in placement is significantly higher than for those involved in cases without placement.
This can be attributed to court and MDT oversight. Case planning in youth services
placement cases is often set forth by the court system and juvenile probation.
Measurements for non-placement cases were impacted by the failure of the Agency
workers to have regular contact with their families and a lack of signed case plans.

2018 Update

CFSR Item 13: Child and Family Involvement in Case Planning

              DPQI Quality Assurance Case Review Data

                    FFY 2015: 52.5%

                    FFY 2016: 9.3%

                    FFY 2017: 35.5%

                    CFSR Rd. 3: 40%



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Please note: This measurement for FFY 2017 cannot be compared to FFY 2016 due to
a change in the way the DPQI case review unit assessed the item. In prior years this item
was rated based upon the level of engagement of the family in the case planning process,
regardless of the presence of a written case plan. Based on consultation from the
Children’s Bureau in 2015, during FFY 2016 DPQI case reviews, reviewers only rated this
item a strength if a written case plan was found in the case record and was signed by
parents, and if age appropriate, the child. Based upon clarification form the Children’s
Bureau in 2016, the DPQI case review unit during FFY 2017 rated the item based upon
the level of family engagement in the case planning process and not strictly upon the
existence of a signed case plan. The change in rating criteria is the reason for the overall
decrease and then increase in the percentage of cases that rated as strength for the item.


            Child and Family Involvement in Case Planning
                                     In Home         Placement


                                                                 48.50%



                                 18.90%




                                               FFY 2017


                                 DPQI case review data

DPQI district reviews often indicate that family and child involvement in case planning
when the child is in placement is significantly higher than for in-home cases. This can be
attributed to court and MDT oversight. Measurements for non-placement cases were
impacted by lack of agency caseworkers to ensure regular contact with children and
families.

Well-being 1: Workers visits with child

Social service reviews also assess the caseworker visits with the child. Cases are
reviewed to determine whether the frequency and quality of visits between caseworkers
and the children in cases are sufficient to ensure the safety, permanency and wellbeing

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of the child and promote achievement of case goals. Case type is indicated by the
placement of the child at the time of the review. In rating this measure, reviewers consider
both the length of the visit and the location of the visit. Reviewers also consider whether
the caseworker saw the child alone or whether the parent or foster parent was present.
Reviewers must also consider the topics that were discussed during the visits to
determine if the visit promoted the achievement of case goals. With the above mention
contact characteristics in consideration, this measure is not congruent with COGNOS
data that tracks only the frequency of visits.


                       Item 19: Worker Visits with Child

            100.00%                                                               95.10%
                                                                       95.00%
              90.00%
              80.00%                                            91%                        95.60%
              70.00%                  61.50%
                           56.30%
              60.00%
                         43.10%           46.80%
              50.00%
                                                                                                FFY 2011
              40.00%                                     32.70%
              30.00%                                23.20%                                      FFY 2012
                                               21.20%
              20.00%                                                                            FFY 2013
                                                             14.30%
               10.00%
                                                                                                FFY 2014
                0.00%
                            Overall
                                                   In Home
                                                                      Placement



As indicated there is a distinct gap in caseworker visits in non-placement cases. Data
collected from the FFY 2014 review indicated that in only 14.30% of the non-placement
cases the children were seen on a regular basis to monitor for their safety.

COGNOS Data Federal Fiscal Year 2014




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Districts continue to monitor and track the intake portion of casework as the ongoing
casework practice receives little attention. The monitoring of caseworker visits to children
in placement has greatly improved the practice of visits with children in placement
settings; however, in-home cases have significant gaps in contacts. Services are referred
into the homes without follow up to ensure efficiency and cooperation with services.
Reviews continue to indicate that in some districts there has been no contact by Agency
workers in open in-home cases after the completion of family functioning assessments or
youth behavior evaluations.

During Contract Year 2013-2014, the Family Support Educator for APS Healthcare Inc.
conducted eleven (11) Focus Groups with youth receiving Medically Necessary Services
(MNS) for Behavioral Health Services.

The purpose of these focus groups is to provide youth who are receiving medically
necessary behavioral health services in West Virginia the opportunity to candidly share
their experiences and opinions. These groups are conducted on a regular basis in various
regions across the state of West Virginia to gain insight regarding the utilization and
impact of these services in the state. Each group may consist of youth receiving
individualized and/ or group treatment in a residential facility and/or within the community.

This year seventy-three (73) youth receiving residential treatment participated. It should
be noted youth were not limited to choosing a single response; therefore, a single
participant may be represented in more than one response category. Percentages were

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rounded to the nearest whole number. In addition, DPQI conducted focus groups with
parents, youth, and stakeholders during case reviews.

Youth that participated in the focus groups were asked “how often do you see your DHHR
case worker?” Their response fell into four main categories: 43% of those reporting
satisfactions with the frequency of worker visits; 18% felt they were not seen enough;
30% reported not seeing their workers; 4% had recently entered custody and did not have
enough experience to answer the question.

APS Healthcare also conducted focus groups with participants of service (youth and their
families) and WV FAM members were asked to list their biggest concerns, of which most
respondents replied, “sibling separation.”

Data may not be reflective of the larger sample; however, the data does indicate further
exploration is needed to understand the youth’s treatment needs.

2016 Update

Cases are reviewed to determine whether the frequency and quality of visits between
caseworkers and the children in cases are sufficient to ensure the safety, permanency
and wellbeing of the child and promote achievement of case goals. Case type is indicated
by the placement of the child at the time of the review. In rating this measure, reviewers
consider both the length of the visit and the location of the visit. Reviewers also consider
whether the caseworker saw the child alone or whether the parent or foster parent was
present. Reviewers must also consider the topics that were discussed during the visits
to determine if the visit promoted the achievement of case goals.

Since COGNOS is only able to measure that the visit occurred; data from the reviews
also consider the quality of the visit. The two data sets should not be compared.




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                             Worker Visits with Child
                                        61.50%
                           56.30%
                                                        46.80%            47.20%
          43.10%




         FFY 2011          FFY 2012     FFY 2013       FFY 2014           FFY 2015



                             Worker Visits with Child
                                                               67.10%



                       24.20%



                    Non-placement                             Placement


As indicated there is a distinct gap in caseworker visits in non-placement cases and
placement cases. Data collected from the FFY 2015 review indicated that 24.30% of the
non-placement cases have regular visits with children.

In placement cases, the children are seen on a regular basis to monitor safety. The
frequency of case worker visits for children in placement is monitored in the State’s
COGNOS system. The focus on visits by management using COGNOS dashboard has
increased the visits made to children in placement.




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 2017 Update

 CFSR Item 14: Caseworker Visits with Child

                 DPQI Quality Assurance Case Review Data

                       FFY 2015: 47.2%

                       FFY 2016: 34.3%


                                Worker Visits with Child
                                     61.50%
                       56.30%
                                                     46.80%      47.20%
        43.10%
                                                                             34.30%




        FFY 2011       FFY 2012     FFY 2013         FFY 2014   FFY 2015     FFY 2016

                                   DPQI case review data


                                               139




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                              Worker Visits with Child
                                                               54.20%




                     14.10%




                  Non-placement                            Placement


                              FFY 2016 DPQI case review data




                        COGNOS Point in Time Report 12/22/16




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(COGNOS does not evaluate the quality of the contact and therefore the two data sets
cannot be compared.)

2018 Update

CFSR Item 14: Caseworker Visits with Child

              DPQI Quality Assurance Case Review Data

                     FFY 2016: 34.3%

                     FFY 2017: 36.3%

                     CFSR Rd. 3: 42%


                           Worker Visits with Child
        61.50%

                        46.80%            47.20%

                                                           34.30%          36.30%




       FFY 2013         FFY 2014          FFY 2015         FFY 2016       FFY 2017


                                   DPQI case review data




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                                                                                    D004843
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                              Worker Visits with Child
                                                                       54.90%




                     13.20%




                 Non-placement                                     Placement


                              FFY 2016 DPQI case review data

Well-being 1: Worker Visits with parents

Wellbeing Outcome 1 also assesses the case worker’s visits with parents. Reviewers
examine the visits that occurred during the 14-month period under review to determine
whether or not the frequency and quality of visits between caseworkers and the mother
and father(s) of the child(ren) are sufficient to ensure the safety, permanency, and
wellbeing of the children and promote achievement of case goals. Reviews indicate a
disturbingly low frequency of contact between caseworkers and parents.


               Item 20: Worker visits with parents
            40.00%
                                                              37.40%
            35.00%
            30.00%                             26.60%
            25.00%
                                                                                22.60%
            20.00%             16.70%
            15.00%
            10.00%
             5.00%
             0.00%
                        FFY 2011        FFY 21012       FFY 2013         FFY 2014


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Reviews indicated a low level of contact with parents. Cases reviewed in FFY 2014
showed a decline in worker visits with parent. Data suggests that WV needs significant
improvement in this area.

Reviews indicate a lack of contact with biological fathers. Other barriers to achieving this
measurement are related to the lack of contacts in the home; and involvement with the
parent only at MDT meetings and court hearings. The frequency of visits between workers
and parents in the family home is not sufficient to engage the parent(s) in the provision of
services and ensure behavioral changes are occurring in the home environment.

2016 Update

Wellbeing Outcome 1 also assesses the case worker’s visits with parents. Reviewers
examine the visits that occurred during the 12-month period under review to determine
whether the frequency and quality of visits between caseworkers and the mother, father
and caretakers of the children are sufficient to ensure the safety, permanency, and
wellbeing of the children and promote achievement of case goals.

This measurement will not be compared to prior years as the directions for rating this item
based on the revisions to the OSRI does not allow for a direct comparison of the
measurements.

Reviews indicate a low frequency of contact between caseworkers and parents. In
placement cases, workers ensure compliance with court directed services but fail to
engage the parent(s) in the treatment process.


                       Caseworker visits with parents
                             Strength     Area Needing Improvement


                                                          25.60%


                           74.40%




Reviews indicate a lack of contact with all identified parents/caregivers. Other barriers to
achieving this measurement are related to the lack of contacts in the home; and
involvement with the parent only at MDT meetings and court hearings. The frequency of

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                                                                                     D004845
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visits between workers and parents in the family home is not sufficient to engage the
parents in the provision of services and ensure behavioral changes are occurring in the
home environment. Base on case review interviews and APS Healthcare Focus Group
surveys, family engagement is occurring between the service providers and the families,
and Agency is seen more in the role as an overseer.

2017 Update

CFSR Item 15: Caseworker Visits with Parents

              DPQI Quality Assurance Case Review Data

                    FFY 2015: 25.6%

                    FFY 2016: 17.3%


                         Worker Visits with Parents
                     25.60%


                                                             17.30%




                    FFY 2015                                 FFY 2016


                                DPQI case review data




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                          Worker Visits with Parents
                                                                22.60%



                     12.70%




                  Non-placement                                Placement


                              FFY 2016 DPQI case review data

Focus Groups

Focus groups are conducted with recipients of socially necessary services and children’s
residential services. The purpose of the focus groups is to provide consumers who are
receiving socially necessary services the opportunity to share their experiences and
opinions regarding access, the referral process, and service delivery. These focus groups
are conducted by a contracted administrative services organization called KEPRO
(previously known as APS Healthcare), as part of their overall contracted utilization
management functions. One focus group consisted of 22 recipients of socially necessary
services, with all but two of the participants being adults. The other focus group consisted
of 14 youth between the ages of 12 and 18 receiving either medically necessary children’s
residential services or behavioral health services. Please refer to Item 30 for additional
information on focus group participants and questions.

Results of the focus group add to the information available in relation to Permanency
Outcome One regarding DHHR worker contact with families and agency engagement of
families in the case planning process. Eleven out of the 14 youth who participated in the
focus group comprised only of youth who indicated they see their DHHR worker one time
per month. Two of the participants said they see their DHHR worker every three months.
Regarding case planning activities, 11 of the 14-youth said they had a service/treatment
plan. Four of the participants said they felt they had no input into the development of the
plan. Of the 22 participants in the focus group comprised mainly of adults, 15 said they
have “regular contact” with their DHHR worker. However, when asked what could be done

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to improve service provision, five of the participants said that seeing the DHHR workers
more frequently and two participants stated that meeting with a DHHR worker “period”,
would assist with improved services. The majority indicated the DHHR worker did not
meet jointly with them, their family, or the provider when the service plan was being
developed. Fifteen of these participants said that although the DHHR worker completed
monthly visits to their home the worker; never visited with the service providers; when
services were being provided.

Assessment of Well-Being Outcome 1

Well-Being Outcome 1 is measured by performance on Items 12, 13, 14, and 15 on the
2016 Federal CFSR Onsite Review Instrument. Federal fiscal year 2015 case review data
indicates Well-Being Outcome 1 was substantially achieved in 32.4% of the cases
reviewed, and partially achieved in 37.3% of the cases reviewed. Federal fiscal year 2016
case review data indicates Well-Being Outcome 1 was substantially achieved in 15.4%
of the cases reviewed, and partially achieved in 30.1% of the cases reviewed. Case
reviews conducted in both federal fiscal years are reflective of practice that occurred 12
months prior to the date of the review.

Rating decreases were observed during FFY 2016 in all four CFSR items related to Well-
Being Outcome 1. Overall, placement cases scored higher on the measure than in-home
cases. The inability to have frequent and quality contacts with children and parents by
caseworkers had a direct impact on Well-Being Outcome 1. Barriers to achieving this
measurement include lack of contacts in the family home, having contact with parents
only at MDT meetings and court hearings, and failure to have contact with all children in
the home involved in YS cases.

Of the cases that did not meet the measure for assessments and service provision for
children, parents, and foster parents, the majority were due to a lack of initial or ongoing
assessments and service provision of the parent/s. Non-placement cases rate as an area
needing improvement more often than placement cases. Cases rating as an area needing
improvement are due to the lack of on-going case work. Ongoing assessments were not
frequent enough to continue to assess the family and determine the effectiveness of
treatment services. The Agency continues to work towards improving their ability to
assess the needs of children, parents and foster parents and to identify the services
necessary to achieve case goals and adequately address the issues relevant to the
agency’s involvement with the family. The lack of on-going case work in non-placement
cases and the lack of involvement with all identified fathers tend to hinder improvements.
The measure continues to fall short as identified needs are not always addressed in the
on-going case work process. For example, domestic violence may be identified as a

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reason that the DHHR is involved with the family; however, no services are put into place
to address the issue. Additionally, the data indicates a lack of ongoing assessment of
children and parents to determine the efficacy of the services.

Most Districts lack adequate substance abuse treatment services, both inpatient and
outpatient for parents and youth; domestic violence services; and parent programs to
address the issue of parenting older youth. Non-placement cases rate as an area needing
improvement more often than placement cases. Cases rating as an area needing
improvement are due to the lack of on-going case work. Case reviews indicate initial
assessments are completed to identify areas of need; however, ongoing assessments of
the family are not occurring at the frequency needed to determine the effectiveness of
treatment services.

When determining if concerted efforts were made to assess children, parents and foster
parents, case reviews indicated the areas needing improvement for this item are related
to gaps in assessing children and parents.

As indicated earlier, there was a major difference in the way case planning actives were
evaluated during case reviews during FFY2016. This lead to the significant decrease
observed in the case review findings. Overall, older youth were more likely to be involved
in the case planning process than younger children. Older youth in placement were often
involved in case planning activities due to the activities being initiated by the placement
provider. Older youth were also more likely to attend MDT meetings and court hearings.

Focus Group Input Family Engagement (Welling-being 1):

Family Participant Response

The agency contracts with APS Healthcare to administer oversight to socially necessary
services (SNS). As a part of the contract, APS Heathcare conducts focus groups to
evaluate the quality of the services provided.

During Contract Year 2015, the Consumer Affairs for APS Healthcare Inc. conducted
seven focus groups with 31 consumers receiving Socially Necessary Services (SNS)
through Child Protective Services (CPS) and/or Youth Services (YS) to provide personal
input. Although the sample size limits the generalization of the data to a large universe of
cases, the data is promising in demonstrating family engagement.

The purpose of the focus group is to provide consumers who are receiving SNS in West
Virginia the opportunity to candidly share their experiences and opinions in regard to

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access, service delivery, the referral process and any other areas pertaining in CPS, YS
and foster-adoptive cases. Youth and families receiving SNS and supports are located in
various regions across the state of West Virginia. The questions asked at the focus groups
were developed by a workgroup of providers and agency staff in addition to APS
HealthCare.

The responses from the focus group sheds additional insight into the dynamics related to
family engagement.

Note: For the following focus group questions, the respondents were not limited to choosing a
single response. Therefore, a single participant may be represented in more than one response
category. Percentages were rounded to the nearest whole number.

When consumers were asked if they had regular contact with their agency worker and “if
the worker was available when the consumer had a question”, 74% of participants stated
“Yes”, 16% stated, “No. The remaining 10% indicated they have contact “sometimes” with
their agency worker.



                          Family Participant Response                 % of
                                                                  Participants
              Yes                                                    74%
              No                                                     16%
              Sometimes                                              10%



All the focus group participants agreed that they are being seen monthly by their agency
worker. They did note they did not feel the DHHR worker responded to them when they
had an emergency but did indicate their service provider addressed their needs in times
of an “emergency”.

Fifty-two percent of respondents stated that their agency worker was not in attendance
when service plans were being developed with the provider agency.

The participants indicated, the provider and the members of the team developed the
service plan and it was sent to the agency’s caseworker for their signature.



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                                                               % of
             Family Participant Response
                                                               Participants
             Yes                                               48%
             No                                                52%

The focus group participants were asked if the agency’s caseworker meets with them,
their family, and the provider as services are being carried out. Forty-two percent
indicated “yes”, their caseworker meet with them as services were carried out; 42%
indicated “no” ongoing involvement by their caseworker and 16% indicate their
caseworker participated “sometimes”.

                                                               % of
             Family Participant Response
                                                               Participants
             Yes                                               42%
             No                                                42%
             Sometimes                                         16%

The participants (31 consumers) were asked if they were actively involved in their service
plan, 97% indicated yes. Participants indicated they felt engaged in the service planning
process through the work of the provider.

Youth Participant Response

During Contract Year 2015, the Family Support Educator for APS Healthcare Inc.
conducted eight focus groups with youth receiving Medically Necessary Services (MNS)
for Behavioral Health issues.

The purpose of these focus groups is to provide youth who are receiving medically
necessary behavioral health services in West Virginia the opportunity to candidly share
their experiences and opinions. These groups are conducted on a regular basis in various
regions across the state of West Virginia to gain insight regarding the utilization and
impact of these services. Each group may consist of youth receiving individualized and/
or group treatment in a residential facility and/or within the community. Sixty-one youth
receiving residential treatment participated in the focus groups.

When youth were asked how often they saw their agency case worker, they provided the
following responses.

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                                                                   % of
                         Youth Participant Response            Participants
             More than once a month                               >1%

             Monthly                                              53%

             Every other month                                     8%

             Every Three months/Quarterly                         13%

             3 times a year                                       >1%

             Never                                                 5%

             Don’t know                                            3%

             Initial Court appearance only                         3%

             No response/ Other                                   14%


Youth also indicated they had a treatment/services plan. Eighty-four percent or 51
respondents reported having a treatment/service plan, while 15% or nine respondents
replied “no”. They stated that they had not been in the program long enough or just had
goals to work towards. One participant didn’t know.

                                                                   % of
                        Youth Participant Response
                                                               Participants
             Yes                                                  84%

             No                                                   15%

             I don’t know, can’t remember                         >1%


When the youth were asked if they had input into their service/treatment plan, 59% of
participants replied, “yes”; 29% stated, “No.” Less than 1% or one person did not have a
treatment plan. Other responses are indicated in the chart below. Percentages were
rounded up to the nearest whole number.




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                                                                          % of
                            Youth Participant Response                Participants

             Yes                                                          59%

             No                                                           29%

             Do not have a treatment plan                                 >1%

             No response/Other reasons                                      2%

             Don’t know                                                   10%

The youth also indicated an improvement in their well-being as indicated in their response
regarding their outlook about themselves or their situation. Participants were asked if
their outlook about themselves or their situation changed since they were placed into a
residential program. Seventy-nine percent indicated “Yes”.



                                                                       % of
                          Youth Participant Response
                                                                   Participants

           Yes                                                        79%

           No                                                         16%

           Unable to answer                                            5%

The youth were asked to indicate what has helped to change their outlook. The following
chart reflects those 48 participants responding, “Yes” and what areas of change occurred
in their outlook. This chart reflects the number of participants per response.




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                                                                    Number of
                              Youth Participant Response
                                                                    Participants
            Coping/Life Skills                                          27

            Educational performance                                     15

            Sobriety                                                    13

            Change in overall outlook                                    8

            Family dynamics                                              3

            Spirituality                                                 1



  2018 Update

  CFSR Item 15: Caseworker Visits with Parents

                DPQI Quality Assurance Case Review Data

                           FFY 2016: 17.3%

                           FFY 2017: 15.9%

                           CFSR Rd. 3: 19%


                                 Worker Visits with Parents
                           17.30%




                                                                    15.90%




                           FFY 2016                                FFY 2017


                                         DPQI case review data

                                                     152




                                                                                   D004854
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                          Worker Visits with Parents
                                                               18.30%


                     13.20%




                  Non-placement                               Placement


                              FFY 2016 DPQI case review data

Assessment of Well-Being Outcome 1

Well-Being Outcome 1 is measured by performance on Items 12, 13, 14, and 15 on the
2016 Federal CFSR Onsite Review Instrument. Federal fiscal year 2016 case review data
indicates Well-Being Outcome 1 was substantially achieved in 15.4% of the cases
reviewed, and partially achieved in 30.1% of the cases reviewed. Federal fiscal year 2017
case review data indicates Well-Being Outcome 1 was substantially achieved in 17.74%
of the cases reviewed, and partially achieved in 34.67% of the cases reviewed Case
reviews conducted in both federal fiscal years are reflective of practice that occurred 12
months prior to the date of the review. The Child and Family Reviews Rd. 3 indicated this
measure as substantially achieved in 26% of the applicable cases reviewed.

Two of the CFSR items related to Well-Being One performance increased and two
decreased during FFY 2017. Placement cases scored higher on the measure than in-
home cases across the applicable items. The inability to have frequent and quality
contacts with children and parents by caseworkers had a direct impact on Well-Being
Outcome 1. FFY 2017 review data indicates regular quality contact with children slightly
increased while regular quality contact with parents slightly decreased. Barriers to
achieving this measurement continue to include lack of contacts in the family home,
having contact with parents only at MDT meetings and court hearings, and failure to have
contact with all children in the home involved in YS cases. In addition, in some cases the
agency failed to document any attempts to have contact with an applicable parent in a
case.

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DPQI case reviews show that in cases that failed to meet the measure for assessments
and service provision for children, parents, and foster parents, the majority were due to a
lack of ongoing assessments of, and service provision to, the parent/s. DPQI case review
data for FFY 2017 shows that Sub-item 12A (children) rated 62.9% strength, Sub-item
12B (parents) 22.8% strength, and Sub-item 12C (foster parents) rated 61.7% strength.
The assessment and provision of services to address identified needs was over two and
a half times more likely to have occurred with children and foster parents than with all
applicable parents. Ongoing assessments were not frequent enough to continue to
assess the family and determine the effectiveness of treatment services. The lack of on-
going case work in non-placement cases is particularly notable as non-placement cases
rated lower on all Well-Being One items. The measure also falls short of achievement
due to services not aligning with identified needs. Case reviews find service needs often
correctly identified but no provision of treatment services to address the identified needs
is provided.

As noted earlier, the measurement for child and family involvement in the case planning
process cannot be compared for FFY 2016 and FFY 2017 due to a change in the way the
DPQI case review unit assessed the item. Case review findings indicate that placement
cases are more likely to have engagement of age appropriate children and parents in the
case planning process than non-placement cases. This appears to be due to court
oversight and MDTs. The higher level of contact between caseworkers and children and
families in placement cases provides more opportunities for case planning conversations.

Well-being Outcome 2: Children receive appropriate services to meet their
educational needs

Well-being Outcome 2 has only one indicator; it pertains to the agency’s efforts to address
and meet the educational needs of children in both placement and in-home cases. In FFY
2014, this measure was substantially achieved in 86.4% of the cases reviewed.




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                            Item 21: Education Needs
 95.00%
                                                                   92.90%
 90.00%
                          86.20%              88.00%
                                                                                            86.40%
 85.00%

 80.00%
               FFY 2011                 FFY 2012               FFY 2013                FFY 2014


Case reviews indicate that workers are making efforts to assess children’s educational
needs. In Federal Fiscal Year 2014, 86.4% of the cases reviewed rated strength.

The decline is due to the lack of services to address the needs of children in non-
placement cases. Educational issues that are identified are not being addressed. Case
worker interviews indicate a lack of understanding of the Individual Education Plans
(I.E.P.) process. Furthermore, case reviews indicate a lack of assessment in cases
referred to the Agency for truancy. Truancy cases in some districts are “monitoring only”.
The caseworker monitors whether the youth attends school; however, fails to assess the
causational factors that lead to the youth’s lack of attendance. Collaboration with schools
varies across the Districts, as does the process for handling truancy related cases.

2016 Update

Well-being Outcome 2 has only one indicator; it pertains to the agency’s efforts to address
and meet the educational needs of children in both placement and in-home cases. In FFY
2015, this measure was substantially achieved in 72.90 % of the cases reviewed.

Well-being Outcome 2: Item 16


                                      Education Needs
  100.00%          86.20%               88.00%            92.90%
                                                                              86.40%
                                                                                              72.90%
   50.00%

    0.00%
              FFY 2011             FFY 2012         FFY 2013         FFY 2014           FFY 2015


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                                                                                                   D004857
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In FFY 2015, 72.3 % of the cases reviewed rated as strength, which is a 13.5% decline
from 2014. The decline is due to the lack of services to address the educational needs
of children in non-placement cases.

                  Education: Non-place compared to Placement
                                 FFY 2015 /% cases rated as a strength
                                                                          94.00%


                    42.90%



                 Non-placement                                           Placement



Educational issues that are identified are not being addressed. Case worker interviews
indicate a lack of understanding of the Individualized Education Plans (I.E.P.) process.
Furthermore, case reviews indicate a lack of assessment in cases referred to the agency
for truancy. Truancy cases in some districts are “monitoring only”. The caseworker
monitors whether the youth attends school; however, fails to assess the causational
factors that lead to the youth’s lack of attendance. Collaboration with schools varies
across the districts, as does the process for handling truancy-related cases.

2017 Update

CFSR Item 16: Educational needs of the child.

DPQI Quality Assurance Case Review Data

                    FFY 2015: 72.9%

                    FFY 2016: 72.8%




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                                  Education Needs
  100.00%                        88.00%          92.90%
                 86.20%
                                                                 86.40%
   80.00%
                                                                                    72.90%         72.80%
   60.00%

   40.00%

   20.00%

    0.00%
             FFY 2011      FFY 2012       FFY 2013        FFY 2014         FFY 2015          FFY 2016


                                  DPQI case review data

                   Education: Non-place compared to Placement

                                 FFY 2016 % cases rated as a strength
                                                                         93.90%


                    40.60%




                 Non-placement                                          Placement




                             FFY 2016 DPQI case review data

Assessment of Well-Being Outcome 2

Well-Being Outcome 2 is measured by performance on Item 16 on the 2016 Federal
CFSR Onsite Review Instrument. Federal fiscal year 2015 case review data indicates
Well-Being Outcome 2 was substantially achieved in 72.9% of the cases reviewed. The
outcome rating for Well-Being Outcome 2 based on case reviews for federal fiscal year

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                                                                                                    D004859
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2016 indicates Well-Being Outcome 2 was substantially achieved in 72.8% of the cases
reviewed. Case reviews conducted in both federal fiscal years are reflective of practice
that occurred 12 months prior to the date of the review. Case reviews indicate minimal
change in relation to the rating of this item between FFY 2015 and FFY 2016. Factors
that contributed to the 2016 ratings include failure to assess all of the children’s
educational needs in in-home Youth Services cases. There is often a focus on the child
that came to the agency’s attention, through formal or informal referrals for services, and
other children residing in the home often are not assessed. Additionally, many districts
within West Virginia have court systems that open truancy cases for monitoring purposes.
The child welfare agency is often tasked with monitoring attendance, and service
provision to address the issues contributing to the truancy are often only addressed when
ordered by the court, or when the child is removed from the home due to the truancy.
Over the past two years, West Virginia has seen an increase in these court-ordered
monitoring cases.

Educational issues that are identified are not always being addressed. Case worker
interviews indicate a lack of understanding of the Individualized Education Plans (IEP)
process. Furthermore, case reviews indicate a lack of assessment in cases referred to
the agency for truancy. Truancy cases in some districts are seen as “monitoring only”.
The caseworker monitors whether the youth attends school; however, fails to assess the
causational factors that lead to the youth’s lack of attendance. Collaboration with schools
varies across the districts, as does the process for handling truancy-related cases.

2018 Update

CFSR Item 16: Educational needs of the child.

DPQI Quality Assurance Case Review Data

                    FFY 2016: 72.8%

                    FFY 2017: 73.2%

                    CFSR Rd. 3: 73%




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                                   Education Needs
   90.00%            86.40%
   85.00%
   80.00%
   75.00%                                   72.90%                   72.80%                 73.20%
   70.00%
   65.00%
                FFY 2014              FFY 2015                FFY 2016               FFY 2017


                                   DPQI case review data

                    Education: Non-place compared to Placement

                                  FFY 2017 % cases rated as a strength
                                                                          82.50%

                     42.10%




                  Non-placement                                          Placement




                              FFY 2017 DPQI case review data

Assessment of Well-Being Outcome 2

Well-Being Outcome 2 is measured by performance on Item 16 on the 2016 Federal
CFSR Onsite Review Instrument. Federal fiscal year 2016 case review data indicates
Well-Being Outcome 2 was substantially achieved in 72.8% of the cases reviewed.
Federal fiscal year 2017 case review data indicates Well-Being Outcome 2 was
substantially achieved in 73.2% of the cases reviewed. Case reviews conducted in both
federal fiscal years are reflective of practice that occurred 12 months prior to the date of

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the review. The Child and Family Reviews Rd. 3 indicated this measure as substantially
achieved in 73% of the applicable cases reviewed.

 Case reviews indicate minimal change in relation to the overall rating of this item between
FFY 2016 and FFY 2017. A factor that heavily contributed to the 2017 ratings includes
failure to assess the educational needs of children in non-placement cases. Case review
data reflects a 40% difference between meeting the educational needs of children in
placement versus children remaining in the family home.

Reviewers often observe children in Youth Services cases in which the child who is the
subject of the receive services referral is evaluated for educational needs, but additional
children living in the family home are not. In some cases, other children in the home have
similar education performance issues as those identified in the child listed in the receive
services referral. These other children are often not assessed, for educational needs.
Additional issues contributing to the item rating include failure to provide appropriate
services once education related service needs are identified. Collaboration with partners
in education varies across the districts.

Well-being Outcome 3: Children receive adequate services to meet their physical
and mental health needs.

Well-being Outcome 3 incorporates two indicators that assess the child welfare agency’s
efforts to meet children’s physical health needs and children’s mental health needs. In
FFY 2014, this measure was substantially achieved in 81.6% of the cases reviewed and
partially achieved in 3.9% of the cases reviewed.

2016 Update

In FFY 2015, this measure was substantially achieved in 67.5% of the cases reviewed
and partially achieved in 5.8% of the cases reviewed.

Well-being Outcome 3: Children receive adequate services to meet their physical
health needs.

Cases are reviewed to determine if the Agency addressed the physical health needs of
the child, including dental health. In-home cases are applicable to this measure if the
health issues were relevant to the reason for the agency’s involvement. All placement
cases are reviewed for this measure.


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                        Item 22: Physical Health of Child
              94.00%
                                                           91.50%              92.70%
              92.00%
                                                                                                 90.40%
              90.00%
              88.00%
              86.00%               85.30%
              84.00%
              82.00%
              80.00%
                            FFY 2011            FFY 2012            FFY 2013         FFY 2014


During Federal Fiscal Year 2014, 86.3% of the cases applicable to this measure rated as
a strength. 96.3% of the placement cases rated strength for this measure. The decline in
this measure is related to the failure to address the child(ren) needs in in-home cases.

2016 Update

Cases are reviewed to determine if the agency addressed the physical health needs of
the child, including dental health. In-home cases are applicable to this measure if the
health issues were relevant to the reason for the agency’s involvement. All placement
cases are reviewed for this measure.


                              Physical Health of Child
 94.00%
 92.00%                                                     92.70%
 90.00%                                91.50%                                   90.40%
 88.00%                                                                                               87.40%
 86.00%
                   85.30%
 84.00%
 82.00%
 80.00%
             FFY 2011          FFY 2012              FFY 2013             FFY 2014              FFY 2015


During FFY 2015, 86.3% of the cases applicable to this measure rated as a strength.
Ninety-six-point three percent (96.3%) of the placement cases rated as a strength for this

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measure. The decline in this measure is related to the failure to address the children’s
needs for in-home cases.

2017 Update

CFSR Item 17: Physical health of the child.

DPQI Quality Assurance Case Review Data

                       FFY 2015: 87.4%

                       FFY 2016: 74.1%




                              Physical Health of Child
 100.00%
                                                 92.70%         90.40%         87.40%
  80.00%          85.30%         91.50%
                                                                                             74.10%
  60.00%
  40.00%
  20.00%
   0.00%
            FFY 2011        FFY 2012       FFY 2013       FFY 2014       FFY 2015       FFY2016


                                       DPQI case review data

2018 Update

CFSR Item 17: Physical health of the child.

DPQI Quality Assurance Case Review Data

                       FFY 2016: 74.1%

                       FFY 2017: 76.9%

                       CFSR Rd. 3: 75%
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                              Physical Health of Child
 100.00%
                     90.40%
  80.00%                                    87.40%                                      76.90%
                                                                    74.10%
  60.00%
  40.00%
  20.00%
   0.00%
               FFY 2014                FFY 2015             FFY 2016              FFF 2017


                                     DPQI case review data

Well-being Outcome 3: Children receive adequate services to meet their mental
health needs.

Cases are reviewed to determine if the Agency addressed the mental health needs of
the child(ren).
                          Item 23: Mental Health of Child
 100.00%
                                             79.70%                     83.90%
  80.00%                                                                               82.70%
                            66.90%
  60.00%

  40.00%

  20.00%

   0.00%
               FFY 2011               FFY 2012             FFY 2013              FFY 2014


Data indicates that the Agency maintained with a slight decline in the area of providing
for the mental health needs of the child(ren). Data continues to indicate children in
placement are more likely to have mental health assessments and services to address
the identified need(s) of the child.

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Children in residential placements have access to more mental health care services by
the nature of the setting. Non-placement cases rated as strength less often due to several
factors. Lack of transportation to mental health services is often a barrier in rural areas.
Parents tend to fail to recognize the need for the treatment of mental health issues in
child(ren). Districts continue to note that a lack of qualified providers and long waitlists
as contributing factors to meeting the mental health needs of children.

Additionally, counseling services for children who have been sexually abused are not
available in many areas. Districts also note a lack of programs and community support
groups that can address issues related to addictions for both youth and parent(s).

In conclusion, the case review data from Federal Fiscal Year 2014 indicates West Virginia
has made improvements in 4 of the 23 indicators based on the Child and Families
Services reviews.

Based on Federal guidelines for achieving substantial conformity, West Virginia would not
have met the 95% threshold for the seven performance outcomes.

 October 1, 2013 - September 30 2014                                                        All
 Cases Outcome or Performance Indicator
                                                       Outcome Ratings
                                                       Substantially Partially   Not Achieved
                                                       Achieved      Achieved

 Outcome S1:      Children are, first and foremost, 52.2%            35.8%       11.9%
 protected from abuse and neglect

 Outcome S2: Children are safely maintained in their   31.5%         21.8%       46.8%
 homes whenever possible and appropriate.
 Outcome P1: Children have permanency and stability    46.7%         52.0%       1.3%
 in their living situation
 Outcome P2: The continuity of family relationships    94.7%         5.3%        0.0%
 and connections is preserved for children.
 Outcome WB1: Families have enhanced capacity to       42.7%         26.6%       30.6%
 provide for their children's needs
 Outcome WB2: Children receive appropriate services    86.4%         0.0%        13.6%
 to meet their educational needs.
 Outcome WB3: Children receive adequate services to    81.6%         3.9%        14.6%
 meet their physical and mental health needs.


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2016 Update

Cases are reviewed to determine if the agency addressed the mental health needs of the
children.


                                Mental Health of Child
                            79.70%             83.90%              82.70%
           66.90%                                                                      59.80%




           FFY 2011        FFY 2012           FFY 2013            FFY 2014             FFY 2015


Data indicates that the agency declined in providing for the mental health needs of
children. Services were not put into place to address the identified behavioral health
issues. Children exhibiting severely challenging behaviors were not assessed for mental
health issues or provided mental health services after the need for such was identified.


              Mental Health: placement cases compared
                      to nonplacement cases
                                      % of cases rated as a strength

                       81.30%

                                                                          33.30%



                      Placement                                        Non-placement


West Virginia’s case data reviewed in conjunction with the outcomes of the residential
youth focus groups indicate children in placement are more likely to have mental health
assessments and services to address their identified needs. Children in residential
placements have access to mental health services by the nature of the setting; however,
the youth felt mental health services were available to them in their communities.


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 2017 Update

 CFSR Item 18: Mental/behavioral health of the child.

 DPQI Quality Assurance Case Review Data

                      FFY 2015: 59.8%

                      FFY 2016: 63.3%


                                Mental Health of Child
                      79.70%         83.90%           82.70%
       66.90%                                                                     63.30%
                                                                      59.80%




       FFY 2011      FFY 2012        FFY 2013         FFY 2014       FFY 2015     FFY 2016



                                    DPQI case review data




                   Mental Health: placement cases
                  compared to nonplacement cases
                                    % of cases rated as a strength
                                                                      85.10%
                      39.50%


                   Non-placement                                     Placement


                                FFY 2016 DPQI case review data


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Assessment of Well-Being Outcome 3

Well-Being Outcome 3 is measured by performance on Items 17 and 18 on the 2016
Federal CFSR Onsite Review Instrument. Federal fiscal year 2015 case review data
indicates Well-Being Outcome 3 was substantially achieved in 67.5% of the cases
reviewed, and partially achieved in 5.8% of the cases reviewed. The outcome rating for
Well-Being Outcome 3 based on case reviews for federal fiscal year 2016 indicates Well-
Being Outcome 3 was substantially achieved in 59.0% of the cases reviewed, and
partially achieved in 9.8% of the cases reviewed. Case reviews conducted in both federal
fiscal years are reflective of practice that occurred 12 months prior to the date of the
review. Systemic factors that contributed to the 2016 rating include not gathering and
reviewing reports and records from various medical providers, a lack of follow-up for
identified medical issues and/or concerns and children not having current medically-
related items, such as eyeglasses.

Children in foster care receive medical care through a statewide, comprehensive
managed care program known as West Virginia Health Check. Health Check is the name
of West Virginia’s Early and Periodic Screening, Diagnosis and Treatment (EPSDT)
Program. This program employs Regional Program Specialists who assist families with
scheduling EPSDT examinations, which include vision and oral health screenings, within
three days of placement. They can also link families with other needed medical providers.
The Regional Program Specialist helps ensure these medical assessments are
completed annually and they provide the child welfare agency with copies of the
completed health examinations.

Case review data indicates most children in placement have behavioral health
assessments and receive services to address their identified needs. In comparison,
children in non-placement are much less likely to have behavioral health assessments
completed even when displaying overt behaviors that indicate such assessments are
warranted. A contributing factor in cases that did not meet the measure was often either
assessments and services not being provided or not being initiated in a timely manner.
Again, this was particularly found in non-placement cases.

During Contract Year 2015, the Family Support Educator for APS Healthcare Inc.
conducted eight focus groups with youth receiving Medically Necessary Services (MNS)
for Behavioral Health issues. Sixty-one percent of youth receiving residential treatment
participated in the focus groups.

Note: For the following focus group questions the respondents were not limited to choosing a
single response. Therefore, a single participant may be represented in more than one response
category. Percentages were rounded to the nearest whole number.
                                             167




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Participants were asked “Is your therapy dealing with matters and goals that are of
concern to you?” Of the youth surveyed, 69% indicated a positive response indicating
therapy was assisting them in dealing with matters and goals that were of concern to
them.

                                                                        % of
                           Youth Participant Response               Participants
            Yes                                                         69%
            No                                                          20%
            Sort of                                                     >1%
            Don’t know                                                  >1%
            No response                                                  9%

The youth indicated they felt they received therapy frequently enough to meet their
goals and concerns.

                                                                        % of
                             Youth Participant Response             Participants
             Yes                                                       68%
             No                                                        15%
             I don’t know yet                                          >1%
             No response                                               17%


The residential youth focus groups also provided insight into issues surrounding family
participation in their treatment. The participants were ask, “Do you feel your therapy is
frequent enough? Their responses are indicated in the chart below.



                                                                         % of
                             Youth Participant Response              Participants

           No                                                           30%
           Yes                                                          43%
           Don’t know                                                   24%
           No Comment                                                    3%

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The participants that indicated a positive response felt there were no issues, stating they
had good visits and phone conversations with family members. The participants that felt
there were issues surrounding family participation elaborated with comments such as
“family doesn’t care”, or that they just didn’t see family at all. One participant has a child
but has not been allowed to have a visit.

Most of the respondents indicated they feel confident about exiting the residential
program. They indicated they had learned skills and were ready to enter dating
relationships, have new friends and move forward with their lives. The participants that
stated, “No,” because of varying placement issues such as foster care placement vs.
natural family, lack of independence skills or aging out of the system. Ten percent of the
participants stated they just wanted to go home.



                                                                         % of
                          Youth Participant Response                 Participants
            Yes                                                          68%
            No                                                           18%
            Just want to exit                                            10%
            Don’t know                                                   4%

The focus group also identified they would know how to access activities and services
within their community. Ninety-two percent or 56 respondents stated, “Yes”, they would
call or speak with their agency caseworker or family members if they had any questions.
Three percent of participants stated, “No”, they were unsure of future placements or
communities.

2018 Update

CFSR Item 18: Mental/behavioral health of the child.

DPQI Quality Assurance Case Review Data

                     FFY 2016: 63.3%

                     FFY 2017: 57.8%

                     CFSR Rd. 3: 59%

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                              Mental Health of Child
                                             63.30%

                59.80%
                                                                           57.80%



               FFY 2015                     FFY 2016                      FFY 2017


                                   DPQI case review data




                  Mental Health: placement cases
                 compared to nonplacement cases
                                   % of cases rated as a strength

                                                                     68.50%
                         37.90%


                   Non-placement                                    Placement


                             FFY 2017 DPQI case review data

Assessment of Well-Being Outcome 3

Well-Being Outcome 3 is measured by performance on Items 17 and 18 on the 2016
Federal CFSR Onsite Review Instrument. Federal fiscal year 2016 indicates Well-Being
Outcome 3 was substantially achieved in 59.0% of the cases reviewed, and partially
achieved in 9.8% of the cases reviewed. Federal fiscal year 2017 indicates Well-Being
Outcome 3 was substantially achieved in 58.25% of the cases reviewed, and partially
achieved in 17.47% of the cases reviewed. Case reviews conducted in both federal fiscal
years are reflective of practice that occurred 12 months prior to the date of the review.
The Child and Family Reviews Rd. 3 indicated this measure as substantially achieved in
59% of the applicable cases reviewed.


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Children in foster care receive medical care through a statewide, comprehensive
managed care program known as West Virginia Health Check. Health Check is the name
of West Virginia’s Early and Periodic Screening, Diagnosis and Treatment (EPSDT)
Program. This program employs Regional Program Specialists who assist families with
scheduling EPSDT examinations, which include vision and oral health screenings, within
three days of placement. The specialist can also link families with other needed medical
services. The Regional Program Specialist helps ensure these medical assessments are
completed annually and they provide the child welfare agency with copies of the
completed health examinations. DPQI case reviewers find this information in the
electronic case record.

Children in placement cases have behavioral health assessments and receive services
to address their identified needs. These are coordinated and/or provided by the
placement provider. Children in non-placement cases are less likely to have behavioral
health assessments completed even when displaying overt behaviors that indicate such
assessments are warranted. DPQI case reviews indicate contributing factors to children
not receiving behavioral health assessments and/or services are: lack of mental health
providers within a district, focus on one child and failing to assess all children in the home,
and limited follow-up on behavioral health issues when a child is reunified. In some
placement cases, children were receiving mental health services and/or psychotropic
medications and the assigned case worker was unaware.

Overall Case Outcomes or Performance Indicators

                            October 1 2014 - September 30 2015

                       All Cases Outcome or Performance Indicator
                                                                  Outcome Ratings
                                                       Substantially   Partially
                                                                                   Not Achieved
                                                        Achieved       Achieved

 Outcome S1:     Children are, first and foremost,
 protected from abuse and neglect                         70.2%          N/A          29.8%

 Outcome S2: Children are safely maintained in their
                                                          33.8%         23.9%         42.3%
 homes whenever possible and appropriate.
 Outcome P1:          Children have permanency and
                                                          40.8%         52.6%         6.6%
 stability in their living situation




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                                                                                             D004873
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 Outcome P2: The continuity of family relationships
                                                            73.7%        22.4%         3.9%
      and connections is preserved for children.


 Outcome WB1: Families have enhanced capacity to
                                                            32.4%        37.3%        30.3%
          provide for their children's needs

 Outcome WB2:         Children receive appropriate
                                                            72.9%         0%          27.1%
 services to meet their educational needs.
 Outcome WB3: Children receive adequate services
                                                            67.5%        5.8%         26.7%
 to meet their physical and mental health needs.

West Virginia did not meet the 95% threshold as required by federal guidelines for
achieving substantial conformity for the seven performance outcomes.

Case review data supports West Virginia’s initiatives to improve community-based
services and programming to better service children in their communities and reduce the
dependence on residential services.

2017 Update

Summation of Performance

 October 1 2015 - September 30 2016

 All Cases Outcome or Performance Indicator
                                                         Outcome Ratings
                                                         Substantially Partially   Not Achieved
                                                         Achieved      Achieved

 Outcome S1: Children are, first and foremost,           67.1%         N/A         32.9%
 protected from abuse and neglect

 Outcome S2: Children are safely maintained in their     22.4%         16.8%       60.8%
 homes whenever possible and appropriate.
 Outcome P1: Children have permanency and                18.3%         64.8%       16.9%
 stability in their living situation



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 Outcome P2: The continuity of family relationships   76.4%%      22.2%      1.4%
 and connections is preserved for children.

 Outcome WB1: Families have enhanced capacity to      15.4%       30.1%      54.5%
 provide for their children's needs

 Outcome WB2: Children receive appropriate            72.8%       0%         27.2%
 services to meet their educational needs.
 Outcome WB3: Children receive adequate services      59.0%       9.8%       31.1%
 to meet their physical and mental health needs.

DPQI case review data indicates that West Virginia did not meet the 95% threshold as
required by federal guidelines for achieving substantial conformity for the seven
performance outcomes. West Virginia did improve ratings on Outcome Permanency 2.
The Child and Family Services Review (CFSR 3) Data Profile measuring West Virginia’s
performance on each of the Round 3 statewide data indicators, as measured against
national standards and the results of the data quality checks, indicates that West Virginia
met or exceeded the national standard in relation to six of the seven data indicators. West
Virginia did not meet the indicator for permanency in 12 months for children entering care.
Supreme Court of Appeals of West Virginia Child Abuse and Neglect data also indicates
that children remain in placement longer than 12 months before achieving permanency
in their living situation. West Virginia continues to work toward shortening the length of
time children remain in care without permanency in their living situations. It should be
noted that the overall length of time for an abused or neglected child to reach permanency
has been reduced over the last eight years.

Multiple factors impact the ability of West Virginia to improve positive outcomes for
children and families. One major factor is the ever-increasing number of cases in which
substance abuse is a factor. West Virginia also struggles to attract and retain qualified
staff. As indicated earlier, performance on the Child and Family Services case reviews is
directly linked to staffing levels in the district during the period under review. During both
federal fiscal years 2015 and 2016, districts continue to list staff turnover as a barrier to
achieving better outcomes for children and families. Districts also indicate the limited
availability of services including quality ASO providers, mental health services, domestic
violence counseling for victims and batterers, and substance abuse treatment for both
adults and youth as other barriers in meeting the needs of children and families. West
Virginia continues to work with community partners to increase services to address these
barriers.


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2018 Update

Summation of Performance

 October 1 2015 - September 30 2016

 All Cases Outcome or Performance Indicator
                                                       Outcome Ratings
                                                       Substantially Partially   Not Achieved
                                                       Achieved      Achieved

 Outcome S1: Children are, first and foremost,         54.9%         N/A         45.1%
 protected from abuse and neglect

 Outcome S2: Children are safely maintained in their   32.25%        13.70%      54.03%
 homes whenever possible and appropriate.
 Outcome P1: Children have permanency and              21.12%        59.15%      19.71%
 stability in their living situation
 Outcome P2: The continuity of family relationships    60.56%        30.98%      8.45%
 and connections is preserved for children.

 Outcome WB1: Families have enhanced capacity to       17.74%        34.67%      47.58%
 provide for their children's needs

 Outcome WB2: Children receive appropriate             73.0%         4.0%        23.0%
 services to meet their educational needs.
 Outcome WB3: Children receive adequate services       58.25%        17.47%      24.27%
 to meet their physical and mental health needs.

DPQI case review data, and CFSR Rd. 3 findings, indicate that West Virginia did not meet
the 95% threshold as required by federal guidelines for achieving substantial conformity
on the seven performance outcomes. West Virginia did improve ratings on four of the
seven CFSR Outcomes when the FFY 2016 and FFY 2017 data is compared. West
Virginia was able to increase conformity on the Safety Two Outcome, the Permanency
One Outcome, the Well-Being One Outcome, and the Well-Being Two Outcome. The
largest decline in performance was observed in Permanency Outcome Two. All five items
that comprise the outcome decreased in strength ratings during the FFY 2017 case
reviews.


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The decline in Permanency Outcome Two item ratings is indicative of a state attempting
to meet the needs of an ever-increasing number of foster children. The decline also
highlights the barriers created by the lack of resource homes. The lack of resource homes
in the districts force foster children to be placed further from their home communities. This
practice increases barriers to preserving family and community relationships the child had
prior to entering foster care. Placement with an appropriate relative within the community
reduces some of the barriers. However, in families with multigenerational substance
dependence issues present, finding appropriate relative resource homes is not always
feasible.

The CFSR Rd. 3 Final Report accurately describes the struggle West Virginia’s child
welfare system and families face regarding substance dependence. West Virginia lacks
adequate services to address addiction and the increasing strain on child welfare
resources created by it. The West Virginia child welfare system is attempting to address
the deficient areas through the initiatives in the PIP and CFSP.

West Virginia Context Data Review and Child and Family Services Review Data
Profile (June 29, 2015)

West Virginia utilizes the context data profile based on the AFCARS and NCANDS
Federal report year 2014, as it is the most recent and available data to assist WV in the
assessment of child welfare outcomes.

This data will be compared to the National Performance Outcomes as applicable.

Safety

Data shown below are from the National Child Abuse and Neglect Data System
(NCANDS) or the Adoption and Foster Care Analysis and Reporting System (AFCARS)
and are based on the FFY, October 1 through September 30, 2014.

West Virginia continues to improve in the time to investigation.




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                            WV Data Profile: Time to
                            Investigation (in hours)
             500
             400                    415.9
             300
             200
             100                                                   108.8
               0
                             2013 mean                      2014 mean


In reviewing the data elements, West Virginia discovered that there is a discrepancy in
the way the values for this element were being pulled. West Virginia was unable to get
the values corrected to resubmit, but the errors are resolved within this submission. West
Virginia submitted an agency file indicating the mean time to investigation in hours as
27.4. West Virginia notes the decrease in the response time in the agency file and
contributes the decrease to the implementation of the Centralized Intake Unit. On July 1,
2014, WV began operating a Centralized Intake Unit for abuse and neglect complaints to
improve consistency in the evaluation and decision related to reports of abuse and
neglect. The Centralize Intake Unit operates seven days a week, 24 hours a day by staff
employed by the agency, which replaced the former system of abuse and neglect reports
being taken by staff at county offices and a contracted agency after regular business
hours (WV Child and Family Review Data Profile; June 29, 2015; footnote D and E).

West Virginia continues to see an increase in the number of child maltreatment victims,
along with an increase in the rate of entry into foster care. This is likely due to the increase
in the total number of child abuse and neglect reports received in WV that have a
substantiated disposition in the reporting period under review (FFY 2014 ab).




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                     WV Data Profile: Number of Reports
                         accepted for Investigation
                                   Date source WV CFSR Data Profile 6-29-2015

                                                                            19,279



                          18,965



                       FFY 2013ab                                        FFY 2014ab



             WV Data Profile: Total # of Children involved
               in Accepted Reports of Abuse/Neglect
    25,000
    20,000
    15,000
    10,000
     5,000
         0
             Substaniated unique children         Unsubstantiated                     Other

                   FFY 2013ab: # of unique children         FFY 2014ab: # of unique children


Each maltreatment allegation reported to NCANDS is associated with a disposition or
finding that is used to derive the counts provided in this safety profile. The safety profile
uses three categories. The various terms that are used in NCANDS reporting have been
collapsed into these three groups. The unique count of children counts a child only once
during the reporting period, regardless of how many times the child was reported.




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    Substantiated or               “Substantiated,” “Indicated,” and “Alternative
    Indicated                      Response Disposition Victim”

    (Maltreatment Victim)


    Unsubstantiated                “Unsubstantiated” and “Unsubstantiated Due to
                                   Intentionally False Reporting”
    Other                          “Closed-No Finding,” “Alternative Response
                                   Disposition – Not a Victim,” “Other,” “No Alleged
                                   Maltreatment,” and “Unknown or Missing”




                 WV Context Data: Child Maltreatment Victims

     2014                                                                            4962
     2013                                                                      4695
     2012                                                                     4591
     2011                                                            4000
     2010                                                            3961



*Note: The definition is based on federal NCANDS definition: “A child victim is defined as a child who
is the subject of a maltreatment report for which the disposition is substantiated, indicated, or
alternative response victim."


Child Maltreatment Data (National Child Abuse and Neglect Data System (NCANDS)
2014: Profile of Victims of Maltreatment (Context Data)

West Virginia’s most vulnerable children remain children from age birth to three years of
age. 33.1 % of the victims of maltreatment are children ages birth to three.




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                                     Age of Child Victim (%)
            20
            15
            10
             5
             0




                 The unique count of child victims counts a child only once regardless of the number of
                 times he or she was found to be a victim during the 2014 reporting year




                          Race/Ethnicity of Child Vicitm 2014
                          Alaska Native / American Indian     Asian
                          Black                               Hispanic (of any race)
                          White                               Two or more races
                                                0.10%
                                                               2.41%
                                  5.77%                                 1.15%




                                                                                90.56%




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              Maltreatment Types by Child Vicitms 2014
                         reporting period
                                  9%
                         3%                       21%
                                                                                        Emotional abuse
             26%                                              1%                        Medical neglect
                                                                                        Neglect
                                                                                        Physical abuse
                                                                                        Sexual abuse
                                                                                        Other
                                                        40%



Percentage of Children without the Recurrence of Maltreatment within Six Months

West Virginia’s data indicates a continued low rate in the recurrence of maltreatment.
Based on the standards set forth by the U.S. Department of Health and Human Services
Administration for Children and Families, WV achieved substantial conformity for this
measure. West Virginia’s data indicates of all children who were victims of substantiated
or indicted child abuse and/or neglect during the first 6 months of the year, 1.6% had
another substantiated report within a six-month period. The National median for this
measure is 4.9%.

(*for this measure, a lower number indicates better performance per NCANDS)


                Percentage of Children without the Recurrence of
                        Maltreatment within 6 Months
 100.00%
                                                                                    98.40%
                                97.60%           97.60%             97.70%
  98.00%
                95.60%
  96.00%

  94.00%
                     % of Children without a recurrence of Child/Abuse and/or Neglect

                              2010     2011    2012     2013       2014


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Children Maltreated in Foster Care

Data indicates that .49% of children in foster care were determined to be abused or
neglected in foster care

West Virginia’s data indicates that .49 % of children in foster care were determined to be
abused or neglected in foster care. The National Median for this measurement is 4.9%.

(*for this measure, a lower number indicates better performance per AFCARS).


          Percentage of Children Maltreated in Foster Care
 0.6
 0.5
 0.4                                                                           0.49
 0.3
 0.2        0.3
                                                              0.27
 0.1                        0.19              0.2

  0
           2010             2011              2012            2013            2014


Permanency: Overview of the Characteristics of Children in Foster Care (Adoption and
Foster Care Analysis and Reporting System (AFCARS) Foster Care Files) 2014

West Virginia’s data indicated an increase in the number of children that have been
maltreated. NCANDS indicate 4,695 children were maltreated in 2013, data for 2014
indicated 4,962.

West Virginia’s rate of entry into foster care has also increased based on NCANDS data.




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                             Foster care entry rate- per 1,000
                             children in the state population
            2014                                                                                 2.3
            2013                                                                      2.1
            2012                                                                      2.1
            2011                                                                      2.1
            2010                                                            1.8




                           Number of Children in Foster Care on 9/30
                                          (AFCARS)
                                                   4,825
                                                                                      4,625
                                  4,377                            4,369
                   4,104



                   2010           2011             2012            2013                   2014




                     Number of Children Exiting Foster Care
                                                                3,371             3,338
                          2,873     2,899          2,653




                                  Number of Children Exiting Foster Care

                                   2010     2011    2012    2013     2014


                                                    182




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Children Exiting Foster Care

Of all the children who exited foster care during 2104, 98 % of West Virginia’s children
left to reunification, adoption, or legal guardianship. As indicated below, 64% of children
exiting foster care are reunified with their families, 24 % were adopted, and 7% were
placed in legal guardianship. Based on 2014 National Performance outcomes measures,
WV would fall within the median range 89.0% when compared to other states.


          Exits of Children From Foster Care AFCARS 2014
                        Adoption     Guardianship     Reunification        Other

                                             3%
                                                              25%



                                                                      7%
                              65%




Exits of Children with a Diagnosed Disability

West Virginia’s data indicates of all children who exited foster care during 2014 and were
identified as having a diagnosed disability, 91.8 % left care to a permanent home.
National performance on child welfare outcomes indicated the national median at 78.4%.


              Exits of Children with a Diagnosed Disability
                                    8%       13.20%
                                                      4.70%
                                                                                        Adoption
                                                                                        Guardianship
                                                                                        Reunification

                  73.90%                                                                Other




                                              183




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Exits of Children Older than 12

AFCARS data for 2014 indicates of all children who exited foster care and were older
than age 12 at the time of their most recent entry into care, 91.8 % were discharge to a
permanent home. National performance on child welfare outcomes indicated the national
median at 63.9%.


                       Exits of Children older than 12
                           8.10%   1.20%             5%

                                                                                    Adoption
                                                                                    Guardianship
                                                                                    Reunification
                                                                                    Other


                                      85.60%


Foster Care Entry

AFARS data for 2014 indicates 3,710 children were included in the measurement
addressing foster care entry. Of the 3,710 children, 80.2 % of the children entered foster
care for the first time, 10.1% of the children reentered care within 12 months of a prior
episode, and 9.3% reentered care more than 12 months after a prior removal episode.



                    2014 AFCARS: Entering Foster Care
                      8.80%
           12.10%
                                                               Children entering care for the first
                                                               time
                                                               Children reentering care within 12
                                   78.90%                      mos. of prior episode
                                                               Children reentering care more
                                                               than 12 mos. of prior episode




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Time to Reunification

2014 AFCARS Data indicates 68.4 % of the 2,150 children achieved reunification within
12 months. Data indicates an improvement in this measurement by 6.1% from 2010 to
2014. The National performance outcome measure indicates the National median is 69.9
%.


                                   Time to Reunification
 80.00%        68.40%
 70.00%
 60.00%
 50.00%
 40.00%
 30.00%                            24.10%
 20.00%                                                                                        2.30%
 10.00%                                                   3%               1.60%
  0.00%
          Less than 12 mos.   At least 12 mons., At least 24 mons.,   At least 36 mos.,   48 mons. or more
                               but less than 24   but less than 36    but less than 48
                                     mos.               mos.                mos.

                                                   FFY 2014



Permanency: Characteristics of Children “Waiting for Adoption” (AFCARS
Foster Care File)

West Virginia’s context data profile indicates the total number of children waiting for
adoption based on 2014 AFCARS data is 1,446.

There is no federal definition for a child waiting to be adopted. The definition used in the
charts include children and youth through age 17 who have a goal of adoption and/or
whose parents’ rights have been terminated. It excludes children 16 years old and older
whose parents’ rights have been terminated and who have a goal of emancipation.
Children older than 17 years fall outside of the definition used to identify “waiting children”
and are excluded from the data.




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                        Age of Children Waiting for Adoption
      15-17 years                               11.20%

      13-14 years                      8.30%

      10-12 years                                  12.50%

        7-9 years                                            16.20%

        4-6 years                                                     18.90%

        1-3 year                                                                          25.80%

     Under 1 year                   6.90%

                0.00%       5.00%      10.00%       15.00%       20.00%          25.00%          30.00%




                        Race/Ethnicity of Children Waiting for
                             Adoption (%) AFCARS 2014
                                                                        Alaska Native / American Indian


                                                                        Asian


                                                                        Black


                                                                        Native Hawaiian / Other Pacific
                                                                        Islander
                                                                        Hispanic (of any race)


                                                                        White




                                                  186




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       Permanency: Adoption Data (AFCARS Foster Care File)

                                Total Number of Children
                                        Adopted
                     2014                                                        847

                     2013                                                          877

                     2012                                        632

                     2011                                              698

                     2010                                         662

                            0      200         400         600            800            1000




                            Race/Ethnicity of Children
                                    Adopted

                                         -1%

                                   9%      3% 1%
                                                                       Black
                                                                       Hispanic (of any race)
                                                                       White
                                                                       Two or more races
                                 87%                                   Unknown




                                                     187




                                                                                            D004889
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Time to Adoption

Based on 2014 AFCARS data, WV’s data indicates a continued improvement in reducing
the amount of time children remain in foster care before being adopted. AFCARS data for
2014, indicates that out of the 814 children included in this measure, 54% achieved the
goals of adoption in less than 24 months. This is a 19.9 % improvement from 2010
AFCARS data, which indicated only 34.1% achieved reunification within 12 months.
National performance outcome measures (5.1a) looks at the percentage of children
discharged from care to a finalized adoption. West Virginia’s data indicates 6.3 % of
children in care were discharged to adoption in less than 12 months. The National Median
is 4.1%.




                                 Time to Adoption (%)
                          48 or more mos.          5.1
             At least 36 mos., but less than
                                                     9.1
                         48 mos.
             At least 24 mos., but less than                                           2014
                                                                     33.6
                         36 mos.                                                       2013
             At least 12 mos., but less than
                                                                             47.7      2012
                         24 mos.
                         Less than 12 mos.         4.5

                                               0   10      20   30   40     50   60


Number of Placements by Time in Care (%)




                                                    188




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              Number of Placement by Time in Care 2014
                           AFCARS DATA
               Children with 2 or fewer placements            Children with 3 or more placements
           87.10%
                                           67.90%                                         61.40%
                                                           32.10%              38.60%
                      12.90%


       In Care Less Than 12 Months   In Care at Least 12 months but In Care for 24 Months or Longer
                                          Less Than 24 Months




Placement Setting for Children 12 and Younger

Of all children who entered foster care during 2014 and were age12 or younger at the
time of their most recent placement, 4.6 % of the 2,304-children included in this measure
were placed in a group home or institution. The median for National performance on this
outcome measure is 4.0%.

 (*per AFCARS: for this measure, a lower number indicates a better performance).

Information Systems

The system has employed several strategies as part of a larger data quality plan to
address data quality within the SACWIS. Additionally, Management Information Services
has begun an awareness campaign by presenting specific data issues and common
validation, verification approaches at the BCF statewide leadership conference.

Specific Data Quality Management Actions

      Monitoring – FACTS uses data quality utilities to check the status of the AFCARS,
       NCANDS and NYTD data elements throughout the submission period. Email
       blasts are used to keep management informed when any measure is approaching
       the tolerance threshold. Monthly exception reports are produced showing
       Medicaid eligibilities that are approaching the age 21 cutoffs, clients with invalid
       addresses and former foster care youths out of care with some period of extended
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       eligibility remaining. Another example is a monthly report that shows all children
       with an open removal episode and no documented placement.
      Profiling – WV DHHR has implemented a Master Client Index (MCI) to better
       manage client identity attributes with an eye towards using the verified data to
       improve the data quality in FACTS and give a standard that could be used to
       improve the client duplication issue. FACTS has created numerous reports and
       dashboards that not only serve as compliance and outcome reporting but also can
       be used to identify data outliers such as the CPS response times, investigation
       timeframes, provider certifications, and payment reports. Detailed reporting is
       done on a monthly or quarterly basis to identify problem cases in the IV-E
       determination process, coupled with specific case information these reports are
       used by the eligibility and finance units to address exceptional cases that are many
       times data anomalies. An example would be a report that shows IV-E
       determinations that have changed unexpectedly during the monthly review. More
       time than not a worker has changed case data. The daily, monthly and quarterly
       client merge reports are another example.
      System Design - The system contains a multitude of edit masks, validation checks
       and logical cross edits that aim to prevent bad data from being entered. Examples
       include a phone number data field only accepts numbers, a DOB field must have
       a full date, a client indicated as a child cannot be over the age of 21, etc. These
       edits do prevent data from being in a wrong format and add a level of scrutiny
       against logical errors. When the new CPS assessment/investigation was
       implemented, validation routines were built into the closure process that required
       a supervisor to review missing data or failed cross edits before closure could occur.
       FACTS use a third-party address look up and validation tool called QAS that when
       invoked will only allow complete, valid and accurate addresses to be entered.
      Transformation – FACTS maintenance operations perform several data
       corrections through an established request process. Many of the requests are
       because of duplicated, merged or corrupted client identity attributes that the
       casework staff do not have the ability to fix themselves due to auditing or security
       level restrictions. The system has a formalized process of CPS/APS investigation
       corrections, where once a data issue has been discovered or upon supervisory or
       legal review the determination has been made by BCF management that the
       documentation must be changed, the system automatically keeps a backup of the
       original data and allows an override to make a change or enter new information.
      Data Governance – With the Master Data Management system now implemented
       DHHR leadership is building the capacity for data governance. A governance

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       committee is being established at the cabinet secretary level to set rules, establish
       standards and address variances within the bureaus and for the benefit of the
       agency’s data assets. As more systems are being brought into the enterprise data
       hub the more resources that are becoming available to survey data quality though
       the various data attributes of timeliness, accuracy, validity, completeness,
       conformity and integrity. FACTS is in the process of establishing a formalized
       change management process with BCF to help guide the decision-making process
       and prioritization of any SACWIS development and maintenance activity. Within
       that construct, a team of business and system personnel are charged with ensuring
       adherence to standards of practice including data management within the client
       records.

2016 Updates
      Monitoring – FACTS is currently developing the data and reporting to support the
       APSR/CFSR activities of the quality assurance unit
      System Design – FACTS modified the system determination and a component of
       the quarterly IV-E fiscal reporting to clearly identify children in receipt of SSI
       benefits.
      Data Sharing – FACTS began sharing foster care data with the Department of
       Education to facilitate DOE cross-referencing school achievement and outcome
       data. In addition, FACTS developed data extraction and transfer processes for the
       Safe at Home WV independent evaluation contractor. Likewise, FACTS
       developed data and transfer to support state of WV’s Three Branch and Juvenile
       Justice Task Force (JJTF) initiatives.
      Transition – The leadership of the Office of Management Information Systems has
       made the decision to transition the existing SACWIS to CCWIS model under the
       new proposed final rule. A Request for Proposals (RFP) is being developed to
       bring on contractors to staff and develop the requirements and perform the
       necessary technical work to change the system architecture, functionality,
       presentation layer and data collection/reporting processes. The plan is to continue
       operations in the present SACWIS with limited maintenance and operational work
       until the system can be transferred and or retired. The web based components of
       the current SACWIS can be leveraged for use in the new system so it still
       advantageous for the state to continue planned modifications up until the point that
       operations can be fully shifted over.



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      Although the development is expected to be incremental and phased across the
       enterprise the RFP is expected to be published before the end of 2016, with the
       goal of having a vendor or vendors in place by late spring 2017.

The Kids in Care tracking report was implemented September 1, 2015 to create a uniform
system to track vital information for all children in care. The report was initially developed
as a means of tracking children for Safe at Home; however, it was determined that it
would be used to track all children in care. The report originated from an August 2015
FREDI report title “Children in Placement with Level”. This tracking report is kept by each
District and is updated monthly concerning new placements and exits from placement.
Information collected for this report includes but is not limited to the following:

Removal Date
Provider type, name, address
Placement date
Placement Exit
Permanency Plan

As information is updated on the spreadsheet, supervisors will be checking FACTS for
matching documentation concerning start and end dates for placements.              This
spreadsheet is then provided to the Community Service Managers, Regional Program
Manager and Director of Social Services. This report is also stored electronically and
can be printed monthly for easy access in the event of a disaster that would impact our
electronic records.

Foster care policy indicates that workers must enter the effective date of placement within
3 days of placement. The exit date should be entered within 3 days of discharge.

Supervisors and workers address children in placements and any changes in placements
such as placements or disruptions during the worker conferences.

By using the Kids in Care spreadsheet and information obtained during worker
conferences, the supervisor can compare them with monthly payment approvals for a
checks and balance method of ensuring all children have been entered into care or have
been discharged as appropriate.

2017 Updates

Foster care policy was changed to require workers enter the effective date of placement
and exit the same day.

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The four Regional Social Service Program Managers (RPM) along with eight child welfare
consultants (CWC) are available to provide policy clarification, specific training related to
policy, and to promote best practice. During 2016, the four RPMs and the eight CWCs
worked as a team to review cases in the Kanawha District, Barbour/Taylor/Preston
District, Braxton county, and Webster county. The items reviewed included the
following: contacts with the family and the children, removals, placement entries, court
hearings, dispositional staffing, MDTs, safety plans, permanency plans, diligent
searches, education, medical, services to family and children.

We also review the COGNOS report which lists every child where termination of both
parents has occurred. This report will indicate if a child has been assigned to an adoption
unit or not. We will review/staff with the District to determine if adoption is the
appropriate permanency plan and then to help facilitate that assignment to the adoption
unit with the District. In some cases, the RPMs and CWCs will work with the District to
develop another appropriate plan for r the child.

In the next year, this group will keep information from which to pull statistics on the number
of cases reviewed and of that number how many had accurate and appropriate
information that indicates status (in foster care or not), demographic characteristics,
location (placement), and permanency goal.

The West Virginia Department of Education (WVDE) and the West Virginia Department
of Health and Human Resources (WV DHHR) both provide service and assistance to
children and youth throughout the Mountain State. The agencies have a long history of
cooperating and collaborating to ensure that the state’s school-aged children are
receiving the necessary support and resources to have safe, secure, and successful
childhoods that will establish solid foundations for success as adults. The Elementary
and Secondary Education Act of 1965 was reauthorized in 2015 as Every Student
Succeeds Act, also called ESSA (20 U.S.C. § 6301 et seq.). Among the changes in the
law are new requirements relating to the disaggregation of education data by student
subgroups. Education agencies have long reported student performance data for
subgroups based on student gender, race/ethnicity, socioeconomic status, disability
status, and English language learner status. ESSA now requires that education agencies
also report data for subgroups based on student homeless status, status as a child in
foster care, and status as a student with a parent who is a member of the Armed Forces
of the United States on active duty (see, e.g., Title I, Part A, Subpart 1, Section 1111.
(h)(1)(C) of the ESSA statute). To comply with federal law, WVDE must collaborate with
the West Virginia Department of Health and Human Resources (WV DHHR) to securely
and systematically collect accurate information about students’ statuses as children in


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foster care and to secure it within the West Virginia Education Information System
(WVEIS).

The data exchange between WVDE and DHHR will also provide resiliency and well-being
metrics. School stability, course completion, attendance, behaviors/discipline, are all
data which when correlated to evidence-based practices become indicators of the
success of wraparound and school interventions. Some of those evidence-based
practices include Trauma-informed assessments for youth and their families to identify
their needs, Functional Family Therapy, School-based mental health, and the
development of formal and natural supports including tutoring, behavior rewards, and
mentoring for both the children and adults in the family. The overall data exchange is
targeted for completion for the requirements of the WVDE by the end of the Calendar
Year 2017, with the implementation of a web service for bidirectional exchange by
Beginning of Federal Fiscal Year 2019 (10/01/2018).

The WV Department of Health and Human Resources has prepared a Request for
Proposal outlining a modularized system the will incorporate the functionality of multiple
system operations into combined blocks of common functionality shared by one or more
systems. The various components of the current SACWIS will be moved into the
combined system as new modules are brought up and implemented. Any distinct and
non-sharable functionality will be addressed by migrating the last components of the
legacy FACTS system to a browser-based platform that can then be used to form
additional modules. Additional interfaces with Education and the Courts are under
discussion and pre-planning efforts underway. Also, in development are the data and
process quality efforts that will be imbedded within the new application. The agency is
still waiting to review vendor responses to the RFP. With the projected date to select a
vendor set in August, more details regarding prioritization and detailed CCWIS
requirements can be given once the successful vendor has been chosen.

2018 Update

WV DHHR has opted to replace the current IV-A, IV-D, IV-B/E and Medicaid management
systems with one single multi operational system called the Integrated Eligibility System
(IES). The RFP process closed last December, and a contract has been awarded,
finalized and signed. The vendor, Optum Consulting has completed system requirements
and architecture planning and is in the process of transferring hardware and software
licensing, while bring up the IES solution infrastructure. Detailed design requirements are
scheduled to begin in July this year with development activity starting soon after. Using
rolling wave planning with a spiral implementation, the first components of the new system
are expected to hit production October 2018 with on line applications and intake functions.

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Client functions and reporting will begin in October and iteratively implement through May
2020. The finance and provider management functionality will follow with full
implementation expected by July 2020. The bulk of casework functions including
investigation, assessment, case planning placement and permanency will be brought
implemented in August 2020. Full legacy system retirement is currently planned for
November 2020.

Case Review

Currently, the West Virginia Department of Health and Human Resources relies on
individual workers and their supervisors to track future hearing and reviews. The Court
generally sets the next hearing at the conclusion of the current hearing. Workers then
make note of the next hearing on their calendars. Most circuit courts also have a plan to
track upcoming hearings and send a docket list to Department workers in advance of the
week’s hearings.

In anticipation of the implementation of Safe at Home WV, a committee was formed to
develop a tool to assist workers with tracking various stages of case management when
children were placed in out of home care. A draft Standard Operating Procedural guide
was developed to aid supervisors in tracking court hearing and reviews. Tracking right to
be heard for foster care providers will be added.

The SOP will establish a protocol for districts to ensure workers are prepared for court
and that court orders and court related issues are responded to in a timely manner. The
overall goal is to establish a protocol that will assure workers are prepared for court, the
orders of the court are followed and completed and that supervisors are closely
monitoring all court cases by reviewing the information, tracking the cases and attending
hearings with staff as needed. The following information will be tracked:

      Assure proper review of recommendations made to the MDT and Court
      Assure supervisors are aware of the MDT recommendations prior to the worker
       going to Court and prior to any report going to the Court
      Assure all Court orders are reviewed by management in a timely manner
      Assure that DHHR’s practice follows the Court’s directives
      Allow proactive planning to correct deficiencies in practice and/or non-compliance
       with Court Orders
      Prevent Contempt and Show Cause Orders from being issued.
      Assure all contempt or Show Cause orders are immediately reported through the
       appropriate chain of command.


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      To assure proper response or compliance to Show Cause or Contempt orders
       issued by the Court.

2016 Update

A Court Standard Operating Procedure (SOP) draft was discussed and released in
January 2015 at a Field Operations Management (FOMT) meeting. This meeting included
Deputy Commissioner for Field Operation (one at that time) and four Regional Directors.
The SOP and related tools had been developed by a statewide committee in 2014. In
addition to the SOP a tracking form, court note sheet and desk guide were also
released. The draft was updated into the final draft attached here and sent along with the
other documents to the Deputy for Field Operations and the RD’s in February 2015.

Many districts have implemented this recommended SOP and use some or all the tools
– court note sheet, log, and desk guide.

Other than these draft releases and recommendations for use, there has been no other
release of the Court SOP and related documents. BCF is presently reviewing the SOP
and related documents – this review will include a legal review by newly hired counsel for
BCF. BCF has a target timeframe for review and release of a revised SOP and the related
tools of July 2016. The Bureau is already aware of the need to revise to better track foster
parent notification, attendance at hearings and notation of their right to be heard.

2018 Update

Two separate analyses were conducted of data contained within the West Virginia Child
Abuse and Neglect Database. This database is maintained by the administrative offices
of the Supreme Court of Appeals of West Virginia through Court Improvement Program
grant activities. The graphs below show (1) days between the original petition date and
the first review hearing date, and (2) days between subsequent review hearings entered
under a case.

Graph One- 3,749 unique cases were used in the analysis. 51 unique cases were
excluded from the analysis due to errors.




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Graph Two- 14,471 hearings were used in the analysis. Erroneous hearing dates were
excluded. It is important to note that the CAN database maintained by the CIP is not able
to accurately match each hearing to each child within this data. Effective February 2, 2018
the CAN database is no longer used. Data is now collected in the Juvenile Abuse and
Neglect Information System (JANIS). Records were moved from the CAN database into
JANIS and judicial staff began entering data February 22, 2018.




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                                           Days between Review Hearings
 16000
         14036
 14000


 12000


 10000


  8000


  6000


  4000


  2000
                  317       77         22          7         3          3                  1           0           3            0           1           0           1
    0
                  181-360


                            361-540


                                       541-720


                                                 721-900


                                                           901-1080


                                                                      1081-1260


                                                                                         1260-1440


                                                                                                     1141-1620


                                                                                                                 1621-1800


                                                                                                                              1801-1980


                                                                                                                                          1981-2160


                                                                                                                                                      2161-2340


                                                                                                                                                                  2341-2520
          0-180




                                                                                  Days


A Standard Operating Procedure is in place for districts to report monthly on each child
in care. The report referred to as the “Kids in Care” is provided to each Regional Program
Manager by the last day of each month. It includes pertinent information on each child
including, but not limited to: Name, Client ID, Demographics, Removal Date, Placement
Type and location. Districts maintain this report and use it for multiple purposes:

        As a printable document for use in emergency situations when there is no or
         limited access to electronic systems.
        A tracking tool to compare data entered into our FACTS system to verify correct
         entry of removals, placements, and reunifications.
        Compare and track boarding care payments to foster care parents
        Quick glance at the use of kinship versus other placement types.
        Verify date of last Multi-Disciplinary Team meeting.



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Diligent Search

A random sample of cases was reviewed for the Diligent Search criteria for FFY 2014.
There was a total of 75 placement cases reviewed to determine if diligent search for both
maternal and paternal relatives was being conducted as part of the case work practice.
Of the 75 cases, 53 cases were applicable for the diligent search criteria. Ninety-four-
point three percent (94.3%) of the cases reviewed met the diligent search criteria while
5.7% did not. This will serve as baseline or comparison data for future reviews. DQPI
will contact a targeted review of randomly selected cases will in FFY 2016.

The purpose of the New View Project is to identify cases in which children are at risk of
lingering in out-of-home care; provide intensive review of those cases by an attorney
(New Viewer), including file review and interviews with the child and others involved in
the case; make recommendations for permanency solutions for the children; and make
recommendations for systemic improvement.

Most the children’s BCF files (82% in the first year and 65% in the second year) show no
evidence of diligent search or use of the Federal Parental Locator Service. For the seven
children, whose files show diligent search efforts in the first year, all the searches resulted
in finding at least one family member with an average of 2.6 found family members. IN
all, 18 family members were found for the seven children. Notations for the located family
members include the following:
      28% Relatives had criminal backgrounds
      28% Relatives were not contacted, or it is unknown if BCF and/or ICPC made
         contact
      22% Resulted in a placement that failed
      6% Led to completion of a home study;/home visits (no other noted actions
         occurred)
      6% Relatives had inappropriate housing
      6% Placement with biological mother
      6% Relatives unable to take child due to age and illness
For the eleven children, whose files show diligent search efforts in the second year, all
the searches resulted in finding at least one family member with an average of 2.9 found
family members. In all, 32 family members were found for the eleven children. Notations
for the located family members were found for the eleven children. Notations for the
located family members include the following:
      44% Unwilling/unable to take child
      34% Not contacted or unknown if BCF and/or ICPC made contact
      6% Placement with family member
      3% Failed placement
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      3% Inappropriate housing
      3% Visitation
      3% Determined contact would be inappropriate
      3% Child did not want to be placed with family member

Case Plan

In December 2015, Foster Care policy was revised to better describe the process of
engagement with youth when developing their case plans. It reads as follows;

The case plan for each child, where appropriate for a child fourteen (14) years of age or
over, must include a written description of the programs and services which will help the
child prepare for the transition from foster care to successful adulthood. With respect to
a child who has attained fourteen (14) years of age, any revision or addition to the plan
must be developed in consultation with the child and, at the option of the child, with up to
two (2) members of the case planning team who are chosen by the child and who are not
a foster parent of, or caseworker for, the child. The case worker may reject an individual
selected by the child to be a member of the case planning team at any time if the worker
has good cause to believe that the individual would not act in the best interests of the
child. One individual selected by the child to be a member of the child’s case planning
team may be designated to be the child’s advisor and as necessary, advocate, with
respect to the application of the reasonable and prudent parent standard to the child.

The FREDI report title “Client 14 and over in Care and in Open Case” is generated each
month. This report lists each child over the age of 14 that has a completed Casey
Assessment and Learning Plan. In addition, it also indicates any child over 14 that does
not have a Learning Plan completed or does not have either a Casey Assessment or
Learning Plan completed. This report reviewed by Regional Program Managers,
Community Service Managers and Supervisors.          This report identifies any child in
custody over 14 that need a Learning Plan or Casey completed. Supervisors will discuss
this report with workers during monthly worker conferences to help ensure the
assessments have been completed either by staff or providers.

The Department will use current FREDI report data of 1489 children in care of which 600
(40%) do not have life skills assessments.

Permanency Reviews

The Court Improvement Program maintains the following data on case reviews.


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                           2013                       2014                         2015
                 Average                   Average                       Average
                               Percent                     Percent                     Percent
                             Compliance                  Compliance                  Compliance
                 (days)                      (days)                      (days)
Time to
Permanent
Placement
                  491.5           none       439.5           none         427.0           none
(Compliance
Limit – none)
Time to First
Permanency
Planning
Determination     283.9           none       265.2           none         254.0           none

(Compliance
Limit – none)
Judicial
Permanent
Placement
Reviews
                  86.4            77.70%      86.5           76.40%       83.1            78.00%
(Compliance
Limit – 93
days)
Disposition to
Permanent
Placement
                  183.3           89.70%     144.4           93.80%       142.3           94.00%
(Compliance
Limit – 543
days)


In addition to the CIP data and tracking the Bureau for Children and Families distributes
monthly trackers related to IV-E compliance – the Court Order Report & Pending Cases
Report - are sent monthly to each CSM, the RD & Deputy Commissioner. Their use also
helps districts to track Judicial & Periodic Reviews. The court order reports show where
there are potential challenges to assuring proper review. The email that accompanies
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each set of reports give details of the report & outline needed action. The CSM or RD will
involve Regional legal staff as districts attempt to address barriers with the
courts. Generally, courts are meeting the periodic review timetable requirements and
BCF has not had to use the Administrative Review process.

2018 Update

Workers staff cases monthly with their supervisors during monthly conferences. An MDT
is scheduled after parents are adjudicated and they develop the Family Case Plan at that
time.

West Virginia does an excellent job of ensuring periodic reviews occur for each child no
less than every 6 months, either by Court or Administrative Review. Review hearings are
scheduled in all jurisdictions quarterly until permanency is achieved and the case is
dismissed from the docket. An AFCARS report specific to this reporting element is
generated from FACTS monthly (? unsure of actual frequency) that reflects every case
with no review documented. This report is utilized by Regional Program Managers and
Regional Directors to work with districts on getting these reviews documented in FACTS.
In rare instances, the reviews have not been held and the report serves as a prompt for
districts to request scheduling.

Permanency Hearings

Time to permanent placement is measured by the average (mean) and median time form
filing of the original petition to permanent placement. This is calculated using all records,
including both original petition filing date and the date of permanent placement.




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                        Time to Permanent Placement
                                     Aveage Days

                570.9
     542.8                  516.1                 491.7
                                       475.5                                         443.4
                                                            437.6       425.9




     2009       2010      2011      2012         2013     2014       2015       YTD 2016




2018 Update

Judges are very diligent in ensuring hearings occur at least every 90 days. If for some
reason they would need to be scheduled outside this timeframe the attorneys waive the
timeframes.

Termination of Parental Rights

This measure consists of the average (mean) time from filing of the original petition to
termination of parental rights for each respondent. All respondent items, including
applicable dates for both items, will be included in the calculation. If a respondent was
added because of an Amended Petition, or service was delayed to a respondent who was
include in the original petition, time to the Termination of Parental Rights would be
calculated form the date the respondent was added or served rather than the original
petition.




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                 Time to Termination of Parental Rights
                                   Average Days


      332.2      355.9                   318.2                                            289.9
                           304.1                        322.1       270.3     294.9




      2009       2010       2011        2012           2013     2014        2015      YTD 2016




2018 Update

Workers have monthly conferences with their supervisors. There are permanency
staffing’s with their Child Welfare Consultants prior to dispositional hearing. Workers and
Supervisors hold staffing’s for the ones workers wanted to pursue TPR or if it was on all
cases that require us to pursue TPR. A tracking tool was developed, while working on the
Program Improvement Plan, to track progress on many items including requests for TPR.

Notice of Hearings

A random sample of cases was reviewed for the Right to Be Heard criteria for FFY 2014.
There was a total of 75 placement cases reviewed to determine if foster parents were
receiving notifications of hearings and MDT meetings as part of the Right to Be Heard
mandate. Of the 75 cases, 48 cases were applicable for the notification of hearings and
MDT meetings for foster parents. Of these 48 cases, 79.2% received notification for court
hearing for every instance and 81.3% received notification for MDT meetings for every
instance. In addition, 12.5% received notice for court hearing on at least one, if not most,
instances for court hearings and 10.4% received notice for MDT meetings on most
instances. Of the 48 cases, 8.3% never received notice for court hearings or MDT
meetings. This will serve as baseline or comparison data for future reviews. Another
targeted review of randomly selected cases will be conducted for FFY 2016.

West Virginia will develop a survey to mail to foster parents to determine if they are
noticed for hearings.


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2017 Update

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Abuse and Neglect Database. This datacase is maintained by the administrative offices
of the West Virginia Supreme Court through the Court Improvement grant activities. The
graphs below show (1) days between the original petition date and the first review hearing
date, and (2) days between subsequent review hearings entered under a case.

Graph One- 4,735 unique cases were used in the analysis. 22 unique cases were
excluded from the analysis due to errors.

West Virginia developed a survey to gather data relating to notice of court hearings and
MDTs, from a sample of foster parents, emergency shelters, and group residential
facilities, statewide. Every survey will be mailed out to the chosen samples by the end of
June 2017.




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Graph Two- 3,765 unique cases were used in the analysis. Fewer cases were used in the
second analysis than in the first because not all cases that had a first review hearing had
subsequent review hearings. Two unique cases and 31 hearings were excluded from
analysis due to errors. It is important to note that the CAN database maintained by the
CIP is not able to accurately match each hearing to each child within this data. Further
exploration of this issue is occurring within the special workgroup charged with re-
evaluating the data that is maintain by the courts.




A survey regarding MDT and court hearing notifications have been distributed out to all
shelters and 49 groups residential facilities across West Virginia. Thus far, 40 surveys
from the shelters have returned. There are 703 addresses for specialized foster care
homes with current foster child placement and approximately 1330 kinship/relative and
certified kinship/relative addresses. The MDT and court hearing notification survey will be
sent to over 2000 foster homes, along with a survey regarding foster parent pre-service


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and in-service training and its effectiveness. These will be finalized and distributed to over
2000 foster homes by June 30, 2017.

2018 Update

Scope of the Problem- In West Virginia’s child welfare statute, there is a lack of clarity
related to noticing hearings for caretakers. Furthermore, language is absent that outlines
the format for the notice or who is responsible for serving the notice. A copy of all
applicable rules and statutes is attached. This ambiguity has prevented any one agency
from taking ownership and standardizing the process. Before anything stronger than a
DHHR policy can be enforced, clearer statutory or court rule guidance must be available.
The following goal and activities include both long-term and short-term solutions.

Baseline Data: During the Summer of 2017, a comprehensive survey was sent to all foster
parents, relative/kinship parents, and pre-adoptive parents to determine the degree of
engagement they felt with the system in their role as a caretaker. The surveys were
anonymous to encourage participation. Data was collected on the following question:

How often do you receive notice of court hearing?

 Value     Response             Frequency       Percent
 1         Never                174             26.73%

 2         Sometimes            118             18.13%

 3         Often                52              7.99%

 4         Almost Always        93              14.29%
           Always               179             27.50%
 5
           Blank                35              5.38%
 0
 Total number of                651             100.00%
 Responses

To that end, we have developed the following goals and activities to take place during the
PIP to increase notice of hearings, and subsequently meeting one of our CIP grant goals
to increase the quality of hearings by ensuring parties are present, know their rights, and
have clear concise information on their role in child welfare proceedings.


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   1. Goal-Improve notification process to caregivers which includes foster parents,
      relative/kinship parents and pre-adoptive parents.
              a.      Activity 1-Since roughly 50% of caretakers responded that they
                      received some sort of notice of hearings, an analysis will be
                      undertaken to determine what has been successful with those
                      counties/jurisdictions to be replicated statewide.
                          i. Activity 1 completion date: September 2018
              b.      Activity 2-Once the analysis is complete of what makes certain
                      areas of the state more successful at providing notice, the
                      workgroup will develop a plan for replication.
                          i. Activity 2 completion date: November 2018
                         ii. Activity 2 implementation strategy- The workgroup will
                             develop a standardized procedure that incorporates
                             mentoring strategies to create cross-discipline learning about
                             consistent caretaker notification.
              c.      Activity 3-Revise legislation or court rule, with support from the WV
                      Supreme Court’s CIP, during the 2019 session to clarify WV statute
                      to clarify who is responsible to (1) define parameters of “notice to
                      caregivers” and (2) determine who is responsible for providing said
                      notice.
                          i. Activity 3 Completion Date-January-March 2019
              d.      Activity 4- Once the parameters of notification are clarified in statute
                      or by court rule, tools will be developed to support the changes, such
                      as notification letter standard language and CCWIS system
                      enhancement recommendations.
                          i. Activity 4 Completion Date-July 2019
                         ii. Activity 4 implementation strategy-The tools will be made
                             available to all applicable parties through WV CIP’s cross-
                             trainings and electronic versions being available on both
                             DHHR’s and the Court Improvement Project’s websites.
              e.      Measure for Compliance-Follow-up caretaker surveys will be
                      completed in January 2019 and March 2020.




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Workers do not send out any formal invites for hearings. They generally make the foster
parents aware of the next hearing dates when they visit with the children monthly. They
are made aware they can attend however none of our judges allow them into the
courtroom unless there is a specific problem which needs to be addressed.

Training

BCF Division of Training is responsible for the oversight, coordination, and delivery of
training for BCF employees, including child welfare staff and foster parents statewide.
This training consists of new worker training; professional development; supervisory and
management training; and coordination of training for new, potential foster and adoptive
parents. Goals for training are tied into the overall goals of the organization and include
making continuous quality and process improvements to the training that is being
provided. In addition, training activities are continuously being evaluated to ensure the
transfer of learning and long-term retention and utilization of information, knowledge, and
skills learned in training. A list of courses, course length, target audience and projected
numbers of staff to be trained, and course syllabi (including all university trainings) are
provided in the BCF Training Plan (separate document).

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Systemic Functioning

West Virginia operates a statewide coordinated Training System to provide pre-service
training and in-service training for new staff, and professional development training for
tenured staff. This training is coordinated through the Central Office at the Diamond
Building in Charleston, West Virginia, with staff trainers out-stationed across the state for
provision of training activities. Training requirements are the same for both agency staff
and contracted staff.

New worker pre-service training begins on the first day of employment. New workers are
immediately placed into the first training class that is available after their first day of
employment, usually occurring within one to three weeks of hire. New classes are started
twice per month, for a total of 24 classes per year. The scheduled start dates for each
training round are determined annually for the next calendar year each October. From
the first day of employment to the first day of classroom training, new workers are required
to complete an orientation and 18 hours of online training in the Blackboard learning
management system (LMS). Once classroom training begins the new worker receives
144 hours of classroom training, 48 hours of structured transfer of learning, and 15 hours
of online training over a six-week period. Pre-service training must be completed within
the first three months of employment, and attendance/completion is tracked through daily
sign-in sheets and Blackboard LMS reports as well as being documented in the SACWIS
system. To be reported as complete new workers must attend a minimum of 95% of the
required training. New workers are required not to carry a caseload during their pre-
service training period; however, to date this information has not been formally tracked.
A mechanism will be developed to track this information, so it can be reported in the next
APSR.

Once pre-service training is completed, the in-service training period begins and
continues during the remainder of the first year of employment. New workers are
assigned a limited caseload that they carry over a period of four to 12 weeks (depending
on the program area). The Division of Training is currently developing and implementing
a coaching program for new workers that will be conducted during this time. New workers
then return for an additional 48 hours of classroom training held over a three-week period,
and an additional 42 hours of classroom training and 20 hours of online training during
the remainder of their in-service training period. After that point, tenured workers are
required to receive 40 hours of continuing education training every two years.

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In 2014-2015, the BCF Division of Training trained 156 new child welfare workers. Of
these, nine (six percent) left the agency prior to completing pre-service training. A small
percentage of new workers completed their in-service training requirements, although the
exact percentage could not be reported due to incomplete tracking information. A plan
will be put in place to ensure that accurate data can be reported in the next APSR.
Tenured worker training completion rates are much greater due to the continuing
education requirements to maintain social work licensure. This training must be
completed to remain licensed, which is a job requirement.

While the Division of Training does a very good job at tracking pre-service training,
tracking methods for in-service training and professional development training must be
improved to ensure accuracy of those numbers. This will become even more important
in the next year as West Virginia implements a new social work licensure law that allows
persons with a bachelor’s degree in an unrelated field to be licensed as a social worker,
and so be eligible for child welfare positions. The legislation requires an additional training
plan for staff who are employed with this new restricted provisional license that will have
to be tracked and reported, which will be implemented in the next year. A new
competency test for will also be implemented in the next year, based on the HOT (hands-
on testing) competency tests developed in Oklahoma, as well as competency testing for
supervisors. This data can be tracked and reported to demonstrate the effectiveness of
the training program to the Legislature and in the APSR.

In addition, while the Division of Training currently gathers qualitative data around its
training programs, more efficient methods for standardized reporting of this information
must be developed. The Division of Training holds a statewide Child Welfare Training
Advisory Council meeting every other month to obtain feedback on training programs and
to plan and implement training program improvements. Participant evaluations are done
on each training session that is held, with the results summarized and entered into a
database and reported to the trainer and his/her supervisor. New curricula are reviewed
and approved by stakeholders including regional field staff, policy staff, and SACWIS
system staff prior to the training being conducted and when any changes or updates are
made. A formal tracking and reporting system for this information must be developed.

For provider training, West Virginia currently uses the PRIDE curriculum developed by
the Child Welfare League of America. All prospective and new providers must attend 24
hours of pre-service training to be certified, although kinship families may be granted a

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waiver from the training. After certification foster parents must attend 12 hours of training
each year to maintain certification. Tracking of pre-service training is done by the Social
Work Education Consortium, who provide the training, and tracking of in-service training
is done by the regional home-finders who are responsible for recertification of the homes.

In the next year, the Division of Training will implement a system for tracking and reporting
the following information: in-service and professional development completion; qualitative
evaluation data; competency test results for workers and supervisors; provider training;
and training required by the new social work licensing requirements.

New Planned Activities

Child Fatality Review

The Division of Training is developing a course on Child Fatality to help reduce the
number of child fatalities in West Virginia. This course provides participants with
statistical data on child fatalities in WV and identifies trends in child welfare practices;
factors related to child deaths; best practice standards; working with vulnerable children;
supervisory consultation; safety planning; information gathering; co-sleeping; and
substance abuse related child fatalities.

Safe at Home Project
The Division of Training will develop and implement training for Safe at Home initiative
that will include training on wraparound values and principles, family and youth
engagement, and the WV CANS.

 Updates on Training Objectives
The BCF Division of Training continues to make steady progress towards meeting its
training objectives outlined in the Child and Family Services Plan. Outstanding
achievements include:

I. Implement and maintain training related to the Child and Family Services
   Review/Program Improvement Plan
The BCF Division of Training (DOT) provides program support for the West Virginia
CFSR/Program Improvement Plan (PIP) through the completion of identified tasks and
training-related activities included in the PIP.


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For Goal 1, The Division of Training completed the statewide training of all CPS staff and
supervisors in the documentation of the Protective Capacity Family Assessment in the
SACWIS System and refresher training in Protective Capacity Family Assessment.

The following two training goals are included in one narrative, since both initiatives
represent new child welfare staff development.

II. Restructure Mandatory Pre-Service Training Package


III. Restructure In-Service Training to be Completed Within the New Worker’s First
     Year
The Pre-Service Child Welfare Training, Achieving Safety, Permanency and Wellbeing
for West Virginia’s Children has been restructured utilizing a blended learning approach
that includes on-line training, classroom training, and structured transfer of learning
activities. The pre-service curriculum was restructured to emphasize the acquisition of the
skills and knowledge necessary to practice effective child welfare casework. The revised
curriculum continues to strive to ensure workers have the required knowledge and skills
necessary to provide quality service and promote safety, permanency, and wellbeing for
children and families. In 2014, pre-service training was provided to 152 new child welfare
workers across the state.

The pre-service training consists of two component sections: Foundations and Job
Specific Training. Foundation training is the underpinning of the knowledge and skills
needed by the child welfare worker. These are built upon in successive components.
Portions of the content of the Foundations’ component were adapted from the curricula
“Charting the Course towards Permanency for Children in Pennsylvania,” developed by
the Pennsylvania Child Welfare Training Program, University of Pennsylvania School of
Social Work. Free use of this material is permitted for training and other educational
purposes by public child welfare agencies and other not-for-profit child welfare agencies
that properly attribute the material.

The second component of the New Worker Per-Service Training, Job Specific Training,
provides four paths for new workers. The path the new worker follows is based on the
worker’s primary work assignment. This includes Child Protective Services, Youth
Services, Homefinding, and Adoption. In the job specific training, the new worker is
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building on basic skills and knowledge introduced in the Foundations section of the
training. Job specific training includes job specific procedures and policies required for
the worker’s position in child welfare. Systems and documentation training have been
restructured to provide more individualized learning opportunities with the use of separate
computer labs and desk guides to assist the worker with documentation.

Significant revisions have been made to the CPS and YS training tracks. Both are now
set up to more closely follow the case work process and to be more experiential with
additional classroom activities and participant involvement. This provides increased
opportunity for skill building, practice, and feedback.

As part of the ongoing goal to provide effective knowledge-based skill building training for
all staff which promotes engagement with families and transfer of learning, the
Homefinding Job specific training is being restructured to meet the current model of the
pre-service training. The classroom training is being revised to provide more active
learning opportunities for participants which are more skill based and experiential.
Participants will be given greater opportunity to practice skills and receive feedback.
Systems and documentation training will be held in computer labs and involve hands on
practice.

This pre-service training for BCF child welfare staff is designed to provide participants
with support and learning skills in the classroom while transferring those skills from the
classroom to the job. The on-the-job training activities and skill building assignments are
identified for both the new worker and the new worker’s supervisor in the Transfer of
Learning Notebook and the Supervisor Resource Guide, respectively. There are transfer
of learning activities designed with adult learning styles in mind which are structured to
assist participants in applying the knowledge and skills presented in the classroom to the
field. Participants are encouraged to use the Self-Assessment tool provided to identify
those skills and abilities in which they feel confident and those for which they require more
training, assistance, or experience to fully develop.

New workers are encouraged to share this information with their supervisors. The
Supervisor Resource Guide provided to all child welfare supervisors provides in-depth
tools for the supervisor to use in coaching and effective utilization of skill-building
assignments to promote transfer of learning.

IV.   Implement Child Welfare Supervisory Training

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The child welfare supervisory training developed by Colorado and available from the
National Resource Center for Organizational Improvement is incorporated into BCF
supervisory and management training. In total, 46 Child Welfare supervisors have
completed supervisory training in FY 2014.

A multiple-level evaluation process will be incorporated to assess the efficacy of the
training, including a Transfer of Learning component reflecting the restructured skills-
based, pre-service child welfare training. Further, a Needs Assessment to identify topics
for the professional development of tenured child welfare supervisory staff will be
incorporated.

Family Functioning Supervisory Guide training will be incorporated into Child Protective
Supervisory training. This training will provide CPS supervisors with the knowledge and
skills to effectively consult with casework staff related to practice and decision making
during the Family Functioning Assessment process. CPS supervisors will learn to help
casework staff gather information; assess threats to child safety; promote proactive case
consultation; delineate the fundamental supervisor responsibilities for facilitating effective
casework practice and establish criteria-based supervisor consultation related to the FFA;
and assure that FFA standards are achieved.

The following three training goals are included in one narrative since they represent
training initiatives with the partnership with the Social Work Education Consortium.

V.     Partner with the Social Work Education Consortium
VI.    Restructure Professional Development Training for Child Welfare Staff
VII. Provide Comprehensive Training to Foster Parents
The partnership with the Social Work Education Consortium (SWEC) has continued to
strengthen in: 1) the provision of training opportunities for new workers and tenured staff;
2) foster parent training; and 3) educationally preparing the workforce for working in public
child welfare.

     The BCF continues to utilize its partnership with the Consortium in planning and
      implementing several continuing education opportunities for tenured workers. The

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   development of these courses has been based upon a regional needs assessment
   process facilitated by the DOT regional trainers with regional management staff and
   supervisors. Regional training staff and the Title IV-E Training Coordinator continue
   to meet quarterly with the participating university in the region to discuss identified
   training needs, make recommendations for new class development, and to schedule
   the classes.

The Consortium continues to offer a variety of professional development trainings
developed in response to needs identified in the regions or anticipating noted trends in
practice. The SWEC continues to provide three training modules for new workers as part
of the in-service component of their first year of training, which includes, Substance
Abuse, Legal and Advanced Ethical Issues for Child Welfare, and PRIDE for New
Workers.

The West Virginia Social Work Education Consortium (SWEC) provides 27 hours of pre-
service training (referred to as a round of training) to all departmental prospective
adoptive and foster parents. Utilizing the PRIDE curriculum developed by the Child
Welfare League of America, SWEC works with the regional homefinders to schedule pre-
service training for foster/adoptive and kinship/relative parents in each region. Locations
of training are prioritized based on need, but every effort is made to ensure the rural areas
of the state have access to training as well. Each region utilizes quarterly meetings with
the university in that region to identify training needs, challenges and opportunities to
ensure quality services are being provided to the foster/adoptive and kinship/relative
parents.

Foster parents are also required to complete 12 hours of additional in-service training
annually. This training is available statewide, as all schools offer in -service training to
foster parents. These modules build upon the competencies of the pre-service modules.
Department Homefinding staff in the regions is active partners in topic selection,
frequency, and location of course offerings.

The SWEC also continues to offer foster parent training on trauma as part of the in-service
training component. Additionally, foster parents are given the opportunity to attend
advanced in-service sessions, which vary from year-to-year, depending upon the needs
identified by regional Homefinding staff. Topics may include Advanced Discipline,

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Psychotropic Medications, Sexually Reactive Children, etc.           Both in-service and
advanced in-service training are offered in a group setting.

An online training calendar for both pre-service and in-service training is maintained on a
website for foster parents maintained by Concord University (www.wvfact.com). The
training schedules are also on the Department’s website as well.

   To enhance the social work workforce, SWEC recruits and provides educational
    stipends to qualified students who plan to work in public sector child welfare. These
    stipends are available for both undergraduate and graduate level course work. Two
    of the universities have developed a special Field Instruction manual for Departmental
    supervisors. Modeled along the lines of the Supervisor Resource Guide, it provides
    structured work activities for all field placement students placed in child welfare
    placements.

VII. Expand Technology-Based Training
Web-based training is a beneficial way to introduce staff to new concepts that can be
reinforced in the classroom with skill-based training. The technology assistant is
establishing a plan for regular, required maintenance and management of Blackboard
and other online courses for the Division of Training. The courses will be maintained and
managed when course alterations are received from appropriate persons that determine
the requirement for updates and course renewals to optimize learning through
technology-based courses. The technology assistant is scheduled to complete required
training to create and maintain a website and online calendar for the Division of Training
and will post approved information to that site.

VIII. Develop a Multiple Level Evaluation Process for Child Welfare Training

Evaluation activities have been modestly expanded as part of Achieving Safety,
Permanency and Wellbeing for WV’s Children to assess the transfer of learning, to
address long-term retention needs, and to reinforce practice skills acquired in training.
Formative evaluation of the course content is ongoing.

Evaluation of transfer of learning has been delayed from what was originally anticipated
but is planned for the coming year as the Division prepares to assess trainee satisfaction
and skill post-caseload acquisition (greater than six months after completion of training).

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The Division also plans to assess supervisor satisfaction with trainee transfer of learning
and their satisfaction with the Supervisor Resource Guide.

2016 Update

Overview of West Virginia’s Training System

West Virginia operates a statewide Training System that is responsible for oversight,
coordination, and delivery of training for BCF employees and foster parents across the
state. This includes pre-service training and in-service training for new staff; professional
development training for tenured staff; supervisory and management training; and pre-
service and in-service training for potential, new and tenured foster parents and kinship
homes. This training is overseen and coordinated by the BCF Division of Training through
the Central Office at the Diamond Building in Charleston, West Virginia, with staff trainers
out-stationed across the state for provision of training activities for BCF staff and staff
who are contracted to perform BCF casework activities (such as Youth Services
contracted staff, who have the same training requirements). The West Virginia Social
Work Education Consortium works closely with the Division of Training to provide
designated training sessions for new and tenured workers under the Training Plan and
all foster and kinship home training, which is provided under their Title IVE training
contracts.

Changes in the Last Year

West Virginia’s training system has seen substantial changes in the past year. In early
2015, the West Virginia Legislature passed SB559, allowing DHHR to hire employees
who do not have a degree related to social work into positions requiring a social work
license and substituting the DHHR Training Plan for the training required by the West
Virginia Board of Social Work for social workers with a regular provisional license. This
new license type is referred to as a “restricted provisional license.” During the Legislative
rule-making process the BCF Training Plan was attached to the Legislative Rule, making
the components of the Training Plan required by law. The major substantive changes
required by the new law are the requirements for mandatory pre-service training (no
caseload assignments), a New Worker Competency Test that must be passed at the end
of pre-service training before assuming a caseload and required training for each of four
years for staff with a restricted license that must be taken as a condition of licensure.


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As a result, West Virginia’s training system has been systematically reviewed and
modified to be incompliance with the new law. New training schedules were developed
that follow the SB559 Training Plan, and procedures put in place to implement the new
competency test. Written policies and procedures were developed in response to the
Legislative Rule that outline the requirements for pre-service training (prior to assuming
a caseload) and in-service training (after assuming a caseload, within the first year of
employment) for all new workers, and ongoing training for workers holding the new
“restricted” social work license for three additional years. Supervisors and managers
were notified of the now mandatory pre-service training requirement and had to sign a
form documenting that they had received and understood the requirements. Curriculum
was reviewed and revised to follow the plan. The Title IVB/IVE Training Plan was also
revised to follow the plan and the new schedules.

In the last year, the Division of Training made several additional changes to its training
plans. The Division of Training, in conjunction with providers across the state, provided
training related to the roll out of Safe at Home West Virginia, with nine hours of mandatory
wraparound training and six hours of CANS training for all staff in districts as the roll out
Safe at Home. As of May 2016, 559 CW staff were provided WV CANS training and 334
were provided WV Safe at Home training. Changes to Youth Services training
requirements were made as well with the passage of SB393 around juvenile justice
reform. All Youth Services staff must be trained and certified on the YLS/CMI
assessment, and additional procedures are will go into effect in July 2016 related to
truancy diversion. The Division of Training is tracking training and certification
requirements for the CANS for all child welfare staff, and the YLS/CMI for all Youth
Services staff, and both are now included in the training plans for those program areas.
Trauma training was also added as a requirement for all staff and foster care providers.
For child welfare staff, all new workers are required to complete nine hours of trauma
training as part of their in-service training requirements, and all foster parents are required
to complete nine hours of trauma training in the first year as a foster parent. Training will
be tracked and reported annually for the completion of Trauma training for staff and foster
care providers.

A list of courses, course length, target audience and projected numbers of staff to be
trained, and course syllabi (including all university trainings) are provided in the BCF Title
IVB/IVE Training Plan (separate document).


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2017 Update

West Virginia developed a survey to gather data relating to pre-service training and in-
service training from a sample of foster parents statewide. The survey was developed to
determine if foster parents believe the training was effectiveness in preparing them for
placement. This survey will also gather data relating to the number of foster parents who
have completed the entire module of pre-service training as well as those who have
participate in the 12 hours of annual in-service training.

Initial Staff Training: Systemic Functioning

Pre-service Training

Initial staff training begins on the first day of employment in the worker’s local office.
Onboarding activities are conducted by the local office and Division of Training staff. New
workers are immediately placed into the first available training class based on their job
function, usually occurring within one to three weeks of hire. A total of 20 new worker
classes, or one to two classes per month, are starting this year alternating between north
and south. The number of classes provided during the year is based on the number of
new workers trained in the previous year, and scheduled start dates are determined
annually for the next calendar year each October.

From the first day of employment to the first day of classroom training, new workers
receive an orientation to the agency and the local office and complete 13 hours of online
training in the Blackboard learning management system (LMS). Once classroom training
begins the new worker completes 220 hours of classroom, blended, and online training
and transfer of learning activities over the course of the next 11 weeks, following the
training outlined in the Training Plan. In general workers attend two weeks of classroom
training at 24 hours per week followed by one week of structured and unstructured
transfer of learning in their local offices, such as shadowing workers on visits. Supervisors
receive a transfer of learning handbook that reviews the information learned in class and
provides a list of transfers of learning activities that is based on the classroom and online
content for that training period. During each training round workers are tracked for
completion of all the required training and must complete 95% of the required training
before being certified to take the New Worker Competency Test. A total of 240 new
workers completed pre-service training in 2015.


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The New Worker Competency Test is taken during the 12th week of the training round,
immediately following the 11 weeks of training and transfer of learning in the round, and
the worker must pass each component of the competency test with a score of 80% or
greater before being assigned a caseload. Components of the test include a written
knowledge exam, two simulated interviews (one child and one adult), and a decision-
making/documentation assessment. The competency test was implemented on January
1, 2016, and since that time a total of 53 new workers have taken the competency test,
with 46 passing all components of the test on the first attempt. Workers who do not pass
one or more components are provided with feedback on what they can do to improve with
their supervisors. Workers must pass all components of the test in three attempts or must
go back through new worker training. The worker, supervisor, Community Services
Manager, and Regional Director are provided with the results of the competency test
within three work days of its completion.

Pre-service training must be completed within the first six months of employment, and
attendance/completion is tracked through daily sign-in sheets and Blackboard LMS
reports as well as documentation in the training section of the SACWIS system. Workers
are evaluated on progress after each two weeks of training, with results reported to the
supervisor and CSM. Workers also complete evaluations on the training they receive
after each two weeks of training, and the results are compiled, distributed, and used to
make improvements to the training or the trainer’s performance.

2018 Update

Child Welfare pre-service training, consisting of 220 hours taken over nine weeks, was
provided to 236 new Child Welfare workers in 2017 including 129 CPS, 68 Youth
Services, 20 Contracted Youth Services, 11 Centralized Intake, 5 Adoption, and 1 Home-
Finder in 2017. The following demonstrates the functioning of BCF initial staff training:

   Month      # Training      # New       Weeks          Hours           Hours          Total
                Rounds       Workers    Classroom      Classroom         Online        Training
                Starting     Starting    Training       Training        Training        Hours
               in Month      Training    (all active    (all active      (all active   (all active
                                          rounds)        rounds)          rounds)       rounds)
 January          2            22          28.4            706              28            734
 February         2            20          26.5            604              32            636
 March            2            21          36.5            850              32            882
 April            2            22           36             834              34            868
 May              2            13           36             830              40            870
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 June            2           22           23.5         534           30           564
 July            1           7             31          723           21           744
 August          2           32          31.25         727           23           750
 September       2           29            24          576           34           610
 October         1           11            13          312           16           328
 November        2           23          32.75         750           38           788
 December        1           14           30.4         693           27           720
 Yearly          21         236          349.3        8,139          355         8,494
 Total CW      Rounds      Workers       Weeks        Hours         Hours        Hours
 Training

    Portions of pre-service training were provided to 11 workers that switched to a
     restricted license in 2017 and had to complete additional required training, bringing
     the number who received all or part of pre-service training to 247.
    113 workers out of 236 new workers had a restricted social work license, or 48%.
     Of those with a restricted license, 51 or 45% had a degree that was unrelated to
     social work. Of the total 236 new workers, 21.6% had a degree that was unrelated
     to social work.
    The average number of days between the first day of employment and the first day
     of classroom training was 19.29 days or 2.76 weeks. The average number of days
     between the first day of classroom training and the last day of classroom training
     was 75.76 days or 10.84 weeks. The average number of days between the first
     day of employment and the last day of training was 95.15 days or 13.59 weeks.
    Of 236 workers trained in 2017, 8 (3%) left the agency before completing training
     and/or competency testing. Of those, 4 (50%) had a restricted license. All 4 with
     a restricted license (100%) had a degree that was related to social work.
    100% of new workers completed pre-service training and competency testing
     within six months of employment.
    New workers are required to take and pass a competency test at the end of their
     new worker pre-service training. Of all the workers who completed the
     competency test in 2017, 90.2% passed on the first attempt, 9.2% passed on the
     second attempt, and .6% passed on the third attempt. 100% of workers who tested
     passed within three attempts.

In the next year the Division of Training plans to further refine its competency testing
process and implement a process to compile and report class evaluation data.
Evaluations are completed on every class trained by the Division of Training and reviewed

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individually by the Program Managers, but the data has not been consistently compiled
into a format to see trends over time that can be used for continuous quality improvement.

Ongoing Staff Training: Systemic Functioning
Ongoing training is divided into three components: in-service training, professional
development training, and supervisory training.

In-Service Training

The in-service training period begins immediately upon successful completion of pre-
service training and the competency test and continues for the first year of employment.
It consists of a combination of classroom, blended, and online learning that expands on
the information learned in pre-service training. Workers who hold a restricted or regular
provisional license must take 100 hours of in-service training in the first year of
employment. Workers with a BSW, MSW, or regular license are exempted from 30 of
those hours and so must complete 70 hours of training.

While in-service training has always been a requirement for BCF staff, completion rates
for in-service training have been an issue in the past. Completion rates have ranged from
30% to 40% for most classes, with rates being even lower for some. The passage of
SB559 has placed additional emphasis on in-service training since completion of the
training is a requirement for continued licensure for workers with a restricted provisional
license. The Division of Training has put procedures in place to ensure that all new
workers complete 100% of their required in-service training within the first year of
employment, including pre-registering them for the required classes and sending out
prompts to attend. Workers are encouraged to complete their in-service training as soon
after completing pre-service training as possible because they have a graduated caseload
assignment for the first two months, defined as the assignment of one to two cases per
week until a full caseload is reached.

Professional Development Training and Provider Training

Professional development training is any training provided to tenured staff after the first
year of employment that addresses the skill and knowledge needed to carry out their job
duties. The baseline requirement for licensed staff is completion of 20 hours of training
per year, which is required to maintain social work licensure. The amount of required
training could be higher based on BCF’s current initiatives; for example, in the past year

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staff was required to attend 9 hours of training on Safe at Home and 6 hours of training
on the CANS assessment, for a total of 15 additional hours of training. Staff were also
required to take training and obtain certification in the YLS/CMI. As of May 2016, 194
Youth Services staff completed YLS/CMI training and 63 have completed and passed
certification testing. Both the WV CANS and YLS/CMI requires recertification which will
be tracked and reported by the Division of Training. In addition, staff with restricted
licenses is now required to complete an additional 60 hours of training per year for years
2, 3, and 4 of employment as a condition of maintaining social work licensure through
SB559.

While the Division of Training does a very good job at tracking pre-service training,
tracking methods for professional development training must be improved to ensure
accuracy of those numbers. This will become even more important in the next year as
West Virginia continues to implement SB559 requirements. West Virginia’s SACWIS
system keeps individual training records based on training enrollment and attendance,
but databases must be developed to track the total number of hours of training each staff
person completed to ensure he/she met the training requirement. This data can be
tracked and reported to demonstrate the effectiveness of the training program to the
Legislature and in the APSR.

Supervisor and Manager Training

The BCF Division of Training provides and facilitates training for child welfare supervisors,
along with training required by the WVDHHR Office of Employee Development and the
West Virginia Division of Personnel Office of Organization and Human Resource
Development (DOP). The Division of Training focuses on program specific training for
child welfare supervisors. New supervisors are required to take three weeks or nine days
of new supervisor training within their first year as a supervisor. The curriculum used for
this training is “Putting the Pieces Together,” based on curriculum developed by the
National Resource Center for Organizational Improvement that has been adapted to West
Virginia.     This training covers Administrative Supervision (management and
organizational theories; power; transitioning from worker to supervisor; supervisor as
advocate, change agent, data analyst, recruiter, and performance monitor); Educational
Supervision (adult learning; staff ability vs. performance; stages of worker development;
balancing compliance with best practice; constructive feedback; coaching); and
Supportive Supervision (supervisor as motivator, counselor, team leader, conflict

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manager). The Division of Training tracks attendance at this training but although the
training is mandatory, attendance has been sporadic. In the past year, 50 supervisors
attended and completed this training, however, 84 supervisors were enrolled. The
Division of Training plans to put procedures in place in the next year to ensure that all
new supervisors take this training within the first year of their positions.

Along with program specific training, the DHHR Office of Employee Development requires
supervisors to attend a week-long “management boot camp” that covers a variety of
management and supervision topics. Their office tracks employees for compliance with
the policy. The DOP requires supervisors to take 36 hours of training in their first 12
months on topics such as performance appraisal and supervising for success, then an
additional 24 hours of training in the next 24 months including topics such as discipline
and documentation and conflict management. After the first three years’ supervisors are
required to take 12 hours of additional training per year. The DOP tracks compliance and
attendance with this policy.

2018 Update

The BCF Division of Training provided 228 in-service and professional development
trainings for staff between January 2017 and March 2018. This includes training provided
to staff who hold a social work license that is restricted to DHHR according to a training
plan that is outlined in WV Code. It also includes training on Human Trafficking and other
initiatives. The following chart shows the number of students, number of sessions, and
total hours of in-service and professional development training.

 Type of Training                                Number of    Number of      Total Hours
                                                  Students    Sessions       of Training
 In-Service Classroom Training: Year One            2,299        134             880
                                                  Students     Sessions      Total Hours
 In-Service Online Training: Year One               2,711         16            3,750
                                                  Students      Hours        Total Hours
 In-Service Classroom Training: RPL Year 2           454          23             138
                                                  Students     Sessions      Total Hours
 In-Service Online Training: RPL Year 2               41          6              246
                                                  Students      Hours        Total Hours
 In-Service Classroom Training: RPL Year 3            10          2              12
                                                  Students      Sessions     Total Hours
 Professional Development Classroom                  787          19             57
 Training                                         Students     Sessions      Total Hours
 Professional Development Online Training            726          2             1,452
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                                                  Students           Hours         Total Hours
 TOTALS                                             7,028        178 Sessions/        6,545
                                                  Students       24 Hrs Online       Hours
                                                  (duplicated)    (unduplicated)   (unduplicated)



The Division of Training made its first report to the Board of Social Work on the restricted
license training plan completion in July 2017. The report included 71 child welfare staff
who held a restricted license in between July 1, 2016 and June 30, 2017 and was on
completion of the first year of training out of the four-year training plan. The average
completion rate was 97.6%, including 71.6% who completed 100% of the required training
and 24.7% who completed between 80 and 100% of the required training. The training
plan includes 100 hours of in-service training within the first year, 60 hours the second
year, 60 hours the third year, and 60 hours the fourth year.

In 2016 and 2017 the Bureau for Children & Families worked with the Capacity Center for
States on workforce recruitment and retention because of the high volume of turnover in
the agency. In March 2017 the Bureau for Children & Families formed a Child Welfare
Supervisor Training Committee out of its Recruitment and Retention Initiative since
supervisor training was identified as one of the leading workforce retention factors for the
agency. The Supervisor Training Committee developed a new child welfare supervisor
training plan that outlines general management and program-specific supervisor training
and a work plan to implement it over the next year. New supervisors must complete the
training plan within their first 12 months of employment.

The Division of Training began providing child welfare-specific new supervisor training as
outlined in the training plan in June 2017, providing one three-module session in the
northern part of the state and one in the southern part of the state between June 2017
and November 2017. A total of 29 supervisors attended 54 hours of child welfare-specific
training each in 2017. Two new cohorts started training in February 2018. This training
will be offered four times per year each year on a set schedule and new supervisors will
be registered for the next session on their first day of employment as a supervisor by the
BCF On-boarder, who receives notifications of all new hires in BCF.

In the next year the Division of Training plans to focus efforts on making more training
available for tenured staff. In the past two years most efforts have been focused on
implementing the new licensing mandatory training plan that is now in the final stages of


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implementation, which will allow more time to spend on tenured staff, supervisor, and
management training.

The Division of Training currently gathers qualitative data around its training programs,
but more efficient methods for standardized reporting of this information must be
developed. The Division of Training holds a statewide Child Welfare Training Advisory
Council meeting quarterly to obtain feedback on training programs and to plan and
implement training program improvements, although these meetings have been
cancelled in recent months due to budget and travel issues. Participant evaluations are
done on each training session that is held, with the results summarized and entered into
a database and reported to the trainer and his/her supervisor. A formal tracking system
to compile data from all training evaluations to identify trends and areas of improvement
is being development. New curricula are reviewed and approved by stakeholders
including regional field staff, policy staff, and SACWIS system staff prior to the training
being conducted and when any changes or updates are made. A formal tracking and
reporting system for this information must be developed and maintained.
In the next year, the Division of Training will implement a system for tracking and reporting
the following information: in-service and professional development completion; qualitative
evaluation data; competency test results for workers and supervisors; provider training;
and training required by the new social work licensing requirements.

Foster Parent and Provider Training: Systemic Functioning

Foster parent training is currently provided by members of the West Virginia Social Work
Education Consortium, consisting of the six public accredited social work programs in the
state including West Virginia University, Marshall University, Concord University, West
Virginia State University, Shepard University, and West Liberty State University. The
schools pay for foster parent training under their IVE university training contracts.
Requirements for the number of training rounds, scheduling, and reporting are included
in the grant agreements with each university and are monitored through quarterly reports
from the universities.

West Virginia currently uses the PRIDE curriculum developed by the Child Welfare
League of America for foster parent pre-service training. All prospective and new foster
parents must attend 21 hours of pre-service training and a three-hour agency orientation
to be certified, although kinship families may be granted a waiver from the training. Each
school holds an average of six PRIDE rounds per year in their respective geographic
locations and works with the regional home finders to identify and enroll prospective foster
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parents in the training. Training records are turned in to the Division of Training for each
round, including sign-in sheets and participant evaluations. The schools track training
completion, and participants who complete the training are awarded certificates to
document completion that is kept in their home study records.

After certification foster parents must attend 12 hours of training each year to maintain
certification. Training is tracked by the regional home-finders as part of the recertification
process and records are maintained in the FACTS system. BCF contracts with Concord
University to provide in-service foster parent training across the state, and Concord
subcontracts with the other universities so the training can be provided locally for foster
parents. In the past year trauma training was added as a requirement for all foster parents
and Concord is in the process of scheduling and conducting trauma informed practice
training across the state. The curriculum is based on the National Child Traumatic Stress
Network trauma informed practice curriculum. Tracking of in-service training is done by
the regional home-finders who are responsible for recertification of the homes.

Because of the implementation of the New Worker Competency Test at the end of pre-
service training, which requires that workers pass the test prior to assuming a caseload,
completion scores for pre-service training within the first six months of employment have
been near 100%. In WVFY2016, the average amount of time between the first day of
employment and the first day of classroom training was three weeks. Since January 1,
2016, when the training schedule changed to accommodate SB559, all training rounds
and competency tests have been completed within 12 weeks of the first day of classroom
training. Therefore, since January 2016 there has been an average of 15 weeks between
the first day of employment and the first day of classroom training.

Training requirements for providers are outlined in their contracts with the state and are
monitored by Grants & Contracts. Contracted staff with casework responsibilities, such
as Youth Services contracted staff, is required to complete the same training and
competency test as workers who work for BCF. They are trained with the agency new
workers and their numbers are included in the data provided for new workers.

Ongoing Staff Training

The Division of Training requires completion of a class evaluation for each class/session
it trains, and the data is compiled at the State Office. In the last fiscal year, 88% of training


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participants rated their training as good or excellent on class evaluations for ongoing staff
training.

With the implementation of SB559 in-service training requirements for new workers have
increased substantially. This is due in part to the requirement that workers with a
provisional license that is restricted to DHHR must complete these requirements to
maintain their social work licenses. Since the new requirements were just implemented
in January 2016 and the SB559 Legislative Rule just went into effect on July 1, 2016,
complete data about this issue is not yet available but will be reported in next year’s
APSR.

In West Virginia child welfare workers are required to hold a social work license issued
by the West Virginia Board of Social Work. There are continuing education requirements
for each type of license issued by the Board ranging in 20 hours/2 years to 80 hours/2
years. A regular social work license requires 40 hours of CEUs every two years. These
continuing education requirements are in addition to any training provided by DHHR. If
workers fail to obtain the required number of CEUs in the specified time they will lose their
licenses and their positions with DHHR. These requirements are the same for DHHR
staff, contracted staff, and provider staff who hold a license.

Supervisory training is an area that needs to be improved. Supervisors are required by
West Virginia Division of Personnel Policy 18 to take 36 hours of supervisor/management
training in the first year of their positions and 12 hours each year after. However, in recent
months this training has not been provided often enough or in locations that are
accessible to supervisors without overnight travel. The Division of Training is working
with the Division of Personnel to make this training more available to supervisors, since
it is very good supervisor/manager training. The Division of Training will also begin
providing the nine hours of child welfare-specific supervisor training quarterly in the next
year with the requirement that all supervisors attend. Attendance will be monitored,
tracked, and reported.

Foster and Adoptive Parent Training

Foster and adoptive parent training is provided by the universities in the West Virginia
Social Work Education Consortium (SWEC) and requirements for this training are
specified and tracked in their Title IVE contracts with the state. Compliance is tracked
through quarterly reports that are submitted by each school. Contractual requirements

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include providing PRIDE training rounds across the state based on regionally identified
needs, schedule and attend quarterly regional foster parent planning meetings that
include all stakeholders, providing all relevant documentation of each training round to
the Regional Homefinders including the names of each person who completed the
training, providing certificates of attendance to each participant, making the training
schedules for each session available no less than two months prior to the start date and
publishing schedules to the public through the internet, developing an acceptable level of
competency for each training team, and obtaining written approval in advance prior to
making any changes to the curriculum.         Each school is also required to do class
evaluations for each session and they report results of these evaluations in their quarterly
reports. In FY2016, 62 rounds of PRIDE pre-service training were provided to 915
participants.

Foster and adoptive parents must complete their pre-service training prior to becoming
certified as a foster home and must complete 12 hours of continuing education each year
to maintain certification. The foster parent must provide documentation of this training to
maintain certification. Any foster parent that does not provide this documentation will lose
certification and will not be allowed to continue as a foster home. This information is
tracked and reported in FACTS by the Home-finding staff, which is responsible for
certification and recertification of foster homes. SWEC provides in-service training hours
free of charge that are open to both agency and private provider foster parents. In
FY2016, 131 in-service trainings were provided to 1,313 foster parents.

Private foster care agencies are required by contract to provide the same training as the
state, which is the CWLA PRIDE model. Any agency that wishes to provide training other
than PRIDE must have the curriculum reviewed and approved by the Division of Training.
Currently only one agency has received approval to provide a different curriculum that
has been reviewed to ensure that the content is the same. Private agencies may also
choose to send their foster parents to the PRIDE training provided by SWEC at no cost
to them.

There is currently no method in place to track the number of agency/private foster parents
who should have been through the initial and ongoing training and the number who
completed the training. The Division of Training will develop and implement a tracking
methodology in the next year.

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BCF has been working with the Capacity Center for States on workforce recruitment and
retention because of the high volume of turnover in the agency. In March 2017, the
Bureau for Children & Families formed a Child Welfare Supervisor Training Committee
out of its Recruitment and Retention Initiative since supervisor training was identified as
one of the leading workforce retention factors for the agency. The Supervisor Training
Committee met in April 2017 to develop a new child welfare supervisor training plan and
a work plan to implement it over the next year. The committee decided that all new
supervisors must complete the training plan within their first 12 months of employment
and will begin providing the new supervisor training in June 2017 with the goal of training
all supervisors with less than one year of tenure by September 2017 then moving on to
the next group. The “Putting the Pieces Together” training curriculum will be used with
modifications to add information about trauma and reflective supervision. Implementation
of the supervisor training plan includes writing policy around expectations for supervisor
training, including best practice on how and when supervisor responsibilities are assigned
and an overview of federal requirements for staff and supervisor training.

The new supervisor training plan includes the following components:

 Activity                Time Frame               Explanation
 Kronos Time-            Within first 14          New supervisors must immediately
 Keeper Training         days                     become familiar with the process of
                                                  approving timesheets in the Kronos
                                                  system, effective immediately.

 FACTS Supervisor        Within first 14          BCF will develop and implement an
 Functions Training      days                     online class that reviews supervisory
                                                  functions in the FACTS SACWIS system.
                                                  This training will be implemented in
                                                  September 2017.

 WV Division of          Within first 30          BCF will require new supervisors to begin
 Personnel Policy 18     days                     the process of enrolling in required DOP
 Mandatory Class                                  classes within 30 days of employment,
 Enrollment                                       based on availability of the classes. BCF
                                                  Division of Training will conduct a short
                                                  survey on Survey Monkey on current
                                                  supervisor’s compliance with DOP
                                                  training and barriers to the training.

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 Assign Mentor          Within first 30            BCF will review, revise, and re-release its
                        days                       current policy on mentoring. Mentoring
                                                   assignments will be made outside of the
                                                   new supervisor’s district and will be
                                                   monitored by management.

 Develop a program      Within first 30            This training will be done by the Regional
 policy overview on     days.                      Program Managers with all new
 using policy to                                   supervisors. It will include information on
 supervise.                                        structure of unit meetings and all the
                                                   SOPs.

 Reflective             Within first 30            This training will be based on information
 Supervision            days                       received from Connecticut and includes a
                                                   form to document what occurred in
                                                   supervisor meetings with employees.
                                                   There will be a short Blackboard course
                                                   implemented by September 2017 and the
                                                   information will be integrated into the new
                                                   supervisor training.

 Overview of            Within first 90            This will be a pre-training activity to
 Administrative         days                       “Putting the Pieces Together, providing
 Rules and the BCF                                 an overview of administrative policy,
 Manager’s                                         where it’s located, and how to use it.
 Handbook

 Putting the Pieces     First module               This training consists of three-three-day
 Together               within first six           modules for a total of nine days and is
                        months, finish all         based on curriculum obtained from
                        three modules              Colorado. This training is specific to
                        within first year          supervising in child welfare. Additional
                                                   information on secondary trauma, using
                                                   data, and reflective supervision will be
                                                   added to the training. All supervisors
                                                   with less than one-year tenure will
                                                   receive this training between June and
                                                   December 2017. The training will be


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                                                   provided in the north and in the south in
                                                   Harrison and Kanawha.

 Resiliency              Within first year         This training will provide an overview of
 Alliance/Trauma                                   the Resiliency Alliance project on trauma
 Informed Care for                                 informed practice for child welfare
 Supervisors                                       workers, including information on dealing
                                                   with secondary trauma.

 Ongoing training        Each year                 Supervisors will be required to take 12
                                                   hours of program-specific supervisor
                                                   training each year, with training
                                                   completion tracked in an online Access
                                                   database that can be viewed by
                                                   supervisors and management staff.

 Intranet website for    As needed                 BCF plans to set up an intranet page with
 new supervisors                                   resources and information for new
                                                   supervisors, including links to important
                                                   policies and information, a section on
                                                   how to have effective consultation
                                                   meetings with workers, and short training
                                                   videos on relevant topics.



All components of the Child Welfare Supervisor Training Plan will be implemented by
December 2017, with initial data to be reported in the 2018 APSR.

Since the submission of the Systemic Factors report in January 2017 the West Virginia
Social Work Education Consortium has developed a process to aggregate data on foster
parent training from each of the six participating universities and a process to report to
BCF quarterly. The SWEC universities collect a large volume of data for each of their
respective programs but previously did not put all the information into one format and one
report.

Each SWEC school provided training for new foster and adoptive parents through
preservice modules, modules on trauma, and in-service modules designed for existing or
continuing foster parents. The preservice is evidenced-based utilizing a Child Welfare

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League of America, hybrid training. The schools delivered 61 sessions of preservice
training, with 1,148 starters and 1,025 finishers. The training was evaluated after each
session using a 10-point Likert scale, with 10 being the most positive score. The
aggregate statewide mode for the training was over 9. Qualitative comments were almost
uniformly positive, with the most frequent comments being, “the training was more helpful
than I thought” and “I wish I had this training for my own kids”. Negative comments
centered on facilities in which the training was held. In addition to preservice training and
in concert with Training, the schools offered trauma training modules throughout the state.
Each school offered at least three trauma sessions at each of the three levels of trauma
training. Building on the preservice and trauma training, foster parents attend in-service
training based on their needs as assessed by the home finding specialist and the family
development plan. The schools scheduled 79 sessions, with 68 sessions held. In addition
to quantitative and qualitative continuous assessments, biannual surveys of foster
parents were administered to assess the perception of foster parents of the efficacy of
training longitudinally. In summary, the surveys found that after one and three years, the
relevancy of the training mirrored the results of the training assessment immediately
following the training. Furthermore, the surveys assessed what the foster parents
perceived as content they needed to better address the needs of the foster children in
their care. This data is juxtaposed with surveys of home finding specialists to assess gaps
in needed content to more comprehensively discern future advanced in-service training.

The 2016 outcome data in the three expressed areas serve as a working beginning
baseline relative to the continuing improvements corresponding to reliability and utility.
The data and process will continually be assessed during the coming year to be consistent
with the changing training needs and resultant training plans.

2018 Update

The majority of foster parent training in West Virginia is provided by the member schools
of the West Virginia Social Work Education Consortium (SWEC). Each SWEC school
provides training for new foster and adoptive parents through preservice modules,
modules on trauma, and in-service modules designed for existing or continuing foster
parents. The preservice training is evidenced-based, utilizing a Child Welfare League of
America PRIDE hybrid model. In 2016/2017 there were 71 Pre-Service rounds consisting
of seven sessions each for a total of 504 sessions provided across the state. An additional
41 rounds (287 sessions) were conducted in the first two quarters of this year. A total of

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1,390 participants completed in 2016/2017 with an additional 874 completing in the first
two quarters of this year. The schools also offer advanced Level II and Level III training
to the foster/adoptive parents. In 2016/2017 there were 162 advanced trainings held with
2,133 participants. For the first two quarters of this year there have been 94 advanced
trainings held with 1,237 participants.

In 2017 the Bureau for Children & Families conducted a survey of all foster parents to
determine the effectiveness of the training they received. The survey had a 21%
response rate. Results of the survey showed that 91% of foster parents surveyed thought
that training was an effective tool for fostering children; of those, 28% said it was a highly
effective tool. 93% of the foster parents that completed the survey received PRIDE
training; and of those 96% completed amount of training required by policy. 86% said the
training was effective in preparing for fostering children and 83% said it was effective in
preparing the foster parents to handle acting out behavior. 92% said the training was
effective in teaching about the DHHR discipline policy.

Since the submission of the Systemic Factors report in January 2017 the West Virginia
Social Work Education Consortium has developed a process to aggregate evaluation
data on foster parent training from each of the six participating universities and a process
to report to BCF quarterly. The SWEC universities collect a large volume of data for each
of their respective programs but previously did not put all the information into one format
and one report. Preservice training is evaluated after each session using a 10-point Likert
scale, with 10 being the most positive score. The aggregate statewide mode for the
training was over 9. Qualitative comments were almost uniformly positive, with the most
frequent comments being, “the training was more helpful than I thought” and “I wish I had
this training for my own kids”. Negative comments centered on facilities in which the
training was held.

In addition to quantitative and qualitative continuous assessments, biannual surveys of
foster parents were administered to assess the perception of foster parents of the efficacy
of training longitudinally. In sum, the surveys found that after one and three years, the
relevancy of the training mirrored the results of the training assessment immediately
following the training. Furthermore, the surveys assessed what the foster parents
perceived as content they needed to better address the needs of the foster children in
their care. This data is juxtaposed with surveys of home finding specialists to assess gaps
in needed content to more comprehensively discern future advanced in-service training.

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In the next year the Division of Training Plans to implement a monthly reporting process
for SWEC and the foster care provider agencies to more closely track the number of foster
parents that are starting and finishing training to assist with identifying recruitment needs
and more closely coordinate provider and SWEC training together.

Quality Assurance System

West Virginia Department of Health and Human Resources Bureau for Children and
Families (BCF) have a developed Quality Assurance System. The review system
evaluates social services case activities and decisions in the following program areas:

             Intake Assessments
             Social Services case reviews (includes child protective services and youth
                      services)
            Child Fatality reviews
The data from the review process is used to guide State planning and development efforts
to improve the quality of services to children and families. The State utilizes the data from
the social service reviews to develop and monitor items within the State’s Child and
Family Service Plan. The annual plan utilizes CFSR style case review data in conjunction
with the State’s data profile (contextual data report), and data from the State’s COGNOS
and “FREDI” systems in the development, planning and monitoring of CFSP goals and
other Statewide Initiatives. Goals are modified based on the available data. Additionally,
the social services case reviews track prevalence of substance abuse and domestic
violence in the case review sampling for use in the development of services.

West Virginia has designated staff for the purpose of providing quality assurance. The
Division of Planning and Quality Improvement is under the umbrella of the Office for
Planning and Research and Evaluation. The Division of Planning and Quality
Improvement includes a Director of Planning and Quality Improvement, three Program
Managers, and nine reviewers (Health and Human Resource Specialists Senior).

Social Services CFSR style reviews:

The Division of Planning and Quality Improvement (DPQI) utilizes Child and Family
Service (CFSR) style reviews to evaluate case practice with children and families.
Utilizing the Federal Children and Family Services Review process allows for the
continuous measurement of the State’s performance in the areas of safety, permanency,
and well-being.


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The Division of Planning and Quality Improvement, Social Services Review Unit,
completes biennial Child and Family Services Reviews (CFSR) style reviews for each of
the West Virginia Department of Health and Human Resource’s districts. The Division of
Planning and Quality Improvement (DPQI) continues its efforts to further enhance the
State’s performance in the areas of safety, permanency, and well-being by utilizing the
Federal Child and Family Services Review (CFSR) process as a model to measure and
evaluate the State’s performance for the above-mentioned areas.

The CFSR review instrument (OSRI) is and will continue to be the unit’s primary internal
tool for evaluating the quality of service delivery to children and families. Each reviewed
case must follow the guidelines established by the Federal Bureau for Children and
Families.

The CFSR style review provides meaningful data to the districts to assist them in
improving services to children and families. All cases reviewed are completed by pairs of
reviewers, per federal guidelines. In addition to completing a review of the paper record
and FACTS, client and stakeholder interviews are conducted for each case reviewed.

After completion of the CFSR style reviews, exit conferences are held at the district offices
where DPQI Staff assist the district in interpreting the results of the review. At the exit
conference, the data indicators, based on the 18 items reviewed, are discussed with the
District. The District is also provided with a comparison chart from their prior review. At
this time, an exit interview is conducted by DPQI staff with the District’s Management
staff. Following the exit with the District Management Team and DPQI staff, DPQI
completes a comprehensive report on the results of the review. The exit summary report
is provided to the District for review and comments. Districts complete a corrective action
plan based on the identified areas needing improvement outlined in the exit summary.
DPQI compiles the exit summary, data and corrective action plan for each district and
distributes the findings to the District’s Management staff, the Regional Program
Manager, Regional Director, Director of Training, Policy Program Specialists and the
Executive Team.

West Virginia’s Division of Planning and Quality Improvement includes in their District exit
summaries a means for the District’s staff to outline the services commonly needed to
address the needs of the person(s) being served. Additionally, Districts are asked to
identify which services are not available or accessible. DPQI provides this information to
the Director of Children and Adult Services and the Program Manager for Community
Partnerships for the identification of service needs and development of services.



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During the last fiscal year, WV requested the Administration for Children and Families
(ACF) to provide technical assistance to assure that DPQI was applying the new
instrument correctly. ACF along with JBS International Incorporated visited in April, 2015
and provided technical assistance. This assistance was very helpful and clarified many
questions DPQI had concerning the instrument. WV will continue to rely on ACF for
further    clarification during   the   CFSR      process.        Additional    technical
assistance/consultation will be needed for the implementation of the revised statewide
assessment process for CFSR round three. Technical assistance/consultation may be
needed regarding the development of West Virginia’s continuous quality improvement
site on the JBS web-based site.

Results of CFSR style case reviews are indicated below.


     Performance Indicator FFY 2013 - FFY 2014Comparison                 FFY       FFY
                                                                         2013      2014
 Item 1: Timeliness of initiating investigations of reports of
 maltreatment                                                            53.8%    53.7%
 Item 2: Repeat maltreatment                                             94.2%    90.9%
 Item 3: Services to family to protect child(ren) in home and prevent
 removal                                                                 69.2%    61.7%
 Item 4: Risk of harm to child(ren)                                      50.0%    32.3%
 Item 5: Foster care re-entries                                          93.7%    91.1%
 Item 6: Stability of foster care placement                              77.2%    74.7%
 Item 7: Permanency goal for child                                       61.0%    64.9%
 Item 8: Reunification, guardianship, or permanent placement with
 relatives                                                               76.2%    69.7%
 Item 9: Adoption                                                        69.6%    82.9%
 Item 10: Permanency goal of other planned permanent living
 arrangement                                                            92.9%     66.7%
 Item 11: Proximity of foster care placement                            100.0%    98.5%
 Item 12: Placement with siblings                                       98.2%     95.5%
 Item 13: Visiting with parents and siblings in foster care             94.1%     94.4%
 Item 14: Preserving connections                                        96.0%     97.3%
 Item 15: Relative placement                                            94.9%     92.2%
 Item 16: Relationship of child in care with parents                    82.7%     82.8%

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 Item 17A: Needs and services of child                                   84.6%     69.4%
 Item 17B: Needs and services of parents                                 69.0%     56.8%
 Item 17C: Needs and services of foster parents                          82.1%     81.6%
 Item 17: Needs and services of child, parents, foster parents           61.5%     52.4%
 Item 18: Child and family involvement in case planning                  79.2%     67.5%
 Item 19: Worker visits with child                                       61.5%     46.8%
 Item 20: Worker visits with parents                                     37.4%     22.6%
 Item 21: Educational needs of the child                                 92.9%     86.4%
 Item 22: Physical health of the child                                   92.7%     90.4%
 Item 23: Mental health of the child                                     83.9%     82.7%

BCF has established a separate internal child fatality review committee to review all child
deaths due to child abuse and neglect and near child fatalities. Cases are reviewed by a
member of DPQI in conjunction with representatives from Field and Policy. The results
are reviewed by an internal review team for recommendations.

The objective is for the team to learn from these deaths in order to prevent similar deaths
in the future. The team develops recommendations for modification of internal
procedures, policies or programs of the Bureau for Children and Families; identifies
programmatic or operational issues that point to the need for additional internal training
or technical assistance; develops recommendations for external stakeholders to assist in
the effort to reduce or eliminate future child fatalities through improved services to
children and families; and identify community resources for children and families that
are needed but are currently unavailable or inaccessible.

A comprehensive report is developed at the end of the Fiscal Year by BCF’s Division of
Research and Analysis and Division of Policy. The report is made available to the WV
Legislature and other stakeholders. The results of the reviews were utilized in the
development of the CFSP, and monitoring through the APSR.

WV has established a centralized intake system. DPQI is responsible for the sampling
and review of intake assessments. DPQI provides ongoing feedback to the Director of
Centralized Intake and the Training staff assigned to the unit. The results of the intake
assessment reviews are used to improve fidelity to the Safety Assessment and
Management System and the uniformity in screening decisions. Currently, the
Centralized Intake unit has established uniformity in its screening decisions and thus the
acceptance rate is consistent Statewide.

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West Virginia will be using COGNOS data. This is a developed, current report, real-time,
already available. It measures number of hours to face-to-face contact with the identified
victim.

The Statewide data, from case review and child fatality reviews indicated a need for
improvement in the development of safety plans, as indicated in the CFSP. Data suggests
a 7% improvement in the completion of safety plans from FFY 2013 to FFY 2014.

WV continues to utilize the COGNOS data to ensure continuous quality improvement
related to the timely completion of Family Functioning Assessments, time to first contact,
open referrals over 30 days, caseworker visits with children in placement, and NYTD.

 WV has continued to utilize the Quality Councils as part of its CQI process. CQI is a
management concept built upon employee empowerment which promotes increased
efficiency, higher levels of professionalism, and enhanced job satisfaction. CQI is different
from traditional quality assurance in that the focus is self-directed, self-determined change
rather than change imposed by an external entity. To implement this process and provide
a continuous information flow, the Bureau for Children and Families has established a
statewide Quality Improvement Council system. This system consists of three council
levels: Local, Regional and State.

The Local Level Quality Improvement Council (QIC) is used to improve processes and
systems within the districts and to make recommendations for improvements to the
Regional and Statewide Quality Improvement Councils. The Local (District) Level
councils are comprised of representatives from Economic Services, WV Works, Adult
Services, Children Services, Operations staff, and Administration. The program groups
will be facilitated by the Regional Program Managers or a designated Community Service
Manager. The Local Level QIC’s utilize relevant data to make informed decisions
regarding case practice. The Local Level QIC also reviews their District’s Program
Improvement Plans (PIP) that was developed based on the findings of the District’s Social
Services review. Progress is reported to the council as well as barriers to achieving the
goals of the plan. Improvements are measured based on relevant data such as
COGNOS, FREDI, dashboards, and case review data. The results are documented on
the program improvement plan quarterly summary and forwarded to DPQI and the
Regional QIC.

The local councils also provide a means for the district to self-monitor the Quality Council
Activity Summary and report on progress or adjust the plans to improve services to
families and children. This allows the districts to focus on issues relevant to them while


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remaining focused on key national standards and measurements that impact the State as
a whole.

During the last year, the Local and Regional Quality Councils have dealt with many
issues. Many involved the flow of work, which were resolved at the lowest level. Each
Council reviewed and monitored targeted data, identified by the DPQI reviews and
COGNOS reports as areas needing improvement. At the local and regional level plans
were put into place to improve the indicators of face to face contact with parents and time
to first contact. As a result, there has been an improvement in the time to first contact
and a slight increase in face to face contact with parents.

Issues which rose to the level of the State Quality Council in the past year tended to be
more systemic. Examples of these issues are:

   •      Formatting of forms is too difficult and entering data is time consuming for
          workers. As a result, the State Team assigned a group to redesign forms so
          that entering data would be simplified.
   •      The length of time to get new staff hired is too long. As a result, the
          Commissioner worked with the Director of Personnel and staff to rectify the
          situation. The length of time was shortened.
   •      New worker training needs to be shortened. As a result, the new worker
          training was redeveloped to include more online training and on-the-job training
          with shadowing and mentoring.
   •      It is difficult to hire staff qualifying for Child Protective Services or Youth
          Services jobs due to the current law requiring a Social Work license. As a
          result, DHHR worked with the legislature to pass a bill this past session which
          would reinstate those who had previously had a temporary Social Work license
          and expand the field of candidates with qualifying degrees to obtain a
          temporary Social Work license. The intent of this legislation is to assist the
          Bureau in recruiting more staff and negate the problem of recurrent vacancies.

All the Quality Councils at each level provide a feedback loop. Each Council is comprised
of peer representation who then takes the information back to staff in each local site. At
the Regional level, representatives from the local councils meet to discuss issues that
have arisen from the local level which cannot be resolved there. Feedback is given to
each staff member via of minutes of the Council. The State level provides feedback to
each Regional Director, who is a member of the State Council. Each is provided with a
spreadsheet with the issues and results. This is shared with all staff. In addition, minutes
of the meeting are provided to all staff.


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West Virginia will continue to improve its already existing Continuous Quality
Improvement Councils to include the use of a broader set of data including data from
external sources.

West Virginia Is in the process of developing a Web site to allow for data sharing with
stakeholders.

West Virginia continues to improve its already existing CFSR style case reviews in
preparation for round three of the CFSR. DPQI has developed a policy and procedures
manual to ensure the case review process is accurate and consistent. DPQI has made
revisions to the existing training manual to adhere to the requirements outlined for
CFSR round three. DPQI with assistance from the Division of Training has established
a training plan for new reviewers.

West Virginia has created a Data Subcommittee to review data and develop strategies
related to the resolution of the data quality issues. The committee also identified other
data needs for the improvement in case practice. Additionally, the committee has
reviewed existing data sources to determine relevance and usefulness.

Goals for Improvement:

Goal 1

West Virginia will begin to incorporate a variety of sources of data, including input from
partners/stakeholders to provide a complete picture and fuller understanding of trends
and practices in the child welfare system.

Tasks:

   1. Data subcommittee will identify available external data sources and determines
      its application in the overall CQI process.
      Measurement of completion for the utilization of stakeholder data will be
      documented in the Continuous Quality Improvement Council’s minutes. This item
      will be completed by September 30, 2016.
   2. Data subcommittee will develop a statewide communication plan for sharing and
      distribution of data for CQI processes. This item will be completed by September
      30, 2016.
   3. The Director of Planning and Quality Improvement will communicate with
      external stakeholders to begin to process of data sharing. This item will be
      completed September 30, 2017.

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   4. West Virginia will expand it focus groups to gain input from various stakeholders.
      Data from the Focus Groups will be incorporated into State’s initiatives for
      improvements in child welfare. This item will be initiated by September 30, 2016.

Goal 2

West Virginia will continue to improve its already existing Continuous Quality
Improvement Councils to include a more comprehensive use of internal and external data
to make improvement in child welfare practices.

Tasks:

      1. Local/District councils will report out the progress or changes to the DPQI
         CAPS. The Regional Continuous Quality Improvement Council will review
         Districts monitoring of CAPS and provide the Districts with feedback to
         assistance them in improving child welfare practices. Quarterly updates will be
         provided to the Deputy Commissioner of Field Operations, Regional Director,
         Director of Social Services for Field Operation and the Director of Planning and
         Quality Improvement. This item will be initiated by September 30, 2016.

      2. Improve utilization of ASO data in the make improvements in the interactions
         between Districts and service providers to enhance the quality of services to
         children and families, through the dissemination and analysis of ASO data to
         the District councils. The measure of completion will be the documentation of
         the utilization of the ASO data in the Quality Improvement Council minutes.
         This item will be initiated by September 30, 2017.

2016 Update

Social Services CFSR style reviews:

The Division of Planning and Quality Improvement (DPQI) utilizes the case review
process set forth by the US Department of Health and Human Services administration for
Children and Families for the continuous measurement of the State’s performance in the
areas of safety, permanency, and well-being. Furthermore, review data is used at the
district level to evaluate case practice and assist districts in making improvements in the
provision of services to children and families.

DPQI completes biennial reviews for each of the West Virginia Department of Health and
Human Resource’s districts. The CFSR review instrument (On Site Review Instrument,
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2014) is and will continue to be the unit’s primary internal tool for evaluating the quality of
service delivery to children and families. All cases reviewed are completed by pairs of
reviewers, per federal guidelines. In addition to completing a review of the paper record
and FACTS, client and stakeholder interviews are conducted for each case reviewed.

After completion of the CFSR style reviews, exit conferences are held at the district offices
with the management. DPQI Staff assist the district in interpreting the results of the
review. At the exit conference, the data indicators, based on the 18 items reviewed, are
discussed with the District. The District is also provided with a comparison chart from
their prior review. At this time, an exit interview is conducted by DPQI staff with the
District’s Management staff, to gather additional information on the functioning of the
districts. Following the exit with the District Management Team and DPQI staff, DPQI
completes a comprehensive report on the results of the review. The exit summary report
is provided to the District for review and comments. Districts complete a corrective action
plan based on the identified areas needing improvement outlined in the exit summary.
DPQI compiles the exit summary, data and corrective action plan for each district and
distributes the findings to the District’s Management staff, the Regional Program
Manager, Regional Director, Director of Training, Policy Program Specialists, and
Leadership.

West Virginia’s DPQI include in their District exit summaries a means for the District’s
staff to outline the services commonly needed to address the needs of the person(s) being
served. As part of the district review exit, staff is asked to discuss services available in
their area and service needs. DPQI provides this information to Children and Adult
Services and the Program Manager for Community Partnerships for the identification of
service needs and development of services.

West Virginia continues to improve its already existing case reviews in preparation for
round three of the Child and Family Services Review (CFSR). DPQI has developed a
policy and procedures manual to be consistent with the requirements outlined in Child
and Family Services Review Procedures Manual (Office Management and Budget control
number 0970-0214) and the Criteria for Using State Case Review Process for CFSR
Purposes.

DPQI has developed a manual for round three CFSR reviews as outlined in Child and
Family Services Review Technical Bulletin seven and is pending approval.

Results of CFSR style case reviews are indicated below.



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 FFY        2015 Performance Indicator
 All       Cases Ratings               Outcome Ratings
 Outcome      or
                                       Substantially Partially Not
 Performance     Strength Area Needing
                                       Achieved      Achieved Achieved
 Indicator                Improvement

 Outcome S1:
                                                  70.2%                     29.8%
 Item1:
 Timeliness       of
 initiating
 investigations        70.2%   29.8%
 Outcome S2:
                                                  33.8%         23.9%       42.3%
 Item 2: Services
 to    family    to
 protect child(ren)
 in the home and
 prevent removal
 or re-entry into
 foster care        60.2%      39.8%
 Item 3: Risk and
 safety
 assessment and
 management         37.3%      62.7%
 Outcome P1:
                                                  40.8%         52.6%       6.6%
 Item 4: Stability
 of foster care
 placement          75.0%      25.0%
 Item            5:
 Permanency goal
 for child          59.5%      40.5%
 Item 6: Achieving
 reunification,
 guardianship,
 adoption, or other
 planned
 permanent living
 arrangement        71.1%      28.9%
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 Outcome P2:
                                                  73.7%          22.4%      3.9%
 Item            7:
 Placement with
 siblings              97.4%    2.6%
 Item 8: Visiting
 with parents and
 siblings in foster
 care                  77.6%    22.4%
 Item            9:
 Preserving
 connections           77.6%    22.4%
 Item 10: Relative
 placement             90.2%    9.8%
 Item          11:
 Relationship    of
 child in care with
 parents               63.8%    36.2%
 Outcome WB1:
                                                  32.4%          37.3%      30.3%
 Item 12: Needs
 and services of
 child,     parents,
 and          foster
 parents               47.9%    52.1%
 Item 13: Child
 and          family
 involvement      in
 case planning         52.5%    47.5%
 Item           14:
 Caseworker visits
 with child            47.2%    52.8%
 Item           15:
 Caseworker visits
 with parents          25.6%    74.4%
 Outcome WB2:
                                                  72.9%          0.0%       27.1%



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 Item          16:
 Educational
 needs of the child 72.9%         27.1%
 Outcome WB3:
                                                     67.5%            5.8%         26.7%
 Item 17: Physical
 health of the child 87.4%        12.6%
 Item           18:
 Mental/behavioral
 health of the child 59.8%        40.2%

Data from the CFSR style reviews is used to evaluate the child and family outcomes in
the Annual Progress Services Report.

During the last fiscal year, WV requested the Administration for Children and Families
(ACF) to provide technical assistance to assure that DPQI was applying the new
instrument correctly. ACF along with JBS International Incorporated visited in April 2015
and provided technical assistance. West Virginia will continue to rely on ACF for further
clarification during the CFSR process. Additional technical assistance/consultation will
be needed for the implementation of the revised statewide assessment process for CFSR
round three. Technical assistance/consultation may be needed regarding the use of the
JBS OSRI case review online system.

Critical Incident Reviews:
The Bureau for Children and Families has established an internal Critical Incident Review
 Team for the systematic review of critical incidences. The purpose of the Critical Incident
 Review process is to review cases to determine if something could have been done
 differently to prevent the fatality or near fatality of a child. The review process focuses
 on children that are “known” to our Child Welfare system, this means any child or family
 that we have had prior contact with, either through a Child Protective Services or Youth
 Services intake assessment or open case within the last 60 months. The review process
 looks at practice, policy and training to see if there are areas that, if improved, could have
 prevented the death or severe injury to the child.

The critical incident review team is chaired by the Director for of Planning and Quality
Improvement and consists of the Commissioner of the Bureau for Children and Families,
the Deputy Commissioner over Programs and Resource Development, the Deputy
Commissioners over Field Operations and the Assistant Commissioner over Planning,
Research and Evaluation. Additional State level staff include; the Director of Training

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and the Director of Children and Adult Services. The staff representing field practice in
each region includes the four Regional Directors, and the four Regional Program
Managers.

A field review team is determined by the Director of Social Services Programs (SSP),
Director of Children and Adult Services (CAS), and the Director of Planning and Quality
Improvement (DPQI). The Field Review Team is led by a DPQI staff member. The Team
involves the Child Protective Services (CPS) or Youth Services (YS) worker; the CPS or
YS Supervisor and the Community Services Manager (CSM).

 The Field Review Team performs a detailed review of the facts and circumstances
surrounding the critical incident involving a child alleged to have been critically injured or
died as a result of abuse and/or neglect. This includes, but is not limited to, a review of
current child protective services, child, and family history of abuse and/or neglect, and a
review of Department interventions and services from external providers. Interviews are
conducted with staff and external providers. A search of FACTS is conducted to identify
the CPS or YS history of the family. All Intake Assessments are reviewed to determine
if the screening decision follows code and policy. All assessments are read to determine
if the findings are correct and procedures for completing the assessment adhere to
policy. Case plans and safety plans are reviewed to determine if the plans appropriately
address the identified problems in the home. All case contacts are read to determine
Caseworker interaction with the family. The Team reviews all services to be sure
requests were made in a timely manner and the provider delivered the requested
services. The findings are reviewed at the quarterly critical incident review meeting. The
review team makes recommendations for the development of a Plan of Action.

The critical incident review team submits an annual report to the Commissioner of the
Bureau for Children and Families for presentation to the state legislature. The report can
be found at: http://www.dhhr.wv.gov/bcf/Reports/Documents/FFY2015.

Centralized Intake Reviews:
In July 2014, WV established a centralized intake system. Statewide implementation was
phased in starting in July 2014 with full statewide implementation by February 2015. The
DPQI is responsible for the sampling and review of intake assessments. DPQI provides
ongoing feedback to the Director of Centralized Intake and the Training staff assigned to
the unit. The results of the intake assessment reviews are used to improve fidelity to the
Safety Assessment and Management System and the uniformity in screening decisions.
Currently, the Centralized Intake unit has established uniformity in its screening decisions
and thus the acceptance rate is consistent Statewide. The acceptance rate for WV for
FFY 2015 was within a consistent range of the overall national average.
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From October 2014 to August 2015, there were a total of 5,139 intakes reviewed based
on the sampling percentage of 12% of accepted intakes and 25% of the screened out
intakes being reviewed on a weekly basis. Samples were drawn from weekly supervisory
logs for all screened intakes received statewide.

Intake assessment reviews consisted of areas related to the sufficiency of information
collection for maltreatment, nature and functioning; identification of absent parents and
collaterals; identification of present and impending dangers; agreement with screening
decisions; and assigned response times. Based on the completed reviews, the overall
agreement with the screening decisions of the centralized intake unit was at 98.88%.
Overall agreement with present danger identification was 95.31% and impending danger
identification was 91.02%. Agreement with assigned timeframes was as follows: 0-2 hour
response time was 90.63%; 0-72 hour response was 99.30% and 14 day response was
93.02%.

In addition to feedback related to above mentioned areas, information was provided to
centralized intake director and staff regarding more specific findings for any particular
area of strength or identified area needing improvement.

Management by Data

West Virginia continues to utilize the COGNOS data to ensure continuous quality
improvement related to the timely completion of Family Functioning Assessments, time
to first contact, referrals open over 30 days, caseworker visits with children in placement,
and NYTD.

West Virginia will expand its focus groups to gain input from various stakeholders. Data
from the focus groups will be collected through the use of surveys. Data will be used to
improve services to children and families.

Quality Councils

To improve outcomes, DPQI has recommended to the Commissioner of the Bureau for
Children and Families to institute a quality assurance process that incorporates local,
regional, and state level Quality Councils. Each district would submit their corrective
action plan to the local Quality Council. If issues are not resolved at the local level they
would move to the Regional Quality Councils. Local Quality Councils consist of district
field staff, supervisors, coordinators, community services managers and local stake
holders. Regional Quality Councils should meet on quarterly basis and should have staff

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that represents each district and each level of management including: child protective
worker, supervisors, coordinators, youth service workers, community services managers,
and child welfare consultants. The Quality Councils activities should include:
    A review of each districts corrective action plan
    A review of the current data for each district and for the region
    A discussion on trends within the region
    A plan on items that need to be addressed as a regional issue
    Monitoring of each districts plan
    Update of regional and district plans as needed based upon the data
    A list of items that need to be forwarded to the Child Welfare Oversight (CWO)
       team for the development of a statewide plan
    A review of the feedback from the CWO
    A report to the CWO team after each QC meeting on achievement of outcomes on
       their regional and district plans.

The chair of the regional Quality Councils should do the following activities:
    Prepare the agenda;
    Provide copies of each districts corrective action plan;
    Provide copies of the data for each team member at each meeting;
    Ensure the team has all required members;
    Assist the team with the development of the regional plan;
    Provide quarterly updated to the CWO;
    Provide feedback from the CWO back to the regional QC.

Child Welfare Oversight Team

As part of the continuous quality improvement process, the Child Welfare Oversight Team
activities should include:
     Reviewing the Regional Quality Council Plans;
     Monitoring child welfare data by state, region, and district;
     Provide resources to the regions as needed;
     Provide feedback for the regional plans and the outcomes.

The Child Welfare Oversight team is comprised of individuals on the state level that have
the ability to impact child welfare in a way that the district and regions may not be able to
achieve. The list below is an example of some ways the CWO can have an impact but is
not all-inclusive:
    Court system;
    Policy changes;

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      Changes to the training;
      Ability to pull statewide resources;
      Impact other bureaus services;
      Development of services.


The Child Welfare Oversight Team will also be the team that reviews and provides
feedback on stakeholder surveys. The team will review the surveys for statewide trends
and provide feedback to the regions and/or divisions. This data will be given to the
regional Quality Councils to process and incorporate into their regional plans as needed.

Goals for Improvement

West Virginia has created a Data Subcommittee to review data and develop strategies
related to the resolution of the data quality issues. The committee has reviewed existing
data sources to determine relevance and usefulness. The committee has identified other
data needs that would be helpful in the monitoring of case practice.

West Virginia recognizes the need to build staff skills and expertise in how to strategically
select and appropriately use data for meaningful, targeted decision making and to extend
such expertise to a broader range of staff. West Virginia is working with the Capacity
Building Center for States with the goal of “enhancing the knowledge and skills among
managers in using management reports to guide action planning, monitoring, and
continuous quality improvement”. The Data Subcommittee has conducted a gap analysis
of its existing data sources and has begun formulating strategies to improve existing data
reports. Additionally, the Data Subcommittee has begun a discussion on a statewide
communication plan that would utilize a “data hub” for sharing and distribution of data.

2017 Update

Operating in the jurisdictions where the services included in the CFSP are provided

The West Virginia Department of Health and Human Resources (West Virginia DHHR)
Bureau for Children and Families (BCF) has a comprehensive Quality Assurance System.
The Department’s QA system is centrally administered and operating in all jurisdictions
of the state and is part of an overall Continuous Quality Improvement (CQI) process. Most
QA functions are administered by the Division of Planning and Quality Improvement
(DPQI). DPQI is under the Office of Planning, Research, and Evaluation. West Virginia
has 12 designated DPQI staff for providing quality assurance which includes three
Program Managers, nine Health and Human Resource Specialist Seniors, and one DPQI

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Director. These staff members are stationed in various offices located across the
Department’s four regions.

West Virginia’ s quality assurance system evaluates social services case management
activities and decisions in the areas of Child Protective Services from initial abuse/neglect
report to case closure, Youth Services cases with and without judicial oversight, Critical
Incidents, and Intake Assessments as received by West Virginia Centralized Intake.

DPQI completes biennial Child and Family Services Review (CFSR) style social service
case reviews for each of the West Virginia Department of Health and Human Resource’s
districts. One district level review is completed each month by DPQI staff. The review
includes the examination of 12 randomly selected cases consisting of six in-home and six
placement cases. The largest metropolitan area is reviewed at least once each calendar
year. The review cycle is continued until each district has been reviewed.

The Bureau for Children and Families is comprised of 29 Community Services Districts
that are divided into four regions. During FFY 2016 DPQI completed 143 social services
case reviews comprised of 72 foster care and 71 in-home cases. Reviews were
completed in each of the four regions. The reviews occurred in 12 different districts
representing 40% of the districts in West Virginia. DPQI staff completed approximately
516 interviews during FFY 2016. Of this number, 209 were children, parents, foster
parents, or other relatives and/or caregivers of the children involved in the cases being
reviewed.

In July 2014, WV established a centralized intake system. Statewide implementation was
phased in starting in July 2014 with full statewide implementation by February 2015. A
centralized intake call center is located in the northern and southern part of the state.
DPQI is responsible for the sampling and review of intake assessments. The reviews
evaluate the quality of intake assessments. The Centralized Intake unit utilizes the results
of the reviews to improve the quality of the intakes and adhere to the fidelity of the
screening process.

 During FFY 2016 DPQI staff reduced the number of Centralized Intake reviews from 40%
of all accepted and screened out reports received to 20%. DPQI reviewed 2,273 intakes
as received by the Centralized Intake Unit during FFY 2016. Intakes as approved by each
Centralized Intake supervisor were reviewed. Reviewers agreed with the screening
decisions made by Centralized Intake supervisors in over 95% of the intakes reviewed.
Centralized Intake staff will be completing peer reviews of intakes during FFY 2017.
During FFY 2017 DPQI will not be completing Centralized Intake reviews. The Centralized


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Intake Unit has implemented their own system of peer reviews in order to measure
uniformity.

West Virginia has established an internal child fatality review committee to review all child
deaths due to child abuse and neglect and child near fatalities. Refer to prior updates for
detailed information on the Critical Incident Review Team. Cases that are deemed by the
internal review team to need an intensive level of review are reviewed by a member of
DPQI in conjunction with two representatives from field staff. The results are reviewed by
an internal review team quarterly. The objective is for the team to learn from these deaths
in order to prevent similar deaths in the future. DPQI staff reviewed 62 critical incidents in
2016.

As part of CQI efforts, BCF has created a Data Subcommittee to review data and develop
strategies related to the resolution of data quality issues. The committee also identified
other data needs for the improvement in case practice. Additionally, the committee has
reviewed existing data sources to determine relevance and usefulness. In late November
2016, with assistance from the Capacity Building Center for States, the subcommittee
conducted focus groups designed to determine the data needs of field level staff. The
goal of the focus groups was to gain a better understanding of how data is used by field
staff and what changes in the way data is collected and disseminated would be most
useful for the improvement of practice. The group is working toward analyzing the
information gained from these groups.

West Virginia has been approved to conduct Round Three of the Child and Family
Services Reviews using the State Conducted Case Review process to complete the
onsite review. DPQI staff will conduct reviews of 65 social service cases representative
of statewide practice in six districts. The six districts selected are representative of the
dichotomy of the State from urban to rural practice and will include the largest
metropolitan area in West Virginia, Kanawha County. Reviews will be conducted in each
of the designated districts with a staggered schedule over the course of the six-month
review period. The sample will include 40 foster care cases and 25 in-home cases for a
total of 65 cases. WV will utilize the US Department of Health and Human Services
Administration on Children and Families, Children Bureau’s Child and Family Services
Review Onsite Review Instrument and Instructions (OSRI) when reviewing cases. Case
information will be entered into the Online Monitoring System per requirement of the
Children’s Bureau.

In order to improve outcomes DPQI has recommended to the Commissioner of the
Bureau for Children and Families to institute a quality assurance process that
incorporates local, regional, and state level Quality Councils. The Quality Councils

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process in place includes DPQI case review of districts, development of a district
corrective action plan (CAP) based upon review results, and submission of the CAPS to
agency leadership. See prior submissions for additional information on quality councils.

The DPQI unit also completes targeted reviews. For example, during federal fiscal year
2017, as part of the Juvenile Justice Reform Bill (Senate Bill 393), Aggressive
Replacement Therapy will be piloted by Children’s Home Society of West Virginia. As
part of the implementation of this project the Department must have Model Fidelity
Coordinators to conduct fidelity reviews of the program and sessions with the children.
DPQI staff will be trained to complete these reviews.

Have standards to evaluate the quality of services

Standards to ensure that children and families are provided quality services that protect
their safety and health, from referral intake to the achievement of permanency, are
defined through federal and state laws and Department policy, available at
http://www.dhhr.West Virginia.gov/bcf/policy/Pages/default.aspx. Department outcome
measures are based on federal requirements and state policy. Department staff has
access to an internal data dashboard that captures outcome data. This includes
timeliness of initiating investigations of child maltreatment compared to the assigned
timeframe.

Regulations and standards for West Virginia foster homes and institutions can be found
in Systemic Factor G. Foster and Adoptive Parent Licensing, Recruitment, and Retention.

In order to evaluate the state’s efforts to improve performance in the areas of safety,
permanency, and wellbeing, DPQI utilizes the federal Child and Family Services Review
process as a model to measure and evaluate the state’s performance for the above-
mentioned areas. DPQI utilizes the January 2016 version of the Federal CFSR On-Site
Review Instrument (OSRI) as the unit’s primary internal tool for evaluating the quality of
delivery of services to children and families. The OSRI evaluates the quality of service
delivery to children and families. Each review follows the guidelines established by the
Federal Bureau for Children and Families. Pairs of DPQI reviewers complete a review of
the paper and electronic records, and conduct client and key case participant interviews
to evaluate adherence to policy and practice standards. The goal of the reviews is to
improve practice to achieve positive outcomes for the children and families being served.
The period under review covers a 12-month section of time going backwards from the
start of the review date to 12 months prior. Preliminary case reviews to collect information
are done related to FACTS records only. From this reviewer develop a list of questions
and information needed to complete the CFSR review. DPQI review teams then conduct

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interviews with designated stakeholders including the case worker, parents, service
providers, placement providers, youth if age appropriate and any other parties who may
have information relative to the case review. DPQI reviewers also review the paper file
for additional information as part of the review process and include this information in
review findings.

After the cases are rated each case is debriefed. At a minimum, case debriefings are
comprised of two review teams and a DPQI program manager. During these debriefings
case ratings are discussed in relation to CFSR instrument instructions and clarification
guides to ensure accuracy with instrument instructions. A different DPQI Program
Manager completes QA activities.

Identifies strengths and needs of the service delivery system

The DPQI social services case review data provides for continuous quality improvement
through the identification of the district’s strengths and areas for improvement. The review
data is used at the district level to evaluate case practice and assist districts in making
improvements in the provision of services to children and families. After completion of the
CFSR style reviews, exit conferences are held at the district offices where DPQI staff
assists the district in interpreting the results of the review. At the exit conference, the data
indicators, based on the 18 items reviewed, are discussed with the district. The district is
also provided with a comparison chart from their prior review. At that time, an exit
interview is conducted by DPQI staff with the district’s management staff. During the exit
conference district management staff are able to comment on the factors that contributed
to the strengths and areas needing improvement. Additionally, districts are asked to
identify which services needed are not available or accessible in the area. DPQI creates
a list of base questions to be asked at all the exits. The questions are based on the
previous Federal Fiscal Year data and the overall issues impacting practice within the
State.

The Critical Incident Field Review Team performs a detailed review of the facts and
circumstances surrounding the critical incident involving a child alleged to have been
critically injured or died because of abuse and/or neglect. This includes, but is not limited
to, a review of current child protective services, child, and family history of abuse and/or
neglect, and a review of Department interventions and services from external providers.
Interviews are conducted with staff and external providers. A search of FACTS is
conducted to identify the CPS or YS history of the family. All Intake Assessments are
reviewed to determine if the screening decision follows code and policy. All assessments
are read to determine if the findings are correct and procedures for completing the
assessment adhere to policy. Case plans and safety plans are reviewed to determine if

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the plans appropriately address the identified problems in the home. All case contacts
are read to determine the quantity and quality of caseworker interaction with the family.
The team reviews all services to ensure requests were made in a timely manner and the
provider delivered the requested services. Through the review process gaps in service
availability and provision are identified. The findings are reviewed at the quarterly critical
incident review meeting.

Provides relevant reports

DPQI staff utilizes the CFSR Online Monitoring System (OMS) developed by JBS
International to complete case reviews and develop relevant reports. The OMS is
available for states to use not only for the Federal CFSR, but also for continuous quality
improvement (CQI) purposes. The OMS is a web-based application that provides DPQI
staff the ability to complete case reviews and provide relevant district, regional, and state
level reports. Because the OMS is automated it reduces the risk of reviewer error in
completing the OSRI.

Following the social service review exit with the district management team DPQI
completes a comprehensive report on the results of the review. The exit summary report
is provided to the district for review and comments. DPQI provides this information to
Children and Adult Services and the Program Manager for Community Partnerships for
the identification of service needs and development of services. Districts complete a
corrective action plan based on the identified areas needing improvement outlined in the
exit summary. DPQI compiles the exit summary, data and corrective action plan for each
district and distributes the findings to the district’s management staff, the Regional
Program Manager, Regional Director, Director of Training, Policy Program Specialists,
and Department Leadership.

DPQI provided ongoing feedback to the Director of Centralized Intake Unit and the
Training staff assigned to the unit. The Centralized Intake Unit utilized the results of the
reviews to improve the quality of the intakes and adhere to the fidelity of the screening
process.

The Critical Incident Review Team develops recommendations for modification of internal
procedures, policies or programs of the Bureau for Children and Families; identifies
programmatic or operational issues that point to the need for additional internal training
or technical assistance; develops recommendations for external stakeholders to assist in
the effort to reduce or eliminate future child fatalities through improved services to children
and families; and identifies community resources for children and families that are
needed but are currently unavailable or inaccessible. The Critical Incident Review Team

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submits an annual report to the Commissioner of the Bureau for Children and Families
for presentation to the state legislature. The report can be found at: http://www.dhhr.West
Virginia.gov/bcf/Reports/Pages/default.aspx

Evaluates implemented program improvement measures

West Virginia’s quality assurance system utilizes data from various sources to monitor
the efficacy of program improvement measures. The State utilizes CFSR style social
service review data in conjunction with the State’s data profile (contextual data report),
and data from the State’s Statewide Automated Child Welfare Information System
(SACWIS) in the development, planning, and monitoring of Child and Family Services
Plan (CFSP) goals and other statewide child welfare initiatives.

As indicated earlier, results of the social services reviews are used by districts to develop
corrective action plans. The comparison chart provided to the districts at the social
services review exit conferences, and discussion of the corrective action plan developed
at the conclusion of the prior review, allow management staff to evaluate the efficacy of
the strategies for improvements that were implemented.

The Centralized Intake Unit utilizes the results of the DPQI intake assessment reviews,
along with feedback from external stakeholders, to improve the quality of the intakes and
improve fidelity to the Safety Assessment and Management System. The information is
also used to ensure uniformity in screening decisions.

2018 Update

DPQI social service case reviews

West Virginia has a comprehensive quality assurance system in operation. The
Department’s QA system operates in all jurisdictions of the state and is part of an overall
Continuous Quality Improvement (CQI) process. West Virginia’s quality assurance
system utilizes data from various sources to monitor the efficacy of program improvement
measures. The State utilizes CFSR style social service review data in conjunction with
the State’s data profile (contextual data report), and data from the State’s Statewide
Automated Child Welfare Information System (SACWIS) in the development, planning,
and monitoring of Child and Family Services Plan (CFSP) goals and other statewide child
welfare initiatives. The Division of Planning and Quality Improvement (DPQI) utilizes the
case review process and standards set forth by the US Department of Health and Human
Services administration for Children and Families. This process is used for the continuous


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measurement of the State’s performance in the areas of safety, permanency, and well-
being.

DPQI completes Child and Family Services Review (CFSR) style social service case
reviews for each of the West Virginia Department of Health and Human Resource’s
districts. Typically, one district level review is completed each month by DPQI staff. The
review includes the examination of randomly selected cases consisting of both in-home
and placement cases. The largest metropolitan area is reviewed once each calendar
year. The review cycle is continued until each district has been reviewed.

DPQI utilizes the January 2016 version of the Federal CFSR On-Site Review Instrument
(OSRI) as the unit’s primary internal tool for evaluating the quality of casework practice.
The OSRI evaluates the quality of service delivery to children and families. Pairs of DPQI
reviewers complete a review of the paper and electronic records and conduct client and
key case participant interviews in order to evaluate adherence to practice standards. The
goal of the reviews is to improve practice in order to achieve positive outcomes for the
children and families being served. The period under review covers a 12-month section
of time going backwards from the start of the review date to 12 months prior. Preliminary
case reviews to collect information are done related to electronic records. From this
preliminary query reviewers develop a list of questions and information needed to
complete the CFSR review. DPQI review teams then conduct interviews with designated
stakeholders including the case worker, parents, service providers, placement providers,
youth if age appropriate and any other parties who may have information relative to the
case.

DPQI staff utilizes the CFSR Online Monitoring System (OMS) developed by JBS
International to complete case reviews and develop relevant reports. The OMS is
available for states to use not only for the Federal CFSR, but also for continuous quality
improvement purposes. The OMS is a web-based application that provides DPQI staff
the ability to complete case reviews and provide relevant district, regional, and state level
reports. Because the OMS is automated it reduces the risk of reviewer error in completing
the OSRI.

After the cases are reviewed each case is debriefed. At a minimum, case debriefings are
comprised of two review teams and a DPQI program manager. During these debriefings
case ratings are discussed in relation to CFSR instrument instructions and clarification
guides to ensure accuracy with instrument instructions. DPQI Program Managers and the
Director then complete primary and secondary QA activities.



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The DPQI social services case review data provides for continuous quality improvement
through the identification of the district’s strengths and areas for improvement. The review
data is used at the district level to evaluate case practice and assist districts in making
improvements in the provision of services to children and families. After completion of the
CFSR style reviews, exit conferences are held at the district offices where DPQI staff
assists the district in interpreting the results of the review. At the exit conference, the data
indicators, based on the 18 items reviewed, are discussed with the district. The district is
also provided with a comparison chart from their prior review. At that time, an exit
interview is conducted by DPQI staff with the district’s management staff. During the exit
conference district management staff are able to comment on the factors that contributed
to the strengths and areas needing improvement. Additionally, districts are asked to
identify which services needed are not available or accessible in the area.

Following the social service review exit with the district management team DPQI
completes a comprehensive report on the results of the review. The exit summary report
is provided to the district for review and comments. DPQI provides this information to
Children and Adult Services and the Program Manager for Community Partnerships for
the identification of service needs and development of services. Districts complete a
corrective action plan based on the identified areas needing improvement outlined in the
exit summary. DPQI compiles the exit summary data report and corrective action plan for
each district and distributes the findings to the district’s management staff, the Regional
Program Manager, Regional Director, Director of Training, Policy Program Specialists,
and Department Leadership.

DPQI completed 124 CFSR style case reviews during FFY 2017. West Virginia was
approved to conduct Round Three of the Child and Family Services Reviews using the
State Conducted Case Review process to complete the onsite reviews. Therefore, the
total number of FFY case reviews completed includes 65 CFSR cases reviewed between
April and September 2017. During FFY 2017 DPQI completed the review of 71 foster care
and 53 in-home cases. CFSR style case reviews were completed in each of the four
regions of the state and included the following districts: Marshall/Wetzel/Tyler, Harrison,
Wayne,        Putnam/Mason,          Hampshire/Mineral,        Kanawha,         McDowell,
Ohio/Brooke/Hancock, Randolph/Tucker, Doddridge/Ritchie/Pleasants, and Mingo. Case
reviews conducted were reflective of practice that occurred approximately 12 months prior
to the date of the review. During the reviews DPQI staff completed approximately 611
interviews. Of this number, 224 were children, parents, foster parents, or other relatives
and/or caregivers of the children involved in the cases being reviewed.

DPQI Targeted Reviews


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During federal fiscal year 2017, as part of the Juvenile Justice Reform Bill (Senate Bill
393), Aggressive Replacement Therapy will be piloted by Children’s Home Society of
West Virginia. As part of the implementation of this project the Department must have
Model Fidelity Coordinators to conduct fidelity reviews of the program and sessions with
the children. DPQI staff were trained to complete these reviews.

During FFY 2018 DPQI staff are going to assist in the merging of duplicate customers in
the Family and Child Tracking System. This is being done to eliminate data quality errors
and to prepare for conversion to the new automated child welfare reporting system.
During FFY 2018 DPQI staff will also resume reviews of the Centralized Intake Unit. This
will include examination of the quality of intakes being completed.

Critical Incident Reviews

As part of the CQI process, West Virginia has established an internal critical incident
review committee to review all child deaths and child near fatalities due to child abuse
and neglect. An internal review team determines if a more intensive level of review is
needed. The reviews are conducted by a member of DPQI in conjunction with two
representatives from field staff. The review includes, but is not limited to, a review of
current child protective services, child, and family history of abuse and/or neglect, and a
review of Department interventions and services from external providers. Interviews are
conducted with staff and external providers. The Critical Incident Review Committee
meets quarterly and is chaired by the Director of the Division of Planning and Quality
Improvement. This team reviews all critical incidents resulting in a fatality or near fatality
of a child with a known history with the Department with the intent of reducing the number
of fatalities and near fatalities that were the result of abuse and neglect. DPQI staff
reviewed 50 critical incidents in 2017.

Data Subcommittee

West Virginia has a Data Subcommittee to review data and develop strategies elated to
the resolution of data quality issues. The committee identifies data needs for the
improvement in case practice. The group has reviewed existing data sources to determine
relevance and usefulness. In late November 2016, with assistance from the Capacity
Building Center for States, the subcommittee conducted focus groups designed to
determine the data needs of field level staff. The goal of the focus groups was to gain a
better understanding of how data is used by field staff and what changes in the way data
is collected and disseminated would be most useful for the improvement of practice.

Quality Councils

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To improve outcomes DPQI has recommended to the Commissioner of the Bureau for
Children and Families to institute a quality assurance process that incorporates local,
regional, and state level Quality Councils. The Quality Councils process in place includes
DPQI case review of districts, development of a district corrective action plan (CAP)
based upon review results, and submission of the CAPS to agency leadership. Quality
councils have been developed and are being refined to monitor and update the CAPS.

Service Array

The Safe at Home Service Development Workgroup, the workgroup that is in the process
of developing new services to support the Title IV-E demonstration project. This
workgroup has created two new services: Peer Support and Youth Coaching. These
services are promising practices and are used across the country to support wraparound
programs. Both utilize paraprofessional staff members who are employed and supervised
by a behavioral health organization.

Peer Support is a service designed to help adults with addiction and/or mental/behavioral
health disabilities increase their functioning so that they can be successful and satisfied
in the environments of their choice, with the least amount of ongoing professional
intervention. Peer Support focuses on skill and resource development related to life in the
community and to increasing the participant’s ability to live as independently as possible,
and to participate in community opportunities related to functional, social, educational and
vocational goals.

The service is based on the principles of recovery, including equipping the client with
skills, emphasizing self-determination, using natural and community supports, providing
individualized intervention, emphasizing employment, emphasizing the “here and now”,
providing early intervention, providing a care environment, practicing dignity and respect,
providing consumer choice and involvement in the process, emphasizing functioning and
support in the real world and allowing time for interventions to work over the long-term.

2016 Update

Peer Support, the new service designed to help adults with addiction and/or
mental/behavioral health disabilities, is in the final stages of preparation. The service
definition and criteria have been developed and the managed care organization has
completed the programming necessary for its inclusion in their authorization and review
procedures. At this time, the service awaits the SACWIS enhancements that will allow
workers to link it to specific clients and to interface with the managed care organization’s
data system. It is anticipated that this enhancement can occur by Fall 2016.

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Youth Coaching is a structured relationship or partnership that focuses on the needs of
the identified youth. The purpose of youth coaching is to acquire new behaviors or skills,
alter existing nonproductive skills and connect children with safe places and structured
activities through encouragement, reinforcement, counseling and role modeling. Youth
Coaching is a strength-based model that requires an outlined, well-defined plan with
established goals and objectives. The Youth Coaching intervention is guided by many of
the "evidence-based essentials" identified and described Dr. Larry K. Brendtro, Martin L.
Mitchell, EdD and Herman J. McCall, EdD, in their book titled Deep Brain Learning ®:
evidence-based essentials in education, treatment, and youth development. Youth
Coaching must focus on interpersonal skills, educational goals and self-management. A
person who is not related to the family and is at least a paraprofessional provides
mentoring. Youth Coaching may occur individually or in a dyad/triad when the identified
children have similar needs. Youth Coaching will be guided by the youth’s Asset
Development Plan. This plan is approved by the Family Team, is individualized and will
focus on building targeted assets specific to the youth’s identified needs. These needs
will be identified by WV CANS which will identify centerpiece strengths to build upon, as
well as opportunities for strength development.

The Safe at Home Service Development Workgroup has also been charged with the
redesign of the Bureau’s current structure for providing Community-based Supportive
Services, currently known as Socially Necessary Services. The work of this team over the
past year has involved the evaluation of current payment structures, service availability
and provider accountability. Several recommendations have been approved by the
Bureau’s Executive Team, which include:

   1. Structural changes to service categories: The service categories are now broken
      down into the four federally requires categories of Family Support, Family
      Preservation, Time-limited Reunification and Post-Adoptive Services.
   2. Development of Performance Measures for Each Service Category: The current
      compliance-based methodology of measuring provider performance will be
      changed to results-based accountability. This will enable the Bureau for Children
      and Families to begin gathering qualitative and quantitative data about the effect
      these services have on our families.
       The performance measures for Family Support funds, which are allocated to
      grant-funded prevention programs, will be included in the statements of work for
      those organizations and are not part of the current structure for Socially Necessary
      Services. The performance measures for Family Preservation, Time-limited
      Reunification and Post-Adoptive Services are as follows:


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   a. Family Preservation

      How much did we do?
       # of referrals received
      # of referrals accepted for service provision
      # of services delivered
      # of customers served

      How well did we do it?
       % of staff with required training and certification
       % of staff with tenure of two years or more
       % of families contacted within 24 hours of referral acceptance
       Staff/case ratio

      Is anyone better off?

      # and % of families who remained intact during service provision and at six-months
      follow-up;
      # and % of families served with no repeat maltreatment;
      # and % of youth served with no new incidences of status or criminal activity during
      services provision and six-months after returning home;
      # and % of youth who enjoyed improved academic achievement;
      # and % of parents who express improved ability to provide care to their children;
      # and % of families and youth with improved ties to the community.

   b. Time-limited Reunification

      How much did we do?

      # of referrals received
      # of referrals accepted for service provision
      # of services delivered
      # of customers served

      How well did we do it?

      % of staff with required training and certification
      % of staff with tenure of two years or more
      % of families contacted within 72 hours of referral acceptance
      Staff/case ratio

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      Is anyone better off?

      # and % of families who were reunified within 12 months from service start date;
      # and % of children experiencing re-removal within six-months of returning home;
      # and % of youth served with no new incidences of status or criminal activity during
      service provision and six-months after returning home;
      # and % of youth who enjoyed improved academic achievement;
      # and % of parents who express improved ability to provide care to their children;
      # and % of families and youth with improved ties to the community.

   c. Post-adoptive Services
      How much did we do?

      # of referrals received

      # of referrals accepted for service provision

      # of services delivered

      # of customers served

      How well did we do it?

      % of staff with required training and certification

      % of staff with tenure of two years or more

      % of families contacted within five days of referral acceptance

      Staff/case ratio

      Is anyone better off?

      # and % of children participating in supportive services will maintain their adoptive
      placement in a safe, family environment;

      # and % of adoptive families that have connected with and maintained community
      resources and support;


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      # and % of adoptive families participating in recommended supportive services;

      # and % of adoptive parents who express improved ability to provide care to their
      adopted children.

   3. Restructuring of payment methodology: Currently, Socially Necessary Services
      utilizes a fee for service-based reimbursement process. The workgroup
      recommends that that instead of payment for each individual service on a unit-by-
      unit basis, case rates be established for each service category. The family would
      be referred for services under one of the service categories and the provider
      agency would assign an array of services to meet the specific needs of each
      member. The case rate would be based on the intensity of each case type. For
      example, Family Preservation would be paid a higher case rate (due to intensity of
      need when families are experiencing crises and efforts are being made to keep
      children in the home) than time-limited reunification, where children may be out-
      of-the home and the service provision would entail supervised visitations to
      reintegrate the family. Several of the current services that are paid individually,
      such as transportation, will be factored into the case rates and will no longer be
      considered a separate service.

2016 Update

The development of the Youth Coaching service that was mentioned in the 2015
updated has been delayed. During the latter developmental phases, the workgroup
learned that the evidence-basis for our new service, the published works of Larry K.
Brentro, et. al. had been sold to Star Commonwealth and now had proprietary restrictions
on its usage. The workgroup, through partnership with our sister Bureau, the Bureau for
Behavioral Health and Health Facilities (BBHHF), had to find other experts in the field of
youth mentoring/re-education models. Several conversations have occurred with Mark
Freado and Mary Grealish, mentioned throughout this document in relation to our IV-E
demonstration project. The group, through funding from BBHHF, is examining the
possibility of Mr. Freado, Ms. Grealish and several other “experts” coming to West Virginia
to conduct “train the trainer” workshops with our mutual providers and Departmental staff
to help develop a youth mentoring service that fits West Virginia.

The redesign of the Bureau’s current structure for providing community-based
supportive services, currently known as Socially Necessary Services, has been
delayed. During the past year, the contract for the managed care organization that

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manages the State’s Medicaid and Socially Necessary Services programs was up for
renewal, which initiated a competitive rebidding process. The current provider, who has
been the contract awardee since 2004, was successful in their re-application for the
contract. However, this process has taken longer than anticipated due to West Virginia’s
adoption of a new payment system for both providers and employees. This new system,
West Virginia Oasis, has experienced technological delays, as well as delays due to
political unpopularity of the new system. An anticipated approval date for this new contract
has tentatively been announced for June 1, 2016. The reason the contract rebidding
process delayed forward movement with the redesign of our socially necessary service
system is because making significant changes to payment and oversight structures is not
part of the current contract and had been specifically added to the request for proposals
when the rebid announcement was published. Once the new contract has been finalized,
movement can occur with design of the new structures discussed in the 2015 update.
However, realizing that necessary services needed a better mechanism for improving
quality of services, the Bureau for Children and Families adopted the “80% Rule” in
November 2015.

The “80% Rule”, which was effective on November 4, 2015, requires that socially
necessary services providers score at least 80% during their retrospective review. The
retrospective review is conducted by the managed care organization at least every 18
months. If the provider scores less than 80% on any service they provide, the provider
received written notice that a six-month probationary period is in effect. Training and
technical assistance will be offered. After 6 months, the managed care organization will
conduct another review on the services scoring less than 80%. If the service still scores
less than 80%, that service will be removed from the provider’s record and they will no
longer be able to receive referrals to provide that service. If, during the retrospective
review process, a provider scores zero on any safety-related service, that service will be
automatically closed from the provider’s record. There will not be a six-month
probationary period when a safety service scores zero. In the four months since
implementation of this new quality assurance process, no provider has scored zero on
their safety services. We have seen four agencies whose scores have dramatically
increased since the rule was effective.

Continuum of Care Redesign

Community-based Service Expansion

West Virginia is one of several states that control the development of medical and
behavioral health care services through a certificate of need process.


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In West Virginia, the Health Care Authority provides oversight and staffing for the
certificate of need process. The Health Care Authority's goals are to control health care
costs, improve the quality and efficiency of the health care system, encourage
collaboration and develop a system of health care delivery which makes health services
available to all residents of the State. The Certificate of Need program is a regulatory
element used to achieve these goals. The program was originally enacted in 1977 and
became part of the Authority in 1983. The language outlining the program is found in
W.Va. Code §16-2D.

Housed within West Virginia State Code Chapter 49 is a provision to become exempt
from the full certificate of need process. Summary Review process is outlined in section
§ 49-2-124. This section of code allows providers of behavioral health services to bypass
the full certificate of need process if certain criteria are met. These criteria are:

      Criterion 1:   The proposed facility or service is consistent with the State Health
                      Plan. (See attachment “West Virginia State Health” Plan 11-13-95)
      Criterion 2:   The proposed service/facility is consistent with the Department's
                      programmatic and fiscal plan for behavioral health services for
                      children with mental health and addiction disorders.
      Criterion 3:   The proposed facility or service contributes to providing services
                      that are child and family driven, with priority given to keeping
                      children in their own homes.
      Criteria 4:    The proposed facility or service will contribute to reducing the
                      number of child placements in out-of-state facilities by making
                      placements available in in-state facilities.
      Criterion 5:   The proposed facility or service contributes to reducing the number
                      of child placements in in-state or out-of-state facilities by returning
                      children to their families, placing them in foster care programs, or
                      making available school-based and outpatient services.
      Criterion 6:   If applicable, the proposed facility or service will be community-
                      based, locally accessible, and provided in an appropriate setting
                      consistent with the unique needs and potential of each child and
       family.

Since these criteria are housed in Chapter 49, the child welfare statutes, the Bureau for
Children and Families has acted as the liaison with the Healthcare Authority in processing
requests for a summary review.

The certificate of need, and thus the summary review, is required for all new service
development, as well as any changes in current services provided, population served or

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county of location. Due to the multiple initiatives that are geared toward reducing the use
of congregate care, many of the children’s residential and child placing agencies are
seeking summary review to expand the services they provide, the population they serve
and the areas where their business are located. The agencies are seeking to provide
more community-based, in-home behavioral health services to a broader range of
clientele. Instead of serving only the youth and families who have become involved in the
child welfare system, the agencies are now becoming focused on providing preventive
services to off-set crises that bring children and their families into the system.

During the past two years, summary review has been approved for eight children’s
residential providers and two child placing foster care agencies to expand their service
array to include community-based, in-home behavioral health services. This represents
30% of our current licensed child welfare providers. There have also been four other
community-based organizations that have started the process to become licensed
behavioral health centers. This totals 16 new summary review approvals for the provision
of an expanded array of trauma-focused, in-home behavioral health services in what were
often previously underserved counties, aimed at keeping families together.

The areas in the state that have seen the most benefit from this expansion is in the
Martinsburg and the southern coal fields communities surrounding Princeton. These
areas have traditionally been underserved, but for different reasons. In Martinsburg, the
area continually must compete with the Washington D.C. job market which can pay
substantially higher wages. The Martinsburg area, over the past 10 years, has gone from
a farming community to a metropolitan hub of dramatically increased population. The
service provider volume has not kept pace with the growth in population. For many years,
the only behavioral health provider was the state funded comprehensive behavioral health
center and a couple of private practice therapists. Due to the summary review process,
Martinsburg now has four new providers of behavioral health services, specifically geared
to serving children at-risk of being removed from their homes, and their families.

Princeton, West Virginia, and its surrounding communities, has a lack of services due to
not having a nearby comprehensive behavioral health center. The closest center is in
Beckley. Due to the more rural nature of southern West Virginia, many customers are
unable to travel the distance to Beckley. Also, the volume of need, and the limited
population that can be served, resulted in long waiting lists at the Beckley comprehensive
center. Princeton and surrounding areas have added three new behavioral health centers
over the past two years.


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The Bureau for Children and Families began collaborating with its sister Bureaus, the
Bureau for Medical Services and the Bureau for Behavioral Health and Health Facilities
during the Summer of 2016 to begin work on a Medicaid Section 1115 Waiver to help
expand service availability for substance use disorders (SUD). Since substance abuse
is the leading reason for child abuse and neglect removals, the expansion of services that
will be realized with the Medicaid waiver will focus primarily on the population most in
need.

Addressing the Substance Use Disorders crisis has been a priority for Governor Earl Ray
Tomblin throughout his administration. In September 2011, he established the Governor’s
Advisory Council on Substance Abuse (GACSA) and six Regional Task Forces to combat
the substance use crisis. The GACSA is composed of cabinet-level positions across the
West Virginia Departments, behavioral health experts, and community leaders. These
groups are charged with providing guidance on implementation of the Comprehensive
Statewide Substance Abuse Strategic Action Plan. The Task Force is also recommending
priorities for the improvement of the statewide substance abuse continuum of care,
identifying planning opportunities with interrelated systems, and providing
recommendations to the Governor on enhancing substance abuse education; collecting,
sharing, and utilizing data; and supporting policy and legislative action.

The Comprehensive Statewide Substance Abuse Strategic Action Plan includes the
following overarching strategic goals for prevention, early intervention, treatment, and
recovery:
        •      Assessment and Planning: Implement an integrated approach for the
collection, analysis, interpretation and use of data to inform planning, allocation, and
monitoring of the West Virginia substance abuse service delivery system (data).
        •      Capacity: Promote and maintain a competent and diverse workforce
specializing in prevention, early identification, treatment and recovery of SUDs and
promotion of mental health (workforce).
        •      Implementation: Increase access to effective substance abuse prevention,
early identification, treatment and recovery management that is high quality and person-
centered (access).
        •      Sustainability: Manage resources effectively by promoting further
development of the West Virginia substance abuse service delivery system (resource
management).


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The Governor’s Advisory Council and the Regional Task Forces have been meeting
regularly, and in October 2015, put forth the following recommendations:
Statewide Implementation - The recommendations include increasing dissemination and
education of Naloxone, improving access to licensed Medication Assisted Treatment
(MAT) Centers, establishing standards of care and providing education, expanding
school-based behavioral health services, and ensuring consistent public outreach and
education.

Regional Capacity - To fill some of the identified gaps in service delivery, the Council is
working to promote SUD treatment capacity by region across the state. The
recommendations also include developing an infrastructure for recovery housing.

Legislative and Policy - The recommendations for legislative and policy change include
developing/supporting “Second Chance for Employment Act” legislation to help remove
barriers to obtaining employment, assessing an Alcohol and Tobacco User Fee with a
percentage set aside for SUD services, reviewing Certificate of Need process for
behavioral health services to recommend ways to reduce barriers for new and existing
program expansions, shifting Benzodiazepines from Schedule 4 to Schedule 3, and
increasing usage of and accountability measures for the Prescription Drug Monitoring
Program.
Over the past five years West Virginia has implemented several pieces of legislation
(including West Virginia Senate Bills 335, 437 and 523) to address prescription drug
abuse and opioid overuse. Senate Bill 437, passed on March 10, 2012, takes a
comprehensive approach to address prescription drug diversion and substance abuse
issues. The law increases regulation of opioid treatment centers; establishes licensing
and regulation of chronic pain clinics; creates mechanisms to flag abnormal or unusual
usage patterns of controlled substances by patients and unusual prescribing or
dispensing patterns by licensed practitioners; implements requirements for continued
education for physicians and others who administer controlled substances; and
establishes a system for tracking sales of pseudoephedrine, limiting the amount that can
be legally purchased daily (3.6g), monthly (7.3g), and annually (48g).
Building on the foundation of both legislative and operational efforts to combat substance
abuse in West Virginia, this proposed Medicaid section 1115 waiver will permit the state
to increase the availability of SUD prevention and treatment services and create a
continuum of care that will improve overall health and health outcomes, while at the same
time promoting economic stability across the state. Given that managed care plans are
already responsible for providing the full continuum of care to meet beneficiaries’ physical
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health and behavioral health needs, this waiver presents a tremendous opportunity to
improve care for beneficiaries with chronic conditions. This integration will also move
West Virginia toward value-based purchasing for both physical and behavioral health
services.

Current Delivery System - The West Virginia Medicaid program currently provides health
coverage to 596,450 residents (cite) nearly 70 percent of whom are served through a
managed care delivery system. By the end of calendar year 2016, 85 percent of Medicaid
beneficiaries are expected to have transitioned from fee-for-service to managed care. The
only populations who will remain in fee-for-service are individuals receiving long-term care
services and supports, home and community-based waiver services, dual eligible, and
foster care children. In addition, in July 2015, West Virginia incorporated behavioral health
services into managed care to improve integration of physical and behavioral health
services.

The Bureau for Medical Services (BMS) is the state agency that administers the Medicaid
program. The Bureau for Behavioral Health and Health Facilities (BBHHF) is the federally-
designated state authority for mental health, substance abuse, and intellectual and
developmental disabilities. BBHHF provides funding for community-based behavioral
health services for individuals with behavioral health needs. These two Bureaus work
closely together to deliver SUD services to vulnerable populations (such as Medicaid
beneficiaries and the uninsured).

In addition to incorporating behavioral health services into managed care, the state has
been actively taking additional steps to integrate its behavioral and physical health
systems and services. Currently, BMS provides a range of SUD services under Medicaid,
and BBHHF funds SUD services and programs targeted to specific populations through
federal grants and charity care programs. West Virginia’s publicly-funded community
based behavioral health system is anchored by 13 Comprehensive Behavioral Health
Centers (CBHCs), operating full-service and/or satellite offices in each of the counties
located in the center’s catchment area. Federally Qualified Health Centers (FQHCs) also
play a major role in providing SUD services – 19 of the state’s 34 FQHCs across 108 sites
employ a behavioral health provider. Five of the state’s largest CBHCs offer coordinated
primary health care services in a community mental health setting and share behavioral
health staff with rural primary care centers through co-location and integration
agreements.

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Transforming West Virginia’s Behavioral Health Delivery System - West Virginia is
submitting this Medicaid Section 1115 waiver proposal to gain federal support to provide
a more cohesive approach to SUD prevention and treatment services to Medicaid
beneficiaries by developing a comprehensive SUD continuum of care across the state.
Upon approval, the state plans to have a six-month planning period, with an initial launch
of the of the waiver in July 2017 and a goal of having all four MCOs achieve certification
for network adequacy by January 2018.
"West Virginia Legislature Enacts Comprehensive Substance Abuse Laws," Health Law Monitor, 2012.


These comprehensive and coordinated set of SUD services and supports will be available
to all Medicaid managed care enrollees in West Virginia. West Virginia is also planning to
develop initiatives that would specifically target high-need populations including babies
born with NAS and individuals recently released from incarceration.

Individuals who are not enrolled in a managed care plan will continue to receive services
in the same way they do today (through the Medicaid state plan), including individuals
receiving long-term services and supports, home and community-based services, and
certain children and adolescents. All enrollees under the age of 21 receive the services
available under Early Periodic Screening, Diagnostic and Treatment (EPSDT), which
includes appropriate services needed to address behavioral health issues. The state will
ensure that any SUD related services provided to individuals under age 21 also meet the
ASAM criteria.

Under this proposal, Medicaid managed care organizations (MCOs) will be responsible
for contracting with providers to deliver the SUD services, for conducting provider
recruitment and credentialing, and for working with the state to ensure network adequacy.
The MCOs will receive a financial incentive in the form of increased capitation rates for
facilitating this effort, as well as additional incentives for providing high-quality care and
meeting required reporting and performance metrics. Since managed care plans will be
responsible for providing the full continuum of care for physical health and behavioral
health, this waiver presents a tremendous opportunity to improve the health of
beneficiaries with chronic conditions.

The 1115 waiver will provide a critical vehicle for enhancing the scope of SUD services
that are available to Medicaid beneficiaries in West Virginia, including coverage of SUD
services provided in residential treatment settings coupled with an enhancement of

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outpatient SUD services and MAT. West Virginia proposes to add Medicaid coverage of
methadone and to design and implement an initiative that will make Naloxone widely
available and increase awareness of it across the state. West Virginia will enhance the
availability of detoxification and withdrawal management in more settings, propose adding
a comprehensive set of peer recovery support strategies, and coverage of recovery
housing supports that will help promote successful transitions.

One of the key goals of the waiver is to ensure that individuals have access to the
approach to achieving recovery that is most appropriate based on their circumstances –
to meet people where they are. Building on the delivery system integration efforts that are
already underway and working to establish a seamless continuum of care will enable
West Virginia to move toward value-based purchasing for SUD services and facilitate
meeting the goals of the Triple Aim of improved quality of care, improved population
health, and decreased costs
         Excerpts are provided from West Virginia Medicaid Section 1115 Waiver Proposal: Creating a Continuum of Care for
Medicaid Enrollees with Substance Use Disorders, 2016.


Expansion of Foster Care - Therapeutic Foster Care

To support West Virginia’s IV-E demonstration project Safe at Home West Virginia, the
West Virginia Department of Health and Human Resources, Bureau for Children and
Families is looking to broaden its continuum of care by developing a Therapeutic Foster
Care program. This program will serve children in foster care that may require additional
services to allow them to remain in a family setting. The Therapeutic Foster Care program
would provide a continuum of foster care services that would best meet the needs of the
children in the state.

Therapeutic Foster Care is a family-based, service delivery approach providing
individualized treatment for children and their families. Treatment is delivered through an
integrated constellation of services with key interventions and supports provided by
Treatment Foster Parents. Treatment Foster Parents are trained, supervised and
supported by qualified program staff. The values and principles of Treatment Foster Care
are as follows:

•     Normalization is a treatment principle and the power of family living as a
normalizing influence;

•        Kinship plays an important role in the formation of identity and self-worth;

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•      Kinship relationships impart a sense of family belonging to the child;

•       The inherent need and right of all children to have a permanent family. Family
reunification, adoption, kinship care or other long-term, stable family living arrangements
are critical;

•      Cultural diversity and the importance of developing competence in dealing with
issues of diversity;

•     Doing “whatever it takes” to maximize a young person’s opportunity to live
successfully in a family and community;

•      The fundamental importance of documentation and the systemic evaluation of
services and their effects.

A Therapeutic Foster Care program would allow for a continuum of care for the children
within the program through an individualized approach to treatment. A child within the
Therapeutic Foster Care program could experience a movement within the continuum
based upon need, but this would not necessarily constitute a transfer to a different
Treatment Foster Care home. Depending on the child’s individual plan, it may be possible
they could step down in the continuum or step up the continuum without experiencing
placement disruption. The Bureau believes that such a continuum of care within the foster
care system will provide for more flexibility in serving children with complex needs and
will allow more children to be served successfully in a foster home setting when out-of-
home care is needed. The Bureau further believes that a continuum within the foster care
system would allow the ability for children, who need out-of-home care, to receive foster
care services in a foster home setting would maximize the child’s well-being and would
also be less costly than a residential care/facility program.

A request for applications (RFA) will be released in June 2016, with awards being issued
to successful candidates by July 1, 2016. Therapeutic Foster Care will be a program that
will be available state-wide across West Virginia to include all fifty-five (55) counties. The
RFA will seek one licensed child placing agency per geographical region whose focus will
be the development of a full foster care continuum, including the three components of
therapeutic foster care program, in each of the counties within that region. Successful
candidates will describe the methods that will be used to recruit and train foster parents
within each county in their respective region, including population and cultural issues that
may factor into successful recruitment.



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The children who will be served by the Therapeutic Foster Care program are those who
are determined to need more intensive services than a traditional foster care home could
provide. Three levels of foster care will exist: Traditional Foster Care; Treatment Foster
Care; and Intensive Foster Care. The level of care that the child receives will be
determined by their specific needs. These needs and level of care will be re-evaluated
every 90 days using the CANS.

Traditional Foster Care is the system that West Virginia has historically provided. This
level of care is ideal for children who have no significant indicators of trauma, behavioral
or emotional issues, and difficulty in school, home, and community. These children do
not exhibit any high-risk behaviors; have any significant medical issues, and no assessed
needs for mental or behavioral health treatment. Children will receive the CANS
assessment within thirty days to determine the appropriate level of care. This level of care
supports normalization as part of a daily living. Crisis support will be available twenty-
four hours a day as needed, and crisis response training must be part of pre-service
training for the foster family. Staff will have up to fifteen children on their caseload at any
given time and must visit with each child at least twice monthly unless otherwise specified
by the Department caseworker. Traditional Foster Care homes can use respite as
needed.

Treatment Foster Care is the level of care to be used for children who exhibit a mild to
moderate level of trauma/behavioral or emotional issues as identified through the CANS
assessment. These children may present with moderate risk behaviors and have
moderate difficulty in school, home and community. This level would include
pregnant/teen mothers and other children who have medical needs that exceed
preventative measures. This level will be used for all children entering care on an
emergency basis. Children will receive the CANS assessment within thirty days to
determine the appropriate level of care. Normalcy activities are encouraged to provide
opportunities to practice life skills for these children. Crisis support will be available
twenty-four hours a day as needed. These foster families will receive crisis response and
trauma training as well as child-specific training related to potential crisis due to history
and current issues, as well as consultation and response to the setting. Staff will be
permitted to work with up to eight children at this level and must visit with each child at
least weekly unless the Department caseworker requests that visits occur more often.
Treatment Foster Care homes are strongly encouraged to use respite as needed.

Intensive Treatment Foster Care will be the level of care used for children who exhibit
significant indicators of trauma/behavioral or emotional issues on the CANS. These
children present with high risk behaviors and have significant difficulty in school, home
and community. This level will be used for children who are stepping down from a higher

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level of care, are at risk for out-of-state placement, can be supported in the community as
an alternative to residential care, are drug exposed infants with additional medical needs,
and children who are medically fragile as diagnosed by a physician. Normalcy at this
level is encouraged but may take a lot of effort to safely and securely expose these
children to experiences and activities in their community. Crisis support will be available
twenty-four hours a day as needed, and these foster families will receive crisis response
and trauma training as well as child-specific training related to potential crisis due to
history and current issues, as well as staff consultation, staff response to these homes or
other settings, aide support, modeling and coaching to assist with skill acquisition,
emergency respite and reintegration to the home. Staff will only be permitted to work with
six or less children at this level and must visit each child as often as necessary but no
less than once a week to meet individual needs. Intensive Treatment Foster Care homes
are mandated to use planned respite.

Successful agencies must be able to meet the components of all three levels of foster
care.

We currently have 49 children featured on our WV Adoption site and eight (8) children
waiting to be released. 27 children registered in the past year and 27 placed “on hold” or
finalized. They are placed on “hold” once they have achieved permanency or moved into
their Trial Adoptive home.

These figures are only for the children who are registered on the adoption site. Most of
West Virginia’s children are placed in kinship or relative homes or already have an
adoptive resource identified are not registered on the site.

2017 Update

In November 2016, two agencies for each of the four regions in West Virginia were
selected to implement the grant funded therapeutic foster care homes. Some agencies
were awarded more than one region. They were given a six-month period to recruit and
train their Tier II and Tier III homes. An MOU will be released June 2017, to the BCF field
staff that these homes are now ready to receive referrals for foster children who have
been identified as requiring treatment foster care for moderate risk behaviors or intensive
treatment foster care for high risk behaviors.

Please see Item 29 of the Statewide Self-Assessment for West Virginia for additional
information.

Safe at Home West Virginia Services and Supports

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In 2014, the Department of Health and Human Resources, Bureau for Children and
Families leadership developed the Safe at Home West Virginia Services and Supports
survey to identify in each county of West Virginia the Supports and Services we have in
place using 17 identified services/supports that were determined to be highly effective
services in Wraparound. The survey responses were categorized by adequate amount
of available services, inadequate amount of services and services not available at all.
This survey would then be sent to the Community Collaborative groups (that include
service providers, Family Resource Network members, and others) with input from the
Regional Children’s Summits, to identify service gaps.

The information gathered would be used as a benchmark to develop strategic plans in
their communities to assist with the development of those needed services.

In June 2015, the survey was distributed. The following is a copy of the survey and the
results:

          West Virginia Safe at Home Services and Supports


 County     Name of Service                              Currently           Service Gap Y/N
 Name                                                    Available Y/N
            Assessment and evaluation (CANS/CAPS and
            supporting assessments)
            Outpatient therapy – individual

            Outpatient therapy-family

            Medication Management

            Behavior Management Skills Training

            Intensive Home-based Mental Health
            Services

            School-based Behavioral Health Services

            Substance Abuse Intensive Outpatient

            Crisis Services-In home


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            Mobile Crisis Response

            Youth Transition Coach (Youth Advocacy)

            Peer Support (Youth)

            Peer Support (Family)

            Respite
            Peer Support (Recovery Support)

            Therapeutic Mentoring

            Therapeutic Foster Care (medically
            necessary)


Safe at Home Services and Supports Survey

Purpose of the Report:
This report covers the results from the 2015 Safe at Home Services and Supports Survey.
Respondents were asked about what services were available in their individual counties.
This report summarizes the results of that survey. Questions were geared toward
discovering the capacity and availability of certain services. The intent of the survey was
to gauge the resources and capacity development of our communities. In this report, you
will get a picture of what the community members determined to be the areas that need
to further develop services. Fifty-two of the fifty-five counties participated in the survey.
The following are the results of the survey.
Are Assessment and Evaluation (CANS/CAPS and supporting assessments) currently
available?


                             Assessment and Evaluation
                               Some
                                33%                                      Yes




                                                              Yes
                                                              63%
                        No
                        4%


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63% of the counties reported they had sufficient Assessment and Evaluation Services (CAPS/CANS and
supporting assessments) currently available. 33% has some but not enough, and 4% had none at all.
Overall service gap was at 37%.

    1. Is Individual Outpatient Therapy available?

                            Individual Outpatient Therapy
                      Some
                       43%


                                                                               Yes
                                                                               No
                                                                               Some

                                                                       Yes
                                                                       52%
                              No
                              5%


52% of the counties reported they had sufficient Individual Outpatient Therapy Services available, while
43% some but not enough and 5% had none at all. Overall service gap was at 48%.

    2. Is Family Outpatient Therapy available?

                              Family Outpatient Therapy
                                                          Yes
                                                          33%

                                                                               Yes
                                                                               No
                                                                               Some
                     Some
                      58%                                        No
                                                                 9%


33% of the counties reported they had sufficient Family Outpatient Therapy Services available, while 58%
had some but not enough and 9% had none at all. Overall service gap was 67%.
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    3. Are Medication Management Services available?

                               Medication Management
                                       Services
                                                         Yes
                                                         15%

                   Some
                    60%
                                                                             Yes
                                                                       No
                                                                      25%    No
                                                                             Some




15% of the counties reported they had sufficient Medication Management Services available while 60% had
some but not enough and 24% had none at all. Overall service gap was 84%.

    4. Are Behavior Management Skills available?

                              Behavior Management Skills
                                       Training
                                                   Yes
                       Some
                                                   16%
                        42%


                                                                               Yes
                                                                               No
                                                                               Some
                                                                     No
                                                                    42%




16% of the counties reported they had sufficient Behavior Management Skills Training available while 42%
had some but not enough and 42% had none at all. Overall service gap was 84%.


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   5. Are Intensive Home-based Mental Health Services available?

                               Intensive Home-based
                                                      Yes
                                                      10%

                 Some
                  54%                                                 No
                                                                     36%     Yes
                                                                             No
                                                                             Some




   10% of the counties reported they had sufficient Intensive Home-Based Services available while 54%
   reported having some but not enough and 36% had none at all. Overall service gap was at 90%.

   6. Are School-based Behavioral Health Services available?

                               School-based Behavioral
                                   Health Services
                                                       Yes
                                                       19%


                                                                   No
                                                                   8%       Yes
                                                                            No
                                                                            Some

                     Some
                      73%



   19% of the counties reported having sufficient School-based Behavioral Health Services available,
   while 73% reported having some but not enough and 8% reported having none at all. Overall service
   gap was at 81%.


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   7. Are Substance Abuse Intensive Outpatient Services available?

                               Substance Abuse Intensive
                                      Outpatient
                                                     Yes
                        Some                         15%
                         46%
                                                                            Yes
                                                                            No
                                                                            Some
                                                                 No
                                                                39%

      15% of the counties reported having sufficient Substance Abuse Intensive Outpatient Services
      available. 46% had some but not enough and 39% had none at all. Overall service gap was at
      85%.


   8. Are In-home Crisis Services available?

                                 Crisis Services In-Home
                                                 Yes
                                                 8%
                        Some
                         52%                                      No
                                                                 40%
                                                                          Yes
                                                                          No
                                                                          Some




      8% of the counties reported having sufficient In-Home Crisis Services available. 52% reported
      having some but not enough and 40% reported having none at all. Overall service gap was at
      92%.


   9. Are Mobile Crisis Response Services available?


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                              Mobile Crisis Response
                                               Yes
                                               6%
                       Some
                        27%

                                                                       Yes
                                                                       No
                                                                       Some
                                                                  No
                                                                 67%




     6% of the counties reported having sufficient Mobile Crisis Response Services available. 27%
     reported having some but not enough and 67% reported having none at all. Overall service gap
     was at 94%.

   10.        Are Youth Transition Coaches (Youth Advocacy) available?

                               Youth Transition Coaches
                                  (Youth Advocacy)
                                                    Yes
                       Some                         4%
                        31%

                                                                             Yes
                                                                             No
                                                                             Some
                                                                  No
                                                                 65%


      4% of the counties reported having sufficient Youth Transition Coaches (Youth Advocacy)
      available. 31% had some but not enough and 65% reported having none at all. Overall service
      gap was at 86%.


   11.        Is Peer Support available for the youth?

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                                      Peer Support Youth
                                                Yes
                       Some                     2%
                        25%

                                                                                Yes
                                                                                No
                                                                                Some

                                                                          No
                                                                         73%


2% of the counties reported having sufficient Peer Support available for the youth. 25% had some but not
enough and 73% reported having none at all. Overall service gap was at 98%.

    12.          Is Peer Support available for the family?

                                   Peer Support Family
                               Some              Yes
                                17%              6%



                                                                                Yes
                                                                                No
                                                                                Some

                                                                   No
                                                                  77%



6% of the counties reported having sufficient Peer Support available for the family. 17% had some but not
enough and 77% reported having none at all. Overall service gap was at 23%.

    13.          Is Respite Care available?




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                                       Yes   Respite
                                       2%

                   Some
                    48%                                               No
                                                                     50%
                                                                            Yes
                                                                            No
                                                                            Some




2% of the counties reported having sufficient Respite Care available. 48% had some but not enough and
50% had none at all. Overall service gap was at 98%.

   14.         Is Peer Support-Recovery Support available?

                               Peer Support - Recovery
                                               Yes
                      Some                     6%
                       44%


                                                                                 Yes
                                                                                 No
                                                                                 Some
                                                                    No
                                                                   50%




6% of the counties reported having sufficient Peer Support – Recovery available. 44% had some but not
enough and 50 Percent reported having none at all. Overall service gap was at 94%.

   15.         Are Therapeutic Mentoring Services available?


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                                    Therapeutic Mentoring
                                 Some
                                  12%


                                                                                      Yes
                                                                                      No
                                                                                      Some
                                                                        No
                                                                       88%



12% of the counties reported having some but not enough Therapeutic Mentoring Services available while
88% reported having none at all. Overall service gap was at 100%

    16.           Is Therapeutic Foster Care available? (medically necessary)


                           Yes
                                   Therapeutic Foster Care
                           2%       (medically necessary)
                             Some
                                                                      No
                              38%
                                                                     60%
                                                                                    Yes
                                                                                    No
                                                                                    Some




2% of the counties reported having adequate Therapeutic Foster Care (medically necessary) available. 38% reported
having some while 60% reported having none at all. Overall service gap was at 98%.

Community Self-Assessment of Strengths and Needs Survey

In 2015, the Department of Health and Human Resources, Bureau for Children and
Families distributed the Community Self-Assessment of Strengths and Needs, which
looks at the readiness of communities to implement a wraparound model as prescribed

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by the National Wraparound Initiative to the Community Collaborative groups (that include
service providers, Family Resource Network members, and others) with input from the
Regional Children’s Summits. The survey was broken down into six Themes or areas of
wraparound implementation: The Themes were: Community Partnership; Collaborative
Activity; Fiscal Policies and Sustainability; Access to Needed Services; Human Resource
Development and Support; and Accountability. For each theme, information was
provided regarding key considerations to keep in mind, the most critical things to
accomplish, and the biggest dangers or pitfalls to avoid.

The information gathered would be used as a benchmark to develop strategic plans in
their communities to assist with the development of those needed services. The DHHR
Community Service Managers (CSMs) are expected to provide oversight of these plans
for their Community Collaborative group.

Ten of the fourteen Community Collaborative groups participated in the survey.

The following is a copy of the survey and the results:




 Theme 1: Community Partnership                Is this happening?

 An initial group of stakeholders has come          1=NOT REALLY
 together and made a firm commitment to             2=SOME
 moving forward with wraparound                     3=QUITE A BIT
 implementation

 This group currently includes or is actively reaching out to…
 …family members and youth and/or                   1=NOT REALLY
 young adults who are “system                       2=SOME
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  experienced” including any family or               3=QUITE A BIT
  youth support/advocacy organizations in
  the community
  …representative of key funders and key             1=NOT REALLY
  child- and family-serving organizations            2=SOME
                                                     3=QUITE A BIT
  …agency and organization leaders who               1=NOT REALLY
  are able to commit resources and lead              2=SOME
  efforts to change policies                         3=QUITE A BIT
                                Theme total
                        (sum of four items):
  Theme 2: Collaborative Activity               Is this happening?

  The people who are planning for wraparound implementation…
  …have solid understanding of—and                   1=NOT REALLY
  commitment to—wraparound principles                2=SOME
  and practice                                       3=QUITE A BIT
  …are committed to making changes in                1=NOT REALLY
  their own organizations and in the larger          2=SOME
  system                                             3=QUITE A BIT
  …have reached a decision regarding who             1=NOT REALLY
  will be eligible for wraparound                    2=SOME
                                                     3=QUITE A BIT
  …are clear about the desired outcomes              1=NOT REALLY
  they hope to achieve                               2=SOME
                                                     3=QUITE A BIT
                                Theme total
                        (sum of four items):
  Theme 3: Fiscal Policies and                  Is this happening?
  Sustainability




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 The people who are planning wraparound implementation have a basic
 understanding of what will need to be funded and approximately how much it
 will cost to fund the following core wraparound needs:
 Key staff roles, including facilitators,              1=NOT REALLY
 family partners, youth partners,                      2=SOME
 supervisors and administrators                        3=QUITE A BIT
 Training, coaching and supervision for                1=NOT REALLY
 key staff roles                                       2=SOME
                                                       3=QUITE A BIT
 IT or data management systems to track                1=NOT REALLY
 utilization, administrative data, and                 2=SOME
 wraparound plans, progress and                        3=QUITE A BIT
 outcomes
 People who are planning wraparound                    1=NOT REALLY
 implementation understand the basic                   2=SOME
 models and options for achieving                      3=QUITE A BIT
 adequate, stable funding for the
 wraparound effort
                                  Theme total
                          (sum of four items):
 Theme 4: Access to Needed Services               Is this happening?
 and Supports

 The people who are planning for wraparound implementation…
 …have knowledge about the array of                    1=NOT REALLY
 services that is typically needed for                 2=SOME
 wraparound programs, including non-                   3=QUITE A BIT
 traditional services and supports and are
 actively strategizing about how to fill gaps
 in the array
 …understand the role that informal and                1=NOT REALLY
 community supports play in wraparound,                2=SOME
 and are actively strategizing about how to            3=QUITE A BIT



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  increase community capacity to build and
  use such supports
  …understand the importance of peer                  1=NOT REALLY
  support in wraparound, and are actively             2=SOME
  strategizing about how to ensure access             3=QUITE A BIT
  to peer support
  …are actively strategizing about how to             1=NOT REALLY
  build community capacity to create                  2=SOME
  completely individualized supports for              3=QUITE A BIT
  youth, caregivers, and family members
                                Theme total
                         (sum of four items):
  Theme 5: Human Resource                        Is this happening?
  Development and Support

  The people who are planning for wraparound implementation…
  …have a realistic understanding of what it          1=NOT REALLY
  takes to provide adequate training and              2=SOME
  coaching for key roles (facilitators,               3=QUITE A BIT
  family/youth partners, supervisors), and
  are actively strategizing about how to
  ensure this for the wraparound project
  … have a realistic understanding of                 1=NOT REALLY
  typical staffing plans (including caseload          2=SOME
  sizes) that allow people in key roles               3=QUITE A BIT
  (facilitators, family/youth partners,
  supervisors) sufficient time to provide
  high quality wraparound, and are actively
  strategizing about how to ensure this for
  the wraparound project
  … have a realistic understanding of the             1=NOT REALLY
  structures and processes that are needed            2=SOME
  to ensure that people in key roles offer            3=QUITE A BIT
  high quality supervision, and are actively
  strategizing about how to ensure this for
  the wraparound project

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 …understand the need to get service               1=NOT REALLY
 providers and community partners “on              2=SOME
 board” with wraparound, and are actively          3=QUITE A BIT
 strategizing about how to do this
                              Theme total
                       (sum of four items):
 Theme 6: Accountability                      Is this happening?

 The people who are planning for wraparound implementation…
 …are exploring options for assessing              1=NOT REALLY
 progress and success in overall                   2=SOME
 implementation of the wraparound project          3=QUITE A BIT
 … are exploring options for measuring             1=NOT REALLY
 wraparound quality and other process              2=SOME
 outcomes                                          3=QUITE A BIT
 … are exploring options for measuring             1=NOT REALLY
 utilization, costs and expenditures               2=SOME
                                                   3=QUITE A BIT
 … are exploring options for measuring             1=NOT REALLY
 child/youth and family outcomes,                  2=SOME
 including child/youth and family                  3=QUITE A BIT
 satisfaction and other outcomes that
 families and youth care about
                              Theme total
                       (sum of four items):


Safe at Home WV Self-Assessment of Strengths and Needs
Purpose of the Report:
This report covers the results from the 2015 Safe at Home WV Self-Assessment of
Strength and Needs Survey. Respondents were asked about Community Readiness and
Stakeholder Commitment. This report summarizes the results of that survey. Questions
were geared toward Community Partnerships, Collaborative Activity, Fiscal Policies and
Sustainability, Access to Needed Services, Human Resource Development and Support
and Accountability. The intent of the survey was to gauge the Strengths and Needs of
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each community and the readiness of the community to implement Safe at Home WV. In
this report, you will get a picture of what the community members determined to be the
areas that need to further develop services. 10 of the 14 Community Collaborative Groups
completed the survey. The following are the results of the survey:

    17. An Initial group of stakeholders has come together and made a firm
        commitment to moving forward with wraparound implementation.

                            Quite a Bit, 3

                                                                                       Not
                                                                                       Really
                                                                                       Some



                                                     Some , 7


       In total, 100% had come together and made a firm commitment to moving forward with
       Wraparound. 30% had quite a bit, 70% had at least some.

    18. This group currently includes or is actively reaching out to family members
        and youth and/or young adults who are “system experienced” including any
        family or youth support/advocacy organizations in the community.




                 Some , 4
                                                                         Not Really
                                                                         Some
                                                                         Quite a Bit
                                                      Not Really, 6


       40% were including or actively reaching out to family members and youth and/or young
       adults. 60% were not.

    19. This group currently includes or is actively reaching out to representatives
        of key funders and key child and family serving organizations.


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                                                      Not Really, 3
             Quite A Bit, 3


                                                                           Not Really
                                                                           Some
                                                                           Quite A Bit


                                          Some, 4

      70% were including or actively reaching out to representatives of key funders and key child
      and family serving organizations. 40% were quite a bit, 30% were some, and 30% were not.
      In total, 70% were.

   20. This group currently includes or is actively reaching out to agency and
       organization leaders who are able to commit resources and lead efforts to
       change policies.


                     Quite A Bit, 3
                                                 Not Really, 2
                                                                      Not Really
                                                                      some
                                                                      Quite A Bit
                                                       some, 5


      80% of the groups have included or are actively reaching out to agency and organization
      leaders able to commit resources.




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    21. The people who are planning for wraparound implementation have a solid
       understanding of, and commitment to wraparound principles and practice.



                      Quite A Bit, 4             Not Really, 2

                                                                         Not Really
                                                                         Some
                                                                         Quite A Bit
                                                            Some, 4


      80% of the people planning for wraparound have an understanding and commitment to
      wraparound principles.

   22. The people who are planning for wraparound implementation are committed
       to making changes in their own organizations and in the larger system.



                                                  Not Really, 1
             Quite A Bit, 5
                                                             Some, 4       Not Really
                                                                           Some
                                                                           Quite A Bit




      90% of the people planning for wraparound implementation are committed to making
      changes.

   23. The people who are planning for wraparound implementation have reached
       a decision regarding who will be eligible for wraparound.




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                  Quite A Bit, 2
                                                                          Not Really
                                                                          Some
                                                                          Quite A Bit
                    Some, 3                            Not Really, 5



      50% of the people planning for wraparound reached a decision on who        will be eligible.


   24. The people who are planning for wraparound implementation are clear about
       the desired outcomes they hope to achieve.


                      Quite A Bit, 3                 Not Really, 3

                                                                            Not Really
                                                                            Some
                                                                            Quite A Bit


                                       Some, 4
      70% of the people planning for wraparound are clear about the desired outcomes.

   25. Key Staff Roles, including facilitators, family partners, youth partners,
       supervisors and administrators who are planning wraparound
       implementation have a basic understanding for what will need to be funded
       and approximately how much it will cost to fund the following core
       wraparound needs.




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                         Quite A Bit, 2



                       Some, 2                                               Not Really
                                                                             Some
                                                                             Quite A Bit
                                                       Not Really, 6



      40% of the key staff had quite a bit or some basic understanding for what will need to be
      funded and how much it will cost to fund core wraparound needs. 60% did not.

   26. The people who are planning wraparound implementation have a basic
      understanding of what will need to be funded and approximately how much
      it will cost to fund training, coaching and supervision for key staff roles.


                                 Some, 3
                                                                             Not Really
                                                                             Some
                                                                             Quite A Bit


                                                         Not Really, 7


      30% of the key staff had some basic understanding for what will need to be funded and how
      much it will cost to fund training, coaching and supervision. 70% did not.

   11. The people who are planning wraparound implementation have a basic
       understanding of what will need to be funded and approximately how much
       it will cost to fund data managements systems to track utilization,
       administrative data and wraparound plans, progress and outcomes?




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                           Some, 3

                                                                                Not Really
                                                                                Some
                                                                                Quite A Bit
                                                     Not Really, 7

      30% of the key staff had quite a bit or some basic understanding for what will need to be
      funded and how much it will cost to fund data management systems to track utilization,
      administrative data and wraparound plans, progress and outcomes. 70% did not.

   12. People who are planning wraparound implementation understand the basic
      models and options for achieving adequate, stable funding for the
      wraparound effort?


                      Quite A Bit, 1

                 Some, 2                                                 Not Really
                                                                         Some
                                                                         Quite A Bit
                                                         Not Really, 7



      30% of the people planning wraparound implementation understand the basic models and
      options for achieving adequate, stable funding for wraparound. 70% do not.

   13. The people who are planning or wraparound implementation have
      knowledge about the array of services that are typically needed for
      wraparound programs, including non-traditional services and supports and
      are actively strategizing about how to fill gaps in the array of services.




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                     Quite A bit, 2

                                                                           Not Really
                                                                           Some

                                                                Some, 8    Quite A bit




      100% of the people planning wraparound implementation have knowledge about the array
      of services that are typically needed and actively strategizing how to fill the gaps in services.

   14. The people who are planning for wraparound implementation have
      knowledge about the array of services that are typically needed for
      wraparound programs, including non-traditional services and supports and
      are actively strategizing about how to increase community capacity to build
      and use such supports.

                 Quite a Bit, 3                 Not Really, 1


                                                                              Not Really
                                                                              Some
                                                                              Quite a Bit
                                                                Some, 6




      90% of the people planning wraparound implementation have knowledge about the array of
      services that are typically needed and actively strategizing how to fill the gaps in services.

   15. The people who are planning for wraparound implementation understand
      the importance of peer support in wraparound and are actively strategizing
      about how to ensure access to peer support.




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                        Quite A Bit, 3
                                               Not Really, 2
                                                                                 Not Really
                                                                                 Some
                                                                                 Quite A Bit

                                               Some, 5

      80% of the people who are planning for wraparound implementation understand the
      importance of peer support and are actively strategizing how to ensure access.

   15. The people who are planning the wraparound implementation are actively
      strategizing about how to build community capacity to create completely
      individualized supports for youth, caregivers and family members.


                                    Therapeutic Mentoring
                                                               Not Really, 3
                  Quite A Bit, 3                                                    Not Really
                                                                                    Some
                                                                                    Quite A Bit
                                                      Some, 4



      70% of the people planning wraparound implementation have quite a bit or some knowledge
      about the array of services that are typically needed and actively strategizing how to fill the
      gaps in services. 30% did not.

   16. The people who are planning for wraparound implementation have a
      realistic understanding of what it takes to provide adequate training and
      coaching for key roles (facilitator, family/youth partners, supervisors) and
      are actively strategizing about how to ensure this for the wraparound project.




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                       Quite A Bit, 2

                                                       Not Really, 5
                  Some, 3                                                 Not Really
                                                                          Some
                                                                          Quite A Bit




      50% of the people who are planning for wraparound implementation have a realistic
      understanding of what it takes to provide adequate training and coaching for key roles. 50%
      do not.

   17. The people who are planning for wraparound implementation have a
      realistic understanding of typical staffing plans (including caseload sizes)
      that allow people in key roles (facilitators, family/youth partners,
      supervisors) sufficient time to provide high quality wraparound and are
      actively strategizing about how to ensure this for the wraparound project.


                    Quite A Bit, 3
                                                               Not Really, 4

                                                                               Not Really
                                                                               Some
                    Some, 3                                                    Quite A Bit



      60% of the people who are planning for wraparound implementation have a realistic
      understanding of typical staffing that allow people in key roles sufficient time to provide
      high quality wraparound. 40% do not.

   18. The people who are planning for wraparound implementation have a realistic
       understanding of the structures and processes that are needed to ensure
       that people in key roles offer high quality supervision and are actively
       strategizing about how to ensure this for the wraparound project.




                                              300




                                                                                             D005002
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                                                                           Not Really
                                                                           Some
                                                                           Quite A Bit




      70% of the people who are planning for wraparound implementation have a realistic
      understanding of the structures and processes that are needed to ensure that people in key
      roles offer high quality supervision.

   19. The people who are planning the wraparound implementation understand
       the need to get service providers and community partners “on board” with
       wraparound and are actively strategizing about how to do this.




                  Quite A Bit, 3          Not Really, 1

                                                                          Not Really
                                                                          Some
                                                                          Quite A Bit
                                                            Some, 6


      90% of the people who are planning the wraparound implementation understand the need
      to get service providers and community partners “on board” with wraparound.

   20. The people who are planning for wraparound implementation are exploring
       options for assessing progress and success in overall implementation of the
       wraparound project.




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                               Quite A Bit, 1

                                                                               Not Really
                   Some, 3
                                                           Not Really, 6       Some
                                                                               Quite A Bit




      40% of the people who are planning for wraparound implementation are exploring options
      for assessing progress and success in overall implementation of the wraparound project.

   21. The people who are planning for wraparound implementation are exploring
      options for measuring wraparound quality and other process outcomes.



                                Quite A Bit, 1


                                                                               Not Really
                                                               Not Really, 5
                Some, 4                                                        Some
                                                                               Quite A Bit




      50% of the people who are planning for wraparound implementation are exploring options
      for measuring wraparound quality and other process outcomes.

   22. The people who are planning for wraparound implementation are exploring
      options for measuring utilization, costs and expenditures.




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                                                                          Not Really
                                                                          Some
                                                                          Quite A Bit




      40% of the people who are planning for wraparound implementation are exploring options
      for measuring utilization, costs and expenditures. 60% are not.

   23. The people who are planning for wraparound implementation are exploring
      options for measuring child/youth and family outcomes, including
      child/youth and family satisfaction and other outcomes that families and
      youth care about.




       Some, 5
                                                  Not Really, Not
                                                              5 Really
                                                            Some
                                                            Quite A Bit




      Conclusion:

      There is still some confusion and uncertainty when it comes to implementing
      wraparound.      While most understand the Wraparound Process itself,
      implementation is still confusing to many. As implementation continues throughout
      WV, we should have more of an understanding on how implementation works, and
      what we have to have in place in each community to be successful. This survey
      was completed in the very early stages of Safe at Home WV.


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STATEWIDE FRN 2016 CQI SURVEY RESULTS

Purpose of the Survey:
In a response to Results Based Accountability and to foster a culture of Continuous
Quality Improvement (CQI), the Department of Health and Human Resources, Bureau for
Children and Families, Division of Children and Adult Services began conversations with
Family Resource Networks (FRNs) in late 2011. In an effort to assist and meet the desires
of the FRNs to be accountable with data rather than anecdotal stories, the Bureau
adapted the community collaboration portion of the 2012 Peer Review1 in CBCAP
process that Family Resource Centers currently undergo. For more information on the
CQI process, please visit http://friendsnrc.org/continuous-quality-improvement.

Because the FRNs are provided with planning and coordination grants from the
WVDHHR, community collaboration should be a key cornerstone of every FRN. This can
be universally measured across all FRNs regardless of the way they function or the
diversity of outcomes they are working toward. During FY’12, DHHR program staff met
with the FRNs to review the instrument, take comments, and revise the instrument for
distribution. WVDHHR developed a process where FRNs submitted their list of
community networks. The survey was distributed electronically or by paper to a list of
community stakeholders the FRN provided. Using SurveyNet software, responses were
recorded electronically or entered when the paper survey was returned to the WVDHHR.
The following is a statewide report based on the responses received from the community
network of Your FRN for fiscal year 2016.

      1. Which answer best describes your role in your FRN?




1
    http://friendsnrc.org/peer-review


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                                     Role in the FRN?
      Community                                              Community
    Organization, 215    Family Member, 20                   Member, 59

                                                                               Family Member

                                                                               Community Member

                                                                               Agency Representative

                                                                               Community Organization



                                            Agency
                                       Representative, 376

 2. Your FRN involves families to identify needs.

                        Involves families to identify needs.


                  Disagree     Don't Know
                     3%           5%         Not Applicable Strongly Agree
                                                  1%                             Strongly Agree
             Neutral                                             49%
               4%                                                                Agree
                                                                                 Neutral
                                                                                 Disagree
                                                                                 Strongly Disagree

     Agree                                                                       Don't Know
      38%                                                                        Not Applicable




                                                   305




                                                                                              D005007
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 3. Your FRN advocates for local, state and federal policy changes that will promote
    better services for families.

                     Advocates for local, state and federal
                    policy changes that will promote better
                                services for families.
                            Disagree
                                  3%   Don't Know
                        Neutral           3%
                          4%                        Strongly Agree
                                                         56%           Strongly Agree
                                                                       Agree
                                                                       Neutral
              Agree
               34%                                                     Disagree
                                                                       Strongly Disagree



 4. Your FRN Coordinates with local, public and private service providers to assess
    gaps in services and design plans to address those gaps.

                Coordinates with local, public and private
                   service providers to assess gaps in
                  services and design plans to address
                   Disagree   those gaps.
                         3%            Don't Know
              Neutral                                                   Strongly Agree
                                          3%
                3%                                                      Agree

            Agree                                                       Neutral
             35%                                         Strongly Agree Disagree
                                                              56%
                                                                        Strongly Disagree
                                                                        Don't Know
                                                                        Not Applicable




                                           306




                                                                                         D005008
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 5. Your FRN adapts to the changing needs of families and the community.

                        Adapts to the changing needs of
           Disagree      families and the community.
              3%
                                      Don't Know
           Neutral
                                         3%              Strongly Agree
             5%                                                         Strongly Agree
                                                              53%
                                                                        Agree
                                                                        Neutral
                                                                        Disagree
                                                                        Strongly Disagree
                                                                        Don't Know
          Agree
           36%                                                          Not Applicable




 6. Your FRN provides information or presentations on activities, events and services
    within the community.

                      Provides information or presentations
                     on activities, events and services within
                                  the community.
          Disagree                        Don't Know
             1%                              1%
                                                       Strongly Agree
                                                                         Strongly Agree
                                                            65%
         Neutral
                                                                         Agree
           4%
         Agree                                                           Neutral
          29%                                                            Disagree
                                                                         Strongly Disagree
                                                                         Don't Know
                                                                         Not Applicable




                                           307




                                                                                            D005009
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   7. Your FRN consistently updates resources and referral information on the
   following:


             Updates Resources and Referral Information
                                    800
                 Number of People




                                    700
                                    600
                                    500
                                     400
                                     300
                                     200
                                     100
                                        0




   8. Your FRN encourages and develops effective strategies to partner with family
   representatives.


                                Encourages and develops effective strategies to
                                     partner with family representatives.
                                    Strongly Disagree   Don't Know
        Disagree                           0%              3%             Strongly Agree
           4%
                                                                               46%         Strongly Agree

       Neutral                                                                             Agree
         4%                                                                                Neutral
                                                                                           Disagree
                                                                                           Strongly Disagree

     Agree                                                                                 Don't Know
      43%                                                                                  Not Applicable




                                                                308




                                                                                                      D005010
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   9. The Community demonstrates its support of your FRN by providing resources
   such as financial support and in-kind donations.

                         Demonstrates its support by providing
                      resources such as financial support and in-
        Strongly
                 Don't Know        kind donations
        Disagree
                     17%          Not Applicable
           1%                                            Strongly Agree
                                       0%                                  Strongly Agree
                                                              31%
               Disagree                                                    Agree
                  3%                                                       Neutral
                                                                           Disagree
           Neutral                                                         Strongly Disagree
             9%
                                                                           Don't Know
                                         Agree                             Not Applicable
                                          39%


   10. Your FRN works to ensure that community partnerships are culturally
   representative of the community and inclusive of the range of resources.

                       Works to ensure that community
              partnerships are culturally representative of
                        Strongly Disagree
              theDisagree
                   community
                     1%
                               0%       and Don't
                                             inclusive
                                                  Know of the range of
                                               2%
                Neutral                   resources. Strongly
                                                           18%
                                                              Agree

                     2%
                                                                            Strongly Agree
                                                                            Agree
                                                                            Neutral
                                                                            Disagree
                                                                            Strongly Disagree
                                                                            Don't Know
               Agree                                                        Not Applicable
                77%


                                                   309




                                                                                         D005011
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     11. Your FRN participates in community-building activities such as health and
     resource fairs, cultural celebrations, school events, town hall meetings and
     community advocacy/self-advocacy activities.

                             Participates in community building
                           activities such as health and resource
                         fairs, cultural celebrations, school events,
                           town hall meetings and community…
                                       Disagree Don't Know
                                  Neutral
                                                   0%           Not Applicable     Strongly Agree
                                    3%    1%
                                                                     0%
                 Agree                                                             Agree
                  31%
                                                                                   Neutral
                                                                  Strongly Agree
                                                                       65%         Disagree




     12. Your FRN participates in community building activities including fostering
     dialogue among groups within the community.

                 Participates in community building activities
                  including fostering dialogue among groups
                     Disagree within the community.
                           2%
                                Strongly Disagree         Don't Know
                    Neutral            0%                    2%                    Strongly Agree
                      5%
                                                                                   Agree
                                                                                   Neutral

         Agree                                                                     Disagree
          38%                                                                      Strongly Disagree
                                                                                   Don't Know
                                                               Strongly Agree
                                                                    53%            Not Applicable



                                                    310




                                                                                              D005012
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   13. Your FRN encourages community partnerships with public and private agencies
   and participates in collaborative planning bodies.


                   Encourages community partnerships with
                         public and private agencies and
                     participates        in collaborative planning
                              Strongly Disagree
                     Disagree
                        3%
                                     0%      bodies. Don't Know
              Neutral                                         2%
                3%                                                            Strongly Agree
                                                                              Agree
                                                                              Neutral
                                                                              Disagree
                                                                              Strongly Disagree
           Agree                                                              Don't Know
            34%
                                                           Strongly Agree     Not Applicable
                                                                58%


   14. Your FRN adapts to economic and social trends.


                   Adapts to economic and social trends.
                                   Don't Know           Strongly Agree
                        Disagree
              Neutral                 6%                     43%
                           2%
                8%
                                                                            Strongly Agree
                                                                            Agree
                                                                            Neutral
                                                                            Disagree

   Agree                                                                    Strongly Disagree
    41%                                                                     Don't Know
                                                                            Not Applicable




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                                                                                                D005013
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      15. How would you rate your FRN overall?


                            How would you rate the FRN
                                    overall?
                            500
                            400
                            300
                             200   454
                             100         230
                               0                   33   15
                                                               3




      16. How long have you been involved with your FRN?


                  How long have you been involved with the
                                   FRN?
           350
           300
           250
           200
           150
           100
            50
             0
                      <1                  1-3                 3-5               5+
                     Year                Years               Years             Years




                                                 312




                                                                              D005014
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      Over 670 people completed the survey given through the FRN Network. The
      following information shows the percentage of respondents and their answers:
      87% of the people surveyed agreed that the FRNs involve families to identify
      needs.

      90% of the people surveyed agreed that the FRNs advocate for local, state and
      federal policy changes that will promote better services for families.

      91% Percent of the people surveyed agreed that the FRNs coordinate with local,
      public and private service providers to assess gaps in services and design plans
      to address those gaps.

      89% of the people surveyed agreed the FRNs adapt to the changing needs of
      families and the community.

      94% the people surveyed agreed the FRNs provide information or presentations
      on activities, events and services within the community.

      89% of the people surveyed agree the FRNs encourage and develop effective
      strategies to partner with family representatives.

      70% of the people surveyed agree the FRNs demonstrate their support by
      providing resources such as financial support and in-kind donations.

      95% of the people surveyed agree the FRNs work to ensure that community
      partnerships are culturally representative of the community and inclusive of the
      range of resources.

      96% of the people surveyed agree the FRNs participate in community building
      activities such as health and resource fairs, cultural celebrations, school events,
      town hall meetings and community advocacy/self-advocacy activities.

      91% of the people surveyed agree the FRNs participate in community building
      activities including fostering dialogue among groups within the community.

      92% of the people surveyed agree the FRNs encourage community partnerships
      with public and private agencies and participate in collaborative planning bodies.

      84% of the people surveyed agree the FRNs adapts to economic and social trends.


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                                                                                  D005015
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      93% of the people surveyed agree the FRNs are effective overall.

      Over 600 people taking the survey have been involved with the FRN for over a
      year with nearly 150 involved more than 3 years, and over 300 who have been
      involved 5 years or more.

WV currently does not need additional training or technical assistance.


Individualization of Services 2018
Annual Youth Stakeholder Focus Group Summary
RESIDENTIAL FACILITIES

During Contract Year 17, the Consumer & Community Affairs Liaison facilitated twelve
(12) Focus Groups with youth receiving Medically Necessary Services (MNS) for
Behavioral Health issues who are currently in crisis /residential treatment facilities.

The purpose of these focus groups is to provide youth in West Virginia the opportunity to
candidly share their experiences and opinions. These groups are conducted on a regular
basis in various regions across the state of West Virginia to gain insight regarding the
utilization and impact of these services in the state. Information is gathered throughout
the year with a minimum of twelve (12) focus groups that reflect consumers’ voices about
access, service delivery, treatment plan goals, cultural competency and outcomes.
Total: One hundred thirty-six (136) youth receiving behavioral health treatment
placed in residential settings.

The focus group questions were developed with input from the Bureau for Children and
Families. The intent of these questions was to generate responses identifying systemic
issues regarding consumer perceived problems and solutions in regards to:

Access
Service delivery
Gaps in support systems
Engagement with system staff
Cultural competency
Consumer knowledge of services and supports

Is your current agency/family committed to providing health and educational
materials that appeal to various social, cultural and special needs groups?
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                                                                                 D005016
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Seventy-six percent (76%) or 103 participants agreed that the agencies were committed
to providing pertinent materials that addressed their individual needs, while twenty-four
percent (24%) or 33 participants were unsure.
Are intake forms or materials available in different languages?

Seventy-eight percent (78%) or 106 respondents were unsure if materials were
available in different languages, while eighteen percent (18%) or 24 participants stated
that the agencies did provide alternative language formats. Four percent (4%) or 6
respondents stated that forms were available in different formats.
Does your provider offer assistance for those with disabilities? For example: large
print, sign language, assistive technology.

Eighty-four percent (84%) or 114 participants agreed that their agencies offered
assistance for those with disabilities, while sixteen percent (16%) or 22 participants
weren’t sure.
Does the agency have trained interpreters readily available for various languages,
including sign language?


Ninety-five percent (95%) or 129 participants stated that the agencies had access to
trained interpreters for various languages and sign language. Five percent (5%) or 7
respondents did not know.
Do the agency/families have established connections with various communities,
cultural, ethnic and religious groups to help better serve diverse groups?

Sixty-seven percent (67%) or 91 participants agreed that the agencies had established
connections to serve diverse groups, while twenty percent (20%) or 27 participants said,
“No.” Thirteen percent (13%) or 18 participants didn’t know or had had no response.

In the past six months has this agency sponsored at least one activity that has
helped improve communication and teamwork between residents of different
cultural, language and ethnic groups?

Sixty-nine percent (69%) or 94 of those responding agreed that the agencies had
sponsored at least one activity that promoted teamwork and communication between
cultural and ethnic groups. Thirty-one percent (31%) or 42 participants said, “No.”

Do you have the opportunity to attend racial group holidays or functions within
diverse communities? What was it?

                                           315




                                                                                 D005017
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Sixty-seven percent (67%) or 91 of those responding stated that they had not attended
group holidays or community functions within diverse communities. While Thirty-three
percent (33%) or 45 had and they were as follows:

Passover services                               Holiday cook outs
Easter services                                 Ethnic dining/meal prep
Christmas parties


Are you provided linkages with advocates for diverse communities who can give
you reliable information regarding community opinions about diverse and
important issues?

Thirty-three percent (33%) of participants or 45 of those responding agreed that they
were provided linkages to advocates regarding diverse and important issues, while sixty-
three percent (63%) or 85 participants had not. Four percent (4%) or 6 participants gave
no response.

Do you have access to religious services in which you affiliate?

Seventy-six percent (76%) of participants or 104 respondents stated, “Yes.” While
twenty-three percent (23%) or 31 respondents said no. One (1) person did not respond.

Does your care provider (Family) alter your programming or care based on your
values or culture?

Seventy-two percent (72%) of participants or 98 respondents stated, “Yes.” “While
twenty-eight percent (28%) or 38 respondents said, “No.””

Do you feel your services are tailored to your needs?

Sixty-eight percent (68%) of participants or 92 respondents stated, “Yes.” While thirty-
two percent (32%) or 44 participants said, “No.”

Are visitations arranged in situations you and your family are comfortable-
physically and emotionally?




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                                                                                D005018
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Eighty-five percent (85%) or 115 participants agreed that visits were comfortable, both
physically and emotionally, while fifteen percent (15%) or 21 participants had no family
visits due to parental rights being terminated.

Are you allowed visits with siblings, extended family, kin or your friends you want
to keep in touch with from home?

Eighty-five percent (85%) or 115 participants agreed that visits were comfortable, both
physically and emotionally, while fifteen percent (15%) or 21 participants had no family
visits due to parental rights being terminated.

Are you able to contact family and friends besides visitation, phone calls and
letters? Do you have access to e-mail, skype, face time, texting, twitter, Facebook,
Instagram, snap chat?

Seven percent (7%) or 9 participants stated that they were able to contact family and
friends via email, skype, face time, Facebook, etc. with supervision and timelines; while
ninety-three percent (93%) or 127 respondents agreed that other than face-face
visitation they were only allowed to use the phone.

If you are celebrating a special occasion or holiday do you have input in the
planning? Are your family traditions considered, foods your family likes, ways to
decorate?

Seventy-four percent (74%) of participants or 100 respondents stated, “Yes.” While
twenty-six percent (26%) or 36 participants said, “No.”
* To both questions

Do you have access to personal care items or services that match your needs?
(Haircuts dye…)

Eighty percent (80%) of participants or 109 respondents stated, “Yes.” Twenty percent
(20%) or 27 participants said their personal care needs weren’t met.

Do you feel you get to express your personal style in clothing and appearance?

Eighty-five percent (85%) of participants or 115 respondents stated, “Yes.” While fifteen
percent (15%) or 21 respondents said,” No.”



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Do caregivers understand or demonstrate an understanding of sex/gender issues?
Are staff comfortable talking about LGBTQ issues? Does staff initiate discussions
related to LGBTQ issues?

Seventy-two percent (72%) or 98 participants said, “Yes of the three questions.”
Twenty-six percent (28%) or 38 respondents answered no to all three questions.

Do you feel that caregivers’ uses inclusive language rather than identifying
activities based on stereotyped gender roles?

Seventy-two percent (72%) or 98 participants said, “Yes.” Twenty-six percent (28%)
or 38 respondents answered no.

Do you feel isolated or separated/segregated due to your sexual orientation? Have
you been punished or given consequences for age appropriate sexual conduct that
is different than what heterosexual youth would receive?

Forty-eight percent (48%) or 66 participants gave no response to both questions, while
forty-five percent (45%) or 61 respondents answered no to both questions. Seven
percent (7%) or 9 participants said, “Yes.”

Did caregivers ask what pronoun you preferred to use? Did they just assume, or
do they continue to refer to you by your birth sex?

Sixty-eight percent (68%) or 92 participants gave no in response to both questions,
while thirty-two percent (32%) or 44 respondents answered no to both questions.

Have caregivers identified support groups, places, and people for you outside of
the family setting?

Forty-five percent (45%) of participants or 61 respondents stated, “Yes.” There were
identified supports outside the facilities, while another forty-five percent (45%) or 62
participants said, “No.” Ten percent (10%) or 13 participants had no comment.

During Contract Year 17, the Consumer & Community Affairs Liaison facilitated twelve
(12) Focus Groups with youth, families and foster parents that reside in the community
and utilize Socially Necessary Services (SNS)




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The purpose of these focus groups is to provide youth in West Virginia the opportunity to
candidly share their experiences and opinions. These groups are conducted on a regular
basis in various regions across the state of West Virginia to gain insight regarding the
utilization and impact of these services in the state. Information is gathered throughout
the year with a minimum of twelve (12) focus groups that reflect consumers’ voices about
access, service delivery, cultural competency and outcomes.
Total: Ninety-eight (98) youth, family and foster parents utilizing Socially Necessary
Services
The focus group questions were developed with input from the Bureau for Children and
Families. The intent of these questions was to generate responses identifying systemic
issues regarding consumer perceived problems and solutions in regard to:
Access
Service delivery
Gaps in support systems
Engagement with system staff
Cultural competency
Consumer knowledge of services and supports


Is your current agency/family committed to providing health and educational
materials that appeal to various social, cultural and special needs groups?
One hundred percent (100%) or 98 participants agreed that the agencies were
committed to providing pertinent materials that addressed their individual needs.
Are intake forms or materials available in different languages?
Sixty percent (60%) or 59 respondents stated that materials were available in different
languages, while forty percent (40%) or 39 participants stated that they didn’t know.
Does your provider offer assistance for those with disabilities? For example: large
print, sign language, assistive technology.
Seventy-eight percent (78%) or 76 participants agreed that their agencies offered
assistance for those with disabilities, while twenty-two percent (22%) or 22 participants
weren’t sure.



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Does the agency have trained interpreters readily available for various languages,
including sign language?
One hundred percent (100%) or 98 participants stated that the agencies had access to
trained interpreters for various languages and sign language.
Do the agency/families have established connections with various communities,
cultural, ethnic and religious groups to help better serve diverse groups?
Ninety-one percent (91%) or 89 participants agreed that the agencies had established
connections to serve diverse groups, while nine percent (9%) or 9 participants stated no.
In the past six months has this agency sponsored at least one activity that has
helped improve communication and teamwork between residents of different
cultural, language and ethnic groups?
Forty-eight percent (48%) or 47 participants agreed that the agencies had established
connections to serve diverse groups, while fifty-two percent (52%) or 51 participants
stated no.
Do you have the opportunity to attend racial group holidays or functions within
diverse communities? What was it?
Eighty-nine percent (89%) or 87of those responding stated that they had attended on
or more group holidays or community functions within diverse communities, while eleven
percent (11%) or 11 participants did not attend community functions.
They were as follows:
Passover services                                Holiday cook outs
Easter services                                  Ethnic dining/meal prep
Various protestant church groups                       Cultural Art Festival
Catholic services                                Italian Festival
Christmas parties                                Hanukkah services

Are you provided linkages with advocates for diverse communities who can give
you reliable information regarding community opinions about diverse and
important issues?




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One hundred percent (100%) of participants or 98 of those responding agreed that they
were provided linkages to advocates regarding diverse and important issues.
Do you have access to religious services in which you affiliate?
One hundred percent (100%) of participants or 98 respondents stated, “Yes.”
Does your care provider (Family) alter your programming or care based on your
values or culture?
One hundred percent (100%) of participants or 98 respondents stated, “Yes.”
Do you feel your services are tailored to your needs?
one hundred percent (100%) of participants or 98 respondents stated, “Yes.”
Are visitations arranged in situations you and your family are comfortable-
physically and emotionally?
One hundred percent (100%) or 98 participants agreed that visits were comfortable,
both physically and emotionally.
Are you allowed visits with siblings, extended family, kin or your friends you want
to keep in touch with from home?
One hundred percent (100%) or 98 participants stated that they were allowed to stay in
touch with extended family, kin and friend from home.
Are you able to contact family and friends besides visitation, phone calls and
letters? Do you have access to e-mail, skype, face time, texting, twitter, Facebook,
Instagram, snap chat?
Eighty-nine percent (89%) or 87 participants stated that they were able to contact family
and friends via email, skype, face time, Facebook, etc. with supervision and timelines.;
while eleven percent (11%) or 11 respondents agreed that other than face-face visitation
they were only allowed to use the phone.
If you are celebrating a special occasion or holiday do you have input in the
planning? Are your family traditions considered, foods your family likes, ways to
decorate?
One hundred percent (100%) of participants or 98 respondents stated, “Yes.”
* To both questions
Do you have access to personal care items or services that match your needs?
(Haircuts dye…)

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One hundred percent (100%) of participants or 98 respondents stated, “Yes.”
Do you feel you get to express your personal style in clothing and appearance?
One hundred percent (100%) of participants or 98 respondents stated, “Yes.”
Do caregivers understand or demonstrate an understanding of sex/gender issues?
Are staff comfortable talking about LGBTQ issues? Does staff initiate discussions
related to LGBTQ issues?
One hundred percent (100%) or 98 respondents said, “Yes to all questions.”
Do you feel that caregivers’ uses inclusive language rather than identifying
activities based on stereotyped gender roles?
One hundred percent (100%) of participants or 98 respondents stated, “Yes.”
Do you feel isolated or separated/segregated due to your sexual orientation? Have
you been punished or given consequences for age appropriate sexual conduct that
is different than what heterosexual youth would receive?
one hundred percent (100%) or 98 participants said, “No.”
Did caregivers ask what pronoun you preferred to use? Did they just assume, or
do they continue to refer to you by your birth sex?
Sixty-six percent (66%) or 65 participants said no in response to both questions, while
thirty-three percent (33%) or 33 had know comment.
Have caregivers identified support groups, places, and people for you outside of
the family setting?
One hundred percent (100%) of participants or 98 respondents stated, “Yes.”

Agency Responsiveness to the Community

Family Resource Networks, Community Collaborative Groups and Summits

The Family Resource Networks (FRNs) are organizations that understand and are
responsive to the needs and opportunities in West Virginia (WV) communities. Partnering
with citizens and local organizations, the FRNs develop, coordinate, and administer
innovative projects and provide needed resources. FRNs provide indirect services,
including managing, supervising, and coordinating a variety of programs and initiatives in
their respective community. They also provide services to those dealing directly with
children and families, specifically organizations and groups.

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The FRNs Service Agreement include attending and participating in the (multi-county)
Community Collaborative and Regional Summits to identify existing services and service
gaps in the community.

The FRNs, who have a larger focus of what is needed in their communities, will assist the
Community Collaborative Groups in tracking service needs and when those services are
not available.

Community Collaborative Groups play a key role in the Safe at Home West Virginia (Title
IV-E demonstration project). The Safe at Home WV will include “wrapping” services in
the community around the child and family. This wrap around model is intended to
prevent removal or reduce the length of time a child spends in out-of-home care
(residential care).

Community Collaborative Groups (along with representation of the FRNs) will identify
community-based services and, if needed, developing services based on the needs of
the children and families in their community. When a need is identified, the Community
Collaborative will first seek to meet that need within their community and in partnership
with community providers and service agencies. If a service or group of services is not
available to meet the identified need, the Collaborative group is expected to forward the
request to the Regional Summit to identify any resources in the area that lie outside the
Community Collaborative Group’s scope. If, after collaborating with the Regional Summit,
a true gap in services is identified, the Regional Summit will communicate that need to
the BCF Statewide Coordinator who will present the need to the Safe at Home West
Virginia Advisory Team.

Communication is essential for service identification and development. When a
Community Collaborative communicates a service gap to the Regional Summit, the
needed service should be accompanied by a brief summary of the situation and need the
service is trying to fill. Likewise, if the gap cannot be filled at the Regional level, the
Regional Summit will also be expected to provide this information when sending the
request to the Safe at Home Advisory Team. This will communicate a clear understanding
of the service gap and allow for consideration of different solutions. Family Resource
Network members will attend, participate and provide support both the Community
Collaborative Groups and Regional Summits.

From October 2013 through September 2014

A Service Delivery Coordinator with DHHR was hired to provide technical assistance for
Community Collaborative Groups. Technical assistance can include data sharing with the

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Community Collaborative Groups on the identified needs and characteristics of the
children from their community placed in care. The Coordinator will also assist with the
statewide Community Collaborative meetings and foster relationships between providers
and the Bureau for Children and Families staff.

Resource Development and Capacity Plans are being completed by the Community
Collaborative Groups and submitted semi-annually (July and January) to the BCF
Statewide Coordinator. This report will track the strategies, actions and challenges the
Community Collaborative Groups are following.

The Safe at Home West Virginia (Title IV-E Waiver) will support the provision of a full
continuum of supports to strengthen West Virginia children and families. Identifying and
building community-based services, focused on reducing youth currently in congregate
care and those children at risk of going into out of home care so that they can safely
remain in their home community.

In June 2014, the WV Department of Health and Human Resources, Bureau for Children
and Families provided a quality improvement survey to those involved with the FRNs.
The purpose of the survey was to examine the FRN within the community, analyze their
ability to work cooperatively with other organizations and assess their knowledge of
available community resources and their ability to access those resources.

A statewide Community Collaborative meeting was held on December 17, 2014 to
discuss Safe at Home West Virginia, the goals of the Child Family Services Plan, using
the Child Adolescent Needs & Strengths (CANS) to identify gaps and needed services
that will build on the child’s strengths and needs. This meeting was attended by
Community Collaborative members, Family Resource Network Directors, DHHR
Managers (local and statewide), Bureau for Health and Health Facilities staff, and service
providers.

New View report – The draft of the New View Report is being reviewed and is expected
to be finalized by the Court Improvement Program (CIP) Board on November 6, 2015.

2016 Update

The WV DHHR Office of Communications serves as the point of contact for the DHHR
Cabinet Secretary’s office for internal and external communications efforts and manages
the Department’s reputation through the production and distribution of messages
surrounding its activities. The Office of Communications serves as DHHR’s voice to the
media and helps keep employees informed.

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Additionally, Communications at DHHR is a strategic management tool, integrating and
linking marketing and branding strategies with public relations. DHHR utilizes two-way
communication to effectively develop trusting relationships with clients, employees,
legislators, the media and the public.

The staff for the Office of Communications consists of the Director, who serves as media
spokesperson for the Secretary and as the department’s liaison with the staff of the
Governor’s Communications Office; Deputy Director; Assistant to the Director;
Communications Specialist; and Communications Assistant.

The following communications protocol is followed:

      Media inquiries are referred to the Director of Communications upon initial
       contact/request for information.
      News releases must be approved by the Office of Communications prior to release.
      The Office of Communications provides internal design services and professionally
       developed templates.
      Social media is a coordinated effort through the Office of Communications. All
       programs and services of the Department may be promoted or shared on the
       Department’s official Facebook page by submitting information and ideas to
       dhhrcommunications@wv.gov.
      The Office of Communications approves all promotional items before purchase
       and distribution.

The Field Operations Management Team, consisting of two Deputy Commissioners, four
Regional Directors, one Director of Client Services and the Change Center North and
South, one Director of Centralized Intake and 30 Community Service Managers (CSM)
who cover the 55 counties is tasked with interacting with the communities. Based upon a
job analysis – Position Description Form (PDF) - done by a representative group of CSMs
they determined that they spend 20% of their time responding to and interacting with the
communities they serve. Please see attached PDF. This PDF was developed for use with
the WV Division of Personnel as a supporting document in the hiring process for
managers. Examples of tasks and activities that are included in this 20% of CSMs’ jobs
would be:

      Mandated Abuse & Neglect Reporter training done for Hospitals, Schools and
       other groups, such as churches, camps, youth community groups. CSMs would
       conduct or arrange for others to conduct such training;
      Quarterly Meetings with judges and prosecuting attorneys;


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      Serving on Family Resource Networks (FRN) that are established by WV Code in
       every county. FRNs meet monthly;
      Serving on Community Collaboratives, which bring together FRNs, CSMs, service
       providers and community members from across two or three districts each.
       Community Collaboratives meet monthly;
      Serving on Regional Children’s Summits, of which one exists in each of the four
       BCF regions and brings together all the Collaboratives noted above. Summits work
       to identify community needs, service gaps and work towards solutions for
       communities on a regional level. Most Summits meet monthly.

The process for when complaints are received regarding work at the field level:

      Complaints may be received at and addressed at any level of the agency;
      The chain of command is often employed to respond to complaints. Complainants
       who call are referred to a supervisor or someone of a higher level, or to Client
       Services. Written complaints received are handled similarly;
      Client Services is a unit dedicated to responding to client complaints. The staff
       works with the district staff to evaluate the complaint and issue proper responses;
      Client Services is under the purview of a Director and one of the Deputy
       Commissioners for Field Operations, thus affording opportunity for more neutral
       oversight regarding the nature of complaints and practice. Client Services tracks
       some statistical information regarding complaints – program type and county;
      Field staff may be redirected by their chain of command, if practice issues are
       discovered, as a result of a client complaint. Most complaints do not involve this
       sort of redirection;
      Clients are often reminded about program requirements and policy as a result of
       complaints;
      Many complaints do involve lack of return phone calls by field staff to clients.
       Handling client issues at the lowest level and returning a call has been a mandate
       for district staff. This BCF initiative – One & Done- first came about due to overflow
       calls related to Affordable Care Act, it has been in place since 2014 and a new
       version is set to be released in May 2016 and will also be an expectation of Social
       Service as well as Family Assistance Staff.

Community Outreach

The Department recognizes data collection and using that data to identify trends that have
been a deficit in the past. We have data and information from many resources such as
New View Reports, Client Services complaints, Court Improvement Board, Citizen’s
Review Panel, focus groups reports and other sources. Part of the problem has been not
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having one data source that reviews and analyzes that data to identify issues and trends.
A Data Collection committee will begin gathering and evaluating all data to identify trends
that will be forwarded to the Leadership Team each month and will be reviewed at the
monthly leadership meeting. They will discuss and then share trends with Child Welfare
Oversight to develop plans to address issues and perform an assessment of strengths
and concerns.

In each District, local Community Services Managers will continue to be responsive to
needs within the community by working with various resources within the community to
address local concerns. The Customer Service Centers and County Offices will continue
to offer customers prompt, efficient, and accurate service. The Centralized Intake Centers
are now functioning at full capacity and will be able to address all CPS issues and provide
assistance to clients as needed. The county offices will begin to show videos that explain
the CPS process on a more regular basis. These efforts will help the bureau address
deficiencies and identify strengths that will enable us to better serve our customers in a
more efficient and timely manner.

A workgroup was developed in response to the needs of the communities we serve. The
workgroup gathered to determine the goals and objectives of the DHHR/BCF response
to the community we serve. In dissecting the overall mission of the workgroup, it was
agreed BCF should look at the community as a whole and survey the community to
ascertain data on strengths as well as weaknesses. The group has developed two
surveys which encompass the community as a whole. The first survey will explore the
professional aspect of responsiveness, seeking feedback from the Judicial/Legal Branch,
Law Enforcement, Collaborative, Family Resource Networks, and any other professional
organization. The second survey seeks feedback from individuals who serve in the
capacity of a foster parent, inclusive of kinship relative providers.

It has been decided Survey Monkey will be the most adequate mechanism to not only
collect data, but also disseminate the data to determine future actions. Based on the
various disciplines involved in the collection process, distribution of the survey would most
likely work on the local level utilizing both current professional relationships and stored
foster parent email addresses for the online survey process.

Upon completion of the data dissemination process, recommendations as well as future
goals and objectives can be established from information received from the community
at large. This process will be fluid, constantly subject to updates and changes as the
needs of the citizens are determined to be stable or changing.



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The Bureau for Children and Families continues to participate on the Citizen’s Review
Panel. A copy of the Citizen’s Review Panel Recommendations as well as the
Commissioners response are attached to this report.

The Bureau for Children and Families regularly collaborates and coordinates its services
with federal programs to assist families served. Some of the federal programs include
TANF, Medicaid, Social Security, the Office of Maternal, Child, and Family Health, and
Birth to Three. BCF works with these programs to ensure our families are served in the
most efficient and effective manner.

When a child is removed by BCF, whether through Child Protective Services or through
Youth Services, and placed in kinship/relative care, BCF will work to provide a state paid
subsidy consistent with TANF rates until the kinship/relative guardian can have a TANF
application completed and approved and/ or a home study can be completed. Another
way we collaborate with federal programs is through Medicaid. When a child or family
comes to the attention of BCF as needing some service, BCF may be able to provide a
Special Medical card to ensure that families needing medically necessary services
receive them while the family works to apply and receive approval for a state medical or
chip card. BCF also collaborates with social security to ensure that when a child is
removed from care, BCF becomes the representative payee of the child’s social security
income. BCF manages the youth’s account to ensure funds do not exceed the federal
limit of $2,000. BCF utilizes these funds to purchase items for the youth that will be helpful
to the youth in transitioning to adulthood or personal items the youth may request.

Over the last six years, the Office of Maternal, Child and Family Health (OMCFH, the
State’s Title V agency) have collaborated with the Bureau for Children and Families to
assure adequate health care services to children in foster care. The two agencies worked
to establish a project entitled Fostering Healthy Kids (FHK). The FHK Project is a
collaborative effort between the Bureau for Children and Families and the OMCFH to
improve healthcare coordination for children placed in relative/kinship care and/or
WVDHHR foster family homes. This Project ensures that all children in foster care receive
a timely EPSDT screen and assistance with accessing medically necessary treatment. In
addition to this healthcare initiative, Child Protective Services is required to refer all
children of appropriate age to the Birth to Three programs to ensure children within this
age range receive assistance with possible developmental delays. The state’s SACWIS
system also generates an automatic referral for all children who are identified under
CAPTA as drug exposed.

The state has not identified an adequate data reporting system to determine if these
collaborative systems are functioning. This item is one in which the state relies heavily

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on the narrative between programs and staff to determine areas that need improvement.
When problem areas are identified, the appropriate program area works to remedy
identified issues as quickly as possible to ensure a streamlined approach is used to serve
our children and families.

In the next year, the Bureau for Children and Families will have its Child Protective
Services, Youth Services and Foster Care policies reviewed again by NAIF.

2017 Update

Please see West Virginia’s Statewide Self-Assessment.

2018 Update

The West Virginia Department of Health and Human Resources has been working on
revisions to the Child Placing Rule (78CSR2). Meetings were held with the Department
and stakeholders. The revised rule was placed for comment in July 2017. After the
comment period, the rule went through the legislative committee and was approved for
the 2018 Legislative Session. In November 2017 there were request from some
stakeholders to make additional changes. The Rule was pulled from the agenda, so the
questions/issues could be addressed.

The Department will continue to work rulemaking and revisions to the Child Placing Rule
(78CSR2) and will begin working on revisions to the Residential Child Care Rules
(78CSR3) After Program Instructions are received regarding Family First Legislation, the
process will begin. General Counsel for the Department of Health and Human Resources
will be involved in this rule making process. Quarterly meetings are being conducted with
both the Child Placing Agencies and The Residential Child Care Agencies to discuss any
concerns or issues.

With the Implementation of Family First, the rule writing process will begin. General
Counsel for the Department of Health and Human Resources will be involved in this rule
making process. Quarterly meetings are being conducted with both the Child Placing
Agencies and The Residential Child Care Agencies to discuss any concerns or issues.

Regional Directors and Community Service Managers attend Collaborative Meeting and
Regional Summit Meetings to address practice issues and service gaps. County offices
host provider fairs that are accessible to all entities in any forum including courts,
community action and faith-based support. They extend invitations to meet with judges
and prosecutors on an on-going basis.

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A variety of field staff from the Regional Director to the front-line worker participate in
Work with Family Resource Networks within the community to learn about the changing
resources and participate in varied programs for citizens in the community. Meet with
judges. The serve on the Community Drug Court Committee set up by the courts to assist
with suggestions to enhance the program. They are also members of the Pre-K
Collaborative to represent and advocate the needs of children in child care and Foster
Care. Local offices collaborate with Workforce, Adult Ed, WV Rehab and other
community organizations to help participants find employment and to support them with
programs as they transition into employment. They are members of the Start/Stop
Domestic Violence coalition with law enforcement, legal aid, Women’s Resource Center,
Health Department, and other community organizations to discuss issues of sexual abuse
and domestic violence. Local staff speak to community groups about Family Assistance
Programs and Social Service Programs especially Foster Care.

Foster and Adoptive Parent Licensing/Recruitment

With Safe at Home West Virginia starting in October, the West Virginia Department of
Health and Human Resources has been looking at caseloads across the state, as well as
the number of inquiries that each region is receiving regarding individuals interested in
becoming foster care providers. Due to the volume of both, as well as the increased focus
on kinship/relative care providers, the Department has determined that it does not have
the number of staff required to adequately handle foster care inquiries without additional
positions being granted. The Commissioner has asked for an increase in Homefinding
Specialist positions but was denied that request. Therefore, the Department has decided
that potential foster care providers will be referred to private foster care agencies for
certification.

At this time, the Department is referring all new inquiries to become foster parents to
Mission WV to be sent to the private sector. The Department will, however, continue to
work with new and existing kinship/relative provider homes. When individuals contact the
Department to show interest in possibly becoming a certified provider, the Department
employee who receives the inquiry will provide the caller with the contact information for
Mission West Virginia, informing them that they need to call Mission West Virginia for
further assistance. Mission West Virginia will then send out an inquiry packet to the caller
with information on all the private foster care agencies and will also continue to follow up
with the caller to help them through the process of deciding which agency will best meet
their needs.

The Department currently has 1,338 inquiries to provide foster care that have not been
addressed.

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2016 UPDATES

Foster and Adoptive Parent Licensing, Recruitment and Retention

In February 2015, WV was approved for Training and Technical Assistance from the
National Resource Center for Diligent Recruitment (NRD-DR). The NRC team came to
West Virginia and began gathering data from staff interviews and data reports. Just as a
plan was about to be developed, Bureau for Children and Families Leadership notified
staff that the Recruitment and Retention of new foster homes was going to be given to
private agencies. BCF staff would continue to develop kinship and relative homes.

A hold was put on the technical assistance in August of 2015 and resumed in late October
2015. Over the next few months, NRC staff as well as a diverse group of BCF staff and
stakeholders met to develop a new plan and process for general foster/adoptive inquiries.

West Virginia executed a change order to increase the grant currently given to Mission,
WV. Mission will handle all inquiries from the public requesting to become foster and
adoptive parents. When someone inquires through Mission, they will receive a packet of
information including general information about the process, contact information for
private agencies serving their county and a calendar of scheduled PRIDE training.
Mission continues to follow up with these families at regular intervals until they select and
are contacted by their chosen agency or the request not to be contacted again. After they
have selected an agency, Mission will continue to contact them, less frequently, to insure
they are not lost in the process. A breakdown of inquiry information is as follows;


                 Referrals by Month 2015-2016 Year End
                                                                    236
                                                        209
                                          160                 169         173
               147    134     147   135
                                                  114                           102
         45




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West Virginia is also working on an interactive map that will allow the general public to
access county specific information. It is hoped when families inquire, they will be able to
choose their county on this map and only agencies that serve their county will pop up with
information about their program, requirements and contact information.


          Referrals by Region 2015-2016 Year End
                                    5% 1%

                                                                                 I
                                            22%
                                                                                 II
                             25%
                                                                                 III
                                                                                 IV
                                             25%                                 Unknown
                                   22%                                           Out of State




West Virginia is currently investigating different avenues of documenting the inquiry
information in our SACWIS system so that it can be matched to our SACWIS data of
receiving the packet from prospective foster/adoptive parents. Documentation of a
received packet from a family will begin the timeframe for tracking how long it takes to
certify our resource homes.

When families select an agency, the agency will mail them a foster/adoptive home packet
which includes and application as well as notify Mission that the family is beginning the
process. At the end of the process, the specialized agency that certified the home
documents the required information in the SACWIS system. The SACWIS system tracks
the number of certified homes within the state.

All foster homes, both kinship/relative, traditional or specialized, medical, and therapeutic
homes are expected to adhere to the same standards statewide. There are no additional
training requirements for specialized foster homes. There are however, additional training
requirements for Specialized Family Care medical homes (medley). These homes receive
their additional training through West Virginia University’s Center for Excellence in
Disabilities. These homes are for our medically fragile youth in care. Additionally, West
Virginia plans to expand services to include Therapeutic Foster Care homes which will
require additional training in crisis response, trauma training and child-specific training

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related to potential crisis due to the child’s history or current issues. See the 2016 update
on Expansion of Foster Care: Therapeutic Foster Care.

The current training curriculum used is the West Virginia modified PRIDE model and
sessions are scheduled jointly for all kinship/relative, traditional or specialized homes,
medley, and therapeutic homes. These sessions are developed and scheduled jointly by
the West Virginia Social Work Educational Consortium staff and BCF homefinding staff
in each region.

Currently there is no data to support the effectiveness of the West Virginia modified
PRIDE training model. However, placement stability for the year 2015 is at 75 percent.
Noted in the review is a shortage of foster homes within the entire state which sometimes
requires a short-term placement in emergency shelters. The shelter placement could
easily account for the below 95% stability. 75% in this measure indicates there is high
effectiveness in foster parent preparation. West Virginia continues to seek kinship/relative
placement first when appropriate. A short survey will be developed in the next year to be
mailed out annually to all approved foster homes to better determine the effectiveness of
the West Virginia modified PRIDE training model.

West Virginia does not currently monitor/track the pre-service or in-service trainings.
However, within the next year, a report will be developed that monitors/tracks the number
of homes that complete both pre-service and in-service trainings. This report will include
training data from all certified foster homes and will be developed from information in the
FACTS system. The report will determine if the training system is routinely functioning
statewide.

To facilitate timely adoptive and/or permanent placements for waiting children statewide
West Virginia’s licensing, recruitment and retention system has determined a baseline of
19%.

For the 2015 year, West Virginia completed 194 ICPC home study requests. Of those
194 requests, 19% (37) were completed within the 60-day requirement. Additionally, there
were 200 ICPC home study requests made to other states by West Virginia. Of those 200
requests, 17% (33) were completed within the 60-day requirement.

2017 Update

West Virginia has a process for tracking some data in relation to Cross-Jurisdictional
Placements and Requests for Placements, but we do not have a “monitoring” system to
track the progress of home study requests from other states.

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There were 188 incoming requests for FFY 2016. Out of the 197 requests, WV completed
65 or 33% of the home studies within the 60-day timeframe. The most documented reason
for the home studies not being completed within the 60-day timeframe is due to the
fingerprint results not being back in that 60 days, but staff have been very inconsistent in
their reporting reasons for delays.

The State ICPC Office has developed a new process to track home study requests. State
Office ICPC staff will monitor a tracking spreadsheet of requests and send reminders to
the local staff, prior to the home study being due.

The State ICPC Office will begin entering the home study request in the FACTS System
as a referral for services when the request is received in the State Office. The referral will
then be transferred to the local office electronically, which will assist in timeliness.

West Virginia currently has 49 children featured on the West Virginia Adoption Network,
with an additional eight children waiting to be released to the network. There were 27
children registered on the network within the last year and there are currently 27 children
placed on hold due to achieving permanency or moving into their Trial Adoptive Homes.

A workgroup of BCF policy, BCF regulatory and child placing provider staff have been
working on revisions to the Legislative Rules “Licensing Requirements for Child Placing
Agencies” 78-CSR-2. These rules provide minimal standards for regulating specialized
agency foster homes. The revised rules will incorporate requirements from the Fostering
Connections to Success and Increasing Adoptions Act and the Preventing Sex Trafficking
and Strengthening Families Act. The revisions will also include most standards from the
“Model Family Foster Home Licensing Standards” from the National Association for
Regulatory Administration (NARA).

Some of the standards that have been added to the licensing requirements are around
prudent parenting, normalcy for youth in foster care, away from supervision and runway
events, trafficking of foster youth and many of the NARA standards for foster homes.

The revised “Licensing Standards for Child Placing Agencies” will be completed by the
end of 2016 and submitted to the Legislature in 2017 for approval in the 2018 Legislative
session.

BCF policy staff will also align the Foster Care and Home Finding Policy with these
“Licensing Standards”, so all foster homes in West Virginia will meet the new
requirements.


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Additional information can be found in the update on Foster and Adoptive Parent Diligent
Recruitment Plan.

2017 Update

In August 2016, all private foster care agencies partnered with the Bureau for Children
and Families to revise the provider agreements. The revisions were done for several
reasons, but two of the main reasons were to (1) strengthen language related to on-going
foster parent recruitment expectations, and (2) incorporate results-based outcomes
aimed at improving the quality of services from private agencies and their foster homes.
These private agencies have always had case management responsibility for the children
placed in their homes but the specific responsibilities such as family engagement with the
biological parents, prudent parenting and permanency planning were more specifically
outlined.

Even though the Bureau made a significant change in late 2015 to place all traditional
foster parent recruitment with the private agencies (while the Bureau maintained sole
responsibility of kinship/relative providers), the agreements had not undergone significant
revisions to reflect these changes. Also, the outcome measures were based solely on
superficial counts that did not reveal any qualitative data.

Below are the outcomes that are now required for each private foster care agency. No
specific benchmarks have been incorporated yet. The agreement now requires that the
outcomes be reviewed annually. Once basic data is gathered during the first year or two,
specific benchmarks will be added to each set of measures to further develop the
qualitative expectations.

         How much do we do?                            How well did we do it?
 # of referrals received                       % of children placed with siblings;

 # of referrals accepted for placement         % of children discharged to residential
                                               programs;
 #of foster homes
                                               % of children with regular family visits;

                                               % of children reunited with parents or other
                                               family members;


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                                                   % of foster homes with yearly re-
                                                   certifications.

                                    Is anyone better off?
 # and % of children in care have 2 or fewer placements in foster care;

 # and % of children age 6 and older will maintain attendance at the same school they
 attended prior to removal;

 # and % of children who experience improved academic achievement;

 # and % of youth who experience a decrease in his or her CANS score;

 # and % of children who achieve permanency within 15 months.

2018 Update

In June 2017 BCF mailed surveys to foster parents across the state. Surveys were mailed
to approximately 2000 foster parents and kinship/relative placement providers. Included
in the surveys was information regarding the effectiveness of the PRIDE training model.
There was approximately a 21% response rate for the PRIDE training specific surveys.
Of the reporting survey responses, 50% stated that the PRIDE training model was
effective in preparing them for fostering.


                          PRIDE TRAINING EFFECTIVENESS
                                         Blank
                                          17%
                      Not at all Effective
                              3%
                                                            Extremely Effective
                                                                  51%

                      Somewhat Effective
                           29%



BCF develops quarterly reporting charts using data received from the foster family care
agencies. The charts are used to demonstrate the number of approved foster homes
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stated-wide as well as by county. Additionally, the reports reflect for each foster family
care agency the number of homes in process for each quarter as well as the number of
homes closed each quarter. The chart reveals the increase of foster family care homes
from March 2016 through March 2018, reflecting that foster family care agencies have
nearly doubled the amount of foster homes in the reported two-year timeframe.




The child placing agreements were revised, signed and implemented in September 2017.
The requirement for outcome-based reporting is to be done quarterly by each agency.
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The agreements also outlined responsibilities for family engagement, trauma informed
care, runaway protocols, permanency planning and the prudent parent standard and
designee requirement.

The outcomes will be reviewed in October/November 2018 to determine if specific
benchmarks can be set or if additional data is to be collected.

West Virginia has a process for tracking some data in relation to Cross-Jurisdictional
Placements and Requests for Placements, but we do not have a “monitoring” system to
track the progress of home study requests from other states.

Data for the FFY 2017:

There were 377 incoming requests for FFY 2017. Out of the 377 requests, WV completed
105 or 28% of the home studies within the 60-day timeframe. WV saw an increase from
188 to 377 ICPC home study requests, or an increase of 189 requests, which was double
what the state had in FFY 2016. The most documented reason for the home studies not
being completed within the 60-day timeframe is due to staffing issues, which is related to
the increase in requests, but staffing resources have remained the same. The second
most documented reason for delays in the home study completions, is due to resource
families not being compliant with the process.

Some of the activities the state will be implementing and continuing which will assist in
the improvement of the timeliness of ICPC home studies is listed below:

   A. The ICPC SOP was revised to give a more step by step guide to all field staff on
      compiling the paperwork for an out of state request, completing and submitting an
      in-state home study, and the workers role throughout the ICPC case to ensure
      timely progression to permanency. The ICPC SOP was released to staff and can
      be re-released to ensure that everyone has reviewed it.
   B. The state ICPC Office will track all ICPC home study requests and send reminder
      to staff prior to the due date.
   C. Work with BCF’s Training Unit on developing or enhancing training on concurrent
      planning to achieve permanency while using cross-jurisdictional resources for
      staff.
   D. Determine if the development of online training for field staff to complete on cross-
      jurisdictional resources if feasible and needed.
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   E. Work with the Policy Unit to determine if the Home Finding Policy can be revised
      to address the following: How to handle an ICPC home study when the placement
      resource is non-compliant, and the completion of the study is delayed.
   F. Review the current website to determine if it is user friendly and staff are aware of
      the resources available on the site.


MEASUREMENTS

      WV ICPC office will track the completion of in-state and out of state home studies
       using an excel spreadsheet by recording when a request comes in and when the
       home study is completed and by entering the request into FACTS to track the initial
       begin date.
      WV ICPC office will track the timeliness of permanency being achieved in cross-
       jurisdictional cases by recording the time the child is placed to when the case is
       closed by permanency being achieved and by entering the request for placement
       into FACTS to track the initial begin date.

Mission West Virginia is engaging in efforts to improve internet presence and increase
inquiries through their website. Through the use of Google AdWords they can increase
the likelihood that they will appear in web searches through the use of key words (foster
care, adoption, and others). MWV is also generating original articles related to foster care
and adoption topics that are located on the agency website and shared on Facebook.
The articles not only serve as information and education but also will drive internet traffic
to the website and inquiry form.

Modifications to the custom database used by Mission West Virginia will allow the agency
to better track an individual family’s progress after inquiry and to adjust protocol and
procedures to improve the number of families who complete certification. Changes to the
database will allow the agency to sort families into categories, separating out the serious
inquires (those who act) from those who are only casually requesting information.
Developing specific protocols will allow the agency to direct specific action steps for family
follow ups. For example, stronger efforts may be directed to families who drop out mid-
process versus families who requested information but were not seriously interested.
Relatedly, a separate protocol may be developed to direct low-pressure engagement
efforts toward families who do not initially have strong interest.



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Using “success stories” to promote foster care and adoption has shown to be a valuable
component of recruitment campaigns. Mission West Virginia has filmed several families
sharing different elements of their foster care and adoption stories. These may be shared
through social media, on websites and at trainings and events. This will continue to be a
part of future recruitment campaigns as the stories serve to inspire prospective families
through real-life parents and children and can remove some of the stigma that adoptive
families/kids are “not like ours.”

Due to an increase in the use of kinship placements we are seeing more teachers and
school personnel (coaches, etc.) become certified to foster and adopt. Mission West
Virginia is making more effort to reach out to this population for recruitment.
Communication with state superintendents, messaging to school personnel and the
distribution of materials to students (for example fliers that go home in student backpacks)
are all part of current recruitment campaigns.

Approaching the community through volunteer projects and programs serves to both
engage people who cannot immediately (or ever) foster or adopt and to create word of
mouth and spread messaging. Mission West Virginia’s Carry-on program that collects
luggage and hygiene items for children in care is a good way for businesses and
community groups to connect with the cause and can also be an indirect source of
inquiries.

Outside partnerships can also support the cause, by generating publicity and engaging
community members and employees of the partnering businesses. Mission West Virginia
has partnerships with both the WV state Treasurer’s office and WV Division of
Corrections. The Treasurer’s office hosts a “Smart Start 5.29K Race/Walk” that raises
funds to provide 529 college savings scholarships for children adopted from WV foster
care. The DOC hosts an annual auction of inmate-created art, raising funds for
scholarships for youth who have experienced foster care or parental incarceration. Both
events generate significant publicity surrounding the issue of foster youth.

Private foster care agencies are also responsible for recruitment efforts. The agencies
engage in the following recruitment practices: attending community events, working with
church congregations, community presentations, business lunch and learns, general
recruitment such as billboards, yard signs and radio ads, social media, working with print
and television media and school-based outreach.

Many community groups have either formed for the purpose of recruitment or been tasked
with the topic of recruitment in the last year. In Region I the Family Ways, North Central
and Little Kanawha Collaboratives all address recruitment at their regular meetings. In

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Region II the Regional Children’s Summit has a Foster Care Committee that meets
monthly, led by Mission West Virginia. In Region III the Upper Potomac, Kids in Transition
and Inter-Mountain Collaborative all focus on recruitment regularly. In Region IV a DHHR
led recruitment group meets quarterly and addresses recruitment issues. Community
members and professionals who participate regularly in the various groups include FRNs,
CASA, private agency personnel, DHHR employees, foster/adoptive parents and other
interested parties. The groups focus on planning collaborative recruitment events,
disseminating recruitment materials and identifying and addressing service issues that
affect foster parent recruitment and certification.

The WV Foster Family-based Treatment Association has formed a special committee to
address recruitment in each region. Finally, the statewide Recruitment and Retention
Collaborative meets quarterly via conference call to share information about events and
activities throughout the state.

That same Association is developing a training curriculum for Child Welfare workers
focusing on improved communication and support for foster parents. Beginning in April
2018 the Child Welfare Director, Melanie Urquhart began requiring district offices to cover
certain material each month at their unit meetings. One of the first topics on the required
agendas was improved communication and support with foster/adoptive parents. Many
other specific items regarding the needs of foster parents will follow on these required
agendas.

The Bureau for Children and Families will also be pursuing grant funding for a Kinship
Navigator Program to provide support directly to foster and adoptive parents. It is hoped
that with an increased focus on this area directly with workers foster/adoptive parents will
feel heard and supportive and be less likely to quit fostering.

3. Update to the Plan for Improvement and Progress Made to
Improve Outcomes
Due to West Virginia’s ongoing drug epidemic and the Child Protective Services crisis in
the state, some of the following goals, objectives, and interventions have no new data for
year 2017. The states focus in the last year has required a major re-distribution of staff
to crisis counties as well as using any staff with Child Protective Services experience to
manage backlogs of referrals as well as supervision of re-assigned staff to work the
backlog. Goals related to anything other than safety of children in their homes or safety,
permanency and well-being of children in foster care have not been addressed.


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All information about progress or the lack of progress to West Virginia’s goals are shared
at Statewide ESSA, Trafficking, Drug Affected Infants group and CIP Data Statute and
Rules committee meetings on a regular basis. Goals for each program area are discussed
at length and cross training within the meetings occurs to ensure the state is maximizing
all its resources to achieve safety, permanency and well-being for its children and
families.

Revision to Goals, Objectives and Interventions

Goal 1: West Virginia’s children will be safe.

1.1 Improve the time to initial face-to-face contact with families when a Child Protective
Services referral is accepted by July 2015.

Based on West Virginia’s Context Data Report

                                      2011                   2012
            Mean                      356.9                  395.9
            Median                    >48 but <72            >72 but <96

West Virginia will be using COGNOS to monitor the rate of face-to-face contact with
children in care. COGNOS data includes the entire foster care universe as opposed to a
sample and is real-time data.

Rationale

Based on the Child Data Profile, West Virginia recognizes the need for improvement in
response time to initiate the Family Functioning Assessment for abuse and neglect cases.
Faster response times will improve West Virginia’s ability to ensure safety.

Measurement Plan:

West Virginia will reduce the mean rate for response time as indicated on West Virginia’s
Data Context report to monitor progress for the goal 1.1.

West Virginia’s current baseline measurement indicates the mean rate for response time
as 395.9 hours based on the NCANDS data for 2012.

Benchmarks:

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Original:

 Baseline         Targeted        Targeted         Targeted       Targeted      Targeted
                  Goal            Goal             Goal           Goal          Goal

 2012             2015            2016             2017           2018          2019

 395.9 hrs.       335.9 hrs.      273.9 hrs.       215.9 hrs.     155.9 hrs.    95.6 hrs.



Updated:

 2013           2014           2015        2016           2017           2018      2019
 283.9          97.2           101.6       179.2          281.7

Again, West Virginia will be using COGNOS data. This is a developed, current report,
real-time, already available. It measures percentage of cases, with face-to-face contact
with the identified victim within the specified response time. West Virginia will increase
its percentages by 5% each of the next four years.

Tasks

        Improve the time to initial face-to-face contact with families when a Child Protective
         Services referral is accepted by July 2015.
        The Field Operations Management Team will monitor COGNOS monthly for real
         time reports of response times on accepted referrals by October 2014.
        Develop and immediately implement district-specific plans for improvement when
         deficiencies are identified to assure that abuse and neglect assessments are
         initiated on time beginning December 2014.
        Develop a methodology to distinguish between actual missed face-to-face
         contacts and attempted contacts by tracking through case reviews by October
         2014. Current case review data will now include attempted contacts evidenced by
         diligent efforts as defined in policy.
        Analysis of FACTS data to determine the causation factors for median time to first
         contact by Sept. 2015. Develop plan to address causational factors based on the
         data analysis by October 1, 2015.
        Complete research to determine if WV’s interpretation of incomplete assessments
         and blatantly false reports is consistent with NCANDS definitions.

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2015 Updates

CSMs will review COGNOS reports concerning response times for referrals. Supervisors
will track contacts on each referral to ensure timely response times.

2016 Updates

West Virginia continues to improve in the time to investigation.


               WV Data Profile: Time to Investigation (in
                                hours)
 500

 400                        415.9

 300

 200

 100                                                                   108.8

   0
                      2013 mean                                2014 mean


In reviewing the data elements, WV discovered that there is a discrepancy in the way the
values for this element were being pulled. West Virginia was unable to get the values
corrected to resubmit but will have the errors resolved by the 2015 submission. WV
submitted an “agency file’ indicating the mean time to investigation in hours as 27.4. WV
notes the decrease in the response time in the agency file and contributes the decrease
to the implementation of the Centralized Intake Unit. On July 1, 2014, WV began operating
a Centralized Intake Unit for abuse and neglect complaints to improve consistency in the
evaluation and decision related to reports of abuse and neglect. The Centralize Intake
Unit operates seven days a week, 24 hours a day by staff employed by the agency, which
replaced the former system of abuse and neglect reports being taken by staff at county
offices and a contract agency after regular business hours (WV Child and Family
Review Data Profile; June 29, 2015; footnote D and E).

Based on West Virginia’s Context Data Report Data on child maltreatment victims
are from NCANDS.


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2017 Update

During FFY 2016 Centralized Intake was understaffed. To accept and assign referrals
quickly a decision was made to assign most referrals a 24-hour contact. This has created
a backlog of referrals. In a Child Welfare Oversight meeting in May 2017, screening policy
was reviewed, and a decision was made to return to the original Bureau for Children and
Families policy. This will allow for referrals in which children are not in immediate danger
to be given a 72-hour contact timeframe.

1.2 Decrease the number of children who die because of abuse and neglect that are
known to the Department by October 2017.




Rationale

West Virginia has established an Internal Child Fatality Review committee to review all
critical incidents. The committee notes a sharp incline in the number of deaths as the
result of child abuse and neglect. The above data is based on the NCANDS submissions
for FFYs 2008 to 2012. Data for FFY 2013 is based on the internal team review of critical
incident reports from Oct 1, 2012 to June 2013.

Between October 1, 2013 and July 30, 2014, 14 children in West Virginia died because
of abuse and neglect. Of these 14 children, eight children were known to the child welfare
system. In addition, we have identified that safety planning and review is only being done
on a statewide level approximately 30% of the time.

West Virginia determined through the review process that safety planning did not always
prevent child fatalities. Analysis of identified trends in child fatality cases known to the


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Department determined a need for further training, such as the effects of drugs on the
safety of children and more effective Family Functioning Assessments.

Measurement Plan:

West Virginia will utilize the review of critical incidents to determine the rate of child
fatalities when the child(ren) was known to the child welfare system.

West Virginia’s current baseline measure indicates between October 1, 2013 and July 30,
2014, 14 children in West Virginia died because of abuse and neglect. Of these 14
children, eight children were known to the child welfare system. Before the end of the
FFY 2014 there were three additional child fatalities in the state.

Benchmarks:

Reduction in Child Fatalities (Data will be measured from Intake Critical Incident
COGNOS report)

Original:

 Baseline        Targeted       Targeted        Targeted       Targeted       Targeted
                 Goal           Goal            Goal           Goal           Goal

 Partial FFY     2015           2016            2017           2018           2019
 2014

 14              0              0               0              0              0


Update:

 2013          2014         2015         2016          2017         2018          2019
 14            17           7            13            10

Tasks

       Review all child fatalities and critical incidents at least quarterly through the BCF
        Child Fatality Review panel beginning October 2014. Division of Planning and
        Quality Improvement will complete quarterly reports on the review of all critical
        incident received within the quarter. Reports will be provided to the BCF Internal
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       Review Team at quarterly review meeting. Quarterly data on child fatalities will be
       tracked by the Office of Planning, Research and Evaluation.
      Compile and analyze identified trends of fatalities known to the Department each
       year beginning October 2014.
      Develop and implement plans to address current trends related to children known
       to the Department by March of each year.
      Develop and implement training for all Child Welfare staff that will focus on the
       current trends in child fatalities and will be updated quarterly with the analysis of
       the reviews by the fall of 2015.
      Increase the percentage of CPS cases with current safety plans by April 2016.

Update

West Virginia continues to review all child fatalities and critical incidents on a quarterly
basis. Reviews of all fatalities are presented to the Internal Child Fatality Review Team.
The CPS Policy Specialist track the finding of all the cases reviewed. The Internal Team
makes continuous quality improvements based on the reviews. The Team also compiles
all the data for determination of case trends and the development of annual plans to
address issues. The annual plan for 2014 is listed below.

West Virginia has developed training to educate workers in the investigative process for
cases in which there is a child fatality. Implementation of the training is projected to begin
in the fall of 2015. Additionally, West Virginia has issued a memorandum to all staff
addressing the importance of education of safe sleep issues. All offices received flyers
outlining infant sleeping practices that cause concerns and appropriate safe sleep
alternatives. Per directive of BCF Commissioner, all programs under the umbrella of BCF
are expected to identify and address families that may have safe sleep issues with infants.

Under the direction of the HHR Office Director of Social Service Programs, Child Welfare
Consultants have begun attending unit meetings to provide case consultation on Safety
plans. Regions 2 and 4 have begun this process across their respective Regions.
Regions 1 and 3 are anticipated to phase this process into their consultation model by
December 2015.

Benchmarks:

Increase in completion of Safety Plans (Data will be measured through FREDI report
CPS5170)

Increase the percentage of CPS cases with current safety plans by April 2016.

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Original:

 Baseline         Targeted        Targeted        Targeted          Targeted       Targeted
                  Goal            Goal            Goal              Goal           Goal

 Point in         2015            2016            2017              2018           2019
 time 2014

 30%              60%             70%             80%               90%            100%


Update:

 2013           2014         2015          2016          2017              2018      2019
 30%            37%          71.13%        45%           35%

2016 Updates

West Virginia will utilize the Critical Incident Review Team to determine the rate of child
fatalities when the child(ren) was known to the child welfare system and to develop and
monitor a plan for action.

Reduction in Child Fatalities:

    2013           2014          2015        2016            2017           2018       2019
     14             17            7           0               0              0          0

Tasks:

        Review all critical incidents quarterly.
        Compile and analyze trends.
        Develop a plan for action at each quarterly review meeting as needed.
        Monitor the plan for action on a regular basis.
        Increase the completion of safety plans as identified in the plan for action.
        Implement the use of the safe sleep check sheet and monitor use.
        Increase the use of safe sleep videos to all hospitals.
        Continue to provide training to mandated reporters.

2017 Update
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See the link to the 2016 Critical Incident Report located at the following website;
http://www.dhhr.wv.gov/bcf/Reports/Documents/BCF%20Critical%20Incident%20Report
%202016.pdf

2018 Update

In addition to the continued activities listed above, based on the review data there has
been an emphasis on the following:
        Appropriate use of safety resources
        Contacting appropriate collaterals
        Drug Affected infant policy changes

Detailed information about the fatalities for 2017 can be found in the Critical Incident
Report 2017 located on the Bureau’s website at:
https://dhhr.wv.gov/bcf/Reports/Documents/BCF/CriticalIncidentReport2017.

1.3 Improve safety of in-home cases by increasing caseworker involvement with the
family by October 2019.


                                   Worker Visits with Child
   120.00%

   100.00%                                                                    95.00%95.10%95.60%
                                                                        91%

       80.00%
                            61.50%
                      56.30%
       60.00%
                                  46.80%
                43.10%
       40.00%                                          32.70%
                                           21.20%23.20%
       20.00%                                                14.30%

        0.00%
                         Overall                      In Home                  Placement

                               FFY 2011    FFY 2012     FFY 2013   FFY 2014



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Rationale:

West Virginia case review data indicates a low rate of contact with children and families
with open child welfare non-placement cases. By increasing caseworker involvement
with these families, outcomes will be improved.

Measurement Plan:

West Virginia will utilize the Child and Family Service style case reviews to monitor the
increase in the caseworker involvement with the family. 2014 Child and Family Review
instrument will be utilized for ongoing measurement. Applicable item numbers 14 and 15.

Baseline measurement indicates 32.7% of in home case were rated as a strength for case
worker visits with child(ren) in non-placement cases reviewed in Federal Fiscal Year
2013. Baseline measurement indicates 37.4 % of all case (placement and non-
placement) rated as strength for worker visits with parents in Federal Fiscal Year 2013.
*2008 CFSR instrument utilized for case review data.

Benchmarks:

Increase in worker visits with child (non-placement case)

Data will be measured through CFSR style reviews

Original:

 Baseline      Targeted       Targeted        Targeted       Targeted      Targeted
               Goal           Goal            Goal           Goal          Goal

 FFY 2013      2015           2016            2017           2018          2019

 32.7%         -              -               -              50%           60%


Update:

 2013         2014        2015         2016          2017           2018      2019
 32.7%        14.3%       24.3%        14.1%         11.3%



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**West Virginia utilizes a 12-month period under review for case reviews. Implementation
of objective will occur during FFY 2015-2017. Case review should begin to demonstrate
improvement by 2018.

Tasks

       Improve the quality and quantity of caseworker visits as evidenced by results of
        case review process and FREDI reports by July 2015.
       Develop and implement a tool for caseworkers to identify what a quality visit looks
        like by July 2015.
       Develop a mechanism on the Dashboard for tracking face-to-face contact with non-
        placement cases by September 30, 2016.

Updates

Regional staff will work with the Field to ensure families are seen on a regular basis and
continued safety evaluations occur every ninety days per policy.

In anticipation of the CFSR, a group has been developed to revise a Meaningful Contact
Guide for workers to improve the quality of caseworker visits. This group has been
established, however, the anticipated completion date will be revised by January 2016.

The BCF Data Committee has requested FACTS to develop a dashboard for tracking
face-to-face contact with non-placement cases by September 30, 2016.


               Case Review Data: Case Worker Visits with
                                 Child
                      FFY 2011     FFY 2012   FFY 2013   FFY 2014   FFY 2015

                                 56.30%       61.50%
                  43.10%                                  46.80%       47.20%




                                              Overall




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2018 Update

Meaningful contact with children and families will be a Program Improvement Plan item.

1.4 Increase the percent of children who can be safely maintained at home by October
2019.




Rationale

West Virginia has the highest entry rate per capita of children entering care in the United
States. West Virginia recognizes the need to safely reduce the number of children
entering care. Upon analysis of the case review data, West Virginia has determined the
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need for improvement in the development and implementation of safety plans with
families.

Measurement Plan:

West Virginia will measure the reduction in the percentage of children in congregant care
through FREDI report. Baseline measurement indicated by FREDI reports 4,818 total
children in care as of March 31, 2014. Of those, 29.16% were in congregant care.

Updated Benchmarks:

Data is pulled from Children in Placement Report as of 3/31 each year.




         Percentage of Children in Congregate Care of Total Children in Out-of-Home


  5000

  4500

  4000

  3500
                                                                             Total Kids in Care
  3000                                                                       Foster Care/IL
  2500                                                                       Congegate Care

  2000

  1500

  1000

   500

     0
             March 27.22%       April 26.11%         May 26.45%

Data is pulled from FREDI as of the last day of each calendar month


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Tasks

       Develop a method in FACTS to better distinguish the reason for entry, including
        children entering care for Truancy, by October 2017.
       Develop a plan based on the point in time data by July 2018.
       In preparation for Safe At Home West Virginia, training will be rolled out in the pilot
        counties regarding more proficient safety planning in conjunction with the
        implementation. The training will then go state-wide as the program extends to
        other counties.
       Develop a plan for re-educating Supervisors in Safety Planning Coaching with
        emphasis on appropriate use of both formal and informal providers to control safety
        in cases with domestic violence and substance abuse by January 2017.
       Training will be completed for all CPS staff and supervisors by January 2016.
       Monitor the improvement in the quantity of safety planning through the Child
        Welfare Oversight Committee beginning January 2016.

2015 Updates

       August 27, 2014: Sample of cases was finalized. Sample included 200 cases,
        160 CPS, 40 YS.
       September 4, 2014: Final version of case review form was completed.
       October 2014: Final version of the desk guide for case review was completed.
       November 12, 2014: Training for case reviews.
       November 15, 2014 through February 20, 2015: Case reviews were conducted
       May 4, 2015: Data results from the reviews were compiled.

The Removal Review Teams were established in July 2014 to determine the reason that
West Virginia had the highest out out-of-home rate. The Removal Review team sampled
200 cases for review. A case review form and desk guide were developed for the reviews,
and staff conducting the reviews was trained in November 2014. Between November
2014 and February 2015, the case reviews were completed, and the data is being
compiled. The next step it to complete the initial identification of data by October 2015.

The reviewer’s submitted information collected from January 2015 through April 2015. Of
the 200 cases randomly picked 134 had reviews completed by the time of the data
summary. This resulted in 67% of the total cases being reviewed. We are currently in
the process of analyzing the data and determining next steps.

2016 Updates

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According to a June 2015 article in the Washington Times, West Virginia has the highest
rate of overdose deaths in the U.S. West Virginia’s drug overdose death rate was more
than double the national average, the report says. Citing statistics from the CDC, it found
that West Virginia’s rate far surpasses the second-highest state, New Mexico, which was
at 28.2 deaths per 100,000. The national average was 13.4. This is probably the most
important contributing factor to the high rate of termination of parental rights in West
Virginia.

Dr. Rahul Gupta, West Virginia’s state health officer, said the reasons why vary, but they
are intertwined. He cited the impoverished region’s history of poor education, along with
the isolation of people and communities in its rugged mountainous terrain. There’s a
limited offering of substance abuse programs, though it’s growing, but services may be
far away and hard to reach.

Although West Virginia’s number of children in foster care is on the rise, data suggests
that most of these children are younger and are removed due to abuse and neglect,
predominately substance abuse by their caretakers.

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When children are removed from their homes, each parent and child are assigned
attorneys to represent their best interests. Each family is also reviewed no less often than
every 90 days by a Multi-Disciplinary Team (MDT) which includes the parents, their
attorney’s, the children’s attorney and the caseworker. This team meets continually
throughout the life of the case to assist the parents in finding solutions to the issues that
are making their children unsafe. Parents can be granted Improvement Periods by the
Court. During these Improvement Periods, they must cooperate with their plan and
complete services identified to help make their children safe. At the end of the time allotted
by the Court, all parties reconvene in front of the judge and present evidence. The judge
can then make the decision to terminate parental rights if they don’t feel enough change
has been made to keep the children safe.

Due to extreme substance abuse issues and a lack of available treatment, many times
the conditions listed above are present. The Adoption and Safe Families Act requires that
termination of parental rights be considered when children have been in foster care 15 of
the last 22 months.

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The WV Department of Health and Human Resources (DHHR) is not comfortable with
the rate of parent’s rights being terminated in this state. The Department submitted a
Title IV-E waiver application with the hope that by re-allocating existing funding, we can
develop a model that will eventually allow financial and service resources be moved to
preventative measures with all West Virginia children and families that come to the
attention of the Bureau for Children and Families.

The Department believes that if targeted, trauma informed, and comprehensive
community services are wrapped around youth and their families, we can reunify them,
prevent an initial placement and most importantly, keep youth in their communities. The
West Virginia waiver demonstration project has focused on youth 12-17 years of age in
state and out-of-state congregate care. The demonstration started in the 11 counties in
Region II and the identified counties of Berkeley, Jefferson, and Morgan in Region III.
These two identified areas were selected due to their readiness and need. Region II has
been identified as an area that has extensive partnerships and a wealth of services. The
three counties located in the Eastern Panhandle of Region III have a large number of
children in congregate care and a lack of services. Service development was necessary
in those counties. The Bureau for Children and Families believed that if we developed
the necessary services and demonstrated success in in those areas that we will be able
to systemically replicate successfully throughout the state. The DHHR expects to roll out
Safe at Home to additional counties in June 2016.

Along the same lines, WV has been researching the Sobriety Treatment and Recovery
Team (START) Model and plans to implement this program in piloted areas in the near
future. The program is designed to meet the needs of young children with substance-
abusing parents involved with the child welfare system. It uses an intensive intervention
model that integrates addiction services, family preservation, community partnerships,
and best practices in child welfare and substance abuse treatment. The program aims to
reduce recurrence of child abuse and neglect, improve substance abuse disorder (SUD)
treatment rates, build protective parenting capacities, and increase the state’s capacity to
address co-occurring substance abuse and child maltreatment. It was adapted in 2006
from the START model developed in Cleveland, Ohio, and has been used successfully in
Kentucky.

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                        Children in Placement by Age
                                                                                        0-1
                                     16-17      0-1
                                15-16 6%        9%                                      1-2
                                 6%                   1-2                               2-3
                            14-15                     8%
                             6%                                                         3-4
                         13-14                              2-3
                                                                                        4-5
                          5%                                8%
                        12-13                                                           5-6
                         4%                                   3-4
                         11-12                                                          6-7
                          4%                                  6%
                           10-11                                                        7-8
                                                        4-5
                            4%9-10
                                                    5-6 6%                              8-9
                               4% 8-9
                                        7-8     6-7 5%                                  9-10
                                  5%
                                        6%      5%
                                                                                        10-11



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1.5 Reduce the percentage of children in congregate care through the Safe at Home WV
Project by October 2019.




Rationale

West Virginia’s data indicate that a large portion of youths in out-of-home placements are
in congregate care, ranking in the top six in the country. West Virginia data indicates that
61% of youth ages 12-17 who were in care on September 30, 2013, were in congregate
care. This is an increase from the proportion in group care in FY12 and is considerably
higher than the national indicator.

Tasks

The West Virginia Department of Health and Human Resources has submitted a IV-E
Demonstration Waiver application due to our high percentage of children in congregate
care. Our goal is to develop a trauma-informed and evidence-informed Wrap-around
model based on the national Wrap-around initiative. As a result, we will increase the
available services to our families and youth within their communities, both formal and
informal. Through this we will increase the number of families and youth served within
their communities (reference service array section for plan). If the waiver is received,
implement the plan according to the timeframes in the waiver.
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Update

IV-E waiver has been approved. Measurement and benchmarks are to be established
through IV-E demonstration project. Implementation begins October 1, 2015. See IDIR
for more details.

2016 Update

Current Casey Date indicates that although West Virginia currently has more children in
care, the percentage of children ages 12 through 17 in congregate care has remained the
same.


                  Percentage of Foster Care Children in
                     Congregate Care as of 9-30-15


                      19%



                                                                Number of Children not in
                                                                Congregate Care
                                                                Number of children in
                                                                Congregate Care


                                       81%




2017 Update

The West Virginia Department of Health and Human Resources is approved to run a Title
IV-E Demonstration Waiver Demonstration Project. We have developed a trauma-
informed and evidence-informed Wraparound model based on the national Wraparound
initiative. As a result, we have increased the available services to our families and youth


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within their communities, both formal and informal. Please refer to section 9 regarding
the Waiver Demonstration Project and West Virginia’s Semi-Annual Progress Report.




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1.6 All children in West Virginia will be safe from trafficking.

West Virginia will be using data from the Office of Research and Strategic.

Rationale

West Virginia recognizes the need for policies or procedures to ensure that victims of sex
trafficking are considered victims of child abuse and neglect and sexual abuse. The West
Virginia Human Trafficking/Civil Rights Task Force is currently in its early stages of
working to improve the WV response to Human Trafficking. The membership of the task
force already includes representatives from each discipline recommended by the
document collaborating with Youth-Serving Agencies to respond to and Prevent Sex
Trafficking of Youth, developed by the Capacity Building Center for States. We have
recently hired a Human Trafficking Coordinator. The individual serving in this role comes
to us with experience working with survivors and an intense passion to end human
trafficking. One of the initial responsibilities will be to coordinate the communication loop
with statewide task force membership, as well as assigning parties to the task force sub-
committees specific to each individual item on the work plan. One of the key tasks on the
work plan will be cross-system coordination of services delivery for victims.

Measurement Plan: Track the number of referrals which were accepted due to trafficking.

The Bureau for Children and Families will develop intra-agency screening and response
tools to assist in the identification and servicing of youth and young adults not in foster
care, who may be victims of human trafficking. This screening tool will be used across
multiple programmatic areas, including customers who may be applying for TANF, SNAP
or Medicaid benefits. Once a victim of human trafficking is identified, despite which
avenue of entry, a referral will be made to child protective services for assessment of
service needs.

Benchmarks:

Baseline: West Virginia currently has no baseline for victims of trafficking. In the next year,
the Bureau for Children and Families in collaboration with other members of the West
Virginia Human Trafficking/Civil Rights Task Force will develop a tool to track victims of
trafficking.

Tasks


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             Ensure all children assessed by the Department are assessed for history of
              possible trafficking.
             Provide every child in foster care age 14 and up a document that describes
              the rights of the child with respect to education, health, visitation and court
              participation, the right to be provided with the documents specified in
              section 475(5)(1) and the right to stay safe and avoid exploitation;
             Establish or designate a state authority responsible for establishing and
              maintaining standards for foster family homes and child care institutions
              which are reasonably in accord with recommended national standards
              including those related to admission policies, safety, sanitation and
              protection of civil rights and which permit the use of reasonable and prudent
              parenting standards.
             Develop policies and procedures for identifying, documenting and
              determining appropriate services for any youth for whom the agency has
              responsibility for placement, care, or supervision or youth who are not in
              foster care but are receiving services when there is reasonable cause to
              believe that youth is, or is at risk of being a victim of sex trafficking;

2017 Update

West Virginia has an existing Human Trafficking and Civil Rights Task Force, comprised
of federal, state, and local agencies. The Bureau for Children and Families has staff
members who are part of this statewide task force. This task force meets at least quarterly
and more often when necessary. The task force is grant funded by The Sisters of Saint
Joseph’s, out of Wheeling, West Virginia. The task forces purpose is to raise awareness,
develop statewide protocols and screening tools regarding potential human trafficking
survivors, and develop and provide statewide trainings to the necessary disciplines that
will likely encounter human trafficked victims.

A survey was developed by the West Virginia State Human Trafficking Task Force
coordinator and members of the services subcommittee. The results of this survey show
the specific services that are provided by several individual service providers across the
state and the populations that they serve. Those served by these providers include:
minors, females, males and transgender. The services range widely and include: shelter,
case management, 24-hour response, transportation, and medical, case management,

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legal, translation, advocacy, education, and screening. Many of the service providers are
either human trafficking specific or human trafficking informed. The service providers
include medical centers and hospitals, emergency shelters, child advocacy centers,
domestic violence resource centers, and victim’s services within certain prosecuting
attorney offices.

The task force is also working to recognize service deficits and barriers to address and
work to correct those issues. There will be a statewide human trafficking training during
the second half of 2017. This training will focus on a uniform statewide protocol for
individual disciplines as well as screening tools specific to those disciplines.

Foster care policy has been updated to include signs of sex trafficking and labor trafficking
as well as examples of both forms of trafficking. Updates also include protocol for field
staff should they identify a trafficking victim. Protocol requires an assessment and
notifying law enforcement immediately but not later than 24 hours of receiving a referral
or suspecting trafficking of a minor youth.

The passage of House Bill 2318 amended Chapter 49: Child Welfare, of the West Virginia
State Code, terms any minor victim of human trafficking an abused and neglected child
who is eligible to receive services.

http://www.legis.state.wv.us/Bill_Status/bills_text.cfm?billdoc=HB2318%20SUB%20EN
R.htm&yr=2017&sesstype=RS&i=2318

2018 Update

The West Virginia Human Trafficking Task Force has developed a statewide website as
a resource for West Virginians. The website has contact information for several agencies,
including service providers, federal and state law enforcement agencies, as well as the
Department of Health and Human Resources abuse and neglect hotline. The website also
provides information regarding upcoming human trafficking trainings as well as events.

https://stophumantraffickingwv.org/




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In September 2017, West Virginia SACWIS system updated reporting screens to include
trafficking as a maltreatment type. There were four maltreatment types added:
      Sex trafficking by parent
      Sex trafficking by nonparent
      Labor Trafficking by parent
      Labor Trafficking by nonparent
All Bureau for Children and Families child welfare staff have been trained in human
trafficking identification at the request of the Department of Health and Human Resources
Cabinet Secretary. This training was prompted by the Cabinet Secretary meeting
Homeland Security. Human trafficking has been included in the child welfare new worker
training curricula.

Additionally, in June 2107, West Virginia State Troopers were trained across the state in
the protocol for dealing with human trafficking cases and working collaboratively with the
Bureau for Children and Families’ child welfare staff on reports of human trafficking
involving minor victims.

The West Virginia Human Trafficking Task Force continues to meet quarterly throughout
the year and has several subcommittees designated to specific agendas such as
services, training, data collection, and prosecution of cases. BCF staff continues to be a
significant member of the statewide task force. Trainings continue to be held throughout
the state for varying areas of profession to ensure that all professionals who are likely to
serve potential victims, are trained and educated on identifying victims of human
trafficking as well as procedures and protocol for reporting to law enforcement agencies
and the Bureau for Children and Families abuse and neglect hotline.

The Polaris Project, the national human trafficking hotline, released human trafficking
statistics for 2017. Polaris Project received 57 calls involving reports of human trafficking,
resulting in 16 cases, of which six were minors.

Goal 2:       West Virginia’s children will achieve permanency timely.

2.1. Improve timeliness to permanency by more timely and effective use of family
assessment and case planning by December 2017.

Rationale
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One of the key indicators of how well districts perform on the Child and Family Services
case review process is the staffing pattern of the district. Districts that experience a
staffing shortage due to staff turnover, rate significantly lower on all measures. All the
districts reviewed in Federal Fiscal Year 2014, indicated significant staffing issues at the
time of the exit as a factor contributing to the area needing improving.

Overall measurements indicate case planning in occurring in 79.20% of the cases. The
cases reviews indicate that this measure is being achieved in placement cases with court
oversight and the case planning process is governed by court involvement. When
interviewed parents and youth indicate they feel they have had involvement in their case
plan; however, data suggests that non-placement cases without court oversight do
not. Data also indicates although the planning and development of the case plan may
involve the youth and family there appears to be a breakdown in the implementation and
engagement of families after the development of the case goals, as indicated in the
frequency of caseworker visits with non-placement youth and parents.

WV recognizes the importance of family engagement to achieve the permanency goal of
reunification, or to identify the necessity of moving on to a different permanency
goal. 2008 CFSR indicated parent contact as an area needing improvement, and WV
developed a PIP to address the areas needing improvement. PIP strategies included the
implementation of PCFA as a model for improving family engagement in CPS cases. WV
met its negotiated PIP improvement goal at 16.60% of cases reviewed showed parent
contact as strength. WV implemented the PCFA process statewide; however, current
case reviews indicate a lack of consistent use and family engagement in case planning,
demonstrating the need for WV to refocus on the implementation of the PCFA process.

Measurement Plan:

West Virginia will utilize the Child and Family Service style case reviews to monitor the
improvement in time to permanency. 2014 Child and Family Review instrument will be
utilized for ongoing measurement. Permanency Outcome 1, 2, and Wellbeing Outcome1
will be used to monitor improvements.

Baseline measurement indicates Permanency Outcome 1 was achieved in 50.5 % of the
cases reviewed. Permanency Outcome 2 was achieved in 94.1% of the cases reviewed.
Wellbeing Outcome 1 was achieved in 51.9 % of the cases reviewed.

 ***Baseline measurement indicates all case (placement and non-placement) rated as
strength in Federal Fiscal Year 2013. *2008 CFSR instrument utilized for case review
data.

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Benchmarks:

Permanency Outcome 1

Data will be measured through CFSR style reviews

Original:

 Baseline      Targeted       Targeted        Targeted      Targeted      Targeted
               Goal           Goal            Goal          Goal          Goal

 FFY 2013      2015           2016            2017          2018          2019

 50.5 %                                       -             60%           65%




Update:

 2013         2014        2015         2016          2017          2018      2019
 50.5%        52.0%       40.88%       18.3%         21.12%

**West Virginia utilizes a 14-month period under review for case reviews. Implementation
of objective will occur during FFY 2015-2017. Case review should begin to demonstrate
improvement by 2018.

Benchmarks:

Permanency Outcome 2

Data will be measured through CFSR style reviews

Original:

 Baseline      Targeted       Targeted        Targeted      Targeted      Targeted
               Goal           Goal            Goal          Goal          Goal

 FFY 2013      2015           2016            2017          2018          2019


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 94.1%                        -               -             95%           97%


Update:

 2013         2014        2015         2016          2017          2018      2019
 94.1%        91.1%       73.7%        76.4%         60.56%

**West Virginia utilizes a 12-month period under review for case reviews. Implementation
of objective will occur during FFY 2015-2017. Case review should begin to demonstrate
improvement by 2018.

Benchmarks:

Wellbeing Outcome 1

Data will be measured through CFSR style reviews

Original:

 Baseline      Targeted       Targeted        Targeted      Targeted      Targeted
               Goal           Goal            Goal          Goal          Goal

 FFY 2013      2015           2016            2017          2018          2019

 51.9%                        -               -             50%           60%


Update:

 2013         2014        2015         2016          2017          2018      2019
 51.9%        42.6%       32.4%        15.4%         17.74%

**West Virginia utilizes a 12-month period under review for case reviews. Implementation
of objective will occur during FFY 2015-2017. Case review should begin to demonstrate
improvement by 2018.

Tasks



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      Identify districts that are successfully utilizing the Protective Capacities Family
       Assessment (PCFA), analyze why they are successful, and identify the barriers.
       Develop a plan to improve performance and address barriers in other districts
       based on the information by December 2014.
      Provide refresher training to staff on the PCFA and case planning process, as well
       as activities to re-engage staff to the PCFA process, by December 2015.
      Re-implement the PCFA supervisor proficiency assessment process and track
       completion of staff consultation on all stages of the PCFA by March 2019.
      Monitor quality of casework through the DPQI case review process and implement
       corrective action plans when there are identified deficiencies by December 2017.

2015 Updates

West Virginia completed an analysis of all districts to determine why some were
successfully implementing the PCFA process and others were not. The following
counties have successfully implemented the use of the PCFA: Wood, Monongalia, Cabell,
Putnam,         Logan,         Randolph/Tucker,         Lewis/Upshur,          Fayette,
Greenbrier/Monroe/Pocahontas/Summers, McDowell, Mercer, Nicholas/Webster,
Raleigh, and Wyoming. These counties have had refresher training and now have the ability
to complete these assessments in our Families and Children Tracking System (FACTS). Full
implementation of the PCFA will be completed by March 31, 2016.

It was determined that districts that completed quality PCFA’s within the time frames did
so due to lower staff turnover and smaller caseloads. Commissioner Exline requested
additional staff during the last Legislative Session.

The Division of Planning and Quality Improvement continued to identify Districts that need
additional supports to make improvements in family engagement. DPQI, in conjunction
with the District’s management staff, developed a plan to address the barriers to
successful family engagement. The Division of Training has provided refresher training
to the identified Districts.

West Virginia continues to develop strategies for improving family engagement. West
Virginia’s 2015 Legislative session passed of Senate Bill 393 which will utilize court
oversight to monitor plans to transition youth placed out-of-home back into their home
setting with community services within 90 days of placement. West Virginia is in the
process of implementing the Safe at Home IVE waiver grant, which utilizes a family-
centered approach to working with children and families.



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In the last 6 months, BCF/Division of Training has completed PCFA refresher training for
tenured staff in 17 counties around the state and will continue to provide the training as
requested. Protective Capacity Family Functioning Assessment training is incorporated
into Child Protective Service Worker new worker training.

2016 Updates

The four Child Welfare Consultants that are responsible for each of the four Regional
Adoption and Homefinding units have developed a resource to present to all child welfare
workers and supervisors during unit meetings that explains the process to permanency.
It is anticipated that having the Consultants work directly with the supervisors and workers
to provide assistance that we will be able to more timely bridge the gap to permanency
for youth in our care. The Consultants will review the process from diligent search to
permanency with the workers and supervisors. This includes the homestudy process,
diligent search for kinship/relatives, Multi-Disciplinary teams, dispositional staffing, and
timely adoption case transfers. The four Child Welfare Consultants that are responsible
for each of the four Regional Adoption and Homefinding units have developed a resource
to present to all child welfare workers and supervisors during unit meetings that explains
the process to permanency. It is anticipated that having the Consultants work directly
with the supervisors and workers to provide assistance that we will be able to more timely
bridge the gap to permanency for youth in our care. The Consultants will review the
process from diligent search to permanency with the workers and supervisors. This
includes the homestudy process, diligent search for kinship/relatives, Multi-Disciplinary
teams, dispositional staffing, and timely adoption case transfers.

West Virginia utilizes a 12-month period under review for case reviews. Implementation
of objective will occur during FFY 2015-2017. Case review should begin to demonstrate
improvement by 2018.

                          October 1, 2014 - September 30, 2015

                      All Cases Outcome or Performance Indicator
                                                                Outcome Ratings
                                                     Substantially   Partially
                                                                                 Not Achieved
                                                      Achieved       Achieved
 Outcome P1:          Children have permanency and
                                                        40.8%         52.6%         6.6%
 stability in their living situation




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   Outcome P2: The continuity of family relationships
                                                             73.7%       22.4%       3.9%
        and connections is preserved for children.


   Outcome WB1: Families have enhanced capacity to
                                                             32.4%       37.3%       30.3%
             provide for their children's needs



  2017 Update

   Outcome P1: Children have permanency and stability         18.3%       64.8%      16.9%
   in their living situation
    Outcome P2: The continuity of family relationships       76.4%%       22.2%       1.4%
        and connections is preserved for children.

    Outcome WB1: Families have enhanced capacity to          15.4%%       30.1%      54.5%
             provide for their children's needs



  2018 Update

   Outcome P1: Children have permanency and                21.12%       59.15%    19.71%
   stability in their living situation

   Outcome P2: The continuity of family relationships      60.56%       30.98%    8.45%
   and connections is preserved for children.

   Outcome WB1: Families have enhanced capacity to         17.74%       34.67%    47.58%
   provide for their children's needs



  2.2 Reduce the number of children in foster care 24 months or longer by 25% by
  October 2019.




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            Children in Foster Care 2+ years or more by Age Group
180                                                                   159
160
                                                           136
140
120                                                                         close to permanency
100                               83         78
 80              69 76
 60                          46                                             not close to
                                                                            permanency
 40                                     23
 20                                                  11          10
            1
  0
        0-1     ages 2-5    ages 6-9 ages 10-12 ages 13-15 ages 16-17
                         LongStayers by Age Groups


Rationale

Recent emphasis has been placed on reviewing cases of children and youth who have
been in foster care for a long period of time. Recent data reveals there are 692 children
and youth who have been in foster care for two or more years, or 15% of the children in
care. The percentage increases as the age of the child increases, with 20 of children 13
to 15 and 23% of children 15-17 in placement for two or more years. West Virginia must
analyze this data to determine the causes of children being in lengthy placements and
take appropriate steps to reduce the amount of time children are in care.

Measurement Plan:

West Virginia will utilize AFCARS data to measure the length in time of care.

Baseline data indicates there are 692 children and youth who have been in foster care
for two or more years, or 15% of the children in care. The percentage increases as the
age of the child increases, with 20% of children 13 to 15 and 23% of children 15-17 in
placement for two or more years.

Benchmarks:

Original:


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 Baseline        Targeted       Targeted        Targeted       Targeted       Targeted
                 Goal           Goal            Goal           Goal           Goal

 March 2014      2015           2016            2017           2018           2019

 692             658            624             590            556            522


Update:

 2013          2014         2015         2016          2017          2018        2019
 692           658          633          661           1018

Tasks

       Develop a review tool for children in foster care 24 months or longer to identify and
        better understand the issues related to delays in achieving permanency and a plan
        developed to address the issues by December 31, 2015.
       Work with the Court Improvement Program to review children in foster care 24
        months or longer through the New View project, including analyzing results and
        developing a plan to address identified trends a minimum of two times per year by
        December 2016.
       Work with the Court Improvement Committee Data, Statute and Rules committee
        to identify and address issues identified related to the court system by December
        2017.
       Expand the use of Regional Clinical Reviews to identify barriers in the permanency
        process with all cases of children in care for two or more years by October 2019.
       Establish a process to monitor the regularity of judicial reviews and permanency
        hearing and the establishment and reevaluation of placement plans.

Update

West Virginia continues to work with the Court Improvement Program to review children
in foster care 24 months or longer. The New View project has identified barriers to
permanency on a case by case basis. The report should be available in the fall of 2015.

The benchmark date for the first task, developing a review tool, is being changed due to
Safe at Home implementation. The new target date will be June 2016.



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The purpose of the out-of-state reviews is to identify treatment and services needs and
assist the DHHR case worker with discharge planning. The process is standardized and
was conducted in each DHHR region. There have been two out-of-state reviews
completed to date.

The first review was from April – July 2014. A total of 205 children/youth were
reviewed. Thirty-one percent were child protective services cases and sixty-nine percent
were youth services cases

The second review was from March – April 2015. A total of 117 children/youth were
reviewed (unduplicated from previous year). Twenty-one percent were child protective
service cases and seventy-nine percent were youth service cases.

Since the second review, the oversight team has reviewed and revised the forms and will
be implementing this process statewide on a regular basis to provide assistance and
support to DHHR staff and track system changes and improved outcomes.

2016 Update

The passing of Senate Bill 393 in the 2015 legislative session included an amendment to
code section 49-4-403. The amendment to this section requests the DHHR to coordinate
with the court to establish, at least, one day per month in which MDTs are to occur. This
effort is to ensure every child who has an MDT can enjoy maximum participation by
attorneys, family members, and school personnel who often find it difficult to attend.

A Court SOP draft was discussed and released in January 2015 at a Field Operations
Management (FOMT) meeting. This meeting included the Deputy Commissioner for Field
Operations (one at that time) and four Regional Directors. The SOP and related tools had
been developed by a statewide committee in 2014. In addition to the SOP a tracking
form, court note sheet and desk guide were also released. The draft was updated into
the final draft attached here and sent along with the other documents to the Deputy for
Field Operations and the RDs in February 2015.

Many districts have implemented this recommended SOP and use some or all the tools
– court note sheet, log, and desk guide.

Other than these draft releases and recommendations for use, there has been no other
release of the Court SOP and related documents. BCF is presently reviewing the SOP
and related documents. This this review will include a legal review by newly hired counsel
for BCF. BCF has a target timeframe for review and release of a revised SOP and the

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related tools of July 2016. BCF is already of aware of the need to revise to better track
foster parent notification, attendance at hearings and notation of their right to be heard.

2018 Update

Although the number of children in care 24 months or longer has increased, the number
of children in care for any length of time has also increased keeping this percentage,
15.6%, relatively unchanged.

State Review Team

A State Clinical Review Team will be operational by June 2016. The State Clinical Review
Team will review children/adolescents that have been in congregate care in-state or out-
of-state and are no longer progressing, are unable to transition due to lack of a biological,
adoptive or foster family, or have a diagnosis that is preventing them from a less restrictive
level of care. The team members include but are not limited to Bureau for Children and
Families (adult services as needed); Bureau for Behavioral Health and Health Facilities
(IDD Division, Adult MH Services, Children MH and Substance Abuse); Bureau for
Medical Services ; Policy Representative; DHHR Program Manager (based on the child
reviewed); Experts in the areas of Trauma, Substance Abuse/Use, Traumatic Brain Injury
and Intellectual and Developmental Disabilities, Severe Mental Health Disorders, and
Sexual Abuse and Abuse/Reactive issues.

Out-of-State Review Team

The purpose of the Out-of-State Review team is to identify gaps in services, system
issues and barriers to keeping youth in-state for services or returning the youth to West
Virginia from out-of-state services. The process also assists the DHHR worker in
discharge planning.

      From April 2015-March 2016, 191 Out-of-State Reviews were completed.

Regional Clinical Review Team

      From April 2015-March 2016, 68 youth were reviewed through a Regional Clinical
       Review Team.
      66 of the youth were at risk of going out of state for services.
      The team recommended that 39 youth remain in-state and 7 youth were
       recommended to remain in-state but if services could not be secured, then they
       were to be placed out of state.

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      A youth must remain in state at least 4 months after the team makes the
       recommendation for the recommendation to be considered as being followed. 31
       kids fall within the guidelines.
      Out of those 31 kids, 25 or 81% were prevented from going out of state.




                                2013                          2014                      2015
                      Average       Percent       Average         Percent     Average      Percent
                       (days)     Compliance       (days)       Compliance     (days)    Compliance
Time to Permanent
Placement
                       491.5           none           439.5          None      427.0           none
(Compliance Limit –
none)
Time to First
Permanency
Planning
                       283.9           none           265.2          None      254.0           none
Determination
(Compliance Limit –
none)
Judicial Permanent
Placement Reviews
                       86.4            77.70%         86.5           76.40%    83.1        78.00%
(Compliance Limit –
93 days)
Disposition to
Permanent
Placement              183.3           89.70%         144.4          93.80%    142.3       94.00%
(Compliance Limit –
543 days)

Goal 2.3 Increase foster care and kinship care homes to reduce the number of children
placed in residential treatment centers and address the needs of children entering
placement.

Rationale

West Virginia leads the nation in the number of children placed in congregate care per
capita. Research has shown that children in congregate care do not have as good
outcomes as children placed in family-based care.
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Measurement Plan

Please refer to West Virginia's Initial Design and Implementation Report located on our
website; http://www.wvdhhr.org/bcf/safe/ .

Tasks

       Work with CIP to establish plans to address delays in finalizing adoptions. – check
        original CFSP
       Consult with the National Resource Center for Diligent Recruitment to develop
        strategies to improve agency’s response to Foster care and adoption inquiries.
       Reduce the delays in providing training for foster care families by developing an
        online training.
       Expand the use of Morpho Trust CIB machine to allow potential foster parents to
        receive CIB printing in a timelier manner by January 2018.
       Develop protocol for the collection of data related to the timeliness of the
        completion of home studies by January 2016.

2015 Updates

The West Virginia Department of Health and Human Resources has been looking at
caseloads across the state, as well as the number of inquiries that each region is receiving
regarding individuals interested in becoming foster care providers. Due to the volume of
both, as well as the increased focus on kinship/relative care providers, the Department
has determined that it does not have the number of staff required to adequately handle
foster care inquiries without additional positions being granted. At this time, the
Department is no longer accepting new inquiries for foster care providers. All new foster
care providers must go through the private foster care providing agencies for
certification. The Department will, however, continue to work with new and existing
kinship/relative provider homes.

When individuals contact the Department to show interest in possibly becoming a certified
provider, the Department employee who receives the inquiry will provide the caller with
the contact information for Mission West Virginia, informing them that they need to call
Mission West Virginia for further assistance. Mission West Virginia will then send out an
inquiry packet to the caller with information on all the private foster care agencies and will
also continue to follow up with the caller to help them through the process of deciding
which agency will best meet their needs.



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When the applicant chooses an individual agency, the application packet will be sent to
the selected agency to begin the certification process.

West Virginia has met with the National Resource Center for Diligent Recruitment to
develop strategies to improve agency’s response to Foster care and adoption inquiries.
The Department currently has 1,338 inquiries to provide foster care that have not been
addressed. The state will modify its request to the NRC-DR to address studies being
forwarded to the private agencies.

2016 Updates

In the spring of 2015, West Virginia enlisted the help of the National Resource Center for
Diligent Recruitment (NRC-DR) to help develop a plan to address over 1300 inquiries for
resource homes that had gone unattended. By the summer of 2015, BCF Leadership
made the decision to send those inquiries to private agencies so that agency staff could
focus their attention on the growing number of Kinship and Relative homes. Later in the
fall of 2015 the NRC-DR was contacted again for help in initiating this process.

After several on-site meetings, a plan was developed that includes inquiries be handled
through increasing the state’s contract with Mission, WV and referring those interested in
foster care to private agencies.

The process calls for Mission, WV to receive all calls from the public requesting to become
foster parents, send those families information packets, and make the referral to the
agency selected. This process allows all inquiries to be tracked and insures follow up until
an agency is selected.

After an agency is selected, Mission, WV will continue to follow up with the family to insure
the private agencies have the resources to meet the needs of the families. BCF is
currently working to develop a process to track the inquiries received by Mission, WV
through to certification by the private agency.

Sending inquires to private agencies will also help alleviate delays in foster parent
training. Private agencies can utilize the states Social Work Education Consortium
training but currently can provide training one on one with potential foster parents who
must miss a session due to unforeseen circumstances. Due to the volume, this was never
a viable option for home finders employed by the state.




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Between 4/1/16 and 3/31/17, 1759 inquiries were received by Mission WV. 36 were
certified as of June 8, 2017. Over those same dates, a total of 130 families were certified.
Their inquiry dates span from 2/2/10 to 9/22/16.

2018 Update

Between 4/1/17 and 3/31/18 1637 inquiries were received. 39 of those inquiries were
certified as of May 30, 2018. Over those same dates, a total of 110 families were
certified. Their inquiry dates span from 8/28/11 to 11/21/17.

Goal 3: West Virginia’s older youth will have more coordinated, integrated
services that will maintain them safely in their communities by 2019.

   3.1 WV will provide alternative services to youth and families that will allow youth to
      be maintained in their communities by 2019.

Based on the FREDI Placement Reports of Children in care at point in time (9/30) the
following charts of data were created. In 2014, the number of youth in Foster Care on the
30th of September was 1,654, and of that number 1,125 were in congregate care,
representing a decrease of 4.3% over 2013.




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                  WV Placement Data on September 30, 2015



        3000
                        1125                 1066            Congregate Care
        2000                                                 Total in Foster Care

        1000            1654                 1838


            0
                   2014 (68%)         2015 (58%)


  2017 Update

  In the past year, the percentage of children in congregate care decreased to 21%.


                 Percentage of children in congregate care


         8000
         6000                                      1085
                                                             Congregate Care
         4000                                                Total in Foster Care
                      1125         1066            5190
         2000
                     , 1654        1838
            0
                 2014 (68%) 2015 (58%)       2016 (21%)


  Update 2018

  In the past year, the percentage of children in congregate care decreased to 18%


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                  Percentage of children in congregate care

                                                                        Congregate Care

                                                                        Total in Foster Care
       8000
       7000                                                         1145
       6000                                      1085
       5000
       4000
                                                                    6162
       3000                                      5190
                     1125           1066
       2000
       1000         , 1654          1838
           0
                 2014 (68%) 2015 (58%) 2016 (21%) 2017 (18%)




                               Item 18: In home cases
                                   56.30%
                                                          52.30%
        60.00%
                             44%                42.30%             46.20%
        50.00%                                                                       FFY 2011
                    30.30%                                                           FFY 2012
        40.00%                                                              33.30%
                                                                                     FFY 2013
        30.00%
                                                                                     FFY 2014
        20.00%
                                        6.30%
        10.00%

         0.00%
                   Youth Services In Home             CPS In Home


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        January , 2014: Open for services to address
                          truancy
      1200
                    1006
      1000

       800

       600

       400                                 302
                                                                 179
       200

         0
               In-home Services   Out-of-Home Placement Diversionary Programs


Rationale

Data suggests a need to improve the practices related to the treatment and provision of
services in non-placement youth services cases. Furthermore, the number of youth in
congregate care ages 12-17 is well over the national average. This suggests that youth
are being placed in congregate care as their needs cannot be meet within the community
setting. Data collected by WV case review process indicates the need for improved
services.

West Virginia recognizes the need to improve services and create services based on the
needs of those served. Case reviews indicate a need for services related to substance
abuse and treatment as a key area needing improvement.

West Virginia does not have an accurate data collection system to identify the reason the
youth entered care through the youth services system. West Virginia has seen an
increase in the number of youth involved in youth services because of truancy. West
Virginia has no formalized method to track the number of children entering care because
of truancy; however, informal “hand counts” and case reviews suggest a significant
percentage of the youth involved with youth services come to the attention of the
Department because of habitual truancy.

Point in time hand count data suggest only 179 youth involved in truancy diversion
programs (13.69%). In January of 2014, hand count data indicates 1,006 Youth Services
cases were opened on families to provide in-home services to address identified truancy
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issues. Placements into the custody and care of the Department due to truancy issues
numbered 302. Through the work and technical assistance of PEW, SAMHSA, the
MacArthur Foundation and Casey Family Programs, West Virginia has identified
Substance Use Disorder among youth 12-17 years of age as a primary need where
truancy issues are also indicated. An appropriation of new funding was made in the
Governor’s budget bill for Expansion of Community-based Evidenced-based services and
pilot programs for services relating to substance abuse, mental health, family functional
therapies, and programs such as restorative justice. West Virginia plans to release grants
to implement Evidence Based Curricula (Prime for Life, SMART for Teens or Creating
Lasting Family Connections). Additionally, West Virginia’s Bureau for Behavioral Health
and Health Facilities has identified and funded grantees to expand school-based mental
health, and Regional Behavioral Health Youth Services Network to serve families in their
communities.

Measurement Plan:

West Virginia will utilize AFCARS point in time data pull to measure the reduction of youth
in congregate care. Baseline data indicates 61.1% all youth ages 12-17 in out of home
care on the last day of the fiscal year are in congregate care.

West Virginia will utilize “hand count data” to indicate a reduction of youth placed in care
due to truancy issues. Baseline point in time data indicates as of January of 2014, 302
youth were placed in the custody and care of the Department due to truancy issues.

West Virginia will develop methodologies for data exchange with courts and probation
information systems to track the number of youth services cases where truancy petitions
have been filed.

Benchmarks:

Point in time data- AFCARS

Original:

 Baseline       Targeted       Targeted        Targeted        Targeted      Targeted
                Goal           Goal            Goal            Goal          Goal

 2012           2015           2016            2017            2018          2019



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 46.1%          42%            38%             34%            30%           26%


Update:

 2013         2014         2015         2016          2017           2018     2019
 61.1%        56.1%        58%

Benchmarks:

Reduction of youth in custody due to truancy issues (5% reduction)

Original:

  Baseline      Targeted       Targeted        Targeted       Targeted      Targeted
                Goal           Goal            Goal           Goal          Goal

  1/2014        2015           2016            2017           2018          2019

  302           287            272             257            242           227


Update:

Point in time data- “hand count”

 2013         2014         2015        2016           2017          2018      2019
              302          279

Tasks

       Develop a framework of programs and services that address the needs of youth
        entering because of status offences through grant funded community-based
        evidence-based programs for youth by July 2016.
       Through technical assistance from National Center for Mental Health and Juvenile
        Justice (Policy Research Associates Inc.) and collaboration with West Virginia
        Department of Education, Division of Juvenile Justice, and the Department
        implement a School-based Diversion model with a community-based behavioral
        health responder for screening and subsequent assessment and treatment by
        October 2017.

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      Work with community partnerships to increase substance use disorder treatment
       and peer-support evidence-based programs specific to youth by December 2016.

Updates

In June 2014, the West Virginia Intergovernmental Task Force on Juvenile Justice was
established under the leadership of Governor Earl Ray Tomblin, Chief Justice of the
Supreme Court of Appeals Robin Jean Davis, Senate President Jeffrey Kessler, House
of Delegates Speaker Tim Miley, Senate Minority Leader Mike Hall, and Supreme Court
of Appeals Administrative Director Steve Canterbury. The charge of the Task Force was
to conduct a comprehensive analysis of the state’s juvenile justice system and make
recommendations that focus on protecting public safety by improving outcomes for youth,
families and communities; enhancing accountability for juvenile offenders and the system;
and containing taxpayer costs by focusing resources on the most serious offenders (State
of West Virginia). The Task Force extensively reviewed juvenile justice data and produced
a set of policy recommendations, which resulted in the writing, passage, and signing of
Senate Bill 393. This comprehensive juvenile reform bill focused on reducing the number
of youth and the amount of time youth spend in congregate care, requires the
redistribution of funds used by the Department of Health and Human Resources (WV
DHHR) and the Division of Juvenile Services to the use of evidence-based community
services, and requires the use of diversion and restorative justice programs and to reduce
the number of youth coming into contact with the juvenile justice system.

The understanding that many youth who come into contact with the juvenile justice
system are first-time, low-level offenders, exemplifies the necessity for more diversion
and restorative justice programming in the state. As a result, the WV DHHR, Bureau for
Children and Families (BCF) was provided with a line-item one-million-dollar budget to
provide for the establishment of two new evidence-based programs. These programs are
to be provided to pilot counties experiencing high numbers of juvenile petitions, to further
the mission of Senate Bill 393; to reduce the numbers of juveniles coming into contact
with the justice system.

The WV DHHR will be announcing a grant to provide evidence-based programming that
has been researched as a sustainable method to address our specified problems. The
WV DHHR is currently reviewing two such evidence-based programs for possible
implementation, Functional Family Therapy and Victim-Offender Mediation. These two
programs offer substantial outcomes for juveniles, focusing on engagement of not only
the youth, but their families and their communities. The DHHR will continue its efforts to
identify the best programming to fund to ensure juvenile justice reform is not only
successful, but sustainable.

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2016 Update

The limitations on placement time and occurrences in 393 are assured by requiring
evidence of specific need to remain in placement longer than 90 days for juveniles in
residential care and restricting first time status offending youth from being placed in group
residential care. These changes emphasize serving our youth in their communities
whenever possible and limit residential to high-need youth.

In winter of 2015, the Bureau for Children and Families (BCF) received a line item budget
of one million dollars to expand community based mental health services and programs
for juveniles. The programs the Bureau was asked to implement were Functional Family
Therapy (FFT) and Victim Offender Mediation (VOM). The Bureau solicited proposals
from entities interested in providing these services. The result was FFT being offered by
9 providers serving 33 of 55 counties and 2 additional victim offender mediation programs
in the state. While FFT is still in its infancy, it has currently served 14 families in need.

Public and private agencies across various service delivery systems, which historically
have been “siloed”, have come together to foster communication and education.
Brainstorming opportunities strengthen and develop expertise and enhance workforce
capacity. Networking effectively serves all of WV’s children who experience
intellectual/developmental disabilities (I/DD) and co-existing mental illness who require
complex multi-tiered supports.

Some examples of this effort are the cross-systems work products. In 2013, the first
Integrated Behavioral Health Conference occurred. The conference was held to educate
providers I relevant topics related to behavioral health. In 2015, the conference focused
on “Building Trauma Informed Systems of Care.” A year-long Technical Assistance grant
from SAMHSA’s National Center for Trauma Informed Care (NCTIC)

Silo Spanners is subcommittee of the Service Development and Delivery Work Group.
Silo Spanners brings together a diverse group of entities representing Child Welfare
Residential and Foster Care providers, I/DD Home and Community Based Waiver and
ICF/IID providers, DHHR Bureau for Behavioral Health and Health Facilities, Bureau for
Children and Families, Comprehensive Community Mental Health Centers, WV
Developmental Disabilities Council, WV Autism Training Center, WVU Center for
Excellence in Disabilities, Association for Positive Behavior Support Network, Mental
Health therapists, & Division of Juvenile Services.

Accomplishments to date:


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•     Cross-systems and cross-disability awareness and recognition of service needs
and gaps for this population;

•      Catalogue of areas of expertise and experience of each member, geographical
location and contact information for purposes of technical assistance and integrated
service planning/delivery;

•      Development of basic training entitled “Developmental Disabilities and Co-Existing
Disorders: An Overview” along with a Training of Trainers curriculum. It is cross-sector
training that also serves as relationship-building opportunities for providers in the mental
health, IDD and child welfare systems;

•     Planned and presented workshops at BBHHF Integrated Behavioral Health
Conference, e.g., Developing Therapeutic Relationships with Individuals on the Autism
Spectrum; Trauma Informed Treatment for Children with IDD.

2017 Update

The BCF has lost several providers of FFT and VOM. FFT currently maintains three (3)
teams and provides service to sixteen (16) counties, while VOM maintains two (2) VOM
sites in the state and provides service to twelve (12) counties.

West Virginia recently identified the extraordinary need to reduce the number of children
ages 12-17 coming into congregate care. West Virginia maintained the highest number
of youth residing in congregate care in the nation, explicitly pointing to the need to
increase community service accessibility and capacity. West Virginia needs our service
array to become more coordinated and integrated into the fabric of our youth’s
communities from which they are so frequently removed. In reviewing data to determine
our primary system-entry point leading to removal, we determined that juvenile petitions
for truancy were the number one factor causing placement. We began a structure of
district level hand counts to collect data on truancy to establish our baseline and measure
our yearly reductions.

Since the inception of this goal West Virginia has passed legislation which has required
our education system to improve its response to truancy in our state thereby lessening
many of the unnecessary referrals to the court. Some examples include, funding to the
Department of Education for truancy specialists, a tiered system of notifications to the
family that truancy is becoming a problem, a mandate that the parents of truant youth are

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petitioned against instead of the child, the mandate that all first-time status offenders be
diverted from the court to a truancy diversion specialist, probation officer, or department
worker. These changes in conjunction with the department’s Safe at Home program will
inevitably continue to reduce congregate numbers for truancy related offenses. West
Virginia, however has identified a larger problem, the opioid epidemic. While West
Virginia will continue in its goal to improve service integration and coordination in the
community, we will no longer be measuring success by tracking a reduction in truancy
cases.

The substance abuse and opioid epidemic that is ravaging our communities has created
a situation in which our district office can no longer focus on hand counting truancy cases.
We understand that many of the truancy related problems youth face is symptomatic of a
much larger problem. We recognize that opioid addiction is often a direct feeder to the
problem of truancy. As we continue to fight the opioid crisis, we have determined that by
measuring the reduction of congregate care, as opposed to a focus on truancy cases,
relief will be provided to district offices allowing them to focus more on the major crisis’.
We also realize that the overall tracking of congregate care reduction will provide insight
in to the larger picture of service development and coordination. We believe that by
showing an overall reduction in congregate care totals for youth ages 12-17 we will show
an overall growth in our service array.

2018 Update

There have been no changes to FFT or VOM in the past year. The BCF continues to
maintain three (3) FFT providers which provide services to sixteen (16) counties, while
VOM maintains two (2) VOM sites in the northern areas of WV, providing services to
twelve (12) counties. One of the VOM sites has proposed the idea of expanding VOM
southward into several central counties. This expansion would not occur until SFY 2019
or later.

3.2   WV will increase the involvement of youth and families in the provision of treatment
and services through the restructuring of West Virginia’s youth services program by 2019.




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             Item 18: Case Planning in Placement Cases

                                        90%          86% 85.30%        96.90%
     100.00%      79.10%      81.80%


      80.00%                               69.40%                           69.00%
                                                                                     FFY 2011
      60.00%                                                                         FFY 2012
                                                                                     FFY 2013
      40.00%
                                                                                     FFY 2014
      20.00%

       0.00%
                 Youth Services Placement Cases      CPS Placement Cases



                                Item 4: In home cases
  50.0%
  45.0%
  40.0%
  35.0%
                                                                                     FFY 2011
  30.0%
  25.0%                                                                              FFY 2012
  20.0%                                                                              FF 2013
  15.0%
                                                                                     FF 2014
  10.0%
   5.0%
   0.0%
             total for item 4: In      In home YS           In home CPS
                 home cases


Rationale:

Case review data indicates a significant need to improve youth and family involvement in
the case planning process. Data also indicates a need for improvement related to the
continued assessment for safety in non-placement youth services home cases.

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Measurement Plan:

West Virginia will utilize the Child and Family Service style case reviews to monitor the
improvement in the involvement of youth and families in the provision of treatment and
services. Applicable items based on 2008 CFSR instrument are 4, 18, 19 and 20.

2014 Child and Family Review instrument will be utilized for ongoing measurement
applicable items 3, 13, 14, 15.

Baseline measurements indicate the following for Federal Fiscal Year 2013.

25% of the youth services cases reviewed rated as a strength for item 4, risk assessment
and safety management. 56.3 % of the youth services cases reviewed rated as strength
for item 18, child and family involvement in case planning. 25% of the youth services
cases reviewed rated as strength for work visits with the child. 37.5 % of the youth
services cases reviewed rated as strength for worker visits with parents. *2008 CFSR
instrument utilized for case review data.

Benchmarks:

Risk assessment and safety management in Youth Services Cases

Data will be measured through CFSR style reviews

 2014       2015            2016              2017           2018           2019

 20.5%      24.4%           XXX               24.3%

**West Virginia utilizes a 12-month period under review for case reviews. Implementation
of objective will occur during FFY 2015-2019. Case reviews may not show marked
improvement until 2021.

**West Virginia utilizes a 14-month period under review for case reviews. Implementation
of objective will occur during FFY 2015-2019. Case reviews may not show marked
improvement until 2021.

Benchmarks:

Child and family involvement in case planning in Youth Services Cases


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Data will be measured through CFSR style reviews



 Baseline     Data     Targeted     Targeted      Targeted    Targeted     Targeted
                       Goal         Goal          Goal        Goal         Goal

 FFY 2013     2014     2015         2016          2017        2018         2019

 56.3%        67.5%    61.3%        66.3%         71.3%       76.3%        81.3%

**West Virginia utilizes a 14-month period under review for case reviews.
Implementation of objective will occur during FFY 2015-2019. Case reviews may
not show marked improvement until 2021.

Benchmarks:

Worker visits with the child in Youth Services Cases

Data will be measured through CFSR style reviews

 Baseline     Data     Targeted     Targeted      Targeted    Targeted     Targeted
                       Goal         Goal          Goal        Goal         Goal
 FFY 2013     2014     2015         2016          2017        2018         2019
 25%          46.8%     55%                       38.8%

**West Virginia utilizes a 14-month period under review for case reviews. Implementation
of objective will occur during FFY 2015-2019. Case reviews may not show marked
improvement until 2021.

Benchmarks:

Worker visits with parents in Youth Services Cases

Data will be measured through CFSR style reviews

 Baseline     Data     Targeted     Targeted      Targeted    Targeted     Targeted
                       Goal         Goal          Goal        Goal         Goal
 FFY 2013     2014     2015         2016          2017        2018         2019
 37.5 %       12.5%    30%                        10.8%

                                           391




                                                                                D005093
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**West Virginia utilizes a 14-month period under review for case reviews. Implementation
of objective will occur during FFY 2015-2019. Case reviews may not show marked
improvement until 2021.

Tasks:

Restructure the Youth Services casework practice model to more closely parallel the
casework model for abuse and neglect cases by October 2019.

The Department began a data-sharing project with the West Virginia Department of
Education in September of 2014. The project includes data on children in out-of-home
care such as attendance and the number of schools attended (school stability measure).
The Department will develop a method to expand these data-sharing initiatives among
cross-system partners by July 2016.

Develop and implement a methodology to improve the continued assessment for safety
for all the children in the home when a case is opened for Youth Services by October
2016.

2016 Update

Streamlining
In late 2015, BCF created a formal group to evaluate the Child Protective and Youth
Service programs. The group will provide a recommendation to the BCF executive team
in how best to “streamline” Child Protective and Youth Services to more closely align the
two programs. Through this effort, the Department hopes to increase family engagement
and involvement within the Youth Services program.

Juvenile Justice Reform
During Fiscal Year 2015, the Department began working collaboratively with major
system stakeholders to develop a comprehensive data sharing agreement. The
Department, the Division of Juvenile Services, The Supreme Court, The Department of
Education, and Probation Services, are working with the Division of Justice and
Community Services to develop a framework for data collection and sharing. The Division
of Justice and Community Services intends to provide the Juvenile Justice Reform
Oversight Commission with an annual report which will inform on the state of the Youth
Services population. The outcome measurements provided will help to identify key areas
needing improvement cross-systems and allow for more targeted changes to be made.



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Additionally, the Department will begin diversion programming in July 2016. As part of
Diversion the youth service worker will be expected to involve the family in service
planning. The code allows for workers to obtain an order from the court to enforce the
service plan and involvement of those members. This will hopefully encourage the
participation of family in rehabilitating the youth.

The information below related to case planning has been updated due to erroneous
information being reported during the 2015 APSR Report.

Rationale:

Case review data indicates a significant need to improve youth and family involvement in
the case planning process. Data also indicates a need for improvement related to the
continued assessment for safety in youth services home cases.


                  Case Planning in Youth Services Cases
 80%                                                                                     75%
 70%               63%                              65.50%
 60%
 50%
                FFY 2011                           FFY 2012                           FFY 2013

              Overall Case Planning in Youth Services Cases: % of cases that rated as a Strength




             Case Planning Youth Services Cases by Case
                Type: % of Cases Rated as a Strength
                                                                    79.10%     81.80%      90%
  100.00%
                                         56.30%
                               44%
   50.00%          30.30%

    0.00%
                          Non-placement                                      Placement

                                         FFY 11    FFY 12     FFY 13



                                                   393




                                                                                                   D005095
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2018 Update

The Bureau for Children and Families has been working on a streamlined assessment
and treatment planning model for both Child Protective Services and Youth Services. The
policy has been written and is being finalized and upper management has been trained
in the Praed Foundation FAST tool. However, we’ve halted plans to pilot this policy and
tools until Family First legislative requirements can be integrated into the new policy and
practice.


          Youth Services: Risk and Safety Assessment and
            Mangement: % of cases rated as a strength
 30.00%
                                              24.10%                     25%
 25.00%
                   19.00%
 20.00%

 15.00%

 10.00%

  5.00%

  0.00%
                  FFY 2011                    FFY 2012                 FFY 2013


Measurement Plan:

West Virginia will utilize the Child and Family Service style case reviews to monitor the
improvement in the involvement of youth and families in the provision of treatment and
services. Applicable items based on 2008 CFSR instrument are 4, 18, 19 and 20.

2014 Child and Family Review instrument will be utilized for ongoing measurement
applicable items 3, 13, 14, 15, with a 12-month period under review.

Baseline measurements indicate the following for Federal Fiscal Year 2013.

25% of the youth services cases reviewed rated as a strength for item 4, risk assessment
and safety management. Fifty-six-point three percent (56.3 %) of the non-placement
youth services cases reviewed rated as strength for item 18, child and family involvement
in case planning. Twenty-five percent of the youth services cases reviewed rated as
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strength for work visits with the child. Thirty-seven-point five percent (37.5 %) of the youth
services cases reviewed rated as strength for worker visits with parents. *2008 CFSR
instrument utilized for case review data.

Benchmarks:

Risk assessment and safety management in Youth Services Cases

Data will be measured through CFSR style reviews

   Baseline     Targeted        Targeted        Targeted       Targeted        Targeted
                Goal            Goal            Goal           Goal            Goal
 FFY 2013       2015            2016            2017           2018            2019
 19%            30%             35%             40%            45%             50%

Update:

Risk assessment and safety management in Youth Services Cases

 2014         2015            2016            2017             2018             2019
 20.5%        24.4%           XXX

**West Virginia utilizes a 12-month period under review for case reviews. Implementation
of objective will occur during FFY 2015-2019. Case reviews may not show marked
improvement until 2021.

Benchmarks:

Child and family involvement in case planning in non-placement Youth Services
Cases

Data will be measured through CFSR style reviews

 Baseline       Targeted        Targeted        Targeted       Targeted        Targeted
                Goal            Goal            Goal           Goal            Goal
 FFY 2013       2015            2016            2017           2018            2019
 56.3%          61.3%           66.3%           71.3%          76.3%           81.3%

Update: Child and family involvement in case planning in Youth Services Cases for
non-placement cases.
                                             395




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 2014       2015            2016            2017            2018            2019

 18.8%      32.0%           XXX             21.4%


Update: Child and family involvement in case planning in Youth Services Cases for
both placement and non-placement cases.

 2014       2015            2016            2017            2018            2019

 61.5%      46.7%           XXX             29.7%


**West Virginia utilizes a 12-month period under review for case reviews.

***** This measurement cannot be compared to prior years for case planning due to a
change in the way the DPQI unit assessed the item. In prior years, this item was rated
based upon the level of engagement of the family in the case planning process. Based
on consultation from the Children Bureau this item was not rated as a strength this year
unless the case plan was signed; therefore, the overall decrease in the percentage of
cases that rated as a strength for the item reflects a lack of signed case plans in the case
records, not necessarily the lack of family engagement in the case planning process.

Benchmarks:

Worker visits with the child in Youth Services Cases

Data will be measured through CFSR style reviews

 Baseline       Targeted       Targeted        Targeted       Targeted       Targeted
                Goal           Goal            Goal           Goal           Goal
 FFY 2013       2015           2016            2017           2018           2019
 25%

Update: Worker visits with the child in Youth Services Cases

 2014        2015            2016             2017             2018            2019
 46.8%       42.2%           XXX              38.8%



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**West Virginia utilizes a 12-month period under review for case reviews. Implementation
of objective will occur during FFY 2015-2019. Case reviews may not show marked
improvement until 2021.

Benchmarks:

Worker visits with parents in Youth Services Cases

Data will be measured through CFSR style reviews

Original:

 Baseline      Targeted       Targeted        Targeted      Targeted      Targeted
               Goal           Goal            Goal          Goal          Goal
 FFY 2013      2015           2016            2017          2018          2019
 37.5 %

Update: Worker visits with parents in Youth Services Cases

 2014       2015            2016              2017          2018            2019
 12.5%      11.4 %          27.3%             10.8%

**West Virginia utilizes a 12-month period under review for case reviews. Implementation
of objective will occur during FFY 2015-2019. Case reviews may not show marked
improvement until 2021.

2017 Update

Risk assessment and safety management in Youth Services Cases

 2014       2015            2016              2017          2018           2019
 20.5%      24.4%           15.9%             24.3%

**West Virginia utilizes a 12-month period under review for case reviews. Implementation
of objective will occur during FFY 2015-2019. Case reviews may not show marked
improvement until 2021.

Benchmarks:


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Child and family involvement in case planning in non-placement Youth Services
Cases

Data will be measured through CFSR style reviews

 Baseline       Targeted       Targeted        Targeted       Targeted       Targeted
                Goal           Goal            Goal           Goal           Goal
 FFY 2013       2015           2016            2017           2018           2019
 56.3%          61.3%          66.3%           71.3%          76.3%          81.3%

Update: Child and family involvement in case planning in Youth Services Cases for
non-placement cases.

 2014       2015            2016            2017            2018            2019

 18.8%      32.0%           7.7%            21.4%


Update: Child and family involvement in case planning in Youth Services Cases for
both placement and non-placement cases.

 2014       2015            2016            2017            2018            2019

 61.5%      46.7%           4.5%            29.7%


**West Virginia utilizes a 12-month period under review for case reviews.

***** This measurement cannot be compared to prior years for case planning due to a
change in the way the DPQI unit assessed the item. In prior years this item was rated
based upon the level of engagement of the family in the case planning process. Based
on consultation from the Children Bureau this item was not rated as a strength this year
unless the case plan was signed; therefore, the overall decrease in the percentage of
cases that rated as a strength for the item reflects a lack of signed case plans in the case
records, not necessarily the lack of family engagement in the case planning process.

Benchmarks:

Worker visits with the child in Youth Services Cases


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Data will be measured through CFSR style reviews

 Baseline      Targeted       Targeted        Targeted      Targeted      Targeted
               Goal           Goal            Goal          Goal          Goal
 FFY 2013      2015           2016            2017          2018          2019
 25%

Update: Worker visits with the child in Youth Services Cases

 2014       2015            2016              2017          2018            2019
 46.8%      42.2%           27.3%

**West Virginia utilizes a 12-month period under review for case reviews. Implementation
of objective will occur during FFY 2015-2019. Case reviews may not show marked
improvement until 2021.

Benchmarks:

Worker visits with parents in Youth Services Cases

Data will be measured through CFSR style reviews

Original:

 Baseline      Targeted       Targeted        Targeted      Targeted      Targeted
               Goal           Goal            Goal          Goal          Goal
 FFY 2013      2015           2016            2017          2018          2019
 37.5 %

Update: Worker visits with parents in Youth Services Cases

 2014       2015            2016              2017          2018            2019
 12.5%      11.4 %          14.0%

**West Virginia utilizes a 12-month period under review for case reviews. Implementation
of objective will occur during FFY 2015-2019. Case reviews may not show marked
improvement until 2021.

2017 Update:

                                          399




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BCF has outlined the framework for its “streamlining” project. The group has identified a
self-modified version of the Family Advocacy and Support Tool (FAST) to be utilized in
all cases that come to the attention of the department. The FAST not only readily
identifies strengths and needs each member of the family may have, it helps to paint a
picture of the family unit, as opposed to the focus on only one member. This should help
to improve family engagement through the requirement of needs identification and
strength planning for all family members. This should prove to be especially helpful in
those cases that are identified as “Youth Service” as it will help remove the focus of
treatment as solely a juvenile issue and provide a framework for family improvement.

The department has already developed some reports to share information with the
Juvenile Justice Reform Oversight Commission on the data measures required due to the
passage of SB 393. Though no agency is yet able to provide all the information
requested, the agencies involved have made some advancement on data they are able
to provide. The department should be able to provide information related to the number
of juveniles ordered to remain outside of the home for longer than 90 days, the number
of cases which are referred for pre-petition diversion, the number of active Youth Services
cases, and the number of youth who are adjudicated as either a status offender or
delinquent.

2018 Update

Tracking of pre-petition diversion cases from October 2017 to April 2018 show a gradual
increase in the amount of pre-petition diversion cases. This can be attributed to an
increase in overall cases as well as greater awareness of pre-petition diversion from court
personnel. Data for this is expressed in the following chart:




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The chart below provides the number of placement extensions completed for the months
beginning December 2017 through April 2018. This information was pulled via FREDI
Report Placements data as well as reports from the regions. Some youth are being
extended month after month and the results will include a youth who may have been
extended over and over such as if they were first extended over 90 days in December but
are still in out of home placement to date. Data is further broken down via the four different
regions of West Virginia.


                                    Exentension Per Region Per Month

     120                                                                                  108

     100                                                                                               77
      80
      60                       40             37                                                                    38
                  29                                                     30 31
      40                                                                             20
      20      8                                                                                    4
                       0   0             0          0   1   0                    0                          1   0
       0
                  Region 1                    Region 2                     Region 3                    Region 4

                                     Dec-17        Jan-18       Feb-18     Mar-18         18-Apr




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Goal 4: West Virginia will have a standardized process to address gaps in services
and the availability of services for children and families in their communities by
2019.

4.1 Identify current needs and gaps in services to develop the availability, quality,
accessibility and provision of services to children and families serviced by the Child
Welfare System by 2017.

Rationale

West Virginia has no current data to indicate the need and availability of services for
children and families in their communities.

Measurement Plan:

Through the Title IV-E Demonstration Project implementation activities, West Virginia will
establish a baseline of existing service availability and needs. The initial focus will be the
11 demonstration counties, with a planned statewide implementation target of 2019.
Benchmarks cannot be determined until a baseline has been established.

Tasks

       Explore the ability of the FACTS system to develop a report to collect and analyze
        Safe at Home West Virginia data.
       Integrate and analyze data collected through the multiple case review processes
        and stakeholder surveys to identify service gaps, beginning in the Safe at Home
        counties, by October 2015.
       Completion of an Initial Needs Assessment, coordinated with stakeholders through
        Regional Summits and Community Collaboratives, of the level of community and
        work-force readiness and “ownership” for a wrap-around service model, using the
        Self-Assessment of Strengths and Needs from the National Wrap-around
        Initiative’s (NWI) Wrap-around Implementation Guide, Community Groundwork for
        Wrap-around Implementation (Appendix A), which includes an assessment of the
        services, supports and workforce development needs by October 2015.
       Develop detailed plans, coordinated with stakeholders through the Regional
        Summits and Community Collaboratives, regarding methodology in developing
        needed workforce, services, and supports identified in the NWI needs assessment
        by October 2016.
       Develop an interdepartmental team consisting of the Bureau for Medical Services,
        the Bureau for Behavioral Health and Health Facilities and the Bureau for Children
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       and Families to garner resources for new services and the expansion and
       sustainability of existing services.
      Explore the use of an existing screen in our SACWIS system to collect data on
       unmet needs and develop a report.
      Analyze the data from these reports and share the data with collaboratives.

2015 Updates

West Virginia continues to work on the development and expansion of services and
supports in preparation for the implementation of Safe at Home, Title IV-E Demonstration
Project. Tasks for this objective will be reported out in 2015 APSR.

West Virginia is utilizing the community collaboratives to assist in the development and
identification of needed services.

The Bureau for Children and Families continues to collaborate with the Bureau for Health
and Health Facilities, Bureau for Medical Services, and Bureau for Public Health to
support this initiative.

2016 Updates

West Virginia developed detailed plans, coordinated with stakeholders through the
Regional Summits and Community Collaboratives, regarding methodology in developing
needed workforce, services, and supports identified in the National Wraparound
Initiative’s (NWI) needs assessment by October 2016.

The state developed an interdepartmental team consisting of the Bureau for Medical
Services, the Bureau for Behavioral Health and Health Facilities and the Bureau for
Children and Families to garner resources for new services and the expansion and
sustainability of existing services.

West Virginia has worked in partnership with the four Regional Children’s Summits and
the local Community Collaboratives. All Collaboratives, statewide, have completed a
cursory needs assessment, as well as the agency assessment of readiness within the
NWI’s Wraparound Guide to Implementation for Managers. Once the assessments were
completed, the Collaboratives were to develop strategic plans. Any service gaps that
they cannot meet will be pushed up to the attention of the Regional Children’s Summit to
assist.

The Bureau for Behavioral Health and Health Facilities Updates

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West Virginia’s Mental Health Block Grant 10% percent set aside devoted to First Episode
Psychosis (FEP) was initiated this year. The Bureau is piloting an integrated response
to individuals with First Episode Psychosis that uses a person-centered, multiagency
intervention    strategy     coordinated    through    case     management,        family
awareness/outreach/support, and innovative psychiatric treatment.

The Bureau has funded additional sites for Expanded School Mental Health: school-
based supports and services that address the full continuum of mental health services:
Tier one Universal Supports for all students; Tier two - early intervention for students at
risk for truancy and/or poor academic performance due to behavioral health challenges;
Tier three - intervention and treatment services for youth with intensive support
needs. Schools partner with licensed behavioral health providers, a variety of community
resources and families to create an environment that promotes student well-being and
academic success. ESMH services were approved for funding during the current year.

The Bureau has funded one new Substance Use Transitional Youth Residential
Program: Resident capacity is up to 16 beds/individuals; length of stay is up to 3
months. Service areas to be provided at the facility include: Prevention, Health Promotion
and Wellness, Engagement Services, Outpatient and Intensive Support, Medication
Services, Community and Recovery Support. The program also collaborates with
community-based, primary care/public health entities to coordinate physical health
needs. Serves males and females aged 18-24 with a substance use disorder and/or co-
occurring substance use and mental health disorder; priority is given to intravenous (IV)
drug users, individuals being transitioned from a higher level of care (psychiatric hospital
and/or detoxification-crisis stabilization) and/or women who are pregnant.

The Bureau has awarded funding for six pilot projects for High Fidelity Wraparound for
children in parental custody placed in out of state psychiatric residential treatment
facilities: intensive case management and individualized, strengths-based, trauma-
focused service planning for youth with serious emotional disturbances, substance use
disorders, or co-occurring disorders, with services delivered in an environment that safely
preserves family relationships and empowers families to help meet their own needs.
Programs are operating in the counties with the highest rates of youth placed in acute
psychiatric care and out-of-state psychiatric residential treatment facilities: Berkeley,
Cabell, Harrison, Kanawha, Marion and Raleigh Counties.

The Bureau has funded Regional Youth Service Centers. The purpose of having a
network of Regional Youth Service Centers is to implement a consistent and collaborative
approach to serving youth ages 12-24 with mental health, substance abuse, and co-


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occurring disorders across systems. The RYSCs will become “centers of excellence”
that:
•         Identify and coordinate a full spectrum of community-based services to provide
meaningful partnerships with families and youth with the goal of improving the youth’s
functioning in the home, school and community;
•         Create a unique and identified regional presence (including physical locations)
that improves awareness of and access to “close to home” prevention, early intervention,
treatment, and recovery services to meet the needs of the target population;
•         Incorporate individualized, strength-based out-patient behavioral health services
in an integrated environment that offers face to face and telehealth options for evidence-
based practice and program implementation; and
•         Serve as a “no wrong door” point of service access and information for youth,
families, and providers in need of resources, particularly those related to intensive,
community-based wraparound services;
•         Integrate the work of regional children’s behavioral health staff as the core of the
Regional Youth Service Centers, including but not limited to: Regional Director; Children’s
Clinical Liaison; Suicide Intervention Specialist; Peer Outreach Specialist; Regional
Clinical Coordinators, and System of Care Coordinator.

The Bureau expanded the Family Engagement and Parent Peer Support component of
the Family Advocacy, Support and Training (FAST) program: The purpose of the FAST
program is to develop a statewide parent and youth support network that will empower
families of children with behavioral health needs to participate in the planning,
management, and evaluation of their child’s treatment and service needs. FAST
empowers parents to advocate for themselves and their children and empowers parents
to build support networks in which they can educate other families with similar
circumstances. BBHHF plans to hire two additional Family Engagement and Parent Peer
Support Coordinators to develop regional parent/family support services across
disabilities and to assure families served by the Children's Wraparound pilots and Safe
At Home have access to peer support services.

Funding is proposed for six regional mobile teams that provide community-based crisis
services that deliver solution-focused and recovery-oriented behavioral health
assessments and stabilization of crisis in the location where the individual is experiencing
the crisis.

•         Assure 24/7 access to crisis response services in the child’s home, school, other
living arrangement, or other location in the community.
•         Assess and evaluate the presenting crisis to include an assessment of child and
community safety, caregiver capability, and clinical risk.

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•       Provide clinical interventions to stabilize the presenting crisis.
•       Refer, link, and connect the child to appropriate services to help the child stay at
home, stay in school, and stay out of trouble.
•        Collaborate with local and state community stakeholders to remove barriers to
treatment and ensure a system-wide approach to addressing youth and family needs and
supports.

Workforce Development: The Bureau has resources to provide sustainable professional
education strategies for child and family therapists/clinicians to improve professional
competence and the adoption of evidence based, evidence informed and promising
behavioral health practices, and to expand capacity to serve children with identified but
unmet treatment needs:

      Dialectical Behavior Therapy;
      Parent/Child Interaction Therapy;
      Positive Behavioral Support;
      Trauma-Focused Cognitive Behavior Therapy and/or Seeking Safety;
      Clinical Interventions for Victims of Trauma with Autism Spectrum Disorder, Fetal
       Alcohol Syndrome, Traumatic Brain Injury, or Mild Intellectual Disability;
      Clinical Interventions for Children with Sexual Trauma and Sexual
       Aggression/Acting Out.

Because of creative partnerships with the higher education community, the Higher
Education Policy Commission, and the Expanded School Mental Health initiative,
internships for students pursuing counseling degrees in higher education will be made
available in school-based settings. This emerging project will help with the professional
workforce needed in the state and improve outcomes for youth with SED and their
families.

The Bureau’s staff provides perspective, clinical expertise and resource
knowledge/access regarding youth with developmental disabilities and traumatic brain
injury on a variety of cross-system teams: Regional Clinical Review Teams, Out of State
Review Team, Regional Children’s Summits, and individual case consultations to
brainstorm solutions for children with complex support needs.

The Bureau for Behavioral Health and Health Facilities funds two pilot projects for serving
youth ages 18 – 21 with significant behavioral health needs. We are working with BCF
and the providers to evolve that service into one that more closely resembles, in terms of
language and outcomes, services these youths will access through the adult behavioral
health system, with greater access to supported housing and peer supports.\

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The Bureau recently submitted an application for a four-year SAMHSA Children’s System
of Care (SOC) Expansion and Sustainability Cooperative Agreement grant, which
proposes to expand and sustain the current WV System of Care framework for children’s
behavioral health services at the state and local level.

      At the state level, efforts will focus on integrating SOC principles across the child
       serving systems and coordinating plans into one comprehensive approach to serve
       youth with SED and their families;
      At the regional level, we will use the Regional Youth Service Centers as “hubs”
       to: infuse the SOC principles and values into the culture and practices of
       providers; engage youth and families; break down barriers; expand partnerships
       across child-serving systems; expand wraparound models into service planning for
       youth in parental custody; and grow the array of community-based services to
       reduce reliance on residential services are laudable and achievable goals;
      At the community level, the Bureau proposes further expansion of the wraparound
       model for service planning and development, mobile crisis services, intensive
       home-based services, parent peer support and system navigation; and workforce
       development.

West Virginia continues to utilize the Community Collaborative Groups (that include
members from the Family Resource Networks) to assist in the development and
identification of needed services.

From October 2014 through September 2015, the DHHR, Bureau for Children and
Families (BCF), Community Partnership’s unit provided ongoing technical support to the
Family Resource Networks and the Community Collaborative groups:

      Technical assistance was provided in developing Strategic Plans to address the
       service needs and gaps using the data collected from the Safe at Home West
       Virginia Services and Supports survey
      Technical assistance was provided in developing Strategic Plans to address the
       satisfaction of the Family Resource Networks using the data collected from the
       Continuing Quality Improvement survey.
      Development of Family Resource Networks Quarterly Reports to capture the
       services/supports that are provided to community members.

Safe at Home Service Development

Peer Support, the new service designed to help adults with addiction and/or
mental/behavioral health disabilities, is in the final stages of preparation. The service

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definition and criteria have been developed and the managed care organization has
completed the programming necessary for its inclusion in their authorization and review
procedures. At this time, the service awaits the SACWIS enhancements that will allow
workers to link it to specific clients and to interface with the managed care organization’s
data system. It is anticipated that this enhancement can occur by Fall 2016.

The development of the Youth Coaching service that was mentioned in the 2015 updated
has been delayed. During the latter developmental phases, the workgroup learned that
the evidence-basis for our new service, the published works of Larry K. Brentro, et. al.,
had been sold to Star Commonwealth and now had proprietary restrictions on its usage.
The workgroup, through partnership with our sister Bureau, the Bureau for Behavioral
Health and Health Facilities (BBHHF), had to find other experts in the field of youth
mentoring/re-education models. Several conversations have occurred with Mark Freado
and Mary Grealish, mentioned throughout this document in relation to our IV-E
demonstration project. The group, through funding from BBHHF, is examining the
possibility of Mr. Freado, Ms. Grealish and several other “experts” coming to West Virginia
to conduct “train the trainer” workshops with our mutual providers and Departmental staff
to help develop a youth mentoring service that fits West Virginia.

The redesign of the Bureau’s current structure for providing community-based supportive
services, currently known as Socially Necessary Services, has been delayed. During the
past year, the contract for the managed care organization that manages the State’s
Medicaid and Socially Necessary Services programs was up for renewal, which initiated
a competitive rebidding process. The current provider, who has been the contract
awardee since 2004, was successful in their re-application for the contract. However, this
process has taken longer than anticipated due to West Virginia’s adoption of a new
payment system for both providers and employees. This new system, West Virginia
Oasis, has experienced technological delays, as well as delays due to political
unpopularity of the new system. An anticipated approval date for this new contract has
tentatively been announced for June 1, 2016. The reason the contract rebidding process
delayed forward movement with the redesign of our socially necessary service system is
because making significant changes to payment and oversight structures is not part of
the current contract and had been specifically added to the request for proposals when
the rebid announcement was published. Once the new contract has been finalized,
movement can occur with design of the new structures discussed in the 2015 update.
However, realizing that necessary services needed a better mechanism for improving
quality of services, the Bureau for Children and Families adopted the “80% Rule” in
November 2015.



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The “80% Rule”, which was effective on November 4, 2015, requires that socially
necessary services providers score at least 80% during their retrospective review. The
retrospective review is conducted by the managed care organization at least every 18
months. If the provider scores less than 80% on any service they provide, the provider
received written notice that a six-month probationary period is in effect. Training and
technical assistance will be offered. After 6 months, the managed care organization will
conduct another review on the services scoring less than 80%. If the service still scores
less than 80%, that service will be removed from the provider’s record and they will no
longer be able to receive referrals to provide that service. If, during the retrospective
review process, a provider scores zero on any safety-related service, that service will be
automatically closed from the provider’s record. There will not be a six-month
probationary period when a safety service scores zero. In the four months since
implementation of this new quality assurance process, no provider has scored zero on
their safety services. We have seen four agencies whose scores have dramatically
increased since the rule was effective.

Continuum of Care Redesign –Community-based Service Expansion

West Virginia is one of several states that control the development of medical and
behavioral health care services through a certificate of need process. In West Virginia,
the Health Care Authority provides oversight and staffing for the certificate of need
process. The Health Care Authority's goals are to control health care costs, improve the
quality and efficiency of the health care system, encourage collaboration and develop a
system of health care delivery which makes health services available to all residents of
the State. The Certificate of Need program is a regulatory element used to achieve these
goals. The program was originally enacted in 1977 and became part of the Authority in
1983. The language outlining the program is found in W.Va. Code §16-2D.

Housed within West Virginia State Code Chapter 49 is a provision to become exempt
from the full certificate of need process. Summary Review process is outlined in section
§ 49-2-124. This section of code allows providers of behavioral health services to bypass
the full certificate of need process if certain criteria are met. These criteria are:

o     Criterion 1: The proposed facility or service is consistent with the State Health
              Plan. (See attachment “West Virginia State Health” Plan 11-13-95)
o     Criterion 2: The proposed service/facility is consistent with the Department's
              programmatic and fiscal plan for behavioral health services for
              children with mental health and addiction disorders.



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o      Criterion 3: The proposed facility or service contributes to providing services
               that are child and family driven, with priority given to keeping
               children in their own homes.
o      Criteria 4:    The proposed facility or service will contribute to reducing the
                      number of child placements in out-of-state facilities by making
                      placements available in in-state facilities.
o      Criterion 5: The proposed facility or service contributes to reducing the number
       of child placements in in-state or out-of-state facilities by returning
       children to their families, placing them in foster care programs, or
       making available school-based and outpatient services.
o      Criterion 6: If applicable, the proposed facility or service will be community-
       based, locally accessible, and provided in an appropriate setting
       consistent with the unique needs and potential of each child and her
       family.

Due to the fact that these criteria are housed in Chapter 49, the child welfare statutes, the
Bureau for Children and Families has acted as the liaison with the Healthcare Authority
in processing requests for a summary review.

The certificate of need, and thus the summary review, is required for all new service
development, as well as any changes in current services provided, population served or
county of location. Due to the multiple initiatives that are geared toward reducing the use
of congregate care, many of the children’s residential and child placing agencies are
seeking summary review to expand the services they provide, the population they serve
and the areas where their business are located. The agencies are seeking to provide
more community-based, in-home behavioral health services to a broader range of
clientele. Instead of serving only the youth and families who have become involved in the
child welfare system, the agencies are now becoming focused on providing preventive
services to off-set crises that bring children and their families into the system.

During the past two years, summary review has been approved for eight children’s
residential providers and two child placing foster care agencies to expand their service
array to include community-based, in-home behavioral health services. This represents
30% of our current licensed child welfare providers. There have also been four other
community-based organizations that have started the process to become licensed
behavioral health centers. This totals 16 new summary review approvals for the provision
of an expanded array of trauma-focused, in-home behavioral health services in what were
often previously underserved counties, aimed at keeping families together.



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West Virginia completed research on the Sobriety Treatment and Recovery Teams
(START) Program modelled after Kentucky’s program, to develop services to assist
families with vulnerable infants and young children affected by parental substance use.
This project is in its infancy at this time. The following is a list of activities and timelines
associated with the research needed to move forward.

October 2015 -BCF & BHHF begin joint investigative meetings;

November 2015 -BCF Deputies for Field Operations tasked with START initiative for BCF
and conduct a literature review, as the BCF internal team was formed;

December 2015 –Joint Bureau’s Team meets and established goals of the project;

January 2016 - Talking Points and formal goals were developed; The position description
process was developed to establish the Director /Manager and Coordinator roles which
go to Division of Personnel for review and approval; BCF internal Team has conference
call with Kentucky START Team; Positions identified to use for the Program Director or
Manger & the Program Coordinator; WV-BCF START Organizational Chart developed;
Received several “chapters” from Kentucky START program manual for use in developing
a START program. Kentucky reports that not all chapters are available yet; BCF and
BHHF explore options regarding hiring of peer mentors; BCF considers budget options
for year three of START, possibly using TANF. Years one and two have dedicated funding
through BHHF.

February 2016 - BCF connects with the director of WV Perinatal Partnership as a
possible resource for peer mentors. West Virginia Perinatal Partnership, in turn, attempts
to connect with Kentucky START providers to get further information regarding how peer
mentors are used; BHHF attempts to clarify roles and responsibilities between bureaus,
as well as those in relation to provider agencies that may be used to support the peer
mentors; The WV Division of Personnel (DOP) determines proper allocation of the START
Coordinator Position and BCF Human Resources Director is to post the position; BCF
Deputy Commissioner, Training Director and CPS Policy Specialist attend START 101
training in Kentucky.

March 2016 – West Virginia DOP determines proper allocation of the START Director
/Manager Position;

April 2016- The Bureau for Children and Families places START development on hold
while BCF evaluates other options such as the use of Recovery Coaches.


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The “80% Rule”, which was effective on November 4, 2015, requires that socially
necessary services providers score at least 80% during their retrospective review for each
service.

During the FFY 2016, there were 36 retrospective reviews conducted on providers. 15
providers scored above 80% for each service they provided. 21 providers had at least
one service fall below the 80% threshold.

Out of the 21 providers the following number of services fell below 80%:

             o   3 providers had 1 service score below 80%
             o   5 providers had 2 service score below 80%
             o   5 providers had 3 service score below 80%
             o   5 providers had 4 service score below 80%
             o   2 providers had 8 service score below 80%
             o   1 providers had 9 service score below 80%

The following table shows the services that fell below 80% and the total number of
providers for each service:

 Service Name                  # of Providers of this      Total # of Providers of this
                               service scoring below 80%   specific service*

 Private Transportation 1      1                           5

 Private Transportation 2      1                           4

 Transport Time                1                           11

 Intervention Travel Time      4                           21

 Supervised Visitation 2       4                           16

 Supervised Visitation 1       2                           21

 Adult Life Skills             14                          23

 Agency Transportation 1       4                           28

 Agency Transportation 2       7                           19



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 Supervision                              6                                       18

 Individualized Parenting                 14                                      26

 Safety Services                          14                                      18

 MDT                                      2                                       19

*Each provider chooses which individual services they want to provide so the number of agencies differs per service


All providers who fell below 80% for a service, were placed on probation for each service
category that did not meet the 80% rule. At the end of the probation period, each provider
goes through a follow-up review on the service (s) not meeting the 80% rule. If a provider
falls below 80% on the services a second time, then the service will be closed for that
provider.

No services were closed during the period since probation status for providers was not
implemented until June 2016.

During the FFY 2016, one service category was closed for one provider, due to the
provider scoring a 0% compliance for that service.

2018 Update

Streamlining Child Protective Services/Youth Services Case Practice Model

In 2015, the Streamlining Team was created to look at streamlining the Child Protective
Services (CPS) and Youth Services (YS) Case Practice Model. This team included
Department of Health and Human Resources (DHHR), Bureau for Children and Families
(BCF) Regional Managers and Supervisors, with input from front-line CPS and YS staff.
The Streamlining Team identified the Transformational Collaborative Outcomes
Management (TCOM) model that include the West Virginia Family Advocacy and Support
Tool (FAST), that West Virginia will utilize for all cases, and the West Virginia Child and
Adolescent Needs and Strengths (CANS) to be utilized when a child needs to be placed
in out-of-home care. TCOM is a framework that includes the philosophy, strategies and
tools to address the needs of children and their families. This initiative supports the
assessment and service identification, which then guides service development and
enhancements.

In March 2017, the project membership was expanded to include the DHHR, BCF,
Children and Adult Services (CAS) and the BCF Division of Training to identify program

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and system level changes that were needed, such as policy and training needs. The
following were accomplished in 2017:

      A Safety Assessment for the “front-end” was developed to identify safety both for
       CPS and YS. This will determine who will be opened for services. The intake
       worker will then bridge with the ongoing worker and together they will rate the
       FAST safety items and then the ongoing worker will complete the FAST to
       determine service needs.
      The WV FAST and Scoring Tool and manual has been completed and approved
       by the Praed Foundation. The WV FAST includes YS items and human traffic
       indicators.
      The WV FAST Worksheet, Service Plan, Training Curriculum, and Policy is
       currently being developed. The Service Plan and Worksheet is being tested using
       real-life DHHR case vignettes by the Streamlining team to ensure usability and
       validity.
      The algorithm report has been added to the CANS (Safe at Home, WV) automated
       data base in production so algorithms can be generated on any completed CANS.
       We need to decide how these algorithms fit into the CPS/YS Safety and Service
       Plan Model.
      The Policy and Training are being completed as the work for this complete CPS
       and YS Model is completed and approved by the Streamlining Team.
Service Array Gap Analysis

The Service Array Gaps Analysis covers several information sources including the 2006
Service Array Process, Community Collaborative Survey, Safe at Home Survey, and the
Department of Program Quality Improvement Case Reviews from April 2017 through May
2018. The data provided by the DPQI Case Review Process is collected from exit reports
and information obtained from each district regarding what services are needed and not
provided because the service is not available in the district. The Community Collaborative
Groups and others participated in the 2006 Service Array Process. These groups
identified over 100 different services and determined 56 Services that needed to be
addressed. Once the Service Array Project was completed, the Community Collaborative
Groups were asked to develop strategic plans to address the service gaps in each of the
13 districts. The reports include actions have been undertaken to increase the identified
services in the current reporting period and those that have been completed or are no

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longer need pursued. When there are issues with development of services that the
Community Collaborative Groups cannot address, they were asked to report these issues
to the 4 Regional Summits. The plan was then to provide this information to an oversight
committee, but this was never formalized. The Safe at Home Surveys were completed
for each County in the state in June 2015. These were completed by the Community
Collaborative groups. The survey consisted of 17 services that are effective in the
wraparound process. The DPQI information was obtained from our Department of
Program Quality Improvement through the Case Reviews.
There are several issues with the Service Array GAP Analysis. The data from the Service
Array Project was dated (2006), the Community Collaborative Groups and Regional
Summits do not report consistently, the oversight for the Service Array Delivery and
Development was never formalized, and the service indicators in all processes did not
identify the specific need. For instance, the need for substance abuse might be identified
as a need, but not if the need was for adults, youth, detox, in-patient or out-patient
treatment, etc.
Because the DPQI data is the most current, and the other data sources support this data,
the information below is where service needs were indicated:
      Kanawha: Lack of foster homes, long wait lists for mental health services,
       traumatic brain injury education.
      McDowell: Lack of services providers in the district, lack of foster homes, mental
       health services.
      Ohio/Brook/Hancock: Lack of foster homes, long wait lists for mental health and
       substance abuse services.
      Randolph/Tucker: Lack of foster homes.
      Doddridge/Ritchie/Pleasants: Lack of foster homes, Domestic violence services,
       substance abuse treatment.
      Mingo: Batterers Intervention-only available through community corrections,
       substance abuse education and treatment, domestic violence victim services.
      Cabell: Transportation services
      Lewis/Upshur: Anger management for youth, lack of foster homes, substance
       abuse treatment.
      Berkeley/Morgan/Jefferson: Inpatient substance abuse treatment, issues with
       mental health service providers accepting the WV Medicaid card.
      Calhoun/Gilmer/Wirt: Counseling services
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      Wyoming: Batterers intervention, DV victim services, mental health services, one
       Socially Necessary Services (ASO) safety service provider in county.
    Greenbrier/Monroe/Pocahontas/Summers: Lack of foster homes, batterers
       intervention only available through court order.
Current data from multiple sources indicated that substance abuse, mental/behavioral
health services, and foster/adoptive parent recruitment and retention are the biggest
service needs in West Virginia. The West Virginia, Child and Family Service Review,
Program Improvement Plan will specifically address substance abuse and
mental/behavioral health service development and delivery.

Socially Necessary Services

The Socially Necessary Services (SNS) include those services that are necessary to
improve the outcomes for children and their families, but do not have a funding source.
The SNS services are funded with 100% state funds.

Socially Necessary Services Retrospective Review

In November 2015, the Bureau for Children and Families adopted the “80% Rule”. The
rule requires that socially necessary services providers score at least 80% during their
retrospective review. The retrospective review is conducted by the managed care
organization at least every 18 months. If the provider scores less than 80% on any service
they provide, the provider received written notice that a six-month probationary period is
in effect. Training and technical assistance will be offered. After 6 months, the managed
care organization will conduct another review on the services scoring less than 80%. If
the service still scores less than 80%, that service will be removed from the provider’s
record and they will no longer be able to receive referrals to provide that service. If, during
the retrospective review process, a provider scores zero on any safety-related service,
that service will be automatically closed from the provider’s record. There will not be a
six-month probationary period when a safety service scores zero.

During the FFY 2017, there were 47 retrospective reviews conducted on SNS providers.
(17 of the reviews were re-reviews on providers who scored under 80% on some services
during the FFY 2015-2016)

During the review, 36 of the SNS providers scored above 80% for each service they
provided. But, 11 of the SNS providers had at least one service fall below the 80%
threshold. (8 of the providers were being re-reviewed and had at least one service fall

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below 80%). Those services that fell below 80% during the re-review were closed for that
provider.

During the review in FFY 2016-2017, a total of 40 services fell below the 80% threshold.
Specifically, the following number of services fell below 80%:

          o   9 providers had 1 service score below 80%
          o   2 providers had 2 services score below 80%
          o   2 providers had 3 services score below 80%
          o   1 providers had 4 services score below 80%
          o   2 providers had 5 services score below 80%
          o   1 providers had 7 services score below 80%

The following table shows the services that fell below 80% and the total number of
providers for each service for FFY 2016 and FFY 2017:

 Service Name                  FFY 2016           FFY 2016          FFY 2017        FFY 2017

                                                  # providers for # services of this # providers for
                               # services of
                                                  this service *  type below 80% this service *
                               this type below
                               80%
 Agency Transportation         ____________       _____________     0                19


 Case Management               ____________       _____________     0                2


 Family & Needs Assessment     ____________       _____________     0                3


 Family Crisis Response        ____________       _____________     1                1


 Chafee Phase II, Part 1       ____________       _____________     2                2


 Chafee Phase II, Part 2       ____________       _____________     0                1


 Home Study                    ____________       _____________     0                1


 Needs    Assessment/Service   ____________       _____________     0                2
 Plan


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 Tutoring                                ____________            _____________           0                      1


 Pre-Reunification Support               ____________            _____________           0                      4


 Individual Review                       ____________            _____________           0                      2


 CAPS Review                             ____________            _____________           1                      5


 Private Transportation 1                1                       5                       0                      0

 Private Transportation 2                1                       4                       0                      1

 Transport Time                          1                       11                      1                      6

 Intervention Travel Time                4                       21                      0                      15

 Supervised Visitation 2                 4                       16                      3                      13

 Supervised Visitation 1                 2                       21                      1                      17

 Adult Life Skills                       14                      23                      6                      22

 Agency Transportation 1                 4                       28                      0                      20

 Agency Transportation 2                 7                       19                      3                      19

 Supervision                             6                       18                      4                      20

 Individualized Parenting                14                      26                      8                      25

 Safety Services                         14                      18                      9                      22

 MDT                                     2                       19                      1                      12

 Totals                                  74                      229                     40                    235

*Each provider chooses which individual services they want to provide so the number of agencies differs per service


Providers who fell below 80% for a service, during their normal review period were placed
on probation for each service category that did not meet the 80% rule. At the end of the
probation period, each provider goes through a follow-up review on the service (s) not
meeting the 80% rule. If a provider falls below 80% on the services a second time, then
the service will be closed for that provider.
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During the FFY 2016 - 2017, one provider had one service closed after the initial review,
due to a zero-compliance score. Three providers, who were placed on probation, during
FFY 2016 - 2017, for falling below the 80% rule, had a follow-up review on a total of 7
service categories, during FFY 2016 - 2017. All of the services scored above 80% during
the re-review and the providers were taken off of probation.

During the FFY 2015 – 2016, 17 providers were placed on probation for those services
that fell below 80% and received a follow-up review during the FFY 2016 – 2017. All 17
of these providers improved their scores, but 9 of the providers had at least one service
remain below 80%.

The review of the data provided above for FFY 2016 and FFY 2017, shows a sharp
decrease in the number of services reviewed that fell below an 80% compliance rule. In
FFY 2016, 32% of the services reviewed fell below 80%, and in FFY 2017 only 17% of
the services reviewed fell below 80%. In FFY 2017, the majority (77%) of reviewed
socially necessary service providers scored above 80% for all of the services they
provide. Only 17% of the reviewed socially necessary service providers had one or more
services fall below 80%. This indicates that during the past FFY year of 2017, the
providers of socially necessary services have improved their service provision.

Socially Necessary Services Redesign

The Socially Necessary Services (SNS) Redesign Group was established to:
    The most appropriate services to meet the needs of our children and families,
    Reunification and family preservation services are targeted,
    The cost of the services is reduced, and
    Ensure appropriate monitoring and oversight of services and providers.

The group began meeting in May 2017, to develop a recommendation for redesigning
socially necessary services. Data on current services, definitions of current services were
reviewed and revised by members. The members are looking at utilizing a simpler model,
bundling services, with a CAP for funding attached to each family for a 12-month period.

In 2017, the SNS Redesign Group review data on the services that were provided to each
family over the past year and the amount of funding that was spent and completed the
definitions for each service type that will be under the two service categories, Family
Preservation and Reunification. The SNS Redesign Group also drafted the enrollment

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process for new providers; provider agreement; results-based accountability Monthly
Reports, and the revised service invoice.

On May 18, 2018, the Socially Necessary Service providers were invited to review the
provider agreement, results-based accountability Monthly Reports and the revised
service invoice. Socially Necessary Service providers were given an opportunity to ask
questions at the meeting and via e-mail until May 31, 2018.

Once the model with tools and recommendations are finalized, the finance office will
determine a rate per unit of 1 hour and a CAP for families.

The SNS Redesign Group will need to reevaluate the SNS Redesign model to ensure
implementation of the Family First Prevention Services Act 2018 is considered.

Family Resource Networks
The forty-seven (47) Family Resource Networks (FRNs), representing all fifty-five
counties are organizations that understand and are responsive to the needs and
opportunities in West Virginia communities.            Partnering with citizens and local
organizations, the FRNs organize and mobilize activities that support innovative projects
and provide needed resources on upfront prevention and intervention approaches that
contribute directly or indirectly to the health and safety of the Medicaid eligible population.

The FRNs are in all West Virginia’s fifty-five (55) counties have a resource directory for
each county in West Virginia. The Alliance of Family Resource Networks (WVAFRN) is
developing a website as part of a Benedum grant. The website will include a link to each
of the FRNs that will include their resource directories, programs, and current events. The
West Virginia Alliance of Family Resource Networks (WVAFRN) website is:
http://wvfrn.org/ and a quick directory can be found on this same website at:
http://wvfrn.org/quick-directory/ . A central website is included in their 2018-2019 revised
Statement of Work.

The three key quantitative indicators below document the benefits of local FRN activity to
the state’s Medicaid program. These indicators are: 1) Number of Family Resource
Networks identifying existing services and service gaps in the community that address
healthcare needs through the collaborative process (includes FRN Community Members,
Community Collaborative Groups, and Regional Children’s Summits); 2) Number of West
Virginia counties where FRNs coordinate outreach and enrollment efforts; and 3) Number
of Family Resource Networks implementing local strategies to address health care needs.
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Key Indicator 1: Number of Family Resource Networks identifying existing services and
service gaps in the community that address healthcare needs through the collaborative
process.

The forty-seven (47) Family Resource Networks (representing West Virginia’s fifty-five
counties), through their partnership with the Community Collaborative Groups, and
Regional Children’s Summits, identify existing service needs and gaps, such as foster
parent recruitment and retention efforts.

In addition, the Family Resource Networks are contacted by community members and
organizations on assisting in locating (organizing and mobilizing) resources that are
needed both for the community (i.e., flood relief) or individually (i.e., house fires,
applications/information for Medicaid and WV CHIP, etc.).

Key Indicator 2: Number of West Virginia counties where FRNs coordinate outreach
and enrollment efforts.

Through various activities/events, forty-seven (47) Family Resource Networks
(representing West Virginia’s fifty-five counties), distribute applications for both Medicaid,
WV CHIP and other health related materials.

Key Indicator 3: Number of Family Resource Networks implementing local strategies to
address health care needs.

Alcohol, Tobacco and Other Drug Prevention and Intervention Activities

All forty-seven (47) Family Resource Networks (representing West Virginia’s fifty-five
counties) are involved in alcohol, tobacco and other drug prevention and intervention
activities. During the fiscal year, July 1, 2016 through June 30, 2017, the Family Resource
Networks were involved in approximately two hundred seventy (270) activities related to
alcohol, tobacco and other drug prevention and intervention. Examples of alcohol,
tobacco and other drug prevention and intervention activities include: TIPS for Colleges,
promoting responsible drinking; The Truth About Drugs PSAs that target at-risk youth;
Zombie Walk for drug prevention; Town Hall Forums; ONTRACK! – substance abuse
prevention; SMART Recovery; Too Good for Drugs; Cops and Bobbers; Drug Free All
Stars Basket Ball Games; SADD activities; New Year, New You; Sparrows Nest; as well


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as resources provided throughout the state during annual festivals and other community
events.

Child and Family Safety and Well-being

All forty-seven (47) Family Resource Networks (representing West Virginia’s 55 counties)
are involved in child and family safety activities. During the fiscal year, July 1, 2016
through June 30, 2017, the Family Resource Networks were involved in approximately
one thousand, one hundred (1,100) activities related to child and family safety. Examples
of child and family safety activities include: Father-Daughter Ball – Strengthen father and
daughter’s relationships and prevent child abuse; Father-Son Water Wars – Strengthen
father and son’s relationships and prevent child abuse; One 4 All Disabilities Expo; Teen
Dating Violence Presentations; Backpack Program – provide food to children after school;
Diabetes Conference – education and resource; Summer Feeding Programs; Baby
Showers also provide information to prevent child abuse such as how to maintain stress
to avoid shaken baby syndrome; Support for Teen Courts and Safe at Home programs;
Support Groups and Activities for Parents, Seniors and Veterans; Community Gardens.
Additionally, thirty-three (33) of the forty-seven (47) FRNs are involved in recruitment and
retention of foster families and five (5) FRNs were directly involved in flood recovery
efforts.

Economic and Poverty

All forty-seven (47) Family Resource Networks (representing West Virginia’s fifty-five
counties) are involved in economic and poverty activities. During the fiscal year, July 1,
2016 through June 30, 2017, the Family Resource Networks were involved in
approximately sixty-three (63) activities related to economic and poverty activities.
Examples of economic and poverty activities include: Successful Renters Program;
Framework of Poverty training to educate community members and professionals on how
economic class affects behaviors and mindsets; Civic Engagement Meetings; Young
Bankers Club; Teen Leadership Camp; Heating Assistance, Budget Workshops,
Brother’s Keeper (home repair); and Go Marlinton for Economic Development.

2017 Family Resource Network, Continuous Quality Improvement Survey Results



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The Department of Health and Human Resources (DHHR), Bureau for Children and
Families (BCF), Division of Children and Adult Services, developed a Continuous Quality
Improvement (CQI), survey to measure the benefits for the Family Resource Networks
(FRNs). Using SurveyNet software, the FRNs are required to provide the web-based
survey link to their community partners.

There was a total of 1034 responses from community partners that identified themselves
in the following categories: 303 = Agency Representatives; 278 = Government
Organizations; 158 = Community Organization; 136 = Community Members; 91 = Family
Members; 29 = Business Organization; 25 = Youth; and 14 = Foundation/Grantor.

The FRNs have increased the participation of community partners in the CQI survey from
2016 to 2017. Specifically, the Family Members participation has increased from 39 in
2016 to 91 in 2017 and the Youth participation have increased from 10 in 2016 to 25 in
2017.

The following are the survey’s questions and the community partner’s responses:

   1. The FRN involve families to identify community needs.
      Of the 1034 responses, 89% Agreed, 4% Neutral, 2% Disagree, and 5%; Don’t
      Know/Not Applicable.

   2. The FRNs identify and help organize and mobilize groups that advocate for local,
      state and federal policy changes that will promote better services for families.
      Of the 1034 responses,88% Agreed, 5% Neutral, 2% Disagree, and 5%; Don’t
      Know/Not Applicable.

   3. The FRNs coordinate with local, public and private service providers to assess
      gaps in services and design plans to address those gaps.
      Of the 1034 responses, 91% Agreed, 5% Neutral, 1% Disagree, and 3%; Don’t
      Know/Not Applicable.

   4. The FRNs adapt to the changing needs of families and the community.
      Of the 1034 responses, 91% Agreed, 6% Neutral, 1% Disagree, and 2%; Don’t
      Know/Not Applicable.

   5. The FRNs provide information or presentations on activities, events and services
      within the community.

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      Of the 1034 responses, 95% Agreed, 3% Neutral, 1% Disagree, and 1%; Don’t
      Know/Not Applicable.

   6. The FRNs consistently update resources and referral information they provide on
      the following:
      Education: Of the 1034 responses, 86% Agreed, 7% Neutral, 1% Disagree, and
      6%; Don’t Know/Not Applicable.
      Health Care: Of the 1034 responses, 87% Agreed, 6% Neutral, 2% Disagree, and
      5%; Don’t Know/Not Applicable.
      Domestic Violence: Of the 1034 responses, 83% Agreed, 8% Neutral, 3%
      Disagree, and 7%; Don’t Know/Not Applicable.
      Substance Abuse: Of the 1034 responses, 89% Agreed, 4% Neutral, 2%
      Disagree, and 5%; Don’t Know/Not Applicable.
      Child Welfare: Of the 1034 responses, 90% Agreed, 4% Neutral, 1% Disagree,
      and 5%; Don’t Know/Not Applicable.
      Mental Health: Of the 1034 responses, 84% Agreed, 8% Neutral, 2% Disagree,
      and 6%; Don’t Know/Not Applicable.
      Immigration: Of the 1034 responses, 32% Agreed, 21% Neutral, 8% Disagree,
      and 39%; Don’t Know/Not Applicable.
      Child Care: Of the 1034 responses, 83% Agreed, 8% Neutral, 2% Disagree, and
      7%; Don’t Know/Not Applicable.
      Housing: Of the 1034 responses, 77% Agreed, 11% Neutral, 3% Disagree, and
      9%; Don’t Know/Not Applicable.
      Legal/Financial Services: Of the 1034 responses, 67% Agreed, 13% Neutral, 4%
      Disagree, and 16%; Don’t Know/Not Applicable.

   7. The FRNs encourage and develops effective strategies to partner with families.
      Of the 1034 responses, 90% Agreed, 6% Neutral, 2% Disagree, and 2%; Don’t
      Know/Not Applicable.

   8. The Communities demonstrate their support of the FRNs by providing resources
      such as financial support and in-kind donations.
      Of the 1034 responses, 72% Agreed, 9% Neutral, 2% Disagree, and 17%; Don’t
      Know/Not Applicable.

   9. The FRNs work to ensure that community partnerships are culturally
      representative of the community and inclusive of the range of resources.
      Of the 1034 responses, 87% Agreed, 7% Neutral, 2% Disagree, and 4%; Don’t
      Know/Not Applicable.

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   10. The FRNs participate in community-building activities such as health and resource
       fairs, cultural celebrations, school events, town hall meetings and community
       advocacy/self-advocacy activities.
       Of the 1034 responses, 95% Agreed, 3% Neutral, 1% Disagree, and 1%; Don’t
       Know/Not Applicable.

   11. The FRNs participate in community building activities including fostering dialogue
       among groups within the community.
       Of the 1034 responses, 90% Agreed, 6% Neutral, 1% Disagree, and 3%; Don’t
       Know/Not Applicable.

   12. The FRNs encourage community partnerships with public and private agencies
       and participates in collaborative planning bodies.
       Of the 1034 responses, 92% Agreed, 4% Neutral, 1% Disagree, and 3%; Don’t
       Know/Not Applicable.

   13. The FRNs adapt to economic and social trends.
       Of the 1034 responses, 87% Agreed, 6% Neutral, 2% Disagree, and 5%; Don’t
       Know/Not Applicable.

   14. How would you rate the FRNs overall?
       Of the 1034 responses, 92% indicated the FRNs were effective, 6% participants
       indicated they were neutral on the overall rating, 2% felt the FRNs were ineffective,
       and 1% did not know.

   15. How long have you been involved with the work of the FRN?
       Of the 1034 responses, 13% less than one year, 27, between one to three years,
       18% between three to five years, and 42% over five years.


During the FFY 2017, there were 47 retrospective reviews conducted on SNS providers.
(17 of the reviews were re-reviews on providers who scored under 80% on some services
during the FFY 2015-2016)

During the review, 36 of the SNS providers scored above 80% for each service they
provided. But, 11 of the SNS providers had at least one service fall below the 80%
threshold. (8 of the providers were being re-reviewed and had at least one service fall

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below 80%). Those services that fell below 80% during the re-review were closed for that
provider.

During the review in FFY 2016-2017, a total of 40 services fell below the 80% threshold.
Specifically, the following number of services fell below 80%:

          o   9 providers had 1 service score below 80%
          o   2 providers had 2 services score below 80%
          o   2 providers had 3 services score below 80%
          o   1 providers had 4 services score below 80%
          o   2 providers had 5 services score below 80%
          o   1 providers had 7 services score below 80%

The following table shows the services that fell below 80% and the total number of
providers for each service for FFY 2016 and FFY 2017:

 Service Name                  FFY 2016           FFY 2016          FFY 2017        FFY 2017

                                                  # providers for # services of this # providers for
                               # services of
                                                  this service *  type below 80% this service *
                               this type below
                               80%
 Agency Transportation         ____________       _____________     0                19


 Case Management               ____________       _____________     0                2


 Family & Needs Assessment     ____________       _____________     0                3


 Family Crisis Response        ____________       _____________     1                1


 Chafee Phase II, Part 1       ____________       _____________     2                2


 Chafee Phase II, Part 2       ____________       _____________     0                1


 Home Study                    ____________       _____________     0                1


 Needs    Assessment/Service   ____________       _____________     0                2
 Plan


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 Tutoring                                ____________            _____________           0                      1


 Pre-Reunification Support               ____________            _____________           0                      4


 Individual Review                       ____________            _____________           0                      2


 CAPS Review                             ____________            _____________           1                      5


 Private Transportation 1                1                       5                       0                      0

 Private Transportation 2                1                       4                       0                      1

 Transport Time                          1                       11                      1                      6

 Intervention Travel Time                4                       21                      0                      15

 Supervised Visitation 2                 4                       16                      3                      13

 Supervised Visitation 1                 2                       21                      1                      17

 Adult Life Skills                       14                      23                      6                      22

 Agency Transportation 1                 4                       28                      0                      20

 Agency Transportation 2                 7                       19                      3                      19

 Supervision                             6                       18                      4                      20

 Individualized Parenting                14                      26                      8                      25

 Safety Services                         14                      18                      9                      22

 MDT                                     2                       19                      1                      12

 Totals                                  74                      229                     40                    235

*Each provider chooses which individual services they want to provide so the number of agencies differs per service


Providers who fell below 80% for a service, during their normal review period were placed
on probation for each service category that did not meet the 80% rule. At the end of the
probation period, each provider goes through a follow-up review on the service (s) not
meeting the 80% rule. If a provider falls below 80% on the services a second time, then
the service will be closed for that provider.
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During the FFY 2016 - 2017, one provider had one service closed after the initial review,
due to a zero-compliance score. Three providers, who were placed on probation, during
FFY 2016 - 2017, for falling below the 80% rule, had a follow-up review on a total of 7
service categories, during FFY 2016 - 2017. All of the services scored above 80% during
the re-review and the providers were taken off of probation.

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that fell below 80% and received a follow-up review during the FFY 2016 – 2017. All 17
of these providers improved their scores, but 9 of the providers had at least one service
remain below 80%.

The review of the data provided above for FFY 2016 and FFY 2017, shows a sharp
decrease in the number of services reviewed that fell below an 80% compliance rule. In
FFY 2016, 32% of the services reviewed fell below 80%, and in FFY 2017 only 17% of
the services reviewed fell below 80%. In FFY 2017, the majority (77%) of reviewed
socially necessary service providers scored above 80% for all of the services they
provide. Only 17% of the reviewed socially necessary service providers had one or more
services fall below 80%. This indicates that during the past FFY year of 2017, the
providers of socially necessary services have improved their service provision.

Implementation Supports

Implementation Supports Goal 1:

       In preparation for application for Title IV-E waiver, West Virginia worked with Casey
       Family Programs to pull relevant data and analyze said data to determine the focus
       of our demonstration project.
      Casey Family Programs, along with the Federal Children’s Bureau, provided
       guidance and technical assistance in the development of West Virginia’s IV-E
       waiver application.
      James Bell Associates, in partnership with The Federal Children’s Bureau, has
       provided technical assistance in West Virginia’s development of our theory of
       change pertaining to Safe at Home West Virginia.
      West Virginia has received assistance from Casey Family Programs in the
       collaborative work with our Out of Home Placement providers and West Virginia’s
       transformation of our child placing system.



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      James Bell Associates is currently assisting West Virginia and our independent
       evaluator in the development of our evaluation plan for Safe at Home West
       Virginia.
      Research was completed regarding diligent efforts to make initial face to face
       contact with the identified victim on a Family Functioning Assessment. Policy
       indicates what is considered a diligent effort and DPQI considers these efforts in
       their assessments.
      Policy staff is now researching appropriate use of blatantly false reports as well as
       incomplete assessments.
      Division of Training developed training for all Child Welfare staff that will focus on
       the current trends in child fatalities that will be implemented by the fall of 2015.
      Provided training to 520 law enforcement officers in 2013.
      Training will be developed and delivered in pilot counties to address more
       proficient safety planning in conjunction with Safe at Home Implementation.
      Training will be developed and delivered to other counties as the Safe at Home
       extends statewide.
      Division of Training will develop and deliver a more detailed training on safety
       planning for supervisors with a focus on using both informal and formal supports.


2016 Updates

      WV CANS and Automation:
      West Virginia also worked with our Evaluator, Hornby Zeller Associates, to create
       automated WV CANS. All Phase One DHHR and Local Coordinating Agency staff
       have been trained in the use of the automated WV CANS and have begun entering
       WV CANS and subsequent updates. West Virginia has been using the CANS
       since 2003. It has been updated to the WV CANS 2.0. WV CANS 2.0 is a revision
       that fully incorporates the National Child Traumatic Stress Network Trauma CANS.
       It adds several modules to strengthen our current version of the WV CANS which
       are: juvenile delinquency sub-module; expectant and parenting sub-module;
       commercial sexual exploitation youth sub-module; LGBTQ sub-module;
       intellectual and developmental disabilities sub-module; 0-5 population sub-
       module; substance abuse sub-module; fire setting sub-module; transition to
       adulthood sub-module; and sexually abusive behavior sub-module.
      Phase Two – Safe at Home West Virginia:
      West Virginia continues to move forward with Phase Two implementation which
       will include the addition of 24 counties. This is projected to begin sometime late
       summer to early fall 2016. The grants to local coordinating agencies to hire
       wraparound facilitators have been awarded and the hiring process has begun.
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       The date that referrals begin will be determine in consultation with the Local
       Coordinating Agencies and our Evaluator.
      Phase Two implementation includes the 24 counties of Brooke Hancock
       Monongalia, Marion, Ohio, Barbour, Grant, Hardy, Hampshire, Harrison, Lewis,
       Mineral, Pendleton, Preston, Randolph, Taylor, Tucker, Upshur, Greenbrier,
       Mercer, Monroe, Nicholas, Pocahontas, Summers. Through data review WV
       identified 430 youth in the target population that could be referred to Safe at
       Home West Virginia for wraparound. Based on the identified population, West
       Virginia awarded 43 wraparound facilitator positions to 6 Local Coordinating
       Agency Grantees.
      The Phase Two counties were selected due to their current out-of–state placement
       data, location, and readiness to implement.
      Phase Three of implementation is slated to begin in the Spring of 2017 and will
       include the final 20 counties bringing all West Virginia into full implementation.
      Wraparound 101 training is being conducted throughout the next phase
       Counties beginning in March and running through May. This is always a cross-
       training so BCF staff and Facilitators attend together.
      WV CANS training for the Phase Two areas is also scheduled throughout the
       months of April and May to assure that all BCF staff and partners have the
       opportunity to attend this training prior to implementation.
      West Virginia has developed a strategic work plan for further training and
       development of BCF and Partner staff regarding the administration and use of
       the WV CANS and the further development of WV CANS Advance CANS
       Experts (ACES) for technical assistance. We are seeing that WV CANS are
       being administered but many do not yet understand how to use the results in the
       treatment or case planning process for youth and families. We have identified
       the continuing need to develop experts that can provide technical assistance on
       an ongoing basis. Our goal is for WV CANS to be completed on all children with
       an open child welfare case and that the WV CANS will be used to determine the
       appropriateness of a referral to Safe at Home West Virginia and assist in guiding
       the intensity of services. Please refer to the attached work plan which is a fluid
       plan with changes being made as needed.
      West Virginia continues the development of Safe at Home West Virginia content
       experts. The further training includes new blackboard training and an advanced
       classroom training that will be delivered during the month of May. The goal is to
       have a content expert in every community service district for BCF and that they
       are available to assist with questions and needed technical assistance as well
       as future training. The Experts have met together and assisted in identifying
       what knowledge they believe they need to be comfortable in this role as well as
       what the home team identified as necessary for their development. The

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       advanced training curriculum has been developed to meet those identified
       needs.
       Mary Grealish – further wraparound training and certification:
      Through the barrier busting and review process, we have identified the need for
       further wraparound training and consultation for our wraparound facilitators and
       supervisors. We recognize that we are all in a learning curve when it comes to
       wraparound planning, crisis planning, intensity of services and the quality of written
       plans and monthly reports. To address this and to prepare for further expansion
       BCF and the Bureau for Behavioral Health and Health Facilities (BHHF) have
       worked through the system of care to enter into an agreement with Mary Grealish
       of Wraparound Solutions to assist West Virginia to further consult and coach with
       our wraparound facilitators and supervisors. Eileen Mary Grealish, M.Ed., designs
       and implements individualized, strengths-based strategies that have a direct
       impact on young people and families. She is a recognized expert in functional
       strengths-based strategies that have direct impact on young people and families.
       She is a recognized expert in functional strengths and needs assessment, crisis
       planning, and staff supervision in Wraparound and family/person-centered
       practice. As president of Community Partners, Inc., Grealish focuses on writing
       and teaching about delivery of comprehensive community-based services
       including Wraparound and the development of innovative treatment behavior
       plans.
      Capacity Building Center for States:
      West Virginia has been working with the Capacity Building Center for states to
       develop a strategic plan to support the implementation and sustaining of West
       Virginia’s Demonstration Project. West Virginia’s strategic plan focuses on the 3
       main goals of DATA collection and use, Truancy and YS diversion, and Workforce
       Recruitment and Retention. At present, there are 3 focused workgroups
       developing their logic models and plans moving forward.
      The Capacity Building Center for States also assisted West Virginia with a “Brief
       Service” in the development of a one-page informational document regarding Safe
       at Home West Virginia. The DHHR and Local Coordinating Agencies were looking
       for a smaller document that would be written in layman terms that could be used
       within our communities to garner support and to develop more informal support
       systems to assist families in their communities. The consultants worked with the
       Waiver Project Director and Lead on the Communication team to take the existing
       fact sheet and reduce it to a one-page document. This document may be
       downloaded from our website at http://safe.wvdhhr.org.

   2018 Update


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West Virginia has worked with the Capacity Building Center for States to develop a
strategic plan to support the wavier as well as other BCF initiatives and needs. The
Capacity Building Center for States provided a marketing consultant to assist with the
development of a one-page informational document about Safe at Home West Virginia.
The document is written in layman terms and is being utilized by the department as
well as any of our partners to inform and solicit community level support for the youth
and families being served through Safe at Home West Virginia. This document is
available for public use and may be accessed and printed from the Safe at Home West
Virginia Website, safe.wvdhhr.org. West Virginia took this learned skill and updated
the one-page flyer to be more current and developed a one-page flyer for use to guide
the community on identifying youth in the target population and who to contact for
possible referral to Safe at Home West Virginia

Implementation Supports Goal 2:

      West Virginia is currently receiving technical assistance from the NRC for Diligent
       Recruitment. This T/TA will continue through 2015 focusing on developing a
       comprehensive system assessment and work plan development to address
       multiple issues affecting recruitment and retention of foster/adoptive family’s
       efforts. This will include developing a multi-faceted recruitment and retention plan,
       evaluation and improvement of customer service provided to new and existing
       families and assess whether the preparation of families is sufficient for high needs
       children entering care.
      Apply for a Legislative improvement package to hire additional home finding staff
       by April 2015.
      Continued development of an Interface between the Departments SACWIS
       system and the Board of Education’s WEVISS will need to be completed to share
       educational records of foster children.

2016 Updates

      A workgroup of BCF policy, BCF regulatory and child placing provider staff have
       been working on revisions to the Legislative Rules “Licensing Requirements for
       Child Placing Agencies”. These rules provide minimal standards for regulating
       specialized agency foster homes. The revised rules will incorporate requirements
       from the Fostering Connections to Success and Increasing Adoptions Act and the
       Preventing Sex Trafficking and Strengthening Families Act. The revisions will also
       include most standards from the “Model Family Foster Home Licensing Standards”
       from the National Association for Regulatory Administration (NARA).


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      Some of the standards that have been added to the licensing requirements are
       around prudent parenting, normalcy for youth in foster care, away from supervision
       and runway events, trafficking of foster youth and many of the NARA standards for
       foster homes.
      The revised “Licensing Standards for Child Placing Agencies” will be completed by
       the end of 2016 and submitted to the Legislature for in 2017 for approval in the
       2018 Legislative session.
      BCF policy staff will also align the Foster Care and Home Finding Policy with these
       “Licensing Standards”, so all foster homes in West Virginia will meet the new
       requirements.

2017 Update

MWV submitted their information guide to staff from the National Resource Center after
they provided technical assistance to DHHR in 2016. Professionals from the NRC
reviewed the guide and made suggestion/revisions to ensure that the guide was helpful
and clear for prospective parents.

2018 Update

West Virginia will not be pursuing any additional technical assistance at this time.

Implementation Supports Goal 3:

      FACTS will develop screens to better distinguish the reason for entry, including
       children entering care for Truancy, by October 2017.
      Develop training to educate workers on using new screens
      Develop training on a tool for supervisors to use to track worker’s compliance with
       entering information.
      Develop a mechanism on a dashboard to track face to face contacts with non-
       placement cases by September 30, 2016.

2016 Updates

      The leadership of the Office of Management Information Systems has made the
       decision to transition the existing SACWIS to CCWIS model under the new
       proposed final rule. A Request for Proposals (RFP) is being developed to bring on
       contractors to staff and develop the requirements and perform the necessary
       technical work to change the system architecture, functionality, presentation layer

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       and data collection/reporting processes. The plan is to continue operations in the
       present SACWIS with limited maintenance and operational work until the system
       can be transferred and or retired. The web-based components of the current
       SACWIS can be leveraged for use in the new system so it still advantageous for
       the state to continue planned modifications up until the point that operations can
       be fully shifted over.
      Although the development is expected to be incremental and phased across the
       enterprise the RFP is expected to be published before the end of 2016, with the
       goal of having a vendor or vendors in place by late spring 2017.

2017 Update

The WV Department of Health and Human Resources has prepared a Request for
Proposal outlining a modularized system the will incorporate the functionality of multiple
system operations into combined blocks of common functionality shared by one or more
systems. The various components of the current SACWIS will be moved into the
combined system as new modules are brought up and implemented. Any distinct and
non-sharable functionality will be addressed by migrating the last components of the
legacy FACTS system to a browser-based platform that can then be used to form
additional modules. Additional interfaces with Education and the Courts are under
discussion and pre-planning efforts underway. Also, in development are the data and
process quality efforts that will be imbedded within the new application. The agency is
still waiting to review vendor responses to the RFP. With the projected date to select a
vendor set in August, more details regarding prioritization and detailed CCWIS
requirements can be given once the successful vendor has been chosen.

2018 Update

WV DHHR has opted to replace the current IV-A, IV-D, IV-B/E and Medicaid management
systems with one single multi operational system called the Integrated Eligibility System
(IES). The RFP process closed last December, and a contract has been awarded,
finalized and signed. The vendor, Optum Consulting has completed system requirements
and architecture planning and is in the process of transferring hardware and software
licensing, while bring up the IES solution infrastructure. Detailed design requirements are
scheduled to begin in July this year with development activity starting soon after. Using
rolling wave planning with a spiral implementation, the first components of the new system
are expected to hit production October 2018 with on line applications and intake functions.
Client functions and reporting will begin in October and iteratively implement through May
2020. The finance and provider management functionality follow with full implementation

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expected by July 2020. The bulk of casework functions including investigation,
assessment, case planning placement and permanency will be brought implemented in
August 2020. Full legacy system retirement is currently planned for November 2020.

Implementation Supports Goal 4:

      Training and technical assistance from The National Capacity Building Center for
       Public Child Welfare Agencies to redesign the current service, payment rate and
       referral structure for Socially Necessary Services may be needed.

2016 Update

      Has not been initiated.

West Virginia does not need additional technical assistance now.

2018 Update

West Virginia will not be seeking technical assistance for this redesign at this time but
may pursue assistance in the future for help with incorporating Family First Requirements.

Service Description

Child and Family Service Continuum

(Stephanie Tubbs Jones Child Welfare Services Program)

Prevention
The goal of allocating Title IV-B funds to Starting Point groups was to enable the
community to have easier access to family support services. In the past, services
required could only be provided to those who opened a DHHR case file for family support
services. A desire for programs to be community-focused led DHHR to utilize the already
existing Starting Points model, making available Title-IV-B PSSF federal dollars to 15
grantees to fund these resource centers. Not all Starting Points programs applied for the
federal funding; however, six existing Starting Points were awarded this grant. This
created a partnership between Starting Points and Family Resource Centers, which are
known today as “Starting Point Family Resource Centers.” The other nine grants were
awarded to newly created Family Resource Centers. Subsequent Family Resource

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Centers have been created, without Title IV-B funding, for a total of 26 Family Resource
Centers currently in operation, performing family support services around the state.

The expansion with Title IV-B funds also moved services from primary prevention to early
intervention services and extended them beyond the scope that programs were limited to
providing. Additional early intervention services included linkages to respite care, child
care, and transportation as well as coordination of optional/flexible services depending
on community needs such as:

      Early childhood education such as play groups and before/after school or summer
       programs.
      Self-sufficiency and life management skills training.
      Education services, such as tutoring, literacy, and general education.
      Job and career readiness training.
      Family support counseling/clinical mental health services.
      Health services/nutrition education.
      Peer counseling.
      Emergency assistance.

The expanded funds provided Starting Points FRCs the resources and the staff to expand
services for many families in their community. With this funding, some Staring Points
have been able to offer, for example, respite care during the school year, twice a week,
to over 40 families. The funding has allowed one county to utilize FRC staff and
AmeriCorps members to operate this program.

Newly developed programs for dads are also a result of the additional Title IV-B funding.
One program has enlisted the assistance of two fathers who meet weekly with dads during
the school year. Another program was a co-sponsored father’s event at one of the target
schools and had over 30 dads with their children attend.

Some of the resources and staff time are used to work with middle school children after
school and during the summer, as well as a yearly transition dinner for fifth graders and
their families heading to local middle schools. In addition, work with high school students
on their Free Application for Federal Student Aid (FAFSA) and some specialized tutoring
is also available.

Also, important about this funding is that it increases a programs ability to develop
subsequent programs, to partner with other groups, and to be responsive to community
and family needs because the programs have a core staff that can spend time developing
relationships and listening to what families need.
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With the additional funding became the ability to expand the Starting Points population
served from ages 0-8 to ages 0-18. With this age population expanded, Starting Point
Family Resource Centers have been able to expand our services into the high school and
include older siblings in their current programs. For an example, one county has a
community health and information fair that serves families with children from the prenatal
stage of life to 18 years of age. They have developed peer-to-peer parent mentoring
groups, such as Circle of Parents, which is inclusive of parents with children of all
ages. They also have the Energy Express Program which is a summer reading program.

While Energy Express is primarily for elementary aged children, with the additional Title
IV-B funding, Starting Points FRCs use older kids and teaches them how to volunteer and
to do community service which empowers them to become more involved in the
community and eventually become leaders in their communities and their schools.

Ongoing work around infusion of the Protective Factors framework continues to take
place. West Virginia now has a new website, a guide to the Protective Factors for in-
home family educators, and a guide on how to explain the Protective Factors. More
information can be found at http://www.strengtheningfamilieswv.org/.

Concerns include worker retention in programs as turnover and worker caseloads
continue to increase. Other concerns are the budget available to these programs to
maintain staff to administer the survey; continued trainings on the strengths approach to
service delivery utilizing the results for the West Virginia Survey; and support
administrative costs.

Collaboration continues to occur with BCF and the WV Home Visitation Program jointly
managing the Parents as Teachers State office. They also provide trainings and technical
assistance to In-Home Family Education programs.

The involvement of Maternal Infant Early Childhood Home Visitation (MIECHV) has
allowed CBCAP funded In-Home Family Education (IHFE) grantees to receive numerous
trainings and programmatic support.

In 2012, MIECHV funded $20,000 dollars for nine IHFE programs: (1) Upper Kanawha
Valley: (2) Brooke-Hancock PAT; (3) Marshall County PAT; (4) Rainelle Medical Center;
(5) Doddridge County Starting Points; (6) Northern Panhandle Head Start (Ohio County
MIHOW); (7) Tucker County Family Resource Center, (8) Preston County Caring Council;
and (9) Wetzel. This award was not for personnel areas but for development of programs,
trainings, equipment, and other related service delivery.


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MIECHV has also allowed for the development of trainings on data collected regarding
child injuries, child abuse, neglect or maltreatment, and reduction of emergency
department visits. Parent educator resources, parent handouts focusing on safety,
childproofing, and prevention of injuries are in the PAT curriculum and have been
provided by the WV Home Visitation Program. Parents as Teachers screens for domestic
violence through the WV Home Visitation Program produced HITS tool (which stands for
“Hits you, Insults you, Threatens you, or Screams at you.”)          Comprehensive
developmental screening is a required component of PAT. One of the preferred
developmental screening tools is the ASQ-3.

Trainings for Ages and Stages, Depression Screening, Birth Spacing, Life Skills
Progression, Home Visitor Safety, Healthy Families America core training, and Home
Inventory training have been either paid for by WV Home Visitation or jointly by the Bureau
for Children and Families and WV Home Visitation.

In 2006, the state organized efforts to standardize the 13 Community Collaboratives and
the four Children Regional Summits. Activities to strengthen the existing community and
regional Collaboratives included: formalized vision and mission statements; defining
membership; and clarifying roles and functions of each collaborative group. Since then,
two additional Collaboratives were created to an already existing Collaborative.

A team was created at the state level because of Service Array. The Service Array
Steering Committee, also known as a SIT (System of Care Implementation Team), was
developed to help pursue changes required at the state level so that the community and
regional Resource and Capacity Development Plans (RCDPs) could be implemented.

The Collaboratives prioritized the 66 needed services by which services were needed in
most areas of the state. The most needed services became the Year One Strategies.
Those services included:

      School based Family Resource Workers
      Substance Abuse Services
      Adoption and Post Adoption Services
      Enhanced MDT Process
      Peer Support Groups
      Independent Living Services

The final strategy was to develop a plan to assess the quality of services being provided
to families and children.


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This strategy has not been achieved due to the lack of implementation of the plan to
address the gaps in service availability. There are Administrative Services Organization
(ASO) services being utilized throughout the state. These ASO services are subject to
retrospective reviews through the contracted agency, APS Healthcare, Inc. This
retrospective review is done through a review of case records based upon what the
Department has determined to be outcome measures.

APS Healthcare also conducts Socially Necessary Focus Group Summaries. This
process is conducted with recipients of each Socially Necessary Service. It is a ten-
question process intended to provide the consumers of the service the opportunity to
candidly share their experiences and opinions. They are conducted on a regular basis to
gain insight regarding the utilization and impact of these services in the state.

Child Protective Services
Child Protective Services (CPS) operates under the authority of West Virginia State
Statute. There are two primary purposes for CPS intervention in West Virginia: (1) to
protect children who are unsafe, and (2) to provide services to alter the conditions which
created the threat to child safety. CPS consists of CPS Intake Assessment; CPS Family
Functioning Assessment (FFA); CPS Protective Capacities Family Assessment and
Family Case Plan (PCFA); and Family Case Plan Evaluation/Case Closure. Due to West
Virginia implementing a new Child Protective Services Decision-making model, some
counties are still using the previous Ongoing CPS Process. Each step is described below.

Intake Assessment: The Department receives reports of child abuse or neglect through
phone calls to the local office, emails, letters, and when referents visit the local office.
These reports are routed through our Centralized Intake Unit via a 24-hour hotline. The
report is accepted if the allegations meet the statutory definitions of abuse or neglect,
which include if the children are in a situation where abuse or neglect is likely to occur.
All mandated reporters are required to be notified in writing whether the report was
accepted for assessment. When reports are not accepted, the family may be referred to
other more appropriate state agencies or community resources to assist the family. If
accepted for Family Functioning Assessment, the report is assigned a time frame for
response. The time frames are immediate response, 72-hour response, or 14-day
response. The response times are assigned based on requirements in state statute and
policy.

2016 Update



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To meet CAPTA requirements, the Department has changed the response time for infants
born drug or alcohol exposed to “immediate”.

A new definition of “immediate” was added to read as follows: Immediate response- A
CPS Social Worker must respond as soon as the report of abuse or neglect is received
unless there is a protective caregiver is identified. If there is a protective caregiver clearly
documented in the report, contact must be made within the same day while the child is
still under the care of that protective caregiver.

Due to the Child Abuse and Prevention and Treatment Act requirement that children born
exposed to drugs or alcohol must have a plan of care prior to discharge and the
misunderstanding of policy in this area, Child Protective Services policy was changed to
reflect that all referrals alleging that a child has been born exposed to drugs or alcohol
will be marked as an immediate response.

The definition of immediate response was changed to: must respond as soon as possible
to the report of abuse or neglect unless there is a protective caregiver identified. If there
is a protective caregiver clearly documented in the record, and a same day response will
in no way jeopardize child safety, face to face contact must be made no later than same
day of the referral, while the child is still with the protective caregiver.

2017 Update

To meet CAPTA requirements and WV Code passed during the 2017 legislative session,
the Department has updated intake assessment policy to include reports involving Human
Trafficking. The update includes identifying the trafficker as the maltreater and entering
the report on the home of the trafficker, whether the maltreater is a parent or a third-party
perpetrator. If human trafficking is suspected at intake, the report will be accepted and
assigned an immediate response. The supervisor will contact law enforcement to report
the suspicion of human trafficking within twenty-four (24) hours of receipt of the referral.

2018 Update

In late September 2017 CPS policy regarding investigations of infants born affected by
substances had the following changes;

   When a report is received specifically from a medical professional, including a hospital
    social worker, indicating that an infant was born testing positive for a legal or illegal
    drug or prescribed medication or an infant is suffering from withdrawal from a legal or


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    illegal drug or prescribed medication (including drugs that treat addiction), or Fetal
    Alcohol Spectrum Disorder the child will be identified as a Drug-Affected Infant.
   The referral is accepted anytime a newborn child has been affected by alcohol, legal
    or illegal drugs or medications in utero, if the infant tests positive for legal or illegal
    substances or has been diagnosed with fetal alcohol spectrum disorder
   The referral is accepted anytime a mother discloses drug use, tests positive for legal
    or illegal substances or medications during pregnancy or delivery so the family can be
    assessed, and it can be determined if the child/children are safe.
   CAPTA requires that children identified as being drug-affected have a Plan of Safe
    Care.
   If the assessment indicates a case should be opened, the PCFA and Family Case
    Plan will become the Plan of Safe Care.
   If there is no maltreatment finding and no safety concerns, only the Family Service
    Plan is completed, and it will become the Plan of Safe Care.
   Since most children are released within twenty-four (24) hours of birth, the
    Investigative worker must meet face to face with the infant and infant’s family to begin
    the assessment and implement a Protection Plan if needed. Child Protective Service
    Worker should obtain identifying information about the father. Hospital Staff should be
    asked if paternity declaration was established;

Family Functioning Assessment: The assessment of a report of child abuse or neglect
sets the stage for the problem validation, service provision, and the establishment of a
helping relationship in CPS. The primary purposes of the family functioning assessment
are to gather information for decision making; to explain a community concern to the
family; to explain the agency’s purpose; to assess the family for possible safety threats;
to reduce trauma to the child; to secure safety as indicated; to promote family preservation
and expend reasonable efforts; and to offer help.

During the family functioning assessment, the CPS Social Worker collects information
through interviews, observations, and written materials provided by knowledgeable
individuals using a family-centered approach. This approach seeks to support and
involve children, caregivers/parents, and other individuals in CPS intervention. The CPS
Social Worker uses the information to determine if the children are abused, neglected, or
unsafe and in need of protection. If the children are unsafe, the family must be open for
Ongoing Child Protective Services. A safety plan is then developed with the family, in the
least intrusive manner possible, to provide a safe environment while CPS attempts to
alter the safety threats discovered. The safety plan can include paid and non-paid safety
services. If possible, the assessment should be completed within 30 days of the receipt
of the referral.


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2016 Update

The Department adopted a Crisis Response/Reduced Documentation assessment. The
purpose of this assessment was to create a uniform system statewide for districts
experiencing a crisis in CPS due to backlog in overdue Family Functioning Assessments
and to standardize the usage of reduced documentation.

Protocol was established for the appropriate use of Crisis Response/Reduced
Documentation. This protocol is intended for all districts experiencing a backlog in
overdue Family Functioning Assessments and to establish clear expectations for those
counties approved to utilize reduced documentation. This protocol replaces all former
standard operating procedures, documents, and instructions related to crisis response or
reduced documentation. Districts must demonstrate correct application of this protocol
to use it.

Backlog – A district is considered to have a backlog when they have CPS referrals
pending over 30 days.

Backlog Crisis - A backlog is to the point of crisis when the number of overdue referrals
is equal to or exceeds 100% of the district’s average monthly acceptance rate.

Documentation is required for each impending danger threat identified with a narrative
that focuses on the existence of protective capacities that help to rule out the threat. It
must be family specific with examples and not a restatement of the impending danger.

There have been no changes to other sections.

2017 Update

The Department added Family Functioning Assessments involving Human Trafficking.
An assessment tool, The Comprehensive Human Trafficking Assessment, was also
added. The tool can be completed with the child/youth by the worker to determine
possible trafficking victimization and may be found at the following website;
https://humantraffickinghotline.org/sites/default/files/Comprehensive%20Trafficking%20
Assessment.pdf.

The substantiation of maltreatment will be assigned to trafficker or parent/caregiver. If a
petition for custody is filed, the petition must indicate that the child/youth is a victim of
trafficking. Law Enforcement must be notified within 24 hours of the Department
becoming aware of the trafficking.

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Protective Capacities Family Assessment: The Protective Capacities Family
Assessment is a structured interactive process that is intended to build partnerships with
caregivers to identify and seek agreement regarding what must change related to child
safety as well as to develop family case plans that will effectively address caregiver
protective capacities and meet the child’s needs.

The Safety Assessment and Management System (SAMS) Protective Capacities Family
Assessment and Family Case Plan Evaluation focuses on diminished caregiver protective
capacities and the safety threats identified during family functioning assessment which
may or may not involve court intervention. The Protective Capacities Family Assessment
and Family Case Plan Evaluation is a structured, interactive intervention intended to build
partnerships with caregivers to identify and seek agreement regarding what must change
related to child safety and to develop family case plans that will effectively address
caregiver protective capacities and meet the child’s needs. The CPS Social Worker
translates diminished caregiver protective capacities into client goals, and those goals
are used to develop the family case plan. Services are then put in place to assist the
caregiver in meeting the goals. The Protective Capacities Family Assessment and Family
Case Plan must be completed within 45 days of the case being opened for ongoing CPS
services.

Family Case Plan Evaluation/Case Closure: The family’s case plan will receive
ongoing evaluation by the CPS Social Worker. This process is called the SAMS Family
Case Plan Evaluation. The Family Case Plan Evaluation is a formal decision-making
point in the safety intervention process that occurs minimally every 90 days, which
requires involvement from caregivers and children; Family Case Plan service providers;
and safety service providers. The purpose of the Family Case Plan Evaluation is to
measure progress toward achieving the goals in the Family Case Plan associated with
enhancing diminished caregiver protective capacities. The Family Case Plan Evaluation
is also the decision point when the case may be closed for CPS Services. In addition,
the family’s case is closed when the parents can provide a safe home for their child,
without CPS intervention, or their child is in another permanent living situation such as
adoption or legal guardianship.

Service Population: Child Protective Services are provided statewide to families in
which a child (ages 0-17) has been suspected to be abused or neglected or subject to
conditions that are likely to result in abuse or neglect (as defined in WV Code §49-1-201
Definitions section and DHHR operational definitions) by their parent, guardian, or
custodian. There are approximately 20,000 families who receive Child Protective Service
each year.


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Youth Services
West Virginia's Bureau for Children and Families Youth Services has been dedicated to
helping families thrive. Our mission is to provide programs and services statewide that
promote the healthy development of youth and families and help them gain the skills
necessary to lead constructive lives within the community.

Assisting individuals living in West Virginia, Youth Services may help with problems
ranging from the challenges associated with adolescent behaviors to homelessness to
substance abuse or trouble with the law. The Department works with Community
Partners to implement prevention programs, truancy diversion efforts, and in-home
services to families so that youth do not become involved with the courts. However, when
court involvement occurs, the Department may provide services or out-of-home
placement. When the youth and family have worked through problems, reunification and
permanency planning services are available to support everyone in the family.

Youth with court involvement receive case management from dedicated social workers
who utilize family centered practice methodology, including Engaging Families through
Motivational Interviewing. Current Youth Services policies and procedures emphasize
the need for meeting with the family and youth and working collaboratively with other
agencies and professionals in the community to provide supports and linkages to
overcome the behavioral control influences which led to court involvement.

Youth Services operates under the authority of West Virginia State Statute and consists
of several basic steps. The steps can vary depending on whether there is involvement of
the court. In general, the process is as follows: Intake; a Youth Behavior Evaluation; the
Comprehensive Assessment and Planning System process for court involved youth; a
Family Service Plan; Service Provisioning; and Case Plan Evaluation/Case Closure.
Each step is described below.

Intake: Intake is a distinct step in the Youth Services decision-making process. Intake
involves all the activities and functions which lead to a decision to either complete the
Youth Behavior Evaluation or make a referral to appropriate Community Resources which
are better suited to meet the families identified needs.

Youth Behavioral Evaluation (YBE): A Youth Behavioral Evaluation is used to assess
the presence of or absence of risk and behavioral control influences. Behavioral control
influences are those conditions which are currently present in the home and pose a threat
to the safety of the juvenile, the juvenile’s family, or the community.


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2018 Update

Youth Behavioral Evaluation(YBE) Removed

Replaced with:

Child and Adolescent Needs and Strengths Assessment(CANS): The Child and
Adolescent Needs Strengths (CANS) assessment is a standardized assessment tool that
provides a uniform approach for child serving systems to identify child and family
strengths and needs. The CANS is an information integration tool in that it is one place
that information from various collaterals, records, and assessments can be brought
together and scored for use in treatment planning and service delivery. The CANS can
also be used to show client progress and help families stay motivated and engaged
through the treatment process. West Virginia uses the WV CANS 2.0, a version
developed to specific needs of West Virginia children and families, which was approved
by Dr. John Lyons, the primary developer of the CANS tool.

Behavioral Control Plan (BCP): A Behavioral Control Plan is a Protection Plan
developed whenever Behavioral Control Influences are identified, and immediate action
is needed to ensure the safety of the child and/or the family. The Plan can involve
informal, non-paid services such as temporary placement with friends or relatives. The
Plan can also involve other services such as Behavioral Health intervention.

Completion of the Behavioral Control Plan and the In-Home Behavioral Control Plan is a
short-term plan that is developed to control those Behavioral Control Influences which
pose a threat to the safety of the juvenile, the juvenile’s family, or the community. The
Plan should consider each identified Influence and specifically address how these
Influences will be controlled. The family should be engaged in the casework process to
understand how the influences pose a threat so that they can gain acceptance and
ownership of the Plan. In some cases, the worker will identify Behavioral Control
influences and the conditions in the home are such that an In-Home Behavioral Control
Plan is not feasible, and out-of-home placement must be provided.

Comprehensive Assessment Planning System (CAPS): WV Code requires that
individualized assessments be completed for every adjudicated status offender and
juvenile delinquent served by the Department. The Comprehensive Assessment and
Planning System (CAPS) was created and adopted by the Department to meet the
requirements of the statute. The assessments are compiled into a summary titled the
Comprehensive Assessment Report (CAR). The CAR is used as a guide for

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multidisciplinary treatment teams (MDTs) in making better, more objective decisions
about the treatment needs of youthful offenders.

2016 Update

During legislative session 2015, the legislature revised the code section requiring a
comprehensive individualized assessment, to include a validated assessment of risk and
needs. The Supreme Court was asked to adopt the Comprehensive risk and needs
assessment to be utilized across systems. The Supreme Court chose the (Youth) Level
of Service Case Management Inventory ((Y)LS/CMI). The Bureau for Children and
Families expects to have full implementation of the assessment by May 2016.

2017 Update

The YLS CMI has been fully implemented into the Youth Services case work process.
However, the Supreme Court Administrative Director, Gary Johnson, along with Chief
Justice Allen H. Loughry II, issued an administrative order revoking the requirement for
the use of the YLS CMI. Though the department will continue to use it until a replacement
option may be determined, we recognize this as a valuable opportunity to again shift the
focus to family engagement and planning, and away from youth focused criminality.

2018 Update

Youth Services now uses the CANS Assessment Tool and no longer utilizes the Youth
Behavioral Evaluation(YBE). Youth Services continues to use the BCP and CAPS when
applicable and appropriate. A viable replacement for the (Y)LS-CMI continues to be
sought after and until this is found, the (Y)LS-CMI will continue to be utilized. Furthermore,
Youth Services and the department continues to value and focus on the family
engagement aspect of providing services to West Virginians.

Multidisciplinary Treatment Teams (MDT): There are requirements in state statute and
federal regulations requiring the regular review of juveniles who are the subject of an MDT
and may or may not be in an out-of-home placement. For youth involved with the court,
state statute requires that an MDT report is made to the court prior to the hearing. The
court must also review the individualized service plan for the child and family, developed
by the MDT, to determine if implementation of the plan is in the child’s best interest. MDT
meetings must be held at least once every 90 days to review and revise, if needed, service
and treatment plans until permanency has been achieved for the child.

2016 Update
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To increase the participation of MDT members, the WV legislature made changes to code
section 49-4-403 concerning the MDT process. The changes included a requirement for
the Department to coordinate with the court to dedicate at least one day in which MDT’s
are regularly to occur. The intent is to provide at least on day each participant can
dedicate solely to participating in these meetings.

2017 Update

Since May of 2015, the state has worked collaboratively with our judicial and legal
partners to select at least one day per month, in each county, as an MDT day. The
selected day is a day in which only MDT meetings are held ensure maximum participation
of all codified members of the MDT and reducing unnecessary barriers to families. As of
September 2016, 44 of the state’s 55 counties had determined a date for MDTs to be
held.

2018 Update

There have been no changes to this section.

Youth Service Family Service Plan/Case Closure: The Youth Behavioral Evaluation
process involves interviews of all the family members and assesses either the presence
or absence of risk and behavioral control influences. Working with the family assures that
the parent/caregiver understands the Department’s role in providing services to address
issues relating to troubled youth. In facilitating the discussion of the plan, the worker
assists the family to address their strengths, needs, and prioritized goals related to the
conditions which are the basis for Youth Services involvement. Services are provisioned
to assist the family and youth achieve the goals which will lead to disengagement of Youth
Services from family involvement.

Service Population: Each year, with the help of DHHR Direct Services Staff, hundreds
of volunteers and community-based treatment partners, Youth Services works with an
average of 3,000 families. The target population for Youth Services includes juveniles
under the age of 18 years of age or between the ages of 18 and 21 if under the jurisdiction
of the court beyond age of 18.

Family Engagement in Youth Services

West Virginia’s families are served statewide by district offices. The Bureau’s Division of
Planning and Quality Improvement (DPQI) provides case analysis to help focus Youth
Service social workers on areas that need attention in the casework process. Youth

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Services has used this data and tools available through the training department to
significantly impact family engagement. Collaboration with community partners, private
agencies, and public entities across systems continues to drive improved services for
families, especially those with youth at risk of involvement in the Juvenile Justice System
or with youth who are actively involved with the courts. Diversion efforts continue through
expansion of Juvenile Drug Courts, Teen Courts, and partnerships with Juvenile
Probation where the Department can provide in-home services to prevent out-of-home
placements.

West Virginia Rules of Juvenile Procedure

In February 2005, members of the Court Improvement Project (CIP), Division of Juvenile
Services (DJS), and the DHHR began writing new rules for Juvenile Court. Those rules
were completed in late 2009 and approved in early 2010 after scrutiny by the West
Virginia State Supreme Court. The rules for Juvenile Court are a standardized, fair, and
consistent way of processing juvenile delinquency and status offense cases statewide.
Judges have a better understanding of the services available to youthful offenders and
the role of the Department in the treatment process because of the Rules of Juvenile
Procedure. It is believed that increased cooperation between the Court and the
Department will benefit youth and their families statewide. These rules continue to be
monitored quarterly by the CIP juvenile court rules group. The Bureau for Children and
Families has representation on this group. With the passage of Senate Bill 393, work has
already begun to update these rules.

Truancy Diversion

Delinquency Prevention, as noted by Supreme Court Justice Robin Jean Davis, should
begin with Truancy Diversion. "The truancy habit can lead students to drop out of school
before graduation. That is usually the beginning of a lifetime of trouble that can include
unemployment, drug dependency, crime, and incarceration," Justice Davis said. In 2010,
a new state law reduced the number of absences needed to be considered truant from
ten to five. This past year, the law reverted to ten absences.

Comprehensive Assessments

In 2002, the Bureau for Children and Families (BCF) began formulating a program
improvement plan (PIP) to address issues identified in the Child and Family Services
Review (CFSR). This included developing a comprehensive assessment of needs and
strengths for children and families. To address comprehensive assessment and planning
for youth and families, BCF, in partnership with private providers, developed and

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implemented the Comprehensive Assessment Planning System (CAPS). The CAPS
process is the assessment protocol which is used to meet the treatment planning
requirements established in WV Code §49-4-406(a).

2017 Update

In 2016, the department implemented new Youth Services policy changes to include:

   1. The mandatory case management for all youth who are referred by the prosecuting
      attorney and are alleged to have committed a prosecutable status offense. The
      mandatory case management is applicable to all first-time status offenders and
      any other non-violent status or misdemeanant youth which the prosecutor believes
      should be provided the opportunity to have informal resolution to the alleged
      incidents. The policy changes reflect the requirement for the youth services child
      welfare worker to complete a needs and strengths assessment of the youth and
      caregiver, the development of a family-driven service plan to address the family
      strengths and needs, and the referral to a child and family review team if the
      developed service plan is not successful in assisting the family through the issues
      which have brought them to the attention of the department.
   2. Policy on the 1964 Title IV Discrimination Law and Title II Americans with Disability
      Act (ADA) laws to ensure Child Welfare Systems know about their responsibilities
      to protect the civil rights of children and families and ensure compliance with
      federal non-discrimination laws. The policy change reflects the requirement for
      youth services child welfare workers, and any other agency contracted through
      DHHR to make all case management decisions without intentional or unintentional
      discrimination. This includes discriminating on basis of age, race, color, sex,
      mental or physical disability, religious creed, national origin, sexual orientation,
      political beliefs, and limited proficiency in speaking, reading, writing or
      understanding the English language. The policy change also reflects ensuring
      children and families are receiving appropriate accommodations to address their
      disability to ensure they are receiving the best services that are available.
Foster Care
Health and Wellness



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The physical and mental health of children in foster care continues to be an important
contributing factor in the stability and wellbeing of our foster children. To ensure foster
children receive this basic right and necessity, the Department’s foster care policy
requires all foster children receive health evaluations through our HealthCheck Program.
HealthCheck is a collaborative effort between the Bureau for Children and Families and
the Bureau of Public Health’s Office of Maternal, Child and Family Health. HealthCheck
requires children entering care receive an initial examination within 72 hours of
placement. During the initial appointment, it may be determined that a child needs
additional follow-up appointments, specialized appointments, or dental and eye care. If
these medical services are needed, the child’s worker is responsible for assuring that the
child receives these medical services. The HealthCheck program also requires children
receive health care throughout their placement in foster care according to the child’s
individual needs and age based on a schedule provided in foster care policy. The
Department utilizes a DHHR position known as the Sanders Field Liaison to assist the
child’s worker, foster parents, and health facilities to coordinate and ensure proper
evaluations and examinations are completed on each child as they enter care. Assigned
primary workers follow up with periodicity.

In addition, to ensure a child’s health after discharge from foster care and an attempt to
alleviate re-entry into foster care, the Department provides continued Medicaid eligibility
to all children exiting foster care. Children are eligible for continued Medicaid coverage
from the date of placement for a continuous period of 12 months, whether they remain in
placement. Eligibility is re-determined during the child’s one-year anniversary month,
which is the child’s initial placement month. For a child to be eligible for another 12-month
episode, they must be in a foster care placement and in the custody of the Department.
With the passage of the Affordable Care Act, all children who have aged out of foster care
at age 18 are eligible for continued Medicaid coverage until the age of 26.

2016 Update

HealthCheck Foster Care Liaisons continue to ensure that health supervision plans for all
foster children are established in FACTS, but the CSHCN Program has not yet
implemented FHK statewide. However, the plans to implement FHK statewide have not
changed, however. This means that all children who enter any foster care have a
Sanders Liaison through Maternal, Child and Family Health, who screen them the
following day, arrange their first well child visit and document the results of the screen.
For those children who meet the criteria of Children with Special Health Care needs,
Maternal and Child Health will continue to coordinate their care. Children with acute
medical conditions will be followed as well if they are placed in a state agency homes.


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Children placed in Specialized Foster Care Homes will continue to have their health care
coordinated by that agency.

Journey Placement Notebook

To ensure children receive adequate services to meet their physical and mental health
needs, as well as their educational needs, the Department continues to utilize the Journey
Placement Notebook. The Journey Placement Notebook is intended to provide
foster/adoptive parents with a mechanism to receive and maintain information about a
child they care for and to provide a central entity that contains all information from each
placement. The notebooks are supplied to foster/adoptive parents when a child/youth
enters foster care and is placed in a foster/adoptive home. There may be times when the
child/youth’s worker may not have all the information about a child at the time of
placement. Therefore, the Journey Placement Notebook serves as a continuous record
in that information is entered throughout the child’s placement in foster care.

2016 Update

The Bureau for Children and Families decided in the last year to make Journey Notebooks
a requirement for all children in a foster care setting, including congregate care. In
meetings with providers, it was decided that shipments of these notebooks will be drop
shipped to the local providers as opposed to being given to them by the caseworker. All
the forms included in the Journey Notebook are in the process of being updated and will
be hyperlinked in the revised foster care policy which is posted on the Bureau for Children
and Families website. The revision will be posted in July 2016.

2018 Update

The Bureau for Children and Families made the decision to no longer order the Journey
Placement Notebooks due to budget restraints. All current Journey Notebook forms have
been placed on the West Virginia Department of Health and Human Resources webpage
for easy access for child welfare workers, as well as the residential placement facilities
and foster care providers. The forms can easily be printed from the website;
https://dhhr.wv.gov/bcf/policy/Documents/Journey%20Placement%20Notebook.pdf

Foster/Adopt Concept

The stability of a child’s foster care placement is paramount and directly affects a child’s
wellbeing. To demonstrate continual improvement in the outcome stability of children’s
foster care living arrangements, the Department continues to practice a foster/adopt

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concept. In practice, all resource homes for children in foster care are initially approved
as a foster home and an adoptive home. This practice concept was initiated to eliminate
a change of placement from a licensed foster home to a new licensed adoptive home
after Termination of Parental Rights and to alleviate lengthened time frames to adoption.

In addition to the foster/adopt practice concept, the Department continues to provide the
Parent Resources for Information, Development, and Education (PRIDE) training
curriculum statewide for foster/adoptive parents. PRIDE training is designed to equip
foster/adopt families with the skills and information necessary to provide care to foster
children and to encourage mentoring and active engagement between the foster parents
and the child’s biological family. Active engagement with the child’s biological family
improves the continuity of family relationships and ensures those connections are
preserved for children. In addition, PRIDE training was initiated to aid child welfare staff
to properly evaluate foster parents’ strengths and needs on a regular basis. Policy
requires all resource families to participate in 27 hours of PRIDE training curriculum
Implementing PRIDE training statewide has eliminated the variation in foster/adopt
training curriculum throughout the state that may have existed prior to this initiative. West
Virginia is currently evaluating other foster/adoptive training models as well as making
some of this training available on-line.

BCF plans to change its foster parent training requirements beginning July 1, 2015. The
pre-service training requirement will be reduced to 21 hours, with an additional nine hours
of trauma training required within the first year for all resource homes. We are also
investigating the use of the new PRIDE online training utilizing the Foster Parent College
website.

2016 Update

Expansion of Foster Care - Therapeutic Foster Care
To support West Virginia’s IV-E demonstration project Safe at Home West Virginia, the
West Virginia Department of Health and Human Resources, Bureau for Children and
Families is looking to broaden its continuum of care by developing a Therapeutic Foster
Care program. This program will serve children in foster care that may require additional
services to allow them to remain in a family setting. The Therapeutic Foster Care program
would provide a continuum of foster care services that would best meet the needs of the
children in the state.
Therapeutic Foster Care is a family-based, service delivery approach providing
individualized treatment for children and their families. Treatment is delivered through an
integrated constellation of services with key interventions and supports provided by
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Treatment Foster Parents. Treatment Foster Parents are trained, supervised and
supported by qualified program staff. The values and principles of Treatment Foster Care
are as follows:
•     Normalization is a treatment principle and the power of family living as a
normalizing influence;
•      Kinship plays an important role in the formation of identity and self-worth;
•      Kinship relationships impart a sense of family belonging to the child;
•       The inherent need and right of all children to have a permanent family. Family
reunification, adoption, kinship care or other long-term, stable family living arrangements
are critical;
•      Cultural diversity and the importance of developing competence in dealing with
issues of diversity;
•     Doing “whatever it takes” to maximize a young person’s opportunity to live
successfully in a family and community;
•      The fundamental importance of documentation and the systemic evaluation of
services and their effects.
A Therapeutic Foster Care program would allow for a continuum of care for the children
within the program through an individualized approach to treatment. A child within the
Therapeutic Foster Care program could experience a movement within the continuum
based upon need, but this would not necessarily constitute a transfer to a different
Treatment Foster Care home. Depending on the child’s individual plan, it may be possible
they could step down in the continuum or step up the continuum without experiencing
placement disruption. The Bureau believes that such a continuum of care within the foster
care system will provide for more flexibility in serving children with complex needs and
will allow more children to be served successfully in a foster home setting when out-of-
home care is needed. The Bureau further believes that a continuum within the foster care
system would allow the ability for children, who need out-of-home care, to receive foster
care services in a foster home setting would maximize the child’s well-being and would
also be less costly than a residential care/facility program.
A request for applications (RFA) will be released in May 2016, with awards being issued
to successful candidates by July 1, 2016. Therapeutic Foster Care will be a program that
will be available state-wide across West Virginia to include all fifty-five (55) counties. The
RFA will seek one licensed child placing agency per geographical region whose focus will
be the development of a full foster care continuum, including the three components of
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therapeutic foster care program, in each of the counties within that region. Successful
candidates will describe the methods that will be used to recruit and train foster parents
within each county in their respective region, including population and cultural issues that
may factor into successful recruitment.
The children who will be served by the Therapeutic Foster Care program are those who
are determined to need more intensive services than a traditional foster care home could
provide. Three levels of foster care will exist: Traditional Foster Care; Treatment Foster
Care; and Intensive Foster Care. The level of care that the child receives will be
determined by their specific needs. These needs and level of care will be re-evaluated
every 90 days using the CANS.
Traditional Foster Care is the system that West Virginia has historically provided. This
level of care is ideal for children who have no significant indicators of trauma, behavioral
or emotional issues, and difficulty in school, home, and community. These children do
not exhibit any high-risk behaviors; have any significant medical issues, and no assessed
needs for mental or behavioral health treatment. Children will receive the CANS
assessment within thirty days to determine the appropriate level of care. This level of care
supports normalization as part of a daily living. Crisis support will be available twenty-
four hours a day as needed, and crisis response training must be part of pre-service
training for the foster family. Staff will have up to fifteen children on their caseload at any
given time and must visit with each child at least twice monthly unless otherwise specified
by the Department caseworker. Traditional Foster Care homes can use respite as
needed.
Treatment Foster Care is the level of care to be used for children who exhibit a mild to
moderate level of trauma/behavioral or emotional issues as identified through the CANS
assessment. These children may present with moderate risk behaviors and have
moderate difficulty in school, home and community. This level would include
pregnant/teen mothers and other children who have medical needs that exceed
preventative measures. This level will be used for all children entering care on an
emergency basis. Children will receive the CANS assessment within thirty days to
determine the appropriate level of care. Normalcy activities are encouraged to provide
opportunities to practice life skills for these children. Crisis support will be available
twenty-four hours a day as needed. These foster families will receive crisis response and
trauma training as well as child-specific training related to potential crisis due to history
and current issues, as well as consultation and response to the setting. Staff will be
permitted to work with up to eight children at this level and must visit with each child at
least weekly unless the Department caseworker requests that visits occur more often.
Treatment Foster Care homes are strongly encouraged to use respite as needed.


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Intensive Treatment Foster Care will be the level of care used for children who exhibit
significant indicators of trauma/behavioral or emotional issues on the CANS. These
children present with high risk behaviors and have significant difficulty in school, home
and community. This level will be used for children who are stepping down from a higher
level of care, are at risk for out-of-state placement, can be supported in the community as
an alternative to residential care, are drug exposed infants with additional medical needs,
and children who are medically fragile as diagnosed by a physician. Normalcy at this
level is encouraged but may take a lot of effort to safely and securely expose these
children to experiences and activities in their community. Crisis support will be available
twenty-four hours a day as needed, and these foster families will receive crisis response
and trauma training as well as child-specific training related to potential crisis due to
history and current issues, as well as staff consultation, staff response to these homes or
other settings, aide support, modeling and coaching to assist with skill acquisition,
emergency respite and reintegration to the home. Staff will only be permitted to work with
six or less children at this level and must visit each child as often as necessary but no
less than once a week to meet individual needs. Intensive Treatment Foster Care homes
are mandated to use planned respite.
Successful agencies must be able to meet the components of all three levels of foster
care.

West Virginia continues to require the PRIDE model.

2017 Update

In November 2016, two agencies for each of the four regions in West Virginia were
selected to implement the grant funded therapeutic foster care homes. Some agencies
were awarded more than one region. They were given a six-month period to recruit and
train their Tier II and Tier III homes. An MOU will be released June 2017, to the BCF field
staff that these homes are now ready to receive referrals for foster children who have
been identified as requiring treatment foster care for moderate risk behaviors or intensive
treatment foster care for high risk behaviors.

2018 Update

The Bureau for Children and Families requested a list of the number of approved Tier II
and Tier III homes per grant receiving agency. As of March 2018, BCF has 104 approved
Tier II homes and 87 Tier III homes. There are currently 223 children served in the Tier II
homes and currently 111 children served in the Tier III homes.


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As of April 2018, West Virginia has approximately 3,776 total foster homes. The total
number of specialized/private foster homes includes, Tier II & III foster homes as well.



                                                                                           3776




                                                                 1319
                                       1066     1146

                                                                                 245

                                                          Totals Per Category
     Specialized/Private                                         1066
     Kinship/Relative                                            1146
     Certified Kinship/Relative                                  1319
     DHHR Traditional                                            245
     Total Numeber of Homes                                      3776




                                                    456




                                                                                                  D005158
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In June 2017, BCF staff mailed out approximately 2,031 PRIDE Training surveys were
mailed to family foster care and kinship/relative providers, resulting in a 21% response
rate. The purpose of the survey was to engage foster care providers on the efficiency of
the PRIDE Model and its effectiveness in preparing individuals to become foster care
providers. Of those who responded 78% reported having been trained using the PRIDE
Model. Additionally, of those that responded, 50% reported feeling that the PRIDE Model
was extremely effective in preparing them for foster children. Another 47% reported that
the PRIDE Model was extremely effective in training them how to handle acting out
behaviors of foster children.

Kinship/Relative Care

In addition to utilizing the CAPS process to identify relatives as soon as children enter
foster care, the Department continues to process kinship/relative home studies in an
expedited manner as required by policy when at all possible. Foster Care Policy requires
all kinship/relative home studies be completed within 45 days. To assist with this process
the Department now has seven live scan machines which allow providers to use their
sites for electronic fingerprinting for both state and federal background checks.

Also, the Department developed a Diligent Search Desk Guide for staff to utilize in
practice that requires caseworkers to conduct a “diligent search” for the purpose of
placing children with potential kin/relatives. The purpose of this guide is to assist the staff
in their efforts. The search will be conducted for all child welfare cases, including Youth
Services cases. Diligent Search is the efforts by the caseworker to use all “due diligence”
in locating kin/relatives of a child placed into foster care. The diligent search does not
end at identifying and notifying kin/relatives of the child’s situation but requires the
caseworker to discuss their interest in being a placement option or an on-going
connection for the child. Foster Care Policy section 13.21 Absent/Unknown Parent and
Relative Search requires that the “search for an absent or unknown parent must occur
within the first thirty (30) days of the child entering placement, so the parent can be
involved in the court process, MDT, case planning process, visitation plan, and any other
aspect of the case.” This is applicable not just for absent/unknown parents but for all
kin/relatives. This search is not limited to the first 30 days and can be on-going throughout
the life of the case.

2016 Update

In August 2015, the Bureau for Children and Families made the decision to send all
general inquiries to become foster/adoptive parents to private agencies. This decision
has not only given more immediate attention to those who inquire to provide traditional

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foster care, but it has allowed the state agency to focus on our growing number of
kinship/relative studies and handle those studies in a timelier fashion.

2018 Update

Kinship/Relative care continues to grow in West Virginia. BCF continues to complete
homestudies on potential kinship/relative providers only, while all traditional inquiries are
forwarded to Mission WV. Currently, BCF has 245 traditional foster care homes that
remain under Homefinding Specialists that did not wish to transfer to a private agency.
The most recent data reflects that BCF currently has 1,319 certified kinship/relative
providers; with an additional 1,146 kinship/relative providers, pending or opting out of
certification. These current totals approximate DHHR kinship/relative/foster care
providers at 2,710.




                          WV DHHR Kinship/Relative/Traditional
                                 Foster Care Homes
 1400                                                                                           1,319

 1200                                                                                                   1,146

 1000

  800

  600
                               389     362             353
  400            304                                                         333   304
         244                                                                                                     245
                                                             176
  200                                                                                      96
                          72                     36                     41
    0
               Region I              Region II             Region III          Region IV                Totals

          Certified Kin/Rel Homes          Pending Certified Kin/Rel Homes     DHHR Traditional Foster Homes



MDT Process


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                                                                                                                 D005160
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WV Code §49-4-405 and 49-4-406 requires Multidisciplinary Treatment Team (MDT)
meetings to be held on all children in child welfare custody cases in which children have
been removed from their parents or caretakers. The department continues to utilize the
MDT process as the central point for decision making in the life of a child welfare custody
case. All parties involved in a case, including children in care and the family should
participate in the MDT process. MDT activities include coordinating services; developing
a case plan; evaluation and review of all aspects of the case including the child’s
permanency plan; and efforts to achieve the identified appropriate permanency goal in a
timely manner. MDTs can be held in non-custody cases as well.

Active MDT participation is vital to making case decisions and achieving safety,
permanency, and wellbeing. To improve the involvement of children, families, and
individuals from all disciplines involved in case planning, the Department developed
several handbooks for families to utilize.

The WV DHHR, with the help of Channing Bête Company, Inc., has prepared booklets
for families involved with Child Welfare in several different areas including MDT’s, Foster
care, Youth Transitioning and Right to Be Heard.

The “Multidisciplinary Treatment Team” brochure was developed as a tool to be given to
families, foster care providers, and individuals from many disciplines to educate on the
policy and practice of MDT meetings as well as to encourage participation in such.

The “Foster/Adoptive Parents or Kinship Care Providers” booklet is given to all foster care
providers to inform them of the child welfare process and their expected involvement in
case planning.

The “What’s Next” booklet is intended for youth to encourage them to participate in case
planning, inform them of the MDT process, and educate them on how to navigate the
child welfare system.

The “Right to Be Heard Letter” has been distributed to all foster parents, pre-adoptive
parents, and relative caretakers to inform them of their right to be involved in the case
planning for the child(ren) in their care. A memorandum was also sent to child welfare
staff regarding the same to explain that they are required to give notice to any of these
providers in a timely manner of any MDT meetings or court proceedings that take place
via a letter, and they must document the notice within the FACTS contact screen for that
case.

2016 Update

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West Virginia passed legislation, §49-4-403 Multidisciplinary treatment planning process;
coordination; access to information in the 2015 session that requires all counties to
designate a day for team meetings. Many counties have established a day for these
meetings, but it continues to be an on-going process.




                              Region 1 (Yellow) Braxton, Clay, Marion, Roane, Wetzel, Wood
                                       Region 2 (Red) Boone, Lincoln, Logan Wayne
 Region 3 (Blue) Barbour, Berkeley, Grant, Hampshire, Jefferson, Mineral, Morgan, Preston, Randolph, Taylor, Tucker, Upshur
                            Region 4 (Green) Greenbrier, McDowell, Nicholas, Raleigh, Webster


Court Improvement Program (CIP) Multidisciplinary Treatment (MDT) Team Study Committee

Multidisciplinary Treatment Team (MDT) Desk Guide

The original MDT Desk Guide was developed in 2006 by a MDT Task Team, which is
made up of Department of Health and Human Resources (DHHR) field and central office
staff, private agency staff, and other State agency staff. The desk guide was developed
to be utilized as a tool to assist staff in the MDT process.




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In 2014, the MDT Desk Guide was updated by members of the Court Improvement
Program (CIP) MDT Study Committee. The purpose of the updated Desk Guide was to
assist both staff and other stakeholders in the MDT process.

The MDT CIP Study Committee has begun distribution of the MDT Desk Guide.

Standard MDT Curriculum/Package

A standard (statutorily required) MDT training curriculum package that will meet the needs
of numerous stakeholders (e.g., objectives of the MDT, roles and responsibilities of team
members, best practices, and educational stability and slide templates) was developed in
2014.

The Standard MDT Curriculum/Package included information to be shared with potential
trainers/presenters wishing to provide training workshops on the West Virginia statutorily
required Multidisciplinary Treatment Teams. Information includes sample slides and
handouts.

The training curriculum package was piloted on May 29, 2015 in Braxton County (a central
location in West Virginia). Sixteen DHHR caseworkers and supervisors and 15
caseworkers and supervisors from the Division of Juvenile Services attended the training.

The training evaluations confirmed that the training will be effective. However, the
information regarding participation by school personnel will be revised to clarify their role
in the MDT team process.

The Court Improvement Program (CIP) Multidisciplinary Treatment (MDT) Team Study
Committee will determine in September 2015 who will retain the Standard MDT
Curriculum/Package and the process for the annual review and/or revisions.

Effectiveness of Multidisciplinary Treatment (MDT) Teams Study, Summary of MDT
Survey Results

In 2014, Judge Gary Johnson, Chairperson of the Court Improvement Program,
requested that a survey be conducted to gauge the effectiveness of multidisciplinary
treatment teams (MDTs) in West Virginia. The survey was designed to obtain a
"snapshot" of how MDTs are conducted. The survey addressed MDTs in abuse and
neglect cases conducted by the DHHR. In addition, the survey elicited information about
MDTs in juvenile cases. The survey results concerning juvenile cases appeared to reflect
DHHR MDTs as opposed to those conducted by the Division of Juvenile services.

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The initial survey was distributed in the latter part of 2014. The BCF also sent the survey
to their staff in January of 2015. The results of these two different survey distributions
have not been combined. For that reason, we refer to the CIP and BCF surveys in this
summary. When relevant, we also refer to abuse and neglect (A&N) and youth services
(Y.S.) surveys. Most persons responding to the survey included, CPS workers, youth
service workers, guardian’s ad litem and respondents' counsel.

Overall, 73.41% of the CIP survey respondents indicated that MDTs were conducted.
MDTs are most often conducted every three months in abuse and neglect cases (42.21%
CIP survey; 55% BCF survey), but a sizeable majority indicated that their counties
conducted them monthly (29.22% CIP survey; 26% BCF survey). In youth services
cases, the survey respondents indicated that they met every three months (45.45% CIP
survey; 41% BCF survey), but a sizeable minority (37% BCF) indicated that they met at
varying times everyone to three months. Only 15.15% of the CIP survey respondents
indicated that youth services MDTs met monthly. They did not have the response option
of meeting at varying times everyone to three months.

Most survey respondents indicated that MDTs met often enough to be effective (52.73%
CIP A&N; 51.55% CIP Y.S.; 72% BCF A&N; 73% BCF Y.S.). It should be noted that the
BCF survey respondents indicated that they met often enough to be effective at a much
higher rate than CIP survey respondents.

A high percentage of the participants, although less than a majority, thought that neutral
facilitation in abuse and neglect cases would make MDTs more effective (46.95% CIP
A&N; 40% BCF A&N). However, 42% of the BCF A&N respondents indicated that neutral
facilitation would not make MDTs more effective. Only 33.54% of the CIP respondents
thought that neutral facilitation would not make MDTs more effective. In youth services
cases, the CIP respondents were almost evenly split on this issue (37.50% indicating yes
and 38.82% responding no). The BCF respondents had a slightly more varied response
(41% responding no and 36% responding yes).

Other issues addressed by the survey included typical attendees at MDTs (primarily BCF
workers, guardian’s ad litem, respondents' attorneys, and probation officers in youth
services cases), methods of participation (predominantly in-person and by phone), person
that provides notice of the MDT (BCF personnel), length of MDTs (typically between 30
minutes to an hour), methods for the MDT to report to the court (most often a written
report) and information that MDTs should provide to the court.

In addition to the specific questions, survey respondents could include open-ended
comments on specific questions. These comments provide insight into ways that MDTs

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could be improved: better attitudes on the part of participants, accurately reflecting MDT
decisions and recommendations and noting minority opinions in a written report to the
court, better scheduling practices, set scheduling (i.e., set MDTs on specific days of the
month), more visitation of child clients by guardian’s ad litem and more participation by
prosecutors in MDTs.

In May 2015, S.B. 393 (§49 4-403) passed, “In each circuit, the department shall
coordinate with the prosecutor’s office, the public defender’s office or other counsel
representing juveniles to designate, with the approval of the court, at least one day per
month on which multidisciplinary team meetings for that circuit shall be held: Provided,
that multidisciplinary team meetings may be held on days other than the designated day
or days when necessary. The Division of Juvenile Services shall establish a similar
treatment planning process for delinquency cases in which the juvenile has been
committed to its custody, including those cases in which the juvenile has been committed
for examination and diagnosis.”

2018 Update

In June 2017, approximately 2031 surveys regarding court hearing and MDT notifications
were mailed to foster parents, half of West Virginia’s kinship/relative providers, and
statewide group residential facilities and emergency shelters. There was a response rate
of 31%. The survey participants included, foster care and kinship/relative care providers,
and facility case managers of the children randomly chosen for the survey results.

Survey participants were asked how often they were notified of MDTs. Of the responses,
28% reported that they always receive MDT notification, while 43% receive notice
sometimes, and 24% never received notification, and 6% was left blank.

Additionally, survey participants were asked if they feel that their opinion is heard or
considered by the MDT. Of those, 22% feel their opinion is always heard or considered,
while 47% feel their opinion is heard or considered sometimes, 19% never, and 12% was
left blank.

Survey participants were asked if they feel that the MDT makes decisions which are in
the best interest of the child(ren). Of those 21% feel the MDR makes decisions in the best
interest of the child(ren) while 53% sometimes, 11% never, and 15% was left blank.

Child welfare staff were also surveyed regarding court and MDT notification and
participation. There was a 29% response rate from child welfare staff. They were asked
the following questions that yielded the corresponding responses.

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   1.) Child welfare staff reported how often they notified the following people of
       scheduled multidisciplinary meetings MDTs:

                       Always        Sometimes                     Never        N/A
 Kinship/Relative      59%           9%                            4%           27%
 Providers
 Foster Parents      54%             12%                           4%           29%
 Residential/Shelter 46%             18%                           6%           29%
 Caseworkers

   2.) Child welfare staff reported how often the opinion/insight of the following people
       are heard/considered at MDTs:

                     Always             Sometimes          Never              N/A
 Kinship/Relative    53%                22%                2%                 23%
 Providers
 Foster Parents      50%                24%                1%                 24%
 Residential/Shelter 54%                19%                1%                 26%
 Caseworkers

   3.) Child welfare staff were asked if MDTs made the best decisions for foster children:

 Always                 Sometimes              Never                    N/A
 56%                    24%                    0%                       20%

Annual Credit Report

Each child in foster care under the responsibility of the state who has attained 16 years
of age receives without cost a copy of any consumer report (as defined in section 603(d)
of the Fair Credit Reporting Act) pertaining to the child each year until the child is
discharged from care, and receives assistance (including, when feasible, from any court-
appointed advocate for the child) in interpreting and resolving any inaccuracies in the
report. The consumer credit report must be provided to the youth without cost. Since
credit reporting agencies do not knowingly maintain credit files on minor children, if a file
is found, it must be interpreted, and all issues resolved prior to the youth leaving care.

2016 Update

Foster Care Policy has been revised to reflect annual credit checks are required for youth
in foster care beginning at age fourteen (14).
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2018 Update

This continues to be an annual requirement for youth 14 years and up and guidelines are
outlined in policy.

NYTD and Transition Planning Template

During the process of developing the SACWIS System’s policy and program changes
required by National Youth in Transition Database (NYTD), the state took the opportunity
to revisit the way services were being provided to older youth. The policy was revised to
reflect services being provided to “Youth Transitioning” from foster care, rather than the
independent living services that were being provided to older youth.

The state has implemented a new requirement for the youth’s Transition Plan, which is
as follows:

A youth’s Transition Plan must be personalized for the youth, developed by the youth,
and contain specific information to assist the youth in their transition to adulthood.

90 days prior to the youth turning 18 years old, the Transition Plan must be revised or
updated by the youth’s worker and youth.

The plan must be personalized by the youth and must contain as much detailed
information as the youth decides to incorporate into the plan.

The plan must contain the following specific information:

      Housing options and services;
      Employment services;
      Health insurance options;
      Mentor options;
      Workforce options;
      Continuing support services;
      Health care directives and how to complete an “advance directive,” when
       requested; and
      Any other information that the youth deems important.

The state has implemented the Casey life skills assessment and curriculum process, and
SACWIS changes have been made to incorporate this process. Through collaboration
with the Service Delivery and Development Workgroup, a Transition Plan template has
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       been adopted by the Department. A desk guide was developed to walk workers through
       using the template and entering critical data into the SACWIS system. The Transition
       Plan template is also posted on the Department’s web page so that foster care agencies,
       guardian ad litem attorneys, and others can also use the tool with youth.

       The state has made SACWIS changes to meet the reporting requirements for NYTD,
       including the outcome survey portion of NYTD. The changes to the SACWIS, as well as
       the data to be reported, have been tested, and NYTD data will be reported this period.

       Youth assisted in the development of how the survey would be presented and explained
       to youth, prior to the survey section being developed in the SACWIS system.

       2016 Update

       West Virginia participated in the NAR review from May 17 – 19, 2016.

       2017 Update

       West Virginia’s NYTD Snapshot




                                        Data Snapshot
                                        West Virginia
 Youth Services                        Includes information about all youth who received at least one independent
  (FY 16 total served: 715 youth)      living service paid for or provided by the state CFCIP agency.

                                          Male                45%         In foster care                  59%
                                          Female              55%         In federally recognized tribe   <1%
Characteristics of youth receiving        White               94%         Adjudicated delinquent          16%
services (FY 16)                          Black               13%         Receiving special education      1%
                                          American Indian     <1%         Age range                       14-23
                                          Other Race           1%         Mean age                         18
                                          Hispanic             3%




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Number of services received (FY16)                       Education level of youth receiving (FY 16)
                                                          30%
      11%
22%                                                       25%
                                    1 or 2                20%
                                                          15%
                                    3 or 4
                                                          10%
                                    5 or More
                                                           5%
                       67%                                 0%
                                                                   Under 9th 9th Grade         10th         11th         12th         College   Blank
                                                                    Grade                      Grade        Grade        Grade

 Type of services received (FY 12-16)


                                                      Percent of youth receiving each service (of total youth served)

                                                     0%                20%               40%                60%               80%

     Independent Living Needs Assessment
                              Academic Support
        Post-Secondary Educational Support
                             Career Preparation
      Employment Program or Vocational …                                                                                               2012 (n=490)
             Budget & Financial Management                                                                                             2013 (n=503)
  Housing Education & Home Management                                                                                                  2014 (n=528)
         Health Education & Risk Prevention                                                                                            2015 (n=703)
      Family Support & Healthy Marriage …                                                                                              2016 (n=715)
                                        Mentoring
              Supervised Independent Living
         Room & Board Financial Assistance
               Education Financial Assistance
                    Other Financial Assistance



 This snapshot was prepared by the Children’s Bureau and contains a summary of highlights from NYTD data reported by states between
 Fiscal Year (FY) 2012 and 2016. The data are currentas as of March 2017. Please contact NYTDinfo@acf.hhs.gov if you have any
 questions about information in this data snapshot.




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                            Includes information about all youth who were eligible to take the NYTD
Youth Outcomes              survey at ages 17 and 19


                                       Baseline Population                       Follow-Up Population
                                  (17-year-olds in foster care, FY 14)            (19-year-olds, FY 16)

                                                 368
                                                                                          312
                                                eligible
                                                                                         eligible
Survey participation,
FY 14-16
                                                 317
                                               surveyed                                    208
                                                                                         surveyed




                                           86% surveyed                             67% surveyed

Characteristics of survey
participants
 Male                                           56%                                      54%
 Female                                         44%                                      46%
 White                                          94%                                      95%
 Black                                          10%                                      10%
 American Indian                                 <1%                                      1%
 Hispanic                                        2%                                       3%
 In foster care                                 100%                                     13%
Reasons for non-
participation
 Youth declined                                   2%                                     32%
 Parent declined                                  0%                                     <1%
 Incapacitated                                    1%                                     0%
 Incarcerated                                     1%                                     1%
 Runaway/missing                                  2%                                     0%
 Unable to locate                                 0%                                     1%
 Invalid participant                              8%                                     0%

Outcomes reported


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Employed full- or part-time                    7%                                     30%
Receiving public assistance                   N/A                                     30%
Finished high school or GED                    0%                                      0%
Attending school                              95%                                     27%
Referred for substance                        31%                                     19%
 abuse treatment                           (in lifetime)                         (in past 2 years)

                                              29%                                     30%
Incarcerated
                                           (in lifetime)                         (in past 2 years)
                                               4%                                     10%
Had children
                                           (in lifetime)                         (in past 2 years)
                                              11%                                     25%
Homeless
                                           (in lifetime)                         (in past 2 years)
Connection to adult                           99%                                     84%

Medicaid coverage                             86%                                     67%




     2018 Update

     After a federal review in 2016, West Virginia BCF has made changes to improve and
     increase compliance with the NYTD requirements. BCF contracts with West Virginia
     University Center for Excellence in Disabilities to implement services to youth through the
     Modify Program. To follow federal guidelines, WVU CED employees two survey
     specialists specifically for the purposes of conducting the NYTD survey with the federally
     required co-hort. The survey specialists gather necessary information through many
     avenues, including case workers, to complete the surveys on each qualifying youth.
     Policy has been updated to reflect these requirements.

     Homelessness Prevention

     2016 Update

     Two programs have been awarded grants from the United States Department of Health
     and Human Services to provide shelters for Runaway and Homeless Youth. The
     programs provide crisis shelter for runaway and homeless youth ages 11-18 in

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Parkersburg and Wheeling. Any youth in the community may call or come to Children’s
Home Society or YSS-Wheeling anytime day or night. Two counselors are always on shift
to provide crisis counseling, food, clothing, shelter, security, and individual, group and
family counseling.

Youth and parents are welcome to call or stop by the programs anytime for advice or
referrals to other services in the community. The DHHR-BCF does not provide any
funding or oversight of these Runaway and Homeless Youth Programs.

YSS- Wheeling program reported for the SFY 2015 consultation with 47 youth who had
or were considering running away from home. YSS shows that only three of the youth
counseled resulted in a referral to the Department of Health and Human Resources for
an out-of-home placement. No reporting information was made available to the
Department by Children Home Society.
In addition to YSS- Wheeling and CHS runaway and homeless youth shelters, Daymark
center in Charleston, WV provides transitional living programming to homeless and
runaway youth with the assistance of RHYA funding.

BCF partners with these provider agencies to ensure that youth who need housing
receive it. Homeless youth who have aged out of foster care have the additional option
of signing a contract with the Department in return for housing options. Options may
include housing in a transitional living program, traditional foster care, or a housing
subsidy for independent living. Youth may access these services through any of the 55
county offices. Temporary housing in shelter care may also be utilized until more
permanent solution can be achieved. Youth who enter through the contract must agree
to pursue higher education or job training, in addition to receiving services tailored to their
transitional needs, as identified through life skills assessment and the youth’s self-
identified needs.

For youth who come to the Department who are experiencing homelessness and do not
wish to engage in a contract or do not have a history of foster care, BCF will provide
referral to YSS, CHS, Daymark, and referrals may include those to adult homeless
shelters, when appropriate. Additionally, BCF will help to facilitate transportation to an
appropriate placement.

2017 Update

Two programs have been awarded grants from the United States Department of Health
and Human Services to provide shelters for Runaway and Homeless Youth. The
programs provide crisis shelter for runaway and homeless youth ages 11-18 in

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Parkersburg and Wheeling. Any youth in the community may call or come to Children’s
Home Society (CHS) or Youth Services System (YSS)-Wheeling anytime day or night.
Two counselors are always on shift to provide crisis counseling, food, clothing, shelter,
security, and individual, group and family counseling.

Youth and parents are welcome to call or stop by the programs anytime for advice or
referrals to other services in the community. The DHHR-BCF does not provide any
funding or oversight of these Runaway and Homeless Youth Programs.

Youth Services System (YSS) admits homeless youth into its two emergency shelters,
and for older youth into its Transitional Living venues in New Martinsville (Tuel Center)
and Wheeling (McCrary Center). YSS also meets homeless youth at its Winter Freeze
Shelter which operates annually from December 15th – March 15th.

During this time, there were 14 admissions to the emergency shelters (12 females, 2
males) of youth 17 and younger. Ten (10) were discharged to home or relatives, 2 to the
Transitional Living Program, 2 to Residential Treatment.

Eight (8) youth, ages 18-21, were served in the Transitional Living Programs. These older
youths were enrolled in WIB Program that prepares, supports and sustains employment
opportunities.

All youth in our care are afforded needed physical, emotional and treatment planning
services.

During this time period’s Winter Freeze Shelter 12 youth (18-21), 6 males, 6 females were
offered services. Five (5) were helped with housing, 2 were admitted to our Transitional
Living Program, 1 admitted to Substance Abuse Treatment; four (4) to other destinations.

YSS met two youth under 18. They put them and their parents in a hotel because they
do not permit minors in the Winter Freeze Shelter. One of these youths was flown to a
relative in Alabama, the other returned her to her mom to Morgantown.

Children’s Home Society has a Basic Center Program at their Parkersburg site, which is
a federally funded runaway and homeless youth program. This program serves youth
ages 12-17 who have run away from home, are at risk of running away, or are otherwise
in a homeless situation. This is a voluntary program, and parent / guardian permission is
required for CHS to house youth when necessary. CHS utilizes a host home model (like
foster homes), versus a shelter model. The aim is to stabilize the crisis within the home
and return that youth to a safe home with their guardian(s). In total, CHS served 57 youth

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through the Basic Center Program from July 1, 2015 – June 30, 2016. Some of these
youths were served only briefly (23), some were only served by receiving the BCP “Let’s
Talk” curriculum at the Youth Day Report Center (12), and a few received services only
by coming to our Teen Drop-In Center (14). Eight (8) additional youth received services
for a longer period, though none were served residentially. None of these youths served
during the SFY 2016 resulted in a referral to DHHR for out of home placement.

2018 Update

WV continues to utilize two programs, located in Parkersburg and Wheeling, which have
been awarded grants from the United States Department of Health and Human Services
to provide shelters for runaway and homeless youth ages 11-18 years. Any youth in the
community may call or come to Children’s Home Society (CHS) or Youth Services System
(YSS)-Wheeling anytime day or night. Two counselors are always on shift to provide crisis
counseling, food, clothing, shelter, security, and individual, group and family counseling.
The Daymark Center in Charleston provided transitional living programs for homeless and
runaway youth. However, their funding has ran out as of May 2018 and they have applied
for funds from RHYA and a variety of other sources in hopes of restarting this program.
Youth and parents are welcome to call or stop by the programs anytime for advice or
referrals to other services in the community. The DHHR does not provide any funding or
oversight of these runaway and homeless youth programs.
CHS has a Basic Center Program (BCP) at their Parkersburg site, which is a federally
funded runaway and homeless youth program. This program serves youth ages 12-17
years who have run away from home, are at risk of running away, or are otherwise in a
homeless situation. This is a voluntary program and parent, or guardian permission is
required for CHS to house youth when necessary. CHS utilizes a host home model
(similar to foster homes) versus a shelter model. The aim is to stabilize the crisis within
the home and return the youth to a safe home with their guardian(s). In total, CHS served
43 youth through the Basic Center Program from July 1, 2016 – June 30, 2017. Some of
the youth were served only briefly (21), some were only served by receiving the BCP
“Let’s Talk” curriculum at the Youth Day Report Center (11), and a few received services
only by coming to the Teen Drop-In Center (5). Eleven additional youth received services
for a longer period of time, though none were served residentially. None of the youth
served during the SFY 2017 resulted in a referral to DHHR for out-of-home placement.

Youth Services Systems provided data for two of their shelter programs, which also
counsel runaway and homeless youth. Of the nine (9) youth served, eight (8) returned
home and only one was placed in state custody. Youth Services Systems also noted that
all nine (9) youth served were female.

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Pregnancy Prevention

2016 Update

West Virginia’s adolescent pregnancy prevention programs are administered by the
Bureau for Children and Families’ sister agency, the Bureau for Public Health. The
division directly overseeing the programs is the Office of Maternal, Child and Family
Health. Historically, there has not been a close working relationship between the Bureau
for Children and Families and the Office of Maternal, Child and Family Health related to
adolescent pregnancy prevention. Therefore, in the upcoming year, collaborative efforts
will begin to develop protocols for outreach to foster children regarding pregnancy and
STI prevention.

2017 Update

THINK is an initiative of Mission West Virginia, Inc. (MWV) that focuses on adolescents
and their health. The program is funded through federal and state dollars to provide
education to adolescents across the state of West Virginia on issues related to teen
pregnancy prevention, making healthy decisions, and positive relationship development.
Currently, THINK is managing three federal grants, Teen Pregnancy Prevention (TPP),
Competitive Abstinence Education (CAE), Sexual Risk Avoidance Education (SRAE) and
two state grants, the PREP grant, and Title V.

Over the past ten years, THINK has provided over 85,000 students across 25 counties in
West Virginia with pregnancy prevention education and positive youth development
services. To accomplish their goals, Mission West Virginia, Inc. (MWV) has three partner
organizations which include, Community Action of Southeast West Virginia (CASE),
Rainelle Medical Center (RMC), and Regeneration, Inc. During the last grant cycle with
the Teen Pregnancy Prevention Program, MWV and partners, served over 15,900 youth
with evidence-based curriculum and provided additional educational opportunities to
1,600 youth through teen expos.

2018 Update

The Office of Maternal, Child, and Family Health through the Department of Health and
Human Resources, offers a pregnancy prevention program called Adolescent Pregnancy
Prevention Initiative, APPI. It is a focus area of the Family Planning Program that provides
statewide development, oversight, and coordination of adolescent pregnancy prevention
activities. The Adolescent Pregnancy Prevention Initiative offers/provides approximately
800 to 1,000 presentations a year.

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They offer/provide the presentation to public schools, to help teachers cover required
content using components of evidence-based curricula. The Adolescent Pregnancy
Prevention Initiative provides classroom presentations, parent education, and
professional development for educators to deliver health programs that are medically
accurate and provide age appropriate sex education.

The Initiative also works with community partners who provide education about family
planning in a variety of settings. These settings include individuals with disabilities who
receive counseling and residential and group home setting. The Adolescent Pregnancy
Prevention Initiative has presented to foster parents and teens at conferences in past
years. As well as in facilities working with teens being placed in foster care or those who
are ready to age out. The Initiative is available to do these types of workshops throughout
the year.

The Adolescent Pregnancy Prevention Initiative Presentations include:

        The cost consequences associated with teen pregnancy for the individual,
         couple, the child and society
        Reproductive life planning
        Myths about sex, consent, birth control, sexually transmitted diseases and
         pregnancy
        Contraception – methods and effectiveness
        Sexually transmitted diseases – common bacterial and viral infections, how they
         are transmitted and how to protect from contracting
        Family Planning – how to access services, what services are provided, and
         locations of care providers

Educational Stability

Child welfare agencies are required to assure educational stability for children in care. At
the initial time of removal of the child from their home, the Department makes diligent
efforts to maintain the child in the school that they are currently enrolled in unless it is not
in the child’s best interest. WV makes a concerted effort to place the child with relatives
and fictive kin as often as possible who generally reside in the same communities as the
child, which helps in providing educational stability.

Federal funding to cover education related transportation costs for children in foster care
is utilized whenever possible. However, since WV is such a rural state, if placement is not
with relative/kin or local foster parents, the distance to maintain the child in the same
school is great and usually not in their best interest.

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The Out of Home Education Committee has embraced the Blueprint for Change.
Subcommittees have been formed to address each of the Blueprints goals such as a
seamless transition between schools and young children entering school ready to learn.
There have occasionally been some minor issues in getting foster children into school if
they must change schools; however, these are being addressed. Overall, this process
has gone well.

2017 Update

On December 10, 2016, the new federal provisions to ESSA, Every Student Succeeds
Act, went into effect, relating to best interest determination and immediate enrollment of
foster children. Each state education department was required to submit their plan of
implementation to the Department of Education. ESSA implementation is the
responsibility of the state and local education departments. However, to achieve
successful implementation of the new provisions, a collaboration effort with the Child
Welfare Agency is required.

The Bureau for Children and Families created a team of to ensure that the Child Welfare
field staff are aware and understand these new provisions. Meetings were set up
regionally, with the regional directors, regional program managers, community service
managers (CSM), social service coordinators, social service supervisors, and child
welfare consults. Some meetings were completed through conference calls and others
were conducted at quarterly social service supervisor meetings. The process and
expectation for BCF field staff was introduced and explained during these meetings and
guidance documents were provided.

It has been determined that the CSMs for each county or district of the Child Welfare
Agency, will be the point of contact (POC) and the county or district Attendance Directors
would be the POCs for the education department. CSMs were given the flexibility to
choose a designee, (social service coordinators or supervisors) to work with the education
agency POC on decision making and best interest determination. The CSM designees
can handle all matters apart from any financial decisions that may draw out county funds.

Members of the BCF, ESSA team, came together to determine how transportation costs
for foster children would be shared with the Education Departments and where BCF
would pull these funds from. The final determination on cost sharing has not been
determined and is still in the process. Data has been collected from each county or district,
Child Welfare Agency, to have a better understanding of how many children are placed
outside of their county or district of origin. If the child is determined to be IV-E eligible,
those funds can be used to share the cost of transportation for children placed in a county

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or district outside of their school or origin but the determined that it is in their best interest
to remain in that school.

The data that was collected from each county or district on out of county or district
placements has been given to the BCF financial department. This data is being used to
estimate the state dollars that will be needed to share these transportation costs if the
child is determined not to be IV-E eligible. This information must then be reported to the
West Virginia legislature for a final estimate of cost. This data will be reported in August
or September of 2017. Cost sharing and means of payment, other than IV-E eligible
children, are pending currently.

2018 Update

BCF continues to work with the West Virginia State Department of Education to develop
a process to ensure timely payments for foster children who it has been determine is in
their best interest to remain in their school of origin. Both agencies, BCF and the state
department of education, have agreed upon a plan to ensure payment to necessary
parties for transportation such as foster parents or contracted school officials. The State
department of education and BCF have agreed that the school districts will pay the
transportation costs up front, and IV-E dollars will be used to reimburse the education
departments once a foster child’s eligibility it determined. A meeting is scheduled for July
2018, to finalize the plan and develop memorandum of understanding between the two
agencies.

Uniform Child or Family Case Plan

The Uniform Child or Family Case Plan was developed and implemented across the state
during the latter part of 2009. When a child is placed in the care, custody, and control of
the state because of child abuse and neglect proceedings, various federal and state
statutory requirements go into effect. The purpose of the requirements is to assure the
child is safe, has a permanent placement, and has his or her emotional, physical, and
educational needs met.

The Uniform Child or Family Case Plan is an automated report (Case Plan Report or
CPR) in FACTS. The report contains all of the information necessary to fulfill the federal
requirements for foster care programs and case plans SEC. 475 (42U.S.C. 675) of the
Social Security Act and WV Code §49-4-408 state requirements for a unified child and
family case plan, Rules, 23,28 and 29 of the Rules of Procedure for Child Abuse and
Neglect. It is one document that fulfills the requirements for one federal statute and
state statutes. The Case Plan Report can be printed whenever needed. The Case Plan

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Report may be found in FACTS under “CPR” in the New Court location. FACTS will
automatically populate some of the information to the report while some information must
be added manually.

Recently, the Uniform Child or Family Case Plan was modified to include all the major
provisions identified in the Fostering Connections to Success and Increasing Adoptions
Act of 2008 (Public Law 110-351). The purpose of this law is to amend parts B and E of
Title IV of the Social Security Act to connect and support relative caregivers; improve
outcomes for children in foster care; provide for tribal foster care and adoption access;
improve incentives for adoption; and for other purposes. West Virginia’s Uniform Child or
Family Case Plan currently meets those needs.

The Department is currently revising all their Child Welfare Policies into one Policy. This
policy will include a casework process for Child Protective Services, Youth Services,
Foster Care and Youth Transitioning. It is hoped that by combining the philosophy of
Family Engagement at all steps of the process to all who enter through the door there will
be a more consistent practice of individualized case planning in all phases of child welfare.

2016 Update

Due to the amount of resources involved in implementing the requirements of Senate Bill
393 passed in the 2015 legislative, Child Welfare policy for the state of West Virginia
remains separated into Child Protective Services, Youth Services, Foster Care (which
includes Youth Transitioning) and Adoption. Although these have not yet been combined,
a group has been convened to streamline assessments required by all the above program
areas. The goal of this group is to establish one assessment process to use across
program areas.

2017 Update

A small group of policy and field staff have continued to meet to develop an assessment
and treatment planning process to use with both Child Protective Services and Youth
Services case types. The intake process for each system will remain as they were. The
group has determined a model, safety plan and treatment plan template. The policy is
currently being developed and should be completed and forwarded to the training division
by the end of July 2017.

2018 Update



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BCF is currently working on the streamlining process for the development of one
assessment tool and treatment or service plan to be utilized for both Child Protective
Services and Youth Services. However, with the release of Family First Prevention
Services Act of 2018, BCF must ensure that the utilized case plan meets the requirements
for the act before moving forward with either a previously or newly developed plan. The
Uniform Child and Family Case plan has been submitted to determine its compliance with
the requires set forth in the Family First Prevention Services Act. Additionally, child
welfare field staff continue to submit the Uniform Case Plan as requirement by law.

In June of 2017 approximately 2031 surveys regarding court hearings and MDTs were
mailed to all private/specialized foster care providers, half of all active kinship/relative
foster care providers, group residential facilities and emergency shelter care. Half of the
foster children placed in group residential facilities and emergency shelter care were
randomly selected and their facility case managers were asked to complete the surveys
for those foster children. There was approximately a 31% response rate from the
participants. Within the survey was a component of the uniform case plan, where foster
parents, kinship/relative care providers, and facility case managers were surveyed to
determine the level of uniform case plan participation. Of those surveyed 19% reported
that they are always asked for their input when completing the child’s case plan.


                              Case Plan Participation
                                       9%
                                                           19%




                             30%




                                                           41%


                             Always   Sometimes    Never         Left Blank



Child welfare staff was also surveyed regarding case plan participation. Child welfare staff
survey participation was divided by regions with a 29% response rate. They were
surveyed based on three categories of participation; biological parents, kinship relative

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providers, and foster care providers. Of the child welfare workers who completed the
survey, they indicated that biological parents were asked to aid in the completion of the
Uniform Child and Family Case Plan 37% of the time, kinship/relative providers 22% of
the time, and foster parents 19% of the time, with 22% being N/A.


          Percentage of Requested Case Plan Participation

                                          22%

                                                                37%



                                     19%



                                                     22%


                     Biological Parents     Kinship/ Relative   Foster Parent     N/A



4 Update on Service Description
The Preventing Sex Trafficking and Strengthening Families Act amended title IV-B and
IV-E requirements to address domestic sex trafficking, limit use of another planned
permanency living arrangement (APPLA) as a permanency plan for youth age 16 and
older and requires agencies to modify their case review system to;

      Provide youth with certain documents when they age out of foster care
      Include youth age 14 and over more fully in case planning
      Limit APPLA as a permanency plan for youth age 16 and older
      Defined sibling

Progress on other requirements of this legislation will be reported in their appropriate
sections.

WV Foster Care Policy was amended in 2012 to provide an additional policy for Youth
Transitioning from foster care. Our Youth Transitioning Policy separated those activities
specific to older youth in foster care who were planning to remain in care at age 18 or

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discharge to either home, on their own or post-secondary settings. These activities
included transition planning with the youth, discussing advanced directives, credit checks
and a Personal Exchange Document Discharge List (PEDDL). The PEDDL list is those
documents that must be given to youth upon discharge from foster care and includes the
following;

      the youth’s social security card;
      certified original birth certificate;
      health records including immunization history;
      education records;
      life book;
      completed journey placement notebook;
      state photo ID;
      SSI application (copy), and;
      other information the youth may find helpful or important

WV Child Protective Services, Youth Services and Foster Care Policies have historically
been based on intensive family engagement practice and youth involvement in their case
planning was already an intrinsic value in all policies.

The limitation of Another Planned Permanent Living Arrangement (APPLA) to those youth
ages sixteen and older required statutory changes that were codified this past legislative
session. Policy as well as our IV-E state plan was revised in December to accommodate
these changes.

Finally, WV revised its policies to incorporate the Federal definition of sibling. Our IV-E
plan was also amended to reflect this change specifically. However, it should be noted
that WV policies are much broader when considering sibling and kinship. In this state,
kinship is defined as anyone a child views as a relative and sibling is anyone a child
considers being a brother or sister. So, although policy was strengthened to include
specific relationships, our practice of recognizing these groups has been much more
accommodating.

In July 2004, the Department implemented the concept of a managed care system of
sorts for Socially Necessary Services. These are services provided to children and
families which are necessary to provide for the child’s safety, permanency, and wellbeing
and are not covered through Medicaid. Workers are expected to use existing, community
services when available. Twenty percent (20%) of Subpart II dollars are used in each
category. However, West Virginia typically must augment both the Family Preservation


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and Time-Limited Reunification cases with several hundred thousand dollars of state
funding.

An Internet website section was developed and linked to the DHHR home page to assist
interested parties in communities in determining whether they wanted to enroll as a
provider of Socially Necessary Services. The website contains the following information:

      Overview of the ASO process and Socially Necessary Services;
      Overview of the ASO Process and CAPS;
      Enrollment materials;
      Utilization Management Guidelines;
      A Service Matrix;
      Information on payment rates; and
      Samples of the letters sent to providers.

Interested parties may review the material before deciding to enroll as a provider. They
can also choose which services they can provide and the geographic area they can cover.
The material also describes the qualifications for providers for each service. The
enrollment process provides an opportunity for all interested parties to consider what they
wish to provide and where they want to provide it.

With the development of the Socially Necessary Services system, the Department
developed uniform definitions for services, standards and consistent credentialing for staff
providing services, service criteria to help provide consistent client outcomes, a
standardized authorization process for the initial approval of services, reauthorization of
service continuation when warranted, and a process to review the services that were
provided and uniform rates of reimbursement for services. All services are provided in
every geographic region of the state. Due to West Virginia being such a rural state,
incentives were built into the funding of the services to encourage providers to cover the
more mountainous and sparsely populated areas. Services are outlined for each case
type at the following website is http://www.wvdhhr.org/bcf/aso/.

As of May 28, 2015, the following recommendations have been made for the redesign of
what was once referred to as Socially Necessary Services, which will be known as
Community Support Services with the roll-out of Safe at Home:

       1. Structural Changes to Service categories- Instead of the case designations
       being broken down into CPS and Youth Services, with the multiple sub-categories
       (See utilization report dated July 2014-April 2015), the services will be categorized


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      into the federally required categories of Family Support, Family Preservation,
      Time-limited Reunification and Adoption Preservation.

      2. Development of Performance Measures for Each Service Category- The current
      compliance-based methodology of measuring provider performance will be
      changed to results-based accountability. This will allow us to determine how much
      providers do, how well they do it and if our families are better off. Three to five
      performance measures will be developed for each of the four service categories;

      3. Removal of the fee-for-service payment structure- Instead of payment for each
      individual service on a unit-by-unit basis, the recommendation is to develop case
      rates for each service category mentioned above. The family would be referred for,
      as an example, Family Preservation and the provider agency would assign an
      array of services within Family Preservation that addresses the family’s specific
      needs. The case rate would be based upon the intensity of the specific case type:
      Family Preservation would be paid a higher case rate (due to intensity of need
      when families are experiencing crises and efforts are being made to keep children
      in the home) than time-limited reunification, where the children may be out of the
      home, and the main service may be supervised visits to reunify the children.

      4. Removal of the following services from the utilization matrix:

             a. Child-oriented Activity will be completely removed (was previously
             removed from CPS cases but remained available for Youth Services cases);

             b. Child-oriented Group Activity;

             c. General Parenting;

             d. Family Crisis Response for Jacob’s Law;

             e. CBT (This will become the Wraparound Facilitator through the local
             coordinating agencies)

             f. Pre-reunification Support- This service is available to specialized foster
             care agencies now. However, those agencies receive case management
             payments which should include the provision of reunification activities with
             families;

             g. Tutoring- Has not been accessed for authorization in one year;

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             h. Homemaker Services- Only three authorizations within the past year

      5. Changes to the eligibility, service definition and provider criteria of existing
      services-

             a. Under Family Support, require the CANS tool be used for Needs
             Assessment/Service Plan;

             b. Case Management would not be available as a service option for families
             enrolled in Safe at Home, as the local coordinating agency would be
             receiving a case rate for the care coordination;

             c. Family Crisis Response-Remove the requirement for a social work
             license;

             d. Respite- Evaluate the four types of respite to determine if all are needed.
             Only one, emergency respite, has been utilized in the past year.

      6. New Service Development-

             a. Peer Support- For adults with substance abuse and/or mental health
             issue for which they are either undergoing treatment or recently completed
             treatment. The service providers a paraprofessional peer for recovery
             support;

             b. Youth Coaching- Based on the Circle of Courage model, provides
             education and youth development skills that have evidence-basis for
             success.

             c. Recreational Activities - Is a treatment service designed for all youth to
             be engaged in meeting their basic personal and social needs to be safe,
             feel cared for, valued, useful, and to build skills and competencies that
             allow them to function and contribute in their daily lives.

APS Healthcare continues to monitor the operation of the authorization process, the
provision of training to service providers and Department staff, and the operation of the
retrospective review process. The Bureau for Children and Families convened an
oversight workgroup. The workgroup is composed of Bureau staff, staff from the ASO,
and representatives of the provider agencies.


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West Virginia continues to use a managed care approach to service delivery. Twenty
percent (20%) of Subpart II dollars are used in each category. Family Support dollars are
provided as grants to community providers. West Virginia typically must augment both
the Family Preservation and Time-Limited Reunification cases with several hundred
thousand dollars of state funding.

2018 Update

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percent (20%) of Subpart II dollars are used in each category. Family Support dollars are
provided as grants to community providers. West Virginia typically must augment both
the Family Preservation and Time-Limited Reunification cases with several hundred
thousand dollars of state funding.

Family Support

After bringing together a cross section group to look at the Family Support category of
ASO in late 2010, the Department decided to close this category of services in ASO and
develop a Request for Applications (RFA) for Family Resource Centers. Family support
services are now available to anyone in the state who needs the services without having
to have an open Child Welfare Case. All West Virginia’s IV-B Family Support money was
diverted into community-based services and were outlined previously in the Prevention
section of this report. As with all other grants, these will be evaluated yearly to determine
if they continue to meet RBA outcomes established this year.

West Virginia redirected Family Support money to Starting Points to ensure this money
was spent on preventing families from coming to the attention of the DHHR. It is difficult
to determine how many families have been diverted.

Family Preservation

Currently, the Department offers Family Preservation Services to recipients of Child
Protective Services, Youth Services and Adoption under the categories of Family
Preservation, Time Limited Family Reunification and Adoption Promotion and Support.
These services range from Individualized Parenting, Adult Life Skills, Supervised
Visitation, Transportation and many other Services. Providers receive a referral from the
family’s worker to provide a distinct service. This referral allows the identified service to
be provided for up to one year before a review of the service is completed.



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During planning for the Title IV-E Waiver Demonstration Project, several groups were
formed to look at different pieces of implementation. The Safe at Home Service Model
Development Workgroup believes that services could be bundled for Family Preservation
under the current Infrastructure of Socially Necessary Services to include the current
services available in this array of services. There would need to be additional services
included like peer support and mentoring like those offered in the National Wrap-Around
Model. This may require changes to our current CIB Policy. The bundle would be capped
at either a length of provision or dollar amount.

2016 Update

During the 2015, legislative session the Governor’s budget bill included a line item budget
for the provision of evidence-based community services for juvenile justice involved
youth. The result was the issuance of a grant announcement for interested entities to
provide Functional Family Therapy (FFT) and Victim Offender Mediation (VOM). These
services are intended to keep families together and provide alternative sanctions to youth
involved in the court system.

2017 Update

The Bureau for Children and Families (BCF) structured Functional Family Therapy’s
(FFT) target population to be youth at-risk of involvement with the juvenile justice system
and youth currently in out-of-home placement who may need an intensive family therapy
program to more readily transition them back to their home and community. Currently,
BCF funds three FFT teams providing service to sixteen (16) counties throughout the
state. Our three FFT sites have served a total of 186 youth with 44 of these cases
currently open and a 51% success rate, since the program’s inception in March of 2016.
The BCF continues to work with system stakeholders and providers to increase
knowledge and awareness of the FFT program to increase the reach and effectiveness
this service has to the community.

Victim Offender Mediation (VOM) has the capacity to serve both high and low-level
offenders in the community. The BCF has structured the VOM programs to include youth
who cannot (status offenders) or will not participate in mediation receive case
management with an array of service options. Our two sites were trained by the
international authority on evidence-based victim-sensitive mediation programs, Dr. Mark
Umbreit of the University of Minnesota’s School of Social Work. JVOM is currently
available in in twelve (12) counties within the state and have served a total of 248 cases
since March of 2016.


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Time-Limited Family Reunification

Services offered under Time-Limited Family Reunification are sometimes the same as in
Family Preservation. However, there is also a service bundle in this category known as
Pre-Reunification Support. This service is for children who are still placed in foster care
settings but are beginning transitional overnight visits to the home from which they were
removed. The purpose is to observe the interactions of the family as they adjust to being
re-united in their own home and report to the DHHR worker and/or court regarding the
family dynamics and give recommendations regarding the children being reunified. These
observations are to be scheduled as well as random as determined by the MDT. The
provider must be available to the family if assistance/modeling is needed including
Saturday and Sunday. If a crisis arises that would require the possible removal of the
child(ren) the DHHR worker must be notified immediately. Behavioral health services,
preferably family therapy, should also be arranged for the family to support their
adjustment to the re-unification. If possible, the same agency/individual that is providing
services to the parents should be used to support the transition.

The Safe at Home Service Development Workgroup is considering both grants and fee
for service type payment methods to deliver a similar, all-inclusive array of services under
this service category. Like Family Preservation, these services would be either capped at
length of service or dollar amount.

Adoption Promotion and Support Service

Foster/Adoptive family recruitment is an ongoing process because the foster care
population is in constant flux as foster/adoptive families leave the system for various
reasons, such as adopting children or ceasing to be foster/adoptive parents. Another
factor for the need of constant recruitment is the existence of a special needs group of
children for whom it is difficult to find permanent placements.

To aid in maintaining this effort, West Virginia previously enlisted technical assistance
from AdoptUSKids, during which a strategic recruitment plan was developed. The
recruitment plan provides for the Department to collaborate with stakeholders including
Mission WV, private child-placing agencies, the family resource networks, and our
foster/adoptive parent networks. Representatives from these stakeholders participated in
developing the recruitment plan. The recruitment plan is the blueprint for the recruitment
efforts in West Virginia and continues being utilized as a resource.

Drawing on the motivated and growing community of stakeholders brought together by
the Department through the recruitment plan, a collaborative committee was formed to

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work on and coordinate recruitment and retention activities statewide and to explore both
public and private funding sources for recruitment efforts. This group, the Recruitment
and Retention Collaborative, meets monthly.

The Recruitment and Retention Collaborative is comprised of DHHR state office and field
staff from all four regions, Mission WV, CASA, the Prosecuting Attorney’s Institute, private
Specialized Foster Care Agencies, foster/adoptive parents, and others who are interested
in recruitment and retention of foster/adoptive parents. The goals of this group are to not
only recruit and retain foster/adoptive parents but to share information about emerging
topics and best practices in the state. This group has had great success in raising
awareness of foster care and adoption which is done through activities such as an annual
foster care walk held during Foster Care Month, continuing education events for
foster/adoptive parents and staff, and a retention activity for families each year during
National Adoption Month.

Because of the extensive and statewide scope of the plan, priorities were developed to
maximize the groups’ efforts. Priorities included tailoring the recruitment message to
coordinate information being disseminated, working together to compare recruitment
activities, and finding innovative ways to leverage activities and resources already in
place. Goals arising from these early meetings specifically targeted the need for additional
outside (non-governmental) resources and the need to increase the number of
recruitment events statewide.

The regional recruitment activities by DHHR staff include social activities and recruitment
events for foster/adoptive families. Many of the DHHR staff has been interviewed by local
newspapers and TV news stations. These staff host open houses and have become
quite innovative in partnering with businesses in their communities to disseminate
information about becoming a foster/adoptive family. Staff often speaks at local churches
and community groups about becoming foster/adoptive parents as well as setting up
booths at community fairs. DHHR staff participate in the Recruitment and Retention
Collaborative and the events organized by that group.

The West Virginia Department of Health and Human Resources continues its formal
partnership with Mission West Virginia, Inc. (MWV). The organization, a private nonprofit
created in 1997, is contracted to provide recruitment services for both adoption and foster
care. MWV has worked to promote adoption and foster care since 2001 and provides a
comprehensive recruitment approach, employing all levels of recruitment statewide. They
serve as a neutral information and referral source – referring prospective families to both
the WV DHHR and all appropriate specialized child-placing agencies in the state. They


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also employ an in-depth, follow-up process providing prospective families assistance from
initial inquiry to placement or adoption.

On staff, MWV has one Recruitment Specialist who is an adoptive parent designated to
follow-up on inquiries. They employ three foster/adoptive parents total who use word-of-
mouth to recruit new families. Data tracking progress and successes are recorded both
through an internal database created by MWV and through the AdoptUSKids online
database. Data collected includes the inquiry date, city, county, referral source, and basic
family information. By tracking the referral source and following up with families in their
internal database, MWV is better able to track the success of their recruitment efforts and
determine which efforts have been most effective during a specified period. Additionally,
MWV can track and report on benchmarks throughout the process (family certification,
adoption, etc.) by looking at inquiry dates and follow-ups. Reports are provided quarterly
to the WV DHHR. Outlined below are some of the recruitment services provided directly
by MWV.

General Recruitment

During FFY 13, MWV provided general recruitment activities throughout the state, but the
bulk of recruitment methods they employed fell into more targeted or micro levels of
recruitment. Through research of similar demographic locations, MWV contacted
Northeast Ohio Adoption Services, an organization that received a federal demonstration
grant (Lessons from Rural Targeted Community Outreach, Federal Adoption
Opportunities), that employed general recruitment in the State of Ohio. This resulted in
MWV engaging in a direct mail campaign to a targeted demographic audience in
communities throughout the state. The Direct Mail campaigns have two goals – the first
is to recruit more families to provide foster care and/or adopt, and the second is to provide
information about the myths and facts of foster care with the goal of changing the public’s
perception of foster care and the children who are in foster care. MWV also solicits free
and donated media for promotion. They also keep web materials up-to-date and track
the penetration of web outreach efforts. Finally, they are very active on social media
pages, even purchasing ads on Facebook as well as the more traditional methods
including billboards, brochures, materials with marketing message, etc.

MWV utilizes successful adoptive and foster parent stories to recruit families throughout
the state. Their quarterly newsletter titled “Open Your Life” provides a platform for sharing
personal stories and advice from foster and adoptive families in WV. Each year, MWV
works with the Recruitment and Retention Collaborative of WV to organize an Adoption
Celebration in recognition of National Adoption Month. At this event, there is a program
that features the personal stories of adoptive families told by the families themselves.

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Through well-organized and strategic follow-up with families in their database, they
maintain and nurture relationships with successful families who often volunteer to help
with ongoing campaigns, special projects and speaking engagements. They encourage
their successful foster and adoptive families to promote foster care via word-of-mouth and
keep brochures and handouts available for distribution. Sharing personal and positive
stories about youth in foster care helps mitigate the public’s poor perceptions of foster
care.

Targeted Recruitment

In West Virginia, there is a strong faith community throughout the state. Churches are
often interested in helping recruit families for waiting children, and MWV utilizes child-
specific strategies to work within these communities. “Sunday’s Child” is a bi-weekly
column that features the profile and photo of children waiting for permanent placement.
This column is sent to several churches throughout the state; these churches display the
column in their bulletins or on an overhead projector during the Sunday service. MWV
also presents information about waiting children and their programming to churches
interested in learning more about foster care and adoption in WV. Whenever an
adoption/foster care event is planned, MWV sends an information bulletin insert to
churches that surround the area of the event. “The Heart Gallery of West Virginia” is also
often on display at different churches in various areas of the state.

“The Heart Gallery of West Virginia” is a traveling photography exhibit that features
portraits of WV’s children in foster care who are legally eligible for adoption. MWV hosts
“Heart Gallery Dinners” at restaurants in towns in each region of the state and invites
certified and interested families to attend an informative evening that features the Heart
Gallery. At each dinner, an adoption recruiter speaks about the children on the gallery,
shares details about the adoption process, and answers questions from attending
families.

MWV’s FrameWorks initiative has for years primarily focused on working with children
who are older; in sibling groups; are minorities in a state where roughly 95 percent of
residents are Caucasian; or have other physical/mental/emotional challenges that have
made adoption and/or foster care difficult. Through the direct mail campaign, they can
segment the targeted population to best fit the children who are waiting and their needs.
Specifically, MWV focuses their recruitment efforts to serve the entire special needs
adoption population in the state. Additionally, the agency makes a special effort to show
diversity in their promotional materials and respond to non-English speaking families who
inquire. This concentrated effort has allowed the organization to best utilize limited
resources to promote a population that needs the most support.

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Child-Specific Recruitment

As previously mentioned, the Heart Gallery of West Virginia is a display that features
photos and profiles of waiting children. This display is a great tool for creating awareness
about the need for more families, specifically for older children who are waiting to be
matched with a family. All children featured on the Heart Gallery fit the category of
“special needs adoption” per WV law. This display is set up in locations with high foot
traffic such as large churches, shopping centers, and bank lobbies.

MWV has partnered with many different news stations over the years to feature children
through child-specific news segments. Since 2011, MWV has partnered with WBOY, a
news station in central WV, to feature children on their “Finding a Family” segment.
Through this segment, waiting children are given the opportunity to reach out to a large
general audience. A special activity is arranged to give the child a special day and allow
the audience to learn about the individual child. These segments often help audiences
connect an actual child to the abstract need for adoptive families. MWV’s toll-free number
is included in all broadcasts, and the organization handles all inquiry calls and follow-ups.

Child-Focused Recruitment

WWK Mission West Virginia employs two full-time Wendy’s Wonderful Kids recruiters
through the Dave Thomas Foundation for Adoption who provide direct recruitment for
approximately 40 children in the state who have been identified as special needs.
Recruiters follow a child-focused recruitment model which involves establishing a
relationship with the child; a complete case record review; adoption readiness
assessment and adoption preparation; network building; recruitment planning; and
diligent search. Independent research released in 2011 showed that children served
through the Wendy’s Wonderful Kids program were three times more likely to be adopted.
Each recruiter covers one-half of the state and serves 15-20 children annually.

The WV Adoption Resource Network (ARN) is the state’s online photo-listing. Although
operated by the DHHR, MWV works closely with the ARN. All children served by MWV’s
recruitment efforts must be featured on the ARN, and often a referral to MWV leads to the
ARN referral, which staff can assist with. Additionally, Heart Gallery portraits are used on
the ARN, either when the child is first listed or to replace an out-of-date or poor-quality
photo. Certified families may register on the website and express interest in individual
children. Encouraging families to use the ARN is a standard part of MWV’s response to
inquiring families.

Additional Awareness/Recruitment Techniques

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Not all families are open to the idea of providing foster care or adopting but want to reach
out to youth in foster care. MWV provides volunteer opportunities for communities to
volunteer their time and services to brightening the lives of kids. The Carry-On Campaign
is an ongoing effort with the goal of eliminating garbage bags as luggage for youth in
foster care. This campaign is in partnership with the U.S. Attorney’s Office (USAO) for the
Southern District of WV and was able to easily become a statewide campaign with the
support of the USAO and county DHHR offices. Over 2,000 pieces of new or gently used
luggage and hundreds of toiletry items have been donated since 2010. Community
members can also donate to the Celebrations! project, which is designed to create
positive memories for children in the foster care system. For example, Celebrations! has
funded adoption parties; a choir trip for a youth in foster care; a trip for a foster youth to
attend a science camp; and many other enriching and meaningful events. Both projects
have also generated several media and partnership opportunities and have led to
adoption/foster parenting inquiries.

Through the Relatives as Parents Program (RAPP), an experienced foster/adoptive father
and experienced PRIDE class trainer are available to answer questions and provide
resources for relative providers. MWV updated their resource guide entitled “Kinship
Care Support, Relatives as Parents Program Resource Guide” which has been widely
distributed throughout the state and is available for download on their website. There are
an increasing number of children in the U.S. who are living with relative caregivers who
may or may not have formal custody or legal guardianship. This guide acts as a central
source of basic information regarding the assistance and resources available to families
raising their relative’s children. The RAPP program also provides workshops in different
regions of the state that focus on relative caregiving issues.

2017 Update

MWV submitted their information guide to staff from the National Resource Center after
they provide technical assistance to DHHR in 2016. Professionals from the NRC
reviewed the guide and made suggestion/revisions to ensure that the guide was helpful
and clear for prospective parents.

 After over 10 years the Recruitment and Retention Collaborative has shifted to focus
more on retention events over recruitment activities. Statewide collaborative recruitment
events have proven to be difficult because they are hard to plan on a statewide level and
they often duplicate efforts already conducted by the individual agencies. The R&R has
most recently been focusing on awareness/retention events tied to National Foster Care
month and National Adoption Day. Recruitment is evolving to be conducted on a more
regional basis- there are currently regional recruitment groups in each of the 4 DHHR

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regions. These groups plan to focus their recruitment efforts on specific counties and
areas that have been identified as having need for foster families, with messaging
focusing on regional and county population numbers. Although DHHR will no longer be
recruiting foster/adoptive homes, DHHR staff continue to participate in R&R and regional
recruitment groups.

MWV has created a custom database (using a Microsoft Customer Relationship
Management system) with increased tracking capabilities. MWV now tracks the following
additional information related to foster/adopt inquiries: type of interest, stage of process,
closure reason.

MWV continues to utilize all types of recruitment (media, direct mail, social media) but
upcoming recruitment efforts will have more regional and county-based messaging as
well as more hands-on work in specifically identified areas as opposed to efforts with
statewide reach.

 MWV continues to participate in child-specific recruitment (Heart Gallery, Sunday’s Child,
news segments) and child-focused recruitment (Wendy’s Wonderful Kids). With the
increased need for foster families, MWV recruitment efforts will shift to put more focus on
general foster parent recruitment with less emphasis on recruiting families for specific
children. The goal is that an increased pool of foster/adoptive parents will still result in
resources for specific waiting children, especially considering that most adoptive matches
occur within foster placements. The WWK program will continue to be utilized as one of
the most effective resources for specific waiting children.

The above-mentioned recruitment activities are funded by IV-B Part 2 monies, the Dave
Thomas Foundation, and the WV Bureau of Senior Services.

During the FFY 2013, West Virginia finalized 875 adoptions, 137 of these were
completed by Specialized Foster Care Agencies.

2016 Updates

There were 893 adoptions in FFY 2014-2015, of those, 218 were specialized adoptions.

2017 Updates

There were 937 adoptions in FFY 2015-2016. Of those, 258 were specialized
adoptions.


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2018 Update

As per the federal requirements to reinvest state savings back into child welfare, The
Bureau for Children and Families has been consulting with its sister agency, the Bureau
for Behavioral Health and Health Facilities (BHHF), regarding expansion of services for
post-adoptive children and their adoptive families.

The Bureau for Behavioral Health and Health Facilities has been providing funding for
Children’s Mobile Crisis Response and Stabilization Teams for several years through their
contracts with the comprehensive mental health centers across the state. Children’s
Mobile Crisis Response and Stabilization Teams help children who are experiencing
emotional or behavioral crises by interrupting the immediate crisis and ensuring children
and their families in crisis are safe and supported. The programs provide support and
skills needed to return children and families to routine functioning and maintain children
in their home or current living arrangement, school, and community whenever possible.
The Mobile Crisis Response and Stabilization model is part of a continuum of community-
based services designed to provide evaluation and assessment; crisis intervention and
stabilization; and transition planning and follow-up. The service is provided in family
homes, schools, group care, and other settings where more accurate evaluations can be
made in the child's living environment. Staff are available 24/7 to offer intensive support
and stabilization for up to 72 hours. The main goals are to link children and their families
or caregivers to services in the community, to involve families in treatment, and to avoid
unnecessary hospitalization or residential placement. Specifically, the target population
for the children's mobile crisis response teams are children with the following needs:

* current symptoms or behaviors indicating the need for a crisis intervention;

* symptoms and behaviors that are unmanageable at home, school, or in other community
settings; and

* are at risk of placement, or currently placed, in a psychiatric treatment facility or acute
care psychiatric hospital and who cannot return without extra support.

The statistics gathered for this program show that of the 338 children served, 21 or 6%,
were known to be previously adopted. It is hoped that by providing additional financial
supports, this program can be expanded and targeted specifically for post-adoptive
children and their families. Children’s Mobile Crisis prevented 219 of the 338, or 65%, of
the children involved from being removed from the home.



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Populations at Greatest Risk of Maltreatment

Children three years of age and under have the highest rate of maltreatment in West
Virginia. That age group accounts for approximately 33% of the victims in West Virginia
according to data derived from our Statewide Automated Child Welfare Information
System (SACWIS); up from 31% last year. More specifically, children under the age of
one are most likely to be abused or neglected in West Virginia and be the victims of child
fatality due to abuse and neglect in the state.


                    Abuse and Neglect Victims by Age
 800
 700
 600
 500
 400
 300
 200
 100
   0




Child vulnerability is a key component in the Safety Assessment and Management
System (SAMS). Child Vulnerability in the Safety Assessment and Management System
refers to a child who is dependent on others for protection and is exposed to
circumstances that she or he is powerless to manage, and susceptible, accessible, and
available to a threatening person and/or person in authority over them. Vulnerability is
judged according to age; physical and emotional development; ability to communicate
needs; mobility; size; dependence; and susceptibility. By focusing on vulnerability in the
CPS Casework Process, the most vulnerable children will be better protected.

Early intervention services are provided to any child under the age of three who has been
abused or neglected. West Virginia offers Right from the Start, Birth to Three, and Lilly’s
Place, which is a Neonatal Abstinence Syndrome Program for infants that are drug
exposed. Safety Services are provided to ensure the most vulnerable population is safe
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and repeat maltreatment has been steadily declining in West Virginia. There are 40
Partners in Prevention community teams in West Virginia who provide services to
vulnerable children and their families.

2015 Updates

The state has focused most of its resources in the last year on services to children under
the age of one. As stated earlier, this demographic represents West Virginia’s largest
population of child fatalities, almost always due to co-sleeping and substance abuse.

The West Virginia Department of Health and Human Resources has convened of team
leadership from both the Bureau for Children and Families as well as The Bureau of
Health and Health Facilities to begin the process of modeling the Sobriety Treatment and
Recovery Team (START) program implemented in Kentucky. We plan to implement two
sites in Regions I and IV. The START program is an intensive intervention model for
substance abusing parents and families involved with the child welfare system. The
program integrates addiction and recovery services, family preservation, community
partnerships and best practices in child welfare and substance use disorder treatment. It
will provide substance abusing parents and families involved with the child welfare system
a Family Team including a Mentor who has at least three years of sobriety and previous
involvement with CPS.

West Virginia has also developed a Safe Sleep flier for workers to hand out to any families
with newborns. This flier describes the hazards of co-sleeping and gives parents
information on healthy, accepted safe sleep arrangements. The Department of Health
and Human Services has also placed an emphasis on training for both new and tenured
workers on assuring safe sleep in any referrals that involve newborns.

Safe Sleep is a topic of discussion at every Supervisor and Leadership meeting as well
as a training topic for law enforcement as well as other Bureaus within the West Virginia
Department of Health and Human Resources.

Training has been developed and will be rolled out in the fall of 2015 based on trends that
have been seen in our critical incident reviews. Training will focus on adequately
assessing substance abuse in the homes, assessing children under the age of three and
adequate safety planning.

2016 Updates



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To clear up confusion regarding the CAPTA requirement of a plan of safe care for infants
born drug exposed, the Bureau for Children and Families revised Child Protective
Services Policy, the Department has changed the response time for infants born drug or
alcohol exposed to immediate.

A new definition of immediate was added which says CPS Social Worker must respond
as soon as the report of abuse or neglect is received unless there is a protective caregiver.
If there is a protective caregiver clearly documented in the report, contact must be made
within the same day while the child is still under the care of that protective caregiver.

The Department developed and implemented new training on critical incidents and
appropriate safety planning training.

The population at Greatest Risk in West Virginia continues to be our 0 to 1 year olds.




The chart below gives specific data regarding our maltreatment findings.




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West Virginia completed research on the Sobriety Treatment and Recovery Teams
(START) Program modelled after Kentucky’s program, to develop services to assist
families with vulnerable infants and young children affected by parental substance use.
This project is in its infancy now. The following is a list of activities and timelines
associated with the research needed to move forward.

October 2015 -BCF & BHHF begin joint investigative meetings;

November 2015 -BCF Deputies for Field Operations tasked with START initiative for BCF
and conduct a literature review, as the BCF internal team was formed;

December 2015 –Joint Bureau’s Team meets and established goals of the project;

January 2016 - Talking Points and formal goals were developed; The position description
process was developed to establish the Director /Manager and Coordinator roles which
go to Division of Personnel for review and approval; BCF internal Team has conference
call with Kentucky START Team; Positions identified to use for the Program Director or
Manger & the Program Coordinator; WV-BCF START Organizational Chart developed;
Received several “chapters” from Kentucky START program manual for use in developing
a START program. Kentucky reports that not all chapters are available yet; BCF and
BHHF explore options regarding hiring of peer mentors; BCF considers budget options
for year three of START, possibly using TANF. Years one and two have dedicated funding
through BHHF.

February 2016 - BCF connects with the director of WV Perinatal Partnership as a possible
resource for peer mentors. West Virginia Perinatal Partnership, in turn, attempts to
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connect with Kentucky START providers to get further information regarding how peer
mentors are used; BHHF attempts to clarify roles and responsibilities between bureaus,
as well as those in relation to provider agencies that may be used to support the peer
mentors; The WV Division of Personnel (DOP) determines proper allocation of the START
Coordinator Position and BCF Human Resources Director is to post the position; BCF
Deputy Commissioner, Training Director and CPS Policy Specialist attend START 101
training in Kentucky.

March 2016 – West Virginia DOP determines proper allocation of the START Director
/Manager Position;

April 2016- The Bureau for Children and Families places START development on hold
while BCF evaluates other options such as the use of Recovery Coaches.

Pediatric Recovery Center

West Virginia’s first “Pediatric Recovery Center”, Lily’s Place provides residential
treatment for infants suffering from neonatal abstinence syndrome (NAS). Infants placed
at Lily’s Place may or may not be in the custody of the DHHR. The facility has developed
contracts with the Managed Care Organizations in West Virginia, so they can provide
services to infants who remain in the custody of their parent(s).

Since opening the doors at Lily’s Place, infants exposed to cocaine, opiates,
methamphetamines, prescription drugs, benzodiazepines and psychotropic drugs have
been admitted for treatment. West Virginia has seen an increase in the births of infants
who have been exposed to drugs. While most communities average 7 babies per 1000
births with drug exposure, the Cabell Huntington community has seen 137 babies per
1000 births with drug exposure in the past year.

During an infant’s treatment at Lily’s Place, parental involvement is required. The
biological parents are provided with an addictions counselor, who assists them with their
own substance abuse treatment issues. Lily’s Place provides education and training to
biological parents, foster parents, and relative caretakers so they will be prepared to
provide care for the infant’s special needs after the infant is discharged. This treatment,
education and training will assist in the reduction of repeat maltreatment, including child
fatalities, and minimizes placement disruptions that would have occurred without
treatment, education and training to ameliorate the symptoms of NAS.

The facility has monthly follow up clinics for the infants that discharge from their program.
The infants are scheduled to attend a clinic on average every 3 months. The clinic doctor

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will see an infant more often, if there are any concerns found. They did not have specific
participation rates but indicate that they do have a very high rate of participation. At the
last clinic, they had 20 infants in attendance. The facility also has a social worker, who is
employed through the mental health agency, Prestera. She does follow up home visits
with families and checks on the infant’s care and progress. They have continued to follow
up with infants that were in their program from the day of opening.

Data on Infants Served

Lily’s Place began accepting infants for placement in early October 2014. Below is the
data for the infants served, discharged and discharge placement:

       October 1, 2014 to September 30, 2015

             57 infants admitted for treatment
             4 weeks was the average length of stay for an infant
             47 infants discharged
                 o 22 discharged to parent(s)
                 o 9 discharged to relative caretaker
                 o 16 discharged to foster care

       October 1, 2015 to April 15, 2016

             43 infants admitted for treatment
             4 weeks was the average length of stay for an infant
             47 infants discharged
                 o 32 discharged to parent(s)
                 o 4 discharged to relative caretaker
                 o 11 discharged to foster care

2017 Update




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West Virginia’s population at greatest risk continues to be our 0 -1-year-old. Again, this is
due to the states drug epidemic.

2018 Update




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Children under the age of one continue to be the target population at greatest risk for
maltreatment. The ongoing opioid epidemic greatly contributes to this number.

Services for children under the age of one have been a focus. Services continue to
include education, early prevention, research, and advocacy. Neonatal exposure
treatment, Medication Assisted Treatment for Drug Affected Infants, and increased home
visitation programs have also been a focus for the Department.

West Virginia was awarded the Regional Partnership Grant (RPG) for Cabell, Wayne, and
Lincoln Counties. RPG will serve children that are involved with Child Protective Services
due to substance abuse. The grant will provide a wrap-around approach for the service
delivery. The population will be ages 0-12. Marshall University, Prestera Center, and
Children’s home Society has partnered with the Department to provide these services.
The referral for these services originate within the Bureau for Children and Families.




Lily’s Place began accepting infants for placement in early October 2014. Below is the
data for the infants served, discharged and discharge placement, with updated data for
FFY 2016 and for data for FFY 2017, up to May1, 2017:

      October 1, 2014 to September 30, 2015
                                           501




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             57 infants admitted for treatment
             4 weeks was the average length of stay for an infant
             47 infants discharged
                 o 22 discharged to parent(s)
                 o 9 discharged to relative caretaker
                 o 16 discharged to foster care
       October 1, 2015 to September 30, 2016

            77 infants admitted for treatment
            4.9 weeks was the average length of stay for an infant
            72 infants discharged
                o 50 discharged to parent(s)
                o 21 discharged to relative caretaker
                o 6 discharged to foster care
       October 1, 2016 to May 1, 2017

             36 infants admitted for treatment
             4.9 weeks was the average length of stay for an infant
             32 infants discharged
                 o 21 discharged to parents
                 o 5 discharged to relative caretaker
                 o 6 discharged to foster care

2018 Update

       October 1, 2016 through September 2017
           59 admitted for treatment
           41 days was the average length of stay
           31 discharged to parents
           10 discharged to relatives
           19 discharged to foster care

Lily’s Place continues to provide monthly follow up clinics for infants who discharge from
their facility. The follow up rate of the infants who attend the follow up clinics is currently
at 59%.

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Community Services and Outreach

Lily’s Place provides community services and outreach for several counties in West
Virginia. They maintain a “diaper bank”, which supplies selected food and clothing
pantries in the Tri-State area with emergency diapers to serve the needy families in the
community. The facility provides community education on substance abuse issues,
education and training for families caring for NAS infants and referral services for families
in need of another type of service in the community.

To educate the community and surrounding counties on their unique services, they have
done outreach to several county DHHR offices, county court systems, prosecutors and
judges over the past year. They provided presentations on the program for staff in the
following DHHR County offices: Kanawha, Cabell, Mason, Boone, Lincoln, Putnam, and
Wayne. They sent packets of information concerning their program and held meetings
with the judges, to the following county courts: Cabell, Wayne, Putnam, Lincoln, Logan,
Mingo, and Mason. They sent packets of information concerning their program to the
following county prosecuting attorney: Davitan (Wirt), Johnson (Calhoun), Skeen
(Jackson), Downey (Roane), Samples (Clay), Milam (Nicholas), Tatterson (Mason),
Sorsaia (Putnam), Hammers (Cabell), Plymale (Wayne), Gabehart (Lincoln), Randolph
(Boone), Harris (Fayette), Keller (Raleigh), Mann (Summers), StClair (Monroe), Ash
(Mercer), Kornish (McDowell), Cochrane (Wyoming), Bennett (Logan), Teresa (Mingo),
and Rocky (Kanawha).

2017 Update

Substance-Exposed Infants and Their Families workgroup has been organized and
include the Bureau for Children and Families, Bureau for Health and Health Facilities, and
Bureau for Public Health. This workgroup is developing a multi-agency response to
families affected by substance use. It’s apparent that all the bureaus are duplicating
services in working with the same families. The group is trying to develop a protocol to
determine which bureau best meets the needs of the family and develop an assessment
tool that will identify this. A map will be created that will show both child fatalities and drug
affected infants by county. This will allow us to the information necessary to target specific
areas and/or counties in need of services. Working with hospitals and birthing centers
regarding reporting drug affected infants is one step in identifying service need. The goal
is to target limited resources affectively. The group is attempting to identify resources,
including gaps and duplication, and using “Policy and Practice Framework 5 Points of
Intervention Goals” that include:

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Pre-pregnancy:

WV Perinatal Partnership is developing an informational brochure that discusses effects
of drugs and other substances in pregnancy. It includes information on effects on fetus
and on newborn.

WV Perinatal Partnership piloted a comprehensive women’s health program to Day
Report programs in 2015. The evidence-based curriculum that the program was based
on (“Time out for Me” developed by TCU’s Institute of Behavior Research) was shared
with Judge Keller in Cabell County. As part of the health education, they emphasize
reproductive health and effective contraception. Ideally, the program helps facilitate
access to long acting reversible contraception (LARC) and other family planning services.
They’ve proposed expanding the program to women of childbearing age who are at-risk
for giving birth to substance exposed infant, including those in substance abuse
treatment, judicial system for drug related charges and those who are identified as having
previously given birth to an affected infant.

Prenatal - Screening and Assessment

The Prenatal Risk Screening Instrument is required to be completed at the initial prenatal
visit for all pregnant women in the state. Questions include the 4Ps on substance use to
screen for risk: patient’s history of use; patient’s previous use; parents’ use, and partner’s
use.

Many obstetrical providers in WV also conduct urine drug screen at the initial prenatal
visit – some are universally done as part of lab workup; others may do it if patient is
determined to be at-risk.

The Drug Free Moms and Babies pilot project sites are required to provide SBIRT
(screening, brief intervention, and referral for treatment). The pilot project sites are
located at Shenandoah Valley Medical Systems (Martinsburg), Thomas Memorial
Hospital (South Charleston), Greenbrier Physicians (Ronceverte, outside of Lewisburg),
and WVU (Morgantown). Wheeling Hospital and Weirton Medical Center have recently
added programs.

Identification at Birth



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Most delivery hospitals have a policy in place for conducting urine drug screens upon
admission to Labor & Delivery – either on every admission or if mom meets certain
criteria. (WV Perinatal Partnership is currently conducting a statewide survey to get most
current information on testing of moms and babies at the hospital). Confirmation of
newborn’s exposure is done by testing umbilical cord tissue, meconium or urine. (Policies
vary by hospital and even sometimes within hospital by pediatricians.)

West Virginia Perinatal Partnership developed a standardized definition for diagnosing
neonatal abstinence syndrome (NAS). All delivery hospitals have been trained on using
this criterion. Training included the American Academy of Pediatrics’ screening
recommendations, NAS definition, medical coding on intrauterine exposure and NAS, etc.
West Virginia Perinatal Partnership has provided (and continues to offer) training to
nurses on assessing the signs and symptoms of neonatal withdrawal to improve
consistency and accuracy. The Partnership also worked with OMCFH to have
intrauterine exposure and NAS surveillance questions added to Birth Score data
collection tool.

Enhanced Prenatal and Post-Partum Services:

The Drug Free Moms and Babies program follows women for up to two years postpartum.
Marshall University’s Maternal Addiction Recovery Center (MARC) provides Medication
Assisted Therapy (MAT) and addiction counseling in their high-risk OB clinic. FamilyCare
Health Center (in Charleston area) also provides services to pregnant women. CAMC
also has a program. (Post-partum services are limited.)

Infancy and Beyond:

The Drug Free Moms and Babies programs follow families for up to two years and help
link families to home visitation programs, Birth to Three, and other services for infants.

A spinoff group of the Substance-Exposed Infants and Their Families workgroup has also
been organized focusing on families with substance use disorders interacting with the
Bureau for Children and Families (BCF), with these goals:

•      Engaging mothers and families in supportive ways;

•      Developing consistent referral protocols across systems;


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•      Identifying appropriate treatment services and any gaps, especially for pregnant
       women and substance-exposed infants; and

•      Workforce training on evidence-based addiction treatment, including medication-
       assisted treatment (MAT).

Healthy Connections

Healthy Connections is a collaborative community response to the treatment of mothers
struggling with addiction and the well-being of their families. It undertakes the challenge
of finding solutions to our region’s high rate of neonatal abstinence syndrome, substance
abuse, and the resulting consequences for child development and family stability by better
integrating the existing programs and services in the community and building upon them.
It seeks to increase inter-agency efficiency through research, education, and
collaboration for patients, students, and providers. Participating agencies are committed
to utilizing and improving upon evidence-based practices. West Virginia Office of
Technology consists of over 20 community organizations including representatives from
the City of Huntington, the Department of Health and Human Resources, several
departments from Marshall University, Marshall Health and Cabell Huntington Hospital.
The Healthy Connections Coalition partners with the Marshall University Substance
Abuse Coalition to provide a solution to the effects of opiate addiction in our region.

Treatment and Intervention

Support Services will include case navigators and peer recovery coaches.

Treatment of Prenatal Exposure

One in five babies born in Cabell Huntington Hospital (CHH) have been prenatally
exposed to drugs. The Neonatal Therapeutic Unit in CHH and Lily’s Place are uniquely
equipped to provide the best and most innovative care to these newborns. Babies receive
treatment in a quiet environment with therapeutic handling, with a volume driven feeding
protocol, medicine to manage withdrawal symptoms if necessary, and general medical
care. Parents are educated about the needs of their infant and available transition
services.

Medication Assisted Treatment Programs

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Medication assisted treatment (MAT) programs have been established as best practice
for the treatment of opiate addition by the American Society of Addiction Medicine (ASAM)
and the Substance Abuse and Mental Health Services Administration (SAMHSA). All
participating MAT programs in the Healthy Connections coalition are committed to ASAM
and SAMSHA best practice guidelines and adhere to requirements of the West Virginia
Office of Health Facility Licensure & Certification. MAT includes medication management,
group and individual therapy, education, and peer support groups. Psychosocial
treatment focuses on helping mothers understand, learn, and practice living a drug free
life by improving emotion regulation, decision making skills, and the ability to engage in
healthy goal directed behavior.

Enterprise Child Development Center
Through a partnership with River Valley Child Development, Healthy Connections
proposes to establish birth-to-two child-care services for infants with neonatal exposure.
Staff will maintain best-practices to improve the development of these infants, integrate
Marshall students into training and research programs, and then disseminate best-
practices and research outcomes around the state. By housing the daycare and other
services in the same location, we aim to remove the transportation barrier and improve
retention in the programs. This center will also be a location for the community to come
together and support these families by providing a “one-stop-shop” for families and
providers by reducing common barriers to treatment and improving service retention.

Services will include: Evidence based care-giver/child dyadic therapies addressing
attachment, trauma, and substance abuse; Individual, Couple, and Family therapy;
Recovery Groups; Community engagement services: GRE/education, legal services,
vocational training, nutrition and cooking classes, exercise, gardening, support groups
and skill building, organized fun social activities, education and resources related to child
development.

Education

Healthy Connections’ strategic plan includes a strong three-fold focus on education. First,
mothers who struggle with opiate addiction are educated about addiction, treatment
rationale, local resources and the effects of drug exposure on their children. They are
also educated about treatment options and interventions that may alleviate the adverse
results of drug addiction. Second, the community and professionals will be educated
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about the biopsychosocial aspects of addiction and treatment related to Neonatal
Abstinence Syndrome (NAS), the long-term effects of drug exposure, and the resulting
challenges in the development of a secure attachment with caregivers. Third, Healthy
Connections is committed to researching all aspects of this complex problem. Both the
research process and resulting outcomes will educate students and scholars, develop
local specialized providers, establish Healthy Connections and Marshall as a center of
excellence in the treatment of this substance abuse, ensure the highest quality of
treatment, and provide guidance to other communities who may struggle with similar
concerns.

The Healthy Connections will engage Marshall students, from a variety of disciplines.
They will be provided hands-on training opportunities to learn from professionals and
experts in the field while engaging first-hand with struggling families. This approach will
have a twofold benefit: one, students will become invested in the community, which will
reduce the stigma associated with substance abuse as they build empathy by working
with these families; second, this approach will reduce the mental health shortage as
students will be trained as the next group of experts on best-practices, innovative
research, and community collaboration.

Prevention

Treating the negative effects of addiction are much harder and far costlier than providing
prevention services in advance. Many groups are working to provide preventative
services, and Healthy Connections is supporting collaborations between these groups to
support their outreach. Prevention of neonatal exposure includes partnering with other
groups within the Marshall Substance Abuse Coalition to support programs such as
VLARC (long-acting birth control education and services), SBIRT screening services for
providers, and drug-education throughout the school system.

Research

Process research, or research that not only seeks to understand the outcomes but rather
understand the change mechanisms that occur throughout the entire process, is an
essential part of the Health Connections objectives. Huntington currently imports its best
practices from other communities who are not experiencing even half of the substance
use epidemic and neonatal exposure rates. It is time for Huntington to take the lead and

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conduct research from pre-conception through the lifespan on infants and individuals who
are substance use exposed. The systemic framework that Health Connections is working
within will make this uniquely possible. We will be able to determine effective education
and prevention efforts, potential differences in infants and mothers who experience
different withdrawal symptoms, and identify interventions that are most effective for
infants, toddlers, and school-age children with NAS. The outcomes of the research in
Huntington can propel the nation towards fiscally responsible, truly-effective
interventions, to stop the intergenerational effects of the substance use disorder
epidemic.

Advocacy

Lily’s Place advocated and supported a Bill that was introduced in the West Virginia
Legislature in 2015, which would establish rules for Neonatal Abstinence Centers in the
State. The bill passed during the 2015 Legislative Session. During the Legislative Session
in 2016, the rules were passed for Neonatal Abstinence Centers and are effective now.
The new rules will now allow for the development of other Neonatal Abstinence Centers
across the State.

Our Babies: Safe & Sound (co-funded with OMCFH and Benedum)
With support from the Bureau for Children and Families, Office of Maternal, Child and
Family Health (OMCFH) and the Claude Worthington Benedum Foundation, we had a
very successful quarter promoting infant safe sleep and efforts to prevent Shaken Baby
Syndrome.
Highlights from the quarter include the following:

      Recruitment and expansion of hospital and home visitation partners for 2016 was
       a key focus for this quarter, resulting in 5 new hospital partners agreeing to join the
       program, including: Grant Memorial Hospital, Logan Regional Medical Center,
       Mon General Hospital, Weirton Medical Center, and WVU Medicine Children’s
       Hospital. With the addition of these five hospitals, the program will be reaching
       81% of West Virginia’s birthing population. Activities related to outreach and
       recruitment included:
       o Introductory and outreach calls and emails
       o A briefing session with potential new hospitals in conjunction with the WV
         Perinatal Partnership Summit held on November 5-6, 2015;
       o Follow-up correspondence and hosting of an orientation call and follow-up calls
         and visits with potential new sites;

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             o Development of revised participation agreements and overview materials;
             o Identification of corresponding home visitation programs through WV Birth
               Score data and planning calls with Partners in Community Outreach;

         Partnered with the WV Perinatal Partnership, the Office of the First Lady, and Cribs
          for Kids to co-host hospital safe sleep awards at the Governor’s Mansion on
          November 5, 2015. Five hospitals received Say YES To Safe Sleep for Babies
          leadership awards, and 6 hospitals received national safe sleep certification
          awards through Cribs for Kids;
       Planned a plenary session on infant safe sleep at the WV Perinatal Partnership
          Summit. Presented by Dr. Rachel Moon, leading infant safe sleep expert and
          researcher, the presentation, Infant Safe Sleep: What Parents Believe, was well
          received;
       Planned and convened an additional regional training for home visitation staff, The
          ABCs of Infant Safety on October 22nd in Charleston, which was attended by over
          30 participants;
     Made preliminary plans for annual competency training for hospital and home
      visitation partners to be kicked off in March 2016;
     Responded to technical assistance requests from home visitation staff and hospitals
      through regular peer-to-peer calls regarding readiness and implementation of Say
      YES To Safe Sleep, and addressed issues related to infant safety products on the
      market, timing of infant safe sleep audits and assessments, face-to-face education of
      parents, safe sleep education and NAS babies, and data collection;
     Finalized the new Say YES to Safe Sleep and Keep Your Cool PSAs;
     Responded to over 34 requests for educational materials (25,240 pieces of materials)
      for distribution to families this quarter;
     Made preliminary plans to revise portions of the safe sleep DVD;
     Reviewed the first set of quarterly benchmark data submitted by hospitals and home
      visitation partners on a trial basis. Collected copies of hospitals’ and home visitation
      programs’ safe sleep policies as well as forms used for nursery audits and in-home
      assessments to monitor practices;
     Convened meetings with partner organizations: WV Child Fatality Review Team, Birth-
      To-Three, and Right From the Start, to outline future directions; and
     Worked on sustainability plans and proposed ideas for private foundation funding, and
      development of staff operational plans.




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Services for Children under the Age of Five

                     Abuse and Neglect Victims by Age
 800
 700
 600
 500
 400
 300
 200
 100
   0




WV has requested and is receiving technical assistance from the NRC for Diligent
Recruitment to aid in our issue of addressing completing timely Homestudies on
kinship/relative homes as well as processing and certifying inquiries for foster and
adoptive parents. This will enable us to have a wider selection of available homes for
children who come into foster care and will improve our matching abilities.

Also, during the last legislative session, a bill was passed relating to neonatal abstinence
centers; authorizing neonatal abstinence centers; requiring the Secretary of the West
Virginia Department of Health and Human Resources to establish rules to set minimum
standards of operation for neonatal abstinence centers. It also required the state agency
to consider neonatal abstinence care as a unique service.

Update:

West Virginia has placed a focus on moving children out of foster care for several years.
This focus has worked extremely well for younger children. Most are either returned home
within 12 months of removal or find permanent homes within 12 months of termination of
parental rights, usually adoption by foster parents or relatives.




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                    Children Where Termination of Parental Rights Occurred Within 24 Months by Age

                                  300
                                  250
Axis Title




                                  200
                                  150
                                  100
                                   50
                                    0
                                                                                                13 - 17
                                           Under 1   1 - 4 Years   5 - 8 Years   9 - 12 Years
                                                                                                 Years
             Adoption                        30         277           145            106          69
             Emancipation                    0           0             0              0           7
             Guardianship                    0           2             0              6           19
             Live with other relative(s)     0           4             5              2           8
             Long-term foster care           0           1             0              1           2
             Reunification                   5           73            42            23           20
             No Case Plan                    0           0             1              0           0




West Virginia has recently made the decision to handle all inquiries from prospective
foster parents through our existing grant with Mission WV. Mission WV will receive all
calls from citizens interested in becoming foster parents and will help guide those
inquirers to private Specialized Foster Care agencies. This will enable Department
workers to focus their attention on completing kinship/relative studies timelier as well as
allowing the private sector to focus more attention on recruitment of resource homes.

West Virginia will be refocusing their training and technical assistance from the NRC for
Diligent Recruitment towards the private providers.

2016 Update

West Virginia START

West Virginia completed research on the Sobriety Treatment and Recovery Teams
(START) Program modelled after Kentucky’s program, to develop services to assist
families with vulnerable infants and young children affected by parental substance use.


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This project is in its infancy now. The following is a list of activities and timelines
associated with the research needed to move forward.

October 2015 -BCF & BHHF begin joint investigative meetings;

November 2015 -BCF Deputies for Field Operations tasked with START initiative for BCF
and conduct a literature review, as the BCF internal team was formed;

December 2015 –Joint Bureau’s Team meets and established goals of the project;

January 2016 - Talking Points and formal goals were developed; The position description
process was developed to establish the Director /Manager and Coordinator roles which
go to Division of Personnel for review and approval; BCF internal Team has conference
call with Kentucky START Team; Positions identified to use for the Program Director or
Manger & the Program Coordinator; WV-BCF START Organizational Chart developed;
Received several “chapters” from Kentucky START program manual for use in developing
a START program. Kentucky reports that not all chapters are available yet; BCF and
BHHF explore options regarding hiring of peer mentors; BCF considers budget options
for year three of START, possibly using TANF. Years one and two have dedicated funding
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February 2016 - BCF connects with the director of WV Perinatal Partnership as a possible
resource for peer mentors. West Virginia Perinatal Partnership, in turn, attempts to
connect with Kentucky START providers to get further information regarding how peer
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mentors; The WV Division of Personnel (DOP) determines proper allocation of the START
Coordinator Position and BCF Human Resources Director is to post the position; BCF
Deputy Commissioner, Training Director and CPS Policy Specialist attend START 101
training in Kentucky.

March 2016 – West Virginia DOP determines proper allocation of the START Director
/Manager Position;

April 2016- The Bureau for Children and Families places START development on hold
while BCF evaluates other options such as the use of Recovery Coaches.

The Division of Early Care and Education serves children under the age of five through
programs supported with the Child Care and Development Block Grant (CCDBG),
Community Based Child Abuse Prevention (CBCAP) funds, and federal Head Start

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through the State Collaboration Grant. The Division works with the child welfare system
to offer a supportive continuum of services for West Virginia’s most vulnerable population,
our young children. Through training and technical assistance regarding understanding
of early childhood socio-emotional development as well as the need for family
engagement, all West Virginia’s early childhood programs are being supported regarding
the effects of trauma and poverty. Programs are learning to effectively support children
and families who might have been impacted by either factor or are at risk for involvement
with child protective services. The increased focus on a two-generation approach helps
guide the work from the CCDBG and CBCAP programs and creates linkages with Head
Start to support vulnerable children and their families.

Children in the foster care system in West Virginia are categorically eligible for Early Head
Start and Head Start Services. These services include case management, mental health
support and home visiting in addition to early childhood education. Child care subsidies
have been available to foster families to support their child care needs without regard to
income.      The recent provision of federal funding to Early Head Start/Child Care
Partnerships has increased the opportunities for families to receive Early Head Start
Services, including family engagement, in settings that previously had limited capability
of supporting vulnerable families. Now, child care programs can implement Head Start
Standards in their infant and toddler classrooms, increasing access to the supports that
families eligible for Head Start services typically receive. The current number of
infant/toddler child care slots that are receiving funding in West Virginia is 175.

West Virginia leads the nation in children involved in state funded preschool services.
West Virginia has implemented a strong collaboration with the Department of Education,
child care programs and Head Start Programs. This collaboration has evolved over the
last decade and a half to create a Universal Pre-K program that meets outstanding criteria
for service. All West Virginia four-year-old’s and three-year-old’s with special needs are
eligible for these programs which provide early childhood education to prepare children
to be ready for Kindergarten.

Through West Virginia’s Early Childhood Advisory Committee, the Division of Early Care
and Education as well as the Division of Children and Adult Services, work with partners
in the early childhood system to ensure a supportive continuum of services for all West
Virginia’s children. One example of this work is the Family Engagement Committee. This
committee has begun work to crosswalk the Head Start Parent, Family and Community
Engagement Framework with the Five Protective Factors from Strengthening Families
and work to integrate the principles into all early childhood settings. Starting Points Family
Resource Centers, child care providers, Head Start agencies, home visitation programs,


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early intervention service providers, pediatricians, as well as state level government
representatives and advocates comprise this group.

In West Virginia, enrollment was 16,622, down by 212 children in 2014-2015. However,
the state serves 70 percent of 4-year-olds in the state and ranks 5th in the nation in access
for 4-year-olds. West Virginia also saw gains in terms of quality standards – meeting all
10 of NIEER’s minimum quality standards benchmarks with the new requirement for
assistant teachers to have at least a Child Development Associate credential. Only 5
other states meet all 10. The passage of SB 146 (2016) helps move West Virginia forward
in the provision of equitable services for all children, serving as a model for other states
by requiring a minimum of 25 hours of weekly instruction.

Birth to Three services

West Virginia does capture referral source information for all children referred to WV Birth
to Three. Previously, the system only captured the primary referral source. If a child was
already receiving Birth to Three services and was referred by another referral source,
(which could have been the case with a mandatory referral under CAPTA) the data
system would not have captured that second referral. As of 2016 the data system was
enhanced to capture later referrals for an active child. In the future, West Virginia will have
better data for all CAPTA referrals.

Our local system points of entry grantees (Regional Administrative Units – RAUs) tries to
determine at referral whether the CPS referral is a CAPTA referral, or Non CAPTA CPS
referral. We have both CPS-CAPTA and CPS Non-CAPTA as referral sources. It is
sometimes difficult for the RAUs to distinguish whether the referral is coming as a CAPTA
referral unless the CPS worker informs them. This data can be broken down by county.




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           CPS - CAPTA        CPS Non-CAPTA


Report period of 5/22/15 - 5/23/16

Right from the Start

At-Risk for Developmental Delays for Calendar years 2012 and 2013

The 2012 Annual Report indicated the following findings;

309 (1.6%) infants scored were at-risk for developmental delay
60 (2.2%) of those at-risk for developmental delay were out of state residents

The 2013 Annual Report indicated the following findings;

307 (1.4%) infants scored were at-risk for developmental delay

68 (2.4%) of those at-risk for developmental delay were out of state residents

Information and statistics about West Virginia’s Right from the Start Program can be found
at http://www.wvdhhr.org/rfts/

2017 Update

Report period is 4/1/2016 - 6/7/17




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           CPS - CAPTA        CPS Non-CAPTA


2018 Update

The U.S. Department of Health and Human Services Administration for Children and
Families has awarded $3 million over a five-year period for a joint project of the West
Virginia Department of Health and Human Resources (DHHR), Prestera Center, Marshall
University and the Children’s Home Society to help families and children affected by
substance use.

Prestera Center in Huntington will administer the federal funding to support the West
Virginia Regional Partnership for Children and Families Impacted by Substance
Abuse. The grant will serve 200 children and their families in Lincoln, Cabell and Wayne
counties with increased family therapy and intensive care coordination. The funding will
allow families to receive wraparound services, an innovative approach used by DHHR’s
Bureau for Children and Families that recognizes the impact of trauma and engages
families in planning for services to address complex needs.

In addition to guiding the program’s use of the wraparound model, DHHR’s Bureau for
Children and Families will provide referrals for program participation and team support for
the families and agencies. DHHR’s Bureau for Behavioral Health and Health Facilities will
provide technical assistance and support for the workforce.

Children and their families will be served by Prestera (up to age 12), Marshall University
(up to age 5) and the Children’s Home Society (ages 5 to 12). Individualized services for
members of the family will include intensive case management, needed concrete
supports (i.e., transportation), and behavioral health support, assessment and treatment.


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Maternal Infant Health Outreach Workers (MIHOW) Program offers home based visitation
services to improve family health, positive parenting practices early childhood
development, and positive birth outcomes.

Parents as Teachers is available to help educate parents to improve child development
from birth. The program uses evidenced-based curriculum to deliver the services.

Healthy Families America is another evidenced-based home visitation program utilized in
West Virginia. The goal of this program is to promote healthy childhood development and
improve parent-child relationships. The program also assists families who have histories
of substance abuse and domestic violence.

Healthy Start/Helping Appalachian Parents and Infants (HAPI) Project is a federal project
in eight counties I northern West Virginia. The project works collectively with existing
systems to provide comprehensive services. Services include oral health education,
increased access to health services, risk assessments for substance abuse and
depression. Core services are provided by local Right from the Start Care Coordinators.

Save the Children began its new initiative, Early Steps to School Success (ESSS). ESSS
provides education services to children under the age of five, supports
parents/caregivers, and ongoing training to community educators. The program helps
with language, social and emotional development.

Services for Children Adopted from Other Countries

Children and Adult Services has recommended to the Executive Leadership team within
the Bureau for Children and Families to contract all post-adoptive services in the state.
The Department of Health and Human Resources has approved a recommendation to
contract all post-adoptive services in the state of West Virginia and to remove them from
Socially Necessary Services. As part of the contract, the contractor will provide post-
adoptive services to all post adoptees, including international and private adoptions and
their families statewide.

The Department of Health and Human Resources completed a survey of all foster and
adoptive parents of both Department of Health and Human Resources and private
adoption agencies to determine the services that are needed. The following services
were identified and will be required as part of the contract:


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          Provide all adoption competent services needed for a family within the contract
           funding.
          Provide case management for all services, including appropriate Medicaid
           funded services, ensuring they are adoption competent providers.
          Ensure that all providers of services are adoption-competent trained and
           certified.
          Increase the number of post-adoption providers of service that are adoption
           competent.
          Maintain a toll-free 24-7 warm-line.
          Develop resources for information dissemination, including regular newsletters
           providing topic-specific information.
          Training specific to child needs for both the providers and adoptive parents.
          Remove all post-adoption services from socially necessary services and make
           them a requirement of the contract.
          Aid adoptive families navigating the special education system.

As part of the recommendation we have identified the following outcomes:

          Reduce the number of adoption disruptions, including international adoptions.
          Reduce the number of children entering or re-entering foster care.
          Reduce the number of exploited children by preventing the inappropriate re-
           homing or abandonment of youth.
          Increase the number of adoption-competent providers statewide.
          Reduce the number of children entering PRTF level facilities both in-state and
           out of state.

We will continue to work with our SACWIS system to collect data on disrupted adoptions,
including international adoptions. We do have a mechanism in our SACWIS system to
collect the data but need to continue to educate staff on the importance of this data. There
are discussions with FACTS to make this information mandatory, so we can begin
collecting reliable data on both domestic and international adoption
disruptions/dissolutions. In the interim, a memo will be distributed by November 1, 2015
reminding field staff of the importance of completing this ‘pop-up’ box. A request has been
made to the Adoption/Homefinding Child Welfare Consultants (CWCs) for a hand count
of any international adoption disruption/dissolutions. Once our Contract for post-adoptive
services is operational, we will also be able to gather data on disrupted adoptions from
the monthly reports.

2016 Update

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West Virginia had no children adopted from other countries placed in state’s custody in
FFY 2015.

2017 Update

West Virginia had no children adopted from other countries placed in state’s custody in
FFY 2016.

2018 Update

West Virginia had one child, adopted from Russia, who was placed in foster care in this
state.

5. Program Support

West Virginia is receiving Training and Technical assistance from the National Center for
Diligent Recruitment to develop a plan for recruitment and retention of foster families.
There have been two on-site visits with the NRC-DR, both for two days each. There have
been multiple phone calls with the NRC and at least one more on-site visit is planned.
The goals of the plan include:

   •      A comprehensive system assessment of issues effecting WV recruitment and
          retention efforts of foster/adoptive families.
   •      Assess the training and preparation of foster/adoptive families and determine
          if it meets the high needs of our youth in care particularly the older youth and
          sibling groups and children with very high needs.
   •      Assess the customer service provided to new and existing foster/adoptive
          families.
   •      Because of the comprehensive statewide assessments, develop a recruitment
          and retention plan to ensure the state has a sufficient pool of qualified
          foster/adoptive families that can meet the needs of the children coming into
          care as well as to sufficiently support the IV-E Waiver “Safe at Home WV” and
          its goal of reducing the use of congregate care both in and out of state.
   •      West Virginia Bureau for Children and Families has been working with the
          Capacity Building Center for States. We have completed our assessment, met
          to prioritize our needs and activities, and a plan is being developed to
          addresses the identified needs. The Primary focus on technical assistance will
          be activities that support Safe at Home West Virginia.



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West Virginia will also have an independent evaluator with our Safe at Home Title IV-E
Waiver Demonstration Project that will focus analysis of data on:

•     Number of youth placed in congregate care
•     Length of stay in congregate care
•     Number of youth remaining in their home communities
•     Rates of initial foster care entry
•     Number of youth re-entering any form of foster care
•     Youth safety (e.g., rates of maltreatment and recidivism
•     Well-being of youth
•     Educational achievement (e.g., number/proportion of youth graduating high
      school)
•     Educational stability (e.g., number/proportion of youth remaining in the same
      school throughout BCF involvement
•     Family Functioning

As part of implementation of Safe at Home West Virginia began has begun to work with
our independent evaluator, system upgrades to West Virginia’s SAWCIS are being
developed. Changes and modifications to West Virginia’s CQI process will be made to
better facilitate evaluation and fidelity of Safe at Home West Virginia’s Wraparound
model. As part of the design of the Safe at Home West Virginia’s is the creation of a
Wraparound oversight team whose responsibility will be to provide technical assistance,
guidance, and assure fidelity.

2016 Update

DHHR Bureau for Children and Families has forged a decade long partnership with Casey
Family Programs as past WV State DHHR Secretary Joan Ohl, serving as the states
representative. During the period of July 2015 to present, Casey Family Programs has
provided three major project areas for WV.

In September 2015, Tricia Mouser trainer for Strength Based Leadership provided a two-
day course for all managers in child welfare. Workshops around community engagement
for the roll out of Safe at Home were the foundation of the two days. Role playing for
each group of stakeholders associated with Safe at Home were used to help every local
manger know and understand the value of individual conversations outside of group
presentations. BCF has twenty-nine districts serving our fifty-five counties, of those
Community Service Mangers sixteen have two years or less experience as mangers
many without child welfare experience these types of activities assist in leadership
capacity building within the Bureau. On June 1-3, 2016, a follow-up session has been
planned to assist new managers since our fall session to understand the concepts of
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strength-based leadership and then to continue a higher-level workshop concerning
community and stakeholder engagement with all managers in BCF. It is our hope that
these workshops will provide additional assistance as the Bureau continues to work on
our systemic factor for the 2017 CFSR.

In October 2015, Casey provided invitations to stakeholders across the state to hear
presentations about Safe at Home WV at the Embassy Suites in Charleston. The event
brought a specialist in Trauma Based Therapy to the state that Casey and BCF are
currently discussing a fall 2016 training event or spring 2017 in the state. A Virginia Judge
who refuses to use residential providers and a team from this jurisdiction discussed
community-based resources both formal and informal with the group and a specialist on
data collection. The two days were very well received by those who attend by the
department, providers, and a member of court administrative staff. Unfortunately, only
two judges and one legislator attended the meeting. One of the judges took a federal
magistrate job two months later and the second lost his bid for election on May 10th. The
turn out from the judicial and legislative branches of government was disappointing.

Starting in January 2016, ongoing calls and a two-day face to face meeting were
scheduled and completed with Don Winstead of Casey Family Programs to assist both
the DHHR and BCF finance staff with the reporting and daily financial activities
surrounding the Title IV-E Waiver Demonstration Project. The importance of key
accounting, reporting structures, and understanding of the Terms and Conditions were
major themes for the events.

On September 29-30, 2015 BCF held a project launch meeting with the Capacity Building
Center for States. A work group was formed to work with CBCS to leverage existing
reports to enhance the use of data, assess needs and develop reports for the worker and
supervisor levels to enable continuous improvement, create and develop usable
management reports, and enhance the ability of supervisors and management staff to
use and interpret data appropriately to inform decision making. To date a plan has been
finalized and a logic model has been developed.

The following are dates and activities that occurred;
September 29 - 30, 2015 – Capacity Center Meetings with BCF, Deputy
Commissioners for Field Operations select Collaboration with Schools as a
Strategic Goal for Project Planning with Capacity Center
State’s Need Statement: Implementing and sustaining practice changes being tested in
the IV-E Waiver Demonstration Project requires creating an enabling context both
internally and in relationships with key external partners as well as the ongoing use of


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performance management reports to continuously improve practice and reduce the
current over-use of congregate care.

Strategic Goal 3: BCF will leverage Senate Bill 393 to engage community partners in
safely maintaining and supporting youth in their homes and communities. Initial work will
target four counties with high truancy petitions and will eventually inform work statewide.

November 10, 2015- Deputy Commissioners for Field Operations Meet with
Capacity Center. Project Plan developed for Collaboration with Schools.
November – December 2015 Deputies collect data and information regarding
counties for project selection. Selected Counties: Wood in Region I, Cabell in Region
II, Harrison in Region III and Mercer in Region IV
January 5, 2016 Formalized Project Plan received from Capacity Center
January 15, 2016 Deputies for Field meet with Capacity Center discuss selected
counties, develop logic model, set target dates for work plan and discuss evaluation
plans. Also discussed was a concern of potential impact and overlay of SB 393 with this
initiative.
January – February 2016 Deputies collect Truancy Initiatives in process from
across the state. Review of results indicates all initiatives involve court processes.
Deputies receive recommended & subject related literature for review from CC.
February 4, 2016 Deputies convene with CSMs & RD’s from selected counties for
project introduction, review of Truancy Initiative collection results, planning, assignment
of tasks & time frames
February 23, 2016 Deputies have check-in conference call with Capacity Center –
discussed development of MOU’s for this project, WV requests additional information
from CC regarding Seattle WA JJ Demonstration project. Planning for update of logic
model, review of reports and evaluation to include benchmarks for success, discussed
using truancy rates to evaluate model – discussed code change that resulted in redefining
truancy in WV and need to study how BCF policies will change due to SB 393 and impact
this project.
February – April 2016 – selected counties continue to implement work plan for districts,
broiler plate MOU and literature review results done by the BCF group are shared with
the selected counties. One JJ Demonstration Project from Seattle WA (2007) may be a
promising practice type of lead for this WV Strategic goal. Request made to Capacity
Center for additional information regarding this resource. BCF Research will be asked to
help follow up on possible leads to get additional information about the WA program.


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April 12, 2016 – BCF internal Meeting to discuss SB 393 implementation – included
in the discussion is its overlay with the Collaboration with Schools Strategic Goal Project
– Field, Policy, Legal & Training in attendance. Decision made to evaluate status of
selected counties with the Collaboration with Schools Strategy and decide county by
county of the effectiveness of continuing with the collaboration strategy considering the
393 Diversion piece to become effective July 2016.
May 3, 2016 – Field Deputies meet with Capacity Center Lead to revise Logic Model
and Work Plan. Update of the 393 issue and impact to this initiative is discussed. Deputies
will evaluate continuing with this strategy with the team of selected counties and advise
CC of result of that evaluation.
May 12, 2016 Field Deputies meet with CC evaluator, reviewed changes to the Logic
Model, discussed evaluation plan considering extending the time frame for
implementation of the Strategic Goal of Collaboration with Schools until after the July
2016 date for the Diversion section of SB 393. Truancy Tracking will start with revised
reporting in Oct 2016. CC evaluator will revise evaluation plan to reflect these and related
time frame changes
May 12, 2016 – To date two of four project counties have reported in on project
status.
One county – Harrison - reports some progress – although the work was initiated prior to
the task related the strategic planning. Appears the county is building some initiative
related to the 393 Diversion piece and has included some planning for truancy related
cases.
Mercer County is reporting lack of progress but is planning to initiate in coming months.
Wood & Cabell – have not yet reported in. Deputies will be following up.
Target date to evaluate progress and plan next steps for this Strategic Goal – June
2016

West Virginia also worked with our Evaluator, Hornby Zeller Associates, to create
automated WV CANS. All Phase 1 DHHR and Local Coordinating Agency staff have
been trained in the use of the automated WV CANS and have begun entering WV CANS
and subsequent updates. West Virginia has been using the CANS since 2003. It has
been updated to the WV CANS 2.0. WV CANS 2.0 is a revision that fully incorporates
the National Child Traumatic Stress Network Trauma CANS. It adds several modules to
strengthen our current version of the WV CANS which are: juvenile delinquency sub-
module; expectant and parenting sub-module; commercial sexual exploitation youth sub-
module; GLBTQ sub-module; intellectual and developmental disabilities sub-module; 0-5
population sub-module; substance abuse sub-module; fire setting sub-module; transition
to adulthood sub-module; and sexually abusive behavior sub-module.
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In February 2015, WV was approved for Training and Technical Assistance from the
National Resource Center for Diligent Recruitment (NRD-DR). The NRC team came to
West Virginia and began gathering data from staff interviews and data reports. Just as a
plan was about to be developed, Bureau for Children and Families Leadership notified
staff that the Recruitment and Retention of new foster homes was going to be given to
private agencies. BCF staff would continue to develop kinship and relative homes.

A hold was put on the technical assistance in August of 2015 and resumed in late October
2015. Over the next few months, NRC staff as well as a diverse group of BCF staff and
stakeholders met and developed a new plan and process for general foster/adoptive
inquiries.

The Bureau for Children and Families currently is not in need of additional technical
assistance.

2017 Update

With the passage of Senate Bill 393 in 2015, relevant agencies were provided the
opportunity to receive technical assistance from the Crime and Justice Institute (CJI). The
Bureau for Children and Families has worked with CJI to develop policies related to
mandatory pre-petition diversion for all first-time status offending youth and optional
diversion for all non-violent misdemeanant delinquents. Further technical assistance has
been provided to pilot an evidence-based program for aggressive youth called Aggression
Replacement Training (ART). CJI will help to coordinate the training of ART facilitators
and fidelity review monitors within the early months of 2017 year. ART is expected to roll
out with its first cohort in late February, early March of 2017.

The Bureau continues to engage the Capacity Building Center for States to work on
improving the Bureau’s ability to interpret and use data to inform decision making.

In October of 2016 the team completed cataloging the existing system generated reports
and completed both a gap analysis and data quality analysis.

In November of 2016 the Capacity Center held focus groups with Bureau staff to assess
the use of data in managing work activities and to identify reporting needs. The Center
provided a report of their findings to the Bureau in January of 2017.

The Bureau’s data team and consultants from the Center for States identified a list of
users consisting of CQI staff, managers, CSMs, supervisors and frontline staff to engage
with MIS in User Group’s to help identify data needs at various levels and to determine
data analysis priorities.
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Current activities include exploring new resources for building agency capacity for
analyzing and reporting data to all levels of staff with a planned implementation of August
31, 2017.

Tasks included are:

•        Exploring open source reporting tools that will allow the Bureau to create ad hoc
         dash boards and reports viewable at all staff levels.

•     Developing internal capacity through instruction to increase pool of report
developers

•        Develop capacity to access data and develop mechanisms for optimal report
         distribution to all staff levels

•        Development of standards for data collection, data validation and reporting.

The Bureau’s data team with the help of the Capacity Center will develop a training plan
with training and coaching materials on understanding and utilizing reports, using and
interpreting various types of data, and using data in decision making to improve practice
and outcomes. Completion date for this Plan is September 30, 2017.

The Bureau working with the Office of Management Information Systems and with
technical assistance from the Capacity Center will develop a long-term strategy for
creating a culture within the Bureau for using data to support its program of Continuous
Quality Improvement to achieve the desired outcomes for children and families. This
strategy will be from the ideal perspective and will leverage COGNOS to create data
visualizations for use by all levels of management and staff based on the data measures
for federal outcomes.

Recruitment & Retention - WV Bureau for Children and Families began to work in depth
with the Capacity Center in early 2016 around a plan for Staff Recruitment & Retention.
The initial plan involved 7 factors:

    1. Develop a plan to Calculate Turnover

    2. Develop a plan to Calculate Cost of Turnover

    3 and 4. Develop a plan to Diagnose Causes of Turnover and Identify Solutions


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 5 and 7. Develop a plan to Prioritize and Implement Solutions and Adjust Course, as
 Needed

 6. Develop a plan Evaluate Success of Solutions (CQI – Fidelity)




The Capacity Center and BCF continued to work jointly on these efforts through most of
2016. In early 2017 WV BCF, along with a representative from the Capacity Center, met
and reviewed identified causes and tentative solutions. WV BCF selected it’s top four
action items as priorities to address recruitment & retention:

 1. Supervisory Training

 2. Mentoring Workers

 3. Recruitment Planning

 4. Crisis Teams

The WV BCF has established chartered work groups for each action item. All groups are
proceeding with their tasks. Now, the WV BCF is not actively engaged on a routine basis
with the Capacity Center for these action items – however, the Center remains available
to the Bureau as a resource.

The four Regional Social Service Program Managers schedule Regional Social Service
Supervisor meetings at least quarterly with their supervisors in their Regions. These
supervisors include all Child Protective Services Supervisors and all Social Service
Supervisor in Child Welfare and Adult Services. The purpose of these meetings is to
provide update/clarifications on policy, provide information on specific topics related to
children and families, and to discuss any issues concerning social services regarding
Regional or statewide issues.

Region I –
   June 8, 2016
   September 14, 2016
   December 14, 2016
   March 8, 2017

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Region II-
   May 26, 2016
   July 13, 2016
   October 5, 2016
   January 25, 2017
Region III –
   May 24, 2016
   July 27, 2016
   September 21, 2016
   February 9. 2017
Region IV –
   April 26, 2016
   July 26, 2016
   January 20, 2017
   April 21, 2017
Some of the common topics that were presented at the Social Services Supervisors
meetings include the following:
   Our Babies: Safe and Sound – infant Safety Education in WV
   Substance Abuse – Prevention Specialist, Kim Walsh
   Drug Affected Infants
   Safe at Home
   Title IV-E
   Critical Incidents
   Fostering Connections
   Foster Care Candidacy
   Length of Stay for children in Shelters and Residential programs
   Medically Fragile Children
   ROSA
   Youth Services Updates
   Permanency – Adoption/Legal Guardianship/APPLA
   CPS updates
   ICPC – updates/clarifications
   ESSA – Every Student Succeeds ACT
   Diligent Searches
   Kinship/relative homes
   Dispositional Staffing/terminations
   APS updates
   Home finding policy updates

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        Adoption updates

In addition to the Social Services Supervisor meetings, Regional Program Managers
(RPMs) and Child Welfare Consultants (CWCs) will go to specific Districts and provide
training to social service workers and supervisors concerning specific topics.

Between April 2016 and including the present time, the RPMs and CWCs have been
training Districts on “Bridging the Gap” which describes the process for achieving
permanency for our youth. They provide training/information on Permanency Plans,
termination of parental rights, legal guardianship vs. adoption, and best interest. Training
also includes FACTS screens.

Some of the other training provided by RPMs and CWCs include the following: Safety
Planning, Policy refreshers concerning Child Protective Services, Foster Care, and Youth
Services. Documentation, meaningful contacts, present and impending dangers, pre-
division for truancy cases, CANS, Safe at Home.

                              WV RESILIENCE Alliance
Subject: Requested material for APSR Feedback- Training Report 2016-2017



The WV RESILIENCE Alliance resides within the WVDHHR/BCF and has a two-fold
function:
      Promoting RESILIENCE and Reducing Secondary Trauma Among Child Welfare Staff
      Providing an in-person response to any/all staff, unit or Regional Office which has
       experienced a work-related TRAUMATIC EVENT
The following is a summary of WVRA activities from April 1, 2016 thru March 31, 2017

    I.       WV RESILIENCE Alliance Curriculum Delivery in Region IV
TITLE/SESSION                                     DATE                     HOURS

Pre-Intervention/Impact of Trauma on                     5/18/2016                 3.0

Child Welfare Staff and Implementing Resilience

Resilience & Survival Mode                               6/8/2016                  2.0

Reactivity                                               6/8/2016                  2.0

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     Collaboration                                             6/15/2016                 2.0

     Optimism                                                  6/15/2016                 2.0

     Positive Thinking & Self-Talk                             6/21/2016                 2.0

     Reactivity & Optimism in a                                6/21/2016                 2.0

     Staff/Supervisor Interaction

     Mastery                                                   6/29/2016                 2.0

     Self-Care                                                 6/29/2016                 2.0

     Self-Awareness                                    7/13/2016                 2.0

     Self-Awareness & Resilience                               7/13/2016                 2.0

     Self-Reflection                                           7/20/2016                 2.0

     Integrating Resilience into Practice                      7/20/2016                 2.0

     Supervisory Training: Modeling                    9/20/2016                 2.0

     Supervisory Training: Support                     9/20/2016                 2.0

     Supervisory Training: Authority                   11/1/2016                 2.0

     Collaboration & Optimism                                  10/11/2016                2.0

     Positive Reframing                                        10/11/2016                2.0

     Collaboration & Mastery of Job Related Skills     10/11/2016                2.0

     Self-Awareness: Mastery of Negative Emotions 10/18/2016                     2.0
     & Reactivity

     Collaboration & Conflict Resolution                       10/18/2016                2.0

     Integrating Resilience Skills Into Practice       10/18/2016                2.0



         II.     WV RESILIENCE Alliance Curriculum Delivery in Region II
     TITLE/SESSION                                     DATE                      HOURS

     Supervisory Kick-Off Session                              3/22/2017                 3.0


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Supervisory Module 1 – MODELING                   3/29/2017               2.0

Supervisory Module 2 – SUPPORT                    4/5/2017                2.0

Supervisory Module 3 – AUTHORITY        4/19/2017                   2.0

Supervisory Module 4 – TRAUMA-AWARE,              4/26/2017               2.0

REFLECTIVE SURPERVISION



   III.   WV RESILIENCE Alliance TRAUMATICE EVENT RESPONSE
          Traumatic Event Definition: A traumatic event is an incident that causes
          physical, emotional, spiritual, or psychological harm. The person(s)
          experiencing the distressing event may feel threatened, anxious, or
          frightened as a result. In some cases, they may not know how to respond,
          or may be in denial about the effect such an event has had. The person(s)
          will need support and time to recover from the traumatic event and
          regain emotional and mental stability.
           http://www.healthline.com/health/traumatic-events#Overview1

          From 4/1/2016 thru 3/31/2017 the WV RESILIENCE Alliance responded to
          TRAUMATIC EVENTS utilizing the SAFER-R intervention model in the following
          counties:



                      11/18/2016                    Jackson

            xx/xx/2016                              Boone

                      03/03/2017                              Barbour

                      03/27/2017                              Calhoun



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2018 Update


West Virginia does an excellent job of ensuring periodic reviews occur for each child no
less than every 6 months, either by Court or Administrative Review. Review hearings are
scheduled in all jurisdictions quarterly until permanency is achieved and the case is
dismissed from the docket. An AFCARS report specific to this reporting element is
generated from FACTS monthly that reflects every case with no review documented. This
report is utilized by Regional Program Managers and Regional Directors to work with
districts on getting these reviews documented in FACTS. In rare instances, the reviews
have not been held and the report serves as a prompt for districts to request scheduling.

The state of West Virginia engaged the Capacity Building Center for States (Center for
States) to provide capacity building support to West Virginia’s Bureau for Children and
Families on a yearlong intensive project, starting on March 01, 2017 and ending March
31, 2018. BCF’s intensive project is designed to meet foundational capacity needs to
enhance knowledge and skills among managers, CQI staff, and frontline supervisors in
using management reports to guide action planning, monitoring, and continuous quality
improvement.

The State recognized that improving the safety, permanency and well-being for children
and families depends on the informed use of data to drive appropriate decision making
and to support continuous quality improvement. The Bureau for Children and Families
also recognizes that to become a learning organization it needs to develop the skills of
management and staff in the areas of data extraction, appropriate analysis and use of
data to better inform decision making.

West Virginia created a team, identified a plan for addressing data management and
extraction barriers, and completed a series of focus groups around the State to gain
knowledge from social workers and supervisors about their data and reporting needs.
These efforts focused on 4 strategies:

      1. The review and cataloging of existing reports relating to CFSP and CFSR to
      establish baseline data, identify gaps in information and to create reports that
      address CFSP/CFSR performance measures.

      2. Increase capacity to create reports supporting use of data at program
      management, frontline supervisor & worker levels.

      3. Create a User Group to define data needs, set priorities & create avenues for
      using data to improve outcomes
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       4. Develop training materials and to provide coaching and training to staff on using
       data to inform decision making and improve practice.

The initial engagement ended on March 31, 2018 with the accomplishment of strategies
1 and 3. The engagement with the Capacity Center was extended through September 30,
2018 to finish work on strategies 2 and 4.

As of June 2018, the team has developed dashboards for caseload management, missing
AFCARS elements and CFSR outcomes that are expected to be completed and deployed
by the end of September 2018. The team has also developed a training plan and has
begun the process of developing a curriculum and a communication strategy for
incorporating the use of data into practice. It is anticipated that training will be scheduled
to begin in August 2018.

Over the third six-month evaluation period following implementation of Safe at Home
West Virginia, Hornby Zeller Associates, Inc. (HZA), the evaluator, conducted a second
round of staff interviews with key stakeholders, including individuals from West Virginia’s
Department of Health and Human Resources (DHHR) and contracted Local Coordinating
Agencies (LCAs). HZA also administered a survey to DHHR caseworkers and supervisors
from Phase II implementation counties. Both of these data collection efforts inform the
process evaluation.

6. Consultation and Coordination between States and Tribes
There are currently no federally recognized tribes in the state of West Virginia. Current
Foster Care Policy states that if a child is recognized as a member of a tribe, the child’s
social worker is to contact the U. S. Department of Interiors Bureau for Indian Affairs to
determine if the tribe has child welfare jurisdiction.

West Virginia is currently working to strengthen its child welfare policies regarding ICWA.
Child welfare staff will be expected to determine tribal affiliation much earlier in the case
to provide a more seamless process for the family. If the tribe does not have jurisdiction
over the child or family, our staff will ensure that they are contacting the tribe continuously
throughout the life of the case to ensure that all the child and family’s rights are being
respected regarding their tribal affiliation.

Foster Care Policy states that children of families that have American Indian ancestry are
to be referred to the tribe in which ancestry is claimed for child welfare services. If a child
is placed in the custody of the Department and the child or his family is claiming American
Indian heritage the worker must do the following:

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   •      Review the record and discuss the child’s background with the parents to try to
          discover the child’s heritage.
   •      Determine if the child is a member of that tribe or eligible for membership in the
          tribe.
   •      If a Tribe is identified, the worker must refer the child to the tribe for membership
          determination or membership eligibility.
   •      If several tribes are suspected, contact must be made with each tribe. The
          child’s worker must document that a tribe has been contacted to determine
          tribal membership.
   •      If a tribe determines the child is not a member nor eligible for membership, the
          worker will document the response.
   •      If a tribe responds the child is eligible for membership, the child’s worker must
          request application forms. The child’s parents must be contacted and the
          membership in the tribe explained to them.
   •      If the parent enrolls the child in the tribe’s membership, the child’s worker must
          refer the case to the tribe’s tribal court if the tribe has exclusive jurisdiction over
          child welfare matters.
   •      The child’s worker must contact the U. S. Department of Interiors Bureau for
          Indian Affairs to determine if the tribe has child welfare jurisdiction.

The West Virginia Department of Health and Human Resources plans to revise an
existing tool to use with the entire foster care population designed by the Service Delivery
and Development Workgroup for Youth Transitioning to monitor all youth in foster care.
This form was designed to insure workers covered all aspects of case management,
including tribal affiliation. This is completed every ninety days prior to case reviews

The State will run reports to determine which three counties have the highest completion
rates of the use of this form in the next six months and, subsequently, pilot the use of this
instrument within one year. By the APSR due in 2017, the state will have analyzed the
data to determine if this process should be implemented statewide. If the process
captures the information required, the state will develop a plan to integrate this process
into SACWIS by June 2018.

2016 Updates

West Virginia currently has no federally recognized tribes. However, West Virginia is
home to members of several tribes. Foster Care Policy was reviewed by the Bureau for
Indian Affairs just prior to completion 2009 – 2014 Child and Family Services Plan. All
recommendations for changes were made to appropriate policies. West Virginia will again
submit its policies to the Bureau for Indian Affairs during SFY 2017. • Provide an update

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to the state’s plan for ongoing coordination and collaboration with tribes in the
implementation and assessment of the CFSP/ APSR. Describe any barriers to this
coordination and the state’s plans to address these barriers.

West Virginia has no arrangements made with tribes as to who is responsible for providing
the child welfare services and protections for tribal children. However, foster care policy
in West Virginia directs staff to do everything possible to determine tribal affiliation for
children whose families indicate Native American ancestry and to contact the identified
tribe. Services and protections afforded all children in West Virginia are afforded to
children with Native American ancestry equally.

The following protections are afforded to all children in foster care in West Virginia,
including those with Native American ancestry.

APPLA as a permanency plan is limited to only youth age 16 and older;

Documenting at each permanency hearing the efforts to return a child home or to secure
a placement for a child with a relative, or with guardianship or adoptive parent;

Implementing procedures to ensure that the court or administrative body conducting the
permanency hearing asks the child about his/her desired permanency outcome and
makes a judicial determination at each permanency hearing that APPLA is the best
permanency plan for the child and specifies compelling reasons why it’s not in the best
interest of the child to be returned home, placed with a relative or legal guardian, or placed
for adoption;

Documenting at the permanency hearing and the 6-month periodic review the steps the
agency is taking to ensure that the foster family or child care institution follows the
“reasonable and prudent parent standard” and whether the child has regular opportunities
to engage in “age or developmentally-appropriate activities”;

For children age 14 and older, the agency documents in the case plan the child’s
education, health, visitation, and court participation rights, the right to receive a credit
report annually beginning at age 16;

That the child’s case plan is developed in consultation with the child, and at the option of
the child, two members of the case planning team, who are not the caseworker or foster
parent;



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Describe in the case plan and at the permanency hearing the services to help the youth
transition to successful adulthood; and

If Native American ancestry is found and supported by the tribe, caseworkers notify Indian
parents and tribes of state proceedings involving Indian children and their right to
intervene.

2017 Update

West Virginia has had a difficult time finding federal entities to review its policies. The
Children’s Bureau has been contacted and they are currently researching avenues for
consultation for the state. One possibility is the Capacity Center for Tribes. Although
West Virginia has no federally recognized tribes the state does have tribal children. The
states policy regarding services to tribal children was determined to comply with federal
requirements when reviewed by NAIF several years ago.

2018 Update

The Bureau for Children and Families has submitted policies for review to the Capacity
Building Center for Tribes. There has been no response. West Virginia’s policies remain
the same regarding services to tribal children and protocol in notifying recognized tribes
when Native American children are placed in West Virginia’s custody. These policies were
previously determined to comply with federal requirements outlined in the Indian Child
Welfare Act as reviewed by the Native American Indian Federation.

The state continues to work with the Children’s Bureau to find a resource for this review.

7. Monthly Caseworker Visit Formula Grants
During FFY 14, West Virginia used 99% of caseworker visitation funding for transportation
costs associated with visiting children in foster care and 1% for computer supplies. The
same is planned for FFY15.

West Virginia continues to focus on every child in placement having a face-to-face contact
with their worker each month to review treatment needs and to ensure safety. Some of
the steps taken to ensure that a face to face contact occurs each month are as follows:

      Supervisors maintain a list of all children in placement that is utilized with the
       development of scheduled visits
      Workers schedule visits during the first 3 weeks of each month – this allows an
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       extra week in the event of unforeseen circumstances that would require
       rescheduling.
      Supervisors and workers will track their visits for each month
      Supervisors and workers review the Dashboard in FACTS each month to review
       the face to face contacts with child in placement
      If the Dashboard does not indicate a visit completed – supervisor will review to
       determine if this was a data error.

2016 Updates

During FFY 2015, West Virginia used 100% of caseworker visitation funding for
transportation costs associated with visiting children in foster care.

2017 Update

During FFY 2016, West Virginia used 100% of caseworker visitation funding for
transportation costs associated with visiting children in foster care.

2017 Update

During FFY 2016, West Virginia used 100% of caseworker visitation funding for
transportation costs associated with visiting children in foster care.

2018 Update

During FFY 2017, West Virginia used 100% of caseworker visitation funding for
transportation costs associated with visiting children in foster care.

8. Adoption and Legal Guardianship Incentive Payments
FY 2014 funds were spent as follows:
    Adoption Promotion and Support Services - $268,805.98
    Adoption Promotion and Support Grants - $773,041.00
    The contracting of all post adoptive services will use the additional incentive
      funds as part of the contract to cover the services.

West Virginia is considering the following activities to be paid for with Adoption Incentive
Funds:


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      Statewide Adoption/Homefinding Conference re-instated
      Regional Foster/Adoptive family conference/training
      Expand contract with those agencies providing Homefinding staff to DHHR,
       increasing staff will increase positive customer service to our families
      Expanding or developing contracts to:
           o provide response to all inquiries about becoming a foster/adoptive family
           o expand targeted recruitment campaign efforts
           o be responsible for all recruitment for foster/adoptive families in the state
              freeing up DHHR Homefinding staff to focus on Homestudies
      Purchase “Foster Parent College” to be utilized by all foster/adoptive parents so
       there is no cost to them


2016 Update

 Adoption Promo & Support:           Fund Unit      Total      Federal       State

 Services                                            385,148     288,861       96,287
 Subrecipient Grants                                 667,501     500,626      166,875
 Total Adoption Promo & Support                    1,052,650     789,487      263,162

 Adoption Promo & Support Admin:

 Travel                                                5,828       4,371        1,457
 Training & Development - In State                       533         400          133
 Computer Equip & Supplies                             4,196       3,147        1,049
 Total Adoption Promo & Support                       10,557       7,918        2,639

 Caseworker Visitation:

 Travel                                              164,751     123,563       41,188
 Total Caseworker Visitation                         164,751     123,563       41,188



BCF intends to release an RFA for post adoptive services. Applicants interested in
applying for this grant must be capable of providing all-inclusive post-adoptive services
to all children (Birth to 18 years of age) from West Virginia Department of Health and


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Human Resources foster care, private adoptions and international adoptions, in all
regions within West Virginia.

Applicants must be capable of providing high quality post-adoptive services to include,
but not limited to:

      Provide consistent service and reimbursement to all regions.
      Assist the Bureau for Children and Families (BCF) to increase efficiency and
       quality of services.
      Assure consistent application of BCF policies in service delivery.
      Identify service gaps and availability
      Training and education for adoptive parents regarding the special needs of
       adopted children, including adjustment and attachment issues. (Adopted children
       most often required services for these needs within the first six months of
       adoption.)
      Continuing education for both adoptive parents and providers regarding adoption
       issues.
      Counseling services for family/individual.
      Respite services
      Case management services for both individual and families.
      Educational / school’s advocacy and support.
      Information and referral/warm Line.


2017 Update


 Adoption Promo & Support:

 Services                               5074     2776       385,148      288,861       96,287
 Sub recipient Grants                   5074     3590       667,501      500,626      166,875
 Total Adoption Promo & Support                           1,052,650      789,487      263,162

 Adoption Promo & Support Admin:        5362     2776

 Travel                                                       5,828        4,371          1,457
 Training & Development - In State                              533          400            133
 Computer Equip & Supplies                                    4,196        3,147          1,049
 Total Adoption Promo & Support                              10,557        7,918          2,639

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 Caseworker Visitation:

 Travel                                  5362       2588        164,751         123,563         41,188
 Total Caseworker Visitation                                    164,751         123,563         41,188


Due to budget concerns for the state of West Virginia, an RFA for post-adoptive services
has been held indefinitely. These services continue to be provided on a case by case
basis by the Bureau for Children and Families.




2018 Update

                                       Fund      Unit          Total           Federal         State
 Adoption Promo & Support:
 Services                              5074      2776      $   1,227,391   $      64,968   $   1,162,423
 Subrecipient Grants                   5074      3590      $     591,398   $     443,549   $     147,849
 Total Adoption Promo & Support                            $   1,818,789   $     508,517   $   1,310,275


 Adoption Promo & Support Admin:       5362      2776
 Travel                                                    $       1,421   $       1,066   $           355


 Caseworker Visitation:                5362      2588
 Travel                                                    $     152,960   $     114,720   $     38,240


9. Child Welfare Waiver Demonstration Activities
In October 2014, BCF was granted a federal Title IV-E Waiver by the U.S. Department of
Health and Human Services Administration for Children and Families to conduct a child
welfare demonstration project.

West Virginia’s Title IV-E Waiver demonstration project, Safe at Home West Virginia, aims
to provide wrap-around behavioral health and social services to 12-17-year-olds with
specific identified behavioral health needs who are currently in congregate care or at risk
of entering congregate care.


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The State is authorized to implement a demonstration project under which the West
Virginia Bureau for Children and Families (BCF) will implement a Wraparound service
model and enhanced service array to reduce the frequency and duration of congregate
care placements.

The granting of the IV-E Waiver allows WV to use federal dollars in a more flexible manner
to pay for services that will assist in attaining the APSR and IV-E waiver demonstration
goals. You will note that the Waiver goals are aligned with the APSR goals as well as
extending further. Although the demonstration project focuses on 12-17-year olds, WV
plans to incorporate the wraparound principles into all child welfare practice. An integral
part of wraparound, but not listed in the goals below, is the guiding principle of Family
Engagement thus fulfilling the goals of increasing worker involvement as well as
increased involvement of youth and families in the provision of treatment and services.

The State’s demonstration will seek to accomplish the following goal(s):

•       Increase permanency for all infants, children, and youth by reducing the time in
foster placements when possible and promoting a successful transition to adulthood for
older youth.
•       Increase positive outcomes for infants, children, youth, and families in their homes
and communities, including tribal communities, and improve the safety and well-being of
infants, children, and youth.
•       Prevent child abuse and neglect and the re-entry of infants, children, and youth
into foster care.

More detailed goals within the waiver’s main goals include:

      Reduce the reliance on congregate care
      Decrease the length of stay in congregate care for children 12-17 years of age
      Improve family functioning to support reunification
      Reduce the number of children re-entering any form of foster care
      Reduce initial foster care entry rates
      Increase the number of children staying in their home community
      Improve well-being of children 12-17 as demonstrated through educational
       achievement and increased numbers graduating high school
      Improve academic progress of children 12-17 by keeping them in the same school

The demonstration, titled Safe at Home West Virginia, will initially be implemented in BCF
child welfare Regions II and III, with plans to expand statewide over the duration of the
demonstration. The demonstration will target youth ages 12–17 that are in or at risk of
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entering congregate care placement. Approximately 400 children could be served in the
first year; more may be served when including those at-risk of entering congregate care.
The specific timeframes for expanding the demonstration interventions to this target
population statewide is still being determined.

The State’s demonstration will implement a Wraparound service model as the core
component of Safe at Home West Virginia. Based on the National Wraparound Initiative
Model, the demonstration will incorporate evidence-based, evidence-informed, and
promising practices to coordinating services for eligible youth and their families. Under
this model, eligible youth and families will receive a combination of services and supports
that are uniquely tailored to their strengths, needs, and placement risk level, as
determined by trauma-informed assessments. Family Team Conferencing will be utilized
to develop or revise youth and family treatment plans. Wraparound services will be
provided by contracted service providers, including Care Coordinators, who will
implement and manage treatment plans and provide community-based services and
supports.

Under the demonstration, the State will implement the West Virginia Child and Adolescent
Needs and Strengths Assessment (WVCANS) universally across child-serving systems
at early points of youths’ involvement in the child welfare system, develop thresholds to
guide decision making about levels of care, and educate system partners to base decision
making on the assessed needs and strengths of youth using a common assessment
language. The assessed treatment needs indicated by the WVCANS will guide the State’s
development of a full array of interventions to meet the individual needs of youth and
families in their communities.

The State believes that conducting a comprehensive assessment of youth and families’
strengths and needs and providing intensive community services using a Wraparound
service model, will reduce congregate care placements, and improve youth and family
functioning and well-being.

The State is working closely with our partners in the development of the service model,
community assessment of needs, development of community-based services, and in
restructuring our payment process. All BCF’s grants and contracts are being re-written
to become outcome based. BCF’s provider agreements with our residential providers are
being changed to become more time limited with focused discharge planning beginning
the day of admittance. We are meeting and having conversations with our stakeholders
as we move through this process. We are also involving technical assistance, not only
for the Bureau but also for our partners.


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The State believes that all the focused activity for the IV-E Waiver Demonstration as well
as other initiatives support the goals of our APSR and will assist in the forward
transformation of the State’s Child Welfare System.

2016 Update

West Virginia was awarded our approval to initiate our Demonstration Project, Safe at
Home West Virginia, on October 14, 2014. Safe at Home West Virginia is high fidelity
wraparound aimed at 12-17-year-olds currently in congregate care settings in West
Virginia or out-of-state and those at risk of entering a congregate care setting. West
Virginia also plans to universalize the use of the WV CANS across child serving systems.

Recognizing how we have traditionally practiced may not always result in the best
possible outcomes for our children and families, we are now engaging in a process that
creates a new perspective. In partnership with youth and families, we will collaborate
with both public and private stakeholders, including service providers, school personnel,
behavioral health services, probation, and the judicial system to demonstrate that
children currently in congregate care can be safely and successfully served within their
communities. By providing a full continuum of supports to strengthen our families and
fortifying our community-based services, we can demonstrate that youth currently in
congregate care can achieve the same or higher indicators for safety and well-being
while remaining in their home communities.

Safe at Home West Virginia Wraparound will help improve identification of a youth’s and
family’s strengths and needs; reduce the reliance on congregate care and length of stay
in congregate care; reduce the reliance on out-of-state residential care; improve the
functioning of youth and families, including educational attainment goals for older youth;
improve timelines for family reunification; and reduce re-entry into out-of-home care.

Implementation of Safe at Home West Virginia officially launched on October 1, 2015 in
the 11 counties of Berkley, Boone, Cabell, Jefferson, Kanawha, Lincoln, Logan, Mason,
Morgan, Putnam, and Wayne with the first 21 youth being referred for Wraparound
Facilitation. West Virginia also began the process of universalizing the CANS across
child serving systems.




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As of March 31, 2016, 121 Youth have been referred to Safe at Home West Virginia.
West Virginia has returned 16 Youth from out-of-state residential placement back to
West Virginia and 19 Youth have stepped down from in-state residential placement to
their communities. We have been able to work with 37 at risk youth to prevent
residential placement.




During the past six months Hornby Zeller Associates, Inc. (HZA), the project evaluator,
developed its data collection tools; performed baseline interviews, reviewed documents,
automated the Child and Adolescent Strengths and Needs (CANS) tool, prepared data
extract requests for FACTS, West Virginia’s SACWIS, analyzed the first six-month extract
of FACTS data, and analyzed the first set of CANS assessments.

During this first six-month period HZA conducted interviews and completed a review of
project documentation, while also arranging for and receiving the initial extracts from the
State’s SACWIS, called FACTS. The results from the first two activities will inform the
process evaluation, while the analysis of FACTS data will focus primarily on the outcome
evaluation but will also contribute to the process component.

In addition to the above data collection activities, HZA designed and implemented an
automated version of the Child and Adolescent Strengths and Needs (CANS) tool which
is being used by BCF and its contractors throughout the State. Some initial data have
become available from this source, and ultimately the results of repeated CANS
administrations to individual youth will provide a means of measuring clients’ progress on
well-being outcomes.

Baseline Interviews
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The first round of interviews was completed during the week of November 16-20, 2015,
to evaluate the planning and development of the program, and to assess early
implementation. HZA conducted interviews in Phase I regions and counties, which
included counties from Regions II and III, although not all counties within those two
Regions were selected to participate in Phase I. Counties chosen for baseline interviews
were randomly selected among Phase I implementation counties; counties which were
not included in the first round of interviews will be included in subsequent rounds. HZA
staff completed interviews with key stakeholders in the following Region II counties:
Kanawha, Boone, Logan, Lincoln, and Cabell; in Region III interviews took place in
Berkeley and Morgan counties.

HZA interviewed 50 stakeholders, including staff from West Virginia’s Bureau for Children
and Families, contracted community service providers, and members of the judicial
community. Table 1 provides a full breakdown of stakeholders interviewed by staff type.

Documentation Review

Table 2 provides a list of documents HZA collected at the time of the interviews with key
stakeholders. These documents are key to understanding the processes, policies, and
conceptual framework guiding the program’s implementation. The documents also
exemplified how the state engages with their stakeholders and the public in regard to Safe
at Home and provided insight into the program’s progression. Additionally, the
documentation review provided a solid context for the interview analysis.

                   Table 2. Safe at Home West Virginia Documents Reviewed
                                Training Curriculum and Schedules
 The 10 Principles of Wraparound
 Safe at Home Training Schedule
                                         Policies and Laws
 Youth Transitioning Policy
 Youth Services Policy
 Governor Tomblin Signs Senate Bill 393, Juvenile Justice Reform
 Safe at Home West Virginia BCF Policy
 Child Protective Services Policy
 Safe at Home West Virginia Policy Desk Guide
                                 Guides, Manuals, and Handbooks
 The National Wraparound Initiative’s Wraparound Implementation Guide: A Handbook for
 Administrators and Managers
 Safe at Home West Virginia: A Family’s Guide to Wraparound
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                   Table 2. Safe at Home West Virginia Documents Reviewed
 Safe at Home Fact Sheet
 Safe at Home West Virginia FAQs
 Safe at Home West Virginia Program Manual
 Community Collaborative Safe at Home Semi-Annual Report Form
 Safe at Home WV Wraparound Planning Form
 Safe at Home WV Referral Wraparound Form
                            Reports, Plans, and Organizational Charts
 The Safe at Home West Virginia Implementation Work Plan
 The Safe at Home West Virginia Initial Design and Implementation Report (IDIR)
 The Department of Health and Human Resources Organizational Chart
 BCF Organizational Chart
 BCF Regional Map
 The Safe at Home West Virginia Title IV-E Waiver Application
                       Public Announcements, Outreach, and Other Media
 The Quarterly Newsletter (5)
 Safe at Home Funding Announcement (Phase I)
 Safe at Home Funding Announcement (Phase II)
 WV Metro News: New program aimed at keeping more at-risk kids at home
 Safe at Home West Virginia’s Email Blasts (31)
 Safe at Home West Virginia Speaking Points
 WV Public Broadcasting: Investigation: W.Va.’s Mental Health Services for Children Not in
 Compliance with Federal Law
 State Journal: WV DHHR cabinet Secretary Karen Bowling responds to DOJ criticism of state’s
 handling of children with mental health needs
 Governor Tomblin Announces Launch of Safe at Home Program
 DHHR Press Release: DHHR Launches Safe at Home West Virginia (9/30/2015)
 DHHR Press Release: DHHR’s Safe at Home WV Project Continues to Progress (12/14/2015)
 DHHR Press Release: Safe at Home Providing 100 Youths an Alternative to Institutional Care
 (2/16/2016)
 DHHR Press Release: DHHR Seeking Applications for Phase Two of Safe at Home West Virginia
 (3/3/2016)
 Safe at Home WV Printable Flyer

HZA will use data from West Virginia’s child welfare information system throughout the
evaluation to measure outcomes, e.g., reduced length of stay or reduced number of youth
re-entering foster care, and to compare those outcomes to an historical comparison group
of youth matched to those referred to Safe at Home. A comparison group was selected
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from youth known to BCF between SFYs 2010 to 2015 with characteristics similar to the
120 youth who were referred to the program during the first six months. Demographic
data, case history and qualifying characteristics such as mental health status and juvenile
justice involvement were used to match youth to the treatment group. Because the kinds
of data available vary between youth in substitute care and youth at home, and because
placement at the time of referral is likely to be a strong influencing factor, youth in the
treatment group were partitioned into five subgroups according to referral and placement
type: out-of-state psychiatric facilities and group care; in-state psychiatric facilities and
group care; emergency shelters; family foster care placements; and youth at home.
Cases selected into the comparison groups are in the same placement types and are
statistically like those in the corresponding treatment groups.

Over the first six months of implementing Safe at Home West Virginia, Phase I counties,
which are in Regions II and III, referred 122 youth for wraparound services. Two of the
referrals from the latter half of March 2016 were not yet recorded in FACTS yielding 120
referrals for the balance of this analysis. At the time of referral, 37 of those youth were
placed in in-state congregate care facilities and 30 in out-of-state congregate care
facilities. Of the 53 youth designated by the Bureau of Children and Families (BCF) as in
a preventive placement at the time of referral, two were placed with relatives, six were in
emergency shelters and 45 remained in their own homes.

Table 4 displays the initial placement types of youth referred for inclusion in Safe at Home.

                          Table 4. Placement Types for Phase I Referrals
                                          In-state   Out-of-state      Preventive     Totals
Group Residential Care                          29             20               -         49
Psychiatric Hospital (short term)                1              -               -          1
Psychiatric Hospital (long term)                 7             10               -         17
Kinship/relative                                 -              -               2          2
Agency emergency shelter                         -              -               6          6
Remain at home                                   -              -              45         45
                            Totals              37             30              53       120

Seventy-two percent of the youth were between the ages of 14 and 16 at the time of
referral, while nearly two-thirds (64%) were male. The disproportion of males was highest
in out of state congregate care settings, where 88 percent of the youth were male. The
two youth who were referred while placed in a detention center were both male.



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The majority of youth were white (88%) while
19 percent were black.2 The percentage of                          Figure 2. Age of Youth at Referral
black youth referred to the program is
substantially higher than the overall                                               3% 8%                    12
percentage of black youth in West Virginia                                                                   13
                                                                         26%                  16%
(5%3) and lower than the average percentage
                                                                                                             14
of black youth in foster care between 2010
and 2015, which ranged from 31 to 35 percent                                                                 15
between calendar years 2010 to 2014.
                                                                                                             16
                                                                                              25%
                                                                             22%            17
West Virginia’s project includes both child
welfare and juvenile justice referrals;
however, it is not easy to distinguish cleanly
between them because most Safe at Home youth have some evidence of juvenile justice
involvement, but many had an open case with child welfare prior to that. For example,
looking at the congregate care referrals from within the state (n = 37), 35 of them have
some evidence of juvenile justice involvement, whether in an Axis IV diagnosis (indicating
trouble with the law: n = 6), a detention placement prior to the referral (n = 9), or a juvenile
justice-ordered removal (n = 33). Given the juvenile justice-ordered removal, 24 of them
would be considered youth services cases rather than child welfare cases. Eleven of the
youth’s current cases had been open for more than a year prior to removal, while 21 were
known to child welfare for less than six months prior to removal.

For out-of-state congregate care referrals (n = 30), 24 had some evidence of juvenile
justice including 17 with an Axis 4 diagnosis, 23 with a juvenile justice -ordered removal
and seven with a prior detention placement. However, only three of those youth had been
known to child welfare for more than a year prior to removal.

For the Preventive Referrals where the youth are in the home, the evidence of juvenile
justice involvement is much less common: only two thirds of the 45 youth have evidence
of juvenile justice involvement: 19 with an Axis 4 diagnosis, 26 with a previous (not
current) juvenile justice -ordered removal, and two with a prior detention placement.

Broadly speaking, Safe at Home West Virginia is designed to improve the safety,


2
  The percentage of youth by race will total to more than 100 percent as youth may be categorized as a member of
more than one racial group.
3
  Percentage of youth is based on the average percent of black youth in West Virginia between 2010 and 2014, as
reported via the Office of Juvenile Justice and Delinquency Prevention Easy Access to Juvenile Populations website
(www.ojjdp.gov/ojstatbb/ezapop/).
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permanency and well-being of youth, ages 12 to 17. When used preventively, the
program is trying to have fewer children enter foster care in the first place or, when they
do, to have fewer entering congregate care and more remaining in their own communities.
Data from FACTS are used to inform many of the outcome measures with data for the
few youth with a subsequent CANS assessment completed used to measure the extent
to which the youth’s functioning has improved.

Placement in Congregate Care and Outside the Home Community

Between 2010 and 2014, the placement rate of West Virginia’s youth, ages 12 to 17, who
incurred an initial entry into foster care ranged from 9.0 to 9.6 per thousand. The
placement rate is substantially higher for black youth while the rate for white youth is
similar to the statewide rate, as shown in Figure 3.


                        Figure 3. Rate of First Entry into Foster Care per Thousand
                                                    Youth
              25

              20

              15

              10

               5

               0
                      2010          2011           2012             2013       2014

                                       Statewide    White   Black


Males were slightly more likely to enter foster care than females. Placement rates for
males ranged from 9.6 to 10.9 between 2010 and 2014, and 8.3 to 9.3 for females during
those same years. Over time the evaluators will determine if Safe at Home has made an
impact on placement rates in congregate care.

As can be surmised from Table 4, 67of the 120-youth referred to participate in Safe at
Home during the first six months of the program were living in a congregate care setting
at the time of referral, 30 of them in an out-of-state facility. By the end of March 2016,
more than half of those out of state had been returned to West Virginia, with 14 youth (47
percent of the total) moving to a lower level of care. The comparison group shows very
similar results.
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Improvement was also evidenced for 22 of the 37 youth initially placed in an in-state
congregate care facility. Of the youth first placed in a congregate care facility, regardless
of where that facility was located, 39 percent were returned to their homes.

As shown in Figure 4, success was also evidenced for youth who were in lower levels of
care to start or remained with their families when referred to Safe at Home. Two of the
45 youth who were at home at the start of the program were placed in an out-of-state
congregate care facility by the end of March. Five of the youth who began Safe at Home
while in a family setting were placed in an in-state congregate care setting and two youth
who had been in emergency shelters were placed in detention.

When the placement status of youth in the comparison group is examined six months
following case opening or from the point in which the youth satisfy the Safe at Home
referral criteria, the overall results are not substantially different from the treatment group.
However, there is less movement from one setting to another among youth in the
comparison group.




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                                                          As is illustrated in Figure 5, the
                                                          outcomes are similar for the
                                                          comparison group in this time
                                                          period, with both groups
                                                          ending       up    with    similar
                                                          distributions of youth in each
                                                          placement type. The principal
                                                          difference is a larger number of
                                                          comparison youth (31) in in-
                                                          state       congregate       care
                                                          placements compared to Safe
                                                          at Home youth (24). Safe at
                                                          Home youth are slightly more
                                                          likely to be in Emergency
                                                          Shelters or family foster care.

                                                          Beyond the extent to which
                                                          youth remained in their homes,
                                                          data in FACTS were also used
                                                          to measure the extent to which
                                                          youth are remaining in their
                                                          home communities. Among
                                                          the 39 youth who were in
                                                          substitute care at the time of
                                                          referral to Safe at Home and
                                                          incurred     at      least one
    Figure 5. Placement Status of                         placement change within the
    Comparison Group                                      six months following referral to
                                                          the wraparound program,
nearly two-thirds (64 percent) of the placements were outside the youth’s home county.
Most of the out-of-county placements involved placement into an agency emergency
shelter or group residential care setting. When the results are compared to a matched
comparison group, within six months a smaller number of youth incurred more than one
placement change. However, 75 percent of those placements were outside the youth’s
home county, half of which involved a stay in a group residential care facility.

A different picture emerges when examining the number of entries into congregate care
during the first six months of implementation compared to a six-month interval for the
comparison group. The 30 Safe at Home youth in out-of-state congregate care
placements at referral had a total of 457 days outside of congregate care and had a total

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of seven new congregate care placements involving three youth. This gives a congregate
care placement rate of 1.5 placements per 100 days of eligibility, with 0.7 distinct youth
being placed in congregate care per 100 days of eligibility. In contrast, the comparison
group had only 31 days outside of congregate care, and 14 congregate care placements
involving 13 youth, for a congregate care placement rate of 45.2 placements per 100 days
of eligibility, with 41.9 distinct youth per 100 days of eligibility.

Safe at Home youth in congregate care settings in West Virginia at the time of referral
also had lower rates of subsequent congregate care placements than the comparison
group, with eight placements in 582 days of eligibility, yielding a placement rate of 1.4
placements per 100 days. Since the placements involved eight youth, the rate is also 1.4
youth per 100 days. In contrast, comparison youth had 26 congregate care placements
in the first six months, with only 114 days of eligibility, or a rate of 22.8 placements per
100 days of eligibility. Again, all placements involved distinct youth, so the same rate
applies for youth.

Among the successes registered within the first six months of the implementation of the
Safe at Home effort are the return of 16 of the 30 Safe at Home youth who were in out-
of-state congregate care back to West Virginia, the movement of 14 of those youth to
lower levels of care including nine who returned home, the discharge of 17 youth from in-
state congregate care to their own homes and of five more to lower levels of care and,
finally, the placement of 36 percent of youth who were placed into out-of-home settings
within their own communities, compared to only 19 percent of the comparison group.
Another highlight is in the number of subsequent placements into congregate care, which
show promising trends compared to the comparison group. The results suggest that
youth are experiencing fewer moves from one congregate setting to another, and the
larger number of days that Safe at Home youth are not in congregate care also suggests
that their total time in congregate care may be found to be shorter than the comparison
group’s once enough time has passed to evaluate that objective.

Recognizing how we have traditionally practiced may not always result in the best
possible outcomes for our children and families, we are now engaging in a process that
creates a new perspective. In partnership with youth and families, we will collaborate with
both public and private stakeholders, including service providers, school personnel,
behavioral health services, probation, and the judicial system to demonstrate that children
currently in congregate care can be safely and successfully served within their
communities. By providing a full continuum of supports to strengthen our families and
fortifying our community-based services, we can demonstrate that youth currently in
congregate care can achieve the same or higher indicators for safety and well-being while
remaining in their home communities.

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West Virginia continues to move forward with Phase Two implementation which will
include the addition of 24 counties. This is projected to begin sometime late summer
to early fall 2016. The grants to local coordinating agencies to hire wraparound
facilitators have been awarded and the hiring process has begun. The date that
referrals begin will be determine in consultation with the Local Coordinating Agencies
and our Evaluator.

Phase Two implementation includes the 24 counties of Brooke Hancock Monongalia,
Marion, Ohio, Barbour, Grant, Hardy, Hampshire, Harrison, Lewis, Mineral, Pendleton,
Preston, Randolph, Taylor, Tucker, Upshur, Greenbrier, Mercer, Monroe, Nicholas,
Pocahontas, Summers. Through data review WV identified 430 youth in the target
population that could be referred to Safe at Home West Virginia for wraparound. Based
on the identified population, West Virginia awarded 43 wraparound facilitator positions to
six Local Coordinating Agency Grantees.

The Phase Two counties were selected due to their current out-of-state placement data,
location, and readiness to implement.

Phase Three of implementation is slated to begin in the spring of 2017 and will include
the final 20 counties bringing all of West Virginia into full implementation.

Wraparound 101 training was conducted throughout the next phase Counties
beginning in March and running through May. This is always a cross-training so BCF
staff and Facilitators attend together.

WV CANS training for the Phase Two areas was also scheduled throughout the months
of April and May to assure that all BCF staff and partners can attend this training prior
to implementation.

West Virginia has developed a strategic work plan for further training and development
of BCF and Partner staff regarding the administration and use of the WV CANS and
the further development of WV CANS Advance CANS Experts (ACES) for technical
assistance. We are seeing that WV CANS are being administered but many do not yet
understand how to use the results in the treatment or case planning process for youth
and families. We have identified the continuing need to develop experts that can
provide technical assistance on an ongoing basis. Our goal is for WV CANS to be
completed on all children with an open child welfare case and that the WV CANS will
be used to determine the appropriateness of a referral to Safe at Home West Virginia
and assist in guiding the intensity of services. Please refer to the attached work plan
which is a fluid plan with changes being made as needed.

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West Virginia continues the development of Safe at Home West Virginia content
experts. The further training includes a new blackboard training and an advanced
classroom training that will be delivered during the month of May. The goal is to have
a content expert in every community service district for BCF and that they are available
to assist with questions and needed technical assistance as well as future training. The
Experts have met together and assisted in identifying what knowledge they believe they
need to be comfortable in this role as well as what the home team identified as
necessary for their development. The advanced training curriculum has been
developed to meet those identified needs.

2017 Update

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at Home West Virginia, on October 14, 2014. Safe at Home West Virginia is high fidelity
wraparound aimed at 12-17-year olds currently in congregate care settings in West
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communities. By providing a full continuum of supports to strengthen our families and
fortifying our community-based services, we can demonstrate that youth currently in
congregate care can achieve the same or higher indicators for safety and well-being while
remaining in their home communities.

Safe at Home West Virginia Wraparound will help improve identification of a youth’s and
family’s strengths and needs; reduce the reliance on congregate care and length of stay
in congregate care; reduce the reliance on out-of-state residential care; improve the
functioning of youth and families, including educational attainment goals for older youth;
improve timelines for family reunification; and reduce re-entry into out-of-home care.

Implementation of Safe at Home West Virginia officially launched on October 1, 2015 in
the first 11 counties. Phase 2 of implementation began on August 1, 2016 by rolling in
an additional 24 counties. The final phase of implementation occurred on April 1, 2017
rolling in the final 20 counties bringing the entire state into the implementation. West
Virginia also began the process of universalizing the CANS across child serving systems.

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As of March 31, 2017, 662 Youth have been enrolled in Safe at Home West Virginia.
West Virginia has returned 41 Youth from out-of-state residential placement back to West
Virginia, 114 Youth have stepped down from in-state residential placement to their
communities, and 7 youth have returned home from an emergency shelter placement.
West Virginia has been able to prevent the residential placement of 335 at risk youth.
Please note that these numbers may differ from the outcome evaluation due to the
tracking mechanisms. This information is reported by the local and Regional staff while
the outcome evaluation pulls data from our SACWIS system which would be dependent
upon data entry.

The breakdown of placement type at time of enrollment is as follows:

•     63 were or are in out-of-state residential placement

•     185 were or are in in-state residential placement

•     386 were or are prevention cases

•     28 were or are in an emergency shelter placement

The following are highlights from the evaluation sections of the September 30, 2016 and
March 31, 2017 Semi-Annual Progress reports as reported by West Virginia’s
Independent Evaluator, Hornby Zeller Associates.

Fidelity Summary

For the most part, the program has been performed with fidelity. It was apparent through
survey, case review, and interview data that wraparound facilitators were completing
required Safe at Home activities regularly.

Outcome Evaluation Summary

September 30, 2016

When comparing the placements of youth in Cohort I at referral, March 2016, and
September 2016, congregate care placements illustrate promising results. Youth
placements decreased in both out-of-state and in-state congregate care from referral to
March 2016 and again from March 2016 to September 2016. By September 30, 2016
there were 33 fewer youth in congregate care than there were at referral.


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Additionally, the number of youth at home continued to rise steadily from referral to March
2016 and again in September 2016. By September 2016, there were 29 more youth at
home than there were at referral. Seventy-four percent of youth who were at home at
referral were at home in September 2016. However, 21 percent of youth with a preventive
at home referral were placed in congregate care settings (half in in-state, and half in out-
of-state) in September 2016.

Youth referred while in out-of-state or in-state congregate settings are more likely to leave
congregate care, and less likely to return than those in the comparison group at a
statistically significant rate. On the other hand, youth who started at home showed the
opposite (although this was not statistically significant).

Youth with in-state and out-of-state congregate care referrals are spending less time in
congregate care settings than those of the comparison group at a statistically significant
rate. Though statistical significance could not be calculated this also seems to be the case
for youth with an emergency shelter referral.

Youth with referrals from out-of-state congregate care, in-state congregate care and
emergency shelters spent less time in care than their matched counterparts in the
comparison group. However, statistical significance was only achieved for youth with in-
state congregate care referrals. Youth with a preventive at home referral spent an almost
equal amount of time in care as youth in the comparison group.

The last analysis looks at abuse recidivism. In the six months following referral to Safe at
Home, only one youth had a maltreatment referral. In the six months following an imputed
referral date, the comparison group had eight referrals for maltreatment, involving eight
different youth. Therefore, Safe at Home did better on referral recidivism.

HZA examined the CANS domains to measure the well-being of youth. Table 22 displays
the percentage of needs reduced at six months and 12 months within the CANS domains
by each specific item. The table also provides more specific information on the reduction
of needs within the CANS domains themselves by item.

Overall, needs have been reduced in all CANS domains at six and 12 months.
Additionally, overall domain needs have been further reduced at the 12-month mark in
comparison to the six-month mark. The CANS domain with the most reduced needs at
12 months is “Symptoms of Trauma.” The specific CANS item with the greatest reduction
of needs at six and 12 months is “School Behavior,” which falls within the “Life
Functioning” domain.


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Strengths were rated generally high at baseline, with over half of youth rated as exhibiting
the strength in all but two items. Nearly all strength items were rated highest at the 12-
month period, showing improvement over time. “Coping and Survival Skills” and

“Relationship Permanence” strengths saw very slight decreases between the six and 12-
month marks. “Spiritual/Religious” strengths remained the same between six and 12
months.

All the “Family Well-Being” items improved over time, reaching their peak, thus far at the
12-month mark. This appears most substantial with the “Family Stress” item which yielded
a 50 percent improvement in the percent of youth with “nonactionable” items over 12
months.

March 31, 2017

Youth Placements

Fewer youth were in an out-of-state or in-state congregate care placement and an
increased number of youth were living at home six months following referral for both
Cohorts I and II. Nearly half the number of youth referred to Safe at Home in Cohort I
were in out-of-state congregate care six months following referral while the number of
youth living at home increased by 45 percent. For Cohort II, there was a 70 percent
reduction in the number of youth living in out-of-state congregate care at six months as
well as a 39 percent reduction of youth living in in-state congregate care.

Youth Well-Being

The CANS tool provides an assessment of youth’s strengths and needs which is used to
support decision making, facilitate service referrals, and monitor the outcomes of services
received. By utilizing a four-level rating system (with scores ranging from 0 to 3) on a
series of items used to assess specific domains, such as Child Risk Behaviors or Life
Domain Functioning, the CANS help wraparound facilitators and DHHR caseworkers
identify needs/actionable items (e.g., those with a score of 2 or 3), which show where
attention should be focused in planning with the family.

Wraparound facilitators from LCAs are primarily responsible for administering the CANS
assessments to youth in the program. Once CANS assessments are completed by the
wraparound facilitators, they are to be entered into the online WV CANS. Youth in the
program are supposed to receive an initial CANS assessment within 14 days of referral
and subsequent CANS are to be performed every 90 days thereafter.

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A total of 309 Safe at Home youth had at least two CANS assessments completed, i.e.,
an initial CANS and at least one subsequent CANS. For purposes of this report, the
results of initial CANS assessments for youth from Cohort I are compared to those at six
and twelve months’ post-referral to determine progress while in the program, with the
results limited to six months for youth from Cohort II. Progress is measured by the extent
to which scores have improved, meaning needs/actionable items have been reduced over
time. As shown in Table 16, CANS assessments available for analysis become more
limited as time goes on. This is due to a variety of factors, including: inappropriate referral
(for example, youth may not meet the age requirement), youth placements into a
detention center, or cases close prior to six months because families decline participation
or there is an inability to secure placements for youth.

Looking at the domain which showed the most need upon initial assessment, i.e., Life
Functioning Needs, 61 percent of the youth from Cohort I showed a reduction in at least
one item at six months; the same was true for 69 percent of youth in Cohort II. At twelve
months, the reduction in need in the Life Functioning Needs domain for youth in Cohort I
show a marked improvement with 92 percent of the youth having improved their scores
within the domain. Interestingly, Life Functioning Needs seem to show the greatest
reduction in needs overall for both cohorts; suggesting that while these are the most
common needs identified, they are also the ones in which the program has been able to
address most effectively.

Family Stress was identified as the most common need item for youth in both cohorts on
the initial CANS, followed by Residential Stability. By six months, 59 percent of the youth
in Cohort I saw a reduction in Family Stress; the same was true for 30 percent of youth in
Cohort II. At six months, Residential Stability was reduced for three of the four youth in
Cohort I with this need and the same was true for two of the three youth in Cohort II.

The numbers available at twelve months for youth in Cohort I are quite limited. However,
of the four youth who had identified Family Stress as a need on the initial CANS and had
a twelve-month follow-up, none of them had Family Stress identified as a need at twelve
months.

Summary of Outcome Evaluation Results

In looking at overall placement shifts for youth in Safe at Home, a smaller percentage of
youth were in either out-of-state or in-state congregate care for both cohorts at six months’
post-referral; there was even a smaller percentage in such a setting for youth from Cohort
I at twelve months. There were also a higher percentage of youth living at home six


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months after referral (for both cohorts) and this percentage continued to increase for
youth in Cohort I at twelve months.

When looking at the placement of youth into congregate care, a slightly higher percentage
of youth from Cohort I’s treatment group entered congregate care at both six and twelve
months than those in the comparison group, although a smaller percentage of youth from
Cohort II’s treatment group entered congregate care within six months of referral; none
of these results were statistically significant. Safe at Home youth from Cohort I re-entered
congregate at a higher rate than comparison youth at six and twelve months. However,
fewer Safe at Home youth from Cohort II re-entered congregate care at six months than
did their comparison counterparts. None of these results were statistically significant. Safe
at Home youth appear to be spending less time in congregate care than youth from the
comparison groups. Youth from the treatment groups for both Cohorts I and II spent less
time in congregate care at a statistically significant rate.

Regarding the placement of youth within their home counties, the percentage of youth
moving out of their home counties provided mixed results. However, a greater proportion
of Safe at Home youth from both cohorts returned to their home-counties at six and twelve
months than evidenced for those in the comparison groups. These results were
statistically significant for Cohort II at six months.

While the rate at which Cohort I youth re-enter foster care is similar among those from
the treatment and comparison groups six months following discharge, by twelve months
the foster care re-entry rate is significantly lower for youth in Safe at Home compared to
those in the comparison group. Safe at Home youth from both cohorts had fewer
maltreatment referrals and investigations at six and twelve months at a statistically
significant rate than youth in the comparison groups.

Regarding youth well-being, the CANS domain exhibiting the highest percentage of need
at initial assessment was Life Functioning Needs; it also showed the greatest reduction
in need at six and twelve-month follow-ups. While these needs are the most prevalent
among Safe at Home youth, they are also the ones in which the program has been able
to address most effectively.

Safe at Home youth from Cohort I re-entered congregate at a higher rate than comparison
youth at six and twelve months. However, fewer Safe at Home youth from Cohort II re-
entered congregate care at six months than did their comparison counterparts. None of
these results were statistically significant. Safe at Home youth spent less time in
congregate care placement settings than comparison youth at a statistically significant
rate. This was evident in the cost savings found of over $740,000 in maintenance costs

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for youth in Cohort I which was largely impacted by the reduced time youth spent in out-
of-state congregate care.

While the rate at which Cohort I youth re-enter foster care is similar among those from
the treatment and comparison groups six months following discharge, by twelve months
the foster care re-entry rate is significantly lower for youth in Safe at Home compared to
those in the comparison group. Safe at Home youth from both cohorts had fewer
maltreatment referrals and investigations at six and twelve months than youth in the
comparison groups.

For detailed DATA and evaluation information please refer to the attached Semi-Annual
Progress Reports.

Waiver Sustainability and Transition Planning:

As part of the planning for the ending of Waivers in 2019, West Virginia has begun
planning for sustainability. The sister Bureaus of BCF and BMS have been meeting to
discuss possible funding mechanisms as we move forward. This planning is in its infancy
and will be ongoing.

The West Virginia BCF Executive Team is in the early stages of discussions about
transitioning out of the waiver and sustainability. These discussions are very early in their
processes while West Virginia awaits the preliminary cost evaluation being conducted by
our independent evaluator. The first cost evaluation will be conducted during the
reporting period of April 1, 2017 to September 30, 2017. Information from our evaluator
and this preliminary cost evaluation will assist us with the needed information for further
planning.

2018 Update

As of March 31, 2018, 1,783 youth have been enrolled in Safe at Home West Virginia.
West Virginia has returned 73 youth from out-of-state residential placement back to
West Virginia, 223 Youth have stepped down from in-state residential placement to
their communities, and 26 youth have returned home from an emergency shelter
placement. West Virginia has been able to prevent the residential placement of 1,120
at risk youth.

The breakdown of placement type at time of enrollment is as follows:

             106 were or are in out-of-state residential placement at time of enrollment

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       with 73 returning to WV
             344 were or are in in-state residential placement at time of enrollment
       with 223 returning to community
             1,277 were or are prevention cases at time of enrollment with only 157
       entering residential placement
             56 were or are in an emergency shelter placement at time of enrollment
       with 26 returning to their community

As part of our ongoing tracking and monitoring the Local Coordinating Agencies and
the BCF Regional Social Service Program Managers turn in tracking logs that provide
status updates on all cases. This also allows the identification of barriers to cases
progressing.

Leading up to our first Safe at Home West Virginia referrals West Virginia developed a
program manual and family guide as well as DHHR/BCF policies, desk guides and
trainings. All staff and providers were provided with Wraparound 101 training, an
overview of the wraparound process, Family and Youth engagement training that is
part of our Family Centered Practice Curriculum, and CANS training. The West Virginia
Department of Health and Human Resources (DHHR) instituted weekly email blasts
that go out to all DHHR staff and our external partners. These email blasts focused on
educating us on the 10 principles of Wraparound, family and youth engagement, and
ongoing information regarding Safe at Home West Virginia. We also implemented a
quarterly newsletter that reaches all our staff and external partners, conducted
presentations across the state as well as media interviews and private meetings with
partners. These activities continue as specific to each phase of implementation and
sustaining. Our newsletters now reach over 1,000 partners. All program materials,
newsletters, as well as other pertinent information are posted on our website for public
viewing and use.

During this reporting period, West Virginia has continued our work through the Local
Coordinating Agencies to continue to build capacity to meet the needs of Safe at Home
WV youth. LCA’s have added mentors, therapists, and transportation aides in response
to the service needs of clients. The Local Coordinating Agencies continue to work with
their respective counties to build more external supports and services, especially
volunteer services that will continue to partner with and support our families and youth as
their cases transition to closure. This is often a challenge in rural communities, but it is
also exciting to see creative responses.

West Virginia has worked with the Capacity Building Center for States to develop a
strategic plan to support the wavier as well as other BCF initiatives and needs. The

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Capacity Building Center for States provided a marketing consultant to assist with the
development of a one-page informational document about Safe at Home West Virginia.
The document is written in layman terms and is being utilized by the department as
well as any of our partners to inform and solicit community level support for the youth
and families being served through Safe at Home West Virginia. This document is
available for public use and may be accessed and printed from the Safe at Home West
Virginia Website, safe.wvdhhr.org. West Virginia took this learned skill and updated
the one-page flyer to be more current and also developed a one-page flyer for use to
guide the community on identifying youth in the target population and who to contact
for possible referral to Safe at Home West Virginia

All provider agreements have been updated and signed by February 28, 2018 for
renewal on March 1, 2018. This brings all the provider agreements into the same
renewal cycle.

CANS training and certification as well as Wraparound 101 training continue across the
state to assure new staff hires have the required trainings. Both Wraparound 101 and
CANS are now integrated into DHHR/BCF new worker training.

            772 DHHR staff have been trained in CANS. 31 new Youth Service
      Workers have been trained during this reporting period. This ongoing training
      continues as planned.
            During this reporting period 435 people have been certified or re-certified in
      the administering of the CANS.

West Virginia also continues with the identification and certification of WV CANS
Advanced CANS Experts (ACES) to provide ongoing training and technical assistance.
West Virginia found that staff were having difficulty accessing advanced CANS experts
to provide technical assistance. To address this Dr. Lyons came to West Virginia and
spent a week with staff identified to go through the advanced CANS experts process.
He also provides ongoing technical assistance calls with the experts to continue the
development process. The goal has always been to have the internal capacity within
West Virginia to continue this process and the transferring of learning. We believe that
with the assistance of the current experts and Dr. Lyons we will have no difficulty
proceeding as planned. At present, we have 10 ACES and 42 CANS Experts providing
certification training and technical assistance throughout the state.

There are no significant changes in the design of our interventions to date but there have
been innovations. During this reporting period, a group of Local Coordinating Agency
Directors and Clinical Supervisors with extensive experience with Wraparound have

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worked to develop an advanced training for wraparound facilitators. We are referring to
this training as “Applied Wraparound”. At present the training is developed and has been
piloted and is being updated to expand to all facilitators. This training addresses better
engagement with families, how to problem solve and move a team forward, how to better
write wraparound plans with measurable outcomes, as well as other identified needs. It
is to be more focused on the actual application and practice of wraparound facilitation.

During this reporting period, West Virginia has continued to follow the judiciary
communication plan as developed last year. The plan simply calls for continued
communication with our judiciary by combined teams of WV BCF management and LCA
representation.

West Virginia also worked with our Evaluator, Hornby Zeller Associates, to create
automated WV CANS. All appropriate DHHR staff and Local Coordinating Agency staff
have been trained in the use of the automated WV CANS and have begun entering WV
CANS and subsequent updates. West Virginia has been using the CANS since 2003. It
has been updated to the WV CANS 2.0. WV CANS 2.0 is a revision that fully incorporates
the National Child Traumatic Stress Network Trauma CANS. It adds several modules to
strengthen our current version of the WVCANS which are: juvenile delinquency sub-
module; expectant and parenting sub-module; commercial sexual exploitation youth sub-
module; GLBTQ sub-module; intellectual and developmental disabilities sub-module; 0-5
population sub-module; substance abuse sub-module; fire setting sub-module; transition
to adulthood sub-module; and sexually abusive behavior sub-module. Staff continues to
use the automated CANS and Local Coordinating Agencies continue to partner with the
project director to assure that initial and subsequent CANS are complete on every youth
enrolled in Safe at Home West Virginia.

At present 5,235 CANS have been completed and entered into the automated system.
This number represents initial and subsequent CANS. CANS are to be updated at
minimum every 90 days.

The system has proven to be very useful for the use of the CANS across systems. The
ability for staff to quickly locate and use existing CANS is very helpful in treatment
planning and the ability for administrative staff to access needed reports has proven to
be very useful. We foresee this becoming even more valuable as West Virginia moves
forward with the use of CANS in treatment plan development.

During this reporting period West Virginia worked with our evaluators who developed an
algorithm report in our automated CANS data base. Dr. John Lyon’s had worked with
West Virginia on this algorithm which was then provided to the evaluators for build in the

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system. The algorithm report went live on March.

As discussed in West Virginia’s Initial Design and Implementation Report we have
worked with our out-of-home partners to make changes to our continuum of care. All
provider agreements are being written to include performance measures. West Virginia
continues to work with our partners to improve the continuum of care as well as our
agreements.

We continue working with our partners in Positive Behavioral Support Program. They are
assisting us with engagement and trainings in using the MAPs process. MAPs refers to
Making Action Plans. The training helps facilitators understand the MAPs process and
details and how to conduct a MAP and integrate it into a Wraparound Plan. The first such
training is scheduled for April 12, 2018.

As part of West Virginia’s ongoing work to improve our continuum of care we have created
a Treatment Foster Care model. As part of that process West Virginia has developed a
Three-Tier Foster Family Care Continuum. This continuum includes Traditional Foster
Care homes, Treatment Foster Care homes, and Intensive Treatment Foster Care
homes. This was developed in partnership with the Licensed Child Placing Providers
who currently hold the Treatment Foster Care grants.

Sustainability Planning

Possibly most important is West Virginia’s sustainability planning.            Although
sustainability has always been included within West Virginia’s workplan the more
focused activities to plan for transition out of the waiver began this reporting period.
During this reporting period, a Finance workgroup comprised of the Project Director, BCF
Deputy Commissioner of Operations, BCF CFO, DHHR CFO and staff have continued
work on determining necessary financial information that will be needed and used by
other workgroups to inform any program adjustments. This group received Technical
Assistance through Casey Family Programs as well as our evaluator. Financial planning
also affords West Virginia the needed information to determine level of service and
commitment needed to continue with this valuable program and to assist with the
development of any needed improvement packages determined to be appropriate.

West Virginia began joint meetings between the Bureau for Children and Families and
our sister Bureau for Medical Services to discuss ways Medicaid could support
wraparound as we move forward. West Virginia is also continuing work on IVE
Candidacy claiming which will assist with sustainability.


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West Virginia has always intended to extend the availability of wraparound to all
children we serve. At present we are gaining all information available regarding the
Family First Act to understand the implications of the Act and how it will support our
sustainability and expansion of wraparound.

Summary of Process Evaluation Findings

Changes to Safe at Home planning processes and implementation efforts were reportedly
not substantial over time. In fact, higher level DHHR staff reported that they have been
able to pull back on their direct oversight roles in the program because it is currently
running so well. Some higher-level staff have now turned their attention and focus to
program sustainability following the end of the Waiver demonstration period in September
2019.

One of the biggest changes was in how training is now delivered to DHHR staff. Safe at
Home training is now a standard part of new worker training, ensuring that all new staff
are trained. LCAs continually monitor their own individual training needs and will often
host additional trainings for their staff beyond what is minimally required by the State.
DHHR staff reported higher overall satisfaction with training whereas LCA staff held mixed
views. LCA staff were more satisfied by training provided within their agency than training
offered/required by the State. Suggestions for training improvement included refresher
courses, training on how to build informal/natural support systems, training on
wraparound planning/documentation procedures and more advanced training on how to
engage youth and families.

Outreach to judges/courts was updated to include combined communication plans for
CSMs and LCA program directors to implement together to educate judges and increase
their level of support for Safe at Home. Most stakeholders reported noticing an increase
in the amount of buy-in from judges, to the extent that judges are now perceived as more
frequently receptive to the program than not. Additionally, stakeholder buy-in for the
program was high among all groups interviewed and surveyed.

Communication was a noted area of improvement, where conflict resolution within DHHR
and between DHHR and LCAs has reportedly gone well. Only a couple of staff reported
that problems have remained unresolved. DHHR and LCA staff reported working closely
together to ensure successful implementation at both programmatic and case levels.
Approximately half of DHHR staff surveyed reported that the same amount of time is
spent working on Safe at Home cases and two-thirds reported that less time is now spent.
DHHR staff who reported that less time needs to be spent on Safe at Home cases stated
that this was primarily because of the extra support of wraparound facilitators who have

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more time available to work directly with clients and find creative ways to meet their needs
and link them to the appropriate services.

Stakeholders also described how Safe at Home differs from traditional services. Most of
the responses were related to an intense focus on the unique needs of each youth and
family, which creates an atmosphere of focused planning and creative service delivery.
Additionally, Safe at Home was reported to differ from traditional services because of its
strengths-based model and prioritization of youth and family input in planning.

Due to the tailored nature of wraparound/Safe at Home in addressing youth/families’
needs, many stakeholders struggled with, and even stated it was impossible to come up
with a comprehensive list of services. This was evident in the services shared by LCA
staff which ranged from therapy and parenting classes to boxing and paying a family’s
utility bills. The top services LCA staff stated were received by Safe at Home clients
included therapy, mentoring and tutoring; all of which were services that some LCA staff
reported they were able to offer in-house to clients. LCA staff reported that when they
could not offer a service in-house, they subcontracted with other providers or worked
closely with other community-based resources to ensure it was provided. Most
stakeholders agreed that rural areas were most impacted by a lack of services overall.

Stakeholders reported that Safe at Home has been successful because of wraparound
facilitators who provide an additional level of support to youth and families by spending a
great deal of time working directly with their clients to learn what they need and then by
working creatively to ensure that the services and supports address those needs. The
greatest challenges for Safe at Home were overwhelmingly associated with the
drug/opioid crisis/epidemic, which impacts youth either directly (e.g., drug-addicted
parents and youth) or indirectly (e.g., lack of placement options due to increases in overall
foster care population). Stakeholders hope for more referrals, more prevention of
placement and continuation of the program following the end of the Waiver.

Summary of Cost Evaluation Results

The program has generated a cost savings of $4 million in room and board costs and a
savings of over $490,000 for fee-for-services for treatment youth in Cohorts I, II, and III.
The most significant portion of these savings can be attributed to the reduced time youth
spend in congregate care facilities. As noted above, costs to contract with wraparound
service providers averages $42,346 per youth. Some of the costs of wraparound services
are likely offset by caseworkers who spend less time on Safe at Home cases since
wraparound facilitators are providing such intensive services for youth/families.


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10. Quality Assurance System
West Virginia’s quality assurance system utilizes data from various sources to make
improvements in case practice and services for West Virginia’s children and families. The
Division of Planning and Quality Improvement, Social Services Review Unit, completes
Child and Family Services Reviews (CFSR) style reviews for each of the West Virginia
Department of Health and Human Resources districts. The Division of Planning and
Quality Improvement (DPQI) continues its efforts to further enhance the state’s
performance in the areas of safety, permanency, and wellbeing by utilizing the federal
Child and Family Services Review (CFSR) process as a model to measure and evaluate
the state’s performance for the above-mentioned areas.
West Virginia utilizes the July 2014 version of the Federal Child and Family Services
Review On-Site Review Instrument as the unit’s primary internal tool for evaluating the
quality of delivery of services to children and families. Each reviewed case is reviewed
following the guideline established by the Federal Bureau for Children and Families.
The CFSR style review provides meaningful data to the districts to assist them in
improving services to children and families. All cases reviewed are completed by pairs of
reviewers, by federal guidelines. In addition to completing a review of the record and
FACTS, client and stakeholder interviews are conducted for each case reviewed.
DPQI review team members review cases related to the 18 items of the Federal CFSR
style review instrument. The period under review covers a 12-month section of time going
backwards from the start of the review date to 12 months prior. Preliminary case reviews
to collect information are done related to the FACTS records only. Reviewers develop a
list questions and information needed to complete the CFSR review. DPQI review teams
then conduct interviews with designated stakeholders including the case worker, parents,
service providers, placement providers, youth if age appropriate and any other parties
who may have information relative to the case review. DPQI reviewers also review the
paper file for additional information as part of the review process and include this
information in review findings.
After the completion of the review, all cases are debriefed based on the Federal Child
and Family Services Review model. Case debriefing are comprised of two teams and a
DPQI program manager at minimum. All applicable items are discussed, and consensus
is reached in the rating of the items. This provides for better inter-rater reliability. The
teams upload their completed instruments into a SharePoint site. Quality Assurance
reviews are conducted on all cases reviewed by the Division of Planning and Quality
Assurance program management staff. Data is compiled as a result of the CFSR style
reviews and utilized in the development of district specific of corrective action plans.

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Exit conferences are held at the district offices where DPQI Staff assist the district in
interpreting the results of the review. At the exit conference, the data indicators based on
the 18 items reviewed are discussed with the District. The District is also provided with
a comparison from their prior review to review improvements and areas needing
improvements. At this time, an exit interview is conducted by DPQI staff with the District’s
Management staff. District Management staff can comment on the factors that
contributed to the areas needing improvement, and strengths. Additionally, DPQI creates
a list of base questions to be asked at all the exits. The questions are based on the
previous Federal Fiscal Year data and the overall issues impacting practice within the
State.
Following the exit with the district management team and DPQI staff, DPQI completes a
comprehensive report on the results of the review. The exit summary report is provided
to the District for review and comments. Districts complete a corrective action plan based
on the identified areas needing improvement outlined in the exit summary.
DPQI compiles the exit summary, data and corrective action plans for each district and
distributes the findings to the District’s Management staff, the Regional Program
Manager, Regional Director, Director of Training, Director of Policy and the Executive
Team.
CFSR Round Three:
West Virginia is currently in the process of developing a plan for the implementation of
Round Three of the Child and Family Services Reviews. West Virginia’s sampling plan
is currently being developed with assistance from the Regional Children’s Bureau and the
Measurement and Sampling Committee. No plan has been finalized.
West Virginia has proposed the sampling of 65 social services cases representative of
statewide practice. Case reviews will be conducted over a period of six months. West
Virginia will utilize a 12-month period under review when reviewing cases.
The sample will include 40 foster care cases and 25 in-home cases for a total of 65 cases.
West Virginia has a high rate of children in placement. West Virginia believes this should
be reflected in the number of placement cases included in the sample. The types of cases
reviewed during the District monitoring reviews include open Child Protective Services
(CPS) cases, with and without placement, open Youth Services cases, with and without
placement, Foster Care cases and Adoption cases where the adoptions have not been
finalized. The sampling for the state foster care population will be a consistent of the
listing of children served by jurisdiction strata in accordance with WV’s AFCARS defined
reportable cases.



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WV will utilize the US Department of Health and Human Services Administration on
Children and Families, Children Bureau’s Child and Family Services Review Onsite
Review Instrument and Instructions (OSRI) when reviewing cases. Case information will
be entered into the OSRI on line system provided by JBS international per requirement
of the Children’s Bureau.
West Virginia’s current CFSR style case review process will be applied to Round Three
of the CFSR. Once the sample is screened to meet the identified case types, case lists
will be distributed to the lead reviewer for identification of interview participants. All case
reviews are conducted in pairs. Preliminary case reviews to collect information are done
related to the FACTS records only. Reviewers then develop a list questions and
information needed to complete the CFSR review. This phase enhances the reviewer’s
ability to collect relevant and/or clarifying information during the interviews related to
rating the CFSR items. DPQI review teams then conduct interviews with designated
case participants to include the case worker, parents, service providers, placement
providers, youth if age appropriate and any other parties who may have information
relative to the case review. Interviews are conducted jointly by the team of reviewers.
Interviews will be conducted either in person or by telephone as the discretion of the
interviewee. DPQI reviewers also review the paper file for additional information as part
of the review process and include this information in review findings. Reviewers will jointly
complete the US Department of Health and Human Services Administration on Children
and Families, Children Bureau’s Child and Family Services Review Onsite Review
Instrument and Instructions (OSRI) when reviewing cases.
Upon the completion of the review process, all cases will be “debriefed”. At a minimum,
two teams of reviewers and a program manager must attend the debriefing. The
debriefing allows an opportunity for the case review to be discussed and a consensus on
case rating to be reached. The debriefing exercise allows for inter-rater reliability between
the teams of reviewers. After the debriefing, the teams will enter the rated instrument
into the on-line rating system. Program Mangers will provide quality assurance after the
instrument is uploaded to the on-line site to ensure items were rated correctly,
justifications are complete, and the information is consistent with the debriefings.
2016 Update
West Virginia is in the process of finalizing a plan for the implementation of Round Three
of the Child and Family Services Reviews. West Virginia has proposed using the State
Conducted Case Review process to complete the onsite review. West Virginia’s sampling
plan is being developed with assistance from the Regional Children’s Bureau and the
Measurement and Sampling Committee. No plan has been finalized now. West Virginia
proposes the review of 65 social service cases representative of statewide practice in six


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districts. The reviews will occur between April 1, 2017 and September 30, 2017 and will
be conducted as part of the regular DPQI district review process.
The six Districts selected are representative of the dichotomy of the State from urban to
rural practice and will include the largest metropolitan area in West Virginia, Kanawha
County. The review will include at least one district from each of the four regions. The
additional proposed districts include: McDowell, Ohio/Brook/Hancock, Randolph/Tucker,
Doddridge/Ritchie/Pleasants, and Mingo.
Reviews will be conducted in each of the designated Districts with a staggered schedule
over the course of the six-month review period. This means that as indicated permissible
in the Child and Family Services Reviews Procedures Manual (November 2015), the
sample period used will be a rolling 6-month sample plan that begins on April 1, 2016 and
adjusts forward one month per each month of the review period. This will provide for a
period under review of approximately twelve months.
Reviews will be conducted by pairs of DPQI reviewers. Review teams will conduct
interviews with key case participants. Reviewers will jointly complete the US Department
of Health and Human Services Administration on Children and Families Children Bureau’s
Child and Family Services Reviews Onsite Review Instrument and Instructions (January
2016 version) when reviewing cases. Reviewers will be prohibited from reviewing cases
in which they have been directly involved or provided direction. Each reviewed case will
be debriefed with a minimum of one DPQI program manager and two review teams. After
the debriefing is completed a DPQI program manager will review the completed
instrument to ensure accuracy of ratings in accordance with instrument instructions.
There will be a designated Lead Reviewer for each District reviewed.
The sample will include 40 foster care cases and 25 in-home cases. The types of cases
reviewed will include open Child Protective Services (CPS) cases, with and without
placement, open Youth Services (YS) cases, with and without placement, Foster Care
cases and Adoption cases where the adoptions have not been finalized prior to the start
of the sampling period. Safe at Home WV cases will be reviewed if they appear in the
random sample. WV does not propose to stratify the sample by CPS/YS case type.
Elimination criteria will be applied if a case type appears to be overrepresented in the
sample.
The population, from which the placement sampling frame will be created, will comply
with ACF standards as they apply to the CFSR Round 3 Placement case criteria. The
population data source will be an abridged AFCARS file sorted by district. Data set details
will include the Child ID number, age, date of birth, date of most recent home removal,
permanency goals and FIPS code for the county. Initial data set will include all cases in
which a child was in Bureau for Children and Families’ custody and out-of-home care a
minimum of 24 hours. Initial sampling period will begin on 4/1/16. Subsequent case
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sampling will occur monthly to allow for a consistent period under review of approximately
12 months. The sample will be separated into county of assignment and then into districts.
West Virginia’s SACWIS system Family and Children Tracking System (FACTS) will
generate the data set for the sampling of the non-placement cases. Included in the data
set will be the case number which is by family served, case type, case open date, and if
applicable date of case closure, FIPS code, and assigned caseworker. The data set will
include all cases with at least 45 days in an “open” status, during the period of 04/01/16-
11/15/16. Initial sampling period will begin on 4/1/16. Subsequent case sampling will
occur monthly to allow for a consistent period under review of approximately 12 months.
The sample will be separated into county of assignment and then into districts. Random
sample will be extracted monthly for the 12-month period under review using the Excel
Data Analysis TookPak.
As per ACF standards for CFSR Round 3, all in-home cases will be pre-screened to
ensure that no children in the family were in placement for 24 hours or longer during any
portion of the sampling period. In-home cases will also be pre-screened to ensure they
have been open at least 45 days at the time of review.
West Virginia’s current CFSR style case review process will be applied to Round Three
of the CFSR. The samples for both placement and in-home cases will be separated into
county of assignment and then into districts. Once the samples are screened for
elimination criteria they will be distributed to the district lead reviewer. The lead reviewer
will develop the district review schedule and identify interview participants. All case
reviews will be conducted in pairs. Preliminary case reviews to collect information will be
done related to the FACTS records. Reviewers will then develop a list questions and
information needed to complete the CFSR review. This phase enhances the reviewer’s
ability to collect relevant and/or clarifying information during the interviews related to
rating the CFSR items. DPQI review teams will then conduct interviews with designated
case participants that include the case worker, parents, service providers, placement
providers, youth if age appropriate and any other parties who may have information
relative to the case review. Interviews are conducted jointly by the team of reviewers.
Every effort will be made to conduct the interviews in person; however, interviews may
occur by telephone at the discretion of the interviewee. DPQI reviewers will also review
the paper file for additional information as part of the review process and include this
information in the review findings. Reviewers will jointly complete the US Department of
Health and Human Services Administration on Children and Families, Children Bureau’s
Child and Family Services Review Onsite Review Instrument and Instructions (OSRI)
when reviewing cases. Case information will be entered into the OSRI on line system
provided by JBS international per requirement of the Children’s Bureau.



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Upon the completion of the review process, all cases will be “debriefed”. At a minimum,
two teams of reviewers and a DPQI program manager must attend the debriefing. The
debriefing allows an opportunity for the case under review to be discussed and a
consensus on case ratings to be reached. The debriefing exercise allows for inter-rater
reliability between the teams of reviewers. After the debriefing, the teams will enter the
rated instrument into the on-line rating system. DPQI management staff will provide
quality assurance after the instrument is uploaded to the on-line site to ensure items were
rated correctly, justifications are complete, and the information is consistent with the
debriefings.
2017 Update
Please refer to the Statewide Self-Assessment.
2018 Update
West Virginia completed CFSR Rd. 3 utilizing the state conducted case review process.
The Division of Planning and Quality Improvement staff reviewed 65 cases in six districts
across the state during the CFSR. The Districts reviewed were: Kanawha, McDowell,
Ohio/Brooke/Hancock, Randolph/Tucker, Doddridge/Ritchie/Pleasants, and Mingo.
During CFSR Rd. 3 DPQI completed the review of 40 foster care and 25 in-home cases.
Case reviews conducted were reflective of practice that occurred approximately 12
months prior to the date of the review. During the reviews DPQI staff completed 361
interviews. Of this number, 49 were children and 80 were parents involved in the cases
being reviewed.
On December 10, 2017, the Children’s Bureau released the WV CFSR Rd. 3 Final Report
and the CFSR financial penalty estimates. On December 21, 2017, the Children’s Bureau
conducted an exit conference during which the results of the CFSR case reviews, the
Statewide Assessment, and interviews with stakeholders to determine conformity levels
were discussed. WV did not meet substantial conformity on the seven CFSR Outcomes
and four of the seven CFSR Systemic Factors.
West Virginia used existing workgroups to develop a program improvement plan to
improve outcomes for children and families. The areas of focus included: worker
recruitment and retention, foster parent recruitment and retention, meaningful contact with
families, and service array. On March 7, 2018 West Virginia submitted the program
improvement plan to the Children’s Bureau. WVDHHR and the Children’s Bureau are
negotiating the development/approval of the PIP and accompanying measurement plan.

11. CAPTA
See attached CAPTA Update.
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12. Chafee Foster Care to Independence Program
The West Virginia Department of Health and Human Resources has the responsibility to
help older youth, in their care, develop into self-sufficient adults. In addition, all agencies
and individuals who provide substitute parental care for older youth, in their care, are
charged with helping to ensure that their social, emotional, and intellectual development
is achieved to each youth(s) highest potential.
The Department should ensure that all adults entrusted with the care of older youth
demonstrate appropriate social behavior; respond properly to stressful situations; and
promote good physical, emotional, and intellectual well-being. It is through the
observation of positive adult behavior and through interaction with positive adult role
models that youth develop and demonstrate positive attributes.
All youth in out of home care, at age 14 or older, are provided with transitioning services
to assist them with their transition from foster care as well as their transition to adulthood.
Youth are provided with a life skills assessment on an annual basis, and a transition plan,
which is reviewed and revised every 90 days. Transitioning services are provided when
indicated through the life skills assessment and transition plan.

Since November 2014, West Virginia has been making changes to its child welfare
policies to comply with the Preventing Sex Trafficking and Strengthening Families
Act. We are strengthening our policies and practices to hopefully reduce the amount of
West Virginia children in foster care who run away from placement, which ultimately
leaves them with a higher probability of becoming victims of human and/or sex trafficking.

Our goal is to provide the children in foster care with a more stable and flexible
environment, which will ultimately decrease the likelihood that they will run away. We
have expanded our definition of a sibling to include any individual that the child considers
to be a sibling with the hopes of broadening the chances for a kinship or relative
placement wherein the child will already feel welcome and familiar. We have also added
an entire section on prudent parenting, which requires our placement providers and case
workers to allow the children to lead a more “normal” lifestyle and will provide them with
more typical childhood experiences with family and friends. We are encouraging our
providers to allow the children to spend the night with their friends, get involved with extra-
curricular activities, play sports, attend birthday parties, go on vacations, and anything
else that the child is interested in doing. By allowing the children to have more freedom,
our hope is that they will not feel the pressure to leave their placement as strongly as
before.


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Beginning in January 2015, the Bureau for Children and Families has had briefings with
their Child Welfare Supervisors. These briefings have included information about
appropriate use of Chafee funding, transition plans, learning plans, and discharge plans.
Supervisors have been instructed to assure their workers are revisiting learning plans and
transition plans monthly to determine any services their youth may need to transition.

West Virginia has also expanded the process for case workers and placement providers
to follow in the instance that a child does run away or goes missing. They have always
been required to report a missing child to law enforcement and to work diligently and
cooperatively with them to locate the child. We are in the process of adding a survey to
be completed by the caretaker (once a child is located) to assess the child to determine
if they ran away willingly, why they ran away, what experiences they had while they were
gone, and determine the likelihood of them running again. If it is found that they could
have possibly been a victim of human and/or sex trafficking, the case worker is to report
such information to the officials immediately, and then determine if there are any available
services or other resources that could help the child process and recover from their
experiences. West Virginia currently has a committee made up of private providers and
DHHR staff to evaluate and revise forms and training to determine services needed by
runaway youth. This group has met twice and should be able to finalize these documents
in the next three months.

The Bureau for Children and Families has a representative participating in statewide
committees regarding human and sex trafficking, as well. The Human Trafficking
Subcommittee is a part of the West Virginia Children’s Justice Taskforce. This
subcommittee consists of members of the West Virginia State Police, West Virginia
Supreme Court of Appeals, West Virginia Court Appointed Special Advocates, and
various other entities that play a large role in child welfare. The subcommittee was
created to establish a protocol on working with children in West Virginia who have gone
missing or run away and to determine if they have been a victim of human or sex
trafficking. The various players within the subcommittee already have certain policies in
place and are now working together to create a network of resources and contacts to
assist in these cases. The Court Improvement Program Human Trafficking
Subcommittee is slated to begin in September 2015. This subcommittee will comprise of
many of the same players as the West Virginia Children’s Justice Taskforce Human
Trafficking Subcommittee but will be working together to create a bill to present to the
legislature in January 2016 to update West Virginia State Code in accordance with the
Preventing Sex Trafficking and Strengthening Families Act.

For FFY 2016 the Department plans to hire transition specialists in each Region. These
positions:

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      Will be assigned as a secondary worker for every youth involved with child welfare
       in the Region ages 14 and older.
      Will assure that transitioning plans for all youth involved with Child Welfare are
       appropriate and updated as needed.
      Interacts with a variety of professional practitioners in the areas of social work,
       mental health, developmental disabilities, education, juvenile delinquency, and
       counseling and guidance to assess client's needs and provide appropriate
       services.
      Helps the primary worker develop a client transition plan designed to accomplish
       and to provide Child Welfare youth in attaining social, educational and vocational
       goals.
      Cooperates with the court system for child protective services, foster care,
       adoption, juvenile delinquency and Medley program services by helping primary
       worker to prepare or complete Life Skills assessments, Learning plans and
       transition plans.
      Provides technical assistance to primary workers and providers in effectively
       developing required plans and services; conducts periodic evaluations of facilities
       and services.
      Counsels clients/families in achieving goals of client transition plan.
      Counsel’s youth to help primary worker develop appropriate transition plans.
      Speaks before educational and community organizations and groups regarding
       services available and to develop community resources.

By creating these positions, the Department will be able to ensure that all youth in foster
care of transitioning age will have staff whose sole purpose is to see that youth
transitioning have their needs met.

Training

Training on “Understanding Youth Transitioning” was provided to BCF staff in the fall of
2014 via webinar. There were 10 webinars scheduled to make the training available to
staff statewide. In July 2015, cross training on “Youth Transitioning” was provided at the
Court Improvement Program Conference held in Bridgeport and Charleston. Over 250
participants from a variety of disciplines attended, including judicial, private providers,
education, social workers, probation officers, BCF staff and juvenile services.

The Bureau for Children and Families/ Division of Training is currently working on
developing training on the topic of youth transitioning from foster care to independent
living. This course is design to help BCF case managers, foster parents, relative
guardians, and adoption parents develop the skills and knowledge they need to help
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youth transition from foster care to successfully live independently and self-
sufficiently. This course will be included in the IV-E/IV-B training plan.

Purpose
The purpose of the Chafee Foster Care Independence Act was to provide states with
flexible funding to develop and design services and activities to meet the needs of youth
transitioning from foster care. The Act provides guidance for seven specific purposes
listed below:
Help youth transition to self-sufficiency;
Help youth receive the education, training, and services necessary to obtain
employment;
Help youth prepare for and enter post-secondary training and educational institutions;
Provide personal and emotional support to youth aging out of foster care through mentors
and the promotion of interactions with dedicated adults;
Provide financial, housing, counseling, employment, education, and other appropriate
support and services to former foster care recipients between 18 and 21 years of age to
complement their own efforts to achieve self-sufficiency and to assure that program
participants recognize and accept their personal responsibility for preparing for and then
making the transition to adulthood;
Make available vouchers for education and training, including post-secondary
education, to youth who have aged out of foster care; and
Provide services to youth who, after attaining 16 years of age, have left foster care for
kinship guardianship or adoption.
There have been several new initiatives developed to carry out the purposes of the
Chafee Act as well as the carryover of initiatives previously developed. The following are
available initiatives and activities conducted in FFY 2014 as they relate to the seven
purposes of the Act.
Programs/policies to help youth transition to self-sufficiency
2016 Update
The purpose of the Chafee Foster Care Independence Act was to provide states with
flexible funding to develop and design services and activities to meet the needs of youth
transitioning from foster care. The Act provides guidance for eight specific purposes listed
below:

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Help youth transition to self-sufficiency;
Help youth receive the education, training, and services necessary to obtain
employment;
Help youth prepare for and enter post-secondary training and educational institutions;
Provide personal and emotional support to youth aging out of foster care through mentors
and the promotion of interactions with dedicated adults;
Provide financial, housing, counseling, employment, education, and other appropriate
support and services to former foster care recipients between 18 and 21 years of age to
complement their own efforts to achieve self-sufficiency and to assure that program
participants recognize and accept their personal responsibility for preparing for and then
making the transition to adulthood;
Make available vouchers for education and training, including post-secondary
education, to youth who have aged out of foster care;
Provide services to youth who, after attaining 16 years of age, have left foster care for
kinship guardianship or adoption; and
Ensure that youth served have regular, ongoing opportunities to engage in age or
developmentally appropriate activities
There have been several new initiatives developed to carry out the purposes of the
Chafee Act as well as the carryover of initiatives previously developed. The following are
available initiatives and activities conducted in FFY 2015 as they relate to the seven
purposes of the Act.
Programs/policies to help youth transition to self-sufficiency
As part of the MODIFY Strategic Plan WVU CED are developing, they are creating a
course about youth protective factors that will be available to case managers and others
who have an interest in youth transitioning. This course will introduce the Youth Thrive
Protective Factors Framework and the benefits of the MODIFY with CED Program

West Virginia has already begun working with PFLAG and intends to reach out to further
institutions to expand upon available resources. Youth identifying as LGBT are at a higher
risk to experience homelessness, violence, and at a higher risk to attempt or commit
suicide than their heterosexual counterparts. The CDC identifies safe and supportive
learning environments and caring and accepting parents as essential to the health and
well-being, both mentally and physically, of youth who identify as LGBT or Q. BCF is
committed to ensuring our LGBT youth experience safety, permanency, and well-being

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at rates consistent with their heterosexual counterparts and believes this requires a multi-
faceted approach.

2017 Update

MODIFY and HRDF will continue to provide services for the upcoming year. MODIFY
has been working on a strategic plan that includes looking at retention rates and bringing
the Youth Thrive framework to West Virginia.

Life Skills Assessment Process: At age 14 or older (if a youth enters care at an older
age), each child in foster care completes their Casey life skills assessment. The
assessment is completed within 30 days following the youth’s 14th birthday or entrance
into care if the youth is already age 14. The assessment helps determine the child’s level
of functioning in several areas including but not limited to personal hygiene, food
management, housekeeping, employability, education planning, and so forth. The results
of the assessment provide critical information regarding strengths and weaknesses in
various life skills areas. To ensure that foster care youth are gaining necessary skills to
prepare them for independence, the life skills curriculum provides foster care youth in all
out of home placements in West Virginia the opportunity to learn these valuable skills.
The learning objectives of the life skills curriculum are taught to the foster child by the
foster parents, by staff in group residential settings/specialized foster care, or by the
child’s Department case worker. The life skills assessment is completed on youth in care
annually.
The Department has continued to implement the new life skills assessment and
curriculum process. West Virginia continues utilizing the Casey Life Skills Assessment
and Curriculum. When the Casey Assessment process and website changed, provider
agencies, and staff were provided with information on the new process and how to access
the site and assessment. The utilization of the Casey Assessment and Curriculum
process is being used statewide.
2016 Update
West Virginia continues utilizing the Casey Life Skills Assessment and Curriculum. When
the Casey Assessment process and website changed, provider agencies, and staff were
provided with information on the new process and how to access the site and assessment.
The utilization of the Casey Assessment and Curriculum process is being used statewide.
Transition Plan and Services: At the age of 14 or older (if a youth enters care at an
older age), each child in foster care develops their individualized transition plan, which
will help the youth move towards independence and self-sufficiency. The transition plan
is to be developed within 60 days following the youth’s 14th birthday or entrance into care
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if the youth is already age 14. The transition plan is reviewed every 90 days and revised
as necessary. Some areas that are addressed in the transition plan are, housing options,
insurance options, community supports, educational plans and supports, employment
plans and supports, workforce supports, mentoring services, healthy relationships, family
planning, supportive counseling, life skill curriculum, and benefits available (SSI, SS,
ETV, Food Stamps…etc.). In March 2014, the Department released an updated transition
plan and transition plan desk guide that was developed with the input of the older youth
transitioning task team. The new format has been shared with partners at the Court
Improvement Program and at various supervisor meetings across the state. Webinars
were held in October and November of 2014 to further provide clarification and training
on the required youth transition planning process.
2016 Update
In some situations, for youth who are over the age of 18, the youth may choose to live in
an apartment, with community services. The youth’s placement is supported by the
Department’s caseworker or a MODIFY Community Support Specialist. Life skills are
provided to the youth through community services or through the caseworker.
Transitional Living Placement with Subsidy: When a youth reaches the age of 17 or
older, he or she has an option to move into a community setting in his or her own
apartment, if they meet the eligibility criteria. The purpose of this placement type is to
allow the youth an opportunity to use the life skills acquired while in foster care and
continue to receive support from the State. In this setting the youth is pursuing an
educational/vocational goal, learning job skills, is employed or seeking employment.
If a placement is unavailable or the youth shows signs of advanced progress towards
independence, youth can choose to rent an apartment in the community. If the youth are
placed in a transitional living program under a specialized foster care agency, and they
are living in their own apartment, the youth will have contact with staff from a transitional
living agency at least five hours per week. They may choose to live in one of the staff
supervised transitional living programs currently available. In these programs, youth live
in an apartment within an apartment building or complex and a staff person is on the
premises frequently or available 24/7.
In some situations, for youth who are over the age of 18, the youth may choose to live in
an apartment, with community services. The youth’s placement is supported by the
Department’s caseworker or MODIFIES Community Support Specialist. Life skills are
provided to the youth through community services or through the caseworker.
2016 Update



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In some situations, for youth who are over the age of 18, the youth may choose to live in
an apartment, with community services. The youth’s placement is supported by the
Department’s caseworker or a MODIFY Community Support Specialist. Life skills are
provided to the youth through community services or through the caseworker.
2017 Update
Foster care policy has updated transitional living to require field staff to educate their
transitional living youth case about being self-aware and personal safety to prevent
becoming victims of human trafficking.
2018 Update
As part of the Bureau for Children and Families Title IV-E Program Improvement Plan,
booklets for old youth in foster care were developed and printed by Channing Bete. These
booklets give older youth in foster care information about their rights, services available,
court proceedings and information about trafficking.
Transitioning Youth Grant Program: The Bureau of Behavioral Health and Health
Facilities (BHHF) has continued to provide two grants to agencies to provide independent
living services to foster care and former foster care youth with mental health and/or
behavioral health issues. The Department has partnered with BHHF to assist with these
programs and to assure their sustainability. These transitional living programs are
designed to have three phases, with different level of staff supervision in each phase.
Phase I consists of basic residential care, with complete supervision. Phase II, graduate’s
youth to living in an apartment building, with staff supervision available 24/7. Phase III,
transitions youth to living in scattered apartments, with limited supervision. The MODIFY
program assists with the provision of the services for Phase II and III.
Outcomes
Outcome 1: There were approximately 19 youth that participated in Transitional Living
(TL) placements during FFY 2014. These youths may have been in a TL placement under
a private agency or in a TL placement supervised by the Department.
2017 Update
During the FFY 2015, Burlington United Methodist has provided transitional living services
to 1 youth, under their BHHF grant program
Outcome 2: During the FFY 2014, Burlington United Methodist has provided transitional
living services to 13 youth, under their grant program. Number of youth who participated
in the following Phases:
Phase I - 5 youth

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Phase II - 4 youth
Phase III - 4 youth
2016 Update
During the FFY 2015, Burlington United Methodist has provided transitional living services
to 38 youth, under their grant program. Number of youth who participated in the following
Phases:
Phase I - 19 youth
Phase II - 13 youth
Phase III - 6 youth
Outcome 3: During the FFY 2014, Stepping Stones has provided transitional living
services to 6 youth, under their grant program.
Achievements of FFY 2014
2016 Update
Outcome 3: During the FFY 2015, Stepping Stones has provided transitional living
services to 24 youth, under their grant program.
2017 Update
During the FFY 2015, Stepping Stones has provided transitional living services to no
youth, under their BHHF grant program.
BHHF will no longer be funding these programs.
West Virginia continues to work through issues related to the Casey Assessment process
changing. The State has had an increased focus on completing the Casey Life Skills
Assessment on all youth in care and in developing appropriate transition plans for youth
in care.
The Department continues to maintain two transitional living programs for youth who need
extra supports as they transition out of foster care. These transitional living programs can
be duplicated and established in any part of the State.
The State continues to work in partnership with private agencies, which develop or
continue to provide programs for youth transitioning from foster care. The State continues
work with an Older Youth Transitioning Work Group, consisting of all TL Providers and
Department management, to look at transitioning services for older youth. This group is
in the process of developing a two-year strategic plan to address the needs of youth who

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are transitioning out of foster care. The work group had developed a transition plan
document for older youth. The transition plan document was piloted by a few provider
agencies and DHHR staff. After considerable consultation with groups the Department
works with, the document was finalized and rolled out in March 2014. The group is
focusing on life skills curriculum choices and looking at strategies to prevent the
exploitation of foster children, including human trafficking. This group also worked
collaboratively together, with Stepping Stones taking the lead, to expand and improve the
“It’s My Move” website and checklist for youth. New modules look at pregnancy and
parenting youth.
Help youth receive the education, training, and services necessary to obtain employment.
Employment Programs: The employability project was developed to help youth obtain
employment. The employability services are available to youth currently in foster care and
to the 18-20-year-old population who have aged out of foster care. The project began as
a pilot but quickly went state wide. Youth Services System Inc., (YSS) in Wheeling
provides this service in Hancock, Brooke, Ohio, Marshall, Wetzel, counties in region I.
The services and activities provided are designed to not just place youth into employment,
but also provide them with the skills, guidance, and ongoing support necessary to sustain
employment and succeed in the workplace. Services are provided at the youth’s place of
residence, YSS site, within the community, or at Sponsored Employment sites. The
second grantee, Human Resource Development Foundation Inc. (HRDF), covers regions
II, III, and IV, and all counties in Region I not covered by YSS.
Youth participating in this project are expected to:
● Develop Job Seeking Skills
● Develop an employment history
● Receive Cash for attendance
● Receive assistance with job placement, on the job training, and job shadowing
● Gain/Maintain employment
Outcomes of Employment Programs
Outcome 1: During the FFY 2014, HRDF provided 238 foster care/former foster care
youth with employment services, to obtain employment, retain employment and gain
employment skills. Youth gained employment; youth completed job mentoring and
completed an orientation/assessment.
2016 Update


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During the FFY 2015, HRDF provided 154 foster care/former foster care youth with
employment services, to obtain employment, retain employment and gain employment
skills. Youth gained employment; youth completed job mentoring and completed an
orientation/assessment.
2017 Updates
During the FFY 2016, HRDF provided 211 foster care/former foster care youth with
employment services, to obtain employment, retain employment and gain employment
skills. 23 youth gained employment; 161 youth completed job mentoring, and 99 youth
completed an orientation/assessment. 102 youth maintained employment for 90 days
and 91 youth maintained employment for 180 days. 9 youth had jobs with benefits.
2018 Update
During the FFY 2016, HRDF provided approximately 108 foster care/former foster care
youth with employment services, to obtain employment, retain employment and gain
employment skills. 17 youth gained employment; 50 youth completed job mentoring, and
104 youth completed an orientation/assessment. 87 youth maintained employment for
90 days and 81 youth maintained employment for 180 days. 9 youth had jobs with
benefits.
Outcome 2: During the FFY 2014, YSS provided 74 foster care/former foster care youth
with employment services, to obtain employment, retain employment and gain
employment skills.
2016 Update
During the FFY 2015, YSS provided 39 foster care/former foster care youth with
employment services, to obtain employment, retain employment and gain employment
skills.
2017 Update
During the FFY 2016, YSS provided 155 foster care/former foster care youth with
employment services, to obtain employment, retain employment and gain employment
skills.
2018 Update
During the FFY 2016, YSS provided 34 foster care/former foster care youth with
employment services, to obtain employment, retain employment and gain employment
skills.



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Through continued collaboration with the HRDF and YSS, the State has been able to
assist more youth into obtaining employment and into receiving employment services
within their own communities. The State plans to continue to work with these employment
programs as well as other community employment programs, such as WorkForce West
Virginia.
Human Resource Development Foundation, Inc. (HRDF) provides Youth Job
Development and Placement services in selected counties of WV Department of Health
and Human Resources (WVDHHR) Bureau for Children and Families (BCF) Operating
Regions I, II, III, and IV. The services provided assist youth aging out of foster care to
gain independence by promoting job preparation and work.
The purpose of the program is to offer youth aging out of foster care an opportunity to
develop job-seeking skills, acquire employment, develop an employment history, learn
regular work habits, develop basic skills needed to succeed in the workplace, and retain
employment.
The services and activities provided through the Employment for Independent Living
Program are designed to not just place customers into employment, but also provide them
with the skills, guidance, and ongoing support necessary to sustain employment and
succeed in the workplace.
In addition to the services provided through the program components, the Employment
for Independent Living Program (EFILP) provides customers bonuses for superior
attendance during Job Search, bonuses for retaining employment, stipends to assist the
customer with the cost associated with attending training, and travel payments to assist
the customer with the expense of getting to work for the first 30 days of employment.
The curriculum to be used for Job Search Instruction is suitable for individuals with low
reading levels; however, individuals who cannot read at all would not be able to handle
the program. Materials are geared to an adult interest level and are suitable for average
and above-average readers, so the program serves customers functioning at nearly every
academic level.
Employment for Independent Living Program Performance Objectives look at
entire section
To provide opportunities for all older foster care youth to increase and improve job seeking
and job keeping skills. The Employment for Independent Living Program serves youth 16-
21 who are currently in foster care or who have aged out of foster care.
To provide opportunities for older foster care youth to gain work experience.



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EFILP services are available to other eligible youth in the priority counties, as well as, the
remaining counties depending on the number of referrals received from the priority
counties and the availability of staff time.
There are key elements, which are embodied throughout the program. These elements
include: Personal Empowerment (through the discovery of skills, motivation, and goals);
Hands-On Skill Development (through practical application of skills being taught and in
field activity); and, Ongoing Support (initiated during Job Search Instruction and sustained
throughout program participation and for 12 months after the attainment of customers’
employment is obtained).
Job Search Instruction is designed to be dynamic with lively exchanges between the
Service Placement Specialist/Job Developer and customer along with small group
activities (when possible) and multi-media/instructional techniques. Job Shadowing
experiences, if utilized, will be relevant to the customer’s interest and/or occupational
goals and skillfully selected and shaped to fit the customer through cooperation with the
employer/site supervisor and the Service Placement Specialist/Job Developer.
Recordkeeping materials will be clear and easy to complete while allowing for efficient
tracking of activity.
While Employment for Independent Living Program staff will be actively involved in case
management issues, HRDF recognizes the role of DHHR as the primary Case Manager.
HRDF will notify childcare agencies, foster care agencies, and Social Service Supervisors
of the date, time, and locations of all program intakes/Job Search Workshops. If sufficient
numbers of referrals are unavailable, program services will be provided on an individual
basis and coordinated with the aforementioned agencies.
2016 Update
HRDF staff work closely with collaborating partners. HRDF operates Workforce
Innovation and Opportunity Act (WIOA) Programs, funded by three Regional Workforce
Development Boards (WDB), and collaborates with all of the other WDB’s in the state.
Under WIOA, priority of service includes foster youth and as a result, HRDF makes sure
that youth take advantage of services being provided by HRDF and others youth
providers funded by WIOA.
2017 Update
HRDF staff work closely with collaborating partners. HRDF operates Workforce
Innovation and Opportunity Act (WIOA) Programs funded by three Regional Workforce
Development Boards (WDB) and collaborates with all the other WDB’s in the state. Under
WIOA, priority of service includes foster youth and as a result, HRDF makes sure that


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youth take advantage of services being provided by HRDF and other youth providers
funded by WIOA.
Help youth prepare for and enter post-secondary training and educational institutions.
Helping our Undergraduates Succeed in Education (HOUSE) Project: Some TL
youth who are first-time freshman at West Virginia State University live in the H.O.U.S.E.
project. This initiative provides a small staff supervised house on the WVSU campus for
students who may need a gradual introduction to college life. H.O.U.S.E. stands for
Helping Our Undergraduates Succeed in Education.
Foster Care Tuition Waiver: House Bill 4787 was passed in 2000 and provides for youth
in foster care and former foster care youth to receive tuition waivers for attending one of
the public colleges/universities in West Virginia.
Computers for Graduates Program: Since the early 2000s, the Department has
recognized that education plays a vital role in youth growth and development and the
transition to adulthood. The Computer for Graduates Program was established to
encourage and reward youth to stay in school and get a high school diploma or GED and
to assist them in post-secondary education or employment. A memorandum to staff is
released each spring which outlines the process and dollar amounts for purchasing these
electronic devices. Each year, the Department determines a dollar amount that will be
available for the purchase of a computer to youth who graduate from high school or
complete the High School Equivalency exam while in foster care. Vouchers are issues
to the youth by the Department worker to purchase the equipment. We also look at
supplying printers and other electronic devices and accessories because we realize only
a computer is not sufficient.
2016 Update
Vouchers to Wal-Mart are issues to the youth by the Department worker to purchase the
equipment. The MODIFY Program facilitated a new partnership with the national IFoster
Computers for Foster Children program to get more reliable computers at a reduced cost
as Wal-Mart computers wear out or fail more often. Youth have the option of a voucher
or an IFoster computer shipped to them.
2017 Update
Access to technology is a necessity and no longer a luxury in today’s post-secondary
education environment. Each year the Department determines a dollar amount that will
be available for the purchase of a computer to youth who graduate from high school or
complete the High School Equivalency exam while in foster care. Vouchers are issues
to the youth by the Department worker to purchase the equipment.

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Outcomes of Post-Secondary Preparation
Outcome 1: West Virginia had approximately 185 foster care and former foster care
youth attending post-secondary educational or some type of educational training during
the FFY 2014.
2017 Update
West Virginia had approximately 271 foster care and former foster care youth attending
post-secondary educational or some type of educational training during the FFY 2016.
2018 Update
West Virginia had approximately 275 foster care and former foster care youth attending
post-secondary educational or some type of educational training during the FFY 2016.
The Department, in collaboration with the MODIFY Program and higher educational
institutions, has steadily increased the enrollment of youth exiting foster care, into post-
secondary educational programs over the past several years. The WV tuition waiver
provides youth with additional financial aid, so their educational costs are reduced.
2017 Update
Due to budget cuts at both the federal and state level for higher education programs and
the subsequent increases in tuition and fees, the Department and the MODIFY Program
will be considering changes to the program, including limitations on costs for the
upcoming fiscal year.
The Department plans to continue to work with the higher educational institutions to
increase the number of youth attending post-secondary educational programs. The tuition
waiver opportunity will continue to assist youth with educational expenses. The
Department and other partners continue to work with the community and technical
colleges of WV to improve the services that youth are receiving through the education
system.
The Department will continue to work with the H.O.U.S.E project at West Virginia State
University and increase the number of youth, exiting foster care, that are served by this
program.
The computers for graduate’s program has been a successful program for youth in foster
care who obtain their high school diploma or GED while in foster care, for several years.
The computer program is an excellent incentive for youth to complete their high school
education. These computers are often utilized by the youth as they pursue their higher
educational goals. The computer for graduate’s program will continue.


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Provide personal and emotional support to youth aging out of foster care, through mentors
and the promotion of interactions with dedicated adults.
2016 Update
West Virginia had approximately 199 foster care and former foster care youth attending
post-secondary educational or some type of educational training during the FFY 2015.
The computers for graduate’s program has been a successful program for youth in foster
care who obtain their high school diploma or High School Equivalency while in foster care,
for several years.
Mentoring: The Department has developed close working relationships with transitional
living providers to address the issues that youth transitioning out of foster care face. The
Department has also encouraged the use of the Foster Club Permanency Pact in several
regions in the state. Youth involved in the West Virginia Foster Advocacy Movement
(WVFAM) initiative supported by the MODIFY with CED Program participate in group
mentoring and individual mentoring activities at local meetings and activities. The
Stepping Stones Program and the MODIFY with CED Program provide local training
activities for current and former foster youth that included a local “Game Called Life” event
in Huntington WV. Other transitional living providers MODIFY staff, and Chafee funded
grantees encourage the interaction with caring adults through informal mentoring and
group meetings.
The MODIFY with CED Program has developed training called “This Yard Called Life,”
that will seek to involve the community and professionals that are not traditionally involved
with foster youth to participate in local life skills trainings, host events at local workplaces,
and invite WVFAM members to share the issues important to them in the community.
The MODIFY with CED Program hopes that this non-traditional approach to life skills
training will result in the development of informal mentoring and personal relationships to
benefit the youth.
Through the hiring and development of the WV NYTD Survey team, the MODIFY with
CED Program has begun and will continue to undertake a project called “We Still Care.”
Adopted during research to engage and improve support of former foster youth who age
out, the MODIFY with CED Program adopted the idea from the state of Maine. Utilizing
a public-private partnership with the Taylor County Collaborative FRN, donations are
accepted for care packages to youth identified in the 17-21-year-old population. Donors
are encouraged to create care packages specific to kids in their community or to make
donations of products and items to be put together for youth anywhere in the state.
Donors are encouraged to put together cards and letters that will demonstrate caring and
compassion for these youth that may have little to no support.


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West Virginia Foster Advocacy Movement and the Taylor County Collaborative Family
Resource Network Breaking the Cycle Youth Group have teamed up to provide mentoring
and peer sharing between the two youth groups. Breaking the Cycle is a group of middle
through college age students who work on the issues of teen stigma and stereotyping of
destructive decisions. The Breaking the Cycle youth work on prevention related issues
such as drug, alcohol, and tobacco in their own community. Initial Christmas meetings
was held in December of 2014 where the groups had the opportunity to share the issues
each was working on and brainstorm how they can work together. Activities are on-going.
Youth are supporting one another in the issues each group has identified and sharing
strategies and resources such as influential connections.
2016 Update
West Virginia Foster Advocacy Movement and the Taylor County Collaborative Family
Resource Network Breaking the Cycle Youth Group have teamed up to provide mentoring
and peer sharing between the two youth groups. The groups come together at least once
a year, usually during Christmas, to share resources and leadership skills. Youth are
supporting one another in the issues each group has identified and sharing strategies and
resources such as influential connections.
Youth Councils: Through the re-invigorated West Virginia Foster Advocacy Movement,
youth are provided opportunities to participate in meetings with peers, interaction with
other youth from other areas, and interaction with the community through participation in
speaking engagements and panels. Youth will continue to be provided leadership and
mentoring opportunities in the coming year.
2016 Update
Through the West Virginia Foster Advocacy Movement (WVFAM), youth are provided
opportunities to participate in meetings with peers, interaction with other youth from other
areas, and interaction with the community through participation in speaking engagements
and panels. Youth will continue to be provided leadership and mentoring opportunities in
the coming year.
Post-Secondary Education Student Support Services: Youth in post-secondary
educational program are linked to supportive services within the educational system they
are attending. These supportive services often assist the youth in maintaining their
grades, advocating for their own rights, staying connected to other youth, receiving other
supports as needed. Some of the services that are utilized are student tutoring services,
college career centers, college help centers, and student groups.
Community Support Services: Using the recently formatted youth transition plans,
youth can receive additional community supports. Additionally, youth enrolled in the

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MODIFY program are often referred to community services for extra support. Some of the
community resources that are utilized are: Workforce or HRDF, WV Housing, Community
Mental Health Centers, Legal Aid of WV, SSI Offices, DRS Offices, HUD, Community
Pregnancy Support groups or prevention groups, DHHR economic Services and
Community medical assistance programs.
Transition from High School to Post-Secondary Education Support Programs:
Youth in high school or obtaining their GED are referred to supportive programs to assist
them in making the transition from high school to a post-secondary educational program,
when needed. Some of the programs utilized are the Heart of Appalachia (HAT) Program,
and the Federal TRIO Programs.
2016 Update
Youth in high school or obtaining their High School Equivalency are referred to supportive
programs to assist them in making the transition from high school to a post-secondary
educational program, when needed. Some of the programs utilized are the Heart of
Appalachia (HAT) Program, and the Federal TRIO Programs.
Outcomes of Supporting Youth Aging Out of Foster Care
Outcome 1: Approximately 70 youth are engaged throughout the state in the West
Virginia Foster Advocacy Movement. Youth participate in local meetings and a statewide
meeting in June of 2014. Youth identified the top four issues they want to focus on.
Sibling separation, the overuse of prescription medication, adequate information for and
about foster parents, and proper involvement in their own cases was identified.

2016 Update

Approximately 50 youth are engaged throughout the state in the West Virginia Foster
Advocacy Movement. Youth participate in local meetings and a statewide meeting in June
of 2014. Youth identified the top four issues they want to focus on. Sibling separation, the
overuse of prescription medication, adequate information for and about foster parents,
and proper involvement in their own cases were identified. The youth maintained the
same issues at a June 2015 statewide meeting.

2017 Update
Approximately 15 youth are engaged throughout the state in the West Virginia Foster
Advocacy Movement. Youth participate in local meetings and a statewide Retreat in
June of 2016. Youth gave input on the NYTD Project and IL Skills notebooks for
MODIFY clients.


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2018 Update
Approximately 15 youth are engaged throughout the state in the West Virginia Foster
Advocacy Movement. Youth participate in local meetings and a statewide Retreat in June
of 2017. Youth gave input on the NYTD Project and IL Skills notebooks for MODIFY
clients.
Outcome 2: Approximately $150 in cash donations and $300 in in-kind donations for We
Still Care Packages has been collected through March of 2015.
2016 Update
Approximately $900 in cash donations and $3000 in in-kind donations for the We Still
Care Packages has been collected through April of 2016. 80 Christmas backpacks were
distributed to MODIFY and WVNYTD youth in December of 2015.
2017 Update
Approximately $200 in cash donations and $350 in in-kind donations for the We Still Care
Packages has been collected through March of 2016.
2018 Update
During the FFY 2016 youth were referred to educational supportive services within their
educational program on a consistent basis. Approximately 70 youth were referred to
educational supportive services, such as tutoring, network groups, student support
groups, college career centers, etc…
Outcome 3: During the FFY 2014 youth were referred to educational supportive services
within their educational program on a consistent basis. Approximately 90 youth were
referred to educational supportive services, such as tutoring, network groups, student
support groups, and college career centers.
2016 Update
During the FFY 2015 youth were referred to educational supportive services within their
educational program on a consistent basis. Approximately 93 youth were referred to
educational supportive services, such as tutoring, network groups, student support
groups and college career centers.
2017 Update
During the FFY 2016 youth were referred to educational supportive services within their
educational program on a consistent basis. Approximately 75 youth were referred to
educational supportive services, such as tutoring, network groups, student support
groups, and college career centers.
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Outcome 4: Youth are referred to HAT, and the TRIO program on a continuous basis as
needed during the intake process for the MODIFY with CED Program. Three youth were
referred to these programs.
2016 Update
Youth are referred to HAT, and the TRIO program on a continuous basis as needed during
the intake process for the MODIFY with CED Program. Two youth were referred to these
programs.
2017 Update
Two youth were referred to these programs.
West Virginia Foster Advocacy Movement, with the support of the MODIFY with CED
Program, has gained a strong presence this past year. In addition to the identification of
the issues, youth are excited about local meetings, the partnership with the Taylor County
Collaborative Family Resource Network Breaking the Cycle Youth Group and the We Still
Care packages.
Provide financial, housing, counseling, employment, education, and other appropriate
support and services to former foster care recipients between 18 and 21 years of age.
Transitional Living Program Grantee: Youth Services System provides support to young
adults ages 17 – 21 through their Transitional Living Program and services. A 2010 study
of former foster care youth found that at the age of 23-24 years old, compared to their
peers of the same age:
The foster care alumni had only half the annual income of their peers (52% were
unemployed, average income $8000/year);
They were much more likely to be parents (2/3 of the women reported being pregnant
since leaving foster care at age 18);
They used public benefits, like food stamps, at a much higher rate than their peers;
Nearly 25% had not completed high school or received a GED;
Source: http://www.chapinhall.org/sites/default/files/Midwest_Study_ES_Age_23_24.pdf
At Youth Services System, each youth is provided safe, stable living accommodations
during their time in the program. Supportive services are made available to youth. Youth
Services System assures access to health, mental health, social services, law
enforcement, education, welfare and legal aid. Additional referrals for specialized help
are made when needed.


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Each youth is assessed using the Casey Life Skills, a nationally recognized instrument
that indicates the individual’s readiness for independent living. For insight into trauma,
they use the Adverse Childhood Experience Screening (ACEs) tool. Staff works in
partnership with each youth to create a unique plan of practical life skills training to build
on youth strengths, to complete their basic education and to continue their education
through vocational or higher education. Youth learn job readiness skills and seek
employment. Participants work toward living in community apartments to demonstrate
their independent living skills in the real world with regular ongoing staff support and
supervision with increasing levels of independence from this support.
Youth are involved in developing and revising their Individual Service Plan, in group and
house meetings, in developing program materials, in program evaluation, and in
supporting new youth entering TL. Staff address trauma, and work with each youth in a
way that is respectful of their individuality, their own culture and their identity. Where
possible mentors help youth improve interpersonal skills and relationships. Youth engage
in community service and participate in activities and events that give them permanent
connections to helpful adults.
The goal is for each young person to be safe, healthy, to achieve a sense of well-being,
confidence, and develop the skills they will need as adults, to have connections to caring
adults and relationships that will lead to independence and self-sufficiency.
Mentoring and Oversight for Developing Independence for Foster Youth (MODIFY)
with CED Program: MODIFY provides transitional services to youth 18 through 21 years
of age to enhance their own efforts toward self-sufficiency. To be eligible for MODIFY,
youth must have aged out of foster care or group care on or after their 18th birthday. If a
youth was in State’s care at the time they were incarcerated and subsequently aged out
while incarcerated, the youth is eligible for services once released from incarceration and
until their 21st Birthday. These services include, but are not limited to, short term financial
assistance,       employment     assistance/support,     educational      assistance/support,
transportation, housing assistance/support, supportive counseling, independent living
skills training, assistance with application for benefits, and linkages to necessary
community supports and resources.
MODIFY Community Support Specialists aid Chafee eligible youth six months prior to
discharge, or earlier when necessary, from custody. MODIFY Specialists also provide
technical assistance daily to staff within the DHHR on youth transitioning issues, as well
as the provider community and the public. They attend Multidisciplinary Treatment Team
(MDT) meeting for youth needing transitioning services. MODIFY has also begun
notifying youth who are age 17 ½ and in foster care, of MODIFY services, the eligibility
criteria and how to contact the program. Additionally, MODIFY sends letters to all the


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residential agencies and local Departments reminding them to refer high school seniors
in January.
West Virginia NYTD Team: The Department provided resources to WVU Research
Corporation beginning December 2014 to hire four specialists to administer the NYTD
Survey and to follow youth from ages 17 – 21. The WV NYTD Survey Team is a part of
the MODIFY with CED Program. The specialists contact the youth before the 17-year-
old survey is due and maintain quarterly contact with youth until they are 21, administering
the 19 and 21-year-old surveys during the relationship. The Specialists will provide
information and resources on Chafee funded programs as well as resources in the local
community that the youth can access. The program is gathering information on health
topics, programs, and other resources that will be of use to the youth throughout the life
of the supportive relationship. The WVNYTD Team also encourages the youth to access
supportive resources such as WVFAM. While the project is relatively new, there has been
a positive response to resource information and the assistance being given by the WV
NYTD team.
2016 Update
The Department provided resources to WVU Research Corporation beginning December
2014 to hire four specialists to administer the NYTD Survey and to follow youth from ages
17 – 21. The West Virginia NYTD Team has been instrumental in developing strong
supportive relationships with youth in and out of foster care. Several youth report the
NYTD Specialist as a person of influence in their life and have reached out during times
of crisis or need. The NYTD Team uses incentives to get youth to complete the survey
and care packages as a support mechanism.
2017 Update
During May 2016, the Department underwent the NYTD Assessment Review. The
Department developed an improvement plan and is currently working on the goals and
objectives contained within it. These activities will continue in the upcoming year.
Collaboration with Other Programs/Agencies: The Department continues to work with
many collaborative groups and other agencies that provide services to youth transitioning.
Agencies/committees who are involved in these meetings are Division of Juvenile
Services, Bureau Behavioral Health and Health Facilities, Community and Technical
Colleges, Mission WV, Administrative Services Organization, Court Improvement Board,
multiple Community Collaborative groups.
2018 Update
The Service Delivery and Development Workgroup (SDDWG) is a sub-group of the
Commission to Study Residential Placement. The SDDWG is a combination of both state
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and private agency workers who work specifically to develop best practice models and
standards for working with older adolescents. In the past year they have met to update
several tasks regarding older youth. This group continues work on life skills
recommendations for all youth in custody and update the Older Youth Task Team work-
plan.
MODIFY staff continue to refer appropriate youth to WV Works whenever possible and
appropriate for employment opportunities.
Outcomes of Transitioning Supports:
Outcome 1: During FFY 2014, Human Resource Development Foundation (HRDF) and
the MODIFY Program improved its relationship and agreed to promote on another’s
programs. As a result, HRDF developed a fact sheet like the MODIFY Program fact sheet
to aid Department workers and others in understanding services available to Chafee
eligible youth.
2016 update
During FFY 2015, MODIFY and HRDF met to cement the working relationship and
problem solve on ways to assist mutual clients.
2017 Update
During FFY 2016, 327 referrals were received for the MODIFY program.
2018 Update
During FFY 2016, 313 referrals were received for the MODIFY program.
Outcome 2: During FFY 2014, the Older Youth Transitioning Workgroup developed goals
and plans to establish a choice of life skills curriculums for providers and foster parents.
2016 Update
During FFY 2015, the Older Youth Transitioning Workgroup developed goals and plans
to establish a choice of life skills curriculums for providers and foster parents.
2017 Update
During FFY 2016, MODIFY with CED provided services to an average of 276 foster care
youth and former foster care youth.
Not all the services provided by the MODIFY Program involve financial services. Many of
these youths were provided information and referral services, linkage with community
resources, and advocacy on their behalf in obtaining SSI, medical cards and other
benefits.
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2018 Update
During FFY 2016, MODIFY with CED provided services to an average of 273 foster care
youth and former foster care youth.
Outcome 3: During FFY 2014, the Stepping Stones program and the residential facilities
of River Park and Golden Girls worked together to improve services to transitioning youth
and to make a smoother transition.
2016 Update
During FFY 2015, 337 referrals were received for the MODIFY program.
2017 Update
During FFY 2016, MODIFY Community Support Specialists attended approximately 47
MDT’s for youth in foster care. Staff provided information of the youth and other members
of the MDT on transitioning services that are available for youth as well as information on
programs that can assist the youth when they transition from foster care.
2018 Update
During FFY 2016, MODIFY Community Support Specialists attended approximately 37
MDT’s for youth in foster care. Staff provided information of the youth and other members
of the MDT on transitioning services that are available for youth as well as information on
programs that can assist the youth when they transition from foster care.
Outcome 4: During FFY 2014, 249 referrals were received for the MODIFY program.
2016 Update
During FFY 2015, MODIFY with CED provided services to an average of 200 foster care
youth and former foster care youth.
Not all the services provided by the MODIFY Program involve financial services. Many of
these youths were provided information and referral services, linkage with community
resources, and advocacy on their behalf in obtaining SSI, medical cards and other
benefits.
Outcome 5: During FFY 2014, MODIFY with CED provided services to an average of
183 foster care youth and former foster care youth.
Outcome 6: During FFY 2014, MODIFY Community Support Specialists attended
approximately 40 MDT’s for youth in foster care. Staff provided information of the youth
and other members of the MDT on transitioning services that are available for youth as


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well as information on programs that can assist the youth when they transition from foster
care.
2016 Update
During FFY 2015, MODIFY Community Support Specialists attended approximately 35
MDT’s for youth in foster care.
Chafee funded grantees of the Department have either established or re-established
close working relationships with one another and multiple partners in the community.
Each grantee works hard to promote their program as well as the programs of others to
provide youth with the best transition services possible. Each provides technical
assistance to the Department and the community about issues facing transitioning youth
and ways we can all improve the system.
Provide services to youth who, after attaining 16 years of age, have left foster care for
kinship guardianship or adoption.
The State provides Chafee Services to youth who have been adopted or who had been
placed in legal guardianship. Some of the services that youth are provided include
Educational and training Voucher funds, case management oversight, community referral
services, mentoring services and other transitioning services as needed as indicated
above.
      *See ETV Section for eligibility criteria and outcomes for ETV services.
Chaffee Outreach Activities/Specific Training FFY 2014
Several of the Chafee services and activities have been previously reported by individual
type of service or activity. By arranging some of those services and activities under the
category of outreach, focuses the attention to the various ways potential Chafee clients
are identified and encouraged to seek services.
The Department released the revised Youth Transition Plan in March 2014 and provided
a series of webinars for Department staff during October and November.
The MODIFY with CED Community Support Specialists provided training and technical
assistance and special topic workshops on the MODIFY Program and other youth
transitioning topics. MODIFY developed the Youth Transition checklist as a technical
assistance product for the Department.
The MODIFY Program continued to assist the Department with the dissemination of
program posters, fact sheets, and brochures. Program brochures are provided to
community groups such as homeless shelters and child welfare agencies. In addition,
MODIFY program staff developed good working relationships with college admissions

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staff. Informational brochures, posters, fact sheets and referral forms were provided to
these staff as needed.
The MODIFY with CED Program has a webpage located on the WVU-CED Website,
where individuals can find information about services for the program. Staff contact
information is located on the website and a referral for MODIFY services may also be
made through the website. It is located at http://modify.cedwvu.org/.
2016 Update
Ensure that youth have regular, ongoing opportunities to engage in age or
developmentally-appropriate activities
Chaffee Outreach Activities/Specific Training FFY 2015
The MODIFY with CED Program provided training to the Department of Juvenile Services
in FFY 15 to clarify the limited eligibility and provide information on Chafee services to
incarcerated youth.
Outcomes of Outreach and Training
Outcome 1: During FFY 2014 MODIFY with CED staff conducted approximately 15
informational trainings to professional and paraprofessional staff.
Presentations about Chafee funded services were made to many professional and
community agencies, throughout the State, including but not limited to, State/County WV
Department of Health and Human Resources, Department of Juvenile Justice Services,
Family Resource Networks, Child Care Agencies, Independent Living Agencies, Court
Appointed Special Advocates (CASA), Colleges/Universities, WV Tribal Group, Faith
based organizations, Human Resource Development Foundation, Job Corp., Psychiatric
Hospitals, and Emergency Youth/Adult Homeless Shelters.
2016 Update
During FFY 2015 MODIFY with CED staff conducted approximately 15 informational
trainings to professional and paraprofessional staff.
2017 Update
During FFY 2016 MODIFY with CED staff conducted approximately 13 informational
trainings to professional and paraprofessional staff.
2018 Update
During FFY 2016 MODIFY with CED staff conducted approximately 10 informational
trainings to professional and paraprofessional staff.

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Presentations about Chafee funded services were made to many professional and
community agencies, throughout the State, including but not limited to, State/County WV
Department of Health and Human Resources, Department of Juvenile Justice Services,
Family Resource Networks, Child Care Agencies, Independent Living Agencies, Court
Appointed Special Advocates (CASA), Colleges/Universities, WV Tribal Group, Faith
based organizations, Human Resource Development Foundation, Job Corp., Psychiatric
Hospitals, and Emergency Youth/Adult Homeless Shelters.
Outcome 2: During this reporting period, the MODIFY with CED webpage has been
available for individuals to quickly locate the services that are available through the
MODIFY program. The website was updated with fact sheets to assist individuals with
clear eligibility criteria. Referrals for the MODIFY program can also be made through the
website. The program also maintains a universal e-mail address for inquiries,
modifyced@hsc.wvu.edu.
2016 Update
The MODIFY with CED webpage has been available for individuals to quickly locate the
services that are available through the MODIFY program. The website was updated with
fact sheets to assist individuals with clear eligibility criteria. Referrals for the MODIFY
program can also be made through the website. The program also maintains a universal
e-mail address for inquiries, modifyced@hsc.wvu.edu.
2018 Update
During this reporting period, the MODIFY with CED webpage has been available for
individuals to quickly locate the services that are available through the MODIFY program.
The website was updated with fact sheets to assist individuals with clear eligibility criteria.
Referrals for the MODIFY program can also be made through the website. The program
also maintains a universal e-mail address for inquiries, modifyced@hsc.wvu.edu.
Outcome 3: During the reporting period, the It’s My Move website was updated.
Outcome 4: During the reporting period, individuals were trained on the BHHF model of
transitioning, the TIPS model.
2016 Update
During the reporting period, individuals were trained on the BHHF model of transitioning,
the TIPS model.
The Department plans to develop a list of activities that are age appropriate for older
youth and revise policy in a manner that demands workers use prudent parenting
standards as well as allow children under their supervision to have normal child and youth
experiences.
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Service Collaboration Activities Achieved in FFY 2014
The Department MODIFY Community Support Specialists, Transitional Living Providers,
and other Chafee funded programs collaborated with many agencies to provide foster
care and former foster care youth services necessary for effective transitioning to
adulthood. Some of these collaborative efforts included the following:
The Employment for Independent Living Program and WorkForce West Virginia
collaborate on summer employment programs for youth in foster care.
The West Virginia Department of Education, in conjunction with the Education of Children
in Out-of-Home Care Advisory Committee, hired Transition Specialists to support children
placed out-of-state as they prepare and transition back to their school setting in West
Virginia.
The MODIFY with CED Program and WV Bureau for Health and Health Facilities continue
to work together to develop and support two Independent Living Programs to provide
services to foster care and former foster care youth with mental and behavioral health
issues.
MODIFY and Human Resource Development Foundation (HRDF) and Youth Service
System (YSS) continue to work together to ensure foster care and former foster care
youth received employment skills training. MODIFY Community Support Specialists, YSS
and HRDF work together to improve efforts to get former foster care youth employed and
to ensure job maintenance skills were developed and utilized.
The MODIFY Program and WV universities/colleges established a collaborative
partnership on various levels to provide educational and financial support/assistance to
eligible youth. MODIFY program staff continue to build relationships with various
university/college financial aid offices, bursar offices, student affair offices, Trio Program
Offices, and Tutoring Centers to assist eligible youth make a successful transition into a
Post-Secondary Educational program.
The MODIFY Program continued collaborative efforts with WV State University’s
H.O.U.S.E. Project to provide a supportive living environment on WV State’s campus to
assist eligible youth transition into college life successfully.
The MODIFY Program utilized the resources available through the WV University Centers
for Excellence in Disabilities (WVU CED) to provide services to eligible youth with a
variety of disabilities to assist in their transition from youth disability services to adult
disability services. Because MODIFY is housed within the CED, education of these young
people on their rights, self-advocacy skills, and the provision of service linkages and
applications for benefits to this population were available.

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Transitional Living Providers and the MODIFY Program continued to work with various
housing projects to provide temporary and long-term housing to former foster care youth.
Some of these agencies include: WV Housing Authority, HUD, WV Centers for
Independent Living, WV Adult Homeless Shelters, Adult Independent Living Programs,
Community Action Councils, United Way, and other faith-based organizations that assist
in prevention of homelessness.
MODIFY Program staff and other Chafee funded service providers attend local Family
Resource Network and community collaborative meetings to provide input youth with the
most recent resources available to them.
The Department and the MODIFY Program collaborated with DJS which provides after
care services to individuals discharged from Juvenile Justice Facilities. The MODIFY
Program continues to provide services/supports to eligible youth exiting DJS care to
assist in an effective transition from incarceration to independence.
The Department, MODIFY, transitional living providers, and others continues to work with
the Commission to Study out of Home Placements to improve services to youth
transitioning from care. A noteworthy accomplishment of this team was the development
of a comprehensive youth transition and learning plan that was implemented in March
2014.
The Taylor County Collaborative Family Resource Network and the MODIFY with CED
Program developed a public private partnership to support the WVFAM initiative and the
We Still Care Project.
The MODIFY with CED Program and two Guardian Ad Litems teamed up to provide
training to lawyers, foster parents, and providers.
2016 Update
The West Virginia Department of Education, in conjunction with the Education of Children
in Out-of-Home Care Advisory Committee, hired Transition Specialists to support children
placed out-of-state as they prepare and transition back to their school setting in West
Virginia. MODIFY with CED works closely with these Transition Specialists on shared
cases.
The Department, MODIFY, transitional living providers, and others continues to work with
the Commission to Study out of Home Placements to improve services to youth
transitioning from care.
The Taylor County Collaborative Family Resource Network and the MODIFY with CED
Program continue a public private partnership to support the WVFAM initiative and the
We Still Care Project.

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The MODIFY with CED Program worked with Mission West Virginia to get information
about the program and benefits to foster parents and the community through newsletters
and attendance at the Recruitment and Retention Collaborative.
Youth Engagement FFY 2014
In March and April of 2014, with the support of the MODIFY with CED Program, kick-off
cafes were held across the state to re-establish and re-invigorate the West Virginia Foster
Advocacy movement. Youth were provided information on the idea and asked to
participate in local and state meetings. A statewide meeting was held in June of 2014
where youth representing original local youth and all geographic areas of the state came
together to plan and discuss issues that they want to work on as a state and locally.
Youth identified four issues - Sibling Separation, the over prescription of psychotropic
medications and lack of alternative therapies, the need for information for and about foster
families, and involvement in their own cases.
Youth continued to meet locally throughout the year. In November, youth gave input on
a Foster Youth Bill of Rights. Youth also participated in panels at several court
improvement program conferences and other events. Youth reviewed and gave feedback
thru social media, phone conversations, and at local meetings on policies, NYTD
activities, and the CFSP. MODIFY with CED has also provided support to Youth to
develop videos and offers to attend committee meetings such as the Older Youth
Transitioning Workgroup.
Jessica Gibson, a former foster youth, was elected in 2014 to serve on the Commission
to Study the Residential Placement of Children. Samantha Sixma, a former foster youth,
serves on the WV Court Improvement Program’s training committee. Other youth have
attended various meetings as their schedules allow, including the Older Youth
Transitioning Workgroup.

WVFAM youth provided input and agreement on the We Still Care Packages. Youth
provided the items that they would like to have placed in the packages and suggested
that donors include individual notes to let youth know they are cared about. We Still Care
packages are sent to youth being tracked in the NYTD co-horts as an engagement tool.

Other states have offered incentives for youth who complete their NYTD survey. These
incentives have greatly improved their percentage of completion rates. By January 1,
2016, West Virginia will explore those incentives and develop a plan to implement a
similar process in West Virginia.



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The State continues to work in partnership with private agencies, which develop or
continue to provide programs for youth transitioning from foster care. The State continues
work with an Older Youth Transitioning Workgroup, consisting of all TL Providers and
Department management, to look at transitioning services for older youth. This group is
in the process of developing a two-year strategic plan to address the needs of youth who
are transitioning out of foster care. The work group had developed a transition plan
document for older youth. The transition plan document was piloted by a few provider
agencies and DHHR staff. After considerable consultation with groups the Department
works with, the document was finalized and rolled out in March 2014. The group is
focusing on life skills curriculum choices and looking at strategies to prevent the
exploitation of foster children, including human trafficking. This group also worked
collaboratively together, with Stepping Stones (under the direction of Susan Frye) taking
the lead, to expand and improve the “It’s My Move” website and checklist for youth. New
modules look at pregnancy and parenting youth. Although this group has been very active
in the past improving services to older adolescents in foster care and transitioning out of
foster care, recent activity has been minimal due to their assistance in implementing Safe
at Home West Virginia.
In December 2014, WVFAM established a peer relationship with the Taylor County
Collaborative Family Resource Network Breaking the Cycle Group which will result in
opportunities to have input with legislative bodies and contacts that group has already
established.
2016 Update
In June 2015, the youth had a statewide retreat of members who participated in at least
two WVFAM meetings the year before or had spoken on a panel. The youth kept the
issues the same as they continue to be at the forefront of West Virginia’s foster youth
concerns.
Youth continued to meet locally throughout the year. Work and collaboration in the spring
of 2015 was halted on the Bill of Rights after the Department implemented Goals for
Children in Foster Care in their internal policy
Jessica Gibson, a former foster youth, was elected in 2014 to serve on the Commission
to Study the Residential Placement of Children. Other youth have attended various
meetings as their schedules allow, including the Older Youth Transitioning Workgroup.
WVFAM continues the peer relationship with the Taylor County Collaborative Family
Resource Network Breaking the Cycle Group which will result in opportunities to have
input with legislative bodies and contacts that group has already established.
2017 Update

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Youth continue to meet locally throughout the year. Youth have been given the
opportunity to design Independent Living Skills notebooks for MODIFY youth to help aid
in the transition to independence. Youth also participated in the NYTD Assessment
Review and other events. Youth review and give feedback thru social media, phone
conversations, and at local meetings on policies, NYTD activities, and the CFSP.
MODIFY with CED has also provided support to youth to participate in grant committees
through the WV Housing Assistance Fund. These activities will continue in the upcoming
year.
2018 Update
Youth continue to meet locally throughout the year. Youth have been given the
opportunity to provide input on the Adulting 101 Lifeskills videos and fact sheets being
developed by the MODIFY program. Youth also participated in the NYTD Assessment
Review and other events. Youth review and give feedback thru social media, phone
conversations, and at local meetings on policies, NYTD activities, and the CFSP.
MODIFY with CED has also provided support to youth to participate in grant committees
through the WV Housing Assistance Fund. These activities will continue in the upcoming
year.
State Trust Fund Program:
West Virginia has not established a trust fund program for Chafee eligible youth.
Indian Tribe Consultation:
For information on Indian Tribe Consultation, please refer to Section B, number four of
the Annual Progress and Services Report.
National Youth Transition Database
See the NYTD section under Chafee. West Virginia will be sharing NYTD data with the
Court Improvement Program, Citizen’s Review Panel, WV FAM and Commission to Study
Residential Placement of Children on a quarterly basis
2016 Update
West Virginia participated in the Administration on Children and Families’ NYTD
Assessment Review (NAR) during FFY 16. The Onsite review was held May 17-19, 2016.
2017 Update
In May 2016, the NYTD Assessment Review was held. Assessment findings were
provided to WV in September 2017. Even prior to receiving the official findings, West
Virginia’s Bureau for Children and Families and the DHHR – OMIS – FACTS formed a

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task team to draft a plan to address the preliminary findings. The WV NYTD QIP Quality
Improvement Plan (NQIP) was submitted February 28, 2017 and on April 3, 2017, the
NQIP was approved by the Children’s Bureau. Various changes must be made to
accommodate the Assessment findings. While some changes will be implemented in
current FACTS, other changes are planned to be implemented in the proposed CCWIS.
Some of the changes planned for implementation in FACTS; include, but are not limited
to: revisions to collection of data surrounding client demographics, placement, education,
and survey information. Implementation, of the various changes, is planned by the end
of 2018.
2018 Update
West Virginia continues to utilize NYTD Survey Specialists who work with youth to
administer and collect the survey data for the Department. West Virginia also participated
in the NYTD Assessment Review in May of 2016 and had the Program Improvement Plan
approved in May of 2017. The Department and its partners will continue to work on the
objectives outlined in the improvement plan in the upcoming year.

The State of West Virginia has multiple Court Improvement Sub-groups with many
stakeholders that include private agency providers, Judges, attorneys who represent both
children and parents in Child Welfare cases and Title IV-E agency workers and managers.
Each sub-group has a specific area to work on to improve the Child Welfare system, but
each group uses all available data which includes Child and Family Services review and
National Youth in Transition Database data. Each group has the following priorities;
Priority Area #1: Timeliness/Permanency
Outcome #1: The Court Improvement Program and Bureau for Children and Families
(BCF) will work jointly on the New View Project to improve permanency, safety, and well-
being of children who are likely to linger in out-of-home care or age out of state care.
Priority Area #2: Data
Outcome #2: CIP will maintain the Child Abuse and Neglect (CAN) Database of critical
performance measures and Benchview-- a tool for individual judges to track their progress
in child abuse/neglect cases-- to continue the trend of improved timeliness in child abuse
and neglect cases.
Priority Area #3: Quality Court Hearings
Outcome #3: Court hearings will be meaningful and memorialized in timely orders
containing critical findings and details.
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Priority Area #4: Quality Legal Representation
Outcome #4: Professionals in child abuse/neglect and juvenile cases will have training
and resources to promote due process and timely permanency, safety, and well-being for
children and families.
Priority Area #5: Well-Being
Outcome #5: Children and families will have appropriate child and family case plans that
address families’ most pervasive issues, including substance abuse and childhood
trauma or adverse childhood experiences (ACEs).
Priority Area #6: Engagement
Outcome #6: Stakeholders and older youths will be engaged to participate in systemic
improvements locally and statewide.
Priority Area #7: Preventing Trafficking and Strengthening Families
Outcome #7: CIP will help strengthen state law, policies, and practices to help prevent
running away and sex trafficking of children in out-of-home care.
Homelessness Prevention
Two programs have been awarded grants from the United States Department of Health
and Human Services to provide shelters for Runaway and Homeless Youth. The
programs provide crisis shelter for runaway and homeless youth ages 11-18 in
Parkersburg and Wheeling. Any youth in the community may call or come to Children’s
Home Society or YSS-Wheeling anytime day or night. Two counselors are always on shift
to provide crisis counseling, food, clothing, shelter, security, and individual, group and
family counseling.
Youth and parents are welcome to call or stop by the programs anytime for advice or
referrals to other services in the community. The DHHR-BCF does not provide any
funding or oversight of these Runaway and Homeless Youth Programs.
YSS- Wheeling program reported for the SFY 2015 consultation with 47 youth who had
or were considering running away from home. YSS shows that only three of the youth
counseled resulted in a referral to the Department of Health and Human Resources for
an out-of-home placement. No reporting information was made available to the
Department by Children Home Society.
Youth Services System in Wheeling and Children’s Home Society in Parkersburg, the
former grantees, and do fundraising to continue efforts to support a portion of their former


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programming. They coordinate “Sleep Out” fundraisers in November of each year to get
businesses and individuals involved in the issue of youth homelessness.


2018 Update
To prevent homelessness for youth in WV, BCF utilizes several approaches throughout
the state. BCF policy requires workers working with children 14 years and older to
develop a transition plan. This plan is informed by a multitude of information, including a
life skills assessment. The life skills assessment is used to determine which areas,
important to successful independent living, need improvement. The plan also includes
the youth’s self-identified skills and needs and requires the youth to identify areas of
improvement she/he would like to focus on every 90 days. Youth who attain the age of
16 and have demonstrated a substantial ability to support themselves are provided the
opportunity to test their knowledge and skills with placement into semi-independent living
programs. These programs are often houses on group residential grounds in which one
or more youth’s live together and take responsibility for self-care under the supervision of
a program worker. This allows the youth and social worker the opportunity to visualize
the reality of the identified skills and needs, to further work on areas needing
improvement. Once a youth has successfully demonstrated their ability to succeed in an
environment of limited supervision, the youth has the option of transitioning into scattered
site apartments or similar independent living units. In these units the youth will receive a
subsidy for essentials, will further their education or job training, and will continue to
improve on important areas of self-sufficiency such as job readiness and interviewing
skills. These options remain open to foster youth and former foster youth until the age of
21, with some exception provided until the age of 22.

Additionally, BCF partners with several agencies to provide services and opportunities for
at-risk youth.     The Human Resource Development Foundation provides valuable
programs and education to youth who are at high-risk of future homelessness due to
being in foster care and/or having juvenile justice involvement. Job Corp is another
program BCF Social workers rely on and regularly refer to for foster youth interested in
pursuing on-the-job training. Particularly helpful, are Job Corp sites which include
supportive housing. These programs often offer youth who wish to end their involvement
with the foster care system a stable and safe living environment in which they can focus
on their education and job-training.


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In conjunction with the WV Housing Authority, West Virginia has entered an MOU with
the Housing Authority to submit the Family Unification Program grant.

Pregnancy Prevention
The state partners with Mission WV and Children’s Home Society who have adolescent
pregnancy prevention program grants. MODIFY will invite the program coordinators to
speak at WVFAM events and provide pregnancy prevention education. MODIFY also
gets information from the state’s public health agency on pregnancy prevention and
distributes it to MODIFY and NYTD youth. MODIFY also partners with the state’s
MIECHV grantees to make referrals for pregnant and parenting teens.
Planned Activities for 2019
West Virginia has had to decrease the amount of spending for each youth due to the
influx of youth into the MODIFY program. The state will be researching other resources
to maximize funding to all eligible youth in the coming year.
MODIFY is working on a series of videos and fact sheets called “Adulting 101” to address
the life skills needs of the youth served. A slide presentation was developed that will be
turned into a video and a fact sheet that will eventually be posted to the WVU-CED
website and shared on social media.
The WV Bureau for Children and Families is researching electronic storage devices that
would easily store personal data for youth exiting foster care.

Educational Training Vouchers

The education and training vouchers are supported using money provided to the state as
a part of the reauthorization of the independent living program. ETV funds are State
administered funds provided to foster care and former foster care youth by the MODIFY
Community Support Specialists as well as DHHR caseworkers, through the WV DHHR
State Office of Finance and Administration.

      Youth eligible for Chafee ETV funds include the following;
      Youth adopted from foster care after the age of 16 years old.
      Foster/ former foster care youth age 18 through 20 years old, who aged out of care
       at 18 or older.
      Youth placed in legal guardianship. Policy changed to reflect a IV-E Plan
       amendment and youth after 2014 must have a finalized legal guardianship after
       the age of 16.


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**If an eligible youth is enrolled, attending, and making satisfactory progress in a post-
secondary educational program on their 21st Birthday, then they may be eligible to
continue to receive ETV funds until their 23rd Birthday.

ETV funds may not exceed $5000 per FFY (10/01 – 09/30). ETV funds may be used to
cover educational expenses as outlined by the Higher Education Act which may include
tuition/fees, books/supplies, room/board, transportation, tutoring, etc.

A student must reapply each year to receive ETV funds and must maintain satisfactory
standing within the guidelines of the ETV program. These guidelines include the
following:

      Student must maintain a 2.0 GPA.
      Student must maintain an 80% completion rate.
      Student must attend school on a regular basis and provide monthly progress
       reports to the MODIFY Community Support Specialist.
      If a student experiences some problems maintaining satisfactory progress, the
       student must contact their MODIFY Specialist to develop an improvement plan as
       soon as problems arise.
      If placed on probation with the MODIFY Specialist for failing to meet minimum
       expectations, students must comply with and complete the probation improvement
       plan to continue to receive ETV services and funds.

ETV Accomplishments for 2014

The state has made some progress in expanding the use of ETV funding over the past
few years as well as the enrollment of youth in post-secondary educational programs.
Although enrollment has increased, retention in educational programs has been an issue
for the State agency.

2017 Update

The state has made progress in expanding the use of ETV funding over the past few
years as well as the enrollment of youth in post-secondary educational programs. In fact,
the state may run short on education and training voucher funds in the upcoming year as
well as the current year. The Department and the MODIFY program will continue to look
at usage and make program adjustments as needed.

The MODIFY Program developed a user-friendly database that records the demographics
of youth, their ETV utilization, and grades.

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Over the past few years, higher education institutions have continued to raise the cost of
their programs. With the rise in educational costs, the State has made efforts to maximize
the use of all funding available to youth for the purposes of obtaining a post-secondary
education. WV has a foster care tuition waiver that is available to youth who complete
high school or obtain their High School Equivalency while in foster care. The Department
and the MODIFY Program have made great strides in assuring that youth are provided
with this waiver. There continues to be a push to ensure youth complete their Free
Application for Federal Student Aid (FAFSA) before March 1, so they will obtain the
maximum amount of funding available to them.

Outcomes of Education and Training Vouchers

Outcome1: For the FFY 2014 (October 1, 2013 to September 30, 2014) the State
provided ETV funding to approximately 152 youth; 45 of these were new to the program.

2016 Update

For the FFY 2015 (October 1, 2014 to September 30, 2015) the State provided ETV
funding to approximately 196 youth; 154 of these were new to the program.

2017 Update

For the FFY 2016 (October 1, 2015 to September 30, 2016) the State provided ETV
funding to approximately 271 youth; 72 of these were new to the program.

2018 Update

For the FFY 2016 (October 1, 2016 to September 30, 2017) the State provided ETV
funding to approximately 265 youth; 60 of these were new to the program.

Outcome 2: For the recent partial year (October 1, 2014 to March 30, 2015) the State
provided ETV funding to approximately 137 youth; 33 of these are new to the program
since October 2014.

2016 Update

For the recent partial year (October 1, 2015 to March 30, 2016) the State provided ETV
funding to approximately 156 youth; 29 of these are new to the program.

2017 Update

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For the recent partial year (July 1, 2016 to May 24, 2017) the State provided ETV funding
to approximately 221 youth; 66 of these are new to the program since October 2015.

During the Spring 2016 semester, 41 students obtained a GPA of 3.0 or above with 7
students obtaining a 4.0 GPA. 40 students obtained a GPA of 2.0 or above. During the
Summer 2016 semester, 4 students obtained a 3.0 GPA or better with one student
obtaining a 4.0 GPA. Two students obtained a 2.0 GPA or better. During the Fall 2016
semester, 56 students obtained a 3.0 GPA or better with 9 students obtaining a 4.0 GPA.
45 students obtained a 2.0 GPA or better.

2018 Update

For the recent partial year (July 1, 2017 to May 20, 2018) the State provided ETV funding
to approximately 215 youth; 62 of these are new to the program since October 2016.

Updates to Targeted Plans within the 2015-2019 CFSP
Foster and Adoptive Parent Diligent Recruitment Plan

Planned activities for FFY 2017

The Bureau for Children and Families (BCF) has begun a collaborate relationship with
the Huntington/Charleston chapter of the national organization PFLAG. PFLAG is the
nation’s largest family and ally support organization. Through this collaboration BCF
intends to connect with other LGBT specific groups to help establish a system that
provides support and advocacy for the LGBT community. BCF intends to enhance
training efforts for foster parents specific to this issue. In 2013, BCF required all residential
congregate care providers to include LGBTQ specific training to their staff. A similar
training for foster parents was not completed. In October of 2014 BCF revised all policies
to reflect changes regarding revisions required by the Supreme Court No. 12 – 307. As
our state continues in its efforts to normalize foster care for our children and youth, we
must work to ensure our foster parents are equipped with the knowledge and skills to
appropriately respond to children who identify as being LGBT or Q. Acceptance and
support is fundamental in the healthy development of these youth and the families they
live with must be able to provide this invaluable experience.

BCF recognizes that state agencies are not always viewed as “safe places” for the LGBT
communities. Because of this perception gay and lesbian couples who are willing to
provide loving and supportive homes for children and youth often seek out private
adoption agencies unaffiliated with the state to complete private adoptions. Although
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West Virginia has many gay and lesbian foster/adoptive homes we believe targeted
recruitment efforts for LGBT foster parents to encourage their application with the state
or state affiliated agencies to foster/adopt children and youth who have been removed
through social services would be beneficial. BCF also wishes to develop educational
literature for use with our social service staff and for distribution in our local office waiting
areas. BCF recognizes the importance of bringing awareness to the truths about the
LGBT community and work to dispel common myths. BCF will develop specific policies
and procedures pertaining to the service development of youth who identify as LGBT or
Q and identify agencies or organizations who can provide support and advocacy to both
our children and youth and our families.

BCF does not intend to complete all the identified tasks within FFY 2017 but rather
considers this an on-going process that needs to be continuously refined.

See attached Foster and Adoptive Parent Licensing/Recruitment Plan for updated plan.
2017 Update
The Bureau for Children and Families provided an in-depth training for Child Protective
Services, Adoption, Homefinding and private agency workers on LBGTQ issues at its
permanency conference held in May 2017. Issues focused on identifying providers that
were LBGTQ friendly and inclusiveness while in foster care. The Bureau for Children and
Families continues to support recruitment of LBGTQ foster parents.
The same philosophy in recruitment of LBGTQ foster parents applies to recruitment
efforts of families of similar race and culture of its foster care population. West Virginia
has made an extensive effort over the last few years to place children with relatives and
kinship providers which helps maintain children with their own race, culture and
community.
Due to the drug epidemic in this state it has become more difficult to recruit appropriate
foster and adoptive parents. The Bureau for Children and Families has worked closely
with our private providers to develop strategies to recruit and train additional foster
parents. For more information, please see the Addendum to our Foster and Adoptive
Diligent Recruitment Plan attached to this submission.
2018 Update
For more information, please see the Addendum to our Foster and Adoptive Diligent
Recruitment Plan attached to this submission.



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Health Care Oversight and Coordination Plan

2016 Update

West Virginia continues to implement the Fostering Healthy Kids Program. This program
ensures that every child that enters foster care has their initial Early Periodic Screening,
Diagnostic and Treatment (EPSDT) completed. The following data represents data on
Health Checks completed on children entering foster care.

  Fostering Health Kids Monthly Data   October     November    December   January   February    March
              Summary
 Percentage of active foster            98.2%          99.8%    97.5%      97.5%     97.5%      97.3%
 children assigned to a primary
 care physician

 Percentage of active foster            91.3%          90.1%    88.3%      91.6%     84.7%      91.3%
 children initially placed in
 foster care and have been
 scheduled for an initial
 HealthCheck exam
 Percentage of active foster            96.8%          97.8%    97.8%      92.1%     97.3%      95.8%
 children initially placed in
 foster care and kept their
 initial HealthCheck exam
 appointment
 Percentage of active foster             100%          99%      100%       100%       100%      100%
 children initially placed in
 foster care and whose initial
 HealthCheck exam results
 have been received

The Office of Maternal, Child and Family Health (OMCFH) Pediatric Medical Advisory
Board has endorsed the integrated use of trauma-focused screening into the regular
screening activities taking place under EPSDT. Precisely, all age-appropriate preventive
health screening and health history forms have been revised to facilitate the determination
of trauma history and any current trauma-related symptoms. West Virginia HealthCheck
age-appropriate preventive health screening forms now integrate socio-behavioral factors
examined in the Adverse Childhood Experiences (ACEs) Study & beginning at age 9, an
abbreviated Post-Traumatic Stress Disorder (PTSD) Checklist – Civilian Version (PCL-
C).[1] By integrating trauma screening into the regular screening activities taking place
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under EPSDT, West Virginia now conclusively meets the requirements of the Child and
Family Services Improvement and Innovation Act of 2011, which obliges States to include
in their health care oversight plans a description of how they will screen for and treat
emotional trauma associated with maltreatment and removal (for children in foster care).

Since the Health Care Oversight and Coordination Plan must be developed in
consultation with pediatricians and other experts in health care [2], input from the OMCFH
Pediatric Medical Advisory Board – which is comprised of 10 pediatricians, 2 family
practitioners, an otolaryngologist, a licensed psychologist, a dentist and an optometrist
has been requested. The OMCFH Pediatric Medical Advisory Board provided the
following feedback.

•       The attached American Academy of Pediatrics Policy Statement [3] calls for
increased coordination and collaboration with team members from many sectors. Any
future evolution of the Health Care Oversight and Coordination Plan should utilize this
policy framework to shape and grow the child health infrastructure that is needed in West
Virginia.
•       The task team charged with developing a plan to monitor psychotropic medications
of each individual foster child should include physicians.
•       The task team recommendation for prior authorization of psychotropic medication
may not be conducive to promoting best practice.
•       Limiting the duration of prescriptions (by re-evaluating the continued necessity and
tolerance) is the responsibility of the prescriber. If such a limit is mandated, said limit
should be on a reasonable timeline.
•       Rather than the task team, it is the responsibility of each prescriber to maintain
his/her professional skills through continuing medical education.

See attached Health Care Coordination and Oversight Plan for additional information.

2017 Update

Trauma screening has been integrated into the regular screening activities taking place
under EPSDT. Through its network of nine (9) community-based HealthCheck Program
Specialists, the HealthCheck Program equips West Virginia’s medical providers with the
necessary tools and knowledge to carry out EPSDT services that meet reasonable
standards of medical practice, i.e. the American Academy of Pediatrics’ Bright Futures:
Guidelines for Health Supervision of Infants, Children, and Adolescents, and provides
ongoing technical assistance regarding the EPSDT benefit.



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On February 15, 2017, the Bureau for Children and Families and Bureau for Public
Health/Office of Maternal, Child and Family Health formally agreed (via signed
memorandum of understanding) to establish roles and responsibilities between the
parties for the purposes of addressing the issues of interface in the delivery of health care
services to children and youth in foster care, and providing coordination to promote
prompt access to comprehensive, coordinated services and supports in a patient-
centered medical home.4

Per the memorandum of understanding, HealthCheck Foster Care Liaisons now facilitate
the completion of the West Virginia Children with Special Health Care Needs (CSHCN)
Screener©, a parent-reported tool designed to mirror the federal Maternal and Child
Health Bureau’s consequences-based definition of children with special health care
needs, for all foster care placements. West Virginia CSHCN Program Registered Nurses
then authenticate Screener© responses and assign each foster child a care coordination
tier level. Care coordination tier levels vary:

       Tier 1 – CSHCN identified with low service utilization and mild or few functional
        limitations;
     Tier 2 – CSHCN with a special physical health care need in addition to high service
        utilization and moderate to severe functional limitations; or
     Tier 3 – CSHCN with a special physical health care need in addition to high service
        utilization and moderate to severe functional limitations and requires facilitation of
        the child’s EPSDT benefit and substantiating the medical necessity of a requested
        “non-covered” service (i.e. medical nutrition foods prescribed by a physician).
For children and youth in foster care with Tier 2 and Tier 3 care coordination levels, West
Virginia CSHCN Program Care Coordinators (Registered Nurses and Social Workers)
afford the following care coordination functions:

         Advocate patient-centered, coordinated, ongoing comprehensive care within a
          medical home;
         Ensure an appropriate written (shared) care plan;
         Promote communications within the medical home and ensure defined minimal
          intervals between said communications;


4
 The patient-centered medical home is both an approach to providing comprehensive primary care for children,
youth and adults, and a health care setting that facilitates partnerships between individual patients, and their personal
physicians, and when appropriate, the patient’s family (American Academy of Family Physicians, American
Academy of Pediatrics, American College of Physicians, and American Osteopathic Association).
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       Support and/or facilitate (as appropriate) care transitions from practice to practice
        and from the pediatric to adult systems of care;
     Support medical homes’ capacity for electronic health information and exchange;
        and
     Facilitate access to comprehensive home and community-based supports.
The HealthCheck and CSHCN programs work to facilitate a team approach to health care,
with coordination across multiple services and settings, in accordance with the National
Standards for Systems of Care for Children and Youth with Special Health Care Needs.5
For foster children with Tier 2 or Tier 3 care coordination levels, a shared plan of care
contains input from multidisciplinary providers and services, including primary,
subspecialty and behavioral health professionals. As such, the shared plan of care plays
a critical role in monitoring the appropriate use of psychotropic medications.

The following data represents data on Health Checks completed on children entering
foster care.


    Fostering Healthy Kids Monthly     Quarter 1      Quarter 2      Quarter 3      Quarter 4
            Data Summary

    Percentage of active              97.4%          98.0%          98.9%          98.9%
    foster children assigned
    to a primary care
    physician
    Percentage of active              88.0%          86.2%          90.0%          91.67%
    foster children initially
    placed in foster care and
    have been scheduled for
    an initial HealthCheck
    exam
    Percentage of active              96.5%          94.9%          97.2%          97.0%
    foster children initially
    placed in foster care and
    kept their initial



5
 VanLandeghem K, Sloyer P, Gabor V, Helms V. 2014. Standards for systems of care for children and youth with
special health care needs. [Washington, DC]: Association of Maternal and Child Health Programs; [Palo Alto, CA]:
Lucile Packard Foundation for Children's Health, 37 pp.
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 HealthCheck exam
 appointment
 Percentage of active         100%        100%        100%        99.8%
 foster children initially
 placed in foster care and
 whose initial
 HealthCheck exam
 results have been
 received


Update
For an update, please see the attached Health Care Coordination and Oversight Plan.

Disaster Plan

During the 2013-2014 federal fiscal year, West Virginia had two winter weather events,
one federal disaster declaration and a chemical spill.

January 6, 2014 the West Virginia Department of Health and Human Resources issued
a warning to West Virginia residents about the dangers posed by freezing temperatures
over the next several days because of a severe winter storm. Residents who did not have
a heating source in their home were advised to contact the county emergency operations
centers or the local health department to locate the nearest shelter or warming station.
There was no disruption of services.

On January 9, 2014, approximately 10,000 gallons of Crude MCHM/PPH blend leaked
from a storage tank at the Freedom Industries Elk River facility in Charleston. The spill
shut down the drinking water supply for citizens across nine West Virginia counties until
January 17. State emergency management officials coordinated the distribution of bottled
water to those areas affected. The bureau continued to provide services without
interruption.

March 2, 2014 the West Virginia Bureau for Public Health alerted residents to be aware
of an approaching winter storm that impacted many counties across the state. A couple
of local offices were closed for a day due to road conditions and power outages. Staff
reported to alternate work locations and the impact on the delivery of services was
minimal.


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The Bureau for Children and Families did not activate its COOP for any of these events.
All offices remained open to provide services to the states citizens. The emergency
response for these events was handled by the county and local emergency management
officials.

2016 Update

During the 2015-2016 plan reporting year, West Virginia had several severe weather
events, two of which required a state of emergency declaration. The Bureau for Children
and Families was not officially present at the Center for Threat Preparedness, but was on
stand-by as needed.

7/13/15 A State of Emergency was declared in three WV counties due to heavy flooding
and rainfall in the areas. Some local BCF offices closed for up to two days and worked
from alternate locations, but no facilities activated their COOP.

1/22/16 A statewide State of Emergency was declared in WV due to severe winter
weather. Most local BCF offices closed and no facilities activated their COOP.

The Bureau for Children and Families did not activate its COOP for any of these events.
When the offices closed, essential staff remained available. On each occasion,
emergency events were handled by the local emergency management officials.

2017 Update

During the 2016-2017 plan reporting year, West Virginia had several weather events,
with one requiring a state of emergency declaration. The Bureau for Children and
Families was not officially present at the Center for Threat Preparedness but was on
stand-by as needed.

6/24/16 - A State of Emergency was declared for 44 West Virginia counties due to
consistent, heavy rainfall and flooding in the areas. Several local BCF offices closed,
many without access to alternative locations as they were also affected by flood waters
and weather-related power outages. No facilities activated their COOP.

The Bureau for Children and Families did not activate its COOP for this event. When
the offices closed, essential staff remained available. Emergency events were handled
by the local emergency management officials.


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2018 Update

During the 2017-2018 plan reporting year, West Virginia had several weather events. A
State of Emergency was declared for several of the weather events, one including all 55
counties in the state. Although various BCF offices closed and alternative locations used
in some instances, no facilities activated their COOP.

The Bureau for Children and Families also did not activate its COOP for any of the events.
When offices closed, essential staff remained available. Emergency events were handled
by local emergency management officials.

The Bureau for Children and Families was on stand-by, as needed, at the Center for
Threat Preparedness during events for which Health Command was activated.

Please see attached updated Disaster Plan (COOP).

Training Plan

2016 Update

PRE-SERVICE

 IN-HOUSE              Section     Setting   Duration    Provider     Hours   Audienc    Projected   Rate   FC
 PRE-SERVICE                                                                  e          Number             AA
 TRAINING                                                                                Attending          Blended

 Personal Safety in    New         Online    Short-      BCF          2       CW Staff   240         50%    FC
 Health & Human        Worker                term        e-Learning   hours
 Resources             Pre-
                       Service

 DHHR Orientation      New         Online    Short-      BCF e-       2       CW Staff   240         50%    FC
 for New Employees     Worker                term        Learning     hours
                       Pre-
                       Service
 DHHR & WV             New         Online    Short-      BCF          2       CW Staff   240         50%    FC
 Executive Branch      Worker                term        e-Learning   hours
 Privacy Policies      Pre-
                       Service
 Mandated to Report-   New         Online    Short-      BCF e-       2       CW         240         75%    FC
 Responsibility to     Worker                term        Learning     hours   Staff
 Prevent Child Abuse   Pre-
 & Neglect             Service
 ROSA Time Studies     New         Online    Short-      BCF e-       2       CW Staff   240         75%    Blended
                       Worker                term        Learning     hours
                       Pre-
                       Service


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 IN-HOUSE               Section       Setting     Duration    Provider     Hours   Audienc    Projected   Rate   FC
 PRE-SERVICE                                                                       e          Number             AA
 TRAINING                                                                                     Attending          Blended

 Foundations 100        New           Online      Short-      BCF          6       CW Staff   240         75%    FC
                        Worker                    term        e-Learning   hours
                        Pre-
                        Service
 The Interviewing       New           Classroom   Short-      Staff        24      CW Staff   240         75%    Blended
 Process                Worker                    term        Trainer      hours
                        Pre-
                        Service
 Intake Assessment      New           Classroom   Short-      Staff        12      CW         240         0%     FC
                        Worker                    term        Trainer      hours   Staff
                        Pre-
                        Service

 Case                   New           Computer    Short-      Staff        12      CW         240         50%    FC
 Documentation          Worker        Lab         term        Trainer      hours   Staff
                        Pre-
                        Service
 Foundations 101        New           Online      Short-      BCF e-       4       CW Staff   240         75%    Blended
                        Worker                    term        Learning     hours
                        Pre-
                        Service
 Interviewing           New           Local       Short-      Supervisor   24      CW Staff   240         0%     FC
 Process/ Intake        Worker        Office      term                     hours
 Assessment Transfer    Pre-
 of Learning            Service
 Initial Case           New           Classroom   Short-      Staff        42      All CPS,   180         0%     FC
 Assessment: Child      Worker                    term        Trainer      hours   Adopt.
 Protective Services    Pre-                                                       Home
                        Service:                                                   Finding
                        CPS;                                                       Staff
                        Adopt; HF
 Initial Case           New           Classroom   Short-      Staff        6       All CPS,   180         0%     FC
 Assessment             Worker                    term        Trainer      hours   Adopt.
 Documentation: CPS     Pre-                                                       Home
                        Service:                                                   Finding
                        CPS;                                                       Staff
                        Adopt; HF
 Initial Case           New           Local       Short-      Supervisor   24      All CPS,   180         0%     FC
 Assessment: Child      Worker        Office      term                     hours   Adopt.
 Protective Services    Pre-                                                       Home
 Transfer of Learning   Service:                                                   Finding
                        CPS;                                                       Staff
                        Adopt; HF
                        Structured
                        OJT
 Initial Case           New           Classroom   Short-      Staff        42      YS Staff   60          75%    FC
 Assessment: Youth      Worker                    term        Trainer      hours
 Services               Pre-
                        Service:
                        YS




                                                             620




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 IN-HOUSE               Section       Setting     Duration    Provider     Hours   Audienc    Projected   Rate   FC
 PRE-SERVICE                                                                       e          Number             AA
 TRAINING                                                                                     Attending          Blended

 Initial Case           New           Classroom   Short-                   6       YS Staff   60          50%    FC
 Assessment             Worker                    term                     hours
 Documentation          Pre-
 Youth Services         Service:
                        YS

 Initial Case           New           Local       Short-      Supervisor   24      YS Staff   60          0%     FC
 Assessment: Youth      Worker        Office      term                     hours
 Services Transfer of   Pre-
 Learning               Service
                        Structured
                        OJT: YS
 Foundations 102        New           Online      Short-      BCF e-       4       CW Staff   240         75%    FC
                        Worker                    term        Learning     hours
                        Pre-
                        Service
 Children in Care       New           Classroom   Short-      BCF           12     CW Staff   240         75%    FC
                        Worker                    term        Trainer      hours
                        Pre-
                        Service
 Children in Care       New           Computer    Short-      BCF          12      CW Staff   240         50%    FC
 Documentation          Worker        Lab         term        Trainer      hours
                        Pre-
                        Service
 The Court Process      New           Classroom   Short-      BCF          12      CW Staff   240         75%    FC
                        Worker                    term        Trainer      hours
                        Pre-
                        Service
 The Court Process      New           Computer    Short-      Staff        12      CW Staff   240         50%    FC
 Documentation          Worker        Lab         term        Trainer      hours
                        Pre-
                        Service

 Children in            New           Local       Short-      Supervisor   24      CW Staff   240         50%    FC
 Care/Court Process     Worker        Office      term                     hours
 Transfer of Learning   Pre-
                        Service
                        Structured
                        OJT
 Family Assessment/     New           Classroom   Short-      Staff        42      CPS        150         75%    FC
 Case Planning: CPS     Worker                    term        Trainer      hours   Staff
                        Pre-
                        Service:
                        CPS
 Family                 New           Classroom   Short-      Staff        6       CPS        150         50%    FC
 Assessment/Case        Worker                    term        Trainer      hours   Staff
 Planning               Pre-
 Documentation: CPS     Service:
                        CPS




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 IN-HOUSE               Section       Setting     Duration    Provider     Hours   Audienc     Projected   Rate   FC
 PRE-SERVICE                                                                       e           Number             AA
 TRAINING                                                                                      Attending          Blended

 Family                 New           Local       Short-      Staff        12      CPS         150         0%     FC
 Assessment/Case        Worker        Office      term        Trainer      hours   Staff
 Planning: CPS          Pre-
 Transfer of Learning   Service:
                        CPS
                        Structured
                        OJT
 CPS Competency         New           Classroom   Short-      Staff        7       All CPS     150         0%     FC
 Test                   Worker                    term        Trainer      hours   Staff
                        Pre-
                        Service:
                        CPS
 Family                 New           Classroom   Short-      Staff        42      YS Staff    60          75%    FC
 Assessment/Case        Worker                    term        Trainer      hours
 Planning: Youth        Pre-
 Services               Service:
                        YS


 Family                 New           Classroom   Short-      Staff        6       YS Staff    60          75%    FC
 Assessment/Case        Worker                    term        Trainer      hours
 Planning               Pre-
 Documentation:         Service
 Youth Services         YS



 Family                 New           Local       Short-      Supervisor   12      All Youth   60          0%     FC
 Assessment/Case        Worker        Office      term                     hours   Services
 Planning: Youth        Pre-                                                       Staff
 Services Transfer of   Service
 Learning               Youth
                        Services
                        Structured
                        OJT
 Competency Test:       New           Classroom   Short-      Staff        7       All Youth   60          0%     FC
 Youth Services         Worker                    term        trainer      hours   Services
                        Pre-                                                       Staff
                        Service
                        YS


 Family Assessment/     New           Classroom   Short-      Staff        42      All         15          75%    AA
 Case Planning:         Worker                    term        Trainer      hours   Adoption
 Adoption               Pre-                                                       Staff
                        Service:
                        Adoption




                                                             622




                                                                                                                D005324
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 IN-HOUSE               Section       Setting     Duration    Provider     Hours   Audienc    Projected   Rate   FC
 PRE-SERVICE                                                                       e          Number             AA
 TRAINING                                                                                     Attending          Blended

 Family Assessment/     New           Classroom   Short-      Staff        6       All        15          50%    AA
 Case Planning          Worker                    term        Trainer      hours   Adoption
 Documentation:         Pre-                                                       Staff
 Adoption               Service:
                        Adoption


 Family Assessment/     New           Local       Short-      Supervisor   12      All        15          0%     `AA
 Case Planning:         Worker        Office      term                     hours   Adoption
 Adoption Transfer of   Pre-                                                       Staff
 Learning               Service:
                        Adoption
                        Structured
                        OJT
 Competency Test:       New           Classroom   Short-      Staff        7       All        15          0%     AA
 Adoption               Worker                    term        Trainer      hours   Adoption
                        Pre-                                                       Staff
                        Service:
                        Adoption


 Family Assessment/     New           Classroom   Short-      Staff        42      All Home   15          75%    Blended
 Case Planning:         Worker                    term        Trainer      hours   Finding
 Home Finding           Pre-                                                       Staff
                        Service:
                        Home
                        Finding

 Family Assessment/     New           Classroom   Short-      Staff        6       All Home   15          50%    Blended
 Case Planning          Worker                    term        Trainer      hours   Finding
 Documentation:         Pre-                                                       Staff
 Home Finding           Service:
                        Home
                        Finding

 Family Assessment/     New           Local       Short-      Supervisor   12      All Home   15          0%     Blended
 Case Planning:         Worker        Office      term                     hours   Finding
 Home Finding           Pre-                                                       Staff
 Transfer of Learning   Service:
                        Home
                        Finding
                        Structured
                        OJT
 Competency Test:       New           Classroom   Short-      Staff        7       All Home   15          0%     Blended
 Home Finding           Worker                    term        trainer      hours   Finding
                        Pre-                                                       Staff
                        Service:
                        Home
                        Finding




IN-SERVICE

                                                             623




                                                                                                               D005325
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 IN-HOUSE             Section        Setting     Duration    Provider      Hours    Audience    Projected   Rate   FC
 IN-SERVICE                                                                                     Number             AA
 TRAINING                                                                                       Attending          Blended



 Family               New Worker     Classroom   Short-      Staff         6        CW Staff    240         75%    Blended
 Engagement           In-Service                 term        Trainer       hours

 Meaningful           New Worker     Classroom   Short-      Staff Train   12       CW Staff    240         75%    Blended
 Contacts             In-Service                 term        er            hours



 Title IV-E           New Worker     Online      Short-      Staff         1 hour   CW Staff    240         75%    Blended
 Reimbursement        In-Service                 term        Trainer




 Introduction to      New Worker     Classroom   Short-      Staff         6        CW Staff    240         75%    FC
 Domestic             In-Service                 term        Trainer &     hours
 Violence                                                    DV
                                                             Advocate



 Socially             New Worker     Online      Short-      BCF e-        2        Child       500         75%    FC
 Necessary            In-Service                 term        Learning      hours    Welfare
 Services                                                                           Staff/
                                                                                    Providers


 Automated             New worker    Online      Short-      BCF e-        2        CW Staff    240         75%    FC
 Placement            In-Service                 term        Learning      hours
 Referral




 Critical Incidents   New Worker     Classroom   Short-      Staff         6        CW Staff    240         0%     FC
                      In-Service                 term        Trainer       hours




 Adoption Subsidy     New Worker     Online      1 hour      BCF e-        1 hour   CW Staff    240         75%    AA
 Process              In-Service                             Learning




                                                            624




                                                                                                              D005326
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 IN-HOUSE           Section         Setting     Duration    Provider   Hours   Audience     Projected   Rate   FC
 IN-SERVICE                                                                                 Number             AA
 TRAINING                                                                                   Attending          Blended



 National Youth     New Worker      Online      Short-      BCF e-     2       Staff        240         75%    FC
 Transitioning      In-Service                  term        learning   hours
 Database (NYTD)


 Youth              New Worker      Online      Short-      BCF e-     2       CW Staff     240         75%    FC
 Transitioning to   In-Service                  term        Learning   hours
 Adult Services
 McKinney-Vinto     New Worker      Online      Short-      BCF e-     2       CW Staff     240         75%    FC
 Act                In-Service                  term        Learning   hours

 Family Centered    New Worker      Classroom   Short-      Staff      6       CW Staff     240         75%    Blended
 Practice           In-Service                  term        Trainer    hours




PROFESSIONAL DEVELOPMENT


 IN-HOUSE           Section         Setting     Duration    Provider   Hours   Audience     Projected   Rate   FC
 PROFESSIONAL                                                                               Number             AA
 DEVELOPMENT                                                                                Attending          Blended
 TRAINING


 Youth Leveling     Professional    Classroom   Short-      Staff      18      Youth        300         0%     FC
 System Case        Development                 term        Trainer    hours   Services
 Management                                                                    Staff
 Inventory

 WV Child and       Professional    Classroom   Short-      Staff      6       CW Staff     1000        75%    FC
 Adolescent         Development                 term        Trainer    hours
 Needs and
 Strengths
 Assessment
 West Virginia      Professional    Classroom   Short-      Staff      9       CW Staff     1000        75%    FC
 Safe at Home       Development                 term        Trainer    hours



 Sexual Abuse       Professional    Classroom   Short-      Staff      24      CW Staff     240         0%     FC
 Initial            Development                 term        Trainer    hours
 Assessments


 Case Aide Skills   New Worker      Classroom   Short-      Staff      18      Case Aides   20          50%    FC
 and                Professional                term        Trainer    hours
 Documentation      Development




                                                           625




                                                                                                          D005327
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 IN-HOUSE           Section         Setting     Duration    Provider     Hours   Audience   Projected   Rate   FC
 PROFESSIONAL                                                                               Number             AA
 DEVELOPMENT                                                                                Attending          Blended
 TRAINING


 AFCARS             New Worker      Online      Short-      BCF e-       2       CW Staff   240         75%    FC
                    Professional                term        Learning     hours
                    Development




 Uniform Child &    New Worker      Online      Short-      BCF e-       2       CW Staff   240         75%    FC
 Family Case Plan   Professional                term        Learning     hours
                    Development




 Working with       Professional    Classroom   Short-      DV           12      CW Staff   240         75%    FC
 Families           Development                 term        Advocate/    hours
 Experiencing                                               Staff
 Domestic                                                   Trainer
 Violence

 Out-Of-Home        Professional    Classroom   Short-      Staff        6       CW Staff   240         0%     FC
 Investigations     Development                 term        Trainer      hours
 (IIU)




 Psychological      Professional    Online      Short-      BCF e-       2       CW Staff   240         75%    FC
 Evaluation         Development                 term        Learning     hours
 Referrals for
 CPS/YS Families

 Child & Family     Professional    Online      Short-      BCF          2       CW Staff   240         75%    FC
 Services Review    Development                 term        e-Learning   hours




 Diligent Search    Professional    Online      Short-      BCF          2       CW Staff   240         75%    FC
                    Development                 term        e-Learning   hours




SUPERVISORY




                                                           626




                                                                                                          D005328
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 IN-HOUSE            Section       Setting     Duration      Provider     Hours     Audience      Projected   Rate   FC
 SUPERVISORY                                                                                      Number             AA
 TRAINING                                                                                         Attending          Blended


 Supervisory         Supervisory   Classroom   Short-term    Staff        18        Child         50          50%    FC
 Training: Putting   Training                                Trainer      hours     Welfare
 the Pieces                                                                         Supervisors
 Together Module
 1: Administrative
 Supervision




 Supervisory         Supervisory   Classroom   Short-term    Staff        18        Child         50          50%    FC
 Training: Putting   Training                                Trainer      hours     Welfare
 the Pieces                                                                         Supervisors
 Together Module
 2: Educational
 Supervision




 Supervisory         Supervisory   Classroom   Short-term    Staff        18        Child         50          50%    FC
 Training: Putting   Training                                Trainer      hours     Welfare
 the Pieces                                                                         Supervisors
 Together Module
 3: Supportive
 Supervision




 Orientation to                    Online      Short-term    BCF          1 hour    Child         50          50%    FC
 Supervision         Supervisory                             e-Learning             Welfare
                     Training                                                       Supervisors


 Practical Aspects   Supervisory   Classroom   Short-term    Staff        6 hours   Child         50          50%    FC
 of Supervision      Training                                Trainer                Welfare
                                                                                    Supervisors



 Transfer of         Supervisory   Classroom   Short-term    Staff        4 hours   Child         50          50%    FC
 Learning            Training                                trainer                Welfare
                                                                                    Supervisors


 Competency          Supervisory   Classroom   Short-term     Staff       3 hours   Child         50          50%    FC
 Based               Training                                trainer                Welfare
 Interviewing                                                                       Supervisors
 Skills




                                                            627




                                                                                                               D005329
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 IN-HOUSE           Section       Setting      Duration      Provider        Hours       Audience        Projected    Rate   FC
 SUPERVISORY                                                                                             Number              AA
 TRAINING                                                                                                Attending           Blended


 Recruitment of     Supervisory   Classroom    Short-term    Staff           3 hours     Child           50           50%    FC
 Qualified Staff    Training                                 trainer                     Welfare
                                                                                         Supervisors



 Retention of       Supervisory   Classroom    Short-term     Staff          3 hours     Child           50           50%    FC
 Qualified Staff    Training                                 trainer                     Welfare
                                                                                         Supervisors



 Coaching Skills    Supervisory   Classroom    Short-term    Staff           3 hours     Child           50           50%    FC
 for Supervisors    Training                                 trainer                     Welfare
                                                                                         Supervisors




 Working in Small                 Classroom    Short-term    Supervisor      3 hrs.      Child           50           50%    FC
 Groups             Supervisory                              y Staff                     Welfare
                    Training                                 trainer                     Supervisors




 Persuasion:        Supervisory   Classroom    Short-term    Staff           3 hours     Child           50           50%    FC
 Influencing        Training                                 trainer                     Welfare
 Others for                                                                              Supervisors
 Effective Change

 FFA Supervisory    Supervisory   Classroom    Short-term    Staff           12          Child           50           0%     FC
 Consultation       Training                                 trainer         hours       Welfare
 Guide                                                                                   Supervisors


 Enhancing Your                   Classroom    Short-term    Staff           3 hours     Child           50           50%    FC
 Nonverbal          Supervisory                              trainer                     Welfare
 Communication      Training                                                             Supervisors
 Skills for Work




West Virginia Court Improvement Program Training


   TRAINING          Setting       Duration      Provider         Length              Audience         Projected     Rate       FC
                                                                                                        Number                 AA
                                                                                                       Attending             Blended
     Child          Classroom     Short-term      W.Va.              50          All magistrates          160        75%        FC
   Protective                                    Supreme           minutes
   Services                                       Court
    Issues


                                                            628




                                                                                                                       D005330
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  TRAINING            Setting         Duration     Provider      Length        Audience        Projected   Rate      FC
                                                                                                Number              AA
                                                                                               Attending          Blended
  Child Welfare     Classroom         Short-term    W.Va.         1 hour     All magistrates      160      75%       FC
   Legislative                                     Supreme
    Updates                                         Court
 Animal Cruelty     Classroom         Short-term    W.Va.           50       All magistrates     160       75%      FC
     Issues                                        Supreme        minutes
                                                    Court
     Human          Classroom         Short-term    W.Va.        1 hour 30   All magistrates     160       75%      FC
 Trafficking and                                   Supreme        minutes
     Crimes                                         Court
    Against
    Children
    We Are          Classroom         Short-term    W.Va.         1 hour      Circuit Court      100       75%      FC
     Shelter                                       Supreme                   Judges, Senior
 Providers and                                      Court                    Status Judges,
  We Are Here                                                                   Justices
     to Help
   Update on        Classroom         Short-term    W.Va.           30        Circuit Court      100       75%      FC
  Child Abuse                                      Supreme        minutes    Judges, Senior
  and Neglect                                       Court                    Status Judges,
       Law                                                                      Justices
    What to         Classroom         Short-term    W.Va.           30        Circuit Court      100       75%      FC
  Expect from                                      Supreme        minutes    Judges, Senior
   Your GAL                                         Court                    Status Judges,
                                                                                Justices
 Trauma-What        Classroom         Short-term    W.Va.           30        Circuit Court      100       75%    Blended
  We Need to                                       Supreme        minutes    Judges, Senior
   Know and                                         Court                    Status Judges,
  Where We                                                                      Justices
  Need to Go
   Webinars            Online         Short-term   W.Va. CIP      1 hour       Attorneys,        100       75%      FC
                                                                             caseworkers,
                                                                             judicial staff,
                                                                                 others
   New Law          Classroom         Short-term    W.Va.         2 hours     Judicial law        20       75%      FC
 Clerk Training                                    Supreme                       clerks
                                                     Court
    Judicial         Online as        Short-term   W.Va. CIP      4 hours     Circuit Court       70       75%      FC
   Assistant          group, in                                              assistants and
     CAN               person                                                  law clerks
   Database        individually for
   Training              new
                     assistants
 CAN Guardian        Classroom        Short-term   W.Va. CIP      8 hours    Attorney GALs       100       75%      FC
   ad Litem             (also
 (GAL) Training      recorded/
                   posted online)



   Child Welfare In-Service and Professional Development Courses: University
                                 (SWEC) Classes

  These classes are provided by the five public universities in West Virginia that have

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                                                                                                             D005331
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            accredited social work programs through the Title IV-E University contracts. The
         Schools provide the match for their grants and are reimbursed directly for the expenses.


  SWEC: In-Service                                                                                   Projected          Blended
                          Section        Setting        Duration     Provider   Hours     Audience               Rate
     Course                                                                                           Number             FC or
                                                                                                     Attending            AA
                          New Worker                                             12                     240                FC
  Substance Abuse                         Classroom    Short-term     SWEC                CW Staff               75%
                           In-Service                                           hours
     Working with         New Worker                                                                    240               FC
                                          Classroom    Short-term     SWEC      6 hours   CW Staff               75%
  Caregivers: PRIDE        In-Service
   Legal and Ethical      New Worker                                                                    240               FC
Issues in Child Welfare    In-Service     Classroom    Short-term     SWEC      6 hours   CW Staff               75%
        Practice
   Human Growth &         New Worker                                                                    240               FC
                                                                                 12
  Development in the       In-Service     Classroom    Short-term     SWEC                CW Staff               75%
                                                                                hours
  Social Environment
  Diversity & Cultural    New Worker                                             12                     240               FC
                                          Classroom    Short-term     SWEC                CW Staff               75%
        Factors            In-Service                                           hours
Trauma-Informed Child     New Worker      Classroom/                                                    240               FC
                                                       Short-term     SWEC      9 hours   CW Staff               75%
   Welfare Practice        In-Service       Online




      SWEC                                                                                           Projected          Blended
   Professional           Section        Setting       Duration      Provider   Hours     Audience   Number      Rate   FC or
Development Course                                                                                   Attending          AA

 Adolescent Behavior      Professional                                             3                    240               FC
                                          Classroom    Short-term     SWEC                CW Staff               75%
  and Development         Development                                            hours
 Confidentiality in the   Professional                                             3                    240               FC
                                          Classroom    Short-term     SWEC                CW Staff               75%
  Age of Technology       Development                                            hours
                          Professional                                             3                    240               FC
   Ethics in Action                       Classroom    Short-term     SWEC                CW Staff               75%
                          Development                                            hours
Self Determination and    Professional                                                                  240               FC
                                                                                   3
   Confidentiality in     Development     Classroom    Short-term     SWEC                CW Staff               75%
                                                                                 hours
       Practice
                          Professional                                                                  240               FC
 Professionalism in       Development                                              3
                                          Classroom    Short-term     SWEC                CW Staff               75%
Child Welfare Practice                                                           hours

    Family Centered       Professional                                             1                    240               FC
    Multidisciplinary     Development     Classroom    Short-term     SWEC       day/6    CW Staff               75%
   Treatment Teams                                                               hours
    Using Nonverbal       Professional                                                                  240               FC
    Communication         Development                                              3
                                          Classroom    Short-term     SWEC                CW Staff               75%
   Effectively in Child                                                          hours
   Welfare Casework
 Interviewing Children    Professional                                             3                    240               FC
                                          Classroom    Short-term     SWEC                CW Staff               75%
    with Disabilities     Development                                            hours
   Engaging Absent        Professional                                             3                    240               FC
                                          Classroom    Short-term     SWEC                CW Staff               75%
        Fathers           Development                                            hours

                                                                     630




                                                                                                                 D005332
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      SWEC                                                                                         Projected          Blended
   Professional            Section         Setting     Duration      Provider   Hours   Audience   Number      Rate   FC or
Development Course                                                                                 Attending          AA

    Write it Right:        Professional                                                               240               FC
                                                                                  3
      Casework             Development     Classroom   Short-term     SWEC              CW Staff               75%
                                                                                hours
   Documentation
    Lesbian, Gay,          Professional                                                               240               FC
      Bisexual,            Development                                          6
                                           Classroom   Short-term     SWEC              CW Staff               75%
Transgender Issues in                                                           hours
      Casework
                           Professional                                                               240               FC
Child Welfare Trauma       Development                                           12
                                           Classroom   Short-term     SWEC              CW Staff               75%
       Toolkit                                                                  hours

  Common Childhood         Professional                                                               240               FC
     Mental Health         Development
                                                                                6
     Disorders and                         Classroom   Short-term     SWEC              CW Staff               75%
                                                                                hours
Implications for Service
        Planning
  Common Childhood         Professional                                                               240               FC
     Mental Health         Development
                                                                                12
     Disorders and                         Classroom   Short-term     SWEC              CW Staff               75%
                                                                                hours
Implications for Service
        Planning
 Dual Relationships in     Professional                                         6                     240               FC
                                           Classroom   Short-term     SWEC              CW Staff               75%
 Child Welfare Practice    Development                                          hours
   Engaging Hostile        Professional                                         6                     240               FC
                                           Classroom   Short-term     SWEC              CW Staff               75%
         Clients           Development                                          hours
Working with Resistant     Professional                                         6                     240               FC
                                           Classroom   Short-term     SWEC              CW Staff               75%
        Families           Development                                          hours
 Culturally Competent      Professional                                                               240               FC
                                                                                6
 Practice with Hispanic    Development     Classroom   Short-term     SWEC              CW Staff               75%
                                                                                hours
        Families
  Adult Mental Health      Professional                                         6                     240               FC
                                           Classroom   Short-term     SWEC              CW Staff               75%
         Issues            Development                                          hours
   Childhood Mental        Professional                                         6                     240               FC
                                           Classroom   Short-term     SWEC              CW Staff               75%
     Health Issues         Development                                          hours
   Sexually Reactive       Professional                                         6                     240               FC
                                           Classroom   Short-term     SWEC              CW Staff               75%
        Children           Development                                          hours
       Preserving          Professional                                         6                     240               FC
                                           Classroom   Short-term     SWEC              CW Staff               75%
      Connections          Development                                          hours




                                                                     631




                                                                                                               D005333
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        PRIDE Foster/Adoptive Parent Pre-service Training (Level 1)
        West Virginia Social Work Education Consortium (SWEC) Classes

        These classes are provided by the five public universities in West Virginia that have
        accredited social work programs through the Title IV-E University contracts. The
        Schools provide the match for their grants and are reimbursed directly for the expenses.

Foster/Adopt/ Kinship                                                                              Projected
  Care Pre-Service                                                                                  Number     Rate   Blended
                         Setting     Duration       Provider          Hours        Audience
       Training                                                                                    Attending          FC or AA
                                                                                Foster/ Adoptive      600              Blended
     Orientation        Classroom    Short-term   Home finder         3 hours                                  75%
                                                                                    Parents
                                                                                Foster/ Adoptive     600              Blended
Connecting with PRIDE   Classroom    Short-term      SWEC             3 hours                                  75%
                                                                                    Parents
 Teamwork Toward                                                                Foster/ Adoptive     600              Blended
                        Classroom    Short-term      SWEC             3 hours                                  75%
    Permanence                                                                      Parents
      Meeting                                                                                        600              Blended
                                                                                Foster/ Adoptive
Developmental Needs-    Classroom    Short-term      SWEC             3 hours                                  75%
                                                                                    Parents
     Attachment
      Meeting                                                                                        600              Blended
                                                                                Foster/ Adoptive
Developmental Needs-    Classroom    Short-term      SWEC             3 hours                                  75%
                                                                                    Parents
        Loss
Strengthening Family                                                            Foster/ Adoptive     600              Blended
                        Classroom    Short-term      SWEC             3 hours                                  75%
    Relationships                                                                   Parents
      Meeting                                                                                        600              Blended
                                                   SWEC /                       Foster/ Adoptive
Developmental Needs-    Classroom    Short-term                       3hours                                   75%
                                                  Home finder                       Parents
      Discipline
  Continuing Family                                                             Foster/ Adoptive     600              Blended
                        Classroom    Short-term      SWEC             3 hours                                  75%
    Relationships                                                                   Parents
                                                                                Foster/ Adoptive     600              Blended
 Planning for Change    Classroom    Short-term      SWEC             3 hours                                  75%
                                                                                    Parents
                                                  SWEC / Home                                        600              Blended
Taking PRIDE-Making     Discussion                                              Foster/ Adoptive
                                     Short-term    finder / CW        3 hours                                  75%
an Informed Decision      Panel                                                     Parents
                                                       staff


        2017 Update

        There were no changes in PRIDE Pre-Service Training




                                                                632




                                                                                                               D005334
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  The following changes were made to PRIDE In-Service Training

      IN-HOUSE                 Setting      Duration    Provider     Hours     Audience    Projected     Rate         FC       Activity
     IN-SERVICE                                                                             Number                   AA         Code
      TRAINING                                                                             Attending               Blended



 Family Engagement 2           Online        Short-      Staff         6       CW Staff        240       75%       Blended      10.1
                                              term      Trainer      hours

  Domestic Violence 2      Classroom         Short-       DV           6       CW Staff        240       75%       Blended      10.1
                                              term     Advocate/     hours
                                                         Staff
                                                        Trainer
 SAMSHA Substance              Online        Short-     BCF e-         4       CW Staff        240       75%       Blended      10.1
   Abuse Online                               term     Learning      hours


                                                                                               240                 Blended      10.1
  Diversity & Cultural                       Short-      Staff        12
                           Classroom                                           CW Staff                  75%
      Factors 1                               term      Trainer      hours

                                                                                               240                 Blended      10.1

  Diversity & Cultural                       Short-      Staff         6
                           Classroom                                           CW Staff                  75%
      Factors 2                               term      Trainer      hours




  PRIDE Foster/Adoptive Parent In Service Training (Level 2)

  West Virginia Social Work Education Consortium (SWEC) Classes

  These classes are also provided by the five public universities in West Virginia that have
  accredited social work programs through the Title IV-E University contracts. The
  Schools provide the match for their grants and are reimbursed directly for the expenses.

                                                                                                       Projected
                                                                                                        Number       Rate    Blended FC
  Course             Setting            Duration       Provider      Hours          Audience
                                                                                                       Attending                or AA
 Caring for                                                                                               600                Blended
Children Who
                                                                                 Foster/Adoptive
    Have           Classroom         Short-term         SWEC         9 hours                                         75%
                                                                                   Providers
Experienced
  Trauma




                                                                   633




                                                                                                                        D005335
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There were no changes made to PRIDE Foster/Adoptive Parent Advanced Training
(Level 3) West Virginia Social Work Education Consortium (SWEC) Classes

Child Welfare Pre-Service Training: Child Protective Services
Initial Case Assessment Child Protective Services (Classroom, 42 hours))
This workshop focuses on interviewing techniques for engaging families in the
assessment process. Participants are introduced to the philosophy of family centered
practice in Child Protective Services (CPS) and the Family Systems Theory. It familiarizes
the new worker with the policies and procedures of the Department of Health and Human
Resources concerning the provision of Child Protective Services. Workers are taught
how to use the Safety Assessment and Management System model to assess safety and
plan for intervention throughout the problem-solving process, from intake to case
evaluation and closure. Participants will learn how to assess reports of child abuse and
neglect by using the Safety Assessment and Management System Instruments; use
appropriate interviewing skills; navigate through the intake and family functioning
assessment practice protocols and assess for safety. An experiential practicum
concludes the training in which a worker simulates a Family Functioning Assessment
interview, assesses for safety and documents their findings. Instructional
Methods: Blended learning that includes online training, structured TOL activities,
lecture, class room discussion, practice simulation, video, and individual activity and
reading.

Initial Case Assessment Documentation, CPS (Computer lab, 6 hours)
This training is designed to teach new workers how to navigate and document the Family
Functioning Assessment into the FACTS system. New workers will learn how to
document the assessment onto the template and save it to the file cabinet in FACTS as
well as complete the necessary FACTS screens. New workers will have the opportunity
to document practice FFA cases into the FACTS system. Instructional Methods: Blended
learning that includes online training, structured TOL activities, lecture, class room
discussion, and demonstration. Participants practice entering case information in the
FACTS Training Database.

Initial Case Assessment Transfer of Learning, CPS (Local Office, 24 hours)
Transfer of Learning periods provide the opportunity to practice skills learned in the
classroom or online through structured activities that are a critical piece of learning and

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skill development. Assignments for the FFA Transfer of Learning period include:
shadowing tenured CPS workers; observing family engagement techniques; reviewing
FFA Assessments in the SACWIS system; secondary case worker assignments; attend
MDT’s; attend court hearings; documentation; making referrals for services; and
supervisor consultation. Instructional Methods: Structured TOL activities, individual
activity, and reading.

Child Welfare Pre-Service Training: Youth Services
Initial Case Assessment: Youth Services (Classroom, 42 hours)
This course familiarizes the new worker with procedures to use the Youth Services model
of risk to assess and plan for intervention throughout the assessment and treatment
planning process, from intake to case evaluation and closure. Training topics include the
role and responsibilities of a Youth Service Worker; using the family centered practice
approach in working with Youth Services cases; the Youth Behavior Evaluation;
information collection; protocol for interviewing families and documenting the information.
The emphasis of this training is to work with the family as a whole and not just the
identified youth. Instructional Methods: Blended learning that includes online training,
structured TOL activities, lecture, computer practice, small group activity, practice
simulation, and group discussion.

Initial Case Assessment Documentation, YS (Computer lab, 6 hours)
This training is designed to teach new workers how to navigate and document the Youth
Behavioral Evaluation and Behavior Control Plans into the FACTS system. New workers
will learn how to document the assessment onto the template and save it to the file cabinet
in FACTS as well as complete the necessary FACTS screens. New workers will have the
opportunity to document practice Youth Services cases into the FACTS system.
Instructional Methods: Blended learning that includes online training, structured TOL
activities, lecture, class room discussion, and demonstration. Participants practice
entering case information in the FACTS Training Database.

Initial Case Assessment Transfer of Learning: YS (Local Office, 24 hours)
Transfer of Learning periods provide the opportunity to practice skills learned in the
classroom or online through structured activities that are a critical piece of learning and
skill development. Assignments for the Youth Services Transfer of Learning period
include: shadowing tenured YS workers; observing family engagement techniques;

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reviewing YBE and Behavioral Control Plans in the SACWIS system; BCP, intake and
court documentation; making referrals for services; and supervisor consultation.
Instructional Methods: Structured TOL activities, individual activity, and reading.

Family Assessment/ Case Planning: CPS (Classroom, 42 hours)
This course familiarizes the new worker with the Protective Capacities Family
Assessment, including the purposes of Protective Capacities Assessment and Treatment
Planning; decisions associated with protective capacities assessment and treatment; how
treatment fits in the Child Protective Services process; how to conduct a family
assessment and develop a treatment plan; principles of individual and family change;
motivation and change with involuntary clients; client involvement in treatment planning;
use of outcomes in treatment planning; decisions associated with and completion of a
case evaluation and closure; reunification; and notification of providers. Instructional
Methods: Lecture, small group activity, practice simulation, group discussion, individual
activity and reading.

Family Assessment/Case Planning Documentation: CPS, (Computer Lab, 6 hours)
This workshop will, in conjunction with Protective Capacities Family Assessment and
Treatment Planning training, provide practice experience on how to document a
Protective Capacities Family Assessment and Family Case Plan in the FACTS system.
Instructional Methods: Lecture, computer practice, practice simulation and individual
activity.

Family Assessment/Case Planning Transfer of Learning: CPS (Local Office, 12
hours)
Transfer of Learning periods provide the opportunity to practice skills learned in the
classroom or online through structured activities that are a critical piece of learning and
skill development. Assignments for the Transfer of Learning period include: shadowing
tenured CPS workers; observing family engagement techniques during the PCFA
process; reviewing PCFA in the SACWIS system; practice and observe interviewing with
tenured staff; review case evaluations SACWIS system Instructional Methods: Structured
TOL activities, individual activity, and reading.

New Worker Competency Test: CPS (Classroom/Online, 7 hours)
The New Worker Competency Test will include a written CPS knowledge test, a simulated

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adult interview, a simulated child interview, and a documentation assessment.
Instructional Methods: computer practice, practice simulation and individual activity.

Child Welfare Pre-Service Training: Youth Services
Family Assessment/Case Planning: YS (Classroom, 42 hours)
This course focuses on gathering sufficient information to develop Protection Plans and
Behavioral Control Plans. Participants will learn how reasonable efforts correlate with the
behavior control planning and the difference between in-home and out-of-home plans.
Participants will learn how to accurately document Protection Plans and Behavioral
Control Plans. It assists them to understand their role in the case planning process as
well as how to motivate families and youth to participate in the case planning process to
promote change. Workers are given demonstrations of interviewing and goal writing then
are given an opportunity to demonstrate writing a case plan including goal development.
Instructional Methods: Blended learning that includes online training, structured TOL
activities, computer practice, small group activity, role play, practice interviewing,
individual activities and group activities.

Family Assessment/Case Planning Documentation: YS (Computer Lab, 6 hours
This course provides instruction for documenting Youth Services Intakes; client
demographics; Youth Behavioral Evaluations; Behavioral Control Plans; Family Service
Plans and Family Service Plan Reviews. Instructional Methods: Blended learning that
includes online training, structured TOL activities, class room discussion, demonstration,
and computer-based activities.

Family Assessment/Case Planning Transfer of Learning: YS (Local Office, 12
hours)
Transfer of Learning periods provide the opportunity to practice skills learned in the
classroom or online through structured activities that are a critical piece of learning and
skill development. Assignments for the Youth Services Transfer of Learning period
include: shadowing tenured YS workers; observing family engagement techniques;
reviewing Behavioral Control Plans in the SACWIS system; BCP, intake and court
documentation; making referrals for services; and supervisor consultation. Instructional
Methods: Structured TOL activities, individual activity, and reading.

New Worker Competency Test: Youth Services (Classroom/Online, 7 hours)

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The New Worker Competency Test will include a written Youth Services knowledge test,
a simulated adult interview, a simulated child interview, and a documentation
assessment.
Instructional Methods: computer practice, practice simulation and individual activity.


Child Welfare Pre-Service Training: Adoption

Family Assessment/Case Planning: Adoption (Classroom, 42 hours)
This course addresses Title IV of the Civil Rights Act of 1964; Multiethnic Placement Act
(MEPA) of 1994; Interethnic Adoption Provisions (IEP) of 1996; the Indian Child Welfare
Act (ICWA) of 1978; the Adoption and Safe Families Act (ASFA) of 1997; and a discussion
of concurrent planning in the context of the Child and Family Services review process. In
addition, deals with the Safe and Timely Interstate Placement of Foster Children Act; the
Adam Walsh Child Protection and Safety Act; the Child and Family Services Improvement
Act of 2006; the Deficit Reduction Act of 2006; and Fostering Connections to Success
and Increasing Adoptions Act of 2008, as related to safe, timely placements for children
in foster care and adoption. This course focuses on Child Assessment and Preparation.
It reviews WV policies, procedures and protocols for completing a child assessment and
preparation of the child for adoption. Participants will discuss issues of transitioning
children/youth from foster care; issues specific to adoption assessment and preparation
of older children and youth; and issues of sibling placements. The course stresses the
importance of using team meetings and engaging prospective, adoptive families in
assessing their ability to parent a specific child/youth. In addition, it fosters discussion in
engaging the older child/youth in selecting the adoptive family. This course covers: the
history of adoption subsidy in the United States; federal laws, policies and eligibility
requirements for Title-IV-E Adoption Assistance; core components of negotiating and
discussing adoption assistance; and discussion of adoption assistance with older
children/youth and prospective adoptive families. Instructional methods: Lecture,
individual activity, group discussion, group activity, and video.

Family Assessment/Case Planning Documentation: Adoption (Computer lab, 6
hours)
This course covers the documentation process in adoption. This includes the importance
of thoroughly reviewing the case record, case transfer of the state ward case to the

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adoption unit, documentation of placement and adoption information in the FACTS
system, documenting the finalized adoption including subsidy information when
appropriate, and preparing the case for transfer to the Division of Children and Adult
Services after the consummation of the adoption. The adoption specialist will learn the
importance of thorough documentation, completing all related adoption screens, and
preparing the case record for transfer and archiving. Instructional Methods: Computer lab,
reviewing FACTS adoption screens, documenting practice case information in FACTS.

Family Assessment/Case Planning Transfer of Learning: Adoption (Local Office,
12 hours)
Transfer of Learning periods provide the opportunity to practice skills learned in the
classroom or online through structured activities that are a critical piece of learning and
skill development. Assignments for the Transfer of Learning period include: shadowing
tenured Adoption workers; observing family engagement techniques during the adoption
process; reviewing child summaries in the SACWIS system; practice and observe
interviewing with tenured adoption staff; attend MDT meetings and permanency hearing
for adoption; review adoption screens in the SACWIS system Instructional Methods:
Structured TOL activities, individual activity, and reading.

New Worker Competency Test: Adoption (Classroom/Online, 7 hours)
The New Worker Competency Test will include a written Adoption knowledge test, a
simulated adult interview, a simulated child interview, and a documentation assessment.
Instructional Methods: computer practice, practice simulation and individual activity.

Family Assessment /Case Planning: Home Finding (Classroom, 42 hours)
This course prepares child welfare workers who are Home Finding Specialists to work
with families who are providing substitute care for children in state custody who are in out
of home care. The training covers the role of the home finder in the child welfare system,
recruiting foster/adoptive parents, eligibility criteria, PRIDE training for prospective
parents, the assessment process, compiling the actual home study, making decisions
with the family regarding certification and the Family Development Plan. The importance
of supporting certified foster/adopt families, retaining families and the annual
recertification process is also covered in this course. In addition, the training participant’s
review and practice documentation in the FACTS system as it relates to foster/adopt
providers and placements. Instructional Methods: Lecture, role play, practice

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interviewing, individual activities, group activities and video

Family Assessment/Case Planning Documentation: Home-Finding (Computer Lab,
6 hours)
This workshop teaches participants to enter required documentation in the FACTS
system as it relates to foster/adopt providers and placements. Participants learn
application of the FACTS system; entering new provider records and maintaining current
provider records; provider documentation: and IV-E documentation.        Lecture; small
group activity; practice simulation; group discussion. Instructional Methods: Lecture,
small group activities, practice simulation, and group discussion.

Family Assessment/Case Planning Transfer of Learning: Home Finding (Local
Office, 12 hours)
Transfer of Learning periods provide the opportunity to practice skills learned in the
classroom or online through structured activities that are a critical piece of learning and
skill development. Assignments for the Transfer of Learning period include: shadowing
tenured Home Finding workers; observing family engagement techniques during the
Home Study process; reviewing Home Studies in the SACWIS system; practice and
observe interviewing with tenured Home Finding staff; review Home Finding screens in
the SACWIS system Instructional Methods: Structured TOL activities, individual activity,
and reading.

New Worker Competency Test: Homefinder (Classroom/Online, 7 hours)
The New Worker Competency Test will include a written Home Finding knowledge test,
a simulated adult interview, a simulated child interview, and a documentation
assessment.
Instructional Methods: computer practice, practice simulation and individual activity.

Child Welfare In-Service Training in first Year
Family Engagement (Classroom, 6 hours
This course will help participants learn the definition of Family & Youth Engagement, as
a core competency of community-based Systems of Care. Participants will learn benefits
of engaging families and youth in service planning and delivery, as well as challenges to
engagement within various child and youth-serving systems. This course will focus on
the six components of effective parent engagement that were rated as most important by

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West Virginia families of children with behavioral challenges and other needs.
Participants will review key concepts and develop practical skills for each of the six family
engagement components and develop personalized plans of action to improve family and
youth engagement in day-to-day practice. Instructional Methods: Lecture, small group
activities, practice simulation, and group discussion.


Critical Incidents (Classroom, 6 hours)
This course provides participants with statistical data on child fatalities in WV and
identifies trends in child welfare practices; factors related to child deaths; best practice
standards; working with vulnerable children; supervisory consultation; safety planning;
information gathering; co-sleeping; and substance abuse related child fatalities.
Instructional Methods: Lecture, small group activity, practice simulation, and group
discussion.

Family Centered Practice (Classroom, 6 hours)
This workshop provides workers with an understanding of the concept of “Family
Centered Practice” as it relates to Child Welfare practice, including the advantages of this
approach to working with children and families and how to apply the concepts to practice.
Workers engage in a variety of activities that encourage them to understand the
importance of the key elements of Family Centered Practice. Instructional Methods:
Lecture, small group activity, practice simulation, and group discussion.

Professional Development (After First Year of Employment)

Youth Leveling System and Case Management Inventory (Classroom, 18 hours)
The Youth Level of Service/Case Management Inventory 2.0 is a gender-informed,
culturally-informed, strengths-focused risk/needs tool that reliably and accurately
classifies and predicts re-offending within male and female juvenile populations.
Participants will learn how to utilize the assessment, score assessment and integrate
results into the case planning process and service provision. Instructional Methods:
Lecture, small group activities, group discussion, videos, and demonstration.

WV Child and Adolescent Needs and Strengths Assessment (Classroom, 6 hours)
This course focuses on the use of the CANS information integration tool that will help

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child welfare workers to assess and identify the needs and strengths of children and
families. The CANS assist workers in identifying service needs of the child and family,
prioritizing such needs and providing rationale for service planning and decision making.
The CANS is designed for use at two levels—for the individual child and family and for
the system of care. The CANS utilizes current, relevant information gathered and
compiled from all available resources to better serve the individual child and their family
as well as helping child welfare workers and service providers in service planning and/or
quality assurance monitoring. Instructional Methods: Lecture, small group activities,
group discussion, videos, and demonstration.

Safe At Home West Virginia (Classroom, 9 hours)
This course will help participants gain knowledge and skills about the wraparound model
and learn techniques that are essential in identifying and utilizing child and family
strengths in the case planning. Workers learn about the importance of engaging the
family; coordination of community services; family decision making and the effectiveness
of family driven case plans. Instructional Methods: Blended learning that includes online
training, structured TOL activities, classroom discussion, demonstration, and small group
activities.

Level I: Pre-service
The PRIDE pre-service training consists of nine modules (21 hours of classes) required
by all potential foster/adoptive providers.


LEVEL II: INSERVICE FOSTER/ADOPTIVE TRAINING
Caring for Children Who Have Experienced Trauma:
A Workshop for Resource Parents
This 9-hour workshop was developed by the National Child Traumatic Stress Network
and is designed to educate resource parents and relative care givers about the impact of
trauma on the development and behavior of children in foster care and to provide parents
with the necessary knowledge and skills necessary to respond appropriately to the
behavioral and emotional challenges of traumatized children. Instructional Methods:
Lecture, video, small group activity, practice simulation, and group discussion.

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 See attached plan with update.

 Statistical and Supporting Information
 Statistical and Supporting Information

 Information on Child Protective Service Workforce:

     Child Protective Services                                Region         Region          Region         Region          Statewide
     FFY2014 (Revised)                                           I              II              III            IV             Total
     Total CPS Case1                                          12,557         18,487           8,179         18,048           57,271
     Monthly Average CPS Cases2                                1,046          1,541            682           1,504            4,772
     Staff Needed @ Action Standard3                            105            154             68             150              477
     Total CPS Staff Allocated Positions4                       109            127             57             133              426
     % of Allocated Positions Meeting                          104%           82%             84%            89%               89%
     Caseload Standard5
     Average CPS Caseload for                                    10              12             12              11                11
     Allocated Positions6
     Caseload Difference (Allocated to                            4             -27             -11            -17               -51
     Action Standard)7
 1
  Obtained by adding the monthly case totals of On-going CPS staff (FREDI CPS 8802) to the Intake CPS staff (FREDI CPS 8801) each month during
 FFY2014 (October 2013-Spetember 2014)
 2
  Total CPS cases divided by 12 (months) rounded to nearest integer
 3
  Monthly average of CPS cases divided by 10 (action standard for CPS cases) rounded to nearest integer
 4
  Obtained from monthly regional reports in FFY2014
 5
   Total CPS allocated positions divided by the total staff needed according to action standard rounded to nearest integer
 6Monthly average CPS cases divided by total allocated CPS positions rounded to nearest integer
 7CPS allocated positions subtract staff needed at action standard and rounded to nearest integer (positive numbers mean above standard,
 negative numbers mean below standard)


 Information on Youth Service Workforce:

     Youth Services FFY2014                                       Region Region Region Region Statewide
     (Revised)                                                       I      II     III    IV    Total
     Total YS Case1                                                9,329 11,163  6,543  6,261  33,296
     Monthly Average YS Cases2                                      777   930     545    521    2,773
     Staff Needed @ Action Standard3                                65     78     45     43      231
     Total YS Staff Allocated Positions4                            40     56     44     34      174
     % of Allocated Positions Meeting                              62%    72%    98%    79%      53%
     Caseload Standard5
     Average YS Caseload for Allocated                                19              17           12             15              15
     Positions6


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     Caseload Difference (Allocated to                                 -25           -22             -1             -9              -57
     Action Standard)7
1
 Obtained by adding the monthly case total of Youth Service staff (FREDI YSS-0010) each month during FFY2014 (October 2013-September 2014)
2
 Total YS cases divided by 12 (months) rounded to nearest integer
3
 Monthly average of YS cases divided by 12 (action standard for YS cases)
4
 Obtained from monthly peer allocation reports in FFY2014
5
 Total YS allocated positions staff needed according to action standard divided by the total staff needed according to action standard rounded to
nearest integer
6
 Monthly average of YS cases divided by total allocated YS positions rounded to nearest integer
7
 YS allocated positions subtract staff needed at action standard rounded to nearest integer (positive numbers mean above standard, negative
numbers mean below standard)




2016 Update

    Youth Services Workforce FFY2015                             Region          Region          Region         Region            Statewide
                                                                     I              II              III            IV               Total
    Total YS Cases1                                               6,729           8,824           6,618          7,593             29,764
    Monthly Average YS Cases2                                      561             735             552            633               2,480
    Staff Needed @ Action Standard3                                 47              61              46             53                207
    Total YS Staff Allocated Positions4                             30              51              31             47                159
    % of Allocated Positions Meeting
    Caseload Standard5                                              64%             84%            67%            89%                 77%
    Average YS Caseload for Allocated
    Positions6                                                       19              14             18              13                  16
    Caseload Difference (Allocated Action
    Standard)7                                                      -17             -10             -15             -6                 -48
*Numbers reflect new region alignment as of November 2014
1
 Obtained by adding the monthly case total of Youth Services staff (FREDI-0010) each month during FFY2015 (October 2014-September 2015)
2
 Total Youth Services Cases divided by 12(number of months) rounded to nearest integer
3
 Monthly average of Youth Services Cases divided by 12 (action standard for Youth Services cases) rounded to nearest integer
4
 Obtained from the "Position Vacancy Report" as reported by each region
5
 Total Youth Services staff allocated positions divided by the staff needed at action standard multiplied by 100 rounded to nearest integer
6
 Monthly average of Youth Services cases divided by total allocated Youth Services positions rounded to nearest integer
7
 Youth Services allocated positions subtract Youth Services staff needed at action standard rounded to nearest integer (positive numbers mean
above action standard; negative numbers mean below action standard)



     Child Protective Services FFY2015                           Region          Region          Region         Region            Statewide
                                                                    I               II             III             IV               Total
     Total CPS Case1                                             12,727          16,823          10,730         18,245             58,525
     Monthly Average CPS Cases2                                   1,061           1,402           894            1,520              4,877
     Staff Needed @ Action Standard3                               106             140             89             152                487
     Total CPS Staff Allocated Positions4                          111             114             73             129                427
     % of Allocated Positions Meeting
     Caseload Standard5                                            105%             81%            82%            85%                  88%

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   Average CPS Caseload for Allocated
   Positions6                                                        10              12             12             12                  11
   Caseload Difference (Allocated to
   Action Standard)7                                                  5             -26            -16             -23                 -61
*Numbers reflect new region alignment as of November 2014
1
 Obtained by adding the monthly case totals of On-going Child Protective Services staff (FREDI CPS-8802) to the number of referrals accepted for
the month (Cognos-Referrals Accepted) for FFY2015(October 2014-September 2015)
2
 Total CPS cases divided by 12 (months) rounded to nearest integer
3
 Monthly average of CPS cases divided by 10(action standard for CPS cases) rounded to nearest integer
4
 Obtained from monthly "Position Vacancy Report" submitted by each region rounded to nearest integer
5
 Total CPS allocated positions divided by staff needed at action standard multiplied by 100 rounded to nearest integer
6
 Monthly average CPS cases divided by total CPS staff allocated positions rounded to nearest integer
7
 Staff needed at action standard subtract CPS allocated positions rounded to nearest integer (positive numbers mean above action standard;
negative numbers mean below action standard)

 Youth Services Workforce FFY2016                                Region          Region         Region         Region            Statewide
                                                                     I             II              III            IV               Total
 Total YS Cases1                                                  7,331          10,002          7,616          7,270             32,219
 Monthly Average YS Cases2                                         611            834             635            606               2,685
 Staff Needed @ Action Standard3                                    51             69              53             50                224
*Numbers reflect new region alignment as of November 2014
1
 Obtained by adding the monthly case total of Youth Services staff (FREDI-0010) each month during FFY2016 (October 2015-September 2016)
2
 Total Youth Services Cases divided by 12(number of months) rounded to nearest integer
3
 Monthly average of Youth Services Cases divided by 12 (action standard for Youth Services cases) rounded to nearest integer


 Child Protective Services FFY2016                               Region          Region         Region         Region            Statewide
                                                                    I               II            III             IV               Total
 Total CPS Case1                                                 17,399          22,378         11,575         19,212             70,564
 Monthly Average CPS Cases2                                       1,450           1,865          965            1,601              5,880
 Staff Needed @ Action Standard3                                   145             186            96             160                588
Numbers reflect new region alignment as of November 2014
1
 Obtained by adding the monthly case totals of On-going Child Protective Services staff (FREDI CPS-8802) to the number of referrals accepted for
the month (Cognos-Referrals Accepted) for FFY2016(October 2015-September 2016)
2
 Total CPS cases divided by 12 (months) rounded to nearest integer
3
 Monthly average of CPS cases divided by 10(action standard for CPS cases) rounded to nearest integer

Staffing for YS – there is only a total of 139 allocated YS SSWIII’s – that includes the
additional 29 we got last year. There are an additional 50 contract positions.

Here is the breakdown:
Reg I – 33 allocated
Reg II - 43 allocated
Reg III -32 allocated
Reg IV- 31 allocated
Total – 139
Total in 2016 was 110 – add 29 additional positions =139

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Contracted YS workers
Reg I 10
Reg II 15
Reg III 13
Reg IV 12
Total 50
Total in 2016 was also 50

Grand total for 2017 – allocated positions & contracted = 189
2018 Update

The West Virginia Department of Health and Human Resources has struggled with a high
turn-over rate for many years. To attract and keep qualified staff, the Bureau for Children
and Families has implemented the following strategies.

   1. BCF requested to give Child Protective Services Workers retention pay
      raises. The first pay increase would be 5% after 2 years of service and another
      pay increase of 5% after 5 years of service. This request was approved and will
      begin in September 2018.
   2. BCF Executive team identified the ten highest turnover districts in the State and
      requested through the WV Division of Personnel to offer a sign on bonus of
      1500.00 to all Child Protective Service and Youth Service positions. This was
      approved and has been in effect since 10/2017.
   3. BCF has created more of a career ladder for Child Protective Service Staff. We
      have added a classification for Child Protective Service Coordinator and Child
      Protective Service Worker Senior.
   4. All field staff have been provided a smart phone and an emergency tether that
      notifies law enforcement if they find themselves in an emergency.
   5. Mentoring programs are being developed for all staff including supervisors
   6. BCF has added 48 Child Protective Service positions to help reduce caseloads.
   7. BCF has implemented standardized interviewing questions to help identify
      potential candidates that would be a good fit for Child Protective Services
   8. BCF has added a 2nd crisis team to help assist Districts that may in a staffing crisis
      or backlog crisis.
   9. BCF now has legislation that allows more degrees to qualify for social work
      licensing which has increased the pool of candidates for Child Welfare positions.

Recruitment:


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The Division of Personnel provides for the announcement of vacancies to current and
former employees of the classified service via its website at:
 http://www.state.wv.us/admin/personnel/jobs/default.htm.
The Division of Personnel provides for the continuous announcement of positions for the
State of West Virginia at:
http://www.state.wv.us/admin/personnel/jobs/default.htm.
The Division of Personnel provides for general recruitment through the announcement of
job and career fairs via its website at:
http://www.state.wv.us/admin/personnel/jobs/default.htm.
Local DHHR Community Services Managers and Supervisory staff is invited to participate
at Division of Personnel sponsored job and career fairs to showcase BCF openings and
to respond to potential applicant’s questions.
Local DHHR Community Services Managers are also responsible for recruitment of staff
using a variety of methods that include: hosting local job fairs at our offices and at
colleges and universities; identifying potential candidates through college and university
placement offices; and posting advertisements in local newspapers. Many DHHR
Community Services Managers participate in the State’s Schools of Social Work IV-E
supported undergraduate programs that provide for tuition and stipend payments,
educational placements at local DHHR offices, and the offer of employment upon
graduation.
The Office of Human Resources Management’s Recruitment and Retention unit will work
in partnership with BCF to establish a candidate pool for its vacancies, which will be done
through several different efforts. DHHR’s Recruitment Manager will be working to
establish working relationships with several colleges and other higher education
institutions to inform their students of the opportunities BCF has available and will work
to create internships for the different Bureaus’ positions. We will also continue to offer to
partner with BCF’s staff on planning job fairs specifically designed for BCF’s
titles/positions.
Selection:
BCF is responsible for requesting the posting of each vacancy. The Division of Personnel
in turns posts vacancies allowing potential qualified applicants, who are current or former
covered employees, to apply. At the same time, BCF local offices request civil service
registers from the Division of Personnel, which in turn certifies the names of the top ten
available candidates who have tested and meet the minimum qualifications for the

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vacancy.    It is from these two sources (present/former employees and names of
candidates who have tested for vacancies) that the candidate pool is made.
Interview Panels consisting of three individuals conduct interviews and make selections
based upon the policy found in DHHR Policy Memorandum 2106 and 2106-A. These
polices can be located at:
http://intranet.wvdhhr.org/ops/Policies/WordPolicies/POLICY.2106.pdf and at:
http://intranet.wvdhhr.org/ops/Policies/WordPolicies/POLICY.2106-A.pdf
Degrees and Certifications required:
Information related to degrees and certifications required can be found online for each
classified position:
Child Protective Service Worker Trainee
      http://www.state.wv.us/admin/personnel/clascomp/spec/9684.pdf
Salary range: $27,732.00 - $51,312.00
Child Protective Service Worker
       http://www.state.wv.us/admin/personnel/clascomp/spec/9685.pdf
       Salary Range: $31,164.00 - $57,660.00
Social Service Worker III
       http://www.state.wv.us/admin/personnel/clascomp/spec/9588.pdf
       Salary Range: $26,160.00 - $48,396.00
Social Service Worker II
      http://www.state.wv.us/admin/personnel/clascomp/spec/9587.pdf
      Salary Range: $24,912.00 - $46,092.00
Social Service Supervisor
      http://www.state.wv.us/admin/personnel/clascomp/spec/9584.pdf
      Salary Range: $29,400.00 - $54,396.00
Social Service Coordinator
      http://www.state.wv.us/admin/personnel/clascomp/spec/9585.pdf

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       Salary Range: $37,140.00 - $68,712.00
Child Protective Service Supervisor
       http://www.state.wv.us/admin/personnel/clascomp/spec/9579.pdf
       Salary Range: $35,028.00 - $64,812.00
West Virginia currently relies on various reports that are maintained in the Regional
Offices and at the State Office for workforce demographic information. This information is
useful in providing a snapshot of the workforce demographics. This includes information
about the current type of social work license and level of education. DHHR maintains
some information in the HRIS system but this system is dependent on the accurate
reporting of changes to a worker’s education and licensure status.
The state of West Virginia is currently deploying a statewide Enterprise Resource
Planning (ERP) system to integrate administrative business functions and thus transform
how the State manages its financial, human resources, procurement and other
administrative business processes. The system will capture information and make it
readily accessible, as appropriate, to State decision-makers and managers by:
Creating a business intelligence data warehouse with effective reporting tools and
predefined reports;
Providing agencies, and specifically system users and business managers, with the
necessary technology, tools, and training to enable them to extract the data they require
to meet their daily business needs;
Improving the State’s ability to conduct business, human resources, and technology
planning based on reliable, timely financial and human resources data;
This system known as WV OASIS is scheduled to have the human resource functionality
available in January of 2015. Additional information about the system is available at
http://www.wvoasis.gov/
The following are the demographics of the child welfare workforce.
   Education Level       # of Staff
 Bachelor’s Degree          311
 Master’s Degree            25
 Ph.D. Degree                1
 Education not listed       11




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         Type of License                               # of Staff
         Licensed Clinical Social Worker (LCSW)               3
         Licensed Graduate Social Worker (LGSW)               5
         Licensed Social Worker (LSW)                       190
         Social Worker (SW)                                  78
         Provisional Social Worker                           58
         License not listed                                   5




          Type of License by Educational Degree of Child Protective Service Workers
          Education Degree       Type of License                             # of Staff
          Bachelor’s Degree      Certified Social Worker (LCSW)                  3
                                 Not Listed                                      3
                                 Provisional Social Worker                      159
                                 Social Worker (LSW)                            173
                                 Temporary Permit (SW)                          76

          Master’s Degree        Graduate Social Worker (LGSW)                   5
                                 Provisional Social Worker                       4
                                 Social Worker (LSW)                             14
                                 Temporary Permit (SW)                           2

          Ph. D Degree           Provisional Social Worker                       1

          Not Listed             Not Listed                                      2
                                 Provisional Social Worker                       2
                                 Social Worker (LSW)                             3




          Educational Degree and Discipline Type of Child Protective Services Workers
          Education Degree      Discipline                                   # of Staff
          Bachelor’s Degree     Behavioral Science                              26
                                Board of Regents                                15
                                Business Management                              2
                                Counseling                                       2
                                Criminal Justice                                71
                                Criminology                                     34

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                               Education                                     11
                               Health Services and Social Welfare            2
                               Human Services Management                     4
                               Not Listed                                    1
                               Other                                         8
                               Psychology                                    56
                               Psychology/Criminal Justice                   4
                               Psychology/Sociology                          12
                               Social Science                                10
                               Social Work                                   68
                               Sociology                                     11
                               Specialized Studies                           1

      Master’s Degree          Counseling                                    5
                               Criminal Justice                              3
                               Education                                     1
                               Human Services Management                     1
                               Other                                         1
                               Psychology                                    4
                               Social Science                                1
                               Social Work                                   11
                               Special Education                             1

      Ph. D Degree             Sociology                                      1

      Not Listed               Not Listed                                     4
                               Other                                          3


    2018 Update

                                            Region   Region     Region     Region   Statewide
     Child Protective Services FFY2017      I        II         III        IV       Total

     Total CPS Cases1                       18,676   25,081     15,366     20,694   79,817

     Monthly Average CPS Cases2             1,556    2,090      1,281      1,725    6,651

     Staff Needed @ Action Standard3        156      209        128        172      665


     Total CPS Staff Allocated Positions4   106      125        81         112      424

                                                      651




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     % of Allocated Positions Meeting
     Caseload Standard5               68%                               60%           63%              65%         64%

     Average CPS Caseload for Allocated
     Positions6                         15                              17            16               15          16

     Caseload Difference (Allocated to
     Action Standard)7                 -50                              -84           -47              -60         -241
     1
      Obtained by adding the monthly case totals of On-going CPS staff (Fredi CPS 8802) to the intake CPS (FREDI
     8801)

     each month during FFY2017 (October 2016-September 2017).
     2
      Total CPS cases divided by 12 (months) rounded to the nearest integer.
     3
      Monthly average of CPS cases divided by 10 (action standard for CPS cases) rounded to nearest integer.
     4
      Obtained from monthly regional reports in FFY2017.
     5
      Total CPS positions divided by staff needed at action standard rounded to nearest integer.
     6
      Monthly average CPS cases divided by total allocated CPS positions rounded to nearest integer.
     7
      CPS allocated postions subtract staff needed at action standard and rounded to nearest integer

     (positive numbers mean above action standard, negtive number mean below action standard).




                                                         Region         Region        Region           Region      Statewide
     Youth Services FFY2017                              I              II            III              IV          Total

     Total YS Cases1                                     8,143          13,047        6,544            6,362       34,096

     Monthly Average YS Cases2                           679            1,087         545              530         2,841

     Staff Needed @ Action Standard3                     57             91            45               44          237

     Total YS Staff Allocated Positions4                 32             45            34               28          139

     % of Allocated Positions Meeting
     Caseload Standard5               57%                               50%           75%              63%         59%

     Average YS Caseload for Allocated
     Positions6                        21                               24            16               19          20

     Caseload Difference (Allocated to
     Action Standard)7                 -25                              -46           -11              -16         -98

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 Obtained by adding the monthly case totals of Youth Service staff (FREDI YSS-0010) each month during
 1



 FFY2017 (October 2016-September 2017).

 Total Youth Service cases divided by 12 (months) rounded to nearest integer.
 2



 Monthly average of Youth Services cases divided by 12 (action standard for Youth Service cases)
 3



 Obtained from monthly peer allocation reports in FFY2017.
 4



 Total Youth Services allocated positions divided by staff needed according to action standard
 5



 rounded to nearest integer.

 Montly average of Youth Services cases divided by total allocated Youth Services positions rounded to
 6



 nearest integer.

 Youth Services allocated positions subtract staff needed at action standard rounded t nearest integer
 7



 (positive numbers mean above standard, negative numbers mean below standard)


Juvenile Justice Transfers

West Virginia had 52 children under the care of the state child protection system who
were transferred into the custody of the state juvenile justice system in FFY 2014. We
began with a report from the SACWIS system of youth in the custody of DHHR who were
ordered to another placement and sorted this report by provider numbers associated with
DJS facilities.

2016 Update

For the 2015 APSR, a similar methodology was utilized for counting the number of
juveniles transferred into the DJS custody. A “hand count” was used to count the number
of youth with an “exit placement type” in our state SACWIS system as “Other, specify”
and “transferred to another agency” and a comment specifying the transfer to DJS. For
the current reporting period, there were 37 youth documented to have transferred to the
custody of the Division of Juvenile Services.

2017 Update

For the 2017 APSR, the same methodology was utilized for counting the number of
juveniles transferred into the DJS custody. A “hand count” was used to count the number
of youth with an “exit placement type” in our state SACWIS system as “Other, specify”
and “transferred to another agency” and a comment specifying the transfer to DJS. For
the current reporting period, there were 50 youth transferred to DJS custody.


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2018 Update

For the 2018 APSR, the methodology utilized for tallying the number of juveniles
transferred into the custody of DJS is the same as previous years. A “hand count” was
utilized to total the number of you with an “exit placement type” in the WV SACWIS system
as “Other, specify” and “transferred to another agency” and a comment specifying the
transfer to DJS. The current reporting period saw 55 youth transferred to DJS custody.

Child Maltreatment Deaths

West Virginia utilizes various information sources to accurately report child maltreatment
deaths to National Child Abuse and Neglect Data System (NCANDS). Information is
collected from the internal Bureau for Children and Families Critical Incident Review
Team, The Child Fatality Review Team operated under the State Medical Examiner’s
Office, as well as information from West Virginia’s SACWIS system to assure that all child
deaths because of abuse or neglect is captured in the NCANDS. Once the information
is obtained, a review of that data is completed to ensure there is no duplication of
cases. The Child Fatality Review Team operates under the Medical Examiner’s Office is
a team that is required under West Virginia State Code to review all child fatalities in the
state of West Virginia. The code requires certain members to be on the team; of those,
law enforcement and a person from vital statistics are required members. The State
Coordinator of the Child Fatality Review Team works with vital statistics to get all records
of deaths for children under the age of eighteen. In the state of West Virginia, the Medical
Examiner’s Office has investigators that are assigned to each child death; they coordinate
with law enforcement to conduct the investigation of the death. When other children are
in the home, this team coordinates with the local DHHR office to ensure the safety of the
other children in the home. Jane McCallister, Director of Children’s and Adult Services is
an active member of the Child Fatality Review Team and the chair of the Critical Incident
Review Team and has been instrumental in assuring that children who died because of
abuse or neglect are accurately identified and reported. In FFY 2014, West Virginia had
14 deaths due to abuse and neglect.

2016 Update

In FFY 2015, West Virginia had 7 deaths due to abuse and/or neglect.

2017 Update

West Virginia continues to collect information from the internal Bureau for Children and
Families Critical Incident Review Team, The Child Fatality Review Team operated under
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the State Medical Examiner’s Office, as well as information from West Virginia’s SACWIS
system to assure that all child deaths because of abuse or neglect is captured in the
NCANDS.

See the link to the 2016 Critical Incident Report located at the following website;
http://www.dhhr.wv.gov/bcf/Reports/Documents/BCF%20Critical%20Incident%20Report
%202016.pdf

2018 Update

As mandated reporters, the Medical Examiner’s Office report all suspected child abuse
and/or neglect fatalities to DHHR for investigation. The Director of the Division of Planning
and Quality Improvement is an active member of the Child Fatality Review Team and the
chair of the Critical Incident Review Team and reviews all fatalities from the SACWIS
system prior to the NCANDS report being submitted to ensure there are not duplicates
and that all children are included. Since the internal DHHR review team is for quality
assurance purposes, the team has chosen to only review cases in which there was a
history within the 12 months prior to the fatality. A review of the fatalities with substantiated
maltreatment in the SACWIS system ensures that all children are included in the
NCANDS report.


In addition to the continued activities listed above, based on the review data there has
been an emphasis on the following:

      Appropriate use of safety resources
      Contacting appropriate collaterals
      Drug Affected infant policy changes

In FFY 2017 there were ten (10) child fatalities due maltreatment. Detailed information
about these fatalities can be found in the Critical Incident Report 2017 on the Bureau’s
website at: https://dhhr.wv.gov/bcf/Reports/Documents/BCF/CriticalIncidentReport2017 .



Education and Training Vouchers

In the federal school year 2014, (July 1, 2013 – June 30, 2014) there were 152 youth who
received education and training vouchers, with 45 being new recipients. In the time period

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July 1, 2014 – June 30, 2015, 137 youth have received ETV vouchers, with 33 being new
recipients.
2016 Updates

For the academic year 2015 (July 1, 2014 – June 30, 3015) the State provided ETV
funding to approximately 130 youth; 83 of these are new to the program.

For the recent partial year (October 1, 2015 to March 30, 2016) the State provided ETV
funding to approximately 156 youth; 29 of these are new to the program.
2017 Update

For the academic year 2015-2016 School Year (July 1, 2015 to June 30, 2016)
the state provided funding to approximately 218; 64 of these are new to the
program.

For the recent partial year 2016-2017 School Year (July 1, 2016 to June 30, 2017)
the state provided ETV funding to approximately 221 youth; 66 of these are new to
the program.

2018 Update

For the academic year 2016-2017 School Year (July 1, 2016 to June 30, 2017) the
state provided funding to approximately 265, 60 of these are new to the program.

For the recent partial year 2017-2018 School Year (July 1, 2017 to June 30, 2018)
the state provided ETV funding to approximately 215, 62 of these are new to the
program.


Inter-Country Adoptions

West Virginia had no children adopted from other countries that entered state custody in
FY 2014 because of the disruption of a placement for adoption or the dissolution of an
adoption.
2016 Updates
West Virginia had no children adopted from other countries who entered state custody in
FFY 2015.
2017 Update
                                             656




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West Virginia had no children adopted from other countries that entered state custody in
2016.
2018 Update
West Virginia had 1 child who was adopted from Russia who entered into foster care in
2017.

Monthly Caseworker Visit Data

In FFY 2013, West Virginia’s percentage of visits with children in foster care monthly was
95.1%. Of those visits, 75.3% occurred in the child’s place of residence. For FFY 2014
West Virginia’s percentage of visits with children in foster care monthly was 95.6%, of
those visits, 72% occurred in the child’s place of residence. This continues to be
monitored daily by management through COGNOS. West Virginia continues to exceed
the national average.

West Virginia continues to focus on every child in placement having a face-to-face contact
with their worker each month to review treatment needs and to ensure safety. Some of
the steps taken to ensure that a face to face contact occurs each month are as follows:

      Supervisors maintain a list of all children in placement that is utilized with the
       development of scheduled visits
      Workers schedule visits during the first 3 weeks of each month – this allows an
       extra week in the event of unforeseen circumstances that would require
       rescheduling.
      Supervisors and workers will track their visits for each month
      Supervisors and workers review the Dashboard in FACTS each month to review
       the face to face contacts with child in placement
      If the Dashboard does not indicate a visit completed – supervisor will review to
       determine if this was a data error.

2016 Updates

For FFY 2015 West Virginia’s percentage of visits with children in foster care monthly was
95.2%, of those visits, 67.7% occurred in the child’s place of residence.




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99% of caseworker visit funds were spent on transportation costs to visit children in out
of home care and 1% was spent on computer supplies. West Virginia will use most the
funding over the next year for travel.

2016 Update

100% of caseworker visit funds were spent on transportation costs to visit children in out
of home care.

2017 update

For FFY 2016 West Virginia’s percentage of visits with children in foster care monthly was
95.6%, of those visits, 68.6% occurred in the child’s place of residence. 100% of
caseworker visit funds were spent on transportation costs to visit children in out of home
care.



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2018 update

For FFY 2017 West Virginia’s percentage of visits with children in foster care monthly was
95.1% of those visits, 67.4% occurred in the child’s place of residence. 100% of
caseworker visit funds were spent on transportation costs to visit children in out of home
care.




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Financial Information
West Virginia’s estimated f) administration expenditures for IV-B subpart 2 at 2% and
estimated e) planning activities at 18% for FFY 2016 and years prior. Historically,
administration costs have been significantly less than 2% and no planning activities
occurring. The lack of activity in these two categories for FFY 2015 resulted in additional
expenditures being claimed under the four service categories of which most of additional
costs were claim under b) family support services.

Please see attached CFS-101 parts I, II and III.




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Section H. Financial Information
1. Payment Limitations – Title IV-B, Subpart 1

 States may not spend more title IV-B, subpart 1, funds for child care, foster care maintenance and
adoption assistance payments in FY 2018 than the state expended for those purposes in FY 2005
(section 424(c) of the Act). The 2018 APSR submission must include information on the amount of
FY 2005 title IV-B, subpart 1, funds that the state expended for child care, foster care maintenance,
and adoption assistance payments for comparison purposes. States are also advised to retain this
information in their files for comparison with expenditure amounts in future fiscal years.

In FY 2005 West Virginia reported $1,969,062 all under PROTECTIVE SERVICES; on the
FY 2019 submission reports $2,062,392; of that amount $2,062,392 was reported under
PROTECTIVE SERVICES and $0 under ADMINISTRATIVE COSTS.


 The amount of state expenditures of non-federal funds for foster care maintenance payments that
may be used as match for the FY 2018 title IV-B, subpart 1 award may not exceed the amount of
such non-federal expenditures applied as state match for title IV-B, subpart 1 for the FY 2005 grant
(section 424(d) of the Act). The CFSP submission must include information on the amount of non-
federal funds that were expended by the state for foster care maintenance payments and used as part
of the title IV-B, subpart 1 state match for FY 2005. States are also advised to retain this information
in their files for comparison with expenditure amounts in future fiscal years.

In FY 2005 West Virginia claimed $0.00 under subpart 1 - Foster Care Maintenance.

 States may spend no more than ten percent of title IV-B, subpart 1 federal funds for administrative
costs (section 424(e) of the Act). States must provide the estimated expenditures for administrative
costs, if any, on the CFS-101, Parts I and II.

Payment Limitation: Title IV-B, Subpart 1: Include information on the amount of FY 2005 title IV-B,
subpart 1, funds that the state expended for child care, foster care maintenance, and adoption
assistance payments for comparison purposes.

The FY 2005 West Virginia CFS-101 Part II is attached.

Payment Limitation: Title IV-B, Subpart 1: Include information on the amount of non-federal funds that
were expended by the state for foster care maintenance payments and used as part of the title IV-B,
subpart 1 state match for FY 2005.

In FY 2005 West Virginia claimed $0.00 under subpart 1 – Foster Care Maintenance.



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